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                ORAL ARGUMENT NOT YET SCHEDULED

                                  No. 23-7061


                Jf n tbe Wniteb $tates QI:ourt of �ppeals
                   for tbe !lHstrict of Qtolumbia QI:ircuit

                           ANDREW HANSON, ET AL.,

                                                Plaintiffi:-Appellant ·,

                                       V.


                       THE DISTRICT OF COLUMBIA, ET AL.,

                                                Defendants-Appellees,

                            JOINT APPENDIX
                                Volume II

                 On Appeal from the United States District Court
              for the District of Columbia (No. 1 :22-CV-02256-RC)


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 9                  lN THE UNITED STAT S DISTRICT COURT
10                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11     VIRGINIA DUNCAN, et al.                Case No: 17-cv-1017-BEN-JLB
12
                                Plaintiffs,   DECLARATION OF MARK
13                                            BANISH IN SUPPORT OF
                         V.                   PLAINTIFFS' SUPPLEMENTAL
14                                            BRIEF; EXHJBITS 2-7
       XAVIER BECERRA, in his official
15     capacity as Attorney General of the
16     State of California,

17                              Defendant.
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                              DECLARATIO OF MARK HANISH
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 1            I, Mark Hanish, declare as follows:
 2            1.       I am a fireaim industry senior executive with over two decades worth of
 3     expe1ience building indoor shooting ranges, running domestic and international sales
 4     and marketing depaitments for firearms, ammunition, and accessory companies,
 5     along with designing products with various engineering departments for the
 6 commercial, law enforcement, and military markets. I have also spent over 25 years
 7 as a professional shooter, holding several world, national and state level titles, using
 8     the fireanns technologies that are relevant to this case.
 9            2.       I have been retained by the plaintiffs in this matter to provide a well-
10 rounded industty perspective on firearms technology and the marketplace over the
11     last twenty years, specifically as it relates to semi-automatic fireanns with
12     detachable magazines that are capable of holding over ten rounds. This report has
13     been prepared for the supplemental briefing that was ordered following the 9th
14     Circuit's remand in Virginia Duncan, et al. v. Rob Bonta. I have been retained to
15 write a declaration at the rate of $300/hour.
16     Background and Qualifications
17            3.       I have spent the last twenty yeai·s as a firearms, anununition, and
18     defense industry executive. In addition to my role in the firearms industry, I have
19     also been a professional shooter, competing in domestic and international matches in
20 practical pistol and 3-gun for over 25 years. 1 I have a Bachelor of Science Degree in
21     Entrepreneurship and Business Management from the W.P. Carey School of
22 Business at Arizona State University. Through the Barrett Honors College, I wrote
23     an Honor's Thesis for the basis of my first firerums training and supply business,
24     whose growth led to the conceptualization of a luxmy indoor shooting range. My
25     partners and .I founded the Scottsdale Gun Club, which at the time of the facility
                   .
26
27        1
            3 Gun is a speed and accuracy sport where the athlete uses the three platforms
28     of semi-automatic firearms - rifles, pistols, and shotguns - all with what were
       considered large capacity magazines.
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 1     opening (2004) was the world's largest and most luxurious public indoor range,
 2     creating a new market segn1ent.
 3           4.     While developing the Scottsdale Gun Club, my partners and I operated
 4     The Armory gun store, which focused on self-defense and tactical products and
 5     training. My position was Founder and Vice President of Sales and Marketing for
 6 the Scottsdale Gun Club and at the time we created an entirely new model of high-
 7 end shooting and retail facilities. In addition to my sales and marketing roles, I was
 8 responsible for our product selection and purchasing. The Scottsdale Gun Club
 9 retained its tactical firearms and training roots and was nationally known as the
10 leader in that category. We were doing such high volmne in those categories we
11     started a fireaims and ammunition distribution business to resell products to other
12     gun stores. Prominent firearms manufacturers would consult with me on their
13     potential expansions into tactical market segments. Notably, we also launched a
14     manufacturing brand, U.S. PALM, that developed a11d produced a line of high-tech
15     polymer 30rd magazines for AK pattern rifles. These magazines are still
16 manufactured and distributed nationwide.
17           5.     In 20 1 0, I transitioned from the dealer and distributor side of the
18     industry into sales for FNH USA, LLC (later becoming FN America, LLC), which is
19     a subsidiary of Fabrique Nationale out of Herstal, Belgium. In the South Carolina
20 manufacturing faci I ity FN has produced a multihide of arms for the US Military to
21     include the M4, M l6, M24 9 M24 0, and fv1Kl9. FN also began developing a robust
22     c01nmercial presence of which I was a pait. Over six years, I rose to the position of
23     Senior Director of Commercial Sales. I also was on the FNH USA professional
24     shooting team. During my tenure at FN, I contributed to many aspects of the
25     commercial business for US operations, including sales, product management,
26     production forecasting, and marketing. At FN America we produced and marketed
27     both pistol and rifle lines, almost all were sold with "large capacity" magazines as
28 the standard offering. I have first-hand knowledge of the changes within the firearms

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 1     industry market over the past several decades and I have been able to create
 2     consistent growth of the core business even in unstable market conditions. I worked
 3     closely with the production and engineering side of the company. With those
 4     departments, I principally directed the design for most models in the FN-15 line,
 5 working to define the market position and 1nodels for the consumer, which included
 6 both Law Enforcement and Commercial markets. The FN-1 5 is the company's AR-
 7     15 style line of rifles. Additionally, I conceptualized and worked with the team to
 8 design a high-end collector line of firearms, known as the Military Collector Series.
 9     These firearms included semi-automatic versions of American military issue
10     firearms: the M4, the Ml 6, and the M249 which generated over 1 0million in
11     revenue the first year of production.
12           6.     In 201 6, I became the Vice President of Sales and Marketing for
13     Surefire LLC, a company that specializes in tactical illumination devices firearm
14 suppressors, and "large capacity" magazines for AR-1 5 style rifles for the civilian,
15     law enforcement, and military markets. At Surefire, I managed US commercial and
16     law enforcement business. Internationally, I 1nanaged commercial, law enforcement
17 and military markets. In 2019, I became the President of Global Sales and Marketing
18     for Ammo Inc. and in just over 3 years sales increased from $4M to $240M. I was
19 responsible for all sales, marketing, and product development activities including the
20 design and development of specialty carhidges for US Special Operations
21     Command. I successfully competed for and won several government contracts in a
22 short period of time. AMMO acquired GunBroker.com, the largest internet
23     marketplace for the firearms industry in 202 1.In 2022, I joined the team at Timney
24     Triggers as their Vice President of Sales, thanks in large part to my rich and welJ-
25 rounded knowledge of the firearms industry. Due to my high-profile positions in a
26     :range of companies that directly impact the conversation about firearms technology
27     available to the public and the military, as well as the ammunition side of the
28     market. I am uniquely qualified to discuss this matter.

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 1           7.     As I have previously stated, not only is my experience in the industry as
 2     an executive, but as a shooter and collector. I have personal experience purchasing
 3     and using "large capacity magazines" prior to 1 994 and continuing both throughout
 4 the entire 10 years of the federal ban. I also have an extensive background of
 5     practical application as a professional shooter. I have held multiple world, national,
 6 and state shootjng titles across disciplines for over 25 years. Notably, r was a part of
 7 the 3 Gun National Pro Tour for six years, as a regular finalist and 2012 overall
 8     runner up. 3 Gun Nation was a television show that aired on NBC Sp011s and
 9     Sportsman Channel promoting the practical shooting use of semi-automatic rifl es,
10 pistols, and shotguns with "large capacity" magazines.
11           8.     Due to my professional background within the firearms industry, I have
12     served on the Board of the American Suppressor Association and have regularly
13     appeared as an on-camera expe11 for the National Shooting Spo1ts Foundation, the
14     Outdoor Channel's Gun Stories with Joe Mantegna, and Gallery of Guns TV. I have
15     also been an industry guest speaker for college students at institutions such as the
16     School of the Art Institute of Chicago and the W.P. Carey School of Business' M BA
17 Program.
18     Scope of Work
19           9.     I have been asked to write this statement as a direct response to
20 assertions made in Ryan Busse's declaration for the supplemental briefing that was
21     ordered following the 9th Circuit's remand in Virginia Duncan, et al. v. Rob Bonta.
22     In this document, I will provide a general statement on the popularity of AR-15 style
23     and similar rifles and their popularization on the firearms market, with a specific
24     emphasis on limitations in advertising and other avenues that contributed to this
25 robust market. I will then discuss the importance of magazines to the fundamental
26     operation of a semi-automatic firearm, as well as address their extensive use before
27     and after 1 994 and the ways in which manufacturers have responded to the changing
28


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 1     in legislation. I will conclude on a discussion surrounding the 19 1 1 style semi-
 2     automatic pistol and its waning popularity in a defensive handgun market.
 3           1 0.   For the purposes of this report, I will use the terms "high capacity"
 4 magazine and "large capacity magazine" and the abbreviation "LCM"
 5     interchangeably to reference magazines capable of holding more than ten rounds. I
 6 use the terms as they relate to the ways in which Busse categorjzes them in his
 7 declaration and the way they are defined in the Violent Crime Control and Law
 8 Enforcement Act (1994).
 9     AR- 1 5 and Civilian Popularity
10           11 .   The demand for AR-l5s and similar rifles grew steadily since their
11     inception and continued through the 1994-2004 federal "Assault Weapons Ban"
12     (AWB). The Colt AR-1 5 first became available on the commercial market in 1 964.
13     In addition to the domestic production, throughout the 1970s and 1980s, semi-
14     automatic dtles with "large capacity magazines", similar in style and function, were
15     imported into the United States for sale to the commercial market. These
16     comparable rifles followed an overarching trend in firearms design towards smaller
17     calibers with larger magazine capacities. A few notable examples of these were
18 manufactured by Beretta, Daewoo, FN, HK, TMI, SIG, STEYR, as well as several
19 AK pattern rifles. The importation of these foreign made rifles however was
20 restricted in 1989. Domestic manufacturers such as Colt, Bushmaster, Olympic
21     Arms, Pac-West Arms, Eagle Arms / Arma.lite, and DPMS that were previously
22 building AR-15 style rifles continued, for the most part, with production of slightly
23     modified rifles to comply with the new federal regulations. These rifles increased
24     exponentially in populmity as more consumers became aware of them, as they have
25 many benefits for a multitude of applications including personal defense, target
26 shooting, competition, and hunting. The AR-1 5 style of rifle is lightweight, has low
27     recoil, is relatively easy to learn bow to use, can be customized by the consumer, and
28     is easily adjustable to fit most users of varying sizes and physical abilities. During

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 1   the A WB period, many companies were discouraged from investing in production
 2   capacity to enter the AR-15 style rifle market due to legislative uncertainty. In the
 3   years following the sunset of the AWB more recognizable brands such as Smith &
 4 Wesson, Ruger, Sig Sauer, FN, and Remington were willing to invest the capital and
 5   enter the market. These well-known and trusted brands responded to market demand
 6   for AR-15 style rifles manufactured by established companies.
 7         12.    There is a lot of debate sunounding the effectiveness of advertising and
 8   its impact on the consumer. In terms of firearms marketing, however, it is important
 9   to note that there are significant limitations on the manufacturer due to the nature of
10 the product which must be considered when analyzing how successful and how
11   much of an impact fi ream1s industry marketing has actually had on consumer
12   decision making.
13         Marketing and Advertising Limitations and Considerations
14         1 3.   As a Senior Executive at one of the larger fireanus manufacturers in the
15   world, I have been responsible for determining the fireaims product mix and
16 production quantities based on the marketplace. Most manufacturers forecast their
17   future sales, and corresponding production, to match the products and quantities
18   their customers are demanding rather than the other way around. Its common sense
19 to manufacture and deliver what your customers are asking to purchase. Beyond
20 those core product sales, companies introduce new products to market that are either
21   a variation of a core product, a direct response to new customer demand, or a totally
22 new concept product. Consumer demand for the AR-15 style and similar rifles,
23   along with "high capacity" magazines for both rifles and pistols, has been the market
24 driver for the increased production and sales.
25         14.    In Ryan Busse's declaration, he asserts that the gun industry is
26   :responsible for collectively pushing AR-15 style rifles and "high capacity"
27   magazines onto the market - a notion that fails to consider the myriad of factors that
28   influence consumer purchasing behavior. There are many fine marketing
                                                7
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 1   professionals in the industry capable of creating innovative campaigns, but they still
 2   are forced to compete for consumer attention without access to most standard
 3   marketing avenues. Marketing is severely restricted and companies in the firearms
 4   industry are prohibited or limited when using typical services to sell to the
 5 consumers through means of television, Google Ads, e-commerce platforms,
 6   merchant payment processing services and mainstream social media (Facebook,
 7 Instagram, YouTube, etc). Without the ability to advertise via most technology,
 8 industry does its best to respond to consumer demand with antiquated feedback
 9   channels. Most firerums industry advertising is limited to endemic periodicals,
10 limited cable television channels such as the Outdoor Channel, and websites visited
11   directly by consumers or found through organic search results.
12         15.    While firearms manufacturers have had restrictions imposed upon on
13   their abilities to market, there are other factors to consider for the proliferation and
14   popularity of the AR-15 and similar rifles that were completely outside of the scope
15 of the indushy. For example, the Global War on Tenor (GWOT) starting in 2001
16 produced images and video of American service members with their rifles and
17 tactical gear. which was broadcast across major media outlets. In the early years of
18 the war, the televised GWOT exposed the entire American consumer market to the
19 likeness of the iconic Colt and FN M4/Ml 6 fueling awareness of the semi-automatic
20   commercial AR-15 style rifle. The War on Terror bas continued for decades, and a
21   generation of consumers, including service members, now desired to own AR-15
22   style semi-automatic rifles. There is a long history of service rifles becoming
23   farniliru· to the generation that used the1n in conflict, and the resulting desire to bring
24   those rifles home from service and onto the shooting range and into the field for
25 sporting uses.
26         1 6.   However, the Hughes Amendment, a portion of the Firearm Owners'
27   Protection Act of 1986, which essentially banned the civilian ownership of machine
28   guns made after 1 986, prevents this practice in some form from continuing. The

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 1   military issued machine guns are no longer allowed to be transferred, but the desire
 2   to own and use the issued rifles has not subsided. While in my role at FN America, 1
 3   directed the design and sales for most of the connnercial FN I 5 model rifles.
 4 Additionally, I was inst1umentaJ in creating and launching the Military Collector
 5   Series consisting of the FN15 M4 (attached as Exhibit 2), FN15 M l6 (Exhibit 3),
 6   and FN M249s (Exhibit 4). This Milita1y Collector Series was comprised of semi-
 7   automatic replicas of the govenunent issued M4, M 1 6, and M249. These rifles were
 8 exceptionally well received by general c01mnercial customers and service me1nbers
 9   desiring a replica of their issued rifle. The consumer demand for these 1ifles was
10 driven mainly by the customer's familiarity with the designs either through service
11   or media exposure.
12          17.   Today the AR- 15 style rifle is one of the most popular rifles in
13 America. However, that popularity was not just engineered by the firearms industry,
14   who have limited advertising channels. Rather, the popularity of this fireann has
15   more to do with the design's features, benefits, and adaptability to be well suited for
16   a wide array of legitimate uses. To quantify the acceptance and widespread adoption
17   of these rifles, it is of note that according to the 2021 National Firearms Survey
18   (expanded May 2022) about 24.6 million people, have owned an AR- 15 or similarly
19 styled rifle, and up to 44 million such rifles have been owned. 2
20   "Large Capacity Magazines" and the Firearms Market
21          18.   In Busse's declaration, he asserts that "large capacity magazines"
22   (LCM) are only recently popular, which is a specious argument. In 1993, the year
23   prior to the 1994 federal ban, semi-automatic pistols accounted for 80% of handguns
24   produced in the US. 3 According to Christopher S. Koper in his 2004 Updated
25
26      2
         EngJish, William, 2021 National Firearms Survey: U�dated Analysis Including
27 Types oT Firearms Owned (May 13 2022). Georgetown McDonough School of
   Business Research Paper No. 4109494, Available at SSRN: htt s://ssrn.com/abstract
28 =4 3109494 or h!ij ://dx.doi.or� l0.2 139/ssrn.4 1 09494 (Exhibit i)
        (Zaw1tz, 1 5, p. 3) (Ex ibit 6).
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 1   Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and Gun
 2   Violence, 1 994-2003 report "Approximately 40 percent of the semiautomatic
 3   handgun models and a majority of the semiautomatic rifle models being
 4   manufactured and adverti ed prior to the ban were old with LCMs or had a
 5   variation that was sold with an LCM". 4 This study clearly illustrates the significance
 6   of large capacity magazines on the market even before the Federal Assault Weapons
 7   Ban. Today, that trend continues to grow. The 2021 National Firearms Survey
 8   (expanded May 2022) reported:
 9          48.0% of gun owners, about 39 million people, have owned
10          magazines that hold over 10 rounds, and up to 542 million such
            magazines have been owned. 5
11
12          1 9.   As far as I am aware, the legal concept at the federal level of using the

13   arbitrary quantity of greater than 10 rounds to define a magazine as a "large capacity

14   ammunition feeding device" first appeared in the Violent Crime Control and Law

15   Enforcement Act of 1994. Since the inception of magazine fed firearms, designers

16 explored magazine designs and manufacturing methods to maximize intended
17 functionality and reliability of their firearms without arbitrary capacity limitations. It
18   wasn't until restrictions were legally mandated did engineers modify or alter their

19   designs to conform to a random capacity limit. In order to comply with capacity

20 laws, manufacturers were compelled to redesign or modify existing standard
21 capacity magazines to limit their capacity to hold no more than 10rds, with severe
22   consequences if an 11th round can still be forced in the magazine. Often the

23   regulations are left ambiguous and subject to court interpretation after the fact as to

24   what constitutes a permanent modification preventing the magazine from being

25
26
        h!tQs://www.ojp.gov�dffiles l/nii/�ants/20443 l .pdf
        4

27      Eng_hsh Wilham 207 NationalTuearms Survey: U_Rdated Analysis Including
        5
   Types oT Firearms Owned (May 13, 2022). Georgetown McDonough School of
28 Business Research Paper No. 41 09494, Available at SSRN: h�s://s rn.com/abstract
   =4 109494 or http: //dx.doi.org/10.2139/ssrn.4109494 (Exhibit)
                                             10
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 1   considered readily convertible back to standard capacity. Manufacn.trers make every
 2   effort to avoid exposing themselves and their customers to this legal risk. Reducing
 3   the standard capacity of a magazine to hold 1 0 or fewer rounds has been
 4   accomplished through a variety of methods, smne of which result in a less than
 5   optimal magazine design while potentially introducing a higher risk of failure
 6   increased costs, and often adding unnecessary complexity. Some of the methods
 7   used to reduce capacity include:
 8                1.      Narrowing of the internal width down the entire length of
 9                        the magazine, altering the internal geometry from the
                          01iginal design intent.
10
11               11.      Creating indentations in the side of the magazine designed to
                          l imit the downward travel of the fol l ower in the magazine
12                        tube. This method is sometimes coupled with weakening
13                        cuts made to the remainder of the circumference of the
                          magazine tube adjacent to the indentations. In this design the
14                        magazine spring usual1y extends to the baseplate and is at
15                        1isk of catching or hanging up on the indentations, impeding
                          norrnaJ operation.
16
17               1u.      Shortening the 1nagazine tube in conjunction with designing
                          a novel base pad that extends upward into the firearm to
18                        connect with and complete the magazjne assembly. These
19                        base pads with magazine tube extender pieces are more
                          complicated to use, costly to manufacture, and their
20                        increased complexity invites a possibJe reduction in
21                        structural integrity.
22               1v.      Inserting an object into the magazine to limit follower travel
23                        and pennanently attaching the base pad to encapsulate the
                          object in the magazine tube.
24
25               v.       Installing a pin or rivet through the exterior of the magazine
                          body to limit the travel of the follower.
26
27         20.         The burden on the manufacturers to produce these l0rd or less
28   magazines was reduced with the sunset of the AWB in 2004. The few states
                                           11
                                DECLARATIO OF MARK HANISH
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 1   remaining with their own capacity limits require 1nanufacturers to continue to
 2   modify their products as described above to comply with the restrictions. This
 3   increases costs for manufacturers to design or redesign magazines, producing lower
 4   quantities of the restricted magazines that potentially don't reach the manufacturing
 5 mnounts required to realize volume savings. Manufacturers may also choose not to
 6   offer the affected models for sale to the residents of the restrictive state, reducing the
 7   options for those residents to select from.
 8         Magazines are an I ntegral Prut of a Firearm
 9         21 .   Magazine fed firearms are systems with many parts that must function
10   together in order to operate properly, and the ammunition feeding device is critical
11   to the overall perfonnance and success of the firearm. To this day, especially in
12   modern handguns, the magazine is often the cornerstone of the pistol design. Unless
13   designing a new pistol to utilize an existing magazine, engineers will start a new
14 pistol project with designing the magazine first. The ailllnunition feeding device
15 must be optimized to reliably deliver cartridges into the operating system. The
16 engineers must consider the dimensions of the cartridge, with specific attention to
17   the cartridge case being either a straight wall or a tapered case. and angles at which
18   the magazine presents cartridges to the action. The manner in which the magazine
19   and action interface is critical. The remainder of the firearm design builds upon the
20 foundation laid by the magazine's form. Many, if not most, modern pistols are built
21   around a magazine designed to hold more than 1 0 rounds. Pistols designed for
22   defensive use balance maximizing the nun1ber of rounds canied for personal
23   protection within a size constraint of the pistol to perfonn its intended function.
24   Even though subcompact pistols are designed primarily for concealment and safety
25   while carrying, designers also attempt to maximize magazine capacity as well.
26 Pistols designed for recreation, sport, and competition are usually designed to
27   maximize capacity, accuracy, and reliability with few constraints on size.
28


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 1           22.    As an integral part of the firearm, magazines are required for proper
 2   function. While firearms are one of the few consumer items designed for several
 3   lifetimes of service, their magazines are an item that can degrade with use. In
 4   addition to the routine maintenance of replacing springs and worn followers, feed
 5   lips of magazines which hold the next round in position to be presented to the action,
 6 may both wear and crack from the cycling of the action. Magazines and their feed
 7 lips are also susceptible to bending, cracking, denting, or defonning and being
 8   rendered unserviceable when dropped during n01mal use. This is not uncommon,
 9   and therefore, not an exceptionally rare occurrence that would only affect high
10 volume shooters. 6 Shooters run the risk of damaging a magazine every time they
11   practice
      •       a reload and eject a magazine onto the ground.
12           23.    A prudent firearms owner will purchase enough magazines to sustain
13   the use of their fireaim as intended over the remainder of their lifetime, accounting
14   for damaged and worn-out magazines along the way. Many handguns and rifles have
15 proprietary magazines that are specific to the manufacturer, product family, and
16   many times the specific model. Replacement magazines may not be available in the
17   future as there is no guarantee the manufacturer will be in business to support the
18 p]atf01m, and there is no guarantee that an aftermarket company wilJ produce that
19 specific magazine. A firearm without a functional magazine is of little use to an
20 owner, and of little value to another consumer. There is less risk for consumers that
21   possess firearms capable of accepting a magazine with a somewhat standardized
22 interface. These firearms are generally older legacy designs that were used in rifles
23   and pistols adopted by militaries. Magazines for the AR-15 style rifles, AK pattern
24   titles, and model 191 1 pistols fall into this category. Busse also asserts that one may
25 simply purchase a kit to refurbish a previously owned magazine. This option has
26 effectively been nullified as the possible enforcement of CA Penal Code Section
27
28      6
            Busse Deel., �1 0.
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 1   323 1 1 regulating "conversion kits" has limited retailers from selling magazine repair
 2   kits. 7 During the 1994-2004 AWB period, individual manufacturers would not sell
 3   consumers all the magazine components required to build a new magazine. Many
 4   would designate a single component of the magazine as their control item and refuse
 5 to sell that itern to consumers. Any conswner needing to repair a legally owned pre-
 6 ban magazine was out of luck if they had broken or damaged the restricted part.
 7         24.    As previously stated, magazines are so critical to the firearm, engineers
 8   often start the design of a new firearm around the magazine. Magazines are a highly
 9 specialized item to manufacture, whether they are stamped and welded from steel or
10 aluminum, injection molded from an advanced polymer, or a combination of
11   stamped feed Jip and mag catch parts over-molded into a polymer body. These
12   specific manufactu1ing processes require specialized equipment, skillsets, and
13   sometimes stabilized environments not found in most firearms manufacturing
14 facilities. Fireanns manufacturers choose to utilize the services of highly slcilled
15 outside vendors to deliver a superior product built to their design specifications
16 precisely because of the importance of the magazine in the overall systern. As an
17   added benefit to all commercial, law enforcement, and military customers, these
18   specialized magazine companies have grown and matred
                                                      u
                                                          and are far more capable
19 to produce significantly higher quality products for the entire marketplace.
20   Magazines built today are some of the most advanced magazines in history and as a
21   result, are structurally safer and more reliable for the end user. Gun barrels and other
22   critical components are also routinely outsourced to specialized manufacturers. For
23   example, a firearm manufacturer may specify a hammer forged barrel to meet safety
24
25
26                                       ov/faces/code •             • .xhtml?lawCode=
   PE
                                                                  ct.Jon
                                          purposes o t                 arge capacity
27 magazine converswn zt zs a evice or combznation of parts of a Jully Junctwning
   large-capacity magazine, inc/udinK but not limited to, the body, sprini., follower,
28 qniifloor plate or f?:nd plate, _capable c?f converting an ammumtion feeoing dev;ce
   mto a large-capactty magazme.
                                                 14
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 1   and performance standards, and it would be absurd to contend the mere act of
 2   outsourcing somehow reduces the importance of the barrel.
 3           25.   The magazine is correctly considered an integral part of the firearm, not
 4 merely an accessory. It is considered such a vital part of the fireann that the
 5 magazine's value is included in the cost of the fireann for calculation of the
 6   Firearms and Ammunition Excise Tax (FAET) paid by the manufacturer or
 7   irnporter. 8 It is only additional magazines that are treated as non-taxable extra parts.
 8   To contrast, accessories, even if included with the firearm , are not subject to FAET.
 9   Typical examples of accessories include holsters, cleaning kits, gun locks, optics,
10   and other accoutrement not critical to the function of the firearm.
11   Consumer Demand and Defensive Pistol Selection
12           26.   In Busse's declaration he focuses heavily on the 191 1 design as the
13   basis for his claims that 7 or 8 rounds of .45 ACP is more than adequate for a pistol.
14   This limited perspective is understandable given his career at one of the larger
15 manufacturers of 1911 style pistols. However, there are a multitude of shortcomings
16 with the anecdotal statements he employs to support his position. There are many
17 pistols that are more effective for self-defense while offering a superior balance of
18 reliability, affordability, and capacity. It is widely understood that most of the less
19   expensive models of 1 91 l s, and even many of the mid-level price point pistols in the
20    I 000-$1500 range from companies like Colt and Kimber may require an additional
21   investment in gunsmithing services to make them suitably reliable for defensive use.
22 Many people cannot afford one of the higher priced 1911 pistols he espouses, nor
23   can everyone handle the recoil of the .45 ACP and have the confidence to defend
24   themselves with the 7 or 8 rounds Busse advocates. Persons of a smaller stature
25 and/or having reduced strength may select a 1 91 1 design pistol in 9mm for its
26   :reduced recoil, but in tum they are accepting the accompanying risk of using single
27
28      8
            https://www.ttb.gov/images/pdfs/presentations/FAET-Retun1-Walkthrough.pdf
                                               15
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 1   stack 9mm magazines which are inherently less reliable due to the tapered case of
 2   the 9mm cartridge. The century old 191 1 design is also less intuitive and requires
 3   more familiarity and training for novice shooters to master. For these and other
 4   reasons, many of the leading firearms trainers in the country recommend a multitude
 5   of superior modem design pistol options for self-defense fireanns.
 6           27.    Busse also claims the 1 91 1 to be "still one of the most widely sold guns
 7   in the United States". This claim might be referring to a wide geographic tenitory as
 8   the defining standard of sales, as the "high volumes" of the past cannot be favorably
 9 compared to current modem pistol sales. In comparing aggregated data on broad
1O   categories of self-defense pistols, the BATF&E's 2020 Annual Firearms
11   Manufacturing and Export Report does not give specific model information, but
12   rather we can make inferences from the pistol category, which is broken down into
13   caliber ranges. We find there were just shy of 3.9 million 9mm and .380 pistols
14   manufactured in 2020, and in comparison, just over 705,000 pistoJs comprise the up
15 to .50 caliber category. 9 This categ01y includes all pistols chambered in .45 ACP, not
16 just 1 91 ls, as well as additional designs and calibers such as the .40 S&W, making
17   the 191 1 production somewhere below that ceiling. With further examination of the
18   manufacturer's individual reporting data, it is evident the market dearly indicates
19 significantly higher demand for modem pistols in calibers smaller than .45 ACP.
20           28.    Busse goes on to state that based on his experience, "a large-capacity
21   magazine is not necessary to use a firearm effectively for self-defense or other
22   sporting purpose, like hunting." However, the 2021 National Firearms Survey
23   ( expanded May 2022) provides contrary infmmation regarding the carry and use of
24   firearms for self-defense. According to the Survey:
25           31 . 1 % of gun owners, or approximately 25.3 1nillion adult Americans,
             have used a gun in self-defense. Gun owners engage in approximately
26
             1 .67 million defensive uses of firearms per year. Handguns are the
27
28      9
            2022.06. 10 afmer 2020 cover sheet 508 ( l ) ( Exhibit 7 ) .
                       -     -    -     -    lo
                             DECLARATIO OF MARK HANISH
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 1           firearm most commonly used in defensive incidents (65.9%) The
             majority of defensive gun uses take place outside of the home (74.8%).
 2
             About half of defensive gun uses involve more than one assailant
 3           (51.2%).
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12
13           29.    Conclusions drawn in the survey state that "presumably, it would be
14   advantageous to have a firearm with a larger capacity magazine if one needed to
15   engage more than one assailant, which these responses suggest is indeed common.
16 Although in most defensive gun uses the gun was not fired (81.9%), we can further
17   analyze the subset of incidents in which a gun was fired. In 67.8% of these cases in
18   which a gun was fired in self-defense multiple rounds were fired. " 1 0
19   Conclusion
20           30.    In this report, I have addressed several statements made in Ryan
21   Busse's declaration. It is my findings, as an industry expert with a range of
22   backgrounds in the tactical firearms market and culture, that several factors
23   contributed to the popularity of the AR-15 style and comparable rifles starting in the
24   1 960s and that this phenomenon is not solely the result of an industry marketing
25
26
27      English, William, 2021 National Firearms Survey: Updated Analysis Including
        10
   Types or Firearms Owned (May 13, 2022). Georgetown McDonough School of
28 Business Research Paper No. 41 09494, Available at SSRN: h�s://s rn.com/abstract
   =4 109494 or http://dx.doi.org/10.2139/ssrn.4109494 (Exhibit)
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 1   scheme. Furthermore, I conc]ude that large capacity magazines have been popular
 2   since well before their 1 994 regulation and rebut the assertion that these magazines
 3   are not ubiquitous. Additionally, 1 provided a perspective on the importance of a
 4 magazine to firearms design as well as ways in which the industry have improved
 5   these magazines to be of superior technology ultimately being fundamentally safer. I
 6   finish the report with an analysis on the proliferation of self defense handguns that
 7   have far surpassed the production and popularity of the 1 9 1 1 style design in today' s
 8   gun ownership community .
 9         I declare under penalty of perjury that the foregoing is true and correct.
10   Executed within the United States on      l}C2t/-€ 11t1   het- 3D +� } O'?--?--.. .
11
12
                                                    Mark Hanish
13                                                  Declarant
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                            DECLARATION OF MARK HANISH
                                                                                     AP Pl 75811) 1 7
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                        EXHIBIT 2
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                                                                                                                                                         FN 15� M4 MILITARY COLLECTOR
                                                                                                                                                         5.56x45mm 30 Rd.            6.6 LBS. 30.5"-34.2" 16"
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                                                                                                                                                         FINISH: BLACK

                                                                                                                                                         SIGHTS: A2·S1YLE FRONT, ADJUSTABLE REAR SIGHT

The FN 1 5™ M i lita ry C o llector Series brings to m a rket m i litary replica rifles made to FN·s exacting specifi cat i o ns.
The s e m i -a utomatic rifles are chambered in 5, 56x45m m NATO and fea t u re Mil •profile 16 and 20-inch 1 :T RH, button broached
and c hrome -lined barrels. respectively, Each UID-la beled lower receiver 1s equipped with a n ambidextrous selector switch, just
like its select-fire big brother.



PRIMARY FEATURES                                      BARREL                                           OPERATING CONTROLS
Knights Armament M4RAS Adapter rail                   16" Button-broached, chrome-llned                Ambidextrous safety lever
w/ rail adapter covers                                A2-style compensator (Permanently attached)      Ergonomic magazine release
Ambidextrous safety lever
                                                                                                                                                     ACCESSORIES
                                                      1:7" RH twist                                    Forward assist


RECEIVER                                                                                               MAGAZINE
Hard-anodized aluminum
                                                      STOCK
                                                                                                       Aluminum body, Low friction follower,
                                                      Collapsible, 6-posltion with sling mount
Flat-top receiver, H·1913                                                                              AR-style 30 round capacity
                                                      M4 with pistol grip
MIL-STD rail at the 12 o'clock position
A2-style front sight, adjustable rear sight
UID Label




                                                                                                                                                     FN UNIVERSAL                             FN PREMIUM COLD HAMMER­
     Product                Designation                                                              Product Type                         UPC        TACTICAL SLING                           FORGED AR·lS BARRELS

      36318                 FN 1 STM M 4 M i litary Co llector                                         Co nsumer                    8457370062 1 1
    3631 8-02               FN 1 5, M M4 M i l itary Collecto.r LE                                  Law Enfo rce ment                     TB   □

FOR MORE INFORMATION, CONTACT YOUR LOCAL FIREARMS RETAILER OR VISIT FNAMERICA.COM                                                                                                                  APP. 583
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                        EXHIBIT 3
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                                                                                                                                          T H E W O R LD'S M OST B ATTL E - P R OVEN FI REAR M S ™
                                                                                          MILITARY COLLECTOR
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                                                                                                                                                     FN 15� M16 MILITARY COLLECTOR
                                                                                                                                                     5.56x45mm 30 Rd.            8.2 LBS.    39.5' 20"
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                                                                                                                                                                     MAGAZJN:E   WflGHT      LENGlli   BARRE!. LENGTH   m
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                                                                                                                                                                                                                        Ill
                                                                                                                                                     FINISH: BLACK
                                                                                                                                                     SIGHTS: A2·STYLE FRONT, ADJUSTABLE REAR SIGHT
The FN 1 srn M i l itary C o llector Series M4 and Ml 6 bring to market m i litary replica rifles made to FN's exacting speci fications.
The semi -automatic rifles are chambered in 5. 56x45mm NATO and feature M4 -profile 16 and 20-inch 1 :T RH, button broached
and chrome-lined barrels, respectively. Each UID-labeled lower receiver 1s equipped with a11 ambidextrous selector switch, just
like its select-fire big brother.



PRI MARY F EAT U R ES                                  BARREL                                    OPERAT I N G CONTROLS
Knights Armament MSRAS Adapter rail                   20" Button-broached, chrome-lined          Ambidextrous safety lever
w/ rail adapter covers                                A2-style compensator                       Ergonomic magazine release
Ambidextrous safety lever                             1:7" RH twist                              Forward assist                                   ACCESSORIES

R ECEIVER                                                                                        MAGAZINE
Hard-anodized aluminum
                                                      STOCK
                                                                                                 Aluminum body, Low friction follower,
                                                       Fixed, A2 Rifle Butt-Stock
Flat-top receiver, M·1913                                                                        AR-style 30 round capacity
                                                      M16 with pistol grip
MIL-STD rail at the 12 o'clock position
A2-style front sight, adjustable rear sight
UID Label




                                                                                                                                                   FN UNIVERSAL                           FN PREMIUM COLD HAMMER·
     Product                Designation                                                        Product Type                         UPC            TACTICAL SLING                         FORGED AR-15 BARRELS
      36320                 FN 1 5rM M 16 M i l i tary Collector                                 Consumer                     845737005061
    36320-02                FN 1 5™ M 1 6 M ili tary Collector LE                             Law Enfo rce ment                     TBD



FOR MORE INFORMATION, CONTACT YOUR LOCAL FIREARMS RETAILER OR VISIT FNAMERICA.COM                                                                                                            APP. 585
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                        EXHIBIT 4
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                                                             Document #2029097       Filed: 11/29/2023 Page 27 of 507

                           FN M249S                                                                     FN M249� STANDARD ---------.
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                                                                                                        5.56x45mm 30/200 Rd. 17.2 LBS. 40.T 18.S-
                                                                                                       CALIBER         CAPACITY       WBGtlT       LENGTH   811.�EL
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                                                                                                        FN M249S PARA
                                                                                                        5.56x45mm 30/200 Rd. 16.9 LBS. 31.S-3T 16.1"
                                                                                                       CALIBER         CAPACITY       WEIGHT       LENGTH     BARREL
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                                                                                                       OPERATION: SEMI-AUTOMATIC, CLOSED BOLT
                                                                                                       FINISH: BLACK OR FDE
                                                                 FN M249S
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                                                                 Standard Black



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                                              FN M249S
                                              Standard FOE




                                                                                                The FN M249S Standard and Para, semi-automatic versions
 Product               Designation             UPC                                              of the M249 SAW l ight machine gun. orig ina lly developed
                                                                                                by FN Herstal as the FN M I N I M I ® and adopted by the U .S.
46-1 00 1 69    M249S Standard Black      84573701 5077                                         M i litary in 1 988. Features the s ignature FN cold hammer­
46- 1 00 1 70   M249S Standard FDE        8457370 1 5091                                        torged, chrome-lined barrel and operates from a closed bolt
46-1 00 1 7 1   M249S Para Black          84573701 5084                                         position. Chambered in 5.56x45mm NATO. t he rifle will accept

46- 1 00172     M249S Para FOE                •: 1 5 1 07
                                          8457370
                                                                                                both magazine and li nked belt ammun i,Ap          P. 58 7
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                         EXHIBIT 5

                                                                   APP. 588
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     202 1 National Firearms Survey: Updated Analysis
                 Including Types of Firearms Owned

                                    William English, PhD
                                   Georgetown University

                            Expanded Report: May 13, 2022


                                               Abstract
          This report summarizes the findings of a national survey of firearms ownership and
     use conducted between February 17th and March 23rd, 2021 by the professional survey
     firm Centiment . This survey, which is part of a larger book project , aims to provide the
     most comprehensive assessment of firearms ownership and use patterns in America to
     date. This online survey was administered to a representative sample of approximately
     fifty-four thousand U.S. residents aged 18 and over, and it identified 16,708 gun owners
     who were, in turn, asked in-depth questions about their ownership and their use of
     firearms,
     • ·'"      including defensive uses of firearms.
          Consistent with other recent survey research, the survey finds an overall rate of
     adult firearm ownership of 31 .9% , suggesting that in excess of 8 1 .4 million Americans
     aged 18 and over own firearms. The survey further finds that approximately a third
     of gun owners (31 . 1%) have used a firearm to defend themselves or their property,
     often on more than one occasion, and it estimates that guns are used defensively by
     firearms owners in approximately 1 .67 million incidents per year. Handguns are the
     most common firearm employed for self-defense (used in 65.9% of defensive incidents) ,
     and in most defensive incidents (81.9%) no shot was fired. Approximately a quarter
     (25.2%) of defensive incidents occurred within the gun owner's home, and approxi­
     mately half (53.9%) occurred outside their home, but on their property. About one
     out of ten (9.1%) defensive gun uses occurred in public, and•.   about one out of thirty
     (3.2%) occurred at work.
          A majority of gun owners (56.2%) indicate that they carry a handgun for self­
     defense in at least some circumstances, and about 35% of gun owners report carrying
     a handgun with some frequency. We estimate that approximately 20.7 million gun
     owners (26.3%) carry a handgun in public under a "concealed carry" regime; and
     34.9% of gun owners report that there have been    .
                                                       ' instances in which they had wanted
     to carry a handgun for self-defense, but local rules did not allow them to carry.
          The average gun owner owns about 5 firearms, and handguns are the most common
     type of firearm owned. 48.0% of gun owners - about 39 million individuals - have

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                                                                                            APP. 589
                   Electronic copy available at· https"//ssrn .com/abstract=4ltD9tii8:J
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       owned magazines that hold over 10 rounds (up to 542 million such magazines in total) ,
       and 30.2% of gun owners - about 24.6 million individuals - have owned an AR-15 or
       similarly styled rifle ( up to 44 million such rifles in total) . Demographically, gun owners
                ..
       are diverse. 42.2% are female and 57.8% are male. Approximately 25.4% of Blacks own
                                                                                       .. and 34.3%
       firearms, 28.3% of Hispanics own firearms, 19.4% of Asians own firearms,
       of Whites own firearms. In total, Americans own over 415 million firearms, consisting
       of approximately 171 million handguns, 146 million rifles, and 98 million shotguns.



 1     Introduction
 This report summarizes the main findings of a national survey of firearms ownership and
 use conducted between February 1 7th and March 23rd, 2021 by the professional survey firm
 Centiment . This survey, which is part of a larger book project, aims to provide the most
 comprehensive assessment of firearms1 ownership and use patterns in America to date.
     Before this survey, the most authoritative resource for estimating details of gun ownership
 in the U.S. has been the "Comprehensive National Survey on Firearms Ownership and Use"
 conducted by Cook and Ludwig in 1994 (Cook and Ludwig, 1996) , and the most authoritative
 resource for estimating defensive gun use in the U.S. has been the "National Self-Defense
 Survey" conducted by Kleck and Gertz in 1993 (Kleck and Gertz, 1995, 1998 ) . While valuable
 resources, they are both now a quarter century old, and no surveys of similar scope and depth
 have documented firearms ownership and use in more recent years.
                                                                               '
     Hepburn et al. (2007) conducted a more limited survey to ascertain the "gun stock" in
 2004, a version of which was repeated in 2015 (Azrael et al. , 2017) . However, as they explain
 in introducing their latter survey, data sources on firearms ownership and use remain scarce:

       Although the National Opinion Research Center's General Social Survey and
       other surveys have asked respondents whether they personally own a firearm
       or live in a home with firearms, few have asked about the number of guns re­
       spondents own, let alone more detailed information about these firearms and the
       people who own them, such as reasons for firearm ownership, where firearms were
       acquired, how much firearms cost, whether they are carried in public, and how
       they are stored at home (Smith and Son 2015; Gallup 2016; Morin 20 14) . Be­
       cause of this , the best and most widely cited estimates of the number of firearms

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                                                                                            APP. 590
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       in civilian hands are derived from two national surveys dedicated to producing
       detailed, disaggregated, estimates of the U . S . gun stock, one conducted in 1994,
       the other in 2004 (Cook and Ludwig 1997, 1996; Hepburn et al. 2007) .

    Miller, Zhang, and Azrael conducted an expanded survey in 2021 of 5,932 gun owners
 with a focus on characterizing the demographics of those who acquired firearms for the first
 time during the COVID- 19 Pandemic, based on a sub-sample of 44 7 individuals who fit this
 criterion (Miller et al. , 2022) . This team also described their survey as a "2021 National
 Firearms Survey," and it is helpful to clarify that their survey was distinct from the survey
 reported here.
    Richer survey data on firearms ownership and use has been collected by industry asso­
 ciations such as the National Shooting Sports Foundation (NSSF) . 1 However, these surveys
 generally aim at assessing industry trends and market segmentation and are not necessarily
 designed to be nationally representative. In 2017, the Pew Research Center conducted one of
 the most recent and detailed surveys of the demographics of gun ownership (Brown, 20 17) . 2
 Although it did not ask detailed questions concerning defensive use of firearms and the types
 of firearms owned, this recent Pew survey serves as a helpful benchmark for corroborating
 the general ownership estimates of the present survey.
    Advances in survey research technologies make it possible to reach large, representative
 respondent populations today at a much lower cost than a quarter century ago. One of the
 limitations of the Cook and Ludwig survey, which sought to be nationally representative,
 was that the survey sample was relatively small, with about 2 ,500 respondents of whom
 only about 600, or (24. 6%) , owned a firearm when the survey was administered. As the
 investigators noted in their report , some sub-questions were not sufficiently well powered to
 make confident inferences, particularly concerning the defensive use of firearms. Similarly,
 Kleck and Gertz's survey was limited to 4,977 respondents, and the more recent surveys by
 Pew, Hepburn, and Azrael are all based on less than 4,000 respondents.
   1
     See https : //www . nssf . org/research/
   2 See Pew Research Center, June 2017,              "America's    Complex     Relationship   With   Guns"
 https : //www . pewresearch . org/social-trends/wp- content/uploads/sites/3/2017/06/Guns-Report­
 FOR-WEBSITE-PDF-6-21 . pdf



                                                     3
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       Today, professional survey firms like Centiment 3 cultivate large pools of survey respon­
 dents, enabling representative sampling, and have techniques that encourage high response
 and completion rates while also ensuring the integrity of responses. 4 The online survey
 summarized here was presented to a nationally representative sample ( excluding residents of
 Vermont who had already responded to a pilot version of this survey) of 54,244 individuals
 aged 18 or over who completed an initial questionnaire that included an indirect question
 indicating whether they owned a firearm (respondents were presented with a list of items
 commonly owned for outdoor recreational purposes, including firearms, and were asked to
 select all items that they own) .
       This question identified 16,708 individuals as gun owners, who were then transferred
 to the main survey, which then asked detailed questions about their ownership and use of
 firearms. Given the length and detail of the survey, there was a slight amount of attrition,
 as 7.5%, or 1,258 individuals, did not make it through all questions to the end of the survey.
 However, 92.5% of the responding firearms owners (15,450) did proceed through all of the
 survey questions.
       This survey thus contains what we believe is the largest sample of firearms owners ever
 queried about their firearms ownership and firearms use in a scientific survey in the United
 States. This survey was approved by Georgetown University's Institutional Review Board.
 Of note, this survey was conducted j ust after a period of widespread social unrest across the
 U.S. and a contentious presidential election, which background check data suggests led to
 record gun sales (approximately 39 . 7 million in 2020, up 40% from the prior year) . 5 It is
 thus a comprehensive and timely assessment of the state of firearms ownership and use in
 the United States. Finally, the extraordinarily large size of this sample enables us to make
 well-powered, statistically informative inferences within individual states, which considerably
 extends the value of this data.
       The initial sample of respondents achieved excellent demographic representation across
   3 See https : / /www . centiment . co/
   4
       See https : //help . centiment . co/how-we - safeguard-your-data
   5 See McIntyre, Douglas A. "Guns in America:      Nearly 40 million guns were purchased legally in 2020 and
 another 4.1 million bought in January" https : //www . usatoday . com/story/money/2021 /02/ 10/this- is­
 how-many-guns-were-sold-in-all-50- states/43371 46 1 /


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 all 49 states and DC, excluding Vermont (see Appendix A and B ) . For the purpose of estimat­
 ing firearms ownership rates for the general U . S . population we employed raked weighting
 on gender, income, age, race, and state of residence. Note that there was a brief period
 in the first two days after the soft launch of the survey that comprehensive demographic
       ...
 data was not collected from those respondents who did not indicate firearms ownership, and
 thus did not proceed to the main survey ( approximately 300 respondents) . Although the
 survey company, Centiment , maintained demographic data on these panel respondents, it
 was determined that this data was
                               '        ..
                                   not as comprehensive as the data collected by the sur­
 vey, at which point the demographic questions were moved to the front of the survey, and
 asked of all respondents, including those who did not indicate firearms ownership. For the
 purpose of calculating statistics on national firearms ownership rates, we exclude the en­
                                                 .. owners from these first two days ( 410
 tire sample of both firearms owners and non-firearms
 respondents) , leaving us with 53,834 respondents after this date for whom we have compre­
 hensive demographic data. Firearms-owning respondents from the first two days are included
 in subsequent analysis of firearms owners, and we do possess comprehensive demographic
 information for these individuals.
    Appendix B contains tables reporting the demographic sampling rates and the Census
                 .
 demographics used
              . . for raked weighting of the national survey. Note that the overall effect of

 weights is minimal given the high representativeness of the initial sample. For the purposes
 of analyzing responses within the sub-sample of firearms owners, we do not employ weighting
 schemes, in part because the "true" demographics of gun ownership are not knowable from an
 authoritative source analogous to the U . S . Census Bureau. However, as a robustness exercise,
 using weights based on estimates derived from the larger survey response rates yields results
 that are substantially identical for the analysis of responses from firearms owners.
    One of the challenges in asking questions about firearms is eliciting truthful responses
 from firearms owners who may be hesitant to reveal information about practices
                                                                        •.      that are
 associated with public controversy. The "tendency to respond to questions in a socially
 acceptable direction" when
                       ,..  answering surveys is often referred to as "social desirability bias"
 ( Spector,
         • 2004) , and there is evidence that it can influence survey responses
                                                                            ;   to questions
 regarding firearms. For example, when Rafferty et al. ( 1995) conducted a telephone survey


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 of Michigan residents who had purchased a hunting license or registered a handgun, only
 87.3 percent of the handgun registrants and 89. 7 percent of hunting license holders reported
 having a gun in their household. Similarly, Ludwig et al. (1998) have documented a large
 gender gap in reporting of firearms ownership, finding that "in telephone surveys, the rate
 of household gun ownership reported by husbands exceeded wives' reports by an average
 of 1 2 percentage points." Asking questions via an anonymous survey instrument on the
 internet is likely to cause less concern or worry than traditional phone-based questionnaires
 with a live person on the other end or during face-to-face interviews, which is how the
 General Social Survey - one of the most prominent national surveys that regularly asks
 about firearm ownership - is conducted. 6 Even when presented in the more impersonal
 setting of a computer interface, however, a survey must be worded thoughtfully so as to
 assure anonymity, and not give respondents reason to worry about answering truthfully.
        This survey employs five common devices to encourage more truthful responses. First ,
 it uses an indirect "teaser" question to pre-screen respondents in order to select those who
 own firearms. The initial question prompt presents the survey as concerned with "recre­
 ational opportunities and related public policies" and asks respondents if they own any of
 the following items, presented in a random order: Bicycle, Canoe or Kayak, Firearm, Rock
 Climbing Equipment , None of the Above. Only those who select "Firearm" are then pre­
 sented the full survey. We also ask demographic questions at the outset , which allows us
 to assess the representativeness of the sample, including those who do not indicate firearms
 ownership. Second, the survey was carefully phrased so as to not suggest animus towards gun
 owners or ignorance of firearms-related terminology. Third, the survey assures respondents
 of anonymity. Fourth, in order to ensure that respondents are reading the survey questions
 carefully, and then responding with considered answers thereto, a "disqualifying" question
 (sometimes referred to as a "screening" question) was embedded a little over half of the way
 through the survey instructing respondents to select a particular answer for that question,
 which only those who read the question in its entirety would understand. Anyone registering
 an incorrect answer to this question was disqualified from the survey and their responses to
    6                                                                     ..
        For a description of the methods of the General Social Survey see: htt p s : / /www . nsf . gov / pubs/2007 /
 nsf0748/nsf0748_3 . p df



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                                                                                                      APP. 594
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 any of the survey questions were neither considered nor tallied.
     Finally, while responses were required for basic demographic questions, if questions of a
 sensitive nature were left blank, the software would first call attention to the blank response
 and prompt the respondent to enter a response. However, if a respondent persisted in not
 responding and again tried to progress, rather than kick them out of the survey, they would
 be allowed to progress to the next section in the interest of obtaining the maximum amount
 of information that they were willing to share. Respondents were not made aware of this
 possibility in advance, and in practice such "opting out" of a particular question was seldom
 done (less than 1 % of responses for the average question) . This is the reason that small
 variations are sometimes observed in the total number of respondents for certain questions.
     A pilot version of this survey was first fielded in Vermont as part of a research project
 aimed at documenting firearms ownership and firearms use rates in that specific state. The
 Vermont survey served as a proof of concept for the national version, demonstrating that
 this survey is a viable instrument for eliciting responses from firearms owners with both
 high response rates and low disqualification rates. The results of the Vermont survey are
                ,.
 presented separately in Appendix A of this report and closely mirror national results.
     This report focuses on providing descriptive statistics of answers to the major questions
 asked in the survey. Future research will examine responses, and relationships between them,
 in more detail. The report proceeds as follows: the next (second) section summarizes national
 firearms ownership estimates and demographics; the third section examines defensive uses of
 firearms; the fourth section examines question regarding carrying for self-defense; the fifth
 section summarizes ownership statistics, and the sixth section concludes.



 2     Gun Ownership Demographics

     • About a third of adults in the U.S. report owning a firearm, totaling about 81.4 million
       adult gun owners.

     • 57.8% of gun owners are male, 42.2% are female.

     • 25.4% of Blacks own firearms.


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    • 28.3% of Hispanics own firearms.

    • 19.4% of Asians own firearms.

    • 34.3% of Whites own firearms.

    With raked weighting employed for gender, state, income, race, and age we find that
 32.5% of US adults age 2 1 and over own a firearm (95% Confidence Interval, 32. 1 - 32.9%) .
 Expanding the sample population to include those age 18-20, who are restricted in some
 states from purchasing firearms, 31 .9% of US adults age 18 and over own firearms (95%
 Confidence Interval, 3 1 . 5% - 32.3% ) . This is slightly above, but consistent with, the most
 recent in-depth survey of firearms ownership conducted by Pew in 2017 before the Covid-19
 pandemic, which found that 30% of adults in America own a firearm (Brown, 20 17) . It i s
 also consistent with recent Gallup polling in 2020 and 20 21, which found that 3 2% and 3 1%
 of adults personally own a firearm (Gallup, 202 1 ) .
    A s a benchmark t o assess the accuracy of the teaser question used t o ascertain firearm
 ownership, we can also compare ownership rates of other items reported by respondents for
 this question. We find 52% of respondents indicating owning a bicycle, which closely matches
 Pew's finding that 53% of Americans own a bicycle, according to a poll conducted in 2014. 7
    The distribution of gun owners surveyed by state is illustrated in Figure 1 , and ranges
 from 1,287 in California and 1 ,264 in Texas to 26 in Washington, DC and 24 in North Dakota.
    Table 1 shows the proportion of the population in each state estimated to own a firearm.
 Massachusetts, Hawaii, Rhode Island, and New Jersey have the lowest rates of ownership
 with less than 20% of the adult population owning firearms, while Kentucky, Montana, West
 Virginia, and Idaho have the highest rates of ownership with more than 45% of the adult
 population owning firearms.
    With regard to the demographics of gun ownership , we find that 57.8% of gun owners
 are male and 42.2% are female, the average age of gun owners is 46-50 years old, and the
 average annual household income is $80,000-$90,000. Approximately 18% of gun owners do
 not identify as White (alone) . Overall, approximately 10.6% of gun owners identify as Black,
   7 See   https : / /www . pewresearch . org/fact-tank/20 15/04/ 16/car- bike- or-motorcyc le- depends­
 on-where-you- live/


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                             I                                      I II I I I I I I I I • • • • • • • . -


                          Figure 1 : D istribution of Firearms Owners Surve ed



 3.6% identify as Asian 1 . 6% identify as American Indian, .2% id ntify as Pacific Islander,
 82 .0% identify as White, and 2.0% identify as Other. v\rhen analyzed within racial groups,
 we find that 25 .4o/c of Blacks own firearrru , 2 .3o/c of Hi ·pani(' s own firearms 1 9.4o/c of A ian
 mvn firearms and 34.33/c of Whit s own firearms.
          ccording to the late t (20 19) census estimates there are approximately 2 5 ,200 373
 individuals age 18 and over in the U . S . which irnplies that there are about 8 1 .4 million
 adult gun owners. 8 Note hat this figure does not include ho e under the age of 1 who
 may use or pos es firearms for purposes uch as hunting or shooting ports.
     In sum, firearms owner hip is wid spread and .firearms owners are diverse.



 3        Defensive Use of Firearms
     • 3 1 . lo/c of gun owners, or approximately 25.3 million adult Americans, have used a gun
          in self-defense.

     • In most cases (81 .9%) the gun is not fired.

     • Gun owners engage in approximately 1 .67 million defen ive uses of firearms per year.

     • The majority of d fen ·ive gun u ·es take place outside of t he home (74. %) .
     Cen u date i        available at https : //www2 . census . gov/programs- surveys/popest/tables/2010-
 2019/national/asrh/nc-est2019- syasexn . xlsx




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                                                                                            APP. 597
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                                    Proportion of adult population
             State                  estimated to own firearms          95% Confidence Interval
             Alabama                39.6%                              35.2% - 44. 1 %
             Alaska                 33.4%                              2 5 . 7% - 42 . 1 %
             Arizona                32.0%                              28.8% - 35.4%
             Arkansas               36.6%                              3 1 . 1% - 42 .5%
             California             25.5%                              24.0% - 27.0%
             Colorado               33.6%                              29.8% - 37. 7%
             Connecticut            20.2%                              16.8% - 24. 1 %
             Delaware               24.7%                              18.9% - 3 1 . 6%
             District of Columbia   23.9%                              1 5 .6% - 34.9%
             Florida                30.3%                              28.5% - 32.2%
             Georgia                37.1%                              34.5% - 39.9%
             Hawaii                 1 6 .4%                            10.6% - 24.5%
             Idaho                  54.5%                              45.5% - 63.1 %
             Illinois               26.5%                              24.3% - 28.9%
             Indiana                40.3%                              36.6% - 44. 1 %
             Iowa                   33.2%                              2 8 . 1 % - 38.8%
             Kansas                 42.8%                              37.4% - 48.3%
             Kentucky               46. 7%                             42.6% - 5 0 . 8%
             Louisiana              32.8%                              28.0% - 38.0%
             Maine                  35.9%                              2 9 . 7% - 42.6%
             Maryland               2 1 .7%                            18.5% - 25.2%
             Massachusetts          1 5 .8%                            13.4% - 18.6%
             Michigan               34.7%                              32.0% - 37.5%
             Minnesota              32.5%                              28.4% - 36.8%
             Mississippi            39.5%                              33.5% - 45.8%
             Missouri               39.7%                              36.2% - 43.4%
             Montana                48.4%                              3 8 . 7% - 58.3%
             Nebraska               37.2%                              29.8% - 45.2%
             Nevada                 38.0%                              32.8% - 43.4%
             New Hampshire          24. 1 %                            1 8 .4% - 30.9%
             New Jersey             19.3%                              16.9% - 22.0%
             New Mexico             33.8%                              25.9% - 42 . 7%
             New York               22.7%                              2 1 .3% - 24.2%
             North Carolina         37.3%                              34.5% - 40.2%
             North Dakota           42.6%                              29.9% - 56.4%
             Ohio                   33.7%                              3 1 . 1% - 36.4%
             Oklahoma               40.5%                              36.2% - 45.0%
             Oregon                 38.3%                              32.7% - 44.2%
             Pennsylvania           30.3%                              28.1% - 32.6%
             Rhode Island           16.9%                              1 1 .4% - 24.2%
             South Carolina         40.7%                              36.5% - 45.1 %
             South Dakota           39.2%                              32.4% - 46.4%
             Tennessee              43.0%                              39.5% - 46.6%
             Texas                  36.0%                              34. 1 % - 38.0%
             Utah                   42.8%                              3 6 . 1 % - 49.8%
             Virginia               30.6%                              27.6% - 33.7%
             Washington             32.8%                              29.3% - 36.4%
             West Virginia          53.0%                              45.6% - 60.2%
             Wisconsin              33.3%                              29.9% - 36.9%
             Wyoming                42 . 7%                            34.5% - 5 1 . 2 %


      Table 1: Proportion of the population estimated to own a firearm in each state.


    • About half of defensive gun uses involve more than one assailant (51 .2%) .

    • Handguns are the firearm most commonly used in defensive incidents (65.9% ) , followed

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                                                                                                 APP. 598
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       by shotguns (21 .0%) and rifles (13. 1%) .

    Defensive use of firearms was assessed through a series of questions that asked for in­
 creasingly detailed information from those who indicated that they had used a firearm in
 self-defense.
    First , all gun owners were asked, "Have you ever defended yourself or your property with
 a firearm, even if it was not fired or displayed? Please do not include military service, police
 work, or work as a security guard." About a third (31.1%) answered in the affirmative , and
 they were then asked how many times they defended themselves with a firearm (from "once"
 to "five or more times" ) . As Figure 2 shows, a maj ority of gun owners who have used a
 firearm to defend themselves have done so on more than one occasion.

                                                                            [ For those indicating Yes. ] How many times have you
    Have you ever defended yourself or your property with a firearm,
   even if it was not fired or displayed? Please do not include military    defended yourself or your property with a firearm, even if
             service, police work, or work as a security guard.             it was not fired or displayed? Again, please do not include
                                                                            military service, police work, or work as a security g uard.




                                                                                                               Once 44.1%




                                                                                                               Twice 32.7%



                                                                                                               Three times 12.6%
                                                                                 -------- Four times 2.8%
                                                                                                               Five or more times 7.8%




 Figure 2: Defensive Gun Use: 3 1 . 1 % of firearms owners have defended themselves of their
 property with a gun, and a majority have done so more than once.



    Both men and women report having used firearms in self-defense at high rates, with 33.8%
 of male gun owners indicating they have defensively used a gun, and 27.3% of female gun
 owners indicating they have defensively used a gun. Table 2 further breaks down reports of


                                                                       11
                                                                                                                       APP. 599
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 defensive use of firearms by categories of race and ethnic ancestry, illustrating that defensive
 gun use rates are higher in some minority groups.

                                          Proportion of Gun Owners                   95 % Confidence
           Demographic Group
                                          Who Used Gun Defensively                   Interval
           White                          29.7%                                      29.0% - 30.5%
           Black                          44.3%                                      41.2% - 47. 5%
           Asian                          26.0%                                      2 1 . 7% - 30.9%
           Native American                47. 7%                                     42. 7% - 52. 7%
           Pacific Islander               37. 1%                                     26.0% - 49. 7%
           Other Ethnic Ancestry          36.2%                                      30.3% - 42. 7%
           Hispanic (any ancestry)        39.3%                                      36.0% - 42.8%
           Male                           33.8%                                      32.8% - 34.8%
           Female                         2 7.3%                                     26.2% - 28.4%

                                Table 2 : Demographics of defensive gun use.


        Given that 3 1 . 1 % of firearms owners have used a firearm in self-defense, this implies
 that approximately 25.3 million adult Americans have defended themselves with a firearm.
 Answers to the frequency question suggest that these gun owners have been involved in a total
 of approximately 50 million defensive incidents. Assuming that defensive uses of firearms
 are distributed roughly equally across years, this suggests at least 1 .67 million defensive uses
 of firearms per year in which firearms owners have defended themselves or their property
 through the discharge, display, or mention of a firearm ( excluding military service, police
 work, or work as a security guard) . 9
    9
        This is calculated by taking the total number of defensive incidents represented by the survey responses
 (50 million) and dividing by the number of adult years of the average respondent, which is 30. According
 to U.S. Census data, the average age of U.S. adults (i.e. the average age of those in the set of everyone 18
 years or older) is 48, which also matches our survey data. Thus, the average respondent of the survey has 30
 years of adult experience (48 years - 18 years = 30 adult years) , over which the defensive incidents captured
 in this survey are reported.
   Note that this estimate is inherently conservative for two reasons. First, it assumes that gun owners
 possessed firearms, or had access to firearms, from the age of 18. In so far as firearms were only first ac-


                                                         12
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                                      Fired the gun -            18. 1



                  Showed the gun without firing -                                             50.9



    Neither e.g. told someone you had a gun                                31

                                                      10     20    30     40    50     60
                                                   Did you fire your gun, show it, or neither? (%)

 Figure 3: How Guns are Employed in Self-defense: In most defensive incidents no shots are
 fired.


     Gun owner respondents were asked to answer detailed questions regarding each defensive
 quired/accessed by some respondents in later years, this would reduce the number of adult firearms owning
 years represented by the survey responses and result in a higher estimate of the number of defensive inci­
 dents per year. Second, this figure only captures defensive gun uses by those currently indicating firearms
 ownership. According to Kleck and Gertz ( 1995 ) , only 59.5% of respondents who reported a defensive gun
 use personally owed a gun (p. 187) . This would suggest that the true number of defensive gun uses, if those
 who do not personally own firearms are included in the estimate, could be substantially higher - perhaps as
 high as 2.8 million per year.
   This approach is also robust to critiques that have been made by Hemenway ( 1 996) and others who argue
 that defensive gun use estimates from surveys can be exaggerated due to recollection bias when respondents
 are asked to recount incidents within a limited time period. The intuition behind these critiques is that if
 respondents are asked, for example, if they used a gun defensively within the last year, there is a possibility
 that people will respond affirmatively if they used a gun in self-defense in recent memory, even if that incident
 wasn't strictly within the last 12 months. This could lead to inflated "per year" estimates of defensive gun
 uses, which would only be further magnified when extrapolated out to total defensive gun uses over many
 years. However, the approach of this survey is not vulnerable to this critique because the survey asks about
 defensive gun use at any time, not simply those within the last year or some other short time horizon.
 We thus do not engage in the exercise of extrapolating out estimates from potentially biased measures of
 comparatively rare events in a restricted window of time. Rather our approach asks questions about defensive
 gun use in the manner that is most methodologically sound for eliciting unbiased estimates.
   Finally, note that our overall approach assumes that children are not employing firearms for self-defense


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 incident that they reported. As Figure 3 shows in the vast majority of defensive gun uses
 (81 .9%)    he gun was not fired. Rather 1 di.playing a firearm or threatening to u ·e a firearm
 (through for example a verbal threat ) was sufficient. This suggests that .firearms have a
 powerful deterrent effect on crim , v. hich in most cases, does not depend on a gun actually
 being fired or an aggre sor being injured .
     Figur 4 shows where dcfen iv gun u es occmT d. Approximate! a quarter (25.2o/c) of
 defen ive incidents took place within t he gun owner' home, and approximately half (53.9o/c)
 occurred out 'ide their home bu on th ir property. About one out of ten (9 . 1 %) of defensive
 gun uses occurred in public, and about one out of thirty (3.2%) occurred at work.

                                            Inside my home                               [ 25 .2

                Outside my home but on my propert                                                           53.9

  I nside another person's home or on their property               □■   4.8

                                                                   □
                                       In a public location

                                                     A work
                                                                   -
                                                                   □I  3.2
                                                                             9. 1



                                                        Other      □I
                                                                   0
                                                                       3.9
                                                                         10         20     30    600   50
                                                                   Wher did th in id nt o cur . (%)

      Fio-ure 4: The Lo ation of Defensive Incident : Most tak plac                         ut side th home.


     For each incident, respondent wer asked to indicate what sort of firearm was u ed.
 Figure 5 show the distribution of typ          of firearms employed in defen ive incidents. Handgun
 were the most commonly used firearm for elf-d -f nse, used in nearly two-third ( 65. 9o/c) of
 defensive incidents followed by shotgllilB (21 .0%) and rifles ( 1 3 . 1 % ) .
     Respondent w r also asked t o indicate how many a sailant wer involved i n ach cl -
 with any meaningful frequency. However, for th purpo e of s nsi ivit. analysis, if we lower the age used
 for calculating defensive incident frequen y to as ume hat children a young as 12 years old are commonly
 poss sing and u ing firearms for self-defen e (and no non-firearms owning adults used firearms for self­
 d fense), this would till imply 1 .39 million defensive uses of firearms per year (4 yea.rs - 12 years = 36 years
 over which 50 million defensive incidents took place ) .


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                                       '                     '            '

                  Handgun
                             f--- - - - - - - - - - - - - - '
                                                                 l.
                                                                 1 65.9



                                           j
                   Shotgun
                                       l21
                              J
                       Rifle � 1 3. 1
                                       I                     I            I


                                  20       40       60         80
                  What or of firearm did you use during this incident? (%)

 Figur 5: Typ of Gun         sed for Defen ·e: Handgun ar th most common type of firearm
 uscd in defen ivc encounter     followed by shotguns and rifles.


 fensiv incident. A Figure 6 illu trat         abou t half of defen ive ncounters (51 .23/c) involved
 more than one assailan . Presumabl y. part of the value of using a firearm in self-defense
 is that it serves as a force multiplier against more powerful or more numerous assailants.
 Survey responses confirm that en ount ring multiple as. ailants is not an infrequent occur­
 renc in defensiv incident:. 30. % of def nsive incid nts involved two assajlant , and 20.4o/c
 involved three or more while slightly less than half ( '18.83/c) involved a single assajlant .
    Finally after respondents an wcred thes detail d questions about each de£ nsive inci­
 dent, which all flowed from their initial affirmative an wer to the question, "Have you ever
 defended yourself or your property with a :firearm 1 even if it was not fired or displayed?' ,
 all gun owners were asked, "Separate from any incident in which you directly used a gun to
 defend your • e1£ ha· th pr enc       f a gun ever d terred any crirn.inal onduct again -t you,
 your family, or your property?' Thi question was meant to capture incidents that did not
 involve activ self-defense but for which individuals believed that h presen Ce of a firearm
 h lp ed deter predatory b eh avior. For examp]         a ituation in which a combative u tomer
 calmed down after noti ing t hat shop owner had a handgun on his or her hip or a situation
 in which a trespasser cooperativel left a property when questioned by a landowner who had
 a rifle lung over his or her shoulder 1 or a si uation in which a friend hawed up with a firearm



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                                One                                       48 .

                                Two                            I 30. 8
                            Three                  I 1 1 .9
                                Four -   DI 3 .9
                     Five or more        D 3.2
                                         I
                                        0   1 0 20     30   40    50   60
                                      How many a sailants were involved? (o/c)

 Figur 6 : Di tribution of th      umb r f A ·saila.nt Involved in a D fen ive In id nt : Multiple
 assailants are ommon.


 to help diffuse a dangerou situation, could fall into this category. Respondents answering in
 the affirmative could indica e how many times such deterrence occurred, from once to five or
 more occasions. As Figme 7 illustrates separate from the self-de£ use incidents summarized
 earlier 3 1 . % of gun owners reported that t he mere pr sence of a gun has deterred criminal
 condu t and 40. 2 o/c of t,hese individuals indiCated that this has happened on mor than one
 occasion. Extrapolated to the population at large this suggests that approximately 25.9
 million gun o-.vner s have
                         . been involved in an in ident in which the pr ence of a firearm
 deterred crime on some 44.9 million occasions. This translates to a rate of approximately
 1 . 5 million incidents per ycaJ· for which the pres nee of a firean11 deterred crime.



 4     Carry Outside of the Home
     • A majority of gun owners (56.2% ) indicate that there are some circumstances for which
       t hey carry a handgun for self- defense.

     • Approximately 26.3% of gun owners , or 2 0.7 million individuals, carry handguns for
       defensive purpose under a "concealed carry' regime.

     • About a t hird of gun owners (34 .9%) have wanted to carry a handgun for self-defense

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        Separate from any incident in which you directly used a gun to defend yourself, has the presence of a gun ever
                         deterred any criminal conduct against you, your family, or your property?


                                                                       [If Yes.]




                                                                                                        Yes, once 59.8%




                                                                                                      - Yes, twice 23.2%

                                                                                                           Yes, on three ocassions 8.1%
                                                                                                          Yes, on four occasions 1.5%
                                                                                                           Yes, on five or more occasions 7.4%

                                                                      (Note- to aid comparison with the earlier figure, bar percentages reflect the proportion of
                                                                      those who gave a particular affirmative answer compared to the total number of respondents
                                                                      who gave an affirmative answer, i.e. this is the breakdown of affirmative responses.)




 Figure 7: Frequency with which Firearms Deter Crime: 31 .8% of firearms owners report that
 the presence of a firearm has deterred criminal conduct against them, often on more than
 one occasion.



      in a particular situation but local rules prohibited them from doing so.

    As Figure 8 illustrates, a majority of gun owners (56 .2%) , or about 45.8 million, indicate
 that there are some circumstances in which they carry a handgun for self-defense (which can
 include situations in which no permit is required to carry, such as on their own property) ;
 and about 35% of gun owners report carrying a handgun with some frequency (indicating
 that they carry "Sometimes," "Often," or "Always or almost always." ) . Moreover, as Figure
 9 summarizes, 34.9% of gun owners report that there have been instances in which they
 wanted to carry a handgun for self-defense, but local rules did not allow them to carry.
    Assessing the number of people who carry a concealed handgun in public is complicated
 due, in part, to the proliferation of so-called "constitutional carry" or "permitless carry"
 states in recent years. These states - about 18 at the time this survey was conducted -
 generally allow adults in good legal standing ( often restricted to those age 21 and older) to

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                                                                                                                                           APP. 605
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                         How often do you carry a handgun, either concealed or open, for self-defense?
                               (This can include situations where no permit is requ i red to carry.)

                              Always or almost always - 9.1%



                                                Often - 6.9%



                                           Sometimes                        19.0%



          Only in particularly dangerous circumstances                         21.2%



                                                Never                                                        43.8%

                                                         ,...                           ,.,,.
                                                                '""'                            """   """"
  Figure 8: Frequency of Defensive Carry: Carrying a handgun for self-defense is common.


                                        Have you ever wanted to carry a handgun for self-defense
                                               but local rules did not allow you to carry?




 Figure 9 : Prohibition of Carry: About a third of gun owners have wanted to carry a handgun
 for self-defense in a particular situation but local rules prohibited them from doing so.



 carry a concealed weapon without a permit . Most of these states previously had a permitting
 process for concealed carry and required permits to be renewed at regular intervals in order
 to remain valid. Under constitutional carry, law abiding adults in these states are permitted
 to carry concealed without an official "permit." However, most of these states continue to
 issue permits to residents who desire them because such permits can be useful for reciprocal
 carry benefits in other states. For example, a person acquiring a Utah carry permit would
 be entitled to carry a handgun in a number of other states such as neighboring Colorado and

                                                                       18
                                                                                                                     APP. 606
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 N evada. 10 Thus, while basically all gun owners age 21 and over are "permitted" to carry a
 handgun for self-defense in constitutional carry states, many individuals may also possess a
 "permit ," even though it is redundant for in-state carry.
        Unsurprisingly, when asked "Do you have a concealed carry permit?" gun owning res­
 idents of many constitutional carry states respond in the affirmative at high rates. Also
 complicating this question about concealed carry permits is the fact that many states re­
 fer to such permits by different names, the fact that the right to carry a handgun can be
 conferred in certain circumstances by hunting or fishing licenses in some states, 1 1 and the
 existence of other related permits, some of which do not license concealed carry ( e.g. stan­
 dard pistol permits in North Carolina or New York, eligibility certificates in Connecticut)
 and some of which do ( most License To Carry permits required for handgun ownership in
 Massachusetts, state pistol permits in Connecticut , and LEOSA permits available to current
 and retired law enforcement officers nationwide ) . Finally, it is also possible for individuals
 to obtain concealed carry permits in states other than the one in which they reside.
        In order to provide a robust but conservative estimate of those who actually carry in
 public, we code as "public carriers" those individuals who indicated both that they have a
 concealed carry permit and that they carry a handgun for self-defense at least "sometimes. "
 We also restrict analysis and population estimates to those age 2 1 and over given that most
 states restrict those under 21 from carrying concealed in public.
        Using this simple definition, we find that 26.3% of gun owners are "public carriers," which
 translates to approximately 20. 7 million individuals who carry handguns in public under a
 concealed carry regime. Note that this could include current and former law enforcement
 officers who may be represented in the survey. However, the number of active law enforcement
 officers in the U . S . is well under a million (approximately 700,000 in 2019 ) . 12
   10
        See https : / /bci . utah . gov/ concealed- f irearm/re c iproc ity- with- other- states/
   11
        For example, a number of states such as California, Georgia, and Oregon allow those with a hunting or
 fishing license to carry concealed while engaged in hunting or fishing or while going to or returning from an ex­
 pedition. See: https : / /oag . c a . gov/ si tes/al l/files/agweb/pdfs/f irearms/pdf /cf l2016 . pdf , https :
 / / law . j ustia . com/codes/georgia/20 10/title- 16/chapter- 1 1 /art icle- 4/part - 3/ 1 6- 1 1- 1 26/,
 https : / /codes . f indlaw . com/or/t itle - 1 6- crime s- and-punishment s /or-rev- st- sect- 166- 260 . html
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      See https : / /ucr . fbi . gov/crime- in-the - u . s/2019/crime- in-the - u . s . - 20 19/tables/table - 74



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 5     Types of Firearms and Magazines Owned

     • 82.7% of gun owners report owning a handgun, 68.8% report owning a rifle, and 58.4%
       report owning a shotgun.

     • The average gun owner owns about 5 firearms. The median gun owner owns 3 .

     • 29.0% of gun owners own only one firearm.

     • 30.2% of gun owners, about 24.6 million people, have owned an AR-15 or similarly
       styled rifle, and up to 44 million such rifles have been owned.

     • 48 .0% of gun owners, about 39 million people, have owned magazines that hold over
       10 rounds, and up to 542 million such magazines have been owned.

     • Overall, Americans own in excess of 415 million firearms, consisting of approximately
       171 million handguns, 146 million rifles, and 98 million shotguns.


 5.1    Rifles , Shotguns, and Handguns

 Respondents were asked to indicate the number of rifles, shotguns, and handguns that they
 owned. 82.7% of gun owners report owning a handgun (95% CI 82.0% - 83 .3%) , 68.8%
 reported owning a rifle (95% CI 68.1% - 69 .6% ) , and 58.4% report owning a shotgun (95%
 CI 57.6% - 59. 2%) . Note that using survey weights based on in-survey demographics of
 firearms ownership has no substantive effect on these estimates: Handgun, 83. 7% (82.9% -
 84.4%) , Rifle, 68.6% (67.7% - 69 .6%) , Shotgun 58.6% (57.6% - 59 .6%) .
     Approximately 99.8% of respondents indicated owning fewer than 100 firearms of each
 type, and approximately 97.2% indicated owning fewer than 10 firearms of each type. In order
               ..
 to provide a conservative estimate of ownership rates and to ensure that average estimates
 are not skewed by a small number of large outliers, we exclude the 0 .2% of responses that
 indicated owning over 100 firearms in any category in the analysis that examines average
                                                                         ..
 numbers of guns owned. Also, 1.5% of respondents entered zero for each category of firearms
 ownership. While ostensibly inconsistent with having earlier indicated ownership of a firearm,
 there are a number of plausible explanations for this discrepancy including a reluctance to

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                                            I       I         I         I               I


                         Handgun                                                 82.7
                                                                            1I



                              Rifle                                   68.8
                                                                  1
                                                                  I
                          Shotgun
                                                             I1 58.4
                                 20    40    60      80     100
                                            I       I        I          I               I


 Percentage of gun owners reporting ownership of at least one firearm in the indicated category.

                   Figure 10: Percent of gun owners who own each type of firearm.


 provide this level of detailed information, having use of a firearm in one's household which
 one does not personally own, or owning a firearm that technically does not fall into one
 of these three categories. We exclude these response in analyzing ownership rates below.
 However, including them has no significant effect on estimates.
        On average, gun owners owned 5 . 1 firearms, consisting of 1 .8 rifles, 1 .2 shotguns, and
 2. 1 handguns. Figure 1 1 plots histograms of the number of firearms owned by respondents.
 Unsurprisingly, these are skewed right , indicating that most gun owners own a small number
 of guns, while a smaller portion of gun owners own a large number of guns. The median gun
 owner owned 3 firearms. 29.0% of firearms owners owned only one firearm. 13 Among those
 who only own one firearm, handguns are the most commonly owned type of gun ( 64. 7%) ,
 followed by rifles (22.5%) and shotguns ( 13.3%) .
        Overall, these estimates imply that Americans own over 415 million firearms, consisting
 of approximately 171 million handguns, 146 million rifles, and 98 million shotguns.
   13
        An earlier draft had estimated that 21 .9% of gun owners owned only one firearm, but the denominator
 for that calculation mistakenly included respondents who did not provide an answer to this question. The
 estimate of 29.0% properly incorporates all information provided by respondents.




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             4




                                                                                              .4
             3




                                                                                              .3
   Density




                                                                                    Density
     2




                                                                                              .2
                                                                                              .1
                                                                                                                                                                       6           8
                                                                                              0
             0




                  0            3      4      5       6    7   8   9       10                                                          3     4     5           7                            9       10




                                                                                                                            "'
                                                                                                           0
                                   Number of Riflos Owned                                                                            Number ol Sholguns Owned



                 (a) H istogTam of number of rifles owned                                      (b) Hi togram of number of shotguns owned

                                                                                              .,, --           -    -   -        -       -          -          -   -       -   -   -   -       -        --
             5




                                                                                              "'
             4




                                                                                           1.5
             3
   Density




                                                                                    Density
             2




                                                                                              .5




                                                                                                                   3 4 5 6 7 8 9 10 i1 12 13 1°4 15 18 17 18 19 20
                                                                                              0
             0




                  0            3    4            6     7      8   9       10                           1       2
                               Number of Handguns OWTied                                                                     Total Number of Firearms Owned



             (c) Histogram of number of handguns owned                                        (d) Histogram of otal munber of guus owned


                          Figure 1 1 : Hi togram ·hov. ing the di tribution of gun ownership.
                                               if.




 5 .2             Magazine Ownership

 The survey asked respondents whether they have ever owned a magazine that hold more
 than 10 rounds. Those who answered in the affirmative were then asked to indica e the
 purpo s for which they wned uch magazine                                                          nd o                 timat how many magazine of
                                                                                                       .....
                                                                                               ~




 different types they owned.
             48.0% of gun owners (95% CI 47.2o/c-48. 7o/c) responded yes to he question, 'Have you
                                                                                                                                             ,e+-




 ever owned a handgun or rifle magazin that bolds more than 10 rounds? (You can count
                                                                      D




 magazine that you may keep in another tate if there are local re trictions again t own­
                                                                                                                                                        ":I)
                      w




 ership.) ' indicating that they had owned such magazines. Note that agajn using survey


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 weights based on in-survey demographics of firearms ownership has no substantive effect on
 this estimate (47.4%, CI 46. 5%-48.4%) . This suggests that approximately 39 million adults
 in the U.S. have owned magazines that hold more than 10 rounds.

    Defense outside the home                                    41. 7

                 Home defense                                             62.4

  Competitive shooting sports                        I 27. 2

 Recreational target shooting       �-       -   -          -   -       -� 64.3

                      Hunting       �-                             47
                                             -   -      -       -�
                         Other      D 3 .9
                                    0   20    40      60     80     100
                    Percentage indicating each factor was a reason for ownership .

              Figure 12: Purposes indicated for owning 1 1+ capacity magazines.


    Figure 12 shows the percentage of respondents who indicated that they owned magazines
 that can hold more than 10 rounds for the following purposes: defense outside the home
 (41 .7%) , home defense (62.4% ) , competitive shooting sports (27.2% ) , recreational target
 shooting (64.3% ) , hunting (47. 0%) , and other (3.9% ) . Note that respondents could choose
 multiple purposes for which they owned such magazines. Home defense and recreational
 target shooting were the two most common reasons indicated for owning these magazines,
 with approximately two-thirds of respondents identifying each of these as a rationale for
 ownership.
    Respondents who indicated that they had owned magazines that can hold more than 10
 rounds were also asked to estimate the number of pistol and rifle magazines they owned of
 particular sizes. Numerical responses were unbounded. Approximately 99.8% of respondents
 indicated owning fewer than 100 magazines of each type, and approximately 96.5% indicated
 owning fewer than 10 magazines of each type. In order to provide a conservative estimate of
 ownership rates and to ensure that average estimates are not skewed by a small number of
 large outliers, we exclude the 0.2% of responses that indicated owning over 100 magazines


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 in a category.
                                              I      I           I   I    I      I


                  10 rounds or less -                    1 3.1



                      11-15 rounds -� 2.5



           More than 15 rounds -                                         1 4.4
                                              I      I           I   I    I      I
                                   2 2.5 3 3 .5 4 4.5 5 5.5
                          Average number o f handgun magazines owned by capacity.

 Figure 13: About how many handgun magazines of each type would you estimate you have
 owned?


    Figure 13 shows the average number of handgun magazines of each type reported by
 respondents in this section: 10 rounds or less (3.1 magazines) , 11-15 rounds (2.5 magazines) ,
 more than 1 5 rounds ( 4.4 magazines) . In sum, the average respondent ( who indicated that
 they have owned a magazine that holds more than 10 rounds) , owns about 10 handgun
 magazines, and more than two-thirds of these magazines hold more than 10 rounds. Note
 that the question asked whether respondents have ever owned such magazines and how
 many such magazines they have owned, so these estimates should be interpreted as an upper
 bound on current ownership given that some magazines may have been resold. Building on
 earlier estimates, this suggests that U.S. gun owners have owned up to 269 million handgun
 magazines that hold over 10 rounds.
    Figure 14 shows the average number of rifle magazines of each type reported by respon­
 dents in this section: 10 rounds or less (2.4 magazines) , 1 1-15 rounds ( 1 .8 magazines), over
 15 rounds (5.4 magazines) . In sum, the average respondent (who indicated that they have
 owned a magazine that holds more than 10 rounds) , owns about 9.6 rifle magazines, and
 about three-quarters of these magazines hold more than 10 rounds. Building on earlier esti­
 mates, this suggests that U.S. gun owners have owned up to 273 million rifle magazines that


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 hold over 10 rounds .
                                       I       I               I       I             I



                 10 rounds or less -
                                                   I2.4

                     1 1-15 rounds -
                                       ~ 1 .8
            More than 15 rounds -                                              5.4
                                                                           I

                                         2      3            5     6
                                       I       I          I    I       I             I

                                    1                  4
                             Average number of rifle magazines owned by capacity.

 Figure 14: About how many rifle magazines of each type would you estimate you have
 owned?


    These estimates suggest that Americans have owned some 542 million rifle and handgun
 magazines that hold over 10 rounds. Finally, note that these questions about the types of
 magazines owned were only asked of those who indicated that they had owned a magazine
 that holds more than 10 rounds, and thus we do not know how many magazines up to 10
 rounds are owned by the 52.0% of gun owners who are not in this category.
    Table 3 shows the breakdown of ownership of magazines that hold over 10 rounds across
 different demographic segments.
    Table 4 shows the percentage of gun owners in each state who indicated that they have
 owned magazines that hold more than 10 rounds. Note that this question explicitly instructed
 respondents that "You can count magazines that you may keep in another state if there are
 local restrictions against ownership ." This presumably explains the relatively high rates
 of ownership in states that restrict the purchase or ownership of such magazines. It 's also
 possible that those answering in the affirmative possess magazines that were grandfathered
 in because they were acquired before such bans or that some respondents have gotten rid of
 magazines that they owned in the past .
    Another dynamic that likely contributes to such differences in ownership rates derives


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                                              Proportion                   95% Confidence
              Demographic Group
                                              Owned 1 1 + Mags             Interval
              White                           47.0%                        46. 1% - 47.8%
              Black                           55.2%                        52.2% - 58.2%
              Asian                           50.0%                       44.8 - 55.2%
              Native American                 52.6%                       47.7% - 57.4%
              Pacific Islander                59.1%                        47.4% - 69.9%
              Other Ethnic Ancestry           59.6%                        53.3% - 65.6%
              Hispanic ( any ancestry)        6 1 .6%                      58.3% - 64. 7%
              Male                            57.7%                        56.7% - 58.7%
              Female                          34. 1%                       33.0% - 35.3%

      Table 3: Demographics of ownership of magazines that hold more than 10 rounds.


 from the fact that in states with low rates of firearms ownership, such as DC and Hawaii,
 those few individuals who do own guns are presumably more likely to be gun enthusiasts.
 Indeed, analysis of the survey data reveals that states with higher rates of firearms ownership
 are associated with slightly lower rates of ownership of magazines that own over 10 rounds,
 and this difference is statistically significant ( coef = -0.36, p=.03) .
    Given that such a large percentage of gun owners indicated that they owned magazines
 that hold over ten rounds for defensive purposes, we further analyze the potential value of
 these magazines for defense. Recall that a majority of defensive incidents involved multiple
 assailants (51.2%) . Presumably, it would be advantageous to have a firearm with a larger
 capacity magazine if one needed to engage more than one assailant, which these responses
 suggest is indeed common. Although in most defensive gun uses the gun was not fired
 (81 .9%) , we can further analyze the subset of incidents in which a gun was fired. In 67.8%
 of these cases in which a gun was fired in self defense, multiple rounds were fired.
    As part of the self-defense section of the survey, respondents were invited to answer
 an open response question that asked: "Have you ever been in a situation (including any
 referenced in earlier responses) in which it would have been useful for defensive purposes



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                 State                  Owned 1 1 + cap . mags     95% Confidence Interval
                 Alabama                48. 1 %                    42 . 7% - 5 3 . 6%
                 Alaska                 5 2 . 7%                   39.6% - 65.4%
                 Arizona                47.5%                      42 .3% - 5 2 . 8%
                 Arkansas               5 0 . 7%                   44 . 1 % - 5 7 . 3%
                 California             5 3 . 8%                   5 1 .0% - 5 6 . 5 %
                 Colorado               5 1 .4%                    45 .3% - 5 7 . 4%
                 Connecticut            42.6%                      34.4% - 5 1 .3%
                 Delaware               5 0 . 6%                   39.8% - 6 1 . 5%
                 District of Columbia   69.2%                      49 . 5 % - 83.8%
                 Florida                46.9%                      43.9% - 49.8%
                 Georgia                52 .4%                     48 . 7% - 56.2%
                 Hawaii                 59.3%                      40.3% - 75.8%
                 Idaho                  45.4%                      36.7% - 5 4 . 4%
                 Illinois               5 1 .5%                    47.3% - 5 5 . 6%
                 Indiana                46.5%                      41 .8% - 5 1 . 2 %
                 Iowa                   35.4%                      28.0% - 43.6%
                 Kansas                 4 2 . 2%                   35 .4% - 49.4%
                 Kentucky               43.7%                      38 . 5 % - 49.0%
                 Louisiana              47.4%                      4 1 . 1 % - 5 3 . 8%
                 Maine                  3 7.9%                     28.7% - 48.0%
                 Maryland               5 0 . 8%                   43 . 7% - 5 7 . 8%
                 Massachusetts          53.3%                      45 .7% - 60.8%
                 Michigan               37.1%                      33 . 2 % - 4 1 . 1 %
                 Minnesota              39.8%                      34.0% - 46.0%
                 Mississippi            44.6%                      37.3% - 5 2 . 2 %
                 Missouri               50.6%                      45 .8% - 5 5 . 5 %
                 Montana                52 .6%                     39 .8% - 65 . 1 %
                 Nebraska               45 .5%                     35 .9% - 5 5 . 3%
                 Nevada                 6 1 .0%                    5 2 . 8 % - 68.5%
                 New Hampshire          43.9%                      3 1 .6% - 56.9%
                 New Jersey             52.2%                      46 . 5 % - 5 7 . 8%
                 New Mexico             49.2%                      36 .9% - 6 1 . 5%
                 New York               5 4 . 9%                   5 1 .8% - 58.0%
                 North Carolina         43.9%                      39 .9% - 47.9%
                 North Dakota           44.4%                      24.0% - 67.0%
                 Ohio                   42.0%                      38.4% - 45. 7%
                 Oklahoma               47.5%                      4 1 .7% - 53.4%
                 Oregon                 49.8%                      42 .9% - 56.6%
                 Pennsylvania           39.6%                      36.0% - 43.2%
                 Rhode Island           5 5 . 3%                   39 . 5 % - 70. 1%
                 South Carolina         42.8%                      37.7% - 48.0%
                 South Dakota           5 0 . 0%                   40 . 2 % - 5 9 . 8%
                 Tennessee              44. 1 %                    39 . 5 % - 4 8 . 7%
                 Texas                  54. 1 %                    5 1 .3% - 5 6 . 8%
                 Utah                   46.8%                      38 . 2 % - 5 5 . 6%
                 Virginia               47.5%                      42 .7% - 5 2 . 4%
                 Washington             53. 1 %                    4 7 . 8 % - 58.4%
                 West Virginia          44.8%                      37.7% - 52. 1 %
                 Wisconsin              33.6%                      28.5% - 39.0%
                 Wyoming                63.0%                      5 1 .4% - 73.3%


 Table 4: Percent of gun owners who have indicated that they have ever owned magazines
 that hold over 10 rounds by state. Note that this includes magazines that an owner holds
 in other states if there are local ownership restrictions.




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 to have a firearm with a magazine capacity in excess of 10 rounds? If so, please briefly
 describe that situation." Approximately 550 respondents gave a affirmative response with
 most sketching out details of the encounter. Examples of these responses (reported verbatim)
 include:

    • I got j umped by multiple people in a carj acking in front of our apartments with my
       wife and children.

    • Yes. I was robbed on a street 1 time by a group of about 6 people that at least 1 was
       armed and I wasn't. It took about 6 hours of emergency surgery to gat my bones in
       face j aws and skull back in place form being beaten in the head face kicked all over.
       Damn near killed me.

    • Yes, a man broke into our apartment , high. He was approx 6'4, 300 pounds & threw
       a friend of ours around the living room like a rag doll. Beat her repeatedly.

    • Yes. The first incident I mentioned. Three men attempted to rob me outside my home,
       with the intention of entering my home thereafter. My wife and child were inside the
      home at the time. That was in California with a magazine that only held 7 shots. I
       am a great shot, prior military and other firearms training, but I hate to only have 7
       shots with three people. In such a situation, very well trained people, pumped up with
       adrenalin can and do miss their target . Thank you.

    • Yes, absolutely. I am mobility challenged and was walking my dog one day. Three men
       ambushed me from behind, but luckily my dog chased them away. My dog actually
       bit one of the men.

    • On the farm, we have had mountain lions killing our calves so a larger animal could
       require more rounds

    • When two people attacked my company's warehouse

    • Yes, I was alone with my son and 3 large men were trying to break in, I was unable to
       reload, thank goodness they realized and left.


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    • I was charged by at bear. It was very scary in the moment I panicked and rattled over
      multiple shots. Most missed but some hit home and eventually stopped him.

    • Yes. I went in but into a store and 4 thugs approached me telling me to give them
      money. I produced my handgun at my side and they left . If this had been a shooting
      with multiple bad guys with guns a 15 round magazine is best .

    • When I was a teenager 4 guys did a home invasion at our house. I could easily see
      needing a 20 to 30 round clip would be necessary. . we didnt have weapons and my
      mom and dad were hurt pretty bad . Dad was stabbed 4 times and they had a gun too.
      Thats when I decided when I was on my own that I would have protection.

    • About 20 coyotes attacked some of my livestock. It took two 30 round magazines to
      repel the animals and then only after killing 10 of them.

    • Yes. I was surrounded by would-be assailants
                                        ._         in a perking lot . I was able to escape
      unharmed, but if they had rushed me, I would most certainly had to lay down a rapid
      field of fire, alternately in various directions. In that scenario, I probably would have
      missed the targets and needed multiple, rapid follow-up shots to hit or at least dissuade
      the attackers from pressing forward . Only a firearm with 10 or more round magazine
      would offer that kind of defensive capability.

    • Had several people trespass on my property doing something illegal and when
                                                                             "    I called
      the police said it would be a while before they could come out so when I asked the
      people to leave they threatened to kill me but after they seen that I was open carry
      the left if the situation went a different way I dont know if I would have been about
      to protect myself with as many of them as there was

    • The time when there were 4 people in my home and I was fearful of being hurt and
      my concern was do I have enough rounds to protect myself what if I missed if I had to
      fire the weapon .

    • Yes. Been stalked by a pack of coyotes while hiking with my children



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    • Yes when I had more than one person trying to break into my car. I live out in the
      country so I do not have time to wait for police to get to me I have to act fast and
      protect myself and my family.

    • Yes, I ran into a situation where there were numerous criminals breaking the law and
      rioting at a public venue during an annual festival event. They were blocking my self
      and my friends, two of which were females, from leaving the area as well as preventing
      the police from reaching us. I was very glad that I had multiple magazines that had
      more then a 10 round capacity.

    • 2 men broke into my home while I was sleeping. I woke up and heard them breaking
      stuff downstairs. I grabbed my gun and ran down stairs and confronted them. I pointed
      my gun at them and told them to get out. They ran off.

    • I was stopped at a red light. Car in front of me backed up and the car behind me
      pulled up to my bumper. Both drivers got out and approached both sides of my car.
      Light turned green. I gassed it pushing the car in front of me out of the way. They
      had bats to break my windows. Would've robbed me I think. Was under a overpass.

    • Twice it was people attempting to break into my home I was alone age 64 and 4 burly
      men thought no one was home as I had been napping. They learned quickly this old
      lady was not without protection. They saw the gun and quickly left . I called 9 1 1
      and they were apprended they had been robbing homes for 6 weeks i n the area. Those
      home who had guns they left and went elsewhere. Another time people a group wanted
      a big party came to the wrong road half were drunk or stoned. I had small children.
      There was finally someone sober enough to see I had a gun and that I meant business
         ... the middle of the night and they wanted
      it was                                  ...    to party but had the wrong road. The
      sane person got them to all leave and they never came back. We had no phone at that
      time. The third time was a cougar attacking my livestock. It ran off but had killed
      4 goats. We called the game warden they had a special hunt and killed it as we had
      been the 4th place hit it had killed livestock. We have had cougar on our property in
      our yard 3 times since once my son shot one stalking him and his dog the other time


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      it ran off before he could get his gun ready.

    • yes, but not at home, we were camping in prescott arizona and several men came up
      and wanted to harass and steal from our family. We all felt very threatened and if
      another couple of people had not shown up with their guns the people would have over
      ran us and my family would have been hurt.

    • It could have helped during a robbery at my residence where 4 intruders entered my
      home

    • I was a small business owner before I became disabled. I would often carry large
      amounts of cash. On more than 1 occasion I was faced with pulling my weapon or lose
      my cash

                                 .-
    • I was walking a long distance through Philadelphia to get to a restaurant and was
      approached by 3 men who demanded to know why I thought I could go through their
      neighborhood. I told them I did not want any trouble and tried to continue walking
      but one stood in my way and asked if I actually thought I was going to leave without
      answering them. I began to wonder if I was going to be robbed or assaulted when they
      first approached and at this point it seemed like they would prevent me from leaving.
      I lifted my shirt and placed my hand on a pistol I was legally able to conceal carry
      and said yes I would be leaving. They backed away from me but continued to yell
      things at me as I left the area. I never pulled the gun out, but them knowing I had
      it and may use it to stop them was enough to escape unharmed. Having less than 1 0
      rounds against 3 attackers, especially if they were also armed, would have put me at a
      disadvantage if I was unable to accurately hit my targets initially and they continued
      to Pursue me.

    • Yes, I was in Illinois, which does not honor Indiana concealed carry. I had to leave my
      firearm at home. This was truly the only time in my life I felt I needed to actually
      use a firearm,
                •    but almost was killed. 4 men (3 with guns displayed and 1 with a knife
      in his hand) were walking up to me fast in a parking lot screaming
                                                                   "          .
                                                                         stop and give me
      everything you have. The parking lot was near empty, and dark outside. I was able

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      to unlock my car while running, start the car and speed off. Just as I got in the car, I
      had j ust enough time to lock the door before the 3 men pointed there guns at the car
      and the other was stabbing the window with a knife. They intended to rob and kill
      me. I couple rounds were fired as I sped off. I would have needed minimally 10 rounds
      if I had discharged given their distancing. I almost died because of Illinois law and my
      street smarts and luck was the only thing that saved me

    • Yes An incident occurred when a man was drunk and crashed his car in front of me
      while I was carrying my 2 small children. A large group of his friends tried to get the
      drunk away before the police arrived. A fight started with them punching my elderly
      dad and threatened my elderly mother with violence.

    • I was confronted then attacked by a group of about 12 teens
                                                              ,.  when I was a teenager.
      They kicked me and caused a sever head injury and fractured ribs. I was defenseless.
      Being able to brandish a weapon with the capacity to take on a group of that size
      would have deterred their next step of physically assaulting me

    • The two large males that attempted to break into my home. Much larger than myself.
      A 9mm would take several shots to slow down either and/ or both.

    • Yes. I am a 5 ' 2" disabled female. I was stalked by a homeless
                                                                    •. drug addict . He was

      detained 4-5 times due to red behavior because he was high on methamphetamine.
      This person could have potentially done great harm to me. Meth addicts don't always
      go down easy. Sometimes it takes numerous rounds to get them down.

    • My brother and I were robbed at gun point when ione of the men got in the car with
      me after my brother got out of the car. The man had already told my brother that he
      wanted his money and that there were other people watching across the parking lot in
      case he had any problems with us. So when my brother got out , that man got in with
      a gun and stuck it right into my right side. He told me not to look at him and to give
      him all my money. With the other men standing in different positions in the parking
      lot my brother could have tried to shoot them ( or at them) to try and scare them off



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       and if he could have had a larger capacity magazine he could have been able to fire
       more rounds at them to keep them away while we tried to get help from someone.

    Finally, it is worth noting that , although a majority of these scenarios involve the prospect
 of defending against criminal aggression, a number involve defending against animals. The
 pilot survey in Vermont similarly documented a number of incidents involving animals (see
 Appendix A) . This is a phenomenon that has been largely neglected in the scholarly literature
 examining the value of firearms for self-defense, and it would be helpful for future research to
 evaluate the frequency with which firearms are employed in defense against animal threats.


 5.3    Ownership of AR- 1 5 and similarly styled rifles

 All gun owners were asked, "Have you ever owned an AR-15 or similarly styled rifle? You
 can include any rifles
                    • of this style that have been modified or moved to be compliant with
 local law." 30.2% of gun owners, about 24.6 million people, indicated that they have owned
 an AR-15 or similarly styled rifle. Using survey weights based on in-survey demographics of
 firearms ownership has no effect on this estimate. Respondents were then asked to indicate
 how many of such rifles they have owned. Approximately 99. 7% indicated owning under
 100 and 98.4% under 10. In order to provide a conservative estimate of ownership rates
 and to ensure that average estimates are not skewed by a small number of large outliers, we
 disregard the 0.3% that indicate owning over 100 in calculating average ownership numbers.
 Among those who indicate having owned AR-15 and similarly styled rifles, they indicate
 having owned an average of 1.8, with the median owner having owned 1. This suggest that
 up to 44 million AR-15 styled rifles have been owned by U . S . gun owners. Note, again, that
 this estimate is based on a question that asks whether someone has ever owned such a rifle,
 so this estimate should be interpreted as an upper bound on current ownership given that
 some rifles may have been resold.
    Figure 15 shows the percentage of respondents who indicated that they owned AR-15
 styled rifles for the following purposes: defense outside the home (34. 6%) , home defense
 (61 .9%) , competitive shooting sports (32 . 1 %) , recreational target shooting (66.0%) , hunting
 (50 . 5%) , and other ( 5 . 1 % ) . Note that respondents could choose multiple purposes for which


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    Defense outside the home                           I 34 .6
                Home defense -                                         6 1 .9

  Competitive shooti ng sports                        I 32 . 1
 Recreational target hooting       �       -   -       -    -     -   �
                                                                      - 66

                      Hunting      1
                                   L-_____I fiO.fi
                         Other     D 5.1
                                   I
                                 0      20     40      60     80     100
                     Percentage indicating each factor was a rea on for own rship .

                Figure 15: Pmposes indica ed for owning AR- 1 5 styled rifles.


 they owned such firearms. Home def nse and recrea ional target shooting were the two most
  ommon rea on · indi ated for owning h e magazin                        with a.ppr ximately two-third of
 respondents identifying each of these as a rat ional for ownership.

                                         Proportion Owned                       95% Confid e nee
            Demographic Group
                                         AR- 1 5 Styled Rifle                   Interval
            White                        29.63/c                                28 .9o/c - 30.4o/c
            Black                        34.0o/c                                31 . 0% - 37. l o/c
            Asian                        29.23/c                                24.6% - 34.2o/c
              ative American             35. o/c                                30 .8% - 40. 3%
            Pacifi I lander              48.4o/c                                36 .3% - 60. 7%
            Other Ethni An es ry         34. 63/c                               2 .8o/c - 1 . 1 %
            Hi panic ( any ancestry)     3 . 33/c                               35 .0% - 4 1 . o/c
            Male                         36.4o/c                                35 . 5% - 37.4o/c
            Female                       2 1 . 3o/c                             20 .3% - 22 . 3%

                 Table 5 : Demographics of owner hip of AR- 1 5 styled rifle s.


    Table 5 shows th breakdown of ownership of AR- 1 5 . tyled rifle aero 'S different demo-
 graphic . egments. A this table demonstrate                     R- 15 sty led rifles are commonly owned at

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 high rates across many different demographic groups.
     Table 6 shows the percentage of gun owners in each state who indicated that they have
 owned AR-15 styled rifles. Note that this question explicitly instructed respondents that
 "You can include any rifles of this style that have been modified or moved to be compliant
 with local law." Thus, as with magazines, these answers can include firearms that are kept
 in other states, as well as firearms that were grandfathered in or modified to be compliant
 with local law, or respondents who have since sold or disposed of such guns. This presum­
                                             .·
 ably explains the relatively high rates of ownership in states that restrict the purchase or
 ownership of such firearms.



 6      Conclusion
 This report summarizes the main findings of the most comprehensive survey of firearms
 ownership and use conducted in the United States to date. While many of its estimates
 corroborate prior survey research in this area, it also provides unique insights that are relevant
                                                 ..
 to timely public policy debates, particularly regarding the defensive use of firearms and the
 ownership and use of AR-15 styled rifles and magazines that hold over 10 rounds.   ..
     This survey finds firearms ownership rates slightly above those documented before the
 Covid-19 pandemic, which is consistent with other recent scholarly research finding a large
 surge in firearms purchases during the pandemic, particularly among first time buyers (Crifasi
 et al. , 2021; Miller et al. , 2022 ) .
     I n sum, about 3 1 .9% of U.S. adults, or 81.4 million Americans, own over 4 1 5 million
 firearms, consisting of approximately 171 million handguns, 146 million rifles, and 98 million
 shotguns. About 24.6 million individuals have owned a up to 44 million AR-15 and similarly
 styled rifles, and 39 million individuals have owned up to 542 million magazines that hold
 over 10 rounds. Approximately a third of gun owners (31 . 1 %) have used a firearm to defend
 themselves or their property, often on more than one occasion, and guns are used defensively
 by firearms owners in approximately 1 .67 million incidents per year. A majority of gun
 owners (56.2%) indicate that they carry a handgun for self- defense in at least some cir­
 cumstances, and about 35% of gun owners report carrying a handgun with some frequency.


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                State                  Owned AR- 15 Style Rifle     95% Confidence Interval
                Alabama                28.9%                        24. 1 % - 34.3%
                Alaska                 37.0%                        24.4% - 5 1 .6%
                Arizona                28.8%                        24 . 2 % - 34.0%
                Arkansas               35.0%                        28.7% - 4 1 .8%
                California             37.5%                        34.8% - 40.2%
                C olorado              33.3%                        2 7 . 7% - 39.5%
                Connecticut            2 1 .8%                      1 5 . 3 % - 30.2%
                Delaware               20.3%                        1 2 . 6 % - 30.9%
                District of Columbia   30.0%                        14. 1 % - 5 2 . 7%
                Florida                28. 1 %                      2 5 . 5 % - 30.9%
                Georgia                3 1 .4%                      2 7.9% - 35 . 1%
                Hawaii                 34.6%                        19.1 % - 54 .3%
                Idaho                  3 1 .0%                      23.3% - 40.0%
                Illinois               32.6%                        28.7% - 3 6 . 7%
                Indiana                30.8%                        26.5% - 35.5%
                Iowa                   27.1%                        20.4% - 35 . 1 %
                Kansas                 28.4%                        22.4% - 35 .4%
                Kentucky               29.9%                        2 5 . 2 % - 35 . 1 %
                Louisiana              27.5%                        22.0% - 33.7%
                Maine                  2 2 . 0%                     14.6% - 3 1 .6%
                Maryland               29.9%                        23.7% - 36.9%
                Massachusetts          33.8%                        26.9% - 4 1 .4%
                Michigan               24.9%                        2 1 .5 % - 28.6%
                Minnesota              2 0 . 7%                     1 6 . 1 % - 26.3%
                Mississippi            30.4%                        23.8% - 38.0%
                Missouri               28.0%                        23.8% - 3 2 . 7%
                Montana                26.8%                        16.8% - 39.8%
                Nebraska               2 2 . 4%                     1 5 . 3 % - 3 1 .8%
                Nevada                 42.4%                        34 .6% - 50.6%
                New Hampshire          23.2%                        14.0% - 36.0%
                New Jersey             30.7%                        2 5 . 7% - 36.2%
                New Mexico             29.5%                        19.4% - 42 . 1%
                New York               37.8%                        34.8% - 4 1 .0%
                North Carolina         2 5 . 6%                     2 2 . 2 % - 2 9 .4%
                North Dakota           44.4%                        24 .0% - 6 7.0%
                Ohio                   2 5 . 9%                     2 2 . 7% - 29.4%
                Oklahoma               29.3%                        2 4 . 1 % - 35.0%
                Oregon                 2 5 . 6%                     20.0% - 32.2%
                Pennsylvania           24.4%                        2 1 .3% - 2 7.8%
                Rhode Island           2 9 . 7%                     17.3% - 46.1%
                South Carolina         2 5 . 3%                     2 1 .0% - 30.2%
                South Dakota           35.8%                        26.8% - 45.9%
                Tennessee              28.9%                        24.8% - 33.3%
                Texas                  36.0%                        33.3% - 3 8 . 7%
                Utah                   24.8%                        1 7 .9% - 33.2%
                Virginia               26.0%                        2 1 .9% - 30.6%
                Washington             35.3%                        30.3% - 40.6%
                West Virginia          27.4%                        2 1 .3% - 34.5%
                Wisconsin              1 9 . 7%                     1 5 . 6 % - 24.6%
                Wyoming                36. 1 %                      2 5 . 9 % - 47.8%


 Table 6: Percent of gun owners who have indicated that they have ever owned an AR- 1 5
 styled rifle by state. Note that this includes rifles that an owner holds i n other locations if
 there are local ownership restrictions and rifles modified to be compliant with local laws.




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 Finally, the demographics of firearms ownership and defensive use are diverse, with different
 demographic groups commonly owning and using firearms at substantial rates.




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 Appendix A: Vermont Pilot Survey

 An initial version of this survey was fielded in Vermont. \i\1e report below t he top line results
 from the Vermont surve , whi h closely mirror the results of the na ional mv y.
    In sum 572 Vermont residents were urveyed, of which 163 indicated owning firearms.
 The ,·urve sample represented the demographics of ermont well on all dimensions except
           '
 gender; as women were over represented and comprised 65. 23/c of respondents. Thus weights
 were employed f r gender.
    \i\Tith weighting employed we find that 30o/c of Vermont r siden           own a firearm. Given
 tha the adul t population of Vermon is approxima ely 4 6 000 this sugges                 hat ther are
 over 145 1 600 fir arm · owners i n V rmont. 42. 1% of V rmont fir arms own rs ar estimated
 to be female and 57.9% male.
    As Figure 16 illus rates almo t a third of gun owners (29.3%) reported having used
 a firearm to defend them elve or their property (not counting inciden s that were due to
 military service police work, or work as a secmity guard) . In nearly half of these defensive
 gun use · ( 45.9%) respondent report d fa ing multiple a sailants. 85 . ¾ of all in ident
 were resolved without he firearm owner having to fire a shot ( e.g. by simply showing a
 firearm or verbally threatening to use it).

                                                 Proportion of Defensive Incidents that
                    Self Defense by                   Involve Multiple Assailants
                 Vermont Gun Owners



                              29.3%                                     45.9%




                                                            M ultiple assailants
                   Have used a firearm in
                   self defense                             One assa i lant



 Figure 16: Proportion of gun owners in Vermont who have use a ffrearm in self-defense and
 number of assailants involved.



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    Sample of Vermont responses to open ended question prompt of "Have you ever been in
 a situation (including any referenced in earlier responses) in which it would have been useful
 for defensive purposes to have a firearm with a magazine capacity in excess of 10 rounds?" :

    • in the first incident it was five to one. I was outnumbered. three rounds per person if
      needed

    • The time I was assaulted
                       .,      by 10 individuals.

                 ...
    • Yes. We have bear that frequently come to our home. They've attempted to get into
      my truck, they have come onto our porch thru the dog door (XL size) they have been
      in our chicken coops and in our garage . They have damaged many items, destroyed gas
      grills and threatened my dogs and children. Sometimes a warning shot isn't enough.
      And if, God forbid, the bear turned and started to attack us multiple bullets would be
      needed to stop him.

    • About 6 individuals broke into my house one night . I locked myself in my room and
      they tried to break my door down. I threatened them with use of deadly force, but
      they kept trying. One of them was outside and broke my bedroom window and I aimed
      my shotgun at him and he ran off. I threatened again with the sound of charging my
      shotgun that they knew I wasn't bluffing and they all fled. Had they entered with the
      intent to kill my family and I, then we would have been out numbered. If there was
      an exchange of gun fire, I wouldn't want to have the restriction
                                                            ·"         of reloading within the
      time I needed to protect my family and myself. Outgun the enemy or the enemy will
      surely outgun you. Limiting everyone's right to weapons is not the answer, and clearly
      this attempt to ban high capacity magazines is j ust the catalyst to a government gun
      grab for easier totalitarian control of the population.

    • Yes, i had two run ins with a mountain lion.

    • We had a home invasion two times in a month

    • Yes. We live in VT. Every time I fired my gun in defense of my property it was to
      deter bears from damaging my property. It takes more than 1 shot to scare a bear. If

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      it charges you or your family it'll definitely take a bunch of shots to stop the bear.

    • Yes. Just because there are 10 rounds in a magazine does not mean all will be on
      target during a self defense incident . In 20 12 while I was in college in Connecticut , I
      got j umped by 4 people in Hartford ct. I had nothing on me to defend myself. The
      men all threatened me with knives and handguns. I wish I was able to carry a firearm
      at that point.




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 Appendix B : Sampling Proportions With and Without

 Weights for National Survey

            Initial Sample      Census Based
  Gender
            Proportions        Weighted Proportions

  Male      49.32%             49.23%
  Female    50.68%              50. 77%


               Initial Sample        Census Based
  Age Range
               Proportions           Weighted Proportions
  18-20        7.89%                 5.04%
  21-25        8.11%                 8.58%
  26-30        7.30%                 9.24%
  31-35        1 1 .67%              8.67%
  36-40        12.66%                8.44%
  41-45        8.49%                 7. 70%
  46-50        6.46%                 8.09%
  5 1-55       6.37%                 8. 13%
  56-60        7.39%                 8.52%
  61-65        7.67%                 7.87%
  66-70        8.03%                 6.59%
  71-75        5.07%                 5. 13%
  76-80        1.94%                 3.50%
  Over 80      0.93%                 4.49%




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 Annual Household          Initial Sample         Census Based

 Income                    Prop ortions           Weighted Proportions

 Less than $10,000         8.87%                  3.40%

 $10,000-20,000             8.95%                 4.89%
 $20,000-30,000             9.69%                 6.26%
 $30,000-40,000             8.78%                 7.06%

 $40,000-50,000             7.44%                 7.21%
 $50,000-60,000             7.72%                  6.96%
 $60,000-70,000             6.00%                  6.96%
  $70,000-80,000            6.37%                  6.37%

  $80,000-90,000            4.51%                  5.76%
  $90,000-100,000           5.89%                  5.76%
  $100,000- 1 50,000         17.67%                19. 1 1 %

  Over $ 150,000            8. 12%                 20.23%




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                                       Initial Sample      Census Based
               State of Residence
                                       Proportions         Weighted Proportions
               Alabama                 1 . 83%             1 . 52%
               Alaska                  0 . 39%             0 . 22%
               Arizona                 2 . 10%             2 . 16%
               Arkansas                1 . 10%             0.91%
               California              9 . 75 %            1 1 . 95 %
               Colorado                1 . 59%             1 . 75 %
               Connecticut             1 . 23%             1 . 09%
               Delaware                0.56%               0 . 30%
               Dist rict of Columbia   0 . 2 7%            0.21%
               Florida                 7. 29%              6.51%
               Georgia                 3 . 67%             3 . 24%
               Hawaii                  0 . 36%             0 . 44%
               Idaho                   0 . 44%             0 . 56%
               Illinois                4 . 14%             3 . 87%
               Indiana                 2 . 13%             2 .05%
               Iowa                    0.91%               0 . 96%
               Kansas                  0 . 92%             0.89%
               Kentucky                1.61%               1 . 36%
               Louisiana               1 . 23%             1 .41%
               Maine                   0.51%               0.41%
               Maryland                1 . 6 7%            1 . 87%
               Massachusetts           1 . 88%             2 . 13%
               Michigan                3.21%               3 . 05 %
               Minnesota               1 . 36%             1 . 73%
               Mississippi             0 . 83%             0 . 90 %
               Missouri                1 . 93%             1 . 86%
               Montana                 0.25%               0.33%
               Nebraska                0 . 53%             0 . 59%
               Nevada                  0 . 90%             0 . 94%
               New Hampshire           0 . 40 %            0 . 42%
               New Jersey              2 . 9 7%            2.81%
               New Mexico              0 . 36%             0 . 64%
               New York                8 . 09%             6 . 1 1%
               North Carolina          3 . 18%             3 . 16%
               North Dakota            0 . 13%             0 . 24%
               Ohio                    4.13%               3 . 57%
               Oklahoma                1 . 32%             1 . 20%
               Oregon                  1.05%               1 . 2 8%
               Pennsylvania            4.30%               3 . 93%
               Rhode Island            0.33%               0.33%
               South Carolina          1 . 68%             1 . 55%
               South Dakota            0 . 48%             0 . 27%
               Tennessee               2 . 18%             2 . 09%
               Texas                   6.91%               8.81%
               Utah                    0 . 56%             0 . 99%
               Virginia                2 . 43 %            2.61%
               Washington              2.03%               2 . 33%
               West Virginia           0.71%               0 . 54%
               Wisconsin               1 . 83%             1 . 78%
               Wyoming                 0.32%               0 . 1 7%




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                       Initial Sample         Census Based
  Race
                       Proportions            Weighted Proportions
  White                81 .26%                76.30%
  Black                9.85%                  13.40%
  Asian                3.98%                  5.90%
  Native American      2. 19%                 1.30%
  Pacific Islander     0.49%                  0.20%
  Other                2. 22%                 2.90%




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                        EXHIBIT 6
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    . Department of J ustice
Office of J ustice Programs




                                                                                                             July 1 995, NCJ-148201

Firearms, crime, and criminaljustice

Guns Used in Criine
                                            Highlights
          By Marianne W. Zawitz
             BJS Statistician

How often are guns used
in violent crimes?                          • Although most crime is not commit­       ATF in 1 994 were handguns (mostly
                                            ted with guns, most gun crime is com­      pistols), and almost a third were less
According to the N ational Crime            mitted with handguns. pages 1 & 2          than 3 years old . page 4
Victimization Survey (NCVS), almost         • Although most available guns are         • Surveys of inmates show that they
43.6 million criminal victimizations oc­    not used in crime, information about       prefer concealable, large caliber
curred in 1 993, including 4.4 million      the 223 million guns available to the      guns. J uvenile offenders appear to
violent crimes of rape and sexual as­       general public provides a context for      be more likely to possess g u ns than
sault, robbery, and aggravated assault.     evaluating criminal preferences for        adults. page 5
Of the victims of these violent crimes,     guns. page 2                               • Studies of the guns used in homi­
1 .3 million (29%) stated that they faced   • By definition, stolen guns are avail­    cides show that large caliber revolv­
an offender with a firearm.*                able to criminals. The FBl's National      ers are the most frequent type of gun
                                            Crime I nformation Center (NCIC)           used in homicides, but the number
In 1 993, the FBl's Crime in the United     stolen gun file contains over 2 million    of large caliber semiautomatic guns
States estimated that almost 2 million      reports; 60% are reports of stolen         used in murders is increasing. page 5
violent crimes of murder, rape, rob­        handguns. page 3                           • Little information exists about the
bery, and aggravated assault were re­       • I n 1 994, the Bureau of Alcohol,        use of assau lt weapons in crime. The
ported to the police by citizens. About     Tobacco and Firearms (ATF)                 information that does exist uses vary­
582,000 of these reported murders,          received over 85, 1 32 requests from       ing definitions of assault weapons that
robberies, and aggravated assaults          law enforcement agencies for traces        were developed before the Federal
were committed with firearms. M urder       of guns used in crime. Over three­         assault weapons ban was enacted .
was the crime that most frequently in­      quarters of the guns traced by the         page 6
volved firearms; 70% of the 24,526
murders i n 1 993 were committed with
firearms.                                   information about the guns used            F rom these sources, we know how
                                            by criminals are available from -          often guns are involved in crime, how
How do we know about the guns               • official police records concerning the   guns are used i n crime, what general
used by criminals?                          guns recovered in crimes and reports       categories of firearms are most often
                                            gathered from victims                      used in crime, and, to a limited extent,
No national collection of data contains     • surveys that interview criminals         the specific types of guns most fre­
detailed i nformation a bout all of the     • surveys that interview victims           quently used by criminals.
guns used in crimes. Snapshots of           of crime.

* See note on page 7.

                                                                                                        AP P. 636
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What are the different types of firearms?                                                  Handguns are most often the type
                                                                                           of firearm used in crime
Types
                                                                                              • According to the Victim Survey
Handgun                   A weapon designed to fire a small projectile from one or
                                                                                              (NCVS ). 25% of the victims of rape
                           more barrels when held in one hand with a short stock
                                                                                              and sexual assault, robbery, and
                           designed to be gripped by one hand .
                                                                                              aggravated assault in 1 993 faced an
   Revolver                A handgun that contains its ammunition in a revolving cylin- offender armed with a handgun. Of all
                           der that typically holds five to nine cartridges, each within a firearm-related crime reported to the
                           separate chamber. Before a revolver fires, the cylinder ro- survey, 86% involved handguns.
                          tates, and the next chamber is aligned with the barrel.             • The FBl's Supplemental Homicide
   Pistol                  Any handgun that does not contain its ammunition in a              Reports show that 57% of all murders
                           revolving cylinder. Pistols can be manually operated or            in 1 993 were committed with hand­
                           semiautomatic. A semiautomatic pistol generally contains           guns, 3% with rifles, 5% with shotguns,
                           cartridges in a magazine located in the grip of the gun.           and 5% with firearms where the type
                          When the semiautomatic pistol is fired, the spent cartridge         was unknown .
                          that contained the bullet and propellant is ejected, the firing • The 1 991 Survey of State Prison In­
                           mechanism is cocked, and a new cartridge is chambered.             mates found that violent inmates who
   Derringer              A small single- or multiple-shot handgun other than a               used a weapon were more likely to use
                           revolver or semiautomatic pistol.                                  a  handgun than any other weapon;
                                                                                              24% of all violent inmates reported that
 Rifle                    A weapon i ntended to be fired from the shoulder that uses          they used a handgun. Of all inmates,
                          the energy of the explosive in a fixed metallic cartridge to
                                                                                              1 3% reported carrying a handgun
                          fire only a single projectile through a rifled bore for each
                                                                                              when they committed the offense
                           single pull of the trigger.
                                                                                              for which they were serving time.
 Shotgun                  A weapon i ntended to be fired from the shoulder that uses
                           the energy of the explosive in a fixed shotgun shell to fire       What types of g u ns do criminals
                          through a smooth bore either a number of ball shot or a             prefer?
                           single projectile for each single pull of the trigger.
Firi ng action                                                                                Research by Wright and Rossi in the
 Fully automatic           Capability to fire a succession of cartridges so long as the       1 980's found that most criminals prefer
                          trigger is depressed or until the ammunition supply is ex-          guns   that are easily concealable, large
                           hausted. Automatic weapons are considered machineguns              caliber,  and well made. Their studies
                           subject to the provisions of the National Firearms Act.            also  found  that the handguns used by
                                                                                              the felons interviewed were similar to
 Semiautomatic            An a utoloading action that will fire only a single shot for        the handguns available to the general
                           each single function of a trigger.                                 public, except that the criminals pre­
 Machinegun                Any weapon that shoots, is designed to shoot, or can be            ferred larger caliber guns.
                           readily restored to shoot automatically more than one shot
                          without manual reloading by a single function of the trigger. What types of guns are available
 Submachinegun A simple fully automatic weapon that fires a pistol cartridge genera lly?
                          that is also referred to as a machine pistol.
Ammunition                                                                                    The Bureau of Alcohol , Tobacco and
                                                                                              Firearms (ATF) estimates that from
 Caliber                  The size of the ammunition that a weapon is designed to             1 899 to 1 993 about 223 million guns
                           shoot, as measured by the bullet's approximate d iameter           became available in the United States,
                           in i nches in the United States and in millimeters in other        including over 79 million rifles, 77 mil­
                           countries. In some instances, ammunition is described              lion handguns, and 66 million shot­
                          with additional terms, such as the year of its introduction         guns. The number of guns seized,
                           (.30/06) or the name of the designer (.30 Newton).                 destroyed, lost, or not working is
                           I n some countries, ammunition is also described in terms          unknown.
                          of the length of the cartridge case (7.62 x 63 mm).
 Gauge                     For shotguns, the number of spherical balls of pure lead,          The number of new handguns added
                           each exactly   I fitting the bore, that equals one pound.          to those available has exceeded the
                                                                                              number of new shotguns and rifles
Sources: ATF, Firearms & Explosives Tracing Guidebook, September 1 993, pp. 3540,             in recent years. More than half of the
and Paul C. Giannelli, "Ballistics Evidence: Firearms Identification," Criminal Law Bulletin,
May-June 1 991, pp. 1 95-2 1 5.                                                               guns added in 1 993 were handguns.

2 Guns Used in Crime                                                                                           AP P. 637
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Over 40 million handguns have been           Stolen guns are a source                                How many guns are stolen?
produced in the United States since          of weapons for criminals
1 973.                                                                                               The Victim Survey (NCVS) estimates
                                             All stolen guns are available to crimi­                 that there were 34 1 ,000 incidents of
Since over 80% of the guns available         nals by definition. Recent studies of                   firearm theft from private citizens an­
in the United States are manufactured        adult and juvenile offenders show that                  nually from 1 987 to 1 992. Because
here, gun production is a reasonable         many have either stolen a firearm or                    the survey does not ask how many
indicator of the guns made available.        kept, sold, or traded a stolen firearm:                 guns were stolen, the number of g uns
From 1 973 to 1 993, U .S. manufactur­       • According to the 1 991 Survey of                      stolen probably exceeds the number
ers produced -                               State Prison I nmates, among those                      of incidents of gun theft.
• 6.6 million . 357 Magnum revolvers         inmates who possessed a handgun,
• 6. 5 million . 38 Special revolvers        9% had acquired ii through theft, and                   The FBl's National Crime Information
• 5.4 million .22 caliber pistols            28% had acquired it through an illegal                  Center (NCIC) stolen gun fil e con­
• 5.3 million . 22 caliber revolvers         market such as a d rug dealer or fence.                 tained over 2 mill ion reports as of
• 4.5 million .25 caliber pistols            Of all inmates, 1 0% had stolen at least                March 1 995. I n 1 994, over 306,000
• 3 . 1 million 9 millimeter pistols         one gun, and 1 1 % had sold or traded                   entries were added to this file including
• 2.4 million . 380 caliber pistols          stolen g uns.                                           a variety of guns, ammunition, can­
• 2.2 million .44 Magnum revolvers           • Studies of adult and juvenile offend­                 nons, and grenades. Reports of stolen
• 1 .7 million .45 caliber pistols           ers that the Virginia Department of                     guns are included in the NCIC files
• 1 .2 million . 32 caliber revolvers.       Criminal Justice Services conducted                     when citizens report a theft to law
                                             in 1 992 and 1 993 found that 1 5% of                   enforcement agencies that submit
During the two decades from 1 973            the adult offenders and 1 9% of the ju­                 a report to the F B I . All entries must in­
to 1 993, the types of handguns most         venile offenders had stolen guns; 1 6%                  clude make, caliber, and serial num­
frequently produced have changed.            of the adults and 24% of the juveniles                  ber. Initiated in 1 967, the NCIC stolen
Most new handguns are pistols rather         had kept a stolen gun; and 20% of the                   gun file retains all entries indefinitely
than revolvers. Pistol production grew       adults and 30% of the juveniles had                     unless a recovery is reported.
from 28% of the handguns produced            sold or traded a stolen gun.
in the United States in 1 973 to 80%         • From a sample of juvenile inmates                     Most stolen guns are handguns
in 1 993.                                    in fou r States, Sheley and Wright
                                             found that more than 50% had stolen                     Victims report to the Victim Survey that
The number of large caliber pistols          a gun at least once in their lives and                  handguns were stolen in 53% of the
produced annually increased substan­         24 % had stolen their most recently ob­                 thefts of guns. The FBl's stolen gun
tially after 1 986. Until the mid-1 980's,   tained handgun. They concluded that                     file's 2 million reports include informa­
most pistols produced in the U nited         theft and burglary were the original, not               tion on -
States were .22 and .25 caliber mod­         always the proximate, source of many                    • 1 .26 million handguns (almost 60%)
els. Production of .380 caliber and          guns acquired by the juveniles.                         • 470,000 rifles (22%)
9 millimeter pistols began to increase                                                               • 356,000 shotguns (1 7%).
substantially in 1 987, so that by 1 993
they became the most frequently pro­
duced pistols. From 1 991 to 1 993, the       From 1 985 to 1 994, the FBI received an a n n ual average
                                              of over 274,000 reports of stolen g u ns
last 3 years for which data are avail­
                                                                                                                         Number of stolen gun
able, the most frequently produced                                                                                       entries into NCIC
handguns were -
                                                                                                                                  300,000
• . 380 caliber pistols (20%)
• 9 millimeter pistols ( 1 9%)
• . 22 caliber pistols ( 1 7%)
• .25 caliber pistols ( 1 3%)                                                                                                     200,000
• . 50 caliber pistols (8%).



                                                       (                                                                           1 00,000




                                                      1 968 1 970 1 972 1 974 1976 1 978 1 980 1 982 1 984 1986 1988 1990 1992 1 994

                                              Source: FBI, National Crime I nformation Center, 1 995.




                                                                                                                            c:A80s�Crime 3
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How many automatic weapons                      Trace requests represent an unknown                   While trace requests for all types of
are stolen?                                     portion of all the guns used in crimes.               guns increased in recent years, the
                                                ATF is not able to trace guns manufac­                number of pistols traced increased
Under the provisions of the N ational           tured before 1 968, most surplus mili­                the most, doubling from 1 990 to 1 994.
Firearms Act, all automatic weapons             tary weapons, imported guns without
such as machine guns must be regis­             the importer's name, stolen guns, and                 What are the countries of origin
tered with the ATF. In 1 995, over              guns missing a legible serial number.                 of the g u ns that a re traced?
240,000 automatic weapons were
registered with the ATF. As of March            Police agencies do not request traces                 Traced guns come from many coun­
1 995, the NCIC stolen gun file con­            on all firearms used in crimes. Not all               tries across the globe. However, 78%
tained reports on about 7,700 machine           firearms used i n crimes are recovered                of the guns that were traced in 1 994
guns a nd submachine guns.                      so that a trace could be done and, in                 originated in the United States and
                                                some States and localities, the police                most of the rest were from -
What types of handgu n s are most               agencies may be able to establish                     • Brazil (5%)
frequently stolen?                              ownership locally without going to                    • Germany (3%)
                                                the ATF.                                              • China (3%)
Most frequently reported handguns                                                                     • Austria (3%)
in the NCIC stolen gun file                     Most trace requests concern                           • Italy (2%)
Percent                                         handg u n s                                           • Spain (2%).
of stolen
handguns Number Caliber Type
                                                Over half of the guns that police                     Almost a third of the g uns traced
  20.5%    259,184       .38    Revolver        agencies asked ATF to trace were                      by ATF in 1 994 were 3 years old
  1 1 .7   147,681       .22    Revolver        pistols and another quarter were                      or less
  1 1 .6   146,474       .357   Revolver        revolvers.
    8.8    1 1 1 ,558      9 mm Semiautomatic
                                                                       Percent of all                 Age of             Traces completed in 1 994
    7.0      87 ,7 1 4   .25    Semiautomatic   Type of gun            1 994 traces                   traced guns           Number Percent
    6.7      84,474      .22    Semiautomatic
    5.4      68, 1 1 2   .380   Semiautomatic       Total                  1 00.0%                      Total                83,362        1 00%
    3.7      46,503      .45    Semiautomatic   Handgun                      79.1                     Less than 1 year         4,072          5
    3.3      4 1 ,318    .32    Revolver          Pistol                     53.0                     1 year                 1 1 ,617        14
    3.1      39,254      .44    Revolver          Pistol Revolver            24.7                     2 years                  6,764          8
    1 .5     1 8 ,377    .32    Semiautomatic     Pistol Derringer             1 .4                   3 years                 4,369           5
    1 .3     1 6,214     .45    Revolver        Rifle                        1 1 .1
                                                Shotgun                        9.7
Upon request, the ATF traces some               Other including
                                                  machinegun                  0.1
g uns used in crime to their origin

The National Tracing Center of ATF               What crimes are most likely to result in a gu n-tracing request?
traces firearms to their original point of
sale upon the request of police agen­                                                 Percent of traces by crime ty12e
cies. The requesting agency can use                                    Percent               Hand9un
this information to assist in identifying                              of all 1 994                           Pistol   Pistol
                                                 Crime type            traces         Total Total Pistol Derringer Revolver             Rifle   Shotgun
suspects, providing evidence for sub­
sequent prosecution, establishing sto­           Weapons offenses         72%           1 00%   81%    55%          1%    25%            1 0%       9%
len status, and proving ownership.               Drug offenses            12            1 00    75     50           2     23             14        11
The number of requests for firearms              Homicide                  6            1 00    79     49                 29              11       10
traces increased from 37, 1 81 in 1 990          Assault                   5            1 00    80     50           1     28             10        11
to 85, 1 32 in 1 994.                            Burglary                  2            1 00    57      34          1     22             24        19
                                                 Robbery                   2            1 00    84      53          1     29               7       10
                                                 Other                     2            1 00    76      54                21             14        10
                                                 Note: Detail may not add to total because of rounding.
                                                 Source: ATF, unpublished data, May 1 995.




4 Guns Used in Crime                                                                                                        AP P. 639
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 What guns are the most frequently traced?
                                                      1 0 most frequently traced guns in 1 994
 The most frequently traced g uns vary from
                                                       Rank       Manufacturer            Model        Caliber       Type       Number traced
 year to year. The ATF publishes a list of the
 1 0 specific guns most frequently traced annu-                  Lorci n                   P25            .25        Pistol            3,223
 ally. The total number of traced guns on the           2        Davis Industries         P380            .38        Pistol            2,454
 top 1 0 l ist was 1 8% of the total traced from        3        Raven Arms               MP25            .25        Pistol            2 , 1 07
 1 991 to 1 994. Most of the top 1 0 guns were          4        Lorci n                   L25            .25        Pistol            1 ,258
 pistols (over 30% were .25 caliber pistols),           5        Mossburg                  500           1 2G       Shotgun            1 ,0 1 5
 although a number of revolvers and a few               6        Phoenix Arms             Raven           .25        Pistol               959
 shotguns and rifles were also i ncluded. The           7        Jennings                  J22            .22        Pistol               929
 most frequently traced gun was a Smith and             8        Ruger                     P89          9 mm         Pistol               895
 Wesson . 38 caliber revolver in 1 990, the Ra-         9        Glock                      17          9 mm         Pistol               843
 ven Arms P25 ( a . 2 5 caliber pistol) from 1 99 1    10        Bryce                      38            .38        Pistol               820

 through 1 993, and the Lorcin P25 i n 1 994 .
                                                      Source: ATF, May 1 995.



What caliber guns do criminals              They were also more likely to have                    from 1 989 through 1 991 . Firearms
prefer?                                     carried a revolver ( 1 0% versus 7%).                 were identified as the murder weapon
                                            The same proportion of adults and ju­                 in 600 cases. Over 70% of the fire­
I n their 1 983 study, Wright, Rossi, and   veniles (3% ) carried a shotgun or rifle              arms used were handgu ns. Of those
Daly asked a sample of felons about         at the crime scene.                                   handguns for which the caliber and
the handgun they had most recently                                                                firing action could be identified , 1 9%
acquired. Of the felons sampled -            Some studies of guns used in                         were .38 caliber revolvers, 1 0% were
• 29% had acquired a .38 caliber             homicides provide information                        .22 caliber revolvers, and 9% were 9
handgun                                      about caliber                                        millimeter semiautomatic pistols.
• 20% had acquired a .357 caliber
handgun                                   McGonigal and colleagues at the Uni­                    The Hawaii Department of the Attorney
• 1 6% had acquired a .22 caliber         versity of Pennsylvania Medical Center                  General, Crime Prevention Division,
handgun .                                 studied firearm homicides that oc­                      studied 59 firearm-related homicides in
                                          curred in Philadelphia: 1 45 in 1 985 and               Honolulu from 1 988 to 1 992. Hand­
Sheley a n d Wright found that the juve­ 324 in 1 990. Most of the firearms                       guns were used in 48 homicides (over
nile inmates in their 1 991 sample in     used in the homicides studied were                      80%) including 1 1 handguns of 9 milli­
four States preferred large caliber, high handguns: 90% in 1 985 and 95% in                       meter caliber, 10 of .357 caliber, 10 of
quality handguns. Just prior to their     1 990. In both years, revolvers were                    .38 caliber, and 5 of .25 caliber.
confinement -                             the predominant type of handgun
• 58% owned a revolver, usually           used; however, the use of semiauto­                     What caliber guns are used in
a .38 or .357 caliber gun                 matic pistols increased from 24% in                     the kil lings of law enforcement
• 55% owned a semiautomatic               1 985 to 38% in 1 990. The caliber of                   officers?
handgun, usually a 9 millimeter           the handguns used also changed:
or .45 caliber gun                                                                                F rom 1 982 to 1 993, of the 687 officers
• 51 % owned a sawed-off shotgun           In Philadelphia, handguns most often used:             who were killed by firearms other than
• 35% owned a military-style automatic In 1 985, of 91            In 1 990, of 204                their own guns, more were killed by
                                           homicides              homicides
                                                                 -------
or semiautomatic rifle.                                                                           .38 caliber handguns than by any other
                                             44% .38 caliber        23%    9 mm pistol
                                                    revolver                                      type of weapon.
Do j uvenile offenders use d ifferent        1 9% .25 caliber       1 8%   .38 caliber
types of g uns than adult offenders?                pistol                   revolver                                    Percent of law
                                             1 4% .22 caliber       1 6%   .357 caliber                                  enforcement officers
                                                    revolver                 revolver             Type of firearm        killed with a firearm
A study of adult and juvenile offenders      1 4% .32 caliber       16%    .22 caliber
                                                    revolver                 revolver
by the Virginia Department of Criminal                                                            .38 caliber handgun          25.2%
                                               3% 9 mm pistol       1 0%   .32 caliber
Justice Services found that juvenile of­                                     revolver             .357 Magnum handgun          1 2.1
fenders were more likely than adults to       2% .357 caliber        6%    .380 caliber           9 millimeter handgun           9.5
                                                   revolver                  pistol
have carried a semiautomatic pistol at                                                            12 gauge shotgun               7.4
the crime scene ( 1 8% versus 7%).                                                                .22 caliber handgun           5.4
                                            The Virginia Department of Criminal                   .22 caliber rifle             4.4
                                            J ustice Services studied 844 homi­
                                            cides that occurred in 1 8 jurisdictions
                                                                                                                    c:A80sMOcrime 5
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 How often are assault weapons used in crime?
Little information exists about the use          in circulation were assault weapons.                   Assault weapons and offenders
of assault weapons in crime. The in­             Of the g un-tracing requests received
formation that does exist uses varying           that year by ATF from law enforce­
                                                                                In the 1 99 1 BJS Survey of State
definitions of assault weapons that              ment agencies, 8% involved assault
                                                                                I nmates, about 8% of the inmates
were developed before the Federal                weapons.                       reported that they had owned a
assault weapons ban was enacted .                                               mil itary-type weapon , such as an Uzi,
                                        Assault weapons and h om icide          AK-4 7, AR- 1 5, or M-1 6. Less than
I n general, assault weapons a re                                               1 % said that they carried such a
semiautomatic firearms with a large     A New York State Division of Criminal weapon when they committed the
magazine of ammunition that were        Justice Services study of homicides     incident for which they were incarcer­
designed and configured for rapid fire in 1 993 in New York City found that     ated . A Virginia inmate survey con­
and combat use. An assault weapon       assault weapons were involved in        ducted between November 1 992 and
can be a pistol, a rifle, or a shotgun. 1 6% of the homicides studied . The     May 1 993 found similar results:
The Federal Violent Crime Control       definition of assault weapons used      About 1 0% of the adult inmates re­
and Law Enforcement Act of 1 994        was from proposed but not enacted       ported that they had ever possessed
bans the manufacture and sale of 1 9    State legislation that was more expan­ an assault rifle, but none had carried
specific assault weapons identified by sive than the Federal legislation. By    it at the scene of a crime.
make and manufacturer. It also pro­     matching ballistics records and homi­
vides for a ban on those weapons that cide files, the study found information Two studies i ndicate h igher propor­
have a combination of features such     on 366 firearms recovered in the        tions of juvenile offenders reporting
as flash suppressors and grenade        homicides of 271 victims. Assault       possession and use of assault rifles.
launchers. The ban does not cover       weapons were linked to the deaths of The Virginia inmate survey also cov­
those weapons legally possessed         43 victims ( 1 6% of those studied ).   ered 1 92 juvenile offenders. About
before the law was enacted. The                                                 20% reported that they had pos­
National Institute of Justice will be   A study by the Virginia Department of sessed an assault rifle and 1 % said
evaluating the effect of the ban and    Criminal Justice Services reviewed      that they had carried it at the scene of
reporting to Congress in 1 997.         the files of 600 firearm murders that   a crime. In 1 991 , Sheley and Wright
                                        occurred in 18 jurisdictions from 1 989 surveyed 835 serious juvenile offend­
In 1 993 prior to the passage of the    to 1 99 1 . The study fou nd that hand­ ers incarcerated in 6 facilities in 4
assault weapons ban, the Bureau         guns were used in 72% of the mur­       States. I n the Sheley and Wright
of Alcohol, Tobacco and Firearms        ders (43 1 murders). Ten guns were      study, 35% of the juvenile inmates
(ATF), reported that about 1 %          identified as assault weapons, includ­ reported that they had owned a
of the estimated 200 million guns       ing five pistols, four rifles, and one  military-style automatic or semiauto­
                                        shotgun.                                matic rifle just prior to confinement.


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                                                                                                        Wright, James D., Peter H. Rossi, and Kathleen
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6 Guns Used in Crime                                                                                                           APP. 641
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Note
                                              Guns Used in Crime is the first of
                                              a series of reports on firearms and
Data in this report from the 1 993 Na­
                                              crime that will become part of a
tional Crime Victimization Survey are
                                              longer document, Firearms, Crime,
the first released on this topic sin ce the
                                              and Criminal Justice. Other topics
survey was redesigned . Because of
                                              to be covered in this series include
changes in the methodology, direct
                                              weapons offenses and offenders,
comparisons with BJS's victim survey
                                              how criminals obtain guns, and
data from prior years are not appropri­
                                              intentional firearm i njury. The full
ate. Additional information about the
                                              report will focus on the use of guns
survey's redesign can be obtained
                                              in crime, trends in gun crime,
from Lhe Bureau of J ustice Slatistics
                                              consequences of gun crimes,
Clearinghouse at 1 -800-732-3277.
                                              characteristics of offenders who
                                              use guns, and sanctions for offend­
The Bureau of J ustice Statistics is the      ers who use guns. This report will
statistical arm of the U.S. Department        not cover the i nvolvement of firearms
of J ustice. Jan M. Chaiken, Ph.D., is        in accidents or suicides.
director.

BJS Selected Findings summarize
statistics about a topic of current
concern from both BJS and non-BJS
datasets.

Substantial assistance in preparing
this document was provided by Roy
Weise and Gary Boatman of the
Criminal J ustice I nformation Systems
Division of the FBI ; Edward Troiano,
Emmett Masterson, Gerald Nunziato,
Gary Kirchoff, and Kris Denholm of
the Bureau of Alcohol , Tobacco and
Firearms; Jim McDonough of the
Virg inia Department of Criminal
Justice Services; Henry Brownstein
and Kelly Haskin-Tenenini of the
New York State Division of Criminal
Justice Services; and Larry Green­
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Rand of the Bureau of Justice Statis­
tics. Verification and publ ication
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Boston , Ida H i nes, Rhonda Keith,
and Priscilla Middleton of the Bureau
of J ustice Statistics.

July 1 995, NCJ-1 4820 1




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                        EXHIBIT 7
                            -~




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  ANNUAL FIREARMS MANUFACTURING AND EXPORT REPORT


                                                YEAR 2020 Final*

                                          MANUFACTURED

     PISTOLS                                              REVOL VERS

    TO .22                            678,967          TO .22              597 0 1 5
    TO .25                            1 95,992         TO .32                 4, 1 24
    TO .32                              56,887         TO .357 MAG         1 52,92 ]
    TO .380                           659.899          TO .38 PEC          1 8 1 ,585
    TO 9MM                          3 2 l l ,775       TO .44 MAG            27 1 5 1
    TO .50                            705,663          TO .50                30,282

    TOTAL                           5,509,1 83         TOTAL               993,078


    RIFLES                          2,760,392

    SHOTGUNS                          476,682

    MISC. FIREARMS                   1 ,324,743


                                                   EXPORTED

    PISTOLS                          382,758

    REVOL VERS                        1 9,264

    RIFLES                           99,454

    SHOTGUNS                          1 7,874

    MISC. FIREARMS                      9,788

    " FOR PURPOSES O F THIS REPORT ONLY, "PRODU TION" I DEFINED A :
    FllU:ARMS, INCLUD NG SEPARATE FRAME OR RECEIVERS, ACTIONS OR
    BARRELED ACTION , MAN FACT RED N D DISPOSED OF 11" CO          MERCE
    DURING THE    ALENDAR YEAR.


    PREPARED BY LED 03/10/2021
    REPORT DATA AS OF 03/1 0/2021




                                                                                    AP P. 644
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: l 7-cv- 1 0 1 7-BEN-JLB
 5
     IT IS HEREBY CERTIFIED HAT:
 6
 7          I, the undersigned, declare under penalty of perjwy that I am a citizen of the
     United States over 1 8 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, desc1ibed as:
10
11       DECLARATION OF MARK BANISH IN SUPPORT OF PLAI NTI FFS'
                  S U PPLE M E NTAL BRIEF; EXH I BITS 2-7
12
13 on the following parties by electronically filing the foregoing on December 1, 2022,
   with the Clerk of the Distlict Court using its ECF System, which electronfoally
14
   notifies them.
15
    Rob Bonta
16
    Attorney General of California
17 Mark R. Beckington
    Supervising Deputy Attorney General
18
    Kevin J. Kelly
19 Deputy Attorney General
    300 South Spring Street, Suite 1 702
20
    Los Angeles, CA 900 1 3
21  kevin.kelly@doj.ca.gov
22
          I declare under penalty of pe1jU1y that the foregoing is true and conect.
23   Executed on December 1 , 2022, at Long Beach, CA.
24
25
26
                                                          aura Palmrin
27
28


                                                                             AP P. 645
                                                                                      1 7cv 1 0 1 7
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     Sean A. Brady -SBN 262007
 2   Anna M. Barvir -SBN 268728
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 6
     Att01neys for Plaintiffs
 7
 8                     IN THE U NITEDSTATES DISTRICT COURT
 9                   FOR THE SOUTH ERN DISTRICT OF CALIFORNIA
10
      VIRGINIA DUNCA , et al.,                    Case No: 1 7-cv- 1 0 1 7-BEN-JLB
11
                                Plaintiffs,       DECLARATION OF STEPHEN
12                                                HELSLEY IN SUPPORT OF
                         V.                       PLAINTIFFS' SUPPLEMENTAL
13                                                BRIEF; EXHIBIT 1 0
      XAVIER BECERRA i n his official
14    capacify as _Attorney General of theState
      o:fCaliforrua
15
                                Defendant.
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                          DECLARATION OF STEPHEN HELSLEY
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 1                      DECLARATION OF STEPHEN HELSLEY
 2        1.     I am Stephen Helsley, a retired peace officer from the California
 3   Department of Justice (DOJ). The bulk of that career was in drug enforcement. The
 4   last three positions I held were Chief of the Bureau of Narcotic Enforcement, Chief
 5   of the Bureau of Forensic Services and, finally, Assistant Director of the Division of
 6   Law Enforcement. As Assistant Director, I was responsible for the department's
 7   criminal, civil, and controlled substance investigations as well as law enforcement
 8   training, intelligence gathering and our forensic laboratory syste1n. In my executive
 9   level positions, I had occasion to review special agent-involved shootings and a wide
10   range of homicides involving firearms.
11        2.     I was the DOJ's principal firearms instructor for many years, and I am an
12   FBI-certified range master. I also participated in the firearm training that was part of
13   the FBI National Academy Program in Quantico, VA. I am a member of the
14   American Society of Arms Collectors and a technical advisor to the Association of
15   Firearm and Tool Mark Examiners. For well over two decades, I was first a state
16   liaison and, then later, a consultant to the ational Rifle Association, where I was
17   heavily involved in "assault weapon" and magazine legislative issues. For the past
18   ten years I have also served as the historian for the London-based company, John
19   Rigby & Co. (Gunmakers, Ltd.). Rigby is the oldest continuously operating gun
20   maker in the English-speaking world, having been established in 1775.
21        3.     I have co-authored five books on firearms and have authored or co-
22   authored more than fifty firearm-related articles for U. S. and Russian journals.
23   Throughout my adult life, I have been an active participant in handgun, rifle, and
24   shotgun competitions. I have also been a fireaim coUector and ammunition reloader
25   since the early 1960s.
26        4.     Finally, I am a collector of firearm-related books-of which I have
27   thousands. Included in my book collection are approximately 50 different issues of
28   Gun Digest, the earliest of which is from 1944. It is a standard resource that is

                          DECLARATION OF STEPHEN HELSLEY
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 1   widely used by gun dealers and buyers alike. Gun Digest has traditionally provided a
 2   comprehensive overview of the firearms and related items available to retail buyers.
 3         5.     Attached hereto as Exhibit 1 0 is a true and correct copy of my signed
 4 expert witness report previously submitted in this matter. Exhibit 10 contains my
 5   opinions and analysis relevant to this matter.
 6         6.     While I was unable to fully update my work in time to reflect post-20 17
 7   research, I can confirm that I stand by my prior report. I have also made some limited
 8   additional findings, which will now be discussed in the remainder of this declaration.
 9         7.     During my 35-years of involvement in the "assault weapon" issue I have
10 heard inmunerable times that the "founding fathers" never envisioned higher capacity
11   firearms than the single shot musket of their day and that the Second Amendment was
12   never intended to offer protection for such arms. Such a notion is preposterous.
13 Among the Founders, George Washington and John Adams were personaUy involved
14   in the consideration to purchase for the Continental A1my 1 00 Belton 8-shot firearms,
15   which were repeating muskets with detachable magazines. (Washington had been
16   encouraged by Benjamin Franklin to consider the "Belton flintlock.)
17         8.     The Belton flintlock was one of a number of multi-shot firearms
18   (including the Giradoni air rifle and the Lorenzoni among others) that were beginning
19   to appear at the end of the 18th century. Such weapons were complex, likely
20 unreliable, and fragile, but they were also a window into the future. The Belton
21   purchase never materialized - primarily because of cost - but prescient men like the
22   Founders surely understood that it would only be a matter of time before such arms
23   were practical, affordable, and reliable. In the absence of government interest, p1ivate
24 citizens would be clients for such anns, and the Founding generation imposed no
25 restrictions to stop them.
26         9.     The State also argues that magazines capable of holding more than 10
27   rounds do not wanant Second Amendment protection because they are
28   "accoutrements" (accessories) and not necessary to the functioning of the firearm for
                                        3
                          DECLARATION OF STEPHEN HELSLEY
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 1   which they are designed. The State also argues that if the weapon can function in the
 2   absence of the magazine, then the magazine is an accessory. As a single-shot, that is
 3   correct, it could function - but not as intended. Consider such logic applied to a
 4 pickup tluck. If a rear tire is removed, the truck can still be driven, but not as intended.
 5   A Glock pistol requires only the slide and barrel to fire a round, but that would not
 6 make the Glock s frame a mere accessory. The Glock is just one example of many
 7   firearrns that doesn't require all of its parts to be present to discharge a cartridge. An
 8   expansive definition of "accessory" is thus a serious threat to Second Amendment
 9   rights. If by designating a part an "accessory" it can be banned, taxed, or othe1wise
10 restricted, there is no protection for the complete firearm.
11          I O.   An expert for the defense (Ryan Busse) makes the related point that large
12   capacity magazines are not typically manufactured by the same company that
13   produces the firearm itself and therefore magazines should be considered an
14   accesso1y. Again, I am the historian for a B1itish company whose two main product
15 lines were developed and patented in the third quaiter of the 19 th century. Do we
16 produce all the key parts of those guns and rifles? - no. Could we? - yes. Some key
17 parts, including the receiver, are precision machined by a specialty manufacturer for
18   us. That does not mean our receivers are mere "accessories". The use of outside
19 vendors is simply a good business practice to produce the best possible product in the
20 most cost-effective manner.
21         11 .    AR-type magazines have been manufactured for over 60 years.
22   Production totals aren't known but given the number of 1ifles and pistols that accept
23   AR or other magazines capable of holding over ten rounds, it certainly wouldn't be
24 unreasonable to put the total between 500 mil1ion and 1 billion. They are undoubtedly
25   in common use by millions of Americans for lawful purposes incl uding self-defense,
26 sports shooting, competitions, hunting, and other similar purposes.
27   III
28 / / /

                           DECLARATION OF STEPHEN HELSLEY
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 1         12.   I have received no remuneration for any work done in this matter.
 2
 3         I declare under penalty of perjury that the foregoing is true and correct.
 4   Executed within the United States on November 30, 2022.
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                          DECLARATION OF STEPHEN HELSLEY
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                       EXHIBIT 10

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                    Expert Witness Report of Stephen Helsley
                         Duncan, et al. v. Becerra, et al.
                      United States District Court (S.D. Cal.)
                       Case No: 3: 17-cv-0 1 0 17-BEN-JLB
                               November 30, 2022

 I.    INTRODUCTION

         Counsel for plaintiffs in Duncan v. Becerra (E.D. Cal. Case No. 3: 17-cv-
 0 1 0 17-BEN-JLB) have asked me to offer an opinion regarding this case. This
 rero� sets forth my qualifications, opinions, and scholarly foundation for those
 opm1ons.
 II.   BACKGROUND & QUALIFICATIONS

        I am Stephen Helsley, a retired peace officer from the California Department
 of Justice (DOJ). The bulk of that career was in drug enforcement. The last three
 positions I held were Chief of the Bureau of Narcotic Enforcement, Chief of the
 Bureau of Forensic Services and, finally, Assistant Director of the Division of Law
 Enforcement. As Assistant Director, I was responsible for the department's
 criminal, civil, and controlled substance investigations as well as law enforcement
 training, intelligence gathering and our forensic laboratory system. In my executive
 level positions, I had occasion to review special agent-involved shootings and a
 wide range of homicides involving firearms.
        I was the DOJ' s principal firearms instructor for many years, and I am an
 FBI-certified range master. I also participated in the firearm training that was part
 of the FBI National Academy Program in Quantico, VA. I am a member of the
 American Society of Arms Collectors and a technical advisor to the Association of
 Firearm and Tool Mark Examiners. For the past 24 years, I was first a state liaison
 and, then later, a consultant to the National Rifle Association.
        I have co-authored five books on firearms and have authored or co-authored
 more than fifty firearm-related articles for U.S. and Russian journals. Throughout
 my adult life, I have been an active participant in handgun, rifle, and shotgun
 competitions. I have also been a firearm collector and ammunition reloader since
 the early 1 960s.
        Finally, I am a collector of firearm-related books-of which I have
 approximately three thousand. Included in my book collection are approximately
 50 different issues of Gun Digest, the earliest of which is from 1 944. It is a
 standard resource that is widely used by gun dealers and buyers alike. Gun Digest
 has traditionally provided a comprehensive overview of the firearms and related
 items available to retail buyers.



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       The combination of my consulting work, writing and free time activities puts
 me in constant contact with gun stores, shooting ranges, gun shows and gun
 owners. I am also in frequent contact with retirees from DOJ and other law
 enforcement agencies.
        I have qualified as an expert in both criminal and civil matters.
        A.    Published Articles

        In the past ten years, I have written or contributed to the following published
 articles and opinion editorials:
              1.     Articles
    ■   Of Birmingham and Belgium, Double Gun Journal, vol. 18, iss. 2 (2007).
    ■   The . 4 70 Nitro Express, Sports Afield (June/July 2007).
    ■   Readings on the Roots of the .4 10, Shooting Sportsman, Nov./Dec. 2007.
    ■   Hunting in Wales, Hunting and Fishing (Russia), Dec. 2007.
    ■   A Pair for a Pair of Friends, Shooting Sportsman, March/April 2008.
    ■   A Welsh Fantasy, Shooting Sportsman, July/Aug. 2008.
    ■   A Maine Gun Goes Home, Shooting Sportsman, Sept./Oct. 2008.
    ■   The Pin Fire Comes Home, Libby Camps Newsletter, Winter 2008.
    ■   John Rigby & Co., Hunting and Fishing (Russia), July 2008.
    ■   The All-American Double Rifle, Safari, Sept./Oct. 2008.
    ■   Eastern Oregon Odyssey, Shooting Sportsman, Nov./Dec. 2008.
    ■   Rigby Marks 275th Anniversary, Safari, Nov./Dec. 2009.
    ■   Finding Papa's Guns, Shooting Sportsman, March/April 20 10.
    ■   The Searcy Stalking Rifle, Safari, May/June 20 1 0.
    ■   The Ruggs Riders, Shooting Sportsman, July/Aug. 20 10.
    ■   Searcy Brings Back the Rising-Bite, Shooting Sportsman, Sept./Oct. 20 10.
    ■   John Rigby & Co., African Hunting Gazette, Fall 20 10.
    ■   The Ageless .41 6 Rigby, Safari, Nov./Dec. 20 1 2.
    ■   J P. Clabrough, Shooting Sportsman, March/April 20 15.
    ■   The Mystery of Hemingway 's Guns, Friends and Neighbors, Summer 20 15.
    ■   The Enigma of Hemingway 's Guns, Master Gun (Russia), Sept. 20 15.
    ■   The Mystery of Hemingway 's Guns, CRPA Firing Line, Sept./Oct. 20 15.
    ■   Pistols at Dawn, CRPA Firing Line, Jan./Feb. 20 16.
    ■   The Silver Star, CRPA Firing Line, Jan./Feb. 20 16.
    ■   Women Guns & Politics, CRPA Firing Line, March/April 20 16.
    ■   Hunting the Big Mouse, CRPA Firing Line, Sept./Oct. 20 16.
    ■   Do Guns Make Heroes? The Congressional Medal of Honor, CRPA Firing
        Line, Nov./Dec. 20 16.
    ■   Thumbs- Up Guns, Shooting Sportsman, Jan./Feb. 20 1 7.
    ■   Is Your Gun Safely Stored? (Part 1), Friends and Neighbors, Summer 20 1 7.
    ■   History of William Powell and His Patents, Master Gun (Russia), Aug.
        20 17.


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      ■   Gunsfrom San Francisco and Birmingham,      Master Gun (Russia), Oct. 20 17.
          Is Your Gun Safely Stored? (Part 2), Friends and Neighbors, Autumn 20 17.
                                            "
      ■


                2.       Opinion Editorials
      ■   It 's About Time: State has Eroded Gun Owner 's Rights, Sac. Bee (July 4,
          20 10).
      ■   Nevada Views: Is Gun Registration Worth Cost?, Nev. Rev. J. (Sept. 1 6,
          20 1 2).
      ■   Gun Roundup Program Has Too Many Flaws, Sac. Bee (May 3, 20 1 3).
          B.    Expert Witness History

       In the past four years, I have not been deposed
                                                   .. . in or testified at trial as an
 expert witness.
 III.     COMPENSATION

          I am not being compensated for my work on this report.
 IV.      ASSIGNMENT

        Plaintiffs' counsel has asked me to provide opinion on the historical
 existence and prevalence of firearms and/or magazines capable of holding more
 than ten rounds of ammunition and the reasons law-abiding Americans, including
 law enforcement and private citizens, so often select such items.
        Counsel has also asked that I provide opinion on the utility of firearm
 magazines with the ability to accept more than ten rounds of ammunition in self­
 defense, as well as, the impact of ten-round magazine limitations on law-abiding
 citizens.
                     .




 V.       OPINIONS & ANALYSIS

          1.    Magazines over ten rounds are, and have historically been, a common
                choice for self-protection for use in both rifles and handguns.

        The standard magazine for a given firearm is one that was originally
 designed for use with that firearm, regardless of whether its capacity is six, ten,
 fifteen, or twenty rounds. Various popular handgun models originally came from
 the manufacturer standard, free from artificial influences like laws restricting
 capacity, with magazines exceeding ten rounds. Examples include, but are in no
 way limited to, the Browning High Power ( 1 3 rounds) c. 1 954, MAB PA- 15 ( 15
 rounds) c. 1 966, Beretta Models 81/84 ( 12/1 3 rounds) c. 1 977, S&W Model 59 ( 1 4
 rounds) c. 1 97 1 , L.E.S P- 18 ( 18 rounds) c. 1 980 aka Steyr GB, Beretta Model 92



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 ( 15 rounds) c. 1 980s, and Glock 17 (17 rounds) c. 1 986. I know there to be many
 more examples not listed here.
        Firearms with a capacity exceeding 10-rounds date to the 'dawn of
 firearms. ' In the late- 15th Century, Leonardo Da Vinci designed a 33-shot weapon.
 In the late 17th Century, Michele Lorenzoni designed a practical repeating
 flintlock rifle. A modified 18th Century version of Lorenzoni' s design, with a 1 2-
 shot capacity, is displayed at the NRA's National Firearms Museum. Perhaps the
 most famous rifle in American history is the one used by Lewis and Clark on their
 'Corps of Discovery" expedition between 1803 and 1806- the magazine for which
 held twenty-two .46 caliber balls.
       Rifles with fixed magazines holding 15-rounds were widely used in the
 American Civil War. During that ,same period, revolvers with a capacity of 20-
 rounds were available but enjoyed limited popularity because they were so
 ungainly.
         In 1879, Remington introduced the first 'modem' detachable rifle
 magazine. In the 1890s, semiautomatic pistols with detachable magazines
 followed. During WWI, detachable magazines with capacities of 25 to 32-rounds
 were introduced. As those magazines protruded well below the bottom of the
 pistol's frame, they weren't practical for use with a belt holster- and by extension
 concealed carry for self-defense.
         In 1 935, Fabrique Nationale introduced the Model P-35 pistol with its fully
 internal 1 3-round magazine. It would become one of the most widely used military
 pistols of all time. During WWII, magazine capacity for shoulder-fired arms was
 substantially increased while most pistols (excluding the P-35) remained at 10-
 rounds or less. In the mid-1 950s the P-35 was rebranded the High Power and
 imported to the US.
       This transition of a firearm from military to civilian use for sport or self­
 defense is very common. The standards of WWI- the 1 903 Springfield rifle and
 the Colt M 1 9 1 1 pistol are but two of many examples. Civilian sales of both
 increased after the war as a result of the training "doughboys" received before
 going to France. The Springfield would become the standard for both rifle hunting
 and target competition. Likewise, the M 1 9 1 1 Colt pistol was a target-shooting
 standard for a half-century or more and popular for self-defense.
         Between the two world wars, double-action semiautomatic pistols like the
 Walther PPK and P-38 were introduced. The double-action feature allowed the
 first shot to be fired in a manner similar to a revolver. Law enforcement agencies
 in the United States had traditionally used revolvers. However, in the early 1 970s,
 a confluence of events changed that: training funds became widely available and so
 did the first double action semiautomatic pistol (the S&W M59) with a 1 4-round
 magazine. Soon major agencies were transitioning to the M59 and the legion of


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 other makes that followed-CZ, Colt, HK, Sig-Sauer, Glock, Beretta, Ruger,
 Smith & Wesson, etc. Pistols with magazine capacities as large as 19-rounds
 quickly replaced the six-shot revolver.
         Law enforcement demand for the new generation of semiautomatic pistols
 helped create an increased demand in the civilian market. Comparing 1 986 and
 20 10 handgun sales, one can see evidence of that change. According to the Bureau
 of Alcohol Tobacco Firearms and Explosives, in 1 986, 663,000 pistols were sold in
 the United States versus 76 1 ,000 revolvers. In 20 10, revolver sales had dropped to
 559,000, while pistol sales had grown to 2,258,000. See United States Department
 of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, Firearms
 Commerce in the United States, Annual Statistical Update (20 1 2), available at
 http://www.atf.gov/files/publications/firearms/05041 2-firearms-commerce-in-the-us­
 annual-statistical-update-20 12.pdf. The result of almost four decades of sales to law
 enforcement and civilian clients is millions of semiautomatic pistols with a
 magazine capacity of more than ten rounds and likely multiple millions of
 magazines for them. My associates who have such pistols also have a considerable
 number of spare magazines for them. In my case, I have one 1 9-round and eight
 1 7-round magazines for my Glock.
        The on-duty, uniformed police officer generally will be armed with a service
 pistol containing a detachable magazine holding more than ten rounds, and
 generally two spare magazines holding more than ten rounds on the uniform belt.
 The clear majority of California law enforcement officers carry pistols with
 double-stack magazines whose capacities exceed those permitted under California
 Penal Code section 323 10.
        The home-owner and the concealed weapon permit holder want a pistol that
 can hold significantly more cartridges than a revolver for the same reason a law
 enforcement office or soldier wants one- to increase his or her chances of staying
 alive. For virtuous citizens buy their guns to protect themselves from the same
 criminals that police carry guns to protect the citizens, the public, and themselves
 from. For this reason, armed citizens have historically modeled their choice of
 firearms on what police carry.
       2.     Limiting the law-abiding citizen to a magazine of ten rounds limits
              their ability to protect themselves from violent criminals in certain
              situations. Such limits on magazine capacity are likely to impair the
              ability of citizens to engage in lawful self-defense in those crime
              incidents necessitating that the victim fire many rounds to stop the
              aggressive actions of offenders, while having negligible impact on the
              ability of criminals to carry out violent crimes.

        Based on my experience with and understanding of the customs and
 practices of citizens licensed to carry guns in public, individuals often carry only



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 the gun, without spare ammunition or magazines. Similarly, most plainclothes
 police officers do not find it practical to carry multiple handguns.
        Likewise, the average homeowner who keeps a defensive firearm is unlikely
 to have time to gather spare ammunition or magazines. Rather, they are generally
 limited to one firearm and its magazine capacity. For the homeowner who keeps a
 defensive firearm and is awakened in the night by an intruder is most unlikely to
 have time to gather spare ammunition. The sudden and unpredictable nature of
 such attacks, and their occurring in relatively confined spaces,
                                                               ., generally prohibits
 the gathering of multiple firearms or magazines. Ideally, one hand would be
 occupied with the handgun and the other with a telephone to call the police.
 Assuming an individual even had time for a magazine change, most people do not
 sleep with firearms or magazines attached to their bodies or wearing clothing that
 would allow them to stow spare magazines or ammunition on their person. They
 would have only what was in the firearm.
        The off-duty officer and the private law-abiding citizen are thus unlikely to
 have much, if any, spare ammunition on their person or elsewhere
                                                                ,.     readily
                                                                         •'
 accessible. They are not likely to be wearing body armor, nor to be in reach of a
 spare, loaded rifle or shotgun. Their only communication to potential backup will
 be by phone, relayed through Police Dispatch to responding officers. Thus, for
 them, the ability to have a pistol already loaded with a significant amount of
 ammunition is all the more important.
        Uniformed police officers who are traditionally armed against the same
 criminals, on the other hand are normally wearing body armor. They generally
 have immediate access to a loaded shotgun and/or loaded patrol rifle with
 magazines holding more than ten rounds in the patrol car. And they will have
 instant radio access to dispatch and fellow officers if backup help is needed.
 Further, they will generally have both a loaded gun and two additional magazines.
 Each of those magazines would generally hold 1 7 rounds of 9mm or 15 rounds    . •. of
 .40 caliber cartridges. Collective law enforcement experience has determined this
 to be critical to allowing the officer to survive a gunfight with armed criminals.
       What's more, the average citizen is not trained like law enforcement
 personnel and is generally not as readily prepared for combat with an armed
 criminal. As noted, they are likely to have a single firearm loaded
                                                                ...  with a single
 magazine available, and they are more susceptible to the psychological effects that
 naturally occur when faced with the threat of deadly violence and tend to deprive
 one of the focus and clarity of mind necessary to make accurate shots.
        For these reasons, having a magazine over ten rounds at one's disposal
 certainly could make a difference in self-defense situations, and likely would
 during home invasions
                    ,     or when facing armed attackers. In my opinion, law-abiding
 citizens will thus be at a disadvantage in such situations if California enforces its
 ban on the possession of magazines over ten rounds.


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        Criminals bent on causing harm, on the other hand, are not likely to be
 meaningfully affected by California's magazine restrictions. Even assuming they
 were impeded from obtaining magazines over ten rounds by Penal Code section
 323 10, they could simply arm themselves with multiple weapons and/or
 magazines, and they often do. Criminals have time to assess and plan shootings,
 whereas victims,. do not. Indeed, it is the attacker who chooses when, where, how,
 and whom to attack. So, the attacker is not as burdened by the surprise and shock
 that the victim is and is generally prepared for the confrontation with several
 firearms and
           . .._ a substantial amount of ammunition.
       The virtuous citizen cannot practically be expected to have accessible
 multiple guns, magazines, or spare ammunition at a moment's notice. The
 victimized citizen is the one who is, therefore, most deleteriously impacted by the
 magazine capacity limitation. If he or she must use the gun to protect self and
 family, they will most likely have only the ammunition in the gun with which to
 fend off determined, perhaps multiple, attackers.
        Supporters of the magazine capacity limitation may point to some firearm
 expert who is comfortable with an eight- or nine-shot pistol, or even a five- or six­
 shot revolver. It should be noted, however, that the operative term there is
 "expert." The individual who has spent a lifetime training in shooting, and may fire
 hundreds or even thousands of shots on the range per month, has developed a level
 of skill and confidence that is not practical to expect from the average police
 officer or the average law-abiding citizen who keeps a firearm in the home or on
 his person for protection of self and family.
        Finally, it is worth noting that it is difficult to say exactly how many private
                                                ..
 citizens have fired more than ten rounds in a self-defense shooting, because the
 number of rounds fired in such cases is very often an omitted fact in written
 accounts of such defensive gun uses. Often the accounts just say, "multiple shots
 fired." That could mean more or less than ten. This does not seem to be the case
 with shootings involving police officers, for which, the number of shots fired is
 generally documented. In my experience researching such shootings, officers often
 fire more than ten rounds. And cases where an individual officer fired less than ten
 rounds, but where multiple officers were shooting, can be fairly characterized as
 involving more than ten rounds, if the multiple officers involved fired over ten
 rounds in aggregate. Officer-involved shootings are relevant in evaluating private
 citizen shootings, for the simple reason that private citizens arm themselves for
 protection against the same criminals the police are armed to deal with.
       3.     A firearm equipped with a magazine capable of holding more than ten
              rounds is more effective at incapacitating a deadly threat and, under
              some circumstances, may be necessary to do so.

      Gunfights frequently involve a lot of "missing." This can be the result of
 improper aim or impact with barriers such as vehicles or walls. One would be hard


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 pressed to find someone who had been in a gunfight that complained about having
 too much ammunition.
        Some believe that anyone defending themselves can just "shoot to wound."
 Those who grew up in the 1 950s likely watched Roy Rogers shoot the gun out of
 an evildoers' hand or- if things,, got really serious-let loose a grazing wound to
 the arm to settle matters. Such ideas are a fantasy. Equally as silly is the well­
 known 'fact' that a bullet from a .45ACP cartridge will knock someone to the
 ground no matter where it strikes them.
        The notion that a bullet can "knock-down" a person is a largely Hollywood­
 inspired myth. Most ofus learned in school about Sir Isaac Newton's Third Law of
 Motion that states-"For every action, there is an opposite and equal reaction." Put
 another way: if the recoil of the firearm doesn't knock you down, neither will the
 impact of the bullet. Bullets can penetrate skin, cut arteries, brake bones or
 interrupt nerve function to accomplish what is generally described as "stopping
 power." A bullet that severs the spine or strikes a certain area of the brain will
 almost certainly stop an attacker instantly. Bullet design and/or increased velocity
 may improve performance, but placement is still the most critical factor.
        A hit, or even multiple hits, to less vital areas of the body may allow an
 attacker to continue the assault. This phenomenon is extensively documented in the
 citations for American heroes who were awarded the Congressional Medal of
 Honor. Many of these men continued to fight after suffering multiple gunshot
 wounds, being struck by shrapnel or having an arm or leg severed. See, e. g., The
 Congressional Medal of Honor, The Names, The Deeds 28-29, 52-53, 284-85
 (Sharp & Dunnigan 1 984). A fighter who has overcome fear and is motivated to
 continue an attack can be difficult to stop. In the infamous 1 986 FBI shoot-out with
 two Florida bank robbers, one of the suspects, Michael Platt, sustained 1 2 gunshot
 wounds before dying. Jamie Frater, Top 1 0 Most Audacious Shootouts in US
 History, Listserve (October 14, 2009), http://listverse.com/2009/10/14/top-1 0-
 most-audacious- shootouts-in-us-history/.
         "Knockdown" and "Stopping Power" are things I know from personal
 experience. During my early years as a narcotic agent with the California
 Department of Justice, I was conducting an undercover investigation of a
 significant heroin dealer. After purchasing an ounce and a half of heroin from him
 and the arrest was initiated, he shot me with a .45 first breaking my left arm and
 severing an artery (Note: I wasn't "knocked down") and then bouncing another
 round off my spine that exited my right leg. From a prone position, I returned fire
 at the suspect who was mostly concealed by the trunk of his car. My shots that
 struck the vehicle failed to penetrate sufficiently to reach him. In the exchange that
 followed I had another round pass through my right leg, while another entered my
 left side and lodged in the disc between L3 and L4- where it remains today.
 Having emptied the 8 rounds in my pistol, I tried to reload. However, with a
 broken arm and temporary paralysis from the waist down, I was unable to reach


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 my spare magazine in my left rear pants pocket. Fortunately, at that time the
 suspect quickly surrendered to my converging surveillance team. Very little pain
 was initially associated with my wounds and I could have "fought on" if more
 ammunition had been available. A total of 18 rounds were fired.
         Four years later, I was making an undercover cocaine purchase with a new
 member of my team. I had involved myself to evaluate his performance. The three
 suspects, two of whom were armed (initially unbeknownst to us) had decided that
 robbery was a better option than delivering the cocaine. The junior agent was taken
 hostage and was being held in the state undercover car with a sawed-off rifle to the
 back of his head and a revolver held against his right side. I was across the street in
 another undercover car with the money the suspects wanted. I informed the
 surveillance team that I was going to approach the other vehicle to see what I could
 do. When I got to the car it was difficult to determine what was happening, as it
 was a dark, rainy night. I told the agent to exit the vehicle and as he opened the car
 door and dived out, two shots were fired at him- both missed. I returned fire at the
 area of the muzzle flash inside the car. Of the eight rounds I fired, the automobile
 glass defeated most. However, one .45 bullet hit the suspect holding the rifle,
 causing him serious internal injuries. The suspect with the revolver came out of the
 passenger door and was struck through the shin with a .45 bullet from a member of
 the surveillance team who had quietly closed-in on the vehicle. After a short pause
 the suspects were ordered out of the vehicle. Both of those with gunshot wounds
 came out fighting. A flashlight to the chin produced the 'stopping power' for the
 suspect with the internal wound. The suspect with the leg wound was unaware of
 his injury until he saw the massive blood loss- whereupon he exclaimed "I'm
 bleeding" and passed out. Twenty-eight rounds were fired into the vehicle with
 only two hits. For my actions in this incident I was awarded the department's
 Medal of Valor.
       The "take away" from these incidents is that serious bullet wounds aren't
 necessarily incapacitating and that gunfights can require lots of ammunition.
 VII. REFERENCES
 Silvio Calabi, Steve Helsley & Roger Sanger, The Gun Book for Boys 56-57
        (Shooting Sportsman Books 20 1 2).
 United States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
      Explosives, Firearms Commerce in the United States, Annual Statistical
      Update (20 1 2), available at http://www.atf.gov/files/publications/firearms/
      0 5 04 12-firearms-commerce-in-the-us-annual-statistical-update-20 12.pdf.
 The Congressional Medal of Honor, The Names, The Deeds 28-29, 52-53, 284-85
      (Sharp & Dunnigan 1 984).




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 Jamie Frater, Top 1 0 Most A udacious Shootouts in US History, Listserve (Oct. 1 4,
      2009), http://listverse.com/2009/1 0/ 1 4/top- l 0-most-audacious- shootouts-in­
      us-history/.
 VIII. CONCLUSION

       It is clear to me from my collective experiences and from the analysis
 described above that firearms and magazines with ammunition capacities
 exceeding ten rounds have existed and have been in use since at least the 18th
 Century.
       It is also clear that An1ericans co1TI1nonly choose and use magazines capable
 of holding more than ten rounds of ainmunition for lawful purposes, including self­
 defense.


 Dated: October 6, 2017              /<J� L ;d_e,. L
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                                           10
                                                                              APP. 661
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: l 7-cv- 1 0 1 7-BEN-JL B
 5
     IT IS HEREBY CERTIFIED HAT:
 6
 7        I, the undersigned, declare under penalty of perjwy that I am a citizen of the
   United States over 1 8 years of age. My business address is 180 East Ocean Boulevard,
 8
   Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
          I have caused service of the following documents, desc1ibed as:
10
11    DECLARATION OF STEPHEN HELSLEY I N SUPPORT OF PLAI NTI FFS'
                  SU PPLEME NTAL BRI EF; E XHIBIT 1 0
12
13 on the following parties by electronically filing the foregoing on December 1, 2022,
   with the Clerk of the Distlict Court using its ECF System, which electronfoally
14
   notifies them.
15
    Rob Bonta
16
    Attorney General of California
17 Mark R. Beckington
    Supervising Deputy Attorney General
18
    Kevin J. Kelly
19 Deputy Attorney General
    300 South Spring Street, Suite 1 702
20
    Los Angeles, CA 900 1 3
21  kevin.kelly@doj.ca.gov
22
23        I declare under penalty of perjury that the foregoing is true and correct.
     Executed on December 1 , 2022, at Long Beach CA.
24
25                                                      4/4U-�o-2�
                                                      0Laura Patrrierin
26
27
28

                                 CERTIFICATE OF SERVICE
                                                                             APP. 662
                                                                                       1 7cv 1 0 1 7
        Case 1:22-cv-02256-RC Document 24-3 Filed 01/23/23 Page 1 of 47
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 7 Attorneys for Plaintiffs
 8
 9                  lN THE UNITED STAT S DISTRICT COURT
10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11   VIRGINIA DUNCAN, et al.                Case No: 17-cv-1017-BEN-JLB
12
                              Plaintiffs,   DECLARATION OF ASHLEY
13                                          HLEBINSKY IN SUPPORT OF
                       V.                   PLAINTIFFS' SUP PL EMENTAL
14                                          BRIEF; EXHJBIT 1
     XAVIER BECERRA, in his official
15   capacity as Attorney General of the
16   State of California,

17                            Defendant.
18
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                       DECLARATION OF ASHLEY HLEBINSKY
        Case 1:22-cv-02256-RC Document 24-3 Filed 01/23/23 Page 2 of 47
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 1   I, Ashley Hlebinsky, declare as follows:
 2         1.     I am a firearms historian and public educator, specializing in material
 3   culture studies, as well as a firearms and ammunition-related museum consultant,
 4   expert witness, freelance writer, and guest lecturer. I conduct my business through a
 5 single-member LLC, The Gun Code. I also am the Co-Founder and Senior Fellow
 6   for the University of Wyoming College of Law's Firearms Research Center (2022).
 7         2.      I have been retained by the plaintiffs in this 1natter to provide historical
 8   testin1ony on firearms technology, with an emphasis on the history of technology in
 9 relation to repeaters and magazine-fed repeaters, some with capacities greater than
10   ten rounds. I will also provide a brief look into the laws that existed at the time of
11   the United States' Founding and Second Founding Eras to provide reference for any
12 possible analogous comparisons to modern magazine restrictions as defined in the
13 New York State Rifle and Pistol A ssociation, Inc. v Bruen (henceforth to be refeITed
14 to as Bruen) 1u1ing by the Supreme Court. This report has been prepared for the
15 supplemental briefing that was ordered following the 9 th Circuit's remand in
16   Virginia Duncan, et al. v. Rob Bonta. I have been retained to write a declaration at
17 the rate of 450/hour.
18   Background and Qualifications
19         3.     I have spent the last fifteen years immersed in the study of firearms
20 history, technology, and culture. I earned both Bachelor's and Master's Degrees in
21   American History from the University of Delaware, during which I studied frrearms
22 history and culture and instiucted undergraduate students about military weaponry
23   throughout history. Much of my work since then focuses heavily on material culture
24   smTounding the macro-histmy of fireaims and how their developments have affected
25   industry, culture, and society for centuries. I have been fortunate to work in some of
26   the largest collections in the United States, beginning my career as a researcher and
27   fellow in the Smithsonian Institution's Nationa1 Firearms ColJection housed in the
28 National Museum of American History.

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 1         4.     Additionally, I spent a decade working with and running the only
 2   accredited firearms musemn in the United States, the Cody Firearms Museum
 3   (henceforth to be referred to as the CFM). During my tenure, I also served as Project
 4   Director of the museum's full-scale multimillion-dollar renovation. With the aid of
 5 my terun, I was responsible for all facets of the renovation including but not limited
 6 to concept, content, fund.raising, and collections management. The resulting
 7   museum, which reopened July 2019, provides a more interpretive space to facilitate
 8 productive dialogue on firearms and their roles in history. Throughout this museum,
 9 terminology and definitions play a significant role in educating both visitors not
10   familiar with firearms and those who consider themselves aficionados. My team, a
11   panel of expe1ts, and I were responsible for dedicating an entire galle1y at the front
12   of the museum to understanding the basics of firearms past and present, their
13   features, runrnunition, and safety.
14         5.     Dming my time at the CFM and through my consulting business, I have
15 become nationally known and sought after to provide a material culture perspective
16   on firearms history that is often lacking in much of modem, academic, and
17 legislative discussions on firearms. I guide museums as well other non- and for-
18 profit organizations and government entities on the interpretation and understanding
19   of that history. In May 2021, I testified in front of the Senate Judicia1y
20   Subcommittee on the Constitution's Hearing regarding "Ghost Guns," for which I
21   researched and discussed the long history of privately made firearms and evolution
22   of arms technology from the colonies through the 1 960s. Because I have worked in
23   several national collections that have upwards of 10,000 firearms each - collections
24   that range from the earliest through most recent technology - I have developed a
25   broad understanding of how firearms have evolved. Additionally, I have had the
26 opportunity to work with, see, study and handle many of the firearms referenced in
27   this declaration.
28


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 1         6.     In addition to my historical scholarship, I also have played a role in
 2   public education around firearms. I have been responsible for the education of tens
 3   of thousands of students from elementary through college levels, teaching not only
 4   fireanns safety and basics, but the histmical and technical evo]ution of the fireann.
 5 In 2017, I developed the first full-scale symposiwn in the United States dedicated to
 6 the study of firea1ms as material culture, which reoccurs annually. These symposia
 7   were organized to bring together firearms scholars from around the world to discuss
 8   their collections but also to create metrics to analyze the quality of scholarship that
 9 already has been done in the field. The study of firearms is a complicated one,
10   especially since much of the i nformation about the objects themselves have
11   traditiona1ly been conducted by well-known firearms researchers and collectors.
12   However, not all those people fall under traditional definitions of academic
13   scholarship. On the other side, because of limitations in the study of firerums,
14   academic research often has flaws in terms of a general understanding of the
15   firearms themselves. We have worked to lessen that gap to create more balanced
16 scholarship. To continue that mission, I sit on the Editorial Board for the recently
17   revived, peer-reviewed anns journal, Armax, and I co-founded the University of
18 Wyoming College of Law's Firearms Research Center in 2022. Despite its location
19   in the College of Law, this new center intends to encourage research of all types
20 related to am1S and ammunition.
21         7.     Currently as a museum consultant, I am in the process of building
22 several musemns with heavy emphasis on firearms collections. I also conduct
23   workshops on firearms, survey collections, and curate exhibitions at institutions such
24   as the Houston Museum of Natural Science, CM Russell Museum & Complex, and
25 the Mob Museum. I have served as a scholar and a panelist for the National Park
26   Service and the Organization of American H istorians on a forthcoming Coltsville
27    ational Historic Site. I am also an expert witness, freelance writer, guest lecturer,
28   on-camera firearms historian, and television producer. A current copy of my
                                        4
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 1   Curriculum Vitae summarizing my education and experience is attached at the end
 2   of this document as Exh ibit 1 .
 3         8.     Prior Expert Witness Testimony
 4   Ocean State actical et al v Rhode Island, October 2022
 5   Senate Judiciary Subcommittee on the Constitution, Stop Gun Violence: Ghost
 6   Guns, May 2021
 7   Franklin Armo1y et al v Bonta, Feb1uary 2021
 8   FN Herstal v Sturm, Ruger & Co, January 2021
 9   Sturm, Ruger & Co. v American Outdoor Brands Corp., October 2020
10 Guedes v BATFE, June 2019
11   Miller v Becerra (Bonta), November 2019
12                   - Evidentiary Hearing Testimony October 2020
13                   - Deposition January 2021
14   Regina (Nova Scotia) v Clayton, January 2019
15   Garrison v Sturm Ruger & Company, Inc. 20 1 8
16                   - Deposition November 2018
17         9.     Scope of Work
18         This report has been prepared for Virginia Duncan, et al. v. Rob Bonta.
19 Firstly, the report will provide a brief statement on the long history of the
20 interconnectivity between military and civilian anns. It will address how the
21   advancement of technology often was driven by the civilian market the multi-
22   purpose use of early arms for civilians and the military; the private acquisition of
23   firearms to be used on the battlefield; and the postwar weapons surpluses that have
24   flooded and continue to flood the civilian market. Secondly, it wi11 provide a history
25   of repeaters and/or magazine-fed repeaters, including firearms with capacities over
26 ten rounds, as well as an overview of some relevant laws during the times in which
27   they were invented and/or used. The second section will be loosely organized into
28 two subsections: the Founding and the Second Founding Eras, with related

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 1   contextual histories, in chronological order, which also happens to be the order of
 2 relevancy to constitutional law as defined in Bruen.
 3          l 0.   According to Heller v District o Columbia and reiterated in Bruen "not
                                                      f


 4   all history is created equal. . . Constitutional rights are enshrined with the scope they
 5 were understood to have when the people adopted them." 1 Under Bn,en, the 1nost
 6   relevant time frame in consideration regarding the constitutionality of modem
 7 regulations is the Founding Era - when the Second Amendment was ratified. Bruen
 8 does acknowledge that the period surrounding the creation of the Fourteenth
 9 Amendment, known as the Second Founding Era, can be useful, although, as with
10   the Bruen case, it is not necessarily relevant when discussing the historical pedigree
11   of regulation. 2 Subsequent time frames can provide insight, albeit far less significant
12   if relevant at all, including the timeframe leading up to the ratification of the Second
13   Alnendment the time in between the Second and Fourteenth Amendments and least
14   significant, the tweutieth-century.3
15          11.    Important though to consider is "[guarding] against giving post
16   enactment history more weight than it can rightly bear."4 Bruen does provide further
17 guidelines for when each era in history can inform the understanding of the Second
18   A1nendment. It also provides guidance for how to detennine a historical analogue .
19
20      1
           The following two paragraphs are summaiized from an analysis of relevant
21   history and histoncal analogues found in Johnson, Nicholas, Kopel, David B.,
     Mocsa1y George A Wallace, E Gregory, & Donald Kilmer. Firearms Law and the
22   SecondAmendment Regl,!_lation, Rigfits and Policy (3 rd ed. 2021) 2022 Supplement
     (Al!IDI�t 2022), pg. 86 - 88
23         lbtd pg. 86
         3 Ibid pg. 86 According to Johnson et al: some time pe1iods can be used to
24   provide tiie context of what was available leading up to the formation of the Second
     Amendment as well. For example, those periods can possibly provide context for the
25   mindset of the Founding Fathers when the Second Amendment was ratified.
     Additionally, the period directly after can provide insight "to detennine the J?,Ublic
26   understanding of a legal text in the period after its enactment or ratification. ' The
     late nineteenth century history is helpful in instances when it affirms what has been
27   established by earlier history. The same can be said about twentieth century history,
     although significantly less relevant than the other periods. These times do not
28   nece   sarily provide insight if it contradicts earlier evidence
         4
           [bid, pg. 86
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 1   While the law does not have to be a twin of a past law, there is some guidance to
 2   consider as "courts should not 'uphold every modem law that remotely resembles a
 3   historical analogue. "5
 4          12.    For this report, please note that I will make a distinction between
 5 repeater and magazine-fed repeater. A magazine is a vital part of the firearm; it is a
 6 container, detachable or fixed, that holds ammunition while it feeds into a repeating
 7   firearm. In the periods being discussed, there are repeating firearms that do not use
 8 magazines, such as revolvers, which use a rotating cylinder that is as important and
 9 integral as a magazine is in order to fire a gun. When I am discussing a repeater that
10 has a magazine, I will qualify it as such. Additionally, I will use capacity to refer
11   specifically to the number of rounds of ammunition that can be held within a
12   fiream1. When I am discussing magazine capacity, I will qualify it as such.
13   General Statement of the Interconnectivity of Sport and War
14          1 3.   The expression weapon of war is used a lot in modem and historical
15 discussions surrounding firearms. Today, it is used as an umbrella term to describe a
16   range of different fireanns that people perceive as being useful to warfare, regardless
17   of whether they were actually used on or designed for the battlefield. How the
18   expression is used today implies a distinct line between firearms made for the
19 military and firearms made for the civilian market. However, that line for seven
20 hundred years has always been blun-ed.
21          14.    Once firearms were developed, technology often advanced too quickly
22   for common battlefield use, finding popularity in the civilian market. Military
23   firearms in a general sense were limited by tactics, government bureaucracy, and
24
25
        Johnson et al., Rg. 88 According to the authors: "the analogue must be
        5
26 "relevantly similar. One measure ol these laws to consider according to Heller and
   McDonald v. Chicago (2012) is through "at least two metrics: how and why the
27 regulations burden a law-abiding citizen's right to armed defense." The how is
   de1ined as "whether modem and historical regulations impose comparable burden on
28 the right of armed self-defense." The why is defined as "whether that burden is
   comparably justified."
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 1   expense, while civilian arms until recently were predominantly limited by individual
 2   budget. Additionally, civilian arms can be employed for far greater number of uses,
 3   including hunting, self-defense, and target shooting. The earliest firearms technology
 4   appeared on the battlefield by the thirteenth centwy. The hand cannon, or
 5 handgonne, was little more than the name suggests a cannon for your hands. The
 6 user utilized a touchhole and external fire sow·ce to ignite powder and fire the gun.
 7   This primitive technology may not have been designed for a spo11ing purpose, but
 8   once it was designed, inventors pushed the boundaries, capabilities, and usages of
 9   firearms into the future. And while the hand cannon specifically may not have been
10 used for sport, other military weapons of the time such as longbows and crossbows
11   were popularly used for target shooting competitions in fairs during the Middle
12   Ages.
13           15.   The first true ignition system, the 1natchlock, was developed around
14   1 400. This firearm, which utilized a bu1ning match cord, was a popular military arm
15   used for centuries around the world. By the end of the 1400s, however, matchlocks
16 and subsequent ignition systems also began appearing in early target shooting
17 competitions. 6 Another example of a firearm being adopted for civilian use dates a
18 century after the matchlock. In the first decade of the 1 500s, a highly advanced
19 handgun was developed, the wheel-lock. This gun, developed for use on horseback,
20 was operated by the tw·ning of a spring-loaded wheel. While it saw some battlefield
21   use it was expensive and difficult to repair. As a result, it was used for specialized
22   purpose on the battlefield in Europe, but not as much in the colonies. However, the
23 technology was considered so advanced, some European countries made and used
24   wheel-locks for sp011 into the 1 800s. Another example of supetior technology being
25   used by civilians rather than military is rifling. Rifling, the boring out of the inside
26
27
        6 Matchlocks and wheel-locks can be seen depicted in period imagery and in
28
     medals for shooting competitions
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 1   of a barrel with spiral lands and grooves to spin a projectile, thus making it more
 2   accurate, was developed at the turn of the sixteenth century and appeared
 3   predominantly in civilian arms, with a few military exceptions from the American
 4 Revolution, until j ust before the turn of the twentieth century when military tactics
 5   finally caught up to the technology. 7
 6         1 6.   Before the ability to mass manufacture firearms, guns were privately
 7 made by gunsmiths. Although two armories did exist in the United States around the
 8 time of the Founding Era, many guns for the battlefield were made by individuals. 8
 9   It is estimated that 2,500-3,000 gunsmiths worked in the colonies alone. 9 They, as
10 private citizens, were responsible for making guns for both the military and civilians.
11   While the standard infantry arm during the Ame1ican Revolution was a smoothbore
12   (no rifling) musket, there were some regiments during the War that used a common
13   civilian fireann at the time the Ame1ican longrifle. The longrifle was a modified
14   design from the Gennan Jaeger ( Hunting) Rifle that tended to have a longer barrel
15 and a smaller caliber than its German counterpart. The rifle was the superior firearm
16 in terms of accuracy compared to the inaccurate smoothbore musket. However,
17 because of the type of projectile e1nployed at the time - a round musket ball - the
18 process to load was slower for rifles because the ball had to fit snuggly within the
19   lands and grooves of the rifling. There was a trade off in terms of effectiveness for
20
21
22
23      7 Examples of rifled matchlocks do exist. Rifled wheel-locks are far more
   common as they were so often used for bunting. This timehne Qrovides a decent
24 overview of early technological developments: Gun Timeline. J>BS History
   Detectives. <hfWs://www.pbs.org/opb/fustorydetectives/technique/gun-
25 timeline/index.litml> Accessed ro/22/2022
      8
        Springfield Annory was the first armory that began production in 1794
26 <https://www.ups.gov/spar/learn/historyculture/index .htm> Accessed I 0/25/2022.
   The second armory was rlarpers Ferry Annory and Arsenal, which began
27 construction in 1799 < https ://www.nps.gov/hafe/learn/historyculture/fiarpers-fe1ry­
   a1mory-and-arsenal.htm>     Accessed 10/25/2022
      9 Moller, George D. American Military Shoulder Arms: Volume 1. University of
28
     ew Mexico Press, 20 1 1 . P. 107
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 1   specific purposes. 1 0 The longrifle in the colonies served as a multi-purpose tool. It
 2   was capable of being used for hunting, self-defense, and target shooting. Important
 3   to note though that unless being made for large-scale military adoption, such as the
 4 smoothbore musket, and/or produced with the use of parts kits ordered from
 5   overseas, 1nany civilian arms were made at the behest of individuals or in small runs.
 6           1 7.   Target shooting was a patt of American culture before the formation of
 7 the United States with colonists taking part in competitions known as "Rifle
 8 Frolics_"t 1 This tradition has continued throughout American history, especially after
 9   the Civil War. For example, the National Rifle Association may have been founded
10 by Union officers in 1 871, but its core purpose was "to promote and encourage rifle
11   shooting on a scientifie basis." What resulted was the proliferation of international
12   shooting competitions. 1 2 Another example is the Olympic sport of Biathlon, a sport
13   which involves both skiing and target shooting, dating to 1 767 in Europe. It was
14   initially created for gove111ment use in places like No1way. That purpose persisted
15   for centuries, even after becoming an international sport. In the 1930s, Finnish
16   troops still used skis and rifles for patrol. Until recently, the firearms used in
17   Biathlon and other disciplines of the shooting sports, often used modified versions of
18
19
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21      10
              Until the development of a successful conically shaped bullet (rather than a
     round 1nusket ball) by Claude Etienne Minie and modified by James Bmton at
22   H¥J)ers Ferry, rifling was expensive and slow to load. For a round ball to effectively
     spin in rifl ing, it had-to fit perfectly which slowed the loadi ng process. Howeveri it
23   was perfect for target shooting as well as hunting and �pecialized military use. Smee
     tactics by the military were still shoulder-to-shoulder Illihting, accurac� was not of
24   prin;ie importance, so militaries used smoothbore (unri fled) oarrels for their standard
     eq
25      llfp��\s a tradition kept alive by several historic sites including, Fort
     Boonesborough Living History Museum and Bardstown, KY 's Colonial Days
26   <<https ://fort6oonesboroughlivinghistory.org/html/rifle frolic.html> Accessed
     1 0/25/2022 <h�s://www.prlog.org/11271548-rif1e-fro11cs-1 8th-centmy-market-fair-
27   military-drills-d1splays-ana-daniel=boone.html>
          1 2 The National Rifle Association of AmericaAccessed     10/25/2022
                                                          was founded after the ational
28   Rifle Association in the United Kingdom (1 859). <https://home.nra.org/about-the­
     nra/> Accessed 10/25/2022
                                                   10
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 1   center-fire NATO cartridge firearms.13 By the nineteenth century, progress on
 2   manufacturing processes allowed more firearms of more varieties to be available to
 3   the US government as well as civilians. Many of the repeaters of all sorts produced
 4   during this century came in specific models indicating spm1ing vs military
 5 variants. 1 4
 6           1 8.   The line between militaiy and civilian arms was certainly bluned at the
 7 founding of the country and thereafter, as was the role of the civilian and the soldier.
 8   In the colonies and in early America, certain citizens were required to serve in their
 9   militias with firearm and ammunition requirements and some soldiers carried their
10 personal firearms into battle. By the American Civil War, it was not unheard of for
11   soldiers to private1y purchase firearms that the US government had not adopted or
12 did not issue to them for use in battle. After the war, even issued weapons that were
13   used in war were often sold on the civilian market. After the Civil War, soldiers
14   could buy their firearms and many dealers and distributors sold the surplus in mass
15   in their catalogs or at stores for even lower prices. According to Springfield Armory
16     ational Historic Site, "many thousands [of] cheap surplus weapons were released
17 into private hands through General Orders 10 1 , providing rifles, pistols, carbines,
18   and muskets that found their ways into the hands of Ame1icans in the decades
19   following the Civil War." 1. 5 The tradition of selling military arms to civilians
20   continues today with fireaims such as the Springfield Model 1903 bolt action rifle
21
22
23
        13An example of a centerfire modified firearm can be found in the Cody
24 Firearms Museum. Here is a succinct summaiy of the history of the biathlon
   <htfps://minnesotabiathlon.   com/about-biathlon/the-history-of-biathlon/> 10/25/2022
25     1
          Flayde1man, Norm. The Flgyderman       's 0Jide to /j.ntique_ American
   Firearms . . . and their Values. 9th Ed (2019). This book 1s considered the gold
26 standard in the evaluation of antique American made firearms. It provides not only
   firearms organized by manufacturer but also by type such as repeater, military etc.
27 Here   is just one example: pgs. 694-695
       15
          Springfield Armory details this information here
28 <https:7/www.nps.gov/spar/learn/historycultm·e/a-springfield-rifle-musket.hnn>
   Accessed 1 0/24722
                                                11
                          DECLARATION OF ASHLEY HLEBINSKY
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 1   and even with semi-automatics such as the M l Garand rifle and the Model 1 9 1 1
 2   pistol. 1 6
 3            1 9.   There has always been an ebb and flow of civi Lian and militaiy firearms
 4   for centuries, some with clearer lines than others. However, the assertion that a gun,
 5 especially during the Founding and Second Founding Eras, could be completely
 6 understood as only for war in a time when there was such interchangeability, is
 7 presentist at best.
 8   The Founding Era
 9            20.    In today' s understanding of historical relevance, Brnen affirms that the
10 most crucial time for consideration of the constitutionality of modern regulations
11   falls under the Founding Era defined as the time around the ratification of the
12   Second Amendment. By this era, repeating, including magazine-fed, fireanus bad
13   been around for a long time. Additionally, repeaters, including those with
14   magazines, could have capacities of over ten rounds at least a centwy before and
15 during the ratification of the Second Amendment. Despite the invention of these
16   technologies, fireanns l aws during this time were primarily focused on restricting
17 access to enslaved, Native, and free Black peoples as well as other people of color.
18   Repeaters
19            21 .   The concept of a repeating firearm dates to the earliest technology of
20 firearms. Hand cannons even came in repeating variations. 1 7 While some repeaters
21   were employed or simply attempted on the battlefield, repeating technology would
22   not be widely popul ar for use in war until the late nineteenth century. That did not
23   mean however that innovation in repeating technology was stymied. In fact, it was
24   quite the opposite. Without the confines of waiiime tactics and budget, many
25
26
          Today, postwar wea_pon surplus guns including several semi-automatic
         16
27 firearms sucli as the M l Garand are sold through the Civilian Marksmanship Unit
   <https://thecmp.org/sales-and-service/1911-information/> <https://thecmp.org/sales-
28 and-1 ;ervice/services-for-the-m l -garand/> Accessed 1 1 /25/2022
          An example can be found in the Cody Firearms Museum Collection
                                               1
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 1   repeating firearms were commissioned by civilians who utilized them. The simplest
 2   method of producing arms capable of firing more than one round at a time initially
 3   was to fit a fireann with more than one barrel. However, due to weight limitations,
 4   gunmakers began experimenting with other means of producing repeating arms
 5   during the sixteenth centmy. One of the first methods attempted involved
 6 superimposed loads, which were successive charges of powder and ball on top of
 7 each other that were separated by wadding or the projectile itself in one barrel. They
 8   were fitted with locks that either had multiple cocks and pans or a single lock that
 9 could slide upon a rail. One such example was a sixteen-shot firearm n1ade in
10 1580. 1 8
11          22.    By the 1630s, a Dutch gun making famjly, Kalthoff, began
12   experimenting with a design that al 1owed up to fifteen shots to be fired in rapid
13   succession. It utilized a tubular magazine located in a pistol's butt or a fowling
14   piece's stock to hold powder and balls. 19 This system was so innovative it was
15 reproduced and modified for over 150 years. Also, by the mid-seventeenth century
16 in Italy, magazine-fed repeaters were being developed. According to the Royal
17 Armomies (Leeds). the earliest example can be found at the Musee de
18   l'Armee which was made by Giacomo Berselli of Bolognia in the late 1 660s. 20
19 However, more well-known and relevant to the Founding Fathers, is M ichele
20   Lorenzoni of Florence. He developed a magazine-fed repeater, in pistol and rifle
21   form, known as the Lorenzoni system. This design was copied and modified by
22 numerous designers after its invention with various configurations and magazine
23
24
25    _ 18 T tjs fn:earm was 9n display at the National Firearms Musemn's         location in
             l

   M1ssoun.      W1nant,  Lewis. "A 16-Shot  Wheel   Lock," America  's 1 st
                                                                             J-.reedom   (2014).
         1 9 Some of this research was compiled by the late historian, Herbe1i G. Houze
26
   and was featured in the Houston Museum of Natural Science's The Art of the Hunt:
27 Decorated      European Sporting Arms from 1500-1800 (2019).
        2
           ° For more information, visit hrtps://royalarmouries.org/stories/our-
28 collection/the-christmas-connectio n-to-captain-souths-lorenzoni-pisto 1-our­
   co l l ection/ Accessed 10/24/2022
                                                 13
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 1   capacities. One such firearm was designed by British gunsmith, John Cookson in the
 2   late seventeenth century. A gunmaker in Boston, also named John Cookson - it is
 3   not clear if this person was the same Cookson from England, a relative, or a
 4   coincidence - published an ad in the Boston Gazette, in 1756, advertising a nine-shot
 5 repeating firearm. Around the same time a Cookson-type twelve-shot repeater was
 6 made by gunmaker John Shaw. 2 1 Another example from the 1 750s in America is the
 7   Belton repeating fusil. This gun was invented by Joseph Belton around 1758. Not a
 8   magazine repeater like the Lorenzoni, the Belton utilized superimposed loads.
 9   Notably, he petitioned the Continental Congress during the American Revolution to
10 adopt his firearm. In 1776, he wrote Congress saying he designed a firearm that
11   could fire eight shots in three seconds. Benj amin Franklin wrote to George
12   Washington in support of the idea.22 Washington ordered one hundred Belton
13   firearms for use in the Continental Army. However, this order was canceled because,
14   as this report has previously stated, cost is often an impediment to battlefield
15   adoption. It is alleged that Belton then sold his firearms to the public. 23 A few
16 decades later around 1779, the Girardoni (also spelled Girandoni) air rifle was
17   developed. It was a repeating arm that could fire twenty-two rounds from a tubular
18
19
20      21
          An example of this firearm can be found in the National Firearms Museum
21 <https://www.nramuseum.org/the-museum/the-galleries/the-road-to-american­
   liberty/case-22-the-paper-cartridge/cookson-vohtional-repeating-flintlock.aspx> I t is
22 also discussed here: < nttp://firea1mshistory.blogspot.coni/2014702/the-cookson­
   repeater.hun1>   Accessed 1 0/24/22
23        These letters can be found here:
       22

   <https://founders.arcbives.gov/documents/Washington/03-05-02-0311 > Accessed
24 1 0/1:2/22
       23
          What is believed to be the patent prototype of the Belton fusil is in the
25 Smithsonian Institution's ational Firearms Collection:<
   https://americanhistory.si.edu/collections/search/object/nmah 440031> Accessed
26 10722/2022. Additionally, Rock Island Auctions, who has solo recently several
   reproduction Beltons provides a great overview of this history
27 <fittps://www.rockislandauction.com/riac-blog/assault-weapons-before-the-second­
   amendment#:~:text=The%20Belton%20%22Roman%20candle%22%20fusil%20is
28 %20the%20first,a%20chained%20charge%20much%20like%20a%20Roman%20ca
   ndle> Accessed 10/22/2022
                                              14
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 1   magazine. 24 This design also was copied by gunmakers around the world. 25 The
 2   actual Girardoni was used by Meriweather Lewis on the Lewis and Clark Expedition
 3   (1 804- 1 806). This air rifle had also been in service with the Austrian military, but
 4   light weight examples were produced in sporting variations. 26
 5           23.   The above text serves merely as an example of the numerous types of
 6   repeating firearms, utilizing a range of technologies including magazines, which
 7 existed leading up to and at the time of the ratification of the Second Amendment
 8   and in some cases had direct ties to Founding Fathers. While these repeaters can be
 9   criticized as "one-off examples" or in some cases unsuccessful by modem and/or
10 historic standards, it is important to keep in mind that this was typical as they were
11   often made by private gunsmiths and sometimes individual ly commissioned.
12   Additionally, just because some firearms designs had flaws, imperfechons, or issues,
13   does not mean the technology ceases to exist or can be expunged from histo1y. As
14   manufacturing processes advanced, these concepts evolved into repeaters produced
15 in greater and more standard quantities.
16 / / /
17 / / /
18
19
        24
          Kopel, David. "The History of Firearms Magazines and Magazine
20 Prohibitions."   Albany Law Review, Vol. 88, 20151 pg. 853
     _
       25
          An example of a Russian copy of a Girardoru Rifle can be found in the Cody
21 Flfearms    Museum
       2 6F or more info1mation on Lewis and Clark and the Girardoni the most
22 comprehensive research on the Girardoni air rifle was done by scholar Michael
   Can-1ck. His research is footnoted in thi s summary article of the Lewis and Clark
23 firearms that can be found here:
   <http://www.westemexplorers.us/Fireanns of Lewis and Clark.pdf-> Accessed
24 1 0/1:2/22 Additionally, Ian McCollum, oneof fue foremostauthonties on firearms
   technology _in the Umted States 1 has done several videos and articles about the
25 firearm. This is one article he did
   <https://www.forgottenweapons.com/rifles/girardoni-air-rifle/> Accessed
26 10/12/2022. A surviving exa1 le of a Girarcloni can be found:
   <https://www.nramuseum.oriJg!Jns/the-galleries/a-prospering-new-republic-1780-
27 to- 1 860/case-8-romance-of-t e-long-rifle/girardoni-air-rifle-as-used-l5y-lewis-and­
   clark.aspx> Accessed 10/22/22 Roel<: Islano sold a sporting variation in 20 18:
28 <https:/7www.rockislandauction.com/detail/75/3293/giranaoni-system-repeating-air-
   gun > Accessed 10/22/22
                                               15
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 1           Laws and Relevance
 2           24 .   In the colonial period, the bulk of firearms laws were centered on
 3   restricting access to ce11ain people rather than firearms themselves. Therefore, even
 4 if a fireann or weapon was specificaJly mentioned in a law, the type of weapon is
 5 not necessarily relevant, as other civilians were still permitted to own them even if
 6 some people were restricted. Each colony developed their own policies. I n 1640,
 7 Virginia law stated, "that all such free Mulattoes, Negroes and Indians . . . shall appear
 8   without arms."27 South Carolina also had similar bans in 1712. 28 It is generally
 9 understood that early laws were largely motivated by race. 29
10           25.    The British government also used regulation to control the colonists
11   through access to gunpowder by seizing public powder houses, also refened to as
12   "magazines. ' Although it is not to be confused or conflated with the mecharucal
13   devices discussed throughout this declaration. They achieved this because, due to
14 fire hazard, large stocks of black powder were kept in a con1munal powder house,
15 which was a repository for both individuals and merchants to store their powder. It
16 also provided powder for people who were unable to afford it. 30 In one instance of
17   disarmament, Royal Governor Thomas Gage, in 1774, seized remaining powder in
18   Charleston, causing a flurry of responses, known as the Powder Alarm, from the
19
20      27
            One of the best resources to search all firearms laws is the Duke Center for
21   Firearms Law. <https://firearmslaw.duke.edu/> Accessed 10/25/2022. However, a
     concise summary of these laws is also broken down by: Ekwall, Steve. The Racist
22   Origins of US Gun ontrol. <https://www.sedgwickcountv.org/media/29093/the­
     rac1st -origi ns-of-us-gun-control .pdf> Accessed 1 0/22/22 Berene references: 7 The
23   Statues at Large; Bemg a Collection of all the Laws of Vir_ginia, from the First
     Session oftheLegisJature, in the Year 1619, p. 95 (W.W. Henning ed. 1823) (GMU
24   CR2 tJc&�7(      7 Statutes at Large of South Carolina, p. 353-54 (D.J. McCord ed.
25   1 836-1  873).  (GMU CR LJ, p. 70)
         29
            The abstract of Cramer, Clayton E. "Colonia Firearms Regulation" (April 6,
26   2016) puts it fairly succinctly: "Firearms regulation in Colonial America was
     primarily focused on encouraging gun ownership for defense against external threats
27   (Indians, pirates, non-British buropean powers) and internal thi·eats (slave
     rebellions)"
         30 Johnson et al . Firearms Law and Second Amendment Regulation, Rights, and
28
     Policy (3rd ed. 2021 ), pg. 27 1
                                                 16
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 1   colonists that was considered preparation for the Battles of Lexington and
 2   Concord. 3 1 Shortly thereafter, King George Ill enacted a restriction to "prohibit the
 3 Exportation of Gunpowder."32 As a result, Revolutionary Jeaders, such as Paul
 4 Revere, reqmred possession of arms and ammunition by militiamen and many
 5 required powder and projectiles in quantities greater than ten pounds and rounds
 6 respectively. 33
 7         26.    While the ownership of gunpowder was outright encouraged by the
 8   soon-to-be states of America, there were still very real concerns about the instability
 9   of gunpowder. It is important to note that modem gunpowder is far more stable than
10 historic black powder. Even so, it is still recommended to be stored separately from
11   firearms in the home even today. 34 As a result of instability, fire prevention laws
12 were enacted, not to disarm individuals but to provide them a safe place to store their
13   powder while also reducing the potential for fire within communities. Philadelphia
14   in 1725 enacted a law "for the better securing of the city of Philadelphia from the
15   Danger of Gunpowder." Under this Act, safety was also defined as the distance of
16 beyond two miles outside of town limits. 3 5 Similarly, Boston in 1 783 also made a
17 storage law citing the instability of black powder. "In the houses of the town of
18   Boston, [it] is dangerous to the Jives of those who are disposed to exert themselves
19 when a fire happens to break out in town. "36 The idea of a required distance in which
20
21      31
           Johnson, et al., pg. 271
22      32
           Ibid, pg. 272
        33 Duncan v. Recerra, 366 F.
                                     Supp. 3d      1 1 3 1 , 1 J 50 (S.D. Ca l . 20 ] 9 )
23      34
             According to the Spo1iing Arms and Ammunition Manufacturer s Institute,
     "ammunition sfiould be stored m a cool, dry location away from solvents and other
24   chemical heat sources, or open flames . . . ammunition should be stored separately
     from fireanns" < https://saami.o:rg/wp-
25   content/uploads/201   '8/0 l /SAAMI AfumoStorage.pdf> Accessed 10/25/22
          35
             1723 Pa. Laws 31, An Act for the Better Securing of the City of Philadelphia
26   from the Danger of Gunpowd�r <https://fi_reannsla:w.cfuke.�du/laws/l 725-pa-laws-
     3 l -an-act-for-the-better-secunng-of-the-c1ty-of-ph1ladelphia-from-the-danger-of-
27   gun:Jgowder-%c2%a7-2/> Accessed 10/25/22
             Thomas Wetmore, Commissioner, The Charter and Ordinances of the City of
28   Boston <https ://firearms law .duke. edu/laws/thomas-wetmore-commissioner-the­
     charter-and-ordinances-of-the-city-of-boston-together-with-the-acts-of-the-
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 1   it was safe to use black powder for firearms and also for fireworks, was echoed in
 2   these laws. While in the above example it considered distance within town limits,
 3   some places legislated a safe distance from the powder house itself. For example, in
 4 1762, Rhode Island enacted "that no person whatsoever shall fire a gun or other
 5 fireworks within one hundred yards of the said powder house."37 Additionally,
 6 Rhode Island in 1798, provided guidance on how to safely store powder in the home.
 7   They also provided a safe space to store anything over twenty-eight pounds 38 These
 8   laws strongly focused on safety from a perspective of fire prevention rather than a
 9 position of regulating the amount of powder one could have since powder houses
10 were built for large quantities of chemically unstable and c01nbustible material.
11          27.   In summary, at the time of the Founding Era, laws about firearms
12   restriction were regularly directed towards groups of people rather than the fireanns
13   themselves. Within these laws, repeating and firing capacity are not 1nentioned. In
14   some cases, the militia required aims and ammunition to be in civilian possession
15 partially due to British attacks on public powder houses. Additional ly, laws
16 concerning the private possession of gunpowder were centered around fire
17   prevention within and near town's limits or proximity to a powder house.
18   The Second Fou nding Era
19         28.    According to Bruen, under certain circumstances the Second Founding
20 Era, surrounding the Fomieenth Amendn1ent, can be used to provide insight into
21   historical analogues. As mentioned in the previous section, repeaters, including
22 magazine-fed firearms, were known, and becoming increasingly popular at the time
23   of the Fourteenth Amendment. Capacities over ten rounds existed before and during
24
25
   legislature-relating-to-the-citv-page- l 42-1 43-image- 1 42-1834-available-at-the-
26 making-of/>   Accessed 1 0/2572022
      37
         1762 R.I. Pub. Laws 132 <https://firearmslaw.duke.edu/laws/1762-r-i-pub-
27 laws- 1 32/> Accessed 10/25/22
      38
         1798- 1 8 13 R.I. Pub I;.,aws 85 < https_: //fireannslaw.dqke.edu/laws/1798- 1 813-r-
28 1-pub-laws-85-an-act-relative-to-the-kee_pmg-gun-powder-m-the-town-of-
   .

   providence-%c2%a72/> Accessed 1 0/25/22
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 1   this time. Laws yet again did not concern capacity. They continued to center around
 2   restrictions against groups of people. They also centered around carry. Ironically,
 3   though some firearms regulated in carry Jaws were still legal, despite having the
 4 same or even greater capacity, as long as they were physically larger in size, or in
 5 some cases more expensive.
 6           Repeaters
 7           29.   The period before and after ratification of the Fourteenth Amendment
 8 saw changes in the landscape of design and technology outside of just firearms. The
 9   transition of firearms being made by private gunmakers began shifting to factories
10 by the mid-nineteenth century. Inline manufacturing, interchangeable pai1s, and
11   mass production impacted not only the types of firearms that were available, but also
12   quantity and quality. P1ior to the American Civil War, there were many makers and
13 manufacturers of repeating fireanns, however, the tradition of individual gunmakers
14 was still prominent. While repeating fireanns, magazine-fed or not, exceeded ten-
15 rounds centuries prior, the number of distinct types of repeaters by the middle of the
16 nineteenth century was staggering. It is important to note that while this report
17 references the ceiling of ten rounds, that number is hist01ically arbitrary as it is
18   unfair to assume that a person during that time would make a distinction between
19 capacities under and over ten rounds, especially considering to my knowledge, the
20 federal goven1ment itself did not until the 1990s. 39
21           30.   After the ratification of the Second AmendJnent, repeating technology
22   continued to evolve as it had for centuries. During this time frame, especially
23   leading up to the Industrial Revolutions and standardization of interchangeability
24   and in-line manufacturing processes, designs were very much a trial-and-en-or
25
26
         This date is referencing the Public Safety and Recreational Firearms Use
        39
27 Protection Act (1994). Additionally, there are n1any resources that can showcase the
   number of repeaters available in this time frame in the United States, but the place
28 that aggregates them the best is Flayderman, orm.       The Flayderman 's Guide to
   Antique American Firearms . . . and their Values . 9th Ed.
                                              19
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 1   process. One such repeater was designed in 1 82 1 and was known as the Jennings
 2 repeating flintlock. It was capable of firing twelve rounds before having to reload.40
 3   Pepperbox pistols, a revolving pistol with multiple banels that were manuaUy
 4 rotated on a central axis, were popular in tbe United States by the 1 830s, some were
 5   even taken out west with California gold miners. One maker of pepperboxes alone,
 6 Ethan Allen, between the 1 840s and 1850s made over forty variations of this style of
 7   firearm. 4 1 While many pepperbox pistols typically fired four to six shots, some were
 8 capable of firing twelve, eighteen, or twenty-four rounds.42 It becomes difficult to
 9   quantify the number of repeaters on the market though because makers were so
10 plentiful. In 1836, a year before Samuel Colt' s first patent in England of his
11   revolving mechanism, the patent process was standardized through the United States
12   Patent Act. That year, Samuel Colt took out two patents for five or six-shot
13   revolving rifles and pistols. As a result, he owned the legal right to produce,
14 essentially the revolver, until it expired in the mid-1850s. This Act created a fluny
15   of production innovation, and design especially towards repeaters and magazines to
16 varying degrees of success. The fact though that so many people were trying to
17   design the next great repeater shows the desire to capitalize on this technology. 43
18           31.   It has been cited and challenged that the Winchester Model 1 866 was
19   the first magazine-fed repeater that held more than ten rounds to achieve comtnercial
20 success. 44 The Winchester ModeJ 1 866 lever action rifle was the first fireatm sold
21   using the Winchester name. Between 1866 and 1 898, approximately 170,101 Model
22 1866s, in .44 Rimfire, were produced. Of that model alone, around ten variations
23
24
      ° Flayderman, Pg 683
        4
25      Ibid P.g. 56-61
        41
     42
        Kopel pg._ 854. AdditionaJly, pinfire pistols and long guns can be found in
26 museum   co i lect10ns with capacities greater than ten rounds.
     43
        Examples of these _patented repeaters include Volcanic lever actions, the Jarre
27 Harmonica pistol and rifle, Porter and Genhart tmTet rifles, Josselyn Chain
   Revolvers etc. More successfully were revolvers and repeaters by Smith & Wesson,
         _gton Merwin & Hulbert, Henry, Winchester etc.
28 Remi!:}
     44
        Kopet,, pg. 869
                                                0
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 1   existed. It was hoped that the Winchester Model 1 866 would see successful adoption
 2   by the US military, however, it did not. Only a small percentage, roughly 1 /3 of total
 3   production, were made ultimately for use by foreign militaries. 45 According to
 4   another statistic, between 1861 and 1877, a total of 164,466 Henry and all models of
 5 Winchester were made with approximately 56,000 going to foreign govemments. 46
 6   This number, even with the inclusion of other models, still is only l /3 of all sales. In
 7 reference to bis Model 1 866, Oliver Winchester referred to it as "one of [the
 8   company 's] best sporting guns" in a letter, dating 1 871, to prominent gunmaker R.S.
 9   Lawrence. 47 In a Winchester testimonial from 1865, W.C. Dodge, Late Examiner of
10 the US Patent Office, boasted that Winchester's "Magazine Rifle, with the recent
11   improvement, is superior to any other arm ever presented to the public."48 In the
12   beginning, Winchester did lean into its previous involvement with the Henry rifle as
13   a marketing tool because it was a known commodity, however, within a decade after
14 the company's founding, Winchester catalogs detailing their sporting models and
15   diverse product lines were interspersed with testimonies from hunters and civilians
16   about their love of the technology. 49 The categories for their 1875 catalog reads:
17   "Winchester's Repeating Fire-Arms, Rifled Muskets, Carbines, Hunting and Target
18
19
20      45
            Flayderman's also provides the number of Mexican contract fireanns there
     were. The records are not com.J?lete for the Model 1866. The Records can be found
21   in the Cody Firearms Musemn s Records Office. Here is a breakdown of what has
     survived tlirough the Winchester collector.
22   https://winchestercollector.org/models/model-1866/ This article also provides a
     breakdown of other mil itary contracts.     <
23   https://www.americanrifleman.org/content/winchester-lever-actions-go-to-war/>
                                            •
     Accessed    10/22/22
24       46
            Michael Vorenberg Deel., pg. 28, note 32.
         47
            Oliver F. Winchester's letter to R. S. Lawrence, dated 1 0 February 1871 .
25   McCracken      Research Library MS20, Box 51 Folder 6
         48
            Dodge is most likely reterencing the 1 865 King's Patent Improvement which
26   incorporated a side loading gate to im_prove the speeil of loading the firearm.
     Wincbester's Repeatin_g Fire-Alms Rifled Muskets, Carbines, Hunting, and Target
27   Rifles, &c . . . Metallic Cartridges of all Kinds, manufactured by _the Wmchester
     Repeating Arms Compani." Catalogues Vol. I (1865-1 881). McCracken Research
28   Lior�     TS 533. 5.W543 L 91 vlc2
         49
            Ibid
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 1   Rifles, &c .. . "50 One such testimonial was from famous performer, William F. Cody,
 2   who proclaimed, "I have tried and used nearly every kind of gun made in the United
 3   States, and for general hunting or Indian fighting, I pronounce your improved
 4 Winchester the boss. "5 1 Despite the ways that Winchester chose to frame and market
 5   their firearms though, it should be noted that while advertising can influence a
 6   consumer, a consumer also has agency to purchase and use the product they want for
 7 their own purposes.
 8           32.   While Winchester would provide the United States smaller runs of their
 9 firearms designs modified for military service around the tum of the twentieth
10 century, Winchester would not truly be seen as a full-scale military 1nanufacturer
11   until their involvement in World War I when government owned aimories could no
12   longer 1neet the demand for military arms. Winchester and other manufacturers such
13   as Remington stepped in initially producing firearms - not even associated with their
14   brands - invented by other designers, companies, and/or armories, such as the British
15 Patte1n 1914 Enfield and the American version, the U.S. Model 1917. These military
16   contracts however would ultimately be the financial demise of the company as it
17   went into receivership in 1 931. 52
18           33.   Outside of those early small contracts, Winchester continued designing
19   guns for the civilian market. The Winchester Model 1873 boasted a production of
20 around 720,610 manufactured in at least twelve variations, including almost 20,000
21   in .22 caliber rimfire - a caliber used for target shooting and varmint hunting. Model
22 1873 rifles were chambered in .32-20, .38-40 .44-40, and .22 caliber. The Model
23   1876 had a manufacturing run of 63,871 firearms with around fifteen variations.
24
25
26      50
             McCracken Research Library TS 533.5.W543199 l v l c
        51
           Ibid, pg. 28-29
27      This mlormation can be found in P.retty much any book about Winchester. The
        52
   author also knows this information for the cfecade she spent running the Cody
28 Firearms Museum, formerly known as the Winchester Museum, wiiich is home to
   Winchester's fireanns collection as well as archives from the company
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 1   This Model was a larger version of the Model 1873 and chambered in heavier
 2   calibers (.40-60, .45-60, .45-75, .50-95), which made the firearm more desirable for
 3   hunters, including President Theodore Roosevelt. 53 At one point, they produced an
 4   exclusive line of high-Jevel sporting arms of the Models 1873 and 1876 known as
 5 the " l of 100" and "1 of 1 ,000" models. Between the start of the company until
 6   1898, Winchester re]eased fowteen repeating models - not all lever actions. Those
 7 models would eventually be produced in over one hundred variations, chambered for
 8   around thniy different cartridges. 54 Winchester continued mass producing repeating
 9   firearms throughout the rest of the nineteenth century and beyond. Considering the
10 diversity within models, variations and especially calibers, these guns were
11   deve]oped for specific and sometimes divergent purposes and cannot not be reduced
12   into one category of simply being a Winchester repeater. There is more nuance than
13   that.
14           34.    Du1ing this same time, other companies were producing competitive
15 repeaters, such as the Evans Repeating Rifle, which was made between 1 873 and
16   1879. Approximately, 12,200 were made and they caine in three vaiiations, Sporting
17   (approximately 4,350 made), Military (approximately 3,200), and Carbine (not
18 specified as either sporting or mihtaiy, approximately 4,700 made). The Evans held
19   magazine capacities at twenty-eight, thirty-four, and thirty-eight rounds. 55 The Evans
20 as well as other companies such as the Spencer Repeating Rifle, Fogerty Repeating
21   Rifle, Adirondack Firearms, Bullard Repeating Arms, Burgess Gun, and the
22 Whitney Arms Companies were making repeaters. However, they are lesser known,
23 partially because Winchester realized the value in their designs and the threat of
24
25
26
27
28
        �! Fl�ydennan,    g 309
           Ibid pg 306-_l22 .
        55
             Ibid pg. 694-695
                          DECLARATION OF ASHLEY HLEBINSKY
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 1   them as a competitor so they acquired the companies. 56 Other major manufacturers,
 2   such as Marlin, quickly popped up as well by the 1880s as a direct competitor to
 3 Winchester. In all, there were over one hundred manufacturers or makers in the
 4 United States alone producing some type of repeating firearm leading up to and
 5   decades after the Civil War. 57
 6           35.   As plentiful as variations in Winchester firearms are though, the above
 7   infonnation does not take into account the gargantuan amount of ammunition
 8 Winchester manufactured. In general, not enough is said about Winchester's
 9 innovation in cartridge design and the fact that ammunition production was
10 responsible for much of the financial success of the company. According to David
11                             ..
     Kowalski, author of the Standard Catalog of Winche •fer: The Most Comprehensive
12   Price Guide Ever Published, "cmtridges played a larger role in the business
13   operations of the Winchester Repeating Arms Company (W.R.A. Co.) than most
14   collectors realize. Because ammunition is a high-volume, high profit product, it
15 literally carried the W.R.A. Co. for most of its existence."58 Their cartridge designs
16 were so popular that other companies, such as Colt, would offer variations of their
17   iconic fireanns, such as the Colt Single Action Army revolver, to acco1TI1nodate
18   Winchester deve'loped cartridges, such as the .44-40. Ammunition production was so
19   vital to Winchester that the company who bought them out of receivership, the Olin
20 Corporation, was their ammunition competitor. Today, the only surviving thread of
21   the company is Olin's Winchester Ammunition. The various firearms brands that
22
23
24
25      56
           An entire exhibit at the Cody Fireanns Museum is dedicated to the many
   rep· eating anns COIIJ.panie� that Wmchester acquired. Examples are archived in the
      .
26 Winchester    Arms Collection.
        57
           Flayde1man, Chapters V: A-F pages 50-299; Chapter VII: A, B C Pages 351-
27 387· Chapter VIII: A P"g458-524; Cliapter XIII pages 691-697; Chapter XV: pages
   709-733
28      58
           Kowalski, David D. Ed. Standard CatalQg of Winchester: The Most
   Comprehensive Price Guide Ever Published. Krause Publications 2000, pg. 159.
                                                4
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 1   bear the Winchester name, are produced by companies that license the name from
 2   Olin.
 3           Magazines
 4           36.    In addition to the developments in repeating innovation, magazines
 5   began to be patented as well. Even though tubular magazines existed long before,
 6 the tubular magazine was first patented in the US in the 1 840s, notably with the
 7 Hunt Volitional Rifle, the oldest direct ancestor to the Winchester rifle. Magazines
 8   though came in many shapes and sizes and became prevalent around this time. For
 9   example, the Spencer repeating rifle utilized a detachable tubular magazine from the
10 buttstock capable of holding seven rounds. A speed loader even existed for that
11   magazine. In the 1 850s, the Genhart turret rifle had a detachable circular magazine
12   with an externally visible shot/round counter. Between 1 859 and 1 862, the Jarre
13   Harmonica Pistol and Rifle received several patents. This gun has a horizontally
14   seated magazine that s1ides after each round is fired like a typewriter. It is also
15 detachable.
16           37.    In terms of box magazines specifically, early ones were patented by
17 designers including Rollin White in 1855. 59 A detachable version was patented in
18   1864 by Robert Wi1son. 60 A vertically stacked box magazine was patented by James
19   Paris Lee in 1879 which was applied to several rifles including the Mannlicher
20   Model 1 886 ritle. 6 1 In terms of early semi-automatic pistols, the Mauser C-96 had a
21   fixed magazine and the Borchardt C-93 had a detachable one. Semi-automatic
22 models of Winchester utilized various types of magazines, including the Winchester
23   Model 1907, a centerfire rifle capable of firing up to twenty rounds from a box
24 magazine and the Winchester Model 1 903 which was also fixed with a lesser-known
25   Sabo ninety-six round detachable magazine. By the end of the nineteenth century,
26
27      59
             White, Rollin. US Patent No 12648 ( 1855)
        60 Wilson, Robert. US Patent No 45 105 ( 1 864)
28      61
             Lee, James Paris US Patent No 22 1328 ( 1 879)
                                                5
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 1   the earliest versions of semi-automatic pistols such as the Borchardt C-93 contained
 2   eight rounds from a detachable magazine (1893) and the Mauser C-96 had a ten
 3   round magazine (1895) but also came in configurations as high as twenty rounds. 62
 4   Even certain Luger semi-automatic pistols in the early 1900s had the option of
 5 thirty-two round snail drum magazines. 63
 6           Laws and Relevance
 7           38.   Racial firearm bans continued into the nineteenth century. States
 8 including but not limited to Louisiana, South Carolina, Florida, Delaware, Maryland,
 9   North Carolina, and Mississippi enacted race bans between ratification and the
10 American Civil War. 64 Some states, for a time, would permit African Americans to
11 carry guns with court approval, but they were eventually repealed.65 Several laws
12   upheld their justifi cation for race-based regulation on the fact that Black people were
13   not considered citizens, which was upheld in the 1857 case of Dred Scott v
14   Sandford.
15           39.   During this period in between ratifications of the Second and the
16   Fourteenth Amendments, some laws emerged restricting carry by any person.
17 According to Professor of Sociology at Wake Forest University David Yamane, one
18   of the earliest examples was in Kentucky in 1813. The General Assembly of the
19   Commonwealth stated: "That any person in this commonwealth, who shall hereafter
20 wear a pocket pistol, dirk, large knife, or a sword cane, concealed as a
21   weapon . . . shall be fined in any sum, not less than one hundred dollars." However,
22 nine years later in 1822, the Kentucky Supreme Court ruled that ban violated their
23
24
25       Kopel,., 857 referencing Standard Catalog ofFirearms. (2014), Gun Digest
        62
   Books,  pg. 108-709
26    63
         A version of this section on magazines was initially completed by author for
   Miller et al v Bonta
27    64
         Ekwall
      65
         Ibid, referring to Act of Nov. 17, 1828, Sec. 9, 1828 Fla. Laws 174, 177; Act of
28 Jan. 12, 1 828, Sec. 9, 1 827 Fla. Laws 97, 1 00; Referring to Act of Jan. 1 831 , 183 1 ,
   Fla. Laws 30
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 1   1792 Constitution. 66 Other states adopted similar cany regulations, some still only
 2   for certain groups of people.
 3           40.    Despite the abolition of slavery, discriminatory laws that included
 4   fireanns regulation continued. One such way that could be legally achieved was
 5 through the Black Codes. While there were many aspects of discrimination in the
 6 various state "Codes," many included challenges to Black Second Amendment
 7 rights. For example, Alabama in 1866 not only banned Blacks from owning firearms
 8   and other weapons, but also made it illegal to lend or sell to a black person. 67 The
 9   Civil Rights Act of 1866, the Fourteenth Amendment and the Second Freed1nen's
10   Bureau Act in 1866 attempted to dispel a variety of these issues. 68 In February 1866,
11   the House of Representatives amended the Second Freedmen's Bureau Act to
12   explicitly state that people had the "full and equal benefit of all laws and
13   proceedings for the security of person and estate including the constitutional right to
14   bear arms. "69 Following the passage of these acts, however, southern states then
15 passed laws, known as Army/Navy Laws, in which certain firearms, such as Colt
16 Army and Navy model revolvers were pennitted while cheaper versions were not
17 legal. 70 Prohibiting the proliferation of inexpensive handguns on the market, whether
18 intentionally or unintentionally imposed a classist restriction on those who could no
19   longer afford to arm themselves- a trend that has continued well into the modern
20 era.
21           41 .   The Enforcement Acts of 1870 and 1871 were meant to protect the
22   1ights of free men under the Fourteenth and Fifteenth Amendments. Yet these
23
24
         Yamane, David. Concealed Carry Revolution: Expanding the Right to Bear
        66
25 Arms in America. A New Press (2021 ), pg. 1 7-18. David Yamane is a-Sociology
   Professor at Wake Forest. This book was Just a small portion of his larger research
26 on gun culture that he calls, "Gun Culture 2.0." More of his research can be found at
   gunculture2  pointO. com
27    67
         Ekwal
      68
         A detailed explanation of this can be found in: Johnson et. al pg. 465-471
      69 Ibid, pg. 466
28
      70 Eckwall
                                                  7
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 1   seemingly positive changes were short lived. During the 1872 election for Louisiana
 2   governor, President Ulysses S. Grant sent troops to support the Republican
 3   candidate. In response, a group of white supremacists began harassing Black and
 4 White Republicans. These tensions culminated in Black and White Republicans
 5   taking up defense in a local courthouse in Colfax, LA. In 1873, 150 white men
 6   surrounded the comthouse and at one point, would fire a cannon at the building.
 7   Note: White Republicans were given the opportunity to leave before the massacre
 8 ensued. Black Republicans were left to fight with infe1ior weaponry. In the end,
 9   Black Republicans would surrender to the mob, led by a man named William
10 Cruikshank. After surrender, somewhere between sixty to one hundred and fifty
11   African An1ericans were killed.7 1 Alth.ough Cruikshank and around ninety-six white
12 vigilantes were charged for vio]ating the Enforcements, only a few were convicted. 72
13   Even then, the Supreme Court, in United States v ruikshank (1875), overturned the
14   conviction rut ing that the federal government could not prevent private citizens, in
15 this case KKK members, from disarming Blacks and that the matter must be
16 relegated to the states. 73
17         42.    Another example concerning disarmament of a group of people
18   occurred leading up to the American Civil War. Violent confrontations broke out in
19 Kansas, known as Bleeding Kansas, between 1 854 and 1 859. At one point an anti-
20 slavery movement of "Free Soilers" decided to arm themselves with single-shot
21   Sharps rifles by smuggling them into the territory. However, the pro-slavery
22 seginents, under the command of a deputy federal marshal, attempted to disarm
23 these settlers, most notably dwing the Sacking of Lawrence. 74 In response to the
24
25
        7 1• Johnson et al, pg. 471
26      72 Ibid, pg. 47 1 as well as summruized in
27   <https://www.smithsonianmag.com/smart -news/1873-colfax-massacre-crippled-
     rec9:3nstruction-l80958746/> Accessed 10/25/22
28          Ibid, pg. 47 1
        74 Ibid, pg. 456


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 1   situation in Kansas, abolitionist Charles Sumner gave his famous speech on the floor
 2   of the United States Senate on May 19, 1 856, "The C1ime Against Kansas." During
 3   which, South Carolina Senator A.P. Butler, supposedly stated that the people of
 4 Kansas should no longer possess their arms. During Sumner's speech, he attacked
 5 Butler and affirmed the right of individuals to bear arms:
 6           "The rifle has ever been the companion of the pioneer and, under God, his
             tutelary protector. . .Never was this efficient weapon [referring to the single
 7
             shot Sharps Rifle] more needed in self-defence, than now in Kansas, and at
 8           least one article in our National Constitution must be blotted out, before the
             complete right to it can in any way be impeached . . . "75
 9
1o   This speech culminated in violence agafost Sumner, who was beaten with a cane on
11   the Senate floor for advocating against disarmament. Yet, even after a Civil War and
12   lhirty-fi ve years later government uisarrnamenl would lead to the largest mass
13   murder in American history. On December 29, 1890 Colonel James Forsyth
14 commander of the 7 Cavalry, ordered the Lakota to surrender their firearms leading
                       th


15 up to their removal from the land they inhabited. It is debated exactly what happened
16 to pull the trigger on the slaughter, but in the end, hundreds of Lakota were killed.
                                                                                         76


17        43. After a long history of government related violence as well as private
18   vigilantism, Black people, particularly in the South, called for their personal
19   armament to protect themselves. Much research has been done focusing on violence
20 against people of color as a justification for firearms restrictions, however less
21 explored is the fact that Black people used and relied on firearms for protection from
22   violence. These two ideologies conflict with one another. On one side, it is argued
23   that restrictive laws would reduce violence, specifically on marginalized
24 communities. On the other, it is argued that gun ownership allows those
25 communities the best ability to protect themselves. In this circumstance, a restriction
26
27      7 5 Johnson et. al, pg. 456
28      76
          Utle� Robe11 M" The Last Days of the Sioux Nation. 2nd Ed. Yale University
     Press, pg. L1 1
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 1   would take away rights of the latter, putting them again at risk of violence. This
 2   desire to protect oneself with the best techn ology available was echoed amongst the
 3   Black community in the late nineteenth century through prominent leaders. For
 4 example, John R. Mitchell, Jr., Vice President of the National Colored Press
 5 Association, encouraged Black people to buy Winchesters to protect their families
 6   from the 'two-legged animals . . . growling around your home in the dead of the
 7 night."77 Ida B Wells, an activist and journalist in the South, wrote in 1892, "that a
 8 Winchester rifle should have a place of honor in every black home, and it should be
 9   used for the protection which the law refuses to give."78 These activists also
10 encouraged Black Americans to move to Oklahoma where they formed self-defense
11   organizations. One B.lack journalist repo1ted that in Oklahoma he "found in eve1y
12   cabin [he] visited a modern Winchester oiled and ready for use."' 79
13         44.    To summa:iize: in Kansas, pro-slavery gove1nment backed officials
14 sought to disarm Free Soilers of their high-quality single-shot Sharps rifles. Sunmer
15   denounced this effort and started a fight with Senator Butler, who himself would
16 backtrack and claim he never supported disarmament. In the Colfax massacre, Black
17 Republicans were outgunned by a mob with superior weapons. The Wounded Knee
18   Massacre started because of a government sanctioned clisannarnent of the Lakota,
19 who had in some cases, superior weaponry. The firearms confiscated at Wounded
20
21
        77 Johnson et al., p 52 1 referencing Giddings, Paula J. Ida: A Sword Among Lions
22   (2oi8), pg. 153- 154                     .               .      .,
             1ofmson et al., pg. 52 1 referencing_ Wel l s, Tda R. .Southern Horrors. N.Y. Age
23   June 25, 1892. Repnnted in Wells, Ida B. The Light of Truth: Writings of an Anti­
     Lyncf?.£1'!:g Crusader, pg. 84
24        79
             Wliile this reference is obviouslY. anecdotal for the number of Winchesters in
     circulation in a given area Vorenberg's declaration claims as little as 8,000
25   Winchesters were in circulation in the post-Civil War South. However, this number
     is based on an order of 6,000 from Governor Scott for the South Carolma Militia,
26   J;_,000 for the Metropolitan Police Force in Louisiana, and 1,000 potentially stolen
     nrearms. It has been stated though that the government was slow to adoRt this
27   technology, despite still being produced into the hundreds of thousands. Therefore, it
     is misleaaing to infer these orders would be the only way to measure the number of
28   Winchesters in the South at that time. The footnotea quote is from: Johnson et al., p
     52 1 referencing Gidclings, pg. 198
                                                    0
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 1   Knee included Winchester rifles, though it did not serve them any good considering
 2   what transpired. And Black southe1ners pa1ticularly sought to have the best weapons
 3   available for a government they believed was not there to protect them.
 4         45.    Some scholars argue that the passage, despite the repeal in many
 5 instances, of state laws regulating the carry of specific types of weapons serve as
 6 sufficient evidence to suppm1 a modern magazine ban. However, it is important to
 7 reiterate that these regulations regarding specific types of weapons have occurred in
 8 some cases to take away the rights of some but not others. For laws that did include
 9 everyone, weapons typically on that list had some sort of larger counterpart, as in the
10 Army/Navy laws, which would have at least equal capacity or were still permitted
11   via licensure. Furthe1more, these laws did not explicitly concern themselves with
12   capacity or magazines but more often the size and/or other criteria of concealment.
13   Other laws during this period, had more to do with whether or not the gove1nment
14   could protect you and your rights resulting in unfo1tnate
                                                          u
                                                               outcomes. In the case of
15   disarmament and the need for defense, it seems that citizens often affected by these
16   tragedies were less concerned about a discourse on the 1norality of firea1ms
17 technology, but instead protecting themselves with the best technology available.
18   Conclusion
19         46.    According to Bruen, time frames outside of the Founding and Second
20 Founding Eras can be considered informative, providing context for the mindset and
21   knowledge behind designs and legal decisions, although it does not hold the same
22   weight. This repo1t has provided an outline of repeaters and magazine-fed repeaters
23   with a capacity of over ten rounds in the previous two sections establishing the
24 existence and use of these types of firemms. The proliferation of such technology in
25 the twentieth and twenty-first centuries is astounding. As such and coupled with the
26 tertiary importance according to Bruen, I will not dive into a comprehensive look at
27   all repeaters developed into the modern era.
28


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      1          4 7.   This report has looked at two timeframes relevant to this case as it
  2       pe11ains to Bruen. It has provided a snapshot account of several repeaters and
  3       magazine-fed repeaters of capacities over ten rounds throughout history. It has also
  4       examined corresponding laws from those time periods rebutting similarities to
  5       twentieth
            ,,.     and twenty-first century legislation on capacity. It has stated that
  6       i nnumerable magazine-fed repeaters have been developed since the 1 600s. At the
  7       time of the Founding Era repeaters and magazine-fed firearms, with a capacity over
  8       ten rounds had been in existence for over a century. To my knowledge, there are no
  9       l aws during this period that restrict access to firearms magazines or strict firing
 10       capacity. By the time of the Second Founding Era, there were exponentially more
 11       repeaters and magazine-fed firearms with capacities greater than ten. According to
 12       scholarship outside of this declaration, the first laws referencing capacity, primarily
 13       for machine guns, only date to the l 920s, and all except one implemented during this
 14       period were repealed. Laws regulating detachable magazines date to the l ast decade
 15       of the twentieth century, and the ten round magazine limit was imposed through
 16       federal law for the first time in 1 994, making the relevant conversation in thi s case
 17       much more recent history rather than the historical precedent Bn,en requires.
 18             I declare u nder penalty of perjury that the foregoing is true and correct.
 19       Executed within the United States on No,.Jov\'()er 3 0 a...o;;). a




                                                          �-�
 20
 21
                                                         Ashley H lebmsky
 22                                                      Declarant
 23
 24
 25
 26
 27
28
                                            32
                             DECLARATION OF ASH LEY HLEBINSKY
                                                                                      APA.76941 7
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                         EXHIBIT 1
                             -~




                                                                   APP. 695
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 1                 EXHIBIT 1 : HLEBINSKY CURRICULUM VITAE
 2
     Ashley IDebinsky Curriculum Vitae
 3   Ashley Hlebinsky, President, The Gun Code, LLC
     2124 E Kerry Lane, Phoenix, AZ 85024
 4
     Email: theguncod @gmail.com
 5   Phone: 412-491-2493
 6
 7   Education:
 8
     Master of Arts, American History, University of Delaware, 20 1 3
 9
     Bachelor of Arts, American H istory, University of Delaware, 20 1 1
10
11
     Recent Honors/Awards:
12
13   Second Amendment Foundation's Defender of the Constitution, 2022
14
    National Shooting Sports Foundation and
                                          • Women's Outdoor Media Association 's
1 5 Top Five Finalist, Top Woman of the Gun Industry, 2022
16
      ational Shooting Spmis Foundation's SHOT Business's Top 40 under 40, 2020
17
                  Wyoming Business Report's Top 40 Under 40, 2017
18
19    ational Shooting Sports Foundation & Professional Outdoor Media Association's
     Shooting Sports Communicator of the Year Award, 20 1 7
20
21                Wyoming's Non-Profit Woman of the Year Nominee, 2017
22
23 Selected Professional Experience:
24
     Co-Founder and Senior Fellow, University of Wyoming College of Law's Fireanns
25   Research Center, Laramie, WY, 2020 (Current)
26
     Consulting Director, Craig Boddington Wildlife and Firearms Museum,
27   Independence, KS, 2022 (Current)
28
     Consulting Curator, LA Police Museum, Pasadena, 202 1 (Current)

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 1   Senior Consulting Specialist. Cowan's Auctions, Cincinnati, OH, 2021 (CUITent)
     Consultant, National Museum of Law Enforcement and Organized Crime (Mob
 2
     Museum), Las Vegas, NV, 20 16 (Current)
 3
     Guest Curator, C.M. Russell Museums and Complex, Great Falls, MT 2021
 4
     (Current)
 5
     Adjunct Scholar of Firearms History, Technology & Culture, Firearms Policy
 6
     Coalition, 2020-2021
 7
     Curator Emerita & Senior Firearms Scholar, Cody Firearms Museum, Buffalo Bill
 8
     Center of the West, 2020 - 202 1.
 9
     Robert W. Woodmff Curator, Cody Firearms Museum, Buffalo Bill Center of the
10
     West, Cody, WY, 2015-2020
11
     Project Director, Cody Firearms Museum Renovation, Buffalo Bill Center of the
12
     West, Cody, WY, 2015-2019
13
     Consulting Curator, Houston Museum of Natural Sciences, 2018
14
15 Consultant. Adirondack Experience. November 2019
16
     Consultant. Winchester Mystery House, August 201 9.
17
     Consulting Scholar. ational Park Service & Organization of American Historians,
18
     March 2019.
19
     Consultant/Curator. Daniel Defense, Black Creek, Georgia. 20 17
20
21   Associate & Acting Curator, Cody Firearms Museum, Buffalo Bill Center of the
     West, Cody, WY, 2015
22
23   Guest Curator. C.M. Russell Museums and Complex, 2015-2016
24
     Guest Curator. Cody Firearms Experience, 201 5
25
     Assistant Curator, Cody Fireanns Museum, Buffalo Bill Center of the West, Cody,
26
     WY, 2013-2014
27
     Teaching Assistant, The Jewish Holocaust: 1933-1945, University of Delaware,
28
     20 13

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 1   Teaching Assistant, Introduction to Military History, University of Delaware, 2 0 12
 2
     Teaching Assistant, History Education, University of Delaware, 201 1
 3
     Researcher/Fellow, National Museum of American History, Smithsonian Institution,
 4
     2010-201 3
 5
     Archival Assistant, University of Delaware Special Collection, 2010-201 1
 6
 7               Firearm Intern, Soldiers and Sailors National Memorial Hall, 2008
 8
 9   Expert Witness Testimony:
10
     Senate Judiciary Subcormnittee on the Constitution, Stop Gun Violence: Ghost
11   Guns, May 2021
12
     Franklin Armory et al v Bonta, February 2021
13
     F Herstal v Sturm, Ruger & Co, January 2021
14
15   Strum, Ruger & Co. v American Outdoor Brands Corp., October 2020
16
     Guedes v BATFE, June 2019
17
     Miller v Becerra (Bonta), November 20 1 9
18
19         1. Evidentiary Hearing Testimony October 2020
20
           2. Deposition January 2021
21
     Regina (Nova Scotia) v Clayton, Januaiy 2019
22
23   Garrison v Sturm, Ruger & Company, Inc. 2018
24
           1 . Deposition November 2018
25
26
     Selected Media Work:
27
     Writer/Producer. Mountain Men: Ultimate Marksman. History Channel, May 2022
28
     (Current)

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 1   Regular Contributor. Our American Stories Podcast, 2022 (Current)
     Co-Host. History Unloaded Podcast. Various platforms with Wyoming Public
 2
     Media, 20 1 8-2022, 6 seasons (Current)
 3
     Producer & On Camera Expert. Gun Stories with Joe Mantegna, Outdoor Channel,
 4
     2015-2022, 8 seasons (Current)
 5
     Producer & On Camera Expert. Man vs History, History Channel & M atador
 6
     Productions, 2020 (aired 2021)
 7
     Co-Host. Master of Arms, Discovery Channel & Matador Productions, 20 1 8. 1
 8
     season
 9
     Consulting Producer. Brothers in A rms . History Channel, 20 1 8. 1 season.
10
11   On Camera Expert. Rob Riggle: Global Investigator. Discove1y Channel, 2020.
12
     Recurring Expert. Mysteries at the Museum. Travel Channel. 2017-2019
13
     Casting Consultant. Gun Shop Project, Vice Media & Cinetlix Productions, 2020
14
15 On Camera Expert. American Genius colt. V. We. . on. National Geographic. 20 1 5
16
     Also appears on: Public Broadcasting Service, National Public Radio, Travel
17   Channel. National Geographic, Popculture.com, Media, Entertainment, Arts, World
     Wide ( MEAWW), Women's Outdoor News, Outdoor Life, Shooting USA, Gun
18
     Talk Media, National Shooting Sports Foundation, various firearms related podcasts.
19
     Has been profiled by: The Bourbon Review, Recoil Magazine, Outdoor life
20
     Magazine, Guns. com, Blue Press Magazine, and others
21
22
     Selected Lectures/Panels:
23
     Guest Speaker. Gun Rights Policy Conference, October 2022
24
25   Guest Speaker. Second Amendment Foundation Legal Scholars Forum, September
     2022
26
27   Guest Lecturer and Panelist. AmmCon. Second Amendment Foundation, October
     2021
28

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 1   Guest Lecturer. Armed for Revolution. Royal Armouries, September 2021
 2
     Guest Speaker. Preserving Firearms Heritage. Gun Rights Policy Coalition, 2020
 3
     Guest Lecturer. Art of Collecting. Nevada Museum of Art. January 2020
 4
 5   Panelist. Firearms and Museums in the 21 st Century. National Council for Public
     History. March 2019.
 6
 7   Scholars Roundtable. Coltvsille National Historic Site. Organization of American
     Historians & National Park Service, March 2019.
 8
 9   Forum Speaker. The Art of the Hunt: Embellished Sporting Anns in America. New
     Orleans Antique Forum, August 2018
10
11   Guest Lecturer. Unloading the Gun: Fireanns, History, and Museums. Yakima
12   Valley Musemn, June 2018

13   Guest Lecturer. Perpetrators and Protectors: The Mob The Law and Firearms,
     National Museum of Law Enforcement and Organized Crime (Mob Museum),
14
     September 2017
15
     Organizer. Arsenals of History: Firearms and Museums in the 21 st Century, Buffalo
16
     Bill Center of the West, July 20 1 7
17
     Lecturer. The Cody Firearms Museum, Arsenals of History Symposium, Buffalo
18
     Bil I Center of the West, July 201 7
19
     Moderator. Addressing the Press: Firearms and the Media, Arsenals of History
20
     Symposium, Buffalo Bill Center of the West, July 201 7
21
     Moderator. Forming an Association: Legitimizing Firearms in Acade1nic Study,
22
     Arsenals of Histmy Symposium, Buffalo Bill Center of the West, July 201 7
23
     Guest Lecturer. Displaying the "Politically Incorrect," C.M. Russell Museums and
24
     Complex, May 2017
25
     Guest Lecturer. Displaying the "Politically Incorrect," Blackhawk Musemn, March
26
     2017
27
     Panelist. Curator Roundtable, Firearms and Common Law Symposium, Aspen
28
     Institute, September 201 6

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 1
     Guest Lecturer. Displaying the "Politically Incorrect," Canadian Guild of Antique
 2
     Arms Historians, April 2016
 3
     Guest Lecturer. The Cody Firearms Museum Renovation, American Society of
 4
     Arms Collectors, September 2016
 5
     Guest Lecturer. From Protector to Pe1petrator: Demystifying Firearms in History,
 6
     Art Institute of Chicago, November 2015
 7
     Guest Lecturer. Winchester '73: The Illusion of Movie Malcing, Winchester Arms
 8
     Collectors Association, July 201 4
 9
     Guest Lecturer. Unloading the Six Shooter: Disassembling the Glamorization and
10
     Demonization of Firearms in the Arts, Buffalo Bill Center of the West, 20 1 1
11
12
     Selected Firearms Exhibitions:
13
     Curator/Project Director. Cody Fi rearms Museum Renovation. Buffalo Bill Center
14
     of the West. 2019
15
     Co-Curator. The Art of the Hunt: Embellished Sporting Armsfrom 1500-1 800.
16
     H ouston Museum of Natural Sciences. March 20 1 9
17
     Curator. Glock Makes History: The Birth of the Polymer Handgun Market . Buffalo
18
     Bill Center of the West. June 20 1 6
19
     Guest Curator. Desi gning the American West: The Artist and the Inventor. C.M.
20
     Russell Museum & Complex. February 20 1 6
21
     Curator. The Greatest Gun Designer in History: John Moses Browning. Buffalo Bill
22
     Center of the West. December 201 5
23
     Curator. Journeying West: Distinctive Firearms.from the Smithsonian Institution.
24
     Buffalo Bill Center of the West. December 2015
25
     Curator. The Forgotten Winchester: Great Basin National Park. Buffalo Bill Center
26
     of the West. June 2015
27
     Curator. Western Firearms Galle1y, including Shoot for the Stars: The Tradi ti on of
28
     Cowboy Action Shooting. Buffalo Bill Center of the West. April 201 5.

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 1   Curator. Steel Sculptures: Engraving Individuality from Mass Production. Buffalo
     Bill Center of the West. Winter 20 1 4.
 2
 3
     Certifications:
 4
 5   Certified Fireanns InstJ.u ctor, Basic Pistol, 20 1 6
 6
     Certified Firearms Instructor, Personal Protection Inside the Home, 201 6
 7
     Well Armed Woman Instructor Certification, 20 1 6
 8
 9   Museum Studies Certification, University of Del aware, 20 1 3
10
11   Grants:
12
     National Endowment for the Humanities, 20 1 7
13
14   Institute of Museum and Library Services, 20 1 7

15   Gretchen Swanson Family Foundation, 20 1 5, 20 1 6, 20 1 7, 20 1 8, 20 1 9, 2020
16
     Kinnucan Anns Chair Grant, 20 1 2
17
18
     Fellowships:
19
     Firearms Curatorial Resident, Buffalo Bill Center of the West, 20 1 3
20
21   Edward Ezell Fellowship, University of Delaware, 20 1 2
22
     Buffalo Bill Resident Fel lowship, Buffalo Bil l Center of the West, 201 1
23
24
     Committees and Memberships:
25
     Board Member - Walk the Talk America
26
27   Founding President - Association of Firearms Histo1y and Museums
                      • Academic association for the study of firearms history in
28
                          United States
                                             EXHIBIT 1
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 1   Founder - Arsenals of History Symposia Series
                      • First international symposia series on the academic study of
 2
                          firearms
 3
 4   Spokesperson - NSSF/AFSP Suicide Prevention and Project ChildSafe Programs
     American Alliance of Museums - Member
 5
 6 American Society of Arms Collectors - Member
 7 Winchester Arms Collectors Association - Honorary
 8
     Remington Society of Arms Collectors - Member
 9
10 Weatherby Collector's Association -Life Member
11
12   Pu bl ication H istory

13   Editorial Board - Armax Journal
14
15 Selected Articles :
16
     Author. "Guns and Mental Health." Recoil Magazine, Upcoming
17
18 Author. "Colt Single Actions and Safety." A rmax Journal, October 2021
19 Author. "Guns and Partisan Politics." Recoil Magazine, January 2021
20
     Author. "Feminism & Fireanns." Recoil Magazine, Smnmer 2020
21
22 Author. "Burton Light Machine Rifle." Recoil Magazine . October, 20 1 9
23   Founder/Editor/Author. Arsenals of Histmy Journal, Annual Publication, 20 18 -
24   Present

25 Author. "It's Complicated: The Short Answer to Firearms, M useums and History.
26 Journal of the Early Republic - The Panorama, September 2018.
27 Contributor. "Firearms Curator Roundtable" Technology & Culture Journal, August
28 2018

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 1   Author. "Displaying the ' Politically Incorrect. "' LOG X Guns: Chicago, IL,
 2   September 2017
     Author. "Does History Repeat Itself? The Smith & Wesson LadySmith." CLOG X
 3   Guns: Chicago, IL, September 2017
 4
   Author. "Renovating the Cody Fireanns Museum." Internati onal Commi ttee of
 5 Museums and Collections ofArms and Mili tary Hi story Magazi ne. Issue 17, May
   2017. Pg. 38 - 41
 6
 7   Author. "Renovating the Cody Fireanns Museum." American Soci ety ofArms
     Collectors Journal. Fall 2016.
 8
 9 Author. "Glock Exhibit Opening." Glock Magazine. Bang Media. Annual 20 1 7
10
     Author. "The 28 Most Notable Guns from Remington's 200-Year History." Outdoor
11   Life Magazine. Bonnier Corporation, 201 6
12
     Author. "Cassie Waters: Businesswoman of the Old West." Guns of the Old West.
13   Harris Publications, Spring 2016
14
   Author. "Making History: GLOCK Pistols at the Cody Fireanns Museum" Glock
15 Magazine. Han·is Publications. Annual 2016
16
     Author. "Pocket Pistols: 10 Seminal Guns from the Past 300 Years." Pocket Pi stols.
17   Harris Publications. 2016
18
     Author. "The Gun that Won the Western and the Unforeseen Stars of Wi nchester
19   '73" Guns of the Old West. Harris Publications.
20
     Author. "Frontier Profile: Jedediah Strong Smith" American Frontiersman. Harris
21   Publications
22
     Author. "Frontier Legend John Johnston." American Fronti ersman. Harris
23   Publications
24
     Author. "The Guns of John Johnston." Ameri can Frontiersman.
                                                              . Hanis Publications
25
     Author. "Annie Oakley VS Lillian Smith: A Female Sharpshooter Rivarly." Guns of
26
     the Old West. Harris Publications, Spring 2015
27
     Author. "Icons and Has-beens." American Handgunner . FMG Publications, 2014
28

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 1   Author. "Triggering Memory: American Identity in Cowboys and A liens." Points
     West. Spring 2012
 2
     Author. "Unloading the Six-Shooter: Disassembling the Glamorization and
 3   Demonization of Firearms in the Arts." Points West, Fall 2011.
 4
 5   Columns :
 6
     Author. Old School Series. Recoil Magazine
 7
     Author. Flashback. Concealment Magazine
 8
 9 Author/Brand Ambassador. The Bourbon Review.
10
     Author. A merican Association for State and Local History . Summer 2019
11
     Author. "Weird West: Fact or Fiction" Guns ofthe Old West. Athlon Outdoors
12
     (formerly Hanis Publications)
13
     1 st Assault Rifle
14
15 Colt VS Winchester Revolver
16
     Did Winchester Really Win the West?
17
     Oliver Winchester's Lever Action Shotgun
18
19 Remington Cane Gun
20
     Author. "Cowboy Action Round Up." SHOT Show ew Products. Guns of the Old
21   West. Athlon Outdoors (formerly Harris Publications). 2015, 2016, 2017
22
23   Reviews :
24
   Reviewer: Edited by Jonathan Obert, Andrew Poe, and Austin Sarat. Oxford: Oxford
25 University Press, 2018. Journal o Technology & Culture, Fall 2019
                                    f


26
     Author. "Everybody Loves an Outlaw: Taylor's Outlaw Legacy Revolver Series."
27   Guns of the Old West. Harris Publications
28

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 1   Reviewer: Richard Rattenbury. A Legacy in Arms: American Firearms Manufacture,
     Design and Artistry, 1 800- 1 900. Chronicle qf Oklahoma, Spring 2016
 2
 3
     Selected Biogs & Vlogs:
 4
 5 Recoil Magazine
 6
     Weekly video series beginning October 2017 to Present
 7
     Dill on Precision
 8
                         Histori cal Videos on Ammunition (Upcoming)
 9
     Outdoor Life
10
                 Top 10 Guns in Ame1ican History
11               Guns of the Old West: 10 Iconic Firearms and the Legendmy Men (and
     Women) Who Shot Them
12
                 13 of the Biggest Gun Fails in Recent Firearms History
13               Gun of the Week:
                 John Maitz Luger
14
                 Apache Revolver
15               German Frei Pistol
                 King Loujs XV Embellished Blunderbuss
16
                 Armalite AR- 1 7 Shotgun
17               Getting the Christmas Goose with a Goose Rifle & Cutaway Suppressor
                 Mossberg Browrue
18
                 Wesson & Leavitt Belt Revolver
19               William Harnett and the Faithful Colt 1890
                 Winchester Model 1894 Lever Action Rifle
20
                 Ruger Semi-Automatic Pistol, 1 of 5,000
21               Herb Parson's Winchester Model • 71 Lever Action Rifle
                 Lincoln Head Hammer Gun
22
                 American Trap Gun
23               Browning Brother's Single Shot Rifle Patent
                 Feltman Pneumatic Machine Gun
24
                 U.S. Springfi eld-Allin Conversion Model 1866 Trapdoor Rifle
25               Winchester Wetmore-Wood Revolver
                 Webley-Fosbery Automatic Revolver
26
                 Hopkins & Allen XL3 Double Action Revolver
27               DuBiel Modem Classic Rifle
                 Colt Model 1877 "Thunderer" Double Action Revolver
28
                 Torn Tobin 's Colt Model 1 878 Frontier Revolver

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 1               Walch I O-Shot Double Hammers Pocket Revolver
                 Winchester Model 1 887, Serial No. 1
 2
                 Deringer vs Den-inger
 3               The Forgotten Winchester 1 873 of Great Basin National Park
     Range 365
 4
     To the One Who Got Away
 5   Gun Review: New Glock 19 Gen 5
     Ain't She a Pistol? 1 0 Hist01ic Gun Ads Featuring Women
 6
     National Shooting Sports Foundation
 7   The Gun Vault:
     Winchester 1 873 Found in Great Basin National Park
 8
     Col. Jeff Cooper's Colt MK IV Series 80
 9   500+ Year Old Firearms, Matchlocks, Flintlocks
     U.S. Presidents Guns
10
     Cross Dominance Shotgun
11   Herb Parson's Winchester Model 7 1 Rifle
     Audie Murphy's Colt Bisley Revolver
12
     4 Gauge Winchester Wildfowler
13   Pocket Pistols
     Henry Ford's Winchester Model 1 887 Lever Action Shotgun
14
     Tom Knapp's First Gun
15   Buffalo Bill Cody's Winchester 1873
     Colt Model 1861 Navy Serial No. I
16
     Cassie Waters' Hopkins & Allen XL3 Revolver
17   Glock 17
18
     The Truth About Guns
19         Presidential Presentation Rifles
           Factory Cut-Away M1 6A l
20
           1854 Smith & Wesson Repeating Ri fle (Serial Number 8)
21        Winchester World's Fair Model 1866 Deluxe Sporting Rifle
          Raymond Wielgus Collection
22
           Gastinne-Renette Muzzleloading Percussion Target Pistols
23         Oliver Winchester's Jennings Repeater
           Herny Ford's Winchester Model 1887
24
           Winchester Model 1 866 Musket in .44 Rimfre t

25        English Wheellock
           Southern B Ile American Longrifle
26
          Annie Oakley's Model 1892 Smoothbore Rifle
27         Catherine the Great of Russia's Blunderbuss Gift to King Louis XV of France
           Color Case-Hardened GLOCK 43: Merging the Old West with the New
28
           Buffalo Bi11 Center of the West - Unloading the Myth

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 1       The Cody Firearms Museum - Yesterday, Today, and Tomorrow
         Guns of the Week - Christmas List
 2
         Guns of the Week: December 15-19
 3       Guns of the Week - The Cody Firearms Museum
         Guns of the Week - Gennan Firearms
 4
         Guns of the Week - Scheutzenfest
 5       Guns of the Week - Air Guns
         Guns of the Week - Early Firearms Law
 6
         Guns of the Week - October 13-1 7
 7       Guns of the Week- fugenious Engineeiing
         Guns of the Week- Remington - Smoot
 8
         Guns of the Week - September 22-26; 15-19; 8- 1 2
 9       CSI : Firearms Museum Edition
         Confessions of a Gun Historian
10
         Art Guns: Aesthetics Over Function?
11       What Good's a Gun Without a Fi1ing Pin?
         Gun Installations, T1ials & Tribulations
12
         A True Test of Marital T1ust and Love
13       Remembering Tom Knapp
         Cody Firearms Museum Goes Hollywood
14
         When Will My Firearms Go On Display
15       What's Your Cody Firearms Museum
         To Vlog or Not to Vlog
16
         We Don't Just Have Old Guns in Our Museum: SHOT Show 20 1 4
17       Taking a Staba at Displaying More Guns
         "Hi Yo Silver" Cook Away! Lone Ranger Display
18
         The Shooting Wire
19       Winchester's 150 th Anniversary Website
         Remington's 200th Anniversary Website
20
21
22
23
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25
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: l 7-cv- 1 0 1 7-BEN-JLB
 5
     IT IS HEREBY CERTIFIED HAT:
 6
 7          I, the undersigned, declare under penalty of perjwy that I am a citizen of the
     United States over 1 8 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, desc1ibed as:
10
11   DECLARATION OF ASHLEY HLEBINSKY IN SUPPORT OF PLAINTI FFS'
                  SUPPLEM ENTAL BRIEF; EXH IBIT 1
12
13 on the following parties by electronically filing the foregoing on December 1, 2022,
   with the Clerk of the Distlict Court using its ECF System, which electronically
14
   notifies them.
15
    Rob Bonta
16
    Attorney General of California
17 Mark R. Beckington
    Supervising Deputy Attorney General
18
    Kevin J. Kelly
19 Deputy Attorney General
    300 South Spring Street, Suite 1 702
20
    Los Angeles, CA 900 1 3
21  kevin.kelly@doj.ca.gov
22
          I declare under penalty of pe1jU1y that the foregoing is true and conect.
23   Executed on December 1 , 2022, at Long Beach, CA.



                                                        �,�
24
25
                                                      Claura Palmrin
26
27
28


                                                                             AP P. 709
                                                                                      1 7cv 1 0 1 7
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 DECLARATION U N DER PENALTY OF PERJ U RY OF TOM GIVENS


   Tom Givens, u nder penalty of perj u ry, deposes and states as follows:


                                  ..
     1. My name is Tom Givens. I am givi ng this declaration in su pport of the
                                                              ..
        Plai ntiffs' reply to the District of Col u m bia's opposition to appl ication
        for prel i m i nary i nju nction i n case number 22-cv-2256, Hanson v.
        District of Columbia (DC District Court).

    2. Si nce 1 996 I have operated Rangemaster, a fi rearms training
       com pany. I began teachi ng defensive fi rearms use in 1 975 on a part­
       ti me basis, and began teaching ful l ti me in 1 996.


    3. Doing busi ness as Rangemaster, I conduct training all over the
       U nited States. In 2022 , I cond ucted cou rses in Pennsylvania, Texas,
                  ..   c_




       Arkansas, South Carol ina, Georgia, Tennessee , Florida, West  •
       Virginia, North Carol i na, Iowa, Lou isiana, and Ohio.

    4. I have been retai ned as a Firearms Expert in cases in Federal Cou rts
       i n Alaska, Kansas, Tennessee, and I l l i nois. I have served as an
       Expert Witness in these matters i n state courts i n I l l i nois, Alaska,
       Ohio, M ississi ppi, and Tennessee.


    5. I have been paid by the government to conduct training for the FBI
       Firearms Training U nit at the FBI Academy i n Quantico , VA; for the
       Drug Enforcement Ad m i nistration's fi rearms instructor cad re for South
       Florida; for the US Marine Corps H igh Risk Personnel prog ram's
       cad re; and for multi ple mil itary units .

    6. I have graduated from nu merous defensive fi rea
                                                      .,-, rms training cou rses,

       i ncluding
       N RA Law Enforcement Firearms I nstructor School
       N RA Law Enforcement Tactical Shooti ng I nstructor School



                                                                           APP. 71 0
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       FBI Pol ice Firearms I nstructor School
       Gu nsite, AP I 499
                      .,
       And many others.

    7. I have been asked to provide my opinion concern i ng the util ity for
                              ..
       lawful pu rposes of what the District of Col um bia refers to as hig h­
                                                      .
                                                      . as an ammu nition
       capacity ammu nition feed i ng devices, defi ned
       feed i ng device with a capacity in excess of 1 0 rou nds. This
       desig nation is not a standard fi rearms term , however, as
                                                                 ·•- d iscussed
       below.

    8. A "standard capacity magazine" is the magazi ne the fi rearm was
       desig ned to use, and which originally was shi pped i n place in the
       fi rearm when the factory shi pped r the fi rearm to a dealer. I n the case

       of handgu ns designed for personal defense , some exam ples would
       i nclude:
       The Glock 1 7, originally desig ned and shi pped with 1 7 rou nd
       magazi nes;
       The Glock 1 9, originally desig ned and shi .. pped with 1 5 rou nd
       magazi nes;
       The Sm ith & Wesson M&P, originally desig ned and shi pped with 1 7
       rou nd magazi nes ,
       The S I G P365 Macro, a very compact self defense pistol , orig i nally
       desig ned and shipped with 1 7 rou nd magazi nes ;
       The Spri ngfield Armory Prodigy, origi nally designed and shi pped with
       a 1 7 round magazine;
       The Wilson Com bat  ., S FT9, originally d esig ned and shi pped with a 1 5
       rou nd magazine;
       The Walther PDP, origi  ,. nally designed and shipped with 1 8 round
       magazi nes;
       and the Spri ngfield Armory XD-M , orig i nally designed and shi pped
       with 1 6 rou
                  .. nd magazi nes .
       There are many others, but the point is that these are the standard
       capacities for these
                         .    handgu ns, all of which are 9mm pistols desig ned
       for personal defense.




                                                                        APP. 71 1
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    9. I n these listed examples, the pistol is shi pped from the factory with
       one·- of these "standard capacity" magazi nes i nserted in the pistol ,

                                               .
                                             . i n the same box/case.
       plus o n e or more add itional magazines

    1 0.      Magazines for one of those listed pistols, with a capacity less
                   J   '


       than that origi nal desig n , are properly referred to as "reduced
       capacity magazi nes". A 1 7 round magazine for a handgu n designed
       to fu nction with a 1 7 rou nd magazine, is not a "high capacity
       magazine", it is a "standard capacity magazi ne".


    11.       I n the case of the self defense pistols listed above , there are
       available 1 0 round magazines. I n my observation and experience i n
       watchi ng thousands
                        •       of rou nds fi red th rough these magazi nes i n
       classes I have taught or attended , these redu ced capacity magazines
           t



       are not nearly as reliable as the origi nally designed   • • standard capacity
        magazi ne. To fit i nto the pistol , lock i n place, and feed , these reduced
       capacity magazi nes have to remain the same d i mensions externally.
       Thus, capacity is reduced by blocki ng the i nside of the magazi ne. I
        have seen numerous rel iabil ity issues with these red uced capacity
               .  . Si nce the self defense pistol is an emergency piece of l ife
        magazi nes.
       saving equi pment, compromising its rel iabil ity comprom ises the
        user's su rvivabil ity.


    1 2.         The days of law enforcement officers routi nely shooti ng fleeing
        suspects are long over i n this cou ntry. At present, i n law enforcement
        the pistol is seen as a last ditch emergency piece of life savi ng
        equ i pment, deployed to defend agai nst a potentially lethal assault by
                                                [·




        a cri.. m i nal suspecUassailant. Therefore , virtually every law
        enforcement agency i n the US, including the District.."    of Columbia,
         issues/authorizes pistols with magazi nes that hold 1 5-1 8 rou nds of
        ammu nition . The private citizen faces these exact same
        suspects/assailants, but without the luxury of body armor, d i rect radio
        contact with back-u p officers, a long gun i n a car rack, and armed
         partner(s). The armed citizen is truly on his/her own .




                                                                          APP. 71 2
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    1 3.       The purpose of the standard capacity magazi ne is not to allow
        the user to shoot more. It's pu rpose is to sustain the user with an
        operable pistol long enoug h to get to the end of the i ncident without
         havi ng to reload . Using regular concealed carry equi pment and
        clothi ng , even a highly skilled and hig hly trai ned shooter needs
        around 3 seconds to reload an em pty sem iautomatic pistol , utilizi ng a
         pre-loaded spare magazine. I n a close range defensive shooti ng,
         havi ng an em pty, thus i noperable, handgun for 3 seconds is
        essentially the same as bei ng u narmed . I n that 3 second ti me period ,
        the defender cannot fi re his weapon . I n that same 3 second ti me
         period , the attacker can fi re nu merous shots or close the d istance
         and stri ke with an i m pact or bladed weapon . The pu rpose of the
        standard capacity magazi ne is not to let one shoot more, it is to have
        to reload less.

    1 4.      I n my book, Concealed Carry Class, the statement that the
       magazi ne is not part of the pistol has been taken out of context by the
       District of Columbia. I was trying to have the reader u nderstand that
       magazi nes are a consu mable, non-permanent part of the pistol . To
       practice defensive shooti ng , a user needs multi ple magazi nes .
       Magazines wear as they are used , and at some point become
       u nserviceable. At that point they must be replaced . The user should
       have magazines that are dedicated to defensive use/carry, to ensu re
       their rel iabil ity, and other magazines dedicated to training and
       practice, where they will sustain more wear.

    1 5.     The magazine is the only part of the pistol that is routi nely
       removed by the user. It is removed from the pistol every ti me the
       handgu n is unloaded or reloaded. It is however, stil l very much a part
       of the pistol , as the pistol can not fu nction without the magazine. This
       is why every major manufactu rer ships the pistol with a magazi ne i n
       place i n the magazi ne well of the pistol . The sem iautomatic pistol i s
       not really fully assem bled without a magazine i n place, so it is
       shi pped with a magazi ne in place. There may be one or more
       additional magazines i n the box/case with the handgu n , but there will
       be a magazine i n the handgun when it is shipped for sale. All
       promotional photog raphs of handguns i n catalogs, pri nt advertising ,



                                                                        APP. 71 3
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       and other med ia will show a magazine i n place i n the pistol , so that
       the consumer can see the fully assem bled , ready for action state of
       the handgu n .

    1 6.       As stated earl ier, the standard capacity magazi ne does not
        allow one to shoot more, it allows one to conti nue defending himself if
         more than a few shots are requ i red . I n my observation of many, many
         private citizen self defense shooti ngs, h its to non-i nvolved parties are
        very rare. Private citizen self defense shooti ngs are not the ru nning
        gun battles , with suspects and officers movi ng and maneuvering
        while fi ri ng at each other, that produce a lot of m isses. Private citizen
        self defense shooti ngs, however, often do involve two or even more
        armed assailants, and those assailants may i nclude gang members ,
         mentally u nstable persons, a n d persons heavily u nder the influence
        of alcohol or il licit d rugs. These factors make more rou nds in the self
        defense pistol extremely desirable, and perhaps the d ifference
         between l ife and death . This is why com mon self defense pistols are
        suppl ied by the factory with 1 5- 1 8 rou nd magazines.

    1 7.      I n su m , magazi nes hold ing i n excess of 1 0 rou nds have been i n
       use for almost one hundred years. They are com monly possessed
       and used by private citizens and law enforcement officers al i ke. They
       are an i ntegral part of an emergency life savi ng eq u i pment system.
       Without the magazi ne the pistol was designed to use, its util ity and
       value as an emergency piece of l ife saving equi pment is d i m i nished ,
       placing the user at higher risk of i nj u ry or death i n a self defense
       event.


 The above statement, given u nder penalty of perj u ry is true and correct to
 the best of my knowledge, i nformation and beli ef.
                                                 r



 Dated : December 1 1 , 2022
                                                           f


                                                     Tom Givens


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  DECLARATION UNDER PENAL TY OF PERJURY OF BRETT HARNISH
       Brett Hamish, under penalty of perjury, deposes and states as follows:
        1 . My name is Brett Hamish. I am composing this declaration in support of
 Plaintiffs ' reply to the District of Columbia's opposition to the application for a
 preliminary injunction in case number 22-cv-2256, Hanson v. District of Columbia   it

 (DC District Court).
        2. My relevant background. I served approximately six years active duty in
 the United States Marine Corps, and approximately
                                        ..            two additional years of service
 in the Active Reserves. I served as an enlisted Marine in the infantry and as
                                                                            '.a
 commissioned officer in artillery. I then worked as a United States Border Patrol
 Agent for approximately six years. Following that I worked as a police officer for
 the Town of Herndon, Virginia, for approximately seven years. I currently work
 for a federal government law enforcement agency as a firearms instructor. I've
 held that position for almost
                        r      four years. I have almost twenty-five years of
 professional firearms experience.
        3. Since 2020 I have operated Justified Defensive Concepts, LLC (JDC).
 JDC provides safe, effective, professional firearms training to law abiding United
 States citizens looking for legitimate defensive firearms training. JDC offers
 training for safety, performance, competition, hunting, and legally justified use of
 firearms for self-defense.
               I.           JDC is incorporated in Virginia asI a limited liability
 company.
        4. Prior to my founding of JDC, I worked as the lead firearms instructor for
 Green Ops, another firearms training company located in Northern Virginia. I
 worked for Green Ops for more than five years. Between JDC and Green Ops, I
 have provided realistic and safe firearms training to thousands of law-abiding
 United States• . citizens without incident. During my work for the government, I

 have trained thousands of law enforcement and military personal. A common
 thread through all my employment is that I have earned and worked in the job
         .
 classification   of firearms instructor in all the above listed work experiences (this
 includes the Marine Corps, the Border Patrol, Herndon Police Department, and my
          '


 current employment). In sum, I have more than twenty years of experience as an
 operational firearms instructor for law enforcement and military professionals as
 well as for conscientious and diligent private individuals.



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       5. I have been asked to provide my opinion regarding the utility for lawful
 purposes, including self-defense, of what the District of Columbia refers to as
 "high-capacity ammunition feeding devices, defined as ammunition feeding
                                                             .
 devices with a capacity to hold in excess of 10 rounds of ammunition. That
 designation is not a standard firearms term, as
                                              r referenced below.

        6. There are standard capacity magazines,
                                               .      which are the magazines
 manufacturers supply with a new firearm. These standard capacity magazines often
 are capably of holding significantly more rounds than ten rounds. In fact, many of
 the bestselling pistols today can hold fifteen or more rounds of ammunition. This
 has been true for quite a significant amount of time. The Browning High Power
 Pistol has been in the United States commercial market since 1 954 and has a
 capacity of fifteen rounds. The Mauser C96 Broomhandle which had an
 ammunition feeding device of ten rounds was commercially available in the United
 States in 1 90 1 . Variants of that firearm had the capability of accepting magazines
 holding in excess of 10 rounds. Capacity is not the driving force in firearm
 manufacture and selection. Technology and capability are and will remain so.
 Capability and capacity, however, go hand in hand as additional capacity positively
 reflects on capability. If technology could facilitate larger capacity magazines in
 common sized pistols, it would happen. The widespread market acceptance of the
 Sig Sauer P365 is a prime example of this. Sig Sauer was able to design a
              .
 relatively small size pistol with significant capacity. The small size of the pistol
 allows for more easily concealing the firearm, yet provides significantly more
 ammunition capacity than comparably sized guns. End users wisely want more
 capability, including capacity. Technology has been the engine of change through
 the history of firearms development.
        7. The Beretta M9 wasI adopted
                                   ,       by the United States Armed Forces as the
 official service
            ..    pistol in 1 985. The Beretta M9 or commercially the Beretta 92 has
 a standard capacity of fifteen rounds in the magazine. Many other popularly sold
 pistols in the United States have offerings in defensive use pistols that are at least
 fifteen rounds of ammunition capacity or more. Glock, Sig Sauer, Smith &
 Wesson, Walther, Heckler & Koch, and Ruger are but some of the quality
 manufactures'i that sell pistols in the United States with standard capacities of
 fifteen, seventeen, or more rounds. ..
       8. A consideration about utility. Pistols are not generally great stoppers of
 the human body, particularly the human body of a violent criminal actor

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 performing an illegal act of extreme violence amped up on adrenaline, alcohol,
 drugs, or rage. More than often, it will take several well-placed shots to stop a
 violent criminal actor from furthering their determined act of illegal interpersonal
 violence. Legal use of force is permitted for self-defense or defense of others.
 Force is applied to stop threats. One threat is not necessarily
                                                           •.    stopped by one bullet.
                                               ..
 It can and often does require several well-placed shots to put a stop to a violent
 criminal actor's potentially lethal or seriously harmful assault. That is just one
 threat. Several threats of violent criminal actors can be involved simultaneously. A
 firearm with the capacity to address multiple threats is certainly prudent; it may
 even be downright necessary to effectively stop multiple violent criminal actors.
 Criminals can, and certainly do work in pairs or even larger groups to achieve their
 illicit objectives. News reports are awash concerning such incidents.
        9. Pistols with the capacity to hold ten rounds, or more than ten rounds, have
 been common for well over sixty years. That type of pistol is selected by law
 enforcement and military agencies in the United States for the practicality and
 performance they provide to the organization, but more importantly the capability
 they provide to the end user. When faced with a life threatening violent attack,
 good people want and deserve a good option to stop a criminal act of deadly
 violence. Pistols holding more than ten rounds in their ammunition feeding device
 are in common use in this country for self-defense and other lawful purposes. This
 type of pistol with this type of ammunition feeding device has been .. in common use
 in the United States for more than seven decades. The reason why is obvious. A
 quality reliable pistol with more than fifteen rounds of ammunition in it is 1 ) a
 strong deterrent, and 2) an effective tool to stop a violent criminal attack.

        1 0. Law enforcement agencies and the Armed Forces of the United States
 have made weapon acquisitions on the criteria mentioned above for at least the last
 thirty-seven years. Why wouldn't a prudent and well-informed law-abiding United
 States citizen do the same? In my experience as a certified firearms instructor and
 law-abiding business owner, they do. The most often used pistols in my classes are
 Glock, Smith & Wesson, Sig Sauer, Heckler & Koch pistols chambered in 9mm
 and having ammunition capacities of at least fifteen rounds. The Glock 1 9 (fifteen
 round standard magazine capacity) and the Glock 17 (seventeen round standard
 magazine capacity) are by far the most popular firearms I see in my classes.
       1 1 . In conclusion, pistol magazines (or ammunition feeding devices) of
 capacity that exceed ten rounds• are both common and extremely practical for


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   legitimate self-defensive purposes. In my experience magazines of fifteen rounds
   or more are extremely common and are i1t1 general widespread use. Those uses are
   for far more than just lawful self-defense. Competition, hunting, and recreation
   activities drive millions of Americans to regularly use firearms. In 202 1 , more than
   1 8 million firearms and billions of round:s of ammunition were legally sold in the
   United States in legitimate interstate commerce. This commerce benefits the
   preservation of wildlife through the Pittman-Robertson Act. One of the bestselling
 • pistols is the Glock 1 9. The Glock 1 9 has: a standard magazine capacity of fifteen
   rounds. Pistols that have ammunition feeding devices are not merely popular for
   the ammunition capacity, but more so for the significant capability they provide to
   the individual user.
        The above statement, given under ]Penalty of perjury, is true and correct to
  the best of my knowledge, information, aind belief.




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   DECLARATION UNDER PENALTY OF PERJURY OF JOHN MURPHY
       John Murphy, under penalty of perjury, deposes and states as follows:
    1 . My name is John Murphy. I am giving this declaration in support of the
        Plaintiffs' reply to the District of Columbia' s opposition to application for
        preliminary injunction in case number 22-cv-2256, Hanson v. District of
        Columbia (DC District Court) .

    2. My background is as follows. I served 1 0 years in the UnitedStates Marine
       Corps as an infantryman, security specialist and intelligence analyst. After
       that I was employed by the Defense Intelligence Agency for 1 5 years, serving
       as terrorist weapons and tactics analyst.

    3. Since 2007 I have operated FPF Training providing defensive firearms
       training to the public. And since retiring from the government, FPF Training
       has been my full-time vocation. FPF Training offers training in handguns,
       shotguns, and emergency medical treatment of traumatic injuries, including
       injuries one might receive in a criminal assault.

    4. Although FPF Training is headquartered in Virginia, I provide trammg
       throughout the UnitedStates. Beside various courses in Virginia, I currently
       have courses scheduled for the first half of the 2023 in the following states:
       Alabama, Arkansas, Arizona, California, Colorado, Florida, Georgia, Idaho,
       Maine, Missouri, Nevada, New Mexico, Oklahoma, Oregon, Texas and Utah.
       For a detailed listing of courses available through FPF Training, please see
       our website: www.fpftraining.com. I also host some of the Nation' s top
       firearm instructors at our Northern Virginia locations, including Tom Givens,
       MassadAyoob, Cecil Burch, Wayne Dobbs, Greg Ellifritz, John Hearne, Tim
       Kelly, Karl Rehn and Tatiana Whitlock.

    5. I have been asked to provide my opinion concerning the utility for lawful
       purposes of what the District of Columbia refers to as high-capacity
       ammunition feeding devices, defined as ammunition feeding devices with a
       capacity in excess of 1 0 rounds. That designation is not a standard firearms
       term, however, as discussed below.



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    6. There are standard capacity magazines, which are the magazines that
       manufacturers supply with a new firearm. For example, the extremely popular
       Glock 1 9 compact handgun comes standard with 1 5 round magazines. The
       full-size Glock 1 7 handgun, standard issue to DC Police, comes standard issue
       with 1 7 round magazines. There are also what is often called California
       compliant magazines, which are limited to 1 0 rounds and are thus legal within
       the District of Columbia. There are also magazines produced capable    •    of
       holding more rounds than those magazines normally supplied with a stock
       firearm. An example might be the 30 round stick magazine made by ETS for
       the Glock 9 mm series, including the Glock 1 9 and 1 7 discussed above.
       Similarly, AR-1 5 variant rifles come standard with 30 round magazines.
       However, AR-1 5 compliant magazines holding 40, 60 or even 1 00 rounds are
       available, though often having reliability issues.r The District nonetheless
       restricts the handful of citizens who legally own AR-1 5s to 1 0 rounds.

    7. Standard capacity magazines, including those holding more than 1 0 rounds,
       are used and useful for a variety of legal purposes. From my experience and
       observation they are overwhelmingly used by my students and students in
       classes I have attended in the course of self-defense training. In a typical class
       most students will come with a firearm capable of holding more than 1 0
       rounds. In our classes we will have students shoot several hundred rounds a
       day. Having adequate capacity allows students to train at a high pace without
       having to spend substantial downtime reloading magazines. Additionally,
       while some students will come to class with many magazines, other students
       may have only the two or three magazines that come with the firearm.
       Restricting firearm owners to magazines holding only 1 0 rounds thus
       adversely affects their ability to train at their maximum capable level.
       Similarly, my experience and observation is that magazines holding in excess
       of 1 0 rounds are routinely used for target shooting and marksmanship training
       at public ranges.

    8. From my experience and observation, magazines holding more than 1 0 rounds
       are widely carried in public for self-defense by licensed concealed carriers. I
       agree with noted firearms instructor Tom Givens that the minimum magazine
       size for concealed carry should be 1 0 rounds and that larger capacity
       magazines are to be preferred. I carry a Glock 48 equipped with a 1 5 round
       capacity magazine. This is because based on my study of the subject, criminal
                                •                                      4




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       assaults often are conducted by multiple assailants, assailants fortified by
       alcohol and stimulants such as cocaine and PCP, and increasingly assailants
       are wearing body armor. Pistol bullets have limited stopping power compared
       to rifle rounds and shotgun ammunition. There are documented instances of
       criminal assailants taking multiple hits and continuing their attack. Although
       the average amount of rounds fired in self-defense is usually less than 1 0,
       generally only two or three, we cannot prudently assume that the situation we
       find ourselves in will comport with the average. Additional rounds in the gun
       are an important insurance policy in the event of multiple attackers,
       chemically fortified attackers and attackers using body armor. Where lives are
       at risk in a criminal assault, it is not the odds that are important, it is the stakes.

    9. The idea that magazines holding more than 1 0 rounds are most useful in the
       military or in a law enforcement context does not imply they are not useful
       for civilian self-defense. The assailant a citizen faces in a criminal attack is
       the same person law enforcement is tasked to arrest. Moreover, with respect
       to the military, most soldiers and marines do not even carry handguns, but
       rather fully automatic machine guns, such as the M- 1 6 rifle or the M-4
       carbine. In any event, as the preamble to theSecondAmendment makes clear,
       a primary byproduct, if not purpose, of an armed populace is protection of
       freedom from external and internal threats. So such magazines are certainly
       useful for the maintenance of an armed citizenry available for militia service
       in the event needed to assist in combating an invasion or insurrection.
       Although the core of theSecondAmendment is individual self-protection, the
       preamble to the amendment makes clear this civic purpose as well.

    1 0. Having multiple magazines, although a good idea, is not a substitute for
         adequate magazine capacity.
                                  ,..   One of the reasons for that is that persons often
         get shot in the hand or arm in the course of a gun fight. Once they have lost
         the use of a hand or arm, reloading one handed is a time consuming process,
         assuming the victim has even learned to perform one-handed reloads. Every
         second his or her gun is out of action is a time when he or she is rendered
         defenseless while being shot, stabbed, bludgeoned, stomped, or stuck by an
         assailant or group of assailants. Even if both hands are functional, reloading
         could be problematic if the victim is physically entwined with his or her
         attacker(s) as will often be the case in a robbery, rape or beatdown.



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         1 1 . This is an especially important issue for home defense. A homeowner
               awakened at night needs several pieces of equipment, including the firearm,
               telephone and a flashlight. That is already three items for two hands. Adding
               a fourth item such as a spare magazine becomes problematic. The
               homeowner is likely to be wearing njght clothes with no pockets, or even
               less. There is likely not going to be a place where he or she is going to be
               able to carry spare ammunition.
         1 2. Moreover, many persons who carry guns for self-protection do not carry
              spare magazines or cannot easily access a spare magazine. Think of the lady
              wearing a dress needing to carry her firearm in a separate compartment of
              her purse. Digging around for a spare magazine after having expended the
              capacity of her firearm could be a serious problem.
         1 3. Standard capacity magazines and larger capacity magazines are also often
              used in shooting competition matches, such as those put on by the
              International Defensive Pistol Association and the United States Practical
              Shooting Association. These competitions help instill ski11s that are
              beneficial to keeping people alive in the event of a criminal assault.
         1 4. There are other lawful uses for magazines in excess or 1 0 rounds, including
              for varmint control on farms and ranches, admittedly not something of high
              relevance to the District of Columbia, but nonetheless a widespread and
              lawful use of such items.
     .   1 5 .In sum, magazines holding in excess of more than I O rounds are used and
              useful for self-defense and other lawful purposes. My experience and
              observation is that they are widely possessed and used for these lawful
,,            purposes by firearm owners throughout the Nation.
           The above statement, given under penalty of perjury is true and correct to
     the best of my knowledge, information and belief.


     Dated: /c) ,Uc dtJdJ




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 DECLARATION UNDER PENALTY OF PERJURY OF GREG ELLIFRITZ
       Greg Ellifritz, under penalty of perjury, deposes and states as follows:
       1.    My name is Greg Ellifritz. I am making this declaration for
 submission in Case Number 22-cv-2256, Hanson v. District of Columbia (D.D.C.).
        2.     I am a retired police officer, having served 25 years with the Upper
 Arlington, Ohio police department. During my tenure, I spent 1 3 years as the full­
 time tactical training officer for the department. In that training position, I was
 responsible for developing and instructing all of the in-service training for our 55-
 officer agency. In addition to the training position, I also served as patrol officer,
 firearms armorer, bike patrol officer, bike patrol coordinator, sniper, and field
 training officer during the course of my career.
       3.    I also instructed classes at the Tactical Defense Institute for 17 years
 and served as a lead instructor for TDI's ground fighting, knife fighting, active
 shooter, impact weapons, and extreme close quarters shooting classes.
        4.    I hold instructor, master instructor, or armorer certifications in more
 than 80 different weapons systems, defensive tactics programs, and law
 enforcement specialty topics. In addition to these instructor certifications, I have
 successfully completed more than 4,000 hours of documented formal training with
 the leading firearms, empty hand fighting, and edged weapons instructors in the
 country. My training resume is attached herewith as Exhibit A and my CV is
 attached herewith as Exhibit B.
       5.     Additionally I served as an adjunct instructor for the Ohio Peace
 Officer's Training Academy, teaching firearms, defensive tactics, bike patrol, knife
 defense, and physical fitness topics. I have also taught firearms and self defense
 classes at the national and international level through The American Society of
 Law Enforcement Trainers, The International Association of Law Enforcement
 Firearms Instructors, The Rangemaster Tactical Conference, and The Ohio
 Association of Chiefs of Police.
        6.    I have a master's degree in Public Policy and Management with a
 research focus on criminal justice policy issues. I have written for several
 publications and websites including: "The Firearms Instructor, " "Ohio Police
 Chief, " "Combat Handguns, "         Survivalblog.com, " "Concealed Carry
 Magazine, " Primedia 's "Personal & Home D�fense Annual, " "Recoil
 Magazine, " and "American Handgunner. "




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       7.     Currently, I am a full time citizen defensive trainer, teaching classes
 across the country
       8.     I have previously testified as an expert witness in the following cases:
                    State of Ohio v. Sgt. Aaron Bolton (Erie County Ohio Court of
                    Common Pleas)
                    State of Ohio v. Officer Peter Burke (Cleveland Municipal
                    Court)
                    Summit County Ohio Metroparks v. Ranger Jeff Axner
                    (administrative action)
                    Wauseon PD v. Sgt, Kaleb Torbet (administrative action)
      9.     I am also the author of the Amazon best-selling book Choose
 Adventure- Safe Travel in Dangerous Places.
        1 0. I have been asked to comment on certain matters raised in the Hanson
 case including citation to my 20 1 1 article on handgun stopping power.
        1 1. ECF page 3 1 of the amicus brief submitted by the Brady organization
 cites my study that concluded that on average all defensive caliber ammunition
 required two rounds to incapacitate an assailant. From this statement Brady
 concludes that more than 10 rounds are not necessary for self-defense. Brady's
 conclusion poorly interprets the data in my study. My study only tracked hits,
 meaning rounds that impacted the assailant. It is true that most attackers stopped
 aggression after between two and three total hits. However, I did not track how
 many       rounds    the     defenders     fired     to     get     those     hits.

       1 2. A widely accepted statistic is that current police officers only hit with
 30 percent of the bullets they fire. No one tracks the percentage of hits achieved
 by armed citizens. Some think the citizen hit rate is a little better than police
 because the encounters generally happen at closer distances than police
 gunfights. Others think that citizen hit rates are not as good as those of the police
 because they usually have less firearms training.

       1 3. If we held that the police and armed citizens hit at the same rate, the
 defender in my study likely fired an extra 2-3 rounds for each hit.. If we do the
 math, two hits plus 4-6 likely misses quickly depletes a I O-round magazine. We
 know that almost half of violent attacks involve more than one



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 Exhibit A
                                   TRAINING BY TYPE
                              "*" DENOTES INSTRUCTOR-LEVEL TRAINING



    FIREARMS AND TACTICS (LIVE FIRE)
    Ohio Peace Officers Training Academy
           -   Firearms Instructor (Revolver, Semi-Auto pistol and Shotgun) *
           -   Carbine/Assault Weapon Instructor *
    Singleton International
            - Benelli Shotgun Instructor *
           - MP-5 /UMP /Colt SMG /M-4 /M- 1 6 Instructor *
    Glock- Firearms Instructor Certification *
    Strike Tactical (Henk Iverson)- Close Quarter Gunfight Survival Instructor *
    Tactical Defense Institute
           -   Level 2 Handgun
           -   Level 3 Handgun
           -   Tactical Rifle I
           -   Tactical Rifle II
           -   Partners Tactics Class
           -   Precision Rifle I
           -   Concealed Carry Handgun


    Defense Training International (John Farnam)
           -   Basic Defensive Handgun
           -   One-Handed Defensive Shooting
           -   Close Contact Fighting


    Practical Shooting Academy (Ron Avery)
           - Advanced Handgun Skills
           - Tactical Handgun Skills


    ASLET- Post-Shooting Procedures



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    Front Site- Introduction to the Submachinegun
    Suarez International- Urban Combative Carbine
    NRA LE Division- Tactical Shooting from Unconventional Positions
    Columbus Police Department
              Basic SWAT School
              Police SWAT Sniper Course
    Lethal Force Institute (Massad Ayoob)- Wounded Officer Return Fire
    ASAA (Chuck Taylor)- Advanced Handgun Tactics
    ATSA- National Tactical Invitational and Conference
    Sigarms/Langdon Tactical- Handgun Performance Under Stress
    Hoffner' s Training Division- Ultimate Shotgun Training
    Dave Spaulding's Handgun Combatives Training
    Rob Leatham's Handgun Speed Shooting (repeated 2 times)
    Shivworks- Extreme Close Quarters Concepts Levels 1 -2
    Trident Concepts (Jeff Gonzales)- Shooting on the Move
    Chuck Klein- Instructing Instinctive Shooting Techniques *
    Mike Janich- Point Shooting Progressions
    LouKa Tactical- Understanding and Training the Female Shooter *
    Northeastern Tactical (Michael de Bethencourt) - Secrets of the Concealed Carry Snub
    Handgun Combatives- Optimal Snubby Skills with Ed Lovette
    Sentinel Concepts (Steve Fisher)- Essential Carbine Employment
    Keepers Concealment- AIWB Skills
    TMACS (Pat MacNamara)- TAPS Pistol/Carbine­
    Rangemaster
              Instructor Development Certification*
              Advanced Pistol Instructor*
              Defensive Shotgun
              Master Instructor Certification*
    KR Training- Historical Handgun
    Tactical Response Surgical Speed Shooting Summit*
    FPF Training Street Encounter Skills and Tactics




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    FIREARMS AND TACTICS (CLASSROOM)
    ASLET
               Current Issues in Firearms Training
           -   Gun Fitting for Female Officers
           -   Current Issues in Firearms Training
           -   Forensic Analysis of FBI Miami Gunfight
           -   Tactical Anatomy For Firearms Instructors
    OPOTA
           -   Weapon Training and Requalification Instructor-*
               School Shooting Response
               School Shootings Prevention, Response, and Mitigation
    Defense Training International
           -   Training Challenging Shooters
           -   Current Trends in Equipment and Firearms Training
    Police Policy Studies Council
           -   Questionable Police Shootings
           -   Concealed Carry Instructor Development *
    FBI- Advanced Firearms Instructor Training *
    FAA- LE Flying While Armed Instructor *
    CPD SWAT- Quick Action Deployment (Repeated 3 times)
    Anchorage, AK Police Dept.- Analysis of Anchorage Sniper Shootings
    FCSO- Wound Ballistics Workshop
    Blauer Tactical Systems- SPEAR System as Related to the Gunfight
    Strategos International- Prevailing in Low Light Conditions
    Portland PD- Street Level Officer Rescues
    Lasermax- Laser Sights for Liability Reduction
    DEA- Active Vehicle Containment Measures
    Westerville PD- Wound Ballistics Workshop
    Shaykhet- "Shoot the bad guy while you dodge the bullet"
    FLETC- Preparing Officers for the Aftermath of a Shooting




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    Rangemaster
           -How and Why Our Students Continually Win Fights
           - Active Killers
    OPS- Tactical Eclecticism
    ATK Ammunition- Wound Ballistic Workshop
    KR Training
           - Handgun Shooting and Human Performance Factors
           - Correcting Common Shooting Errors
    Firearms Safety LLC- Designing Partner Training Drills
    Shivworks- Experiential Leaming Lab (Repeated 3 times)
    FPF Training- Street Encounter Skills
    Agile Tactical- Ammunition Selection for Short-Barreled Handguns
    Hardwire Tactical- "What Really Matters"
    Vortex- All About Optics
    Trident Concepts- Reducing Range Risk
    Tim Herron Shooting- Throttle Control and Shot Calling




    DEFENSIVE TACTICS
    Columbus Police Department
           -   Controlled Force
           -   LAPD Arrest and Control System


    OPOTA
               Weapon Retention/Shot Avoidance
           -   Defensive Tactics Instructor *
               Defensive Tactics Instructor Groundfighting Update Workshop *


    Modem Warrior
               Tactical Jaw and Limb Control (Repeated 3 times)
           -   Firearms Retention and Disarming




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           -   Confronting Multiple Assailants
           -   Firearms Alternative Survival Tactics


    Krav Maga
           -   Combatives, Gun Retention and Disarming Instructor *




                                                 .,
           -   Gun Defenses and Third Party Protection
    Scientific Fighting Congress -
           -   Close Quarter Combat Seminar
           -   Gun Arm Grappling
    RAD Systems- Basic Physical Defense Instructor *
    TCM
           - SPEAR Defensive Tactics
           - The Human Weapon and the Economics of Violence
           - Confined Space Combatives
    ASLET- CLAMP Defensive Control Technique
    TDI- Close Quarters Personal Control (Repeated 3 times)
    NLETC- Lateral Vascular Neck Restraint Certification
    ACM- Drawn Handgun Control Tactics
    Strategos- Physical Conflict Resolution
    FCSO- Cell Extraction Training
    ApplePitt- Critical Combative Concepts
    ARMA- Handcuffing Tactics and Liabilities
    Shivworks- Managing Unknown Contacts (repeated 4 times)
    Sharp Defense
           - Weapon Retention and Disarms
           - Multiple Opponents
    Aprill Risk Consulting- Open Source Weapons Disarms (3X)
    Immediate Action Combatives
           - Surviving the Knock Out Game
           - Combative Use of the Choke




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    GROUND FIGHTING
    Armor Holdings- Master Ground Defense Instructor *
    Modem Warrior- Tactical Groundfighting Instructor *
    RRB- Ground Stalling Tactics for Law Enforcement
    Gracie Jiu-Jitsu (Royce Gracie)
           -    Law Enforcement Ground Fighting
           -    Advanced Ground Fighting
    ASLET- Comprehensive Ground Defense Training
    SODCS (Frank Shamrock)- Ground Control for Law Enforcement
    1 -on- 1 Control- Cold Weather Ground Fighting
    Krav Maga- Groundfighting and Edged Weapon Defense
    FVTC- Enhanced Ground Handgun Retention
    Danger Zone (Dan Severn)- LE Ground Fighting Seminar
    OPOTA- Downed Officer Groundfighting Instructor-*
    Relson Gracie- JiuJitsu Streetfighting Self Defense Seminar
    Chitwood Brothers- Street Groundfighting




    EDGED WEAPONS
    American Bando Association (Dr. Gi) - Emergency Knife Defense
    West Coast Academy (Steve Tarani)- Edged Weapons I
    Tactical Defense Institute- Defensive Knife Class (Repeated 3 times)
    Spyderco (Bram Frank) - Defensive Folding Knife
    COMTECH (James Keating)- Defensive Knife Training
    USA BANDO (Kevin Martin)- Knife Defense Class (Repeated 2 times)
    COBD- Law Enforcement Knife Defense
    Mike Janich    - Counter Blade Concepts Seminar
                   - Basic Defensive Knife
    Shivworks      - In Extremis Knife
                   - Edged Weapons Overview




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    Kelly Worden- Wortac Knife Seminar
    Steve Moses- Developing Defensive Knife Skills for Female Students
    MDTS- Practical Small Knife Skills




    INTERMEDIATE WEAPONS
    OPOTA
           -   Individual Chemical Repellant Instructor *
               Specialty Impact Munitions Instructor *
           -   Distraction Devices Instructor *
               Conducted Energy Device Instructor *

    ASP- Tactical Baton Instructor *
    Taser International- Advanced Taser Instructor *
    Spyderco MBC- Martial Stickcraft
    Taser International M-26 and X-26 and X-26C Taser Instructor *
     FNH- FN 303 Less Lethal Launcher Instructor *
    ASLET
           - Current Issues with Non-Lethal Alternatives
           - Less-Lethal Panel of Experts
    Pro-Systems- Mini Baton Instructor *
    Martial Bladecraft- Self Defense with Improvised Weapons
    Talon Group- Close Quarter Impact Weapon Instructor *
    CTS- Flashbang and Stingball Instructor *
    TASER- Taser Training and Product Update
    SABRE- Law Enforcement O.C. Instructor *
    Modem Warrior- High Efficiency Low Profile Baton Instructor *
    UAPD- X2 Taser Operator Training
    Point-Driven Training- Saps and Jacks




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    GENERAL INSTRUCTIONAL SKILLS
    OPOTA-
               Instructor Training Course *
               Confrontation Simulations Training Instructor *
    ASLET
           - Training and Equipping Female Officers
           - Preventing Training Injuries and Death
               "Affective" Law Enforcement Training
              Understanding Gender Physiological Differences in Training
    RedMan Training- Red Man 1 0 1 Instructor Certification *
    LSE- Use of Force Instructor Training Symposium *
    ILEETA- Deadly Force Training Expert Panel Discussion
    Ohio EMA- Exercise Controller Training
    CPD- Instructor Update Training *
    GTS- Safe Dryfire Instructor *
    FLETC- Designing Stress Exposure Training
    Firearms Safety LLC- Tactical Decision Making Exercises for Armed Citizens

    DVC Targets- Performance Under Fire: Myths, Realities, and Optimization (Repeated 2
    times)

    Citizens Safety Academy- Effective Assistant Instructors




    TERRORISM, ACTIVE KILLERS, and EMERGENCY RESPONSE
    OPOTA
               Police Response to Weapons of Mass Destruction
               Terrorism Overview
               Weapons of Mass Destruction Awareness


    Ohio Attorney General' s Conference-
               Ohio Homeland Security Issues
               Terrorism and Weapons of Mass Destruction



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    ASLET
              Responding to Terrorism
              Tactical Emergency Medicine for Terrorist Incidents
              Counter-Terrorism for Patrol Officers
    Columbus Police Department.
              Domestic Terrorism Response
              Responding to the Suicide Bomber
              Understanding the Terrorist Threat


    New Mexico Tech EMRTC-
              Response to Terrorist Bombings Instructor *
              Understanding and Planning for School Bomb Incidents
              Prevention and Response to Suicide Bombings Instructor*


    Archangel Group-
              Responding to School Violence- Beslan School Incident Debrief
              Multiple Terrorist Doctrine Training
           - Terrorist Attack Strategies



    Kentucky Dept. of Public Health­
              Bioterrorism Awareness Training
              Introduction to Terrorism


    ILEETA-
              Fighting Terrorism on the 4 th Generation Battleground
              Terrorism Intelligence and the Role of Law Enforcement
              Active Threat Response- Lesson from Mumbai
              Preparing for the Coming Terrorist Threat
              Preventing/Surviving a Large Disturbance
    Loveland PD- Terrorism Identification and Interdiction



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    FBI National Academy- Fundamentals of Terrorism
    Explosive Devices Technology- Bombs, Bomb Threats, and Explosive Devices
    MSA- Gas Mask Fit Testing
    OCPA- Terrorism Awareness and Prevention Train-the-Trainer *
    Defense Intelligence Agency- Lessons Learned in the War on Terrorism
    SUNY Albany- Terrorism, Preparedness, and Public Health
    Triple Canopy- Techniques and Tactics of International Terrorists
    State of Ohio- Ohio Homeland Security Symposium
    OACP- Managing Crisis- Lessons Learned from the Amish School Shooting
    LSU- Prevention and Deterrence of Terrorist Acts Instructor *
    Team One- Disaster Survival Planning for Instructors *
    OTOA- "Active Assailants" Conference
    Last Resort Training- Active Killer Response
               Riot and Protest Survival- Repeated 2x
    FBI
            - Terrorism on the Street
           - School Violence Threat Assessments
    ASERO- Emerging Trends in Suicide Bombing
    Sageman Inc.- The Terrorist Neo-Jihad in the West
    UAFD- Protective Respirator Fit Testing Instructor *
    ARMA Training- Dynamic Breaching Instructor *
    Seal-Tac- Terrorist Methodology and Interdiction Tactics
    Rangemaster
           - The Active Shooter in the USA
           - Surviving the Extreme Event
    Dr. Martin Topper- Urban Terrorism
    DIA- Global Jihadist Trends




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    ARMORER TRAINING
    Glock- Glock Armorer Training (Repeated Four Times)
    Smith and Wesson- Basic Autopistol Armorer
    BenelliUSA- Benelli Shotgun Armorer Training (Repeated 2 times)
    Colt- M- 1 6, AR- 1 5 , and SMG Armorer (Repeated 2 times)
    Springfield Armory- XD Pistol Armorer
    FNH- FN 303 Less Lethal Launcher Armorer
    Remington- 870 Shotgun and M700 Rifle Armorer
    ILEETA- Maintaining and Upgrading AR- 1 5/M- 1 6 Rifles
    Remington- Model 700 Rifle Armorer
    Smith and Wesson- M&P Armorer
    Rangemaster- Inspection and Maintenance of Weapons and Support Gear
    AGI- Glock Armorer's Course




    OFFICER SAFETY AND SURVIVAL
    Calibre Press- Street Survival
    Calibre Press- The Win
    OPOTA- Police Involved Shootings
    Killology Research Group- The Bulletproof Mind
    ASLET- Behavioral Science and Officer Survival
    Modem Warrior- Thinking Like a Cop Killer
    H&K- Successful Female Officer Survival Training
    ASLET- I'm Shot! Lessons Learned
    NRA LEAD- Finish The Fight!
    US Secret Service- Characteristics of Armed Individuals
    FSRC- Dynamics of Police Shootings
    ILEETA- Officer Safety Training for the Future
    Agile Training- Excited Delirium




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    LEGAL TOPICS
    Ohio CLE- OMVI Law
    ASLET- Preparing to be an Expert Witness
    Ohio AG Office- Conference on Law Enforcement
    OPOTA- Legal Update Seminar
           - Concealed Weapons Legal Overview
           - Civil Liability for Police Officers
    CPD- Terry Stops and Fourth Amendment Issues
    LAAW- Legal Parameters of Intermediate Force
    Ohio Ethics Commission- Ohio Ethics Law Update (Repeated 2 times)
    State of Ohio- OVI Legal Update Training
    UA City Attorney- Legal Update Training (Repeated 6 times)
    ILEETA- Legal Aftermath of Police Use of Deadly Force
    Means LLP- Best Practices in Law Enforcement Training
    Ohio Ethics Commission- Ohio Ethics Laws
    Massad Ayoob Training Group
           - Lessons Learned from Recent Cases- Repeated 4x
           - Expert Witness Testimony
           - Unconventional Wisdom: Why Some Defenses Fail
           - Explaining Controversial Acquittals
           - Deadly Force Instructor*
    Rangemaster- Traveling Under the LEOSA and HR 2 1 8
    ATSA- Legal Justification and Training Models
    Force Science- Force Science Analyst Course




    GENERAL SUBJECT MATTER
    OPOTA




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               Intro to Criminal Occult Activity-
               Special Issues in Domestic Violence Investigations
               Companion Animal Encounters
               Procedural Justice and Police Legitimacy
               2 1 st Century Policing
               Arrestee DNA Data Collections
           -   "Blue Courage"
               Responding to Missing Children


    ASLET
               Lessons from the Diallo Tragedy
               Outlaw Motorcycle Gangs
    Ohio Law Enforcement Training Center- IPMBA Police Cyclist
    FCSO- Domestic Violence Update Training
    UAPD- Ohio Basic Jailer Certification
    ACIM- Missing Children Response for Patrol Officers
    OSU- Crime Prevention through Environmental Design
    OAG Conf- Lethality Assessment in Domestic Violence Cases
    FCMC- Strangulation in Domestic Violence Incidents
    On Point Tactical- Forensic Tracking
    Covey- 7 Habits of Highly Effective Police Officers
    Ontario Police College- Preventing Sudden In-Custody Deaths
    FSRC- Current Use of Force Research
    FCSO- Adult Gang Education Seminar
    MCTFT- Body Language and Interview Techniques
    ILEETA- Rapid Threat Recognition
    Zulawski- Criminal Interview and Interrogation
    Firearms Safety Training- Developing a Family Protection Plan
    Bluff Dale Academy- Setting up a Church Security Program
    LockSport- Basic Lock Picking Class
    Reid Inc. Criminal Interview and Interrogation




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    Aprill Risk Consulting
           - Fatal Choices- What We Know about Victim Selection (Repeated 3 times)
           - The Five Ws of Risk
           - Psychological Survival for Hostages
           - Developing a Personal Risk Assessment Plan
    Prepper Depot- Preparing for Things other than Violence
    KR Training- Historical Handgun Trends




    CULTURAL DIVERSITY AND HUMAN RELATIONS
    PATC- Street Spanish
    CITY OF UA- Cultural Diversity Training
    NCTC- Spanish for Law Enforcement Level I
    Command Spanish- Spanish, Building Bridges, Saving Lives
    UAPD- Project Lifesaver Certification
    OPOTA
           - Financial Exploitation of the Elderly
           - Fraud against Seniors
           - Awareness of Human Trafficking
           - Responding to Human Trafficking
           - De-escalating Mental Health Crises
           - Victim' s Rights Training
           - Helping the Victim through Understanding Trauma
           - Understanding Islam
           - Trauma Informed Policing
    TEDX- Smart and Simple Ideas for Building Community
    BRC- Human Energetic Connection Workshop
    Caliber Press- "De-Escalation for Public Safety"
    DIA- Personal Security During Foreign Travel
    FSI/Lexipro- De-escalation- When and How to Make it Work
    Lexipol- "Responding to Suicidal Subjects" webinar




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    Citizens Safety Academy- The Changing Face of the Firearms Industry
    Jay Co- LE De-escalation for Civilians- 1 hour




    FITNESS AND HEALTH
    OPOTA
           - Physical Fitness Specialist *
           - Managing Law Enforcement Stress
    STT- Peak Performance Training
    UMBC- Basic Critical Incident Stress Management
    Ohio Attorney General' s Conference- Managing Police Stress
    ASLET- Fitness and Nutrition for Law Enforcement
    LouKa Tactical- Sports Vision Training Exercises
    Coretactix- Exercise Selection, Workout Structure, and Stretching Techniques
    Velocity Fitness- Practical Police Kinesiology Instructor *
    Tactical Strength Inc- Tactical Joint Mobility Exercises
    Tactical Athlete Training- Functional Kettlebell Training
    SETCAN- Tactical Fitness Instructor *
    KBC- Level One Fitness and Kettlebell Instructor *
    Crossfit- Level 1 Fitness Instructor *
    Chad Waterbury- Strength, Muscle, and Power Training




    MEDICINE
    Team Spartan- Emergency Trauma Management Instructor *
    Gables Group
           - Tactical Law Enforcement First Aid Instructor *
           - Prevention and Treatment of Police Training Injuries
           - Best Practices for LE Emergency Medical Training




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    TDI- Field Emergency Medicine Training (repeated 5 times)
    DEA Emergency Self-Aid and Buddy Care for Instructors
    Rangemaster
           - Combat Trauma Care for First Responders
           - Immediate Trauma Care for Fight Injuries
    Lone Star MedicsI••




           -   Field and Tactical Medicine Conference- (2x)
           -   Preparing for Medical Emergencies on the Range
           -   Emergency Airways
    Techline Trauma- Tom Maniken Trauma Lab
    The People' s Dentist
           - Disaster Dentistry
           -Improvised Trauma Care
    Patriot Nurse- Medical Preparations
    IPICD- Recognizing Agonal
                        J     Breathingf and Other Breathing Problems
    The Human Path- Plant Medicine and Herbal First Aid
    SpiritQuest Sanctuary- Amazonian Plant Medicine- 32 hours
                            -Andean Plant Medicine- 32 hours (2X)
    ETS Consulting- Foot and Ankle Injuries
    PEP- Medical Intensive Cadaver Lab (2x)
               ..
    Optimum Vision- Dealing With Eye Injuries
                             • I



    FEMA- "You are the help until help arrives" training
    ART- "Lend a Paw" Pet First Aid (4X)
    SUNY Public Health- Preparedness and Response to Pandemics
    Medical Corps- Medical Care in Hostile Environments Class .
    UAFD- CPR and AED Certification (multiple times)
    OPOTA- Naloxone Administration Certification
    Herbal Medics Academy- Botany for Herbal Medicine
    The Laceration Course- Comprehensive Laceration Management




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    TRAFFIC LAW ENFORCEMENT
    FCSO DWI Detection and SFST
    OSHP Electronic Speed Measuring Devices
    LEC- BAC Data Master Senior Operator
    ODPS- Hardcore Drunk Drivers' Summit (2X)
    LEMVI- Mobile Videotaping
    EMS- Professional Traffic Stops Instructor *
    OPOTA- Pursuit Intervention Techniques
    NHTSA- SFST Refresher Training
    Stop Stick- Tire Deflation Device Instructor *
    OLC- LTI Ultralight Laser Update
    OPOTA- New OH- 1 Crash Reporting Guidelines




    COMPUTERS
    New Horizons- Beginning Excel
    OPOTA- Internet Child Sexual Exploitation
    City of UA- Armada Computer Software Train the Trainer *
    Visionair- Paperless Reporting Software Training
    Deadline Online- Using the Internet for Investigations
    UAPD
           - Internet Predator Awareness Training
           - Livescan Fingerprint Computer Software Operator
    VanBroklin- Officers on the Information Superhighway
    Nighthawk Training- Using Modem Technology to Enhance Personal Security
    BeKnow- Computer Security Threats




    DRUGS
    FCSO- Street Smart Drug Trends Training
    OPOTA- Designer Drug Update for Patrol Officers




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    OSU- Drug Selling Among High School Students Seminar
    SARNCO- Substance-Related Sexual Assault
    Street Training Group- Recognizing Rave and Street Drugs
    Project GHB- Current Drug Trends
    FCSO- Project Street Smart Drug Recognition
    OPOTA- Drug Identification and Field Testing
    BRC- Navigating Altered States
    Zendo- Psychedelic Harm Reduction Strategies




    FEMA EMERGENCY MANAGEMENT TRAINING
    FEMA- IS-003- Radiological Emergency Management
    FEMA- IS- 1 5 - Special Events Contingency Planning
    FEMA- IS- 1 00- Incident Command for Law Enforcement
    FEMA- IS-200- Incident Command for Initial Action Incidents
    FEMA- IS-230 Principles of Emergency Management
    FEMA- IS-235- Emergency Planning
    FEMA- IS 239- Training Exercise Design
    FEMA- IS-240- Leadership and Influence
    FEMA- IS-24 1 - Decision Making and Problem Solving
    FEMA- IS-242- Effective Communications
    FEMA- IS-244- Developing and Managing Volunteers
    FEMA- IS-3 0 1 - Radiological Emergency Response
    FEMA- IS-362- Multi-Hazard Emergency Planning for Schools
    FEMA- IS-700- National Incident Management Systems
    FEMA- IS-800- The National Response Plan
    FEMA- IS-00907- Active Shooter




                                                                   APP. 743
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                DECLARATION UNDER PENALTY OF PERJURY
                         OF CLAUDE WERNER

          Claude Werner, under penalty of perjury, deposes and states as follows:
        1.    My name is Claude Werner. I am making this declaration in support of
 Plaintiffs' reply to opposition submissions" made to Plaintiffs' application for
                                                                    ft

                                                                        .. No. 22-
 preliminary injunction in the case of Hanson v. District of Columbia, Case
 cv-2256 (D. D.C. ) .

         2.  I am a retired U.S . Army officer, having served in Airborne, Ranger,
 Special Forces, and Mechanized Infantry units, including commanding a Special
 Forcesr A-Team and Bradley Infantry Company. I served inSpecial Forces for some
      I



 1 0 years.

        3.    I trained in firearms instruction for seven years at the elite Rogers
 Shooting School and subsequently served as Chief Instructor at Rogers for five
 years. The RogersShooting..School is known as one of if not the top firearms training
 school in the nation. I hold NRA instructor certifications in Basic Pistol, Rifle, and
 Shotgun; Personal Protection In The Home; Refuse To Be A Victim; and Home
 Firearms Safety. I operate a firearms training company, Firearms Safety Training
 LLC, the focus of which is on concealed
                                       ...  carry and home defense training. I have
 presented at many self-defense training conferences including the annual
 Rangemaster Tactical Conference and the Mid-Atlantic Tactical Conference. My
 CV is attached to this declaration.

       4.     I have written extensively on self-defense
                                                      • topics, including five books:
 Concealed Carry Skills and Drills; Indoor Range Practice Sessions; Shooting Your
 Black Rifle; SeriousMistakes Gun OwnersMake and RealShootouts of the LAPD.
 Via my website, The Tactical Professor, I write on various self-defense topics,
 including police and citizen self-defense incidents.

       5.    I was formerly an active competitive shooter. I hold International
 Defensive Pistol Association ("IDPA" ) Master ratings in Stock Service Revolver,
 StockService Pistol, EnhancedService Pistol, and Custom Defensive Pistol. I served
 as IDPA Area Coordinator for Georgia and Alabama and as match director for
 GeorgiaState Championship in years 2000, 2001 and 2002.

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                                                                           APP. 744
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        6.    A brief submitted by the Brady  "    organization suggests that plus 1 0
 magazines are not used (perhaps they mean useful)•       for self-defense because the
 average number of rounds fired by a citizen defender when a citizen defender fires
 a gun in response to a criminal attack is two rounds. That conclusion is at least partly
 based on my study of reports from the NRA Armed Citizens column. A number of
 logical flaws pervades Brady's assertion.

        7.     First, my study was conducted of 1 997-2001 reports contained in the
 Armed Citizens column. So the first issue is that the study is dated. Crime patterns
 have increased in the meantime, the number of persons carrying firearms for
 personal protection in public has increased substantially, and   .
                                                                 . it is likely that
 citizen/criminal engagements patterns have changed as well. One example, would
 be the number of multiple assailant attacks. My analysis showed 36 percent of
 incidents reported in the Armed Citizen column during the period involved multiple
 assailants, ranging from two to seven. Data I am familiar with indicates some 50
 percent of criminal assaults now involve multiple assailants.

        8.     Second, as I stated in my analysis, the Armed Citizens column by its
 nature focuses on positive outcomes; my analysis therefore did not present a view of
 the totality of armed self-defense in that non-positive outcomes were not available
 for inclusion in the database. We don't know how many rounds may have been fired
 in non-positive outcomes.

        9.     Third, beyond the type of firearm used by the citizen for his or her
 defense, i.e., revolver, pistol, shotgun or rifle, there was very little data as to the
 ammunition capacity of the citizen employed firearm presented in theArmed Citizen
 reports. Therefore there is little we can say as to the number of rounds that were
       4


 actually in the citizen' s gun when he or she was faced with a criminal assault. If we
 assume a distribution of firearms and magazines used     . by the citizens in those
 incidents was proportional to the distribution of firearms and magazines within the
 U.S . civilian population, which would be a reasonable and logical assumption, a
 substantial number of citizen defenders would have used plus 1 0 magazines. If we
 were doing the study today using current data, the percentage of citizens using plus
 1 0 magazines would be even higher due to the increase of the number of such
 magazines since 1 997.


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          1 0.    Fourth, that on average two rounds were fired to stop the attack in the
 reported incidents, says absolutely nothing about the use (or usefulness) of plus 1 0
 magazines for self-defense. Brady' s view that magazines with capacity greater than
 1 0 rounds are not used for self-defense because in the average self-defense incident
 only two rounds are fired, is fallacious. The average citizen defensive gun use
 involves no rounds fired. Using Brady' s logic one could conclude that it is not
 necessary
      ,,.      to have any ammunition capacity at all to use a gun for self-defense;
 unloaded guns would be good enough for almost all ..situations. By that logic one
 could conclude that ammunition is not protected by theSecondAmendment because
 it is not necessary for self-defense. That conclusion is absurd on its face because
 there are in fact situations where shots need to be fired to stop a criminal attack.
 Likewise, as noted in my study there were situations where citizens fired more than
 1 0 rounds and incidents where citizens needed to reload their firearms.

        1 1.   Besides instances of self-defense, plus 1 0 magazines are used and
 useful for other lawful purposes, such as training and shooting sports. At the Rogers
                    ..
 ShootingSchool we supplied all the equipment to students in our Basic/Intermediate
 handgun classes. The pistols we supplied to students had the standard capacity
 magazines that came stock with the pistols. These were plus 1 0 round magazines.
 We did so to allow them to train at the high pace   >   our classes required. In our
 intermediate/advanced classes, where students brought their own firearms, students
 overwhelmingly brought and used plus 1 0 magazines.

        1 2.  From my extensive experience in IDPA matches, students in the pistol
 class competitions also overwhelmingly used standard capacity magazines holding
 more than 1 0 rounds, and in many cases magazines holding rounds in excess of the
 standard capacity magazine supplied with their pistols.

        1 3.    I am personally familiar with most of the top civilian firearm
 instructors in the U.S. I know of no instructor who encourages his or her students to
 use magazines of 1 0 rounds or fewer, or who discourages the use of standard
 capacity
     •     magazines holding more than 1 0 rounds.

       1 4.    The District of Columbia asserts in its brief that plus 1 0 magazines are
 most useful for police and military, that assertion suggesting that such magazines
 are not therefore useful for citizen self-defense. Even if the predicate to that
 statement is true, and that is not at all clear, the District' s conclusion is another

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 logical fallacy. That something is n1ost useful for one purpose, does not i mply it is
 not useful for another purpose. The use of the word "most" belies the implication
 that such magazines are not used and useful for self-defense. My experience is that
 they are. From a military perspective most the soldier's primary weapon is his or her
 rifle, ove1whelmmgly being a select-fire automatic weapon such as an M- 1 6 rifle or
 M-4 carbine. The average soldier is not even issued a handgun. The average citizen
 defender on the other hand overwhelmingly used a handgun in the incidents I studied
 from the Armed Citizens column and in instances I have reviewed since I wrote that
 article.

       The above statement, given under penalty of perjury, is true and correct to the
 best of my knowledge, information and belief.




                                                       r
                                                       t
 Dated: January 8, 2023
                                                            Claude Werner




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                                                               � Smith&\\esson"
ultimate in everyday carry.                                                       EMPOWERING AMERICANS.

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                                                                                                                                           RUGER
                                                                                                                                    R U G E R. C O M / M A X-9


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                                                                                       -1:EFENSE.
                                                                                       )) FREEDOM. PASSION. PRECISI ON. •




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     DECLARATION UNDER PENAL TY OF PERJURY OF AMY SWEARER

             Amy Swearer, under penalty of perjury, deposes and states as follows:

        1.    My name is Amy Swearer. I am a Legal Fellow at the Heritage
 Foundation, where I run the organization's Defensive Gun Use Database. The bulk
 of my scholarship in recent years has focused on the Second Amendment and gun
 policy. I am giving this declaration in support of the application for preliminary
 injunction filed by Plaintiffs in the case of Hanson v. District of Columbia, Civil
 Action No. 22-cv-2256 (D.D.C.).

        2.    On November 30, 2022, a conglomerate of gun control groups filed a
 brief as amici curiae before the court in Hanson v. District of Columbia, Civil Action
 No. 22-cv-2256, in support of defendants ' opposition to plaintiffs application for a
 preliminary injunction. 1 In this brief, hereinafter referred to as the "Brady Brief," the
 gun control groups reference two recent articles I authored as part of a monthly series
 on defensive gun use that has been published by The Daily Signal, the multi-media
 arm of the Heritage Foundation, since 201 9. The brief states, in relevant part, that:

             Even advocates of the permissive use of firearms have acknowledged
             that the ability to fire more than ten rounds of ammunition without
             reloading is not necessary for defensive purposes. For example, recent
             compilations by The Heritage Foundation's The Daily Signal of
             national reports on defensive gun use cases reflect that none involved
             the use of anywhere close to ten rounds of ammunition.2

        3.    At best, the Brady Brief s characterization of my monthly articles on
 defensive gun use is recklessly lazy and wrongly attributes to myself and my
 employer, the Heritage Foundation, a policy position that neither of us holds. At
 worst, it constitutes an intentional effort to deceive the federal court with blatantly
 misleading claims about my defensive gun use research at the Heritage Foundation.
 I strongly condemn this attempt by prominent gun control groups to misconstrue our


 1 Brief of Amici Curiae Brady et al., In Support Of Defendants' Opposition to Plaintiffs'
 Application For A Preliminary Injunction, Hanson v. District of Columbia, Civil Action No. 22-
 cv-2256 (D. D.C. Nov. 30, 2022).
 2
     Id. at 2 1 .
                                               1


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 policy pos1t10n on the civilian need for standard capacity magazmes and to
 perpetuate falsehoods about my research.

        4.     Far from having "acknowledged that the ability to fire more than ten
 rounds of ammunition without reloading is not necessary for defensive purposes,"
 my research on the whole shows that civilians-just like the law enforcement
 officers who are universally exempt from these restrictions, including while off­
 duty-sometimes need more than ten rounds of ammunition to successfully defend
 themselves. While such cases likely do not constitute a majority of defensive gun
 uses, either by civilians or law enforcement officers, in those cases where more than
 1 0 rounds are needed, the ability to fire those rounds without the need to reload can
 be the difference between life and death or serious injury. Those cases often involve
 a defensive gun user who is outnumbered by multiple armed assailants, or who is
 engaged in a sustained gunbattle with a heavily armed assailant.

        5.    Importantly, my monthly articles provide nothing close to a
 comprehensive accounting of every defensive gun use that occurs in a given
 month-a point that is made quite clear in the articles themselves, which remind
 readers that almost every study on the issue has found that Americans use their
 firearms between 500,000 and 2.5 million times a year. The series is intended to
 provide a snapshot of the thousands of cases in our Defensive Gun Use Database,
 and highlights at most only a fraction of the media-verified cases compiled in any
 given month. 3 Cases for these monthly articles are chosen to a large extent based on
 aesthetic factors, like ensuring that featured cases are somewhat evenly spaced
 throughout a given month and are geographically diverse.

       6.     It is in no way reasonable to conclude that if one of my monthly articles
 does not include an example in which a defensive gun user fired more than ten
 rounds, then no such cases occurred. Ironically, theSeptember 2022 article to which
 the Brady Brief cites perfectly illustrates this point. Missing from that article (which
 covers cases from August 2022 ) is an August 1 9, 2022, defensive gun use in
 Williamsport, Pennsylvania, by a concealed carry permit holder who fired




 3 See Defensive Gun Uses in the US., THE HERITAGE FOUNDATION (updated Dec.          1 2, 2022),
 https ://datavisualizations.heritage.org/firearrns/defensive-gun-uses-in-the-us/.


                                                   2


                                                                                     APP. 753
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 "approximately 18 rounds" at an armed robber. 4 This defensive gun use was not
 highlighted in the monthly roundup, but it was included in the Heritage Foundation' s
 interactive database and featured on the database' s official twitter account. 5

        7.     The Heritage database does not currently track specific features like the
 number of rounds fired defensively, and my experience with compiling media­
 verified defensive gun uses in general is that media reports rarely include such
 specific information. However, even after only a cursory review of our database to
 find examples of where that information is provided or can be inferred, it is clear the
 Williamsport case is far from the only instance in which a defensive gun use
 involving more than ten defensive rounds being fired did not make it into the
 monthly highlight article. In my March 2022 article, for example, I did not highlight
 a February 22, 2022, defensive gun use in Richmond, Kentucky, in which a man
 fired at least 1 9 rounds during a shootout with an intruder who had just killed the
 man's daughter. 6

         8.     The authors of the Brady Brief also apparently assume that if a media
 report (or my summary of the media report) does not explicitly state that a defensive
 gun user fired more than ten rounds, then it could not have occurred. True, it is
 sometimes evident from the broader context that fewer than ten rounds were fired,
 or at least that such an event was unlikely. Other times, however, this assumption is
 entirely unwarranted. This includes two cases featured in the articles to which the
 Brady Brief cites, which the brief far too easily dismissed as involving "nowhere
 close" to the firing of ten rounds in self-defense.

       9.    In theAugust 1 6, 2022, case in Lexington,South Carolina-featured in
 mySeptember 2022 article-both the assailant and the defensive gun user sustained
 multiple gunshot wounds during an exchange of gunfire inside the defensive gun

 4
   John Beauge, Pa. Man Shoots Teen Multiple Times After Having Gun Drawn on Him: Police,
 PENN LIVE      (Aug. 2 1 , 2022, 1 0:05 p.m.), https://www.pennlive.com/crime/2022/08/pa-man­
 shoots-teen-multiple-times-after-having-gun-drawn-on-him-police.html.
 5
          @DailyDGU,           TWITTER        (Aug.         24,    2022,      10 :02      AM),
 https://twitter.com/DailyDGU/status/ 1 562440 1 1 1 274 7294 75.
 6
   Krista Johnson & Hayes Gardner, Jordan Morgan 's Death: Suspect Shannon Gilday Arrested in
 Madison County, COURIER JOURNAL (Updated Feb. 28, 2022, 1 :23 p.m. ET), https://www.courier­
 joumal.com/story/news/local/2022/02/28/shannon-gilday-arrested-in-jordan-morgan-richmond­
 ky-shooting/694 1 3 5 1 00 1/.

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 user' s home. 7 As far as I can discern, law enforcement did not release details to the
 public concerning the number of rounds fired during the shootout. The broader
 context of this defensive gun use, however, is one in which it is more than plausible
 for the defensive gun user to have fired more than ten rounds. Much like the
 defensive gun user in the Richmond, Kentucky case mentioned above, the defensive
 gun user here was involved in what appears to have been an intense gunbattle with
 a heavily armed opponent, where both parties would have had ample opportunity for
 defensive cover.

        1 0. Similarly, a June 16 incident in Hopkinsville, Kentucky (featured in the
 July 2022 article cited by the Brady Brief) includes language and circumstances
 making it entirely plausible for the defensive gun user to have fired more than ten
 rounds. That elderly homeowner was involved in a shootout with three armed
 intruders who fired at him first, and the most detailed articles I can find says merely
 that the homeowner "returned shots." 8 Unless the authors of the gun control brief
 have information to which neither I nor the original journalists are privy, there is no
 reasonable basis to conclude that the homeowner could not have, or in fact did not,
 fire more than ten rounds in self-defense in a gunfight with multiple assailants.

        1 1 . This type of scenario-and indeed, scenarios in which it is almost
 certain that the defensive gun user fired more than 1 0 rounds-are so commonly
 featured in the monthly articles that the authors of the Brady Brief must have gone
 out of their way to ignore any articles that did not fit the misleading narrative they
 wished to convey. For example, my May 2022 article featured a Florida gun owner
 who used three different firearms to defend himself during an April shootout.9 While

 7
  Man Was Justified In Killing Man Who Broke Into His Lexington Home, Prosecutors Determine,
 WLTX        NEWS      19      (Updated     Aug.      23,      2022,     6: 1 3   PM      EDT),
 https ://www.wltx.com/article/news/local/mallard-lakes-lexington-sc-shooting-death-update/ I O l -
 5a68bf5 e-7c4c-46f6-8a33-57555 e9bb6fb; Jordan Lawrence, Man Killed In Invasion of His
 Sister 's Lexington Home, LEXINGTON CHRONICLE (Aug. 1 6, 2022, 4:56 pm),
 https://www.lexingtonchronicle.com/stories/man-killed-in-lexington-home-invasion,25 58 l .
 8 John Godsey, Third Suspect in June 16 Home Invasion Taken Into Custody, WKDZ RADIO (June

 30, 2022), https ://www.wkdzradio.com/2022/06/30/third-suspect-in-hopkinsville-home-invasion­
 taken-into-custody/news-edge/.
 9
   Thomas Mates, Man Arrested After Shootout In Melbourne Neighborhood, WKMG NEWS 6
 ORLANDO           (Apr.      20,        2022,        1 0:37       AM),         http://thf­
 legal .s3.amazonaws.com/DGU/April%202022/04.08.22 Melbourne FL.pdf; Amy Swearer, 1 1
 Examples of Defensive Gun Use Dispel NYC Mayor 's Concern on Public Carry, DAILY SIGNAL
                                                 4

                                                                                       APP. 755
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 his first firearm appears to have jammed, it is reasonable to assumed that he moved
 to his third firearm because he expended all of the ammunition in his second
 firearm-an AR- 1 5 rifle that commonly comes with 30-round magazines (which are
 unrestricted in Florida). The odds are therefore very high that this defensive gun user
 cumulatively fired more than 1 0 rounds from those three firearms. And during a
 September 2022 defensive gun use from Chicago featured in my October 2022
 article, a concealed carry permit holder in Chicago shot back at gunmen who opened
 fire on a birthday celebration. 1 0 While reports do not say for certain how many
 rounds were fired by either the gunmen or the defensive gun user, so many were
 fired in total that one witness described initially thinking the gunshots were
 fireworks. 1 1

         1 2. As with cases explicitly involving more than 1 0 rounds fired in self­
 defense, the monthly articles have also omitted plenty of cases where it was
 statistically probable that the defensive gun users fired more than 1 0 rounds.
 Consider a February 2022 incident in Maple Falls, Washington, in which a civilian
 gun owner fired an entire magazine' s worth of ammunition at a gunman while
 providing covering fire for two wounded sheriff s deputies who were pinned down,
 allowing them to move to safety and likely saving their lives. 1 2 While the few readily
 available media reports on this shootout do not appear to include any information on
 the defensive gun user' s magazine capacity, the prevalence of semi-automatic
 handguns that use magazines capable of holding more than 1 0 rounds-as well as
 the lawful nature of their possession in Washington-make it entirely unreasonable
 to conclude that the defensive gun user could not have or did not in fact fire more
 than 1 0 rounds. Meanwhile, a July 2022 case from Philadelphia involved at least 40

 (May 1 7, 2022), https://www .dailysignal.com/2022/05/ 1 7/ 1 1 -examples-of-defensive-gun-use­
 dispel-nyc-mayors-concems-on-open-carry/.
 10
    Amy Swearer, Yes, Democrats, Sometimes A 'Good Guy With A Gun ' Does 'Stop the Bad Guys. '
 Here 's Proof DAILY SIGNAL (Oct. 7, 2022), https://www.dailysignal.com/2022/ 1 0/07/ 12-cases­
 that-prove-good-guys-with-guns-theory-far-from-over/.
 11
   Evelyn Holmes, Mother Speaks Out After 13-Year-Old Shot In Head In 'Random ' SW Side
 Shooting, ABC 7 CHICAGO (Sept. 1 6, 2022), https ://abc7chicago.corn/chicago-shooting-heart-of­
 boy-shot-cpd/ 1 2234454/.
 12
   AJ Janavel, 'I Drop An Entire Magazine ': Neighbor Shares Story About Saving Whatcom Co.
 Deputies, Fox 1 3 S EATTLE (Feb. 1 5, 2022), https://www.ql 3 fox.corn/news/i-drop-an-entire­
 magazine-fox- 1 3-news-talks-to-man-who-helped-save-whatcom-co-deputies.

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 rounds fired between the victim and his three assailants, only one of whom was
 clearly portrayed in media reports as being armed. 1 3 It is statistically reasonable, if
 not highly probable, for the victim to have fired more than I O of those rounds under
 the circumstances.

         1 3. Finally, sometimes the monthly articles include summaries of defensive
 gun uses that unintentionally omitted relevant information on the number of rounds
 fired in self-defense. This happened, for example, in the very first article of the
 series, which was published in January 201 9. The summary for a January 20 incident
 simply noted that a homeowner killed three of four intruders but, likely for purposes
 of brevity, left out the detail that he fired dozens of rounds during that gunbattle. 1 4
 Similarly, the December 2021 article featured a November 20, 202 1 , shooting in
 Philadelphia in which an Uber driver shot and wounded two of three armed robbers,
 but did not note that video of the shootout indicates that he probably fired more than
 1 0 rounds. 1 5 As the primary purpose of this monthly article series never has been to
 compile and showcase every single time a defensive gun user fires more than 10
 rounds, it is likely that other articles in this series also contain case summaries
 inadvertently glossing over such information.

       1 4. Along those same lines, neither the article series nor the Defensive Gun
 Use Database provide insight into the number of times that defensive gun uses prove
 unsuccessful---or are rendered significantly less successful-precisely because a

 13
    Cobbs Creek Shootout Leaves Security Guard, Teen Injured; At Least 40 Shots Fired, 6 ABC
 ACTION NEWS (Apr. 28, 2022), https://6abc.com/philadelphia-shooting-cobbs-creek-5 8th-street­
 baltimore-avenue-shootout-shopping-center/ 1 1 799 1 70/.
 14
    Arny Swearer & Peyton Smith, The Latest Crime News Provides Evidence In Favor OfArmed
 Citizens, DAILY SIGNAL (Feb. 1 , 201 9), https://www.dailysignal.com/20 1 9/02/0 1 /a-month-of­
 crime-news-provides-evidence-in-favor-of-armed-civilians/; Travis Fedschun, Texas Homeowner
 Shoots, Kills 3 Men and Injures 2 During Home Invasion, Officials Say, Fox NEWS (Jan. 2 1 , 20 1 9),
 https://www.foxnews.com/us/texas-homeowner-shoots-kills-3-men-and-injures-2-during-home­
 invasion-officials-say.
 15
    Arny Swearer, These 12 Incidents ofDefensive Gun Use Prove Armed Civilians Make Situations
 Safer, DAILY SIGNAL (Dec. 22, 202 1 ), https://www.dailysignal .com/202 1 /1 2/22/these- 1 2-
 incidents-of-defensive-gun-use-prove-armed-civilians-make-situations-safer/;  Uber    Driver
 Shoots 2 During Attempted Robbery In Mayfair, Police Say, FOX 29 PHILADELPHIA (Updated
 Nov. 20, 202 1 6: 1 9PM), https ://www.fox29.com/news/police-attempted-armed-robbery-victim­
 shoots-suspects-leaving-2-critical-in-mayfair; Active Self Protection, Uber Driver Absolutely
 Delivers      In     Defensive       Gun      Use,     YOUTUBE         (Dec.    7,     202 1 ),
 https://www.youtube.com/watch?v= UspezjeLN k.
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 gun owner is killed or sustains serious injury because he or she was limited to fewer
 than 1 0 rounds. Such cases would be equally difficult to research using available
 media reports for the same reason as cases involving more than 1 0 rounds fired
 defensively, but they do clearly occur and would be equally relevant to the policy
 conversation. 1 6 And, of course, there are cases that predate the current scope of the
 Defensive Gun Use Database� which right now only includes cases that occurred on
 or after January 1 , 20 1 9 . 1 7
        1 5 . I n sum, I categorically reject any assertion that I have at any point
 "acknowledged" that civilians do not sometimes need more than 1 0 rounds of
 ammunition to adequately defend themselves. My position, consistent with the
 research and my experience in compiling defensive gun use cases for the Heritage
 Foundation, is that bans on the civilian possession of standard capacity magazines
 can have devastating effects on law-abiding gun owners who find themselves
 outnumbered, outgunned, or otherwise at a severe disadvantage when defending
 themselves against criminal elements. It is neither constitutional nor prudent for the
 government to tie one hand behind the backs of peaceable gun owners, especially
 when it exempts itself from that same prohibition in a tacit acknowledgement that
 standard capacity magazines can be incredibly useful and necessary tools when
 facing criminal threats in a civilian context.
       The above statement, given under penalty of perjury is true and correct to the
 best of my knowledge, information and belief.
 Dated: January JL, 2023


                                                              Amy Swearer
 16
    Gary Detman, Argument Spawns Round of Beers and Gunfire at Florida Bar, I Dead, CBS 1 2
   EWS (May 4, 2022) (explaining, in the imbedded video, that the victim was fatally shot while
 reloading         his    revolver     during     a     gunfight      with      his      assailant),
 https://cbs 1 2 .com/new /local/argumenl-round-beers-gunfire-haine -city-joshua-badillo- t1orida­
 bar-m urder-grady-judd.
 17
    See, e.g., Garrett Pelican, Deputies: 30 Round Fired From AR-15 In Deadly Florida Home
 Invasion           N EWS         4         JACKSO V ILLE         (Apr.         17          201 8),
 https://www .news4jax.com/new /20 1 /04/ 1 7/deputies-30-rounds-fired-from-ar- l 5-in-deadly­
 florida-home-in va ion/; Hailey Winslow & Harrison Barras Dozens of Shots Fired At Westchase
 Apartments,            EWS         4        JACK O V ILLE         (Mar.        13,         20 1 5),
 https://www.news4jax.com/n ew /20 1 5/03/ 1 3/dozens-of- hots-fired-at-westchase-apartmt: nt. / .
                                                  7


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                                                                    APP. 759
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                                        AppendixA

      Non-Exhaustive Review of Defensive Gun Uses Likely Involving More Than 1 0
                                  Defensive Rounds

  Date           Location                                       Context

      1 1 /25/2022 Chickasha, OK       Based on the number of shell casings found inside
                                       the home, an armed resident appears to have fired at
                                       least 1 2 rounds at an intruder. 1 8

  08/1 9/2022 Williamsport, PA A concealed carry permit holder fired "approximately
                               1 8 rounds" in self-defense during an armed
                               robbery. 1 9

  07/1 1 /2022 Jonesboro, GA           A homeowner investigating suspected prowlers
                                       outside of his home engages in brief gunfight with
                                       armed assailants. It is difficult to tell from the video
                                       exactly how many rounds the homeowner fires based
                                       on sound alone, but he fires one warning shot, then
                                       fires rapidly an unknown number of times as he
                                       backs away, before clearly firing 4 additional rounds.
                                       Based on the video evidence of recoil during the
                                       rapid burst, it is likely that the homeowner fired more
                                       than 1 0 rounds in total. 20

  04/27/2022 Philadelphia, PA An off-duty security guard exchanged fire with three
                              would-be robbers, only one of whom was clearly


 18
     Kaylee Douglas & Natalie Clydesdale, Chickasha Police: Homeowner Shoots, Kills Man
 A ttempting to Enter House, KFOR (Updated Nov. 1 5 , 2022 1 0: 1 3 PM),
 https://kfor.com/news/local/police-investigate-homicide-at-chickasha-home/.
 19
   John Beauge, Pa. Man Shoots Teen Multiple Times After Having Gun Drawn on Him: Police,
 PENN LIVE (Aug. 2 1 , 2022, 1 0:05 p.m.), https://www.pennlive.com/crime/2022/08/pa-man­
 shoots-teen-multiple-times-after-having-gun-drawn-on-him-police.html.
 20
    Eric Perry, Video Surveillance Captures Homeowner, Burglar Suspects In Shootout In Clayton
 County,      Fox      5     ATLANTA       (Updated   July     1 2,   2022      7:32      PM),
 https://www.fox5atlanta.com/news/video-surveillance-captures-homeowner-burglar-suspects-in­
 shootout-in-clayton-county.
                                               9

                                                                                  APP. 760
      Case 1 : 22-cv-02256-RC Docu ment 24-10 Filed 01/23/23 Page 10 of 14
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                                       identified as armed. Over 40 shell casings were found
                                       at the scene. 2 1

  04/08/2022 Melbourne, FL            A gun owner used three different firearms-
                                      including twoAR- 1 5 rifles, which presumptively had
                                      standard capacity magazines-to defend himself
                                      during a shootout with an assailant. While the
                                      defensive gun user' s handgun jammed, it is likely
                                      that he switched to his third firearm because his
                                      second firearm ran out of ammunition, and that he
                                      fired more than 1 0 rounds in his own defense. 22

  02/22/2022 Richmond, KY             A man fired at least 1 9 rounds from two different
                                      handguns [ and specifically 1 1 rounds from the first
                                      handgun] during a gunfight with a heavily armed
                                      intruder who had just killed his daughter. 23

  02/1 0/2022 Maple Falls, WA An armed civilian fired an entire magazine of
                              ammunition at a gunman while laying down covering
                              fire for two wounded sheriff s deputies, enabling
                              them to get to safety and likely saving their lives. 24
                              Given the prevalence of handguns with standard
                              capacity magazines and their lawful status in
                              Washington, this likely meant the civilian fired more
                              than 1 0 rounds.

 21
   Cobbs Creek Shootout Leaves Security Guard, Teen Injured; At Least 40 Shots Fired, 6 ABC
 ACTION NEWS (Apr. 28, 2022), https://6abc.com/philadelphia-shooting-cobbs-creek-58th-street­
 baltimore-avenue-shootout-shopping-center/ 1 1 799 1 70/.
 22
    Thomas Mates, Man Arrested After Shootout In Melbourne Neighborhood, WKMG NEWS 6
 ORLANDO               (Apr.          20,            2022,             1 0:37       AM),
 https://www.clickorlando.com/news/local/2022/04/20/man-arrested-after-shootout-in­
 melbourne-neighborhood/.
 23
    Krista Johnson & Hayes Gardner, Jordan Morgan 's Death: Suspect Shannon Gilday Arrested
 in Madison County, COURIER JOURNAL (Updated Feb. 28, 2022, 1 :23 p.m. ET),
 https ://www.courier-journal.com/story/news/local/2022/02/28/shannon-gilday-arrested-in­
 jordan-morgan-richmond-ky-shooting/694 1 3 5 1 00 1 /.
 24
   AJ Janavel, 'I Drop An Entire Magazine ': Neighbor Shares Story About Saving Whatcom Co.
 Deputies, Fox 1 3 SEATTLE (Feb. 1 5, 2022), https://www.q1 3fox.com/news/i-drop-an-entire­
 magazine-fox- 1 3-news-talks-to-man-who-helped-save-whatcom-co-deputies.
                                              10

                                                                                  APP. 761
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      1 1 /20/202 1 Philadelphia, PA     An armed Uber driver defended himself against 3
                                         armed carjackers, shooting two of the suspects
                                         "several times" each. A surveillance camera captured
                                         the incident, and while it is difficult to determine
                                         from the audio exactly how many shots the defensive
                                         gun user fired (the audio does not appear to match up
                                         with the muzzle flashes) , a reasonable listener could
                                         discern more than 10 rounds, which is consistent with
                                         the number of gunshot wounds suffered by the
                                         suspects.25

      1 1 /2 1 /202 1 Des Moines, IA     An armed homeowner exchanged gunfire with two
                                         intruders, and audio from nearby security cameras
                                         indicates at least 15 rounds were fired. Given that the
                                         two suspects were injured and fled while the
                                         homeowner was unharmed, it is reasonable to
                                         conclude that most of those rounds may have been
                                         fired by the homeowner.26

  06/22/202 1 Decatur, GA                When a gunman fatally shot a man in a targeted
                                         attack, some of the victim's friends engaged the
                                         gunman in a shootout, killing him in what police
                                         deemed lawful self-defense. According to reports,
                                         more than 50 rounds were fired from four guns,
                                         making it likely that at least one defensive gun user
                                         fired more than 1 0 rounds.27

  05/0 1 /202 1 St. Paul, MN             Two concealed carry permit holders defended
                                         themselves against three armed assailants in a

 25
    Uber Driver Shoots 2 During Attempted Robbery In Mayfair, Police Say, Fox 29 PHILADELPHIA
 (Updated Nov. 20, 202 1 6 : 1 9PM), https://www.fox29.com/news/police-attempted-armed­
 robbery-victim-shoots-suspects-leaving-2-critical-in-mayfair; Active Self Protection, Uber Driver
 Absolutely Delivers In Defensive             Gun      Use,    YouTUBE       (Dec.     7,   202 1 ),
 https://www.youtube.com/watch?v UspezjeLN k.
                                   =


 26
   Homeowner, Des Moines Police Fire At Armed Robbery Suspects, KIRO 7 (Nov. 22, 202 1 3 :54
 pm),      https://www.kiro7.com/news/local/homeowner-des-moines-police-fire-armed-robbery­
 suspects/HR004ZCU3JE4HBD2INX46EG6WI/.
 27
    Marc Teichner, DeKalb County Gas Station Gunfire Leaves 2 Dead, 2 Injured, Fox 5 ATLANTA
 (June 23 , 202 1 ), https://www.fox5atlanta.com/news/gas-station-gunfire-leaves-2-dead-2-injured.
                                                 11

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                                         gunfight from which police recovered "dozens of
                                         shell casings," indicating a high likelihood that at
                                         least one of the defensive gun users fired more than
                                         1 0 rounds. 28

  02/20/202 1 Metairie, LA               Nearly 1 00 rounds were exchanged between an
                                         active shooter and seven gun store employees before
                                         the gunman was fatally shot. Investigators said the
                                         gunman fired 32 rounds, meaning defensive gun
                                         users cumulatively fired over 60 rounds. The timeline
                                         is not entirely clear but the best available information
                                         seems to indicate that the bulk of those rounds were
                                         fired by only three or four employees.29

  02/05/2021 Summerville, SC An armed resident of an apartment complex fired 1 3
                             rounds at multiple armed suspects who shot at him
                             from the parking lot. 30

  01/18/202 1 Hesperia, CA              A homeowner engaged an armed would-be intruder
                                        in a sustained gunfight for 45 seconds. While it is
                                        unclear exactly how many rounds are fired, the video
                                        evidence and sheer length of the engagement
                                        indicates a high probability that more than 1 0




 28
    Kristi Belcamino, Seven Injured By Gunfire During A Night OfShootouts Across St. Paul, TWIN
 CITIES       PIONEER      PRESS      (Updated      May       3,      202 1      1 2: 1 5   p.m.),
 https://www.twincities.com/202 l /05/02/seven-shot-and-injured-in-st-paul-in-night-of-shoot­
 outs/.
 29
    Neil Vigdor & Christine Hauser, Gunman Who Killed 2 At Louisiana Gun Store Fired 32
 Rounds, Sheriff Says, NY TIMES (Feb. 22, 202 1 ), https://www.nytimes.com/202 l /02/22/us/new­
 orleans-shooting-joshua-williams.html; Victoria Cristina, Watch: Surveillance Video Shows
 Before, During Shootout At Metairie Gun Store, WGNO (Updated Feb. 23, 202 1 8 :08 AM CST),
 https://wgno.com/news/local/watch-live-sheriff-lopinto-provides-update-on-metairie-gun-store­
 shooting/.
 30
   Ray Rivera, Police Continuing Investigation Into Gun Battle At Summerville Apartment
 Complex,        LIVE      NEWS       5     WCSC        (Feb.     8,     202 1     1 0: 1 3 PM),
 https://www .Ii ve5 news.com/202 l /02/09/police-continuing-investigation-into-gun-battle­
 summerville-apartment-complex/.
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                                         defensive rounds were fired. 3 1 Importantly, the
                                         possession of standard capacity magazines was still
                                         perfectly lawful on this date, as long as they qualified
                                         under a then-existing grandfathering provision.

      04/29/2020 Yoder, CO               A hemp farmer engaged in a gunbattle with four
                                         armed assailants who likely mistook the farmer's
                                         lawful business for an illegal (and often cash-heavy)
                                         marijuana operation. Hundreds of shell casings were
                                         reportedly found around the home, and while it is
                                         unclear exactly how many of these rounds were fired
                                         by the hemp farmer in self-defense, the single media
                                         report on the incident states that, at the very least, he
                                         "emptied an entire magazine" from his handgun. 32

  04/22/2020 Las Vegas, NV               A concealed carry permit holder fired 1 1 rounds at an
                                         assailant who, seemingly at random, opened fire on
                                         the permit holder and another person as they sat
                                         eating fast food in a shopping center parking lot. 33

      1 1 /25/201 9 Miami, FL            A concealed carry permit holder living in a van with
                                         his girlfriend and son fired "at least 1 4 rounds" at a
                                         man who threatened the family with anAK-47 rifle. 34

  05/ 1 4/201 9 Tallahassee, FL          An armed homeowner engaged in a shootout with
                                         four armed intruders who broke into his home after


 31
    Jose Quintero, Hesperia Shootout Suspect Pleads Not Guilty to 5 Felonies, VICTORVILLE DAILY
 PRESS (Jan. 22, 202 1 ), https ://www.vvdailypress.com/story/news/202 1 /0 l /22/hesperia-shootout­
 s uspect-pleads-not-guilty-5-felonies/666 3407002/.
 32
    Liz Henderson, El Paso County Hemp Grower Reports Gunbattle With Invaders Who Might
 Have Mistaken Plants for Marijuana, THE GAZETTE (Updated July 1 , 2020),
 https://gazette.com/news/el-paso-county-hemp-grower-reports-gunbattle-with-invaders-who­
 might-have-mistaken-plants-for/article f2f4083e-8bff- l l ea-8f8d-83c959f9e23d.html.
 33
   Glenn Puit, DA : Fatal Shooting In Parking Lot Was 'Clear Case of Self-Defense ', LAS VEGAS
 REVIEW-JOURNAL (May 4, 2020), https://www.reviewjoumal.com/crime/homicides/da-fatal­
 shooting-in-parking-lot-was-clear-case-of-self-defense-2020768/.
 34
    WPLG Local 1 0, Man Explains How He Shot, Killed Gunman In Miami, YouTUBE (Nov. 25,
 2 0 1 9), https ://www.youtube.com/watch?v =wvI-OOhGtrA.
                                                 13


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                                         earlier steali ng his keys. The homeowner fired at
                                         least 25 rounds from anAR-15 rifle in self-defense. 35

  0 1 /20/201 9 Houston, TX             A homeowner armed with a "fully loadedAK-47"
                                        almost certainly fired more than 1 0 rounds in self-
                                        defense when he fatally shot 3 of 4 intruders who
                                        broke into his home. Dozens of rounds were
                                        exchanged and only two of the intruders were clearly
                                        armed. 36 At least one media report explicitly states
                                        that the homeowner fired "dozens" of those rounds
                                        himself. 37




 35 Police: Tallahassee Homeowner Shot 2 Out Of4 Home Invasion Suspects, All 4 Charged, ABC
 27 WTXL (Updated May 24, 201 9), https://www.wtxl.com/news/local-news/tpd-investigating­
 home-invasion-robbery.
 36
    Emily Reaux & Matt Dougherty, 3 Suspects Dead, Another Injured After Homeowner Opens
 Fire     During     East    Houston      Break-In,      KHOU       11      (Jan.     1 9, 201 9),
 https://www.khou.com/article/news/crime/3-suspects-dead-another-injured-after-homeowner­
 opens-fire-during-east-houston-break-in/2 85-29b2 l dcb-0fD8-43 bb-8d I e-6bd7 d8b5 59e2.
 37
   Travis Fedschun, Texas Homeowner Shoots, Kills 3 Men and Injures 2 During Home Invasion,
 Officials Say, Fox NEWS (Jan. 21 , 20 1 9), https://www.foxnews.com/us/texas-homeowner-shoots­
 kills-3 -men-and-injures-2-during-home-invasion-officials-say.
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                                                                                      APP. 765
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    1                       THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
    2
        Civil Action No. 13-CV-1300-MSK-MJW
    3
        COLORADO OUTFITTERS ASSOCIATION,
    4   COLORADO FARM BUREAU,
        NATIONAL SHOOTING SPORTS FOUNDATION,
    5   MAGPUL INDUSTRIES,
        COLORADO YOUTH OUTDOORS,
    6   USA LIBERTY ARMS,
        OUTDOOR BUDDIES, INC.,
    7   WOMEN FOR CONCEALED CARRY,
        COLORADO STATE SHOOTING ASSOCIATION,
    8   HAMILTON FAMILY ENTERPRISES, INC.,
        d/b/a FAMILY SHOOTING CENTER AT CHERRY CREEK STATE PARK
    9   DAVID STRUMILLO,
        DAVID BAYNE,
   10   DYLAN HARRELL,
        ROCKY MOUNTAIN SHOOTERS SUPPLY,
   11   2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC,
        BURRUD ARMS INC. D/B/A JENSEN ARMS,
   12   GREEN MOUNTAIN GUNS,
        JERRY'S OUTDOOR SPORTS,
   13   SPECIALTY SPORTS & SUPPLY,
        GOODS FOR THE WOODS,
   14   JOHN B . COOKE,
        KEN PUTNAM,
   15   JAMES FAULL,
        LARRY KUNTZ,
   16   FRED JOBE,
        DONALD KRUEGER,
   17   STAN HILKEY,
        DAVE STONG,
   18   PETER GONZALEZ,
        SUE KURTZ,
   19   DOUGLAS N. DARR,

   20         Plaintiffs,

   21   vs.

   22   JOHN W. HICKENLOOPER, GOVERNOR OF THE STATE OF COLORADO,

   23         Defendant.

   24
                                REPORTER'S TRANSCRIPT
   25                          TRIAL TO COURT - DAY TWO




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    1               Proceedings before the HONORABLE MARCIA S. KRIEGER,

    2   Judge, United States District Court for the District of

    3   Colorado, continuing at 8:37 a.m., on the 1st day of April,

    4   2014, in Courtroom A901, United States Courthouse, Denver,

    5   Colorado.

    6

    7                                APPEARANCES

    8            RICHARD A. WESTFALL and PETER J. KRUMHOLZ, Attorneys
        at Law, Hale Westfall, LLP, 1600 Stout Street, Suite 500,
    9   Denver, Colorado, 80202, appearing for the Plaintiffs.

   10            DOUGLAS ABBOTT, Attorney at Law, Holland & Hart, LLP,
        555 17th Street, Suite 3200, Denver, Colorado, 80202, appearing
   11   for the Plaintiffs.

   12            MARC F. COLIN, Attorney at Law, Bruno, Colin & Lowe
        P.C., 1999 Broadway, Suite 3100, Denver, Colorado, 80202,
   13   appearing for the Plaintiffs.

   14            ANTHONY JOHN FABIAN, Attorney at Law, 510 Wilcox
        Street, Castle Rock, Colorado, 80104, appearing for the
   15   Plaintiffs.

   16            DAVID BENJAMIN KOPEL, Attorney at Law, Independence
        Institute, 727 East 16th Avenue, Denver, Colorado, 80203,
   17   appearing for the Plaintiffs.

   18            MATTHEW DAVID GROVE, LEEANN MORRILL, KATHLEEN L.
        SPALDING, and STEPHANIE LINDQUIST SCOVILLE, Assistant Attorneys
   19   General, Colorado Attorney General's Office, Ralph L. Carr
        Colorado Judicial Center, 1300 Broadway, Denver, Colorado,
   20   80203, appearing for the Defendant.

   21

   22

   23

   24                  THERESE LINDBLOM, Official Reporter
                     901 19th Street, Denver, Colorado 80294
   25             Proceedings Reported by Mechanical Stenography
                       Transcription Produced via Computer




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    1                           P R O C E E D I N G S

    2             THE COURT:    We are reconvened in Case No. 13-cv-1300.

    3   This is the second day of trial.

    4             Could I have entries of appearance, please.

    5             MR. WESTFALL:     Good morning, Your Honor.    Richard

    6   Westfall, Peter Krumholz on behalf of the disabled shooters,

    7   the nonprofit plaintiffs in the case.

    8             THE COURT:    Good morning.

    9             MR. KOPEL:    Good morning, Your Honor.     David Kopel on

   10   behalf of David Strumillo, John Cooke, Ken Putnam, James Faull,

   11   Larry Kuntz, Fred Jobe, Donald Krueger, Stan Hilkey, Dave

   12   Stong, Peter Gonzalez, Sue Kurtz, and Douglas Darr.         Thank you.

   13             THE COURT:    Good morning.   Thank you.

   14             MR. ABBOTT:     Good morning, Your Honor.     I am Doug

   15   Abbott on behalf of plaintiffs Magpul and National Shooting

   16   Sports Foundation.

   17             And I just want to note that Mr. Colin expects to

   18   arrive at about the morning break this morning.

   19             THE COURT:    Good morning.   Thank you.

   20             MR. FABIAN:     Good morning, Your Honor.     Anthony Fabian

   21   on behalf of Colorado State Shooting Association and Hamilton

   22   Family Enterprises.

   23             THE COURT:    Good morning.

   24             MR. GROVE:    Matthew Grove, along with Kit Spalding,

   25   LeeAnn Morrill, and Stephanie Scoville on behalf of the




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                                    Massad Ayoob - Direct

    1                 (MASSAD AYOOB, PLAINTIFFS' WITNESS, SWORN)

    2                COURTROOM DEPUTY:     Please be seated.

    3                Please state your name and spell your first and last

    4   name for the record.

    5                THE WITNESS:     Certainly.   My name is Massad Ayoob,

    6   first name is spelled M-A-S-S A-D, last name spelled,

    7   A-Y-O-O-B.

    8                MR. COLIN:     Thank you.

    9                                DIRECT EXAMINATION

   10   BY MR. COLIN:

   11   Q.   Good morning, Mr. Ayoob.

   12   A.   Good morning, Mr. Colin.

   13   Q.   Mr. Ayoob, you are a retained expert in this case; is that

   14   accurate?

   15   A.   I am.

   16   Q.   And you charge for your services?

   17   A.   I do.

   18   Q.   Can you advise the Court as to the cost of your services.

   19   A.   The same as I charge to teach, $2,500 a day and expenses.

   20   Q.   Is that what you're charging the plaintiffs in this case?

   21   A.   It is.

   22   Q.   All right.     Can you describe for the Court your background,

   23   training, and experience, please.

   24   A.   Certainly.     As relates to this case, I've been a firearms

   25   instructor since 1972 for police and since 1981 for private




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    1   citizens.

    2   Q.   And can you describe what you instruct police and private

    3   citizens in with regard to firearms, please.

    4   A.   We begin with safety, the responsibility that comes with

    5   the weapon; the operation of the gun; the efficient use of the

    6   gun, in terms of accuracy, speed, sustainability of gunfire;

    7   the tactics that accompany it, since the emphasis is on

    8   self-defense.      So that will include movement, that will include

    9   finding cover, that is, something that could stop opposing

   10   gunfire.

   11   Q.   And you mentioned that at least some of the training I

   12   think you just described is in the context of self-defense; is

   13   that accurate?

   14   A.   That is virtually all in the context of self-defense.

   15   Q.   Can you expand on that and explain what you mean, this

   16   training is in the context of self-defense.

   17   A.   Sure.    We don't teach how to win a bull's-eye target pistol

   18   match.     We're teaching the police officer who is carrying the

   19   gun as a tool of protection.      And the private citizen who is

   20   carrying a very similar gun for a similar function,

   21   essentially, the -- we teach the private citizen to think of

   22   himself as a first responder and that his gun should be an

   23   analog to a fire extinguisher.

   24                The gun, like a fire extinguisher, is a symbol of a

   25   public safety professional.      We remind them that possession of




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    1   that symbol does not make them a public safety professional,

    2   does not mean that they don't need public safety professionals.

    3   We make it clear that the gun, like the fire extinguisher, is

    4   an emergency rescue tool to cut a lane of safety for you and

    5   others until the designated professionals can get there to deal

    6   with the crisis.

    7   Q.   Overall, does the self-defense training that you're

    8   describing involve the dynamics of violent encounters?

    9   A.   Oh, it absolutely does.    And the techniques that we teach

   10   are built from extensive research and study of dynamics of

   11   violent encounters, things such as flight-or-fight response,

   12   human action / reaction paradigms, things of that nature.

   13   Q.   I'd like to explore your teaching experience for a moment,

   14   if I could.    How long have you been engaged specifically in the

   15   instruction of self-defense with firearms and dynamics of

   16   violent encounters?

   17   A.   Forty-two years, sir.

   18   Q.   Can you describe your teaching experience.      What is the

   19   context in which you have instructed individuals in those

   20   areas?

   21   A.   Certainly.    I began teaching a local police department in

   22   1972, Hooksett, New Hampshire, H-O-O-K-S E-T-T.       Shortly

   23   thereafter,   I was retained to teach weapons and chemical agents

   24   for the advanced police training program of New Hampshire in

   25   Nashua, New Hampshire.     Began teaching civilians in 1981 after




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    1   a pilot program at the Chapman Academy of Practical Shooting in

    2   Columbia, Missouri.     And in October of that year, founded

    3   Lethal Force Institute.     That organization was geared to

    4   provide training to private citizens on a law enforcement level

    5   in terms of safety, competence, and responsibility in

    6   self-defense with firearms.     Within a year, that became pretty

    7   much my full-time occupation, and has been ever since.

    8   Q.   Are you still involved in the Lethal Force Institute?

    9   A.   No, sir.    I left there in 2009 and now teach through Massad

   10   Ayoob Group.

   11   Q.   Can you explain briefly the nature of that change.

   12   A.   Strictly a business decision.

   13   Q.   Are you a member of any committees, training councils, and

   14   the like, either nationally or international?

   15   A.   Yes, sir.    I've spent -- I've been a member for many years

   16   of the International Association of Law Enforcement Firearms

   17    Instructors.    I've taught for them at local, regional,

   18   national, and two international seminars.       For 19 years, I was

   19   chair of the firearms committee for the American Society of Law

   20   Enforcement Trainers.     For the last eleven years, I've been on

   21   the advisory board for the International Law Enforcement

   22   Educators and Trainers Association.      That's where I came from

   23   this week, in fact, having taught there last week.

   24   Q.   Do you participate in the National Law Enforcement Training

   25   Center in any way?




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    1   A.   Yes, sir.    The National Law Enforcement Training Center is

    2   headquartered in Kansas City, Missouri.       It's an institution

    3   that focuses on teaching -- well, my side of it, at least, was

    4   teaching gun retention and disarming, teaching how to take the

    5   gun away from another person, from an offender.       And gun

    6   retention is the corollary science to that, how to defeat the

    7   man who is trying to take your gun away from you with felonious

    8   purpose.

    9                I began as an instructor -- certified by them as an

   10   instructor in 1980 and as a -- what they called a national

   11   instructor, meaning I trained and certified other instructors.

   12    I was certified for that in 1990, and I've done a great deal of

   13   that over the years.

   14   Q.   So you've been teaching other instructors how to teach for

   15   20 years or more?

   16   A.   Yes, sir.    Well, for at least that.    I've also done that in

   17   the baton training discipline with the PR24 baton, but I didn't

   18   think that was relevant to the case at bar.

   19   Q.   Specifically, you've been engaged in instructing law

   20   enforcement and civilians in defensive tactics involving

   21   firearms use for the last 40 years; is that fair to say?

   22   A.   Forty-two, I think.

   23   Q.   Okay.    You touched upon the training that you have given.

   24   Can you touch upon the training that you have received,

   25   specific to the areas that you've just been speaking to.




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    1   A.   Certainly.   At Chapman Academy,   I took the advanced pistol

    2   course, became involved with them, did our pilot project for

    3   armed citizens in 1981.     And until the late 1980s, their head

    4   instructor, Ray Chapman, the world pistol champion, he and I

    5   taught for the Police Marksman Association, going around the

    6   country doing what they called an advanced officer survival

    7   program for various police agencies.

    8              Let's see.   My own training,   six or seven times

    9   through Smith & Wesson academy and various instructor or

   10   instructor enhancement programs.

   11              In the 19 years with American Society of Law

   12   Enforcement Trainers, I attended all but two of the five or six

   13   day-long annual seminars, and have attended all 11 of the

   14    IOEETA seminars, many of the seminars at the International

   15   Association of Law Enforcement Firearms Instructors.        1980 or

   16   so, I went through the officer safety and survival program at

   17   the Federal Law Enforcement Training Center in Brunswick,

   18   Georgia.   Numerous other seminars over the years around the

   19   country.

   20              On the homicide investigation side, the basic and

   21   advanced officer-involved investigation school, taught by the

   22   commanders and members of the LAPD officer-involved shooting

   23   investigation unit.     The advanced homicide school -- advanced

   24   homicide investigative school taught by Vernon Geperth,

   25   G-E-P-E-R-T-H, the author of the authoritative text in the




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    1   field.      And the medical, legal investigation of death course

    2   taught at what was then the Metro Dade Medical Examiner's

    3   Office.      Twice attended and twice taught at the International

    4   Homicide Investigators seminar as well.

    5   Q.   Have you been published in the area specific to the

    6   expertise that we're discussing now, the areas of self-defense

    7   and use of firearms, defensive gun uses, dynamics of gun

    8   encounters?

    9   A.   Yes,    I am.

   10   Q.   Can you advise the Court of the nature of those

   11   publications, please.

   12   A.   Certainly.      The first article in a gun magazine was 1971.

   13   Became more extensively involved in writing after that for

   14   various law enforcement professional journals, martial arts

   15    journals, and gun magazines.      For 30 some years now I've been

   16   the law enforcement editor for American Handgunner magazine.

   17   My duties there include occasional feature articles,       in every

   18   issue, the Cop Talk column, which is basically focused on law

   19   enforcement handgun trends and training issues.       Also each

   20   issue I do a series called Ayoob Files, where we dissect an

   21   actual gunfight and determine what lessons were learned from

   22   that that could prevent tragedy in the future.

   23                I've been handgun editor for Guns Magazine for, again,

   24   30 some years.       Many of those articles focus on self-defense,

   25   though the occasional one will focus on sport or gun




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    1   collecting.

    2             I've been firearms editor for Backwoods Home Magazine

    3   since about 1996.    My column there is sometimes self-defense,

    4   sometimes recreation or hunting or gun safety.

    5             I write in every issue of Guns & Weapons for Law

    6   Enforcement the first responder column, which is geared to the

    7   first officer who arrives at the scene, who is often the only

    8   one who is there long enough to contain a fast-breaking scene.

    9             For many years I've also done the self-defense and the

   10   law column for Combat Handguns Magazine.       And my work has

   11   appeared in various other periodicals over the years.

   12             There have also been several books, a dozen or

   13   fifteen -- I'd have to count them up -- all of them related in

   14   some way to weapons or self-defense.

   15   Q.   Can you identify a few of these dozen or so books that

   16   you've written that focus specifically on the area of defensive

   17   use of firearms and the dynamics of violent encounters?

   18   A.   Certainly.   One would be In the Gravest Extreme,     subtitled

   19    The Role of the Firearm in Personal Protection.      That came out

   20   in 1980 and has probably been my best seller.       Some were kind

   21   enough to call it an authoritative text.

   22             Others that would -- there was two in the Stressfire

   23   series.   Stressfire is what I named the shooting system we

   24   teach, because      we found most training had been based on the

   25   instructors going to the shooting range, timing each other, and




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    1   scoring their targets, and figuring whatever worked best is the

    2   most accurate on the range, we would teach to the officers.

    3   And we had found that would break down in the field because it

    4   had not taken into account human factors of stress, shaking

    5   hands, tunnel vision, and all of that.      So what we attempted to

    6   do there was to study what happened to the human being in a

    7   near-death experience and backspace developing techniques

    8   around that.

    9             That led to the Stressfire Pistol Book in early 1980s,

   10   Stressfire Shotgun in the late 1980s.      Other books out today,

   11   two editions of the Gun Digest Book of Combat Handgunnery,

   12   Ayoob on Combat Shooting,     two editions now of Gun Digest Book

   13   of Concealed Carry, and most recently a book dedicated to

   14   firearm safety.

   15   Q.   Let's move on to training films.     Do you produce or are you

   16   involved in the production of training films associated with

   17   training civilians and law enforcement how to engage in

   18   defensive gun uses in violent encounters?

   19   A.   Yes, sir.

   20   Q.   And can you describe for the Court the nature of those

   21   training films, please.

   22   A.   One is titled Physio-Psychological Aspects of Violent

   23   Encounters.      And it explains phenomena such as tunnel vision,

   24   auditory exclusion, or tunnel hearing, tachypsychia --

   25   T-A-C-H-Y-P-S-Y-C-H-I-A -- the sense of things going into slow




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    1   motion.     We explain also what some of the physiological effects

    2   are as heart rate increases, vasoconstriction occurs, physical

    3   strength increases, but dexterity decreases.

    4               Other films in the Stressfire series, we had

    5   Stressfire I,     for the handgun; Stressfire II,   for the shotgun;

    6   and Stressfire III, for the semiautomatic rifle and fully

    7   automatic weapon.     More recently, Panteao Productions,

    8   P-A-N-T-E-A-O, has released my film on home protection and

    9   self-defense and a training film on concealed carry.        There are

   10   others out there.      For eight seasons I was on Personal Defense

   11   TV, touching on self-defense topics of various kinds.

   12   Q.   How long were you on Personal Defense TV?

   13   A.   That was eight years.     The series ended early this year.       I

   14   don't believe it's going to be renewed for the late 2014

   15   season.

   16   Q.   With regard to the publications that you listed, have you

   17   written any articles that deal specifically with the use of

   18   firearms by disabled or otherwise infirm, handicapped

   19   individuals?

   20   A.   Yes,   I've written a few that touch on that and -- a few

   21   that were devoted to that and many that touched on that.

   22   Q.   Are you familiar with the Wounded Warrior Project?

   23   A.   Yes, I am.

   24   Q.   And what is your involvement, if any, in publishing for the

   25   Wounded Warrior Project?




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    1   A.    I don't publish for Wounded Warrior.       I have written about

    2   the programs they have as it relates to firearms.

    3                While Wounded Warrior does not advertise it, there are

    4   several gun clubs that have, essentially, done benefit shoots

    5   for soldiers and Marines who come back from the current

    6   conflict seriously injured or as amputees.         It gives them a

    7   chance to shoot firearms,     something that, you know, most of

    8   them identified with based on their careers.        Let them know,

    9   yeah, you can get back into hunting, you can get back into

   10   target shooting, and here is how to adapt.

   11   Q.    Does the training also include how to adapt for defensive

   12   gun use purposes?

   13   A.    Mine does.    I'm not sure Wounded Warrior goes that far into

   14   the tactics.

   15    Q.   All right.    Have you ever been retained previous to today

   16   to provide expert testimony in any court proceedings?

   17   A.    Yes.    I've been an expert witness in weapon-related and

   18   deadly force related cases since 1979.

   19   Q.    Can you estimate how many cases that involved?

   20   A.    It's in the dozens.    I don't know the exact number.

   21   Q.    When you say "in the dozens," a couple dozen, more than

   22   that?

   23   A.    It would be 40 or 50 where I've given sworn testimony; a

   24   great many more that I've consulted on and did not take the

   25   case; and many were, we would do a report, and it ended in




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    1   settlement or dismissal.

    2   Q.   Thanks for the clarification.     Did any of those cases in

    3   which you have rendered expert testimony involve persons with

    4   injuries, disabilities,    infirmities of some kind that were

    5   relevant to the litigation?

    6   A.   There were none exactly like this case that resulted in

    7   legislation that became the focus of the legislation.        Some

    8   there were more than one disparate impact case of female law

    9   enforcement officers who have been fired for failure to

   10   qualify.   And there were physiological aspects involved,

   11   typically, hands that were too small for the male-oriented guns

   12   that they had been issued.

   13              There have been self-defense cases where injury

   14   inflicted on the individual who shot in self-defense had

   15   created a disparity of force element that needed to be

   16   explained to the juries.     There were -- I can think of at least

   17   one case where the victim was a 63-year-old handicapped female,

   18   violently attacked by a 1.8 percent blood alcohol 240-pound

   19   male and was charged with either murder two or manslaughter

   20   because she fired three bullets into an unarmed man, and that

   21   needed to be explained.

   22   Q.   What were you originally asked to evaluate in connection

   23   with this case?

   24   A.   Primarily, the disparate impact of a magazine limit on

   25   handicapped individuals in terms of firearms kept for




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    1   self-defense and home defense, whether carried on the street or

    2   whether with a gun permit or whether kept in the home and

    3   deployed in the home.

    4   Q.   You've given us an overall general description of much of

    5   your training and experience in the area of firearms defensive

    6   gun uses and the dynamics of violent encounters.        Can you tell

    7   us what specific training and experience you have that

    8   qualifies you to render opinions regarding the impact of

    9   magazine limitations on both able and disabled bodied

   10   individuals?

   11   A.   Sure.    From the beginning when I started teaching cops in

   12   1972, while they were all able-bodied, except for the

   13   occasional case, we'd have the injured officer on light duty

   14   who still had to qualify on the range, one of the things that

   15   we had to look at was, the very fact that the officer needed to

   16   shoot meant he was likely in a gunfight.        He might well be

   17   seriously     wounded and might often have been wounded at the

   18   very beginning of the fight if he was ambushed.        So we have to

   19   look at what I called wounded officer response techniques.

   20   What do you do if one hand, one arm has been rendered

   21   inoperable?     What do you do if the effect of the first couple

   22   of shots have put you on your back, or you started in the

   23   patrol car, can't get out of the patrol car because a bullet

   24   has broken your hip?     Those techniques served very well in the

   25    '80s, when I started teaching civilians, and started getting




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    1   students who were physically handicapped to various degrees.

    2               There was a great deal of crossover.     There was some

    3   things that did not cross over, and we simply analyzed their

    4   situation and reached out to others who had dealt with

    5   handicapped shooters and worked on finding the most efficient

    6   ways to deal with them, both in terms of techniques and in

    7   terms of mechanics, in terms of guns that in one way or another

    8   might make up for their physical disability.

    9   Q.   Did the training that you provided to these able-bodied and

   10   disabled individuals, whether they were law enforcement or

   11   civilians, include defensive tactics in the use of

   12   apologize, poorly phrased.     Did it include the use of firearms

   13   in defensive gun use situations, both inside the home and

   14   outside the home?

   15   A.   Yes.    The -- virtually all of the training I've done has

   16   been focused on the firearm as a defensive instrument, as

   17   opposed to a recreational tool or an instrument of sport.

   18   Q.   Is there any difference to the training that you provide to

   19   civilians, whether able-bodied or disabled, as to defensive

   20   tactics inside the home versus outside the home?

   21   A.   Yes, there would be.    Situationally, if you're outside the

   22   home, by definition,    if you're resorting to a firearm, that

   23   means you're licensed to carry a gun, and you have one either

   24   on your person or immediately within reach.        So we'll work with

   25   them on drawing the gun from discreet concealment and being




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    1   able to reload.      We strongly emphasize that we feel anyone

    2   carrying a gun without spare ammunition is carrying a temporary

    3   gun.     So we teach them how to carry a spare magazine or a spare

    4   speed loader,     if they're carrying a revolver.    But in the home,

    5   there are relatively few people who keep their gun on all the

    6   time when they're in their own domicile.

    7   Q.     You mean on their person when you say "keep the gun on"?

    8   A.     No.   What I'm saying is, most people do not keep their gun

    9   on when they're at home.      They will typically when they're in

   10   their domicile have it stored in one or another fixed,       static

   11   location.      Perhaps a quick-release gun safe; perhaps a home

   12   where you don't have to worry about children running around,

   13   simply in the nightstand.

   14                For them it's not a matter, when danger comes on them

   15   suddenly to simply reach under their coat.       They may have to go

   16   into another room to get at where the gun is, they may have to

   17   go down the hall to get at where the gun is.        So now their

   18   mobility becomes a much more critical factor in their ability

   19   to defend themselves.      If when the alarm goes off, or the door

   20   kicks off, or the window breaks, every second that they're

   21   trying to get the wheelchair down the hall to where the gun is,

   22   is going to be more vulnerability.      So we tell them, once they

   23   have been able to get their hand on the gun, things are going

   24   to be happening fast.      They're going to have to be -- hopefully

   25   with a Bluetooth if they have one on already          communicating




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    1   with the police.      But mostly, one hand is going to be occupied

    2   with some sort of telephone communication device.

    3                They're not going to have time to strap on a gun belt

    4   with an ammunition pouch, and they're not going to have time to

    5   grab a spare magazine or speed loader.      Essentially, what they

    6   have in that gun is going to be probably all they're going to

    7   have from the beginning to the end of fight that occurs.        So we

    8   tell them,     for the home defense gun in particular, it makes

    9   sense to have higher cartridge capacity than some other

   10   applications.

   11   Q.   And the comparison, then, to defensive gun use outside the

   12   home, how is your training or        how is the advice that you

   13   give to able-bodied and disabled shooters different,       if it is?

   14   A.   Well, again, in terms of the magazines and such, we would

   15   be advising the person in the wheelchair, for example, to have

   16   a higher-capacity gun.      The reason is, the ambulatory person --

   17                If I may stand for a moment to demonstrate.

   18   Q.   Sure.

   19   A.   The ambulatory person can be almost like a uniformed police

   20   officer.      If you look at the next cop you see on the street,

   21   the duty belt is going to have gear all the way around it, all

   22   the stuff they have to carry.      You'll see a lot of people -- a

   23   lot of ordinary folks will carry their pager behind their belt

   24   or something else behind their belt.      Your guy in a wheelchair

   25   is very restricted on that, particularly if he's paralyzed from




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    1   the waist down, and most particularly if he's paralyzed from

    2   the chest up.

    3             If I lean back now against some hard object that is

    4   behind my hip

    5   Q.   Mr. Ayoob, I'm really not getting into wheelchair-bound

    6   individuals right now.     I'd like you to respond to the question

    7   about any difference in the training that you give to students

    8   for defensive gun uses outside the home versus inside the home.

    9   You had spoken to larger firearms magazines, availability and

   10   those kinds of things.     Is that any different in terms of

   11   outside the home?

   12   A.   Well, outside the home, yes, because he's probably going

   13   to -- if they're in the wheelchair, again, they're going to

   14   have limitations.    There is only so much you can get in that

   15   very small space that you're taking around with you.        And as I

   16   was saying, you can't put any of it behind your backs.        You've

   17   got to put all of it in the front.

   18             If you found room for the gun -- that's not that tough

   19   to do.   Finding room for the gun and spare ammunition is much

   20   more difficult in the more limited waist space.       What I was

   21   trying to get at is, that would be one more reason for them,

   22   we'd be suggesting they get a higher-capacity gun.       They will

   23   have much more difficulty reloading in the wheelchair than

   24   would an ambulatory person, as well.

   25   Q.   Thank you.   Do students bring their own firearms to your




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    1   classes?

    2   A.   The students normally will bring their own firearms,

    3   correct.

    4   Q.   And do you give them direction on what firearms to bring to

    5   class, or do they select those on their own?

    6   A.   Unless they ask, we simply tell them to bring the guns they

    7   use for personal protection.

    8   Q.   Have the -- has the equipment or the firearms that have

    9   been most popular with your students changed over the years?

   10   A.   Yes, they have.

   11   Q.   Can you describe that, please.

   12   A.   Over the last ten, twenty years, we've seen a much stronger

   13   trend towards semiautomatic pistols and, particularly, the

   14   pistols with relatively higher magazine capacity.

   15   Q.   When did that take place?

   16   A.   We started seeing it in the 1980s, and it was actually kind

   17   of concurrent with the law enforcement switch from the old

   18   service revolver to the semiautomatic service pistol.        And we

   19   saw it more still in the '90s.     And today, the polymer-framed

   20   pistol, usually 9 millimeter, occasionally larger calibers, is

   21   by far the most popular type that we'll see in a civilian

   22   course .

   23   Q.   Can you estimate the percentage of students annually that

   24   bring semiautomatic pistols to your class these days,       in the

   25   last ten years?




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    1   A.   If we cover all semiautomatics, it would be in the high

    2   90th percentile.         We do see the occasional revolver, but in

    3   many classes there's not a revolver on the firing range.

    4   Q.   Does the shift that you just described, the change in

    5   popularity of handguns from revolvers to semiautomatics, affect

    6   your training?

    7   A.   We have to put more emphasis on avoiding what is called

    8   colloquially spray and pray.         When someone suddenly goes from a

    9   six-shot gun to an eighteen-shot gun, it's -- particularly if

   10   fire power was the reason for the decision, it's real easy to

   11   get the idea that the fire power was the raison d'etre.         And

   12   that means, if I ever have to pull this thing out, I better

   13   hose all 18 rounds and hope something sticks; hence,        spray and

   14   pray .

   15                And we told them, no, shoot it as if you had the

   16   old-fashioned six shooter and you just have a greater reservoir

   17   of ammunition.         The reservoir of ammo is not to hose the area;

   18   it's to allow you to stay in the fight longer if the fight gets

   19   particularly complicated and ugly.

   20   Q.   Can you provide examples of the most commonly used firearms

   21   brought by civilians and law enforcement officers to your

   22   training classes in the last ten years.

   23   A.   Yeah.        Some of the most popular brands will be the Glock,

   24   the Smith     &   Wesson military and police semiautomatic, and to a

   25   slightly lesser extent, but I'm seeing it increase, the




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    1   Springfield Armory XD series.

    2   Q.   As to the Glock series, can you identify the most popular

    3   Glock model that you see in your classes.

    4   A.   The most popular I see in the class is the Glock 17.         It's

    5   their service-sized 9-millimeter pistol with 17-round magazine.

    6   Q.   You also mentioned the M&P, the military and police?

    7   A.   Yes, sir.

    8   Q.   How many rounds is that?

    9   A.   Again, 9 millimeter, that would be a 17-round magazine.

   10   Q.   And then you also mentioned the Springfield XO series.

   11   A.   Yes, the original XD, full-sized service pistol with the 15

   12   or 16 -- I'd have to go back and look.         What we're seeing more

   13   is the updated version of that gun, the XDM, which in full size

   14   is a 19-shot magazine,        in the 9 millimeter.   Of course, all of

   15   them would have one more cartridge in the firing chamber when

   16   kept loaded.

   17   Q.   What percentage of students these days, in the past ten

   18   years, bring revolvers to self-defense class?

   19   A.   It's tiny percent.       As I've said,   I see classes where there

   20    is not a revolver in sight.        I think in the last year, the most

   21   revolvers I ever saw in a class was three or four,         in classes

   22   of 20 to 40 people.

   23   Q.   I want to move into some mechanical discussions regarding

   24   the differences between a semiautomatic firearm or handgun and

   25   a revolver.      All right.




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    1               Your Honor, we have brought some dummy firearms into

    2   the courtroom.     I'd like the clerk to provide those to the

    3   witness at this time for this demonstration.

    4               THE COURT:     Have they been marked as demonstrative

    5   exhibits?

    6               MR. COLIN:     They have not at this time, Your Honor.

    7   We brought them in this morning, didn't --

    8               THE COURT:     Well, let's get them marked.

    9               MR. COLIN:     We'll do that.    I think we're at 93.

   10               There is a semiautomatic you want to use?

   11               THE WITNESS:     The blue one.

   12               MS. MORRILL:     Your Honor, we have not seen this

   13   demonstrative.     We'd ask to see it before it is handed to the

   14   witness.

   15               THE COURT:     I'm sorry?

   16               MS. MORRILL:     We have not seen this demonstrative

   17   exhibit before.     We would like to see it before it is handed to

   18   the witness.

   19               MR. COLIN:     Sure.

   20               THE COURT:     Fine, you can see it.

   21               MR. COLIN:     The blue revolver and the blue

   22   semiautomatic.

   23               THE WITNESS:     Yes, I think there is only one revolver,

   24   should be blue, as I recall, blue semiautomatic.

   25               THE COURT:     Mr. Keech, would you present those to




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    1   defense counsel, please, so that they can see them.

    2                COURTROOM DEPUTY:   Yes, Your Honor.

    3   BY MR. COLIN:

    4   Q.   Okay.     Can you describe how semiautomatic firearms,

    5   semiautomatic handguns in specific, are similar to or different

    6   from a revolver, mechanically.

    7   A.   Certainly.     The dummy here in my left hand is apparently

    8   produced by Odin Press, O-D-I-N.       But they're designed

    9   originally for handgun retention and disarming instruction, for

   10   obvious safety reasons.

   11                This is a cast dummy of the gun in battery.      When I

   12   say "in battery," the parts are in alignment for firing.

   13   Because it's cast, there are, obviously, no moving parts.          So

   14   bear with me, because that compounds the difficulty of the

   15   demonstration.

   16                Once the gun is loaded, the part I'm indicating here

   17    is the cylinder.     Essentially, a rotary drum that rotates on an

   18   axis .   The pulling of the trigger straight back over a long

   19   pull that would go from the at-rest position I'm indicating

   20   here to the back of the trigger guard will inside the gun cause

   21   a part called the cylinder hand to engage a ratchet inside the

   22   gun at the back of the cylinder.       That will turn the cylinder,

   23   rotating it.      As the mechanism brings the hammer back, the

   24   hammer -- which I'm indicating here -- will rise before it

   25   falls.   The next cartridge in the cylinder, which in this sized




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    1   gun there would be six chambers with six cartridges, will

    2   rotate under that hammer.      When the trigger pull is completed,

    3   the hammer falls, the firing pin strikes the primer and the

    4   cartridge, and the bullet is propelled through -- out of the

    5   chamber through the barrel and toward the target.

    6             To unload the gun, the part I'm indicating here, the

    7   cylinder release latch, would have to be pressed in a certain

    8   direction.    This is a dummy copy of a Smith & Wesson combat

    9   magnum, and that brand is pressed forward.

   10             Simultaneously, the other hand or some force has to

   11   push the cylinder to the left to bring it out of the frame.

   12   The cylinder assembly will now swing out and will be located

   13   where I'm indicating here to the Court with my hand.        The

   14   ejector rod of -- the stick-like projection in front of the

   15   frame that I'm indicating here,     is a part of the cylinder

   16   assembly and will swing out with it.

   17             To eject the spent       the six spent empty casings that

   18   will be in the chamber located at the back of the cylinder,

   19   that rod has to be pressed or struck toward the cylinder.         The

   20   ejector star, which is part of the ratchet, now comes back out

   21   of the cylinder and drives those cartridges out, and they'll

   22   fall to the ground.

   23             So get it reloaded, visualize the cylinder was still

   24   outside the frame.    If we had just loose ammunition in a pouch,

   25   most people would have to reload one cartridge at a time,




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    1   chamber per chamber, so six separate complicated motions of

    2   getting the -- a small, narrow cartridge into the chamber.        A

    3   dexterous, experienced shooter can load them two at a time.

    4              There is a device called a speed loader, which holds

    5   all six cartridges in a circle, that allows them to be loaded

    6   at once.    Because it's the diameter of the cylinder, it's very

    7   bulky and relatively few people find they can comfortably,

    8   discreetly carry them concealed.

    9              Once those are in, if it's a speed loader, the loader

   10   has to be released, and it will then be allowed to fall away.

   11   The firing hand will come back to the grip, and the other hand

   12   will close the cylinder of the revolver.      And as we've noted,

   13   it's a fairly complicated procedure.

   14              The semiautomatic pistol, demonstrated here with a

   15   Ring's brand, R-I-N-G apostrophe S, blue gun.       This one is cast

   16   with polymer.     The primary parts will be the frame -- which I'm

   17   indicating here       in which the magazine -- which I'm

   18   indicating here      would be housed.    The barrel would be inside

   19   the slide -- which I'm indicating here -- riding on a spring

   20   guide rod with a recoil spring inside the gun.       The trigger --

   21   which I'm indicating here -- is pulled, the pistol fires.        The

   22   recoil force of that shot going off will drive this whole slide

   23   assembly back on the frame.     The extractor -- which I'm

   24   indicating here -- is a hook that will catch the inside edge of

   25   the cartridge, the spent casing, and drag it back until it is




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    1   punched out through the eject port -- which I'm indicating

    2   here -- by the ejector, which is a little stub that is inside

    3   the gun.    In other words, the cartridge is dragged back by this

    4   by the extractor hook and is then bumped by the fixed ejector

    5   to kick it out.

    6              At that point, the slide will have reached its

    7   rearward point of movement.         It will no longer be blocking the

    8   spring-loaded magazine in which the remaining cartridges are

    9   stacked, and the spring will now drive the next cartridge up in

   10   front of the slide.       As the recoil spring does its reciprocal

   11   movement, brings the slide back forward, it will carry that

   12   cartridge back into the firing chamber.         It happens in an

   13   instant, and the gun is ready to fire.         If you watch it happen,

   14   most people can't actually see the slide moving; they just see

   15   the spent casing sticking out of the gun.

   16              To unload -- to reload once it's run empty, most

   17   pistols will usually lock their slides to the rear when they're

   18   empty to signal to the shooter that it's time to reload.

   19              To -- may I stand?

   20              THE COURT:     Sure.

   21              THE WITNESS:     Okay.   To get the -- we have to do what

   22   we did with the revolver, get the old empty stuff out and the

   23   new fresh stuff in.       With the semiautomatic, we now have an

   24   empty magazine that will be released by pressing the magazine

   25   release button.    This, as in most guns, it's in the form of a




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    1   button behind the left side of the trigger guard.        The magazine

    2   will now fall away, or if it's stuck, the shooter will flip it

    3   out.     The shooter will grasp a fresh magazine, insert it in one

    4   motion.        The difference is, here, we were inserting six tiny

    5   six exact size objects into six exact size holes, and with a

    6   speed loader, trying to do it all simultaneously.        Here, it's

    7   more of a gross motor skill than a fine motor skill.        We have

    8   one relatively larger object going into one relatively larger

    9   area.

   10                  The magazine is inserted until it clicks and seats.

   11    If the slide is locked to the rear, either tugging back on it

   12   will release it forward, or just coming up with the thumb and

   13   touching the part I'm indicating here, the slide release lever,

   14   will allow the slide to close, chamber the round, and complete

   15   the reloading cycle.

   16                  The difference would be, reloading the revolver would

   17   look in sequence like this.        Reloading the semiautomatic would

   18   be a much simpler sequence that would look like this.

   19   BY MR.       COLIN:

   20   Q.     During the course of your comparative testimony, you

   21   mentioned trigger pull and trigger distance with regard to the

   22   revolver, but not the semiautomatic.        Are they the same between

   23   the two?

   24   A.     No.     There are two different issues, and they do tend to be

   25   different between the two types of guns.




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    1    Q.   What are the differences on those?

    2   A.    On the revolver, we have a long, heavy pull.     The reason

    3   is, mechanically, the index finger, the trigger finger,

    4   bringing the trigger back is performing multiple functions.

    5    It's driving the cylinder hand upward to rotate the cylinder

    6   against resistance; it's bringing the hammer back against the

    7   resistance of a very strong main string that will be located

    8   inside the grip frame.      And, typically, your double-action

    9   service revolver will have a trigger pull weight of 9 to

   10   12 pounds.      I've seen some that ran 14 pounds.   It's also a

   11   longer stroke, because to get all of that mechanical work done,

   12   basically, we need some distance for the lever-shaped trigger

   13   to move.

   14                With the semiautomatic, it -- you can get -- most

   15   designs will have a lighter, easier trigger pull, at least for

   16   most shots.      In this pistol, the M&P, it's striker fired,      so

   17   there is no hammer that needs to be raised and lowered.         It's a

   18   much shorter trigger stroke that tends to be lighter.        The

   19   factory spec for trigger pull weight on this gun for a duty or

   20   defense pistol is 6.5 pounds.

   21   Q.    You've done a demonstration for us, you've given us a

   22   mechanical description of the differences between a revolver

   23   and firearm, have you performed any tests to determine which

   24   is -- which can be reloaded more quickly and efficiently?

   25   A.    Yes.




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    1    Q.   And can you describe those for the Court, please.

    2   A.    Yeah, over the years, I've lost count of how many thousands

    3   of people I've observed reloading both revolvers and

    4   semiautomatics in 40 some years of shooting competition and

    5   shooting training.    It is inarguable that the same individual

    6   is going to be able to reload the semiautomatic faster than he

    7   is the revolver.     It's simply a less complicated task with

    8   fewer movements involved.

    9   Q.    Why does the amount of time required for reload matter?

   10   A.    Because it -- assuming real world and not sport, every

   11   second the defender cannot fire is a second of absolute

   12   helplessness.    The longer the reload process takes, the longer

   13   they are helpless against an armed opponent.

   14              That becomes magnified in a situation where the hands

   15   are trembling, fine motor skill is being lost.       The revolver is

   16   more dependent on fine motor skill than is the semiautomatic.

   17   And, overall, when you're reloading, you're vulnerable.

   18              I think the easiest way to explain it is, if it was a

   19   boxing match,   if someone said for X numbers of seconds you have

   20   to lower your arms and not punch or block while your opponent

   21    is allowed to punch, you would have just turned into a punching

   22   bag, and for that period of seconds would take blow after blow

   23   until they finally got the knockout blow, and you are going to

   24   be unconscious on the mat.

   25              That same -- that same dynamic occurs in the reloading




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    1   process.    While you're unable to fire the gun, since it's not

    2   been reloaded yet, you are the equivalent of the boxer with his

    3   hands at the side.      The opponent does now have you turned into

    4   a target instead of a threat to flee.          And with impunity, he

    5   can be sending his blows with a gun or knife at you until he

    6   gets the knockout blow that leaves you dead.

    7              MR. COLIN:    Thank you.    Your Honor, this would be a

    8   good time for the noon break.

    9              THE COURT:   All right.     Then we'll stand in recess,

   10   and we'll stand in recess until 1:30 this afternoon.

   11              Is there anything we need to take up before our noon

   12   break?

   13              MR. COLIN:   No.     Not from the plaintiff.

   14              THE COURT:   Okay.     All right.   Then we'll stand in

   15   recess until 1:30.

   16              (Recess at 11:56 a.m.)

   17              (Hearing continued at 1:33 p.m.)

   18              THE COURT:   Please resume.

   19              MR. COLIN:    Thank you, Your Honor.

   20   BY MR. COLIN:

   21   Q.   Mr. Ayoob, we've gone through your knowledge of the

   22   mechanical functioning of both revolver and semiautomatic

   23   pistol.    I'd like to move now on to how that's applied.

   24              Do you teach civilian shooters and law enforcement

   25   officers, both able-bodied and not, how to perform magazine




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    1   exchanges swiftly, efficiently?

    2   A.   We do.

    3   Q.   For how long have you been providing that kind of

    4   instruction?

    5   A.   For 42 years.

    6   Q.   Can you estimate how many students you've taught how to do

    7   tactical,     standard, or any other kind of magazine exchanges

    8   involving semiautomatic firearms?

    9   A.   Countless thousands.

   10   Q.   And did you say law enforcement since 1970 something, and

   11   civilians after that?

   12   A.   Law enforcement since '72; private citizens since '81.

   13   Q.   Based upon that experience, can you tell us how long it

   14   take an average shooter, able-bodied, to perform a magazine

   15   exchange?

   16   A.   With some proper training fresh in their mind, they'll

   17   probably average around four to six seconds.       Of the more

   18   dexterous, the more expert, the naturals,       if you will, the ones

   19   with more experience, will probably go two to three seconds.

   20   Q.   Can you provide an average time for disabled shooters?

   21   A.   We cannot.    The reason is the range of disabilities is

   22   simply too far to figure out an average.

   23   Q.   Describe what kind of considerations you have to take into

   24   account when dealing with developing a training program for a

   25   disabled shooter to effect a magazine exchange swiftly and




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    1   effectively.

    2   A.   Sure.     The first thing that we have to do is analyze what

    3   the shooter's disabilities are, and just as important, what

    4   abilities he or she still has.      The disabilities may range from

    5   the guy who is palsied due to age or neurological problems or

    6   nerve damage.      The very rapid insertion of the magazine that

    7   would be easy for an able-bodied person sitting in here becomes

    8   a nightmare for him, because both the feeding hand and the

    9   receiving hand are shaking.       It's going to take him much

   10   longer, and proportionately longer still with the revolver,

   11   with smaller cartridges going into smaller receptacles.

   12                Overall, we look at, where is the disability?      The

   13   upper body disabilities, the upper limbs, whether it's hands,

   14   arms, upper body strength issues,      I see that when I'm

   15   teaching the shooting of the gun, use of the guns, as a

   16   profound disability in that respect.

   17                The other element we have to look at is the lower

   18   body, disabled knees, ankles, perhaps someone who has no

   19   feeling at all in their legs.      That becomes an issue of

   20   tactical mobility.     We can

   21   Q.   Before we get to that,     I want to -- I certainly want to

   22   speak to that issue.      I want to get there by laying foundation

   23   before we can talk about it.

   24                I'd like you to explain why -- if we're only talking

   25   about two to three seconds for an expert or four to six seconds




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    1   for a typical civilian, an average civilian shooter -- if we're

    2   only talking about two to six seconds, what is the big deal?

    3   Why does it make a difference?

    4   A.   Remember, we're teaching them on the range to operate

    5   life-saving emergency rescue equipment.      When they actually

    6   need the skill, it will be during an ongoing attack.        Every

    7   second that they are unable to respond is a second of absolute

    8   total helplessness.    We often -- when we're looking at time on

    9   one side, we always have to look at time on the other.         The

   10   opponent is up and running.     It has been well established in

   11   firearms training literature for decades now that the average

   12   person can pick up one of these guns -- here, I'm holding the

   13   dummy revolver.    And even with its long trigger stroke back and

   14   its long stroke forward to reset,     if you start timing from the

   15   first shot, the average person can fire four shots in about --

   16   four shots in about one second.

   17             The semiautomatic pistol, the majority of models which

   18   have the shorter trigger stroke, like this M&P I'm now

   19   demonstrating with, shorter back, shorter forward,      less

   20   distance equals less time and more output.       The average

   21   person -- not the expert, not the master, the average person,

   22   will get off five shots in the first second.       Some people if

   23   they're fast will get off six.      That means the other person has

   24   six chances to kill you or six chances to kill the people

   25   you're protecting if you are unable to stop them.




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    1                If,   instead of having to take that -- that, whether

    2   it's two-second, four-second, or ten-second reload,       if you had

    3   enough cartridges in the gun that it had not run dry, that you

    4   could simply keep shooting, average break time -- that is, the

    5   elapsed time between shots -- is going to be a fourth to a

    6   fifth of a second.       So we're balancing several seconds,

    7   multiple whole seconds of vulnerability for you and those

    8   within the mantle of your protection against the ability to

    9   return a shot and hopefully end the danger in a quarter of a

   10   second.

   11   Q.   Now I want to get to the area you were about to speak to

   12   with regard to upper and lower body disabilities if we could.

   13   You have instructed, have you not, over the last 40 years,

   14   individuals with both kinds of disabilities, meaning upper body

   15   disabilities and lower?

   16   A.   I have.

   17   Q.   Can you tell us how many physically challenged, disabled,

   18   infirm shooters that you have instructed over the last 40

   19   years?

   20   A.   It will go maybe one out of twenty with what I would

   21   consider a profound disability in terms of shooting, the really

   22   severe tremors in the hands, an arm that does not work, missing

   23   digits from the hands, missing whole fingers from the hands,

   24   and the occasional missing hand or missing arm.

   25   Q.   Is --




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    1   A.   It's at least twice that for the lower body disabilities.

    2   A few times a year, every year, in civilian classes, we'll have

    3   someone who is in a wheelchair.      There are many more whose

    4   lower body disabilities don't show up until I ask them to shoot

    5   from a cover position.     And most of the cover positions are

    6   low, such as a kneeling position or a deep-cover crouch.         The

    7   guy who you don't notice any disability when he's just walking

    8   around casually, now in his bad knee, his replacement hip, his

    9   fused ankle, whatever come into play, he can't do it.         He can't

   10   get down behind that cover.     He doesn't have that protective

   11   place, that safe harbor, that safe haven where he's going to

   12   have the few seconds to reload the gun.      He may be caught in

   13   the open, and the only thing he can stop the opposing fire with

   14   is his own return fire.

   15   Q.   So it sounded to me like you have two categories of

   16   disabilities, at least in your mind.      You used the term

   17   "profoundly disabled."

   18   A.   From my perspective as a firearms instructor, yeah.        I'm

   19   not looking at what a doctor would call profoundly disabled;

   20    I'm looking at what me teaching the student this particular

   21   skill is a profound handicap to overcome.

   22   Q.   And you said, roughly 5 percent of your students over the

   23   last 40 years have fallen into that category?

   24   A.   Roughly 5 percent, yeah.

   25   Q.   And then you said there is another category.      Can you give




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    1   us an estimate of how many students fall into this other

    2   disability category.

    3   A.     What I would call the tactically disabled.    The people who

    4   move very slowly, the people who may not be able to move at all

    5   if they're in a manually operated wheelchair, or the people

    6   with lower limb injuries or disabilities that are in positions

    7   where they cannot take cover behind something like an engine

    8   block or a heavy stove during a home invasion or something like

    9   that.     And that would be about twice as many.

   10   Q.     So another 5 to 10 percent?

   11   A.     Probably, yeah.

   12   Q.     Okay.   Do you provide separate training classes for

   13   disabled shooters, infirm shooters?

   14   A.     I do not.   The reason is, there is such a wide range of

   15   disabilities, there is no one curriculum that will fit them

   16   all.     So we integrate them often with special needs assistance

   17   into our regular programs.

   18   Q.     In the regular programs in which you allow disabled

   19   shooters to participate, is there training to able-bodied

   20   students in those classes that is similar to the training that

   21    is received by these disabled folks?

   22   A.     Yes.    In the first level in police training and the second

   23   level in our civilian training, we'll get into the wounded

   24   defender techniques.      The situation where you walked into the

   25   thing able-bodied, a gunshot went off, now one of your arms no




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    1   longer works, now your leg has crumpled under you and no longer

    2   works.     How do you transition from this hand to that hand,

    3   let's say, for the police officer?      How do you shoot from the

    4   ground and stabilize the shot, whether you're on your butt, on

    5   your back, on your side, whatever?      If you only have one hand

    6   to shoot back with, how do you maximize your ability to deliver

    7   accurate rapid fire when 50 percent of your upper shooting

    8   platform has just been shot away?

    9    Q.   Am I accurately hearing that your training, then, for the

   10   disabled shooter is pretty much the same as the training that

   11   you give to able-bodied citizens on how to deal with injuries

   12   during a gunfight?

   13   A.    There is a lot of crossover, but it's not identical.      For

   14   example,    shooting from a seated position.    If we had a police

   15   officer who's ambushed from the front, and he's seat-belted

   16   into his cruiser, the car is in park, there is no time to

   17   escape, he's literally got to shoot through the windshield.

   18   From his seated position -- I will be visible from your

   19   perspective -- he could jackknife his upper body forward, get

   20   his upper body weight under the gun, and deliver very accurate

   21   rapid fire,    recovering from the recoil almost as quickly as he

   22   can reset the trigger.

   23              The person in the wheelchair very often will not be

   24   able to do that.     The reason is, if you jackknife forward from

   25   the hips, your legs become V springs that are holding your




                                                                  APP. 804
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    1   upper body upright as your upper body weight goes forward.           The

    2   paraplegic, particularly the paraplegic who is paralyzed from

    3   the chest down -- I've seen some who have to be strapped into

    4   the wheelchairs.     If they try to lean their upper bodies

    5   forward,    it's going to overbalance, and they fall out of the

    6   chair.     So we teach them different techniques.

    7              For example, I teach them, since they're going to have

    8   to lean back to stay in the chair, to shoot with what is called

    9   the Weaver stance.     It's an isometric position in which both

   10   elbows are bent, the gun hand pushes, the support hand pulls.

   11   That allows recoil to       it, essentially, turns the arms into

   12   tense skeletomuscular shock absorbers.      The recoil is forced

   13   between the gun and torso.     If they had tried to shoot in the

   14   more modern technique that the officer could do jackknifed

   15   forward, the locked arms will become levers.        The first shot

   16   may go through the windshield.      The second shot will go into

   17   the roof, unless they consciously take time to bring the gun

   18   back down, which would greatly slow their rate of return.        So

   19   in areas like that, there might be some difference.

   20               In many of the others, we teach them exactly the same,

   21   because so many wheelchair victims, when they're mugged, the

   22   attacker's first thing is to tip them out of the wheelchair on

   23   the ground, thinking they're going to be helpless like an

   24   upside down turtle.     We emphasize with the wheelchair students

   25   how to shoot from the ground a little more than we would with




                                                                  APP. 805
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    1   the average civilian student.

    2   Q.   Okay.     I'd like you to describe for the Court the process

    3   that you use when a disabled individual comes to you,       somebody

    4   with an infirmity, a handicap of some kind.        Describe the

    5   process that you use to develop training that will allow them

    6   to overcome that disability.

    7   A.   Sure.    Well, we'll start with, at the risk of repeating

    8   from the last question, assessing, what is their disability?

    9   What are their abilities?      We know now what they can't do;

   10   let's see what they can do.      It may be more important for them

   11   than for a perfectly able-bodied shooter to have a gun that

   12   perfectly fits their hand.      And lets them apply maximum

   13   mechanical damage to compensate for any upper body weakness

   14   they might have.      We may have to place the gun differently.

   15   Most people, police or civilian, who carry concealed handguns

   16   will carry on or just behind the strong side hip.

   17                If I may stand for one more moment.

   18                It's a natural, easy place for the dominant hand to

   19   simply come back to and access the gun.       If we have someone in

   20   a wheelchair, it's going to be much more difficult.        The gun

   21   tends to be pinned between the arm of the wheelchair and the

   22   torso of the patient.      And as they reach down here, they've

   23   about run out of range of movement, so they're going to have to

   24   rock significantly to the side.      So people like that, we'll

   25   suggest, you know, may be a little slower for the standing guy,




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    1   but we'll have you place your gun cross body.       That would be

    2   the opposite hip, but forward.      Gives them much better range of

    3   movement across the body, and we just show them how to safely

    4   do it on the firing range in a way not to cross any other

    5   shooter so they can practice and build their skills.

    6             We will try to adapt the gun.     The person who is going

    7   to have particular difficulty reloading for whatever reason is

    8   obviously that much more a candidate for a gun that has a

    9   higher reservoir of ammunition.

   10   Q.   All right.   So you analyze the disability, you address how

   11   they might carry it, where they might carry it, where they

   12   might carry ammunition, drawing and aiming the weapon?

   13   A.   Right.

   14   Q.   Is there any identification -- and maybe that's what you

   15   were getting to a moment ago with regard to mechanical changes

   16   that might be made to the firearm itself.       So, do you study the

   17   mechanical operation of the firearm in conjunction with the

   18   disability to try to figure out how the mechanical function of

   19   the firearm might be modified or how the shooter might modify a

   20   more typical approach in firing?

   21   A.   We do.   A classic example of that would be the person with

   22   very short fingers.    We have a lot of people, particularly in

   23   foreign countries, that have had industrial farming accidents,

   24   so they're missing a fingertip or something.       I had one student

   25   who was a Thalidomide baby in adulthood, and all of his fingers




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    1   were about as long as the median joints are of mine here.        One

    2   of the things you want is going to be a pistol with shorter

    3   trigger reach.    The trigger reach dimension on the gun is

    4   measured from the back strap under the grip tag, of the part

    5   that I'm indicating here, to the center of the face of the

    6   trigger, which I'm indicating here.

    7             On the hand, it would be measured from the center, the

    8   web of the hand, in line with the long bones of the forearm,

    9   from this point I'm indicating here, to the contact point on

   10   the trigger finger.

   11             Someone with one digit shorter than what my finger is

   12   here is barely going to be able to touch the trigger, but will

   13   not have the left leverage to pull it.      My finger only went to

   14   here on a longer trigger gun.      If you've got something with a

   15   shorter trigger reach, as you can see here, they'll be able to

   16   get at least -- where the joint -- with the distal joint of my

   17   finger sits here, is where their fingertip will sit, and they

   18   will be able to operate the gun effectively.

   19   Q.   You've gotten into -- a little ahead of us in terms of the

   20   missing shortened finger issue.

   21   A.   I'm sorry.

   22   Q.   I want to walk through the methodology you apply when

   23   attempting to develop what I'm going to call the work-around or

   24   a method by virtue of which someone with a disability can

   25   overcome that disability.     And what I understood you to say,




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    1   you start out by figuring out what the disability is, figuring

    2   out what aspects of carrying, firing, reloading a firearm those

    3   disabilities are going to affect; is that a fair beginning?

    4   A.   Correct.

    5   Q.   And then what's the next step in the process?

    6   A.   The next step in the process is get the student out

    7   actually shooting, and, basically, diagnose, how is he hitting?

    8   How is his hand interfacing with the firearm?       What's his speed

    9   of recoil control, et cetera?     And we adapt accordingly in

   10   terms of technique and equipment.

   11   Q.   So you develop ways for the disabled, injured, or infirm

   12   shooter, whether able-bodied or not, to overcome whatever the

   13   disability or injury presents?

   14   A.   Correct.

   15   Q.   Is that fair?

   16   A.   Yes.

   17   Q.   All right.

   18   A.   Whether by technique or equipment or combination of both.

   19   Q.   Can you advise the Court regarding the impact of upper body

   20   disabilities on a shooter's ability to reload.       And whether

   21   it's a disability or injury, let us know if there is a

   22   difference.     Otherwise, if the same is true for able-bodied

   23   injured shooters as it might be to a disabled person with a

   24   an extremity that is either missing or rendered useless,

   25   paralyzed?




                                                                  APP. 809
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    1   A.   Sure.     You have to take each of them, basically, as they

    2   come.    For every student who is going to have the super short

    3   fingers or the hand injury or partial or complete amputation,

    4   you're going to have several who are my age.       The age is

    5   getting along, you're seeing arthritis manifestations in the

    6   hand, and they don't have the range of movement that they might

    7   have had when they were 20 or 30 or 40.

    8                I'm kind of losing track here -- repeat the question.

    9   Q.   Sure.     I'm asking you to explain how the ability to reload

   10   is adversely affected by a disability.

   11   A.   Thank you.     Let's say that I had a shortened thumb, and we

   12   are reloading the semiautomatic pistol.      With an average length

   13   thumb, it's no problem for me, being right-handed, to simply

   14   press this button inward and dump the magazine.       If my thumb

   15   only came to where my median joint is,     I would have to turn my

   16   hand on the gun, bring the proximal joint of my index finger

   17   under the grip tag, which would somewhat weaken my grasp of the

   18   pistol, to get that part of the thumb -- where my median joint

   19    is would be the tip of his stump, basically -- to make that

   20   press.

   21                Or we could simply have him do it with the other hand,

   22   but that's going to slow him down too.      Because the

   23   conventional reload, the shooting hand is dumping the magazine

   24   simultaneously with the support hand grabbing a fresh magazine

   25   to reload.     Now, with the left hand, in my case, doing the




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    1   right hand's job, that support hand is going to get much later

    2   to the spare magazine and will slow down the reload and

    3   lengthen that window of absolute helplessness.

    4   Q.   You anticipated my next question.     I was going to ask why

    5   time was a problem.     Thank you.   How can that be overcome, the

    6   time element that you just described?

    7   A.   The simplest and most logical way is to have that person

    8   carry a gun, or have access to a gun if it's home defense, that

    9   has that many more cartridges in it.      The more cartridges there

   10   are, the less often he will have to reload.       The more

   11   cartridges there are, the longer he can stay in the fight

   12   before he has to reload.

   13   Q.   How, then      taking everything you just testified to into

   14   account, how, then, did you arrive at your opinion that the

   15   ability of a disabled,    infirm, or injured person to protect

   16   themselves will be adversely protected by a magazine capacity

   17   limitation?

   18   A.   Well, certainly, through a lifetime of study, through

   19   observation.     When you look at the lower-capacity gun versus

   20   the higher-capacity gun in fully skilled hands,      it becomes

   21   pretty stark.     There is an organization that conducts what you

   22   might call simulated gunfighting, called IDPA, International

   23   Defensive Pistol Association.

   24             At their national championships last year, the top

   25   revolver shooter in the world, a guy named Jerry Miculek,




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    1   M-I-C-U-L-E-K, was shooting against the top semiautomatic

    2   pistol shooter in the world, Rob Vogel.      They're shooting the

    3   exact same course of fire, the exact same number of hits

    4   required.     The rules limit Miculek with the revolver to six

    5   shots, then he has to reload again, six shots, then he has to

    6   reload again, et cetera.     Their rules, to keep a level playing

    7   field for semiautomatics in states that have ten-round magazine

    8   limits,   is ten in the magazine, one in the chamber.        So the

    9   semiautomatic shooter in that case had eleven rounds to six the

   10   other man had.

   11               When you figure the time it takes to reload and the

   12   number of times you have to reload, at the end, Vogel's score

   13   was 28 percent faster than the revolver shooter.       So,

   14   essentially, comparing like with like, the greatest world

   15   champions in the sports at this time, it was a 28 percent

   16   deficit to have the gun with less capacity.

   17   Q.   We've already done this to a certain degree, so I want to

   18   skip over anything that you have already covered in your

   19   testimony.     Now is about the time I wanted to get into

   20   particular disabilities that present specific problems for

   21   handicapped or injured able-bodied shooters which adversely

   22   affect their ability to address a threat due to a magazine

   23   limitation.     And you had started to talk about shortened or

   24   missing fingers, and you actually effected the demonstration of

   25   some of the issues for the Court.




                                                                     APP. 812
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    1             Are there any other points that you'd like the Court

    2   to consider with regard to how individuals with missing or

    3   shortened fingers are impacted by capacity limit on detachable

    4   box magazines?

    5   A.   Well, the missing or shortened fingers, if it reduces their

    6   ability to shoot fast and straight, means that a shot that had

    7   they had perfect hands and had lined up, might have struck

    8   center and ended the fight, might hit off center, leave the

    9   opponent up and running and trying to kill them and others and

   10   require them to shoot again.     If you don't have any ammunition

   11   left with which to shoot again, you're back in that window of

   12   utter helplessness.

   13   Q.   You mentioned possible design -- mechanical design

   14   modifications to a firearm to address a problem associated with

   15   missing or shortened fingers.

   16   A.   One that has been suggested in some of the plaintiffs' --

   17    I'm sorry, the defendant's reports and depositions that I've

   18   read has been simply putting an extended magazine release on

   19   the semiautomatic pistol.     That would work to some degree,

   20   certainly, on the range.     Your problem with it is if the gun is

   21   going to be carried.     The magazine button tends to extend --

   22   it's going to be generally the same diameter, a bit larger, but

   23    it will extend out away from the pistol.      That means we have a

   24   protuberance that in a right-handed person's holster, coming

   25   from the left side of the gun,     is going to be pressing against




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    1   the left side.

    2             Apart from discomfort, any time that person bumps into

    3   a door or simply leans to the right side in a wheelchair when

    4   the armchair hits it, the weight of the gun will now drive the

    5   button against the body, it will press the release, and the

    6   magazine will pop out.     This means the gun is no longer

    7   functional.     On some guns, if they need to draw and fire in

    8   self-defense, they will get one shot before the gun ceases to

    9   fire.   Some others have a feature called a magazine

   10   disconnector safety, which means that when a magazine drops out

   11   of place, even the live round in the chamber cannot be fired.

   12    In that situation, they'd be totally helpless.

   13             Carrying on the left side, since most of the pistols

   14   have the button protruding to the left, that would allow any

   15   time the edge of the chair       the wheelchair strikes the hip,

   16   once again, the magazine is going to be released, and it will

   17   turn the whatever-many-shot pistol into a one-shot pistol, or

   18   if it has the disconnector safety, a nonfunctional,

   19   nonshootable pistol.

   20   Q.   All right.    I want to move on, if we've covered everything

   21   dealing with adverse effects of missing or shortened fingers on

   22   the mechanical operation of the firearm, and talk about either

   23   a completely paralyzed arm or missing arm or hand and whether

   24   or not, first of all, you've trained people with those

   25   disabilities.




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    1   A.    I have.

    2   Q.    Secondly, when you're training those folks,    is that similar

    3   to teaching an able-bodied person how to shoot one-handed, for

    4   example?

    5   A.    It is.    It is very much the same, I'd say high 90th

    6   percentile commonality.     What you've got there -- with only one

    7   hand on the gun, you've literally lost 50 percent of the flesh

    8   and bone that your opponent might have to control his gun.

    9   You've got to remember with even a 6 1/2 pound trigger pull,

   10   this is going to be only about a -- about a 2-pound gun once

   11   it's loaded, give or take a few ounces.      Putting 6 1/2 pounds

   12   pressure suddenly on something that weighs only 2 pounds,

   13   something a third of its weight,      it's very easy for that to be

   14   tripped off target.      If you have a two-handed grasp,   it's much

   15   easier to keep it stable on target and make those shots.        So

   16   if

   17    Q.   So just so I understand, what you're saying, it potentially

   18   affects accuracy?

   19   A.    Potentially affects accuracy.    It will also dramatically

   20   affect recoil recovery.     That is, the speed -- the time it's

   21   going to take from one accurate self-defense shot to the next

   22   accurate self-defense shot.      Two hands could control the

   23   recoil, which takes the form of what is colloquially called

   24   kick, the gun coming back into your hand, and includes also

   25   muscle rise or muscle jumps, as the muscle levers up against




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    1   the axis of the wrist.

    2   Q.   So one-handed shooting affects accuracy in two ways that

    3   you just described?

    4   A.   It affects accuracy, and it affects speed.

    5   Q.   Let's talk about the speed component.       When you're talking

    6   about speed, are you talking about the speed to reload or

    7   replace a magazine?

    8   A.   No, that would be the speed to get multiple hits.

    9   Q.   All right.     Let's talk about that, and then we'll talk

   10   about the other issue.      Tell me about the speed to get multiple

   11   hits .

   12   A.   Okay.     The speed of shooting is going to be the same one or

   13   two hands, because the same index finger is controlling the

   14   trigger.      The delivery of accurate hits is what changes.     Given

   15   the fact that, again, we only have half the flesh and bone to

   16   stabilize against the trigger pull weight against the

   17   trigger's -- excuse me, to stabilize the gun against the weight

   18   of the trigger pull, and we're going to have more muscle rise

   19   between shots, it's going to take longer between shots to

   20   align, hold and squeeze, bring the muscle back down from the

   21   recoil of shot one to align it for shot two.

   22                You could put -- one-handed,   I could shoot as fast as

   23    I can shoot two-handed.     One-handed, none of us are going to be

   24   able to hit accurately as fast as we could two-handed.

   25   Q.   So what's a work-around?     What -- what are ways that you




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    1   have developed to overcome the problem with hit potential here

    2   that you've just described, or accuracy?

    3   A.   We teach very hard grasp, very aggressive stances.

    4             May I stand?

    5             THE COURT:     You may.

    6             THE WITNESS:     It's like throwing a punch.     If you're

    7   standing upright, like,     on the target range, and the pistol

    8   recoil is one-handed, the gun comes up and toward your weak

    9   hand side like a lever.      It's following the line of least

   10   resistance.    It goes upward because the axis of the barrel is

   11   above the wrist, and it goes inward because that's where the

   12   hand is open and, therefore, the weakest.         That would be

   13   happening much less if that side was closed.

   14             By getting the upper body forward, we're getting body

   15   weight into it, and we can recover faster.         These are fixes,

   16   but they're not perfect fixes.

   17             I referred a minute ago to IDPA,       International

   18   Defensive Pistol Association.       In their current rules, the

   19   matches cannot put the target more than 7 yards away from the

   20    shooter when he's firing non-dominant hand or weak hand only.

   21   They cannot put the targets more than 10 yards away in a stage

   22   that requires strong hand only shooting.         And the stages where

   23   two-handed shooting is allowed, the distances go to three or

   24   more times that distance.      That gives you an idea of how much

   25   the one-handed versus two-handed shooting affects accuracy and




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    1   speed.

    2   BY MR. COLIN:

    3   Q.   What is the most effective way to address diminished

    4   accuracy?

    5   A.   Diminished accuracy means you're going to need more makeup

    6   shots.      If you get clumsy in the golf game, you're going to

    7   need more strokes.        If something has kept you from getting the

    8   bullet exactly where it needs to go, you're going to need a

    9   Mulligan, a do-over.         Given that that is highly predictable,

   10   particularly for the physically handicapped individual, that

   11   means you're going to need more cartridges in the firearm.

   12   Q.   And then I had referenced time to reload.         Is there an

   13   adverse effect on an individual who has been injured in a hand

   14   or an arm or if the arm is disabled, the hand is disabled, is

   15   there an adverse effect on their ability to reload?

   16   A.   Yes.    The one-handed reload can be done; but it takes so

   17   much longer.      It's not just increasing the time,     it's literally

   18   multiplying the time.

   19                It would probably be best if I demonstrated the

   20   mechanics really quick.

   21               MR. COLIN:      Your Honor, may he demonstrate from the

   22   witness stand?

   23                THE COURT:     He may.

   24               MR. COLIN:      Thank you.

   25                THE WITNESS:     Okay.   We discussed before two-handed




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    1   with the revolver,   simply open the cylinder, support hand slaps

    2   out and grabs, loads go in, other hand closing cylinder, we're

    3   back in business.

    4             But now if, let's say, all I have is my left hand only

    5   on this revolver, last shot has been fired.       I can't flip it

    6   around like this without dropping it, so I've got to bring it

    7   back to my chest and let the back of the butt touch here to

    8   stabilize.    Now my left hand can go under the trigger guard,

    9   and that's the only way this thumb can reach the cylinder.          The

   10   fingers of this hand simultaneously have to push the cylinder

   11   out of the frame.    At this point my fingers would go through

   12   the now open frame, and the thumb would hit the ejector rod to

   13   clear the shells.

   14             I don't have another hand to hold it with,      so I have

   15   to put it somewhere.     If I had a holster on the left-hand side,

   16    I'd stick it in the holster with the cylinder up.      If not,    I'd

   17   shove it in the waistband.     But either way,   I would have to

   18   remember to hold my thumb on that ejector star we talked about,

   19   because when the ejector rod touched the clothing where the end

   20   of the holster would come up,    it blocks the insertion of any

   21   fresh cartridges.

   22             Once that's there, now this hand has to go to the

   23   ammunition, one cartridge at a time, if we have a pouch or

   24   maybe the speed loader.     If it's the most popular type of speed

   25   loader, with a release knob that turns clockwise, as I turn




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    1   clockwise, the cylinder will turn with it.       So now I've got to

    2   remember to hold the finger to stabilize the cylinder.        And

    3   that's a whole lot of fine motor dexterity and a whole lot of

    4   dancing going on.

    5                Finally, the rounds are in the chamber,   I've got to

    6   draw the gun again, use the trigger finger now to close the

    7   cylinder and come back.      It takes multiple times longer than

    8   the two-hand reload.

    9   BY MR.     COLIN:

   10   Q.   What is the most effective way to address that problem?

   11   A.   The most effective way is not to have to reload because you

   12   had enough cartridges in your pistol to end the fight.

   13   Q.   Are you aware of any statistical data regarding the number

   14   of rounds in which a defensive shooter has had to fire more

   15   than 15 rounds under those circumstances?

   16   A.   No.     To the best of my knowledge -- believe me,   I've looked

   17   for it -- no such data exists.      The reason being, there is no

   18   central repository where that kind of empirical data is

   19   gathered.      We don't even have it for police nationwide.    What

   20   we do have is FBI's officers killed, several every year, but

   21   that's only the officers who are murdered in the line of duty.

   22    It's not at all applicable to all gunfights, which would

   23   encompass the victory by the good guys that we hope we're

   24   looking for.

   25                What we do have on the police side is, there are a




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    1   couple of large departments that every year analyze and detail

    2   every shooting involving their officers.       Now, if one accepts

    3   the extrapolation, the private citizens are going to be

    4   shooting in self-defense at the exact same people the police

    5   are going to be shooting in self-defense, I think it's a

    6   reasonable extrapolation.

    7             Insofar as high round counts, the last year I can find

    8   for the New York City Police Department, the largest in the

    9   country, 3 percent of the shootings that year went over 16

   10   shots fired by police.     On the West Coast, Los Angeles Police

   11   Department, the third largest, it was 5 percent.

   12   Q.   So if we're only talking about 3 to 5 percent, help me

   13   understand why that's significant.

   14   A.   It is significant because in a life-or-death issue,

   15   Mr. Colin, it's not about the odds, it's about the stakes.        I

   16   think the best analogy I could give is, probably everyone in

   17   this room has fire insurance on their home.       If the judge would

   18   ask for a show of hands, okay, how many of you have ever had

   19   your house burn down, you probably wouldn't see more than one

   20   or two hands go up.    Those people would be awfully glad they

   21   have the fire insurance.     Would the rest of us look at each

   22   other and say, darn, we've been cheated by the insurance

   23   company and all of those premiums because our house didn't burn

   24   down?

   25             What we have for every premium, the value we got was




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    1   the peace of mind.     And that is, in essence, exactly what we're

    2   looking at when police or civilians select the firearm they're

    3   going to carry.    The odds say, none of us, even the police, are

    4   ever going to need to shoot anyone during our career.        The odds

    5   say, the cops should be able to be Andy of Mayberry and go out

    6   and do their duty without a gun at all.      But in those moments

    7   when you become the 3 percent, the 5 percent, it's like the

    8   fire extinguisher -- it's like the fire insurance, the cost of

    9   not being prepared for it is so absolutely catastrophic, it is

   10   simply unacceptable.

   11   Q.   Thank you.

   12             I'd like to move on to your training of individuals

   13   who, either due to age or some other infirmity, have

   14   experienced, perhaps not the level of disabilities to which you

   15   previously -- those profound disabilities, but nonetheless fall

   16   into that other 5 to 10 percent of your category of your

   17   students who you've had to develop work-arounds similar to the

   18   work-around for an injured shooter.      Can you describe the

   19   nature of the infirmities, if you will, caused by age or

   20   illness that you've had to address in your instruction.

   21   A.   I'm not sure if they're caused by age or just come with it,

   22   but I'm at an age experiencing it.      Essentially, there, we see

   23   more the tactical disability elements, the -- they can't move

   24   to cover or get in behind cover as effectively.       The current

   25   protocol that's being put forth by the authorities for active




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    1   murder attempt responses is run, hide, fight.         First try to run

    2   and get away, get out of range.      Second, if you can't do that,

    3   hide someplace and hope they can't see you or hope you're

    4   hiding behind something so solid they can't shoot through it

    5   and kill you.      And fight only as a last resort.     The person who

    6   cannot move quickly, the run part and the hide part are off the

    7   table from when the killer's first shot goes off.         Their only

    8   chance is to fight.

    9   Q.   Stop there.     So these folks with these lower-body problems

   10   that you've just described, are those similar to folks with

   11   lower-body disabilities that you've talked about, folks in

   12   wheelchairs, missing legs?

   13   A.   Correct.     It's a matter of degree.

   14   Q.   Well, then, to save a little bit of time, let's combine

   15   those discussions, if we could.      You talked about infirmities

   16   that affect this run, hide, fight situation.        Same true of

   17   lower-body disabilities?

   18   A.   Yes.

   19   Q.   All right.     And so can you describe to the Court the

   20   adverse effect of being unable to run and hide and the methods

   21   that you've developed to try to address those adverse effects.

   22   A.   Basically, there, you become a sitting duck, once again,

   23   that window of helplessness that we've been speaking of.           I can

   24   teach them to shoot while they're moving.        One of the few

   25   advantages of the slow-moving guy is he'll be able to hit




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    1   better than the fast-running guy when he shoots while he's

    2   moving.    But, in essence, if you cannot escape the line of fire

    3   with the opponent, if you cannot outrun the guy coming at you

    4   with a knife, the only chance you have left is to use your

    5   weapon to neutralize his threat.      And that means you need

    6   enough punches to be able to throw to finish the knockout blow

    7   to end the fight.

    8   Q.   I've heard the word in a different context in law

    9   enforcement called cover fire; is that what you're talking

   10   about?

   11   A.   No.   If you shoot -- the object you're shooting is to hit,

   12   particularly in a crowd situation.      Again, we want -- don't

   13   want to jump into that spray and pray.      The whole purpose of

   14   the gun is to deliver accurate fire, perhaps rapid fire,         if

   15   necessary, that will stop the threat.      Shooting while you're

   16   moving, you will have to slow down your rate of fire to get

   17   accurate hits.

   18   Q.   So the -- your ability to return cover fire -- or to

   19   provide the kind of defensive fire that you're talking about,

   20   is that impacted by the number of rounds that you have

   21   available to you before you reload?

   22   A.   Certainly, the more punches you have to throw, the more

   23   likely you are to land the punch that ends the fight.          The

   24   opponent very often is behind heavy cover.       You look at

   25   situations like the Trolley Square Mall mass shooting in Salt




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    1   Lake City, Utah.     The killer was shooting people in the Von

    2   Maur mall -- I'm sorry,    I'm not sure if it was Von Maur or not

    3   -- the Trolley Square Mall.     The first responder was an

    4   off-duty police officer who only had a seven-shot pistol.

    5               He sees the shooter, fires the shot at him.     The

    6    shooter ducks in behind the cover of a store that everybody has

    7   run out of.     And every time he ducks his head out, the officer

    8   takes another shot.     Doesn't hit him, but comes close, and pins

    9   him down.     Everyone is stampeding to the exits.    But during

   10   those moments, the killer has been diverted.       He claims no more

   11   victims from then on.

   12               As the young officer is -- he either ran out of

   13   ammunition or had one cartridge left, the accounts of that

   14   vary .   At that moment, the second responding officer arrived,

   15    joined in the fight, pinned the guy down until the SWAT team

   16   arrived.    And it took the SWAT team 14 rounds of submachine

   17   gunfire and M16 rifle fire to finally kill the killer.        But it

   18   wasn't about posing, it was about sustaining fire that kept him

   19   in position.    And I gather that's what you were talking about

   20   when you spoke of cover fire.

   21               We saw it earlier in the classic 20th century mass

   22   murder, back in '66, the Texas tower.      Charles Whitman had

   23   climbed that tower with literally a footlocker full of guns and

   24   ammunition that he rolled up on a dolly on the elevator.          He

   25   opens fire from the top of the tower, more than 330 feet up.




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    1   The police with .38 caliber revolvers, short-range buckshot,

    2   were helpless to stop him.     Once the people down on the streets

    3   figured out what was going on and saw people falling around

    4   them, hunting rifles started coming out of pickup trucks.

    5              One of the guys who returned fire was a civilian rifle

    6   competitor who had been issued a national match at 14.        And if

    7   you look at the news cam footage of what happened then at the

    8   tower, you see puffs of dust coming off the parapets behind

    9   which Whitman was shooting.     At that point, the last civilian

   10   victim had been killed, once he came under return fire.        The

   11   ability of those multiple people from the ground to pin him

   12   down stopped the killing until another citizen with a rifle

   13   could lead two policemen to the roof and end the whole thing.

   14              Those are examples of the appropriate use of cover

   15   fire,   not spray and pray, nothing that endangers the public,

   16   but something that can hold -- if it can't neutralize the

   17   threat, can at least contain the threat in one spot until

   18   society's forces can be marshaled to close in on it and deal

   19   with it.

   20   Q.   Well, we heard at the outset of this case a list of four or

   21   five indents in which I think -- we're calling the mass

   22   shootings where multiple individuals were shot.       I'd like to

   23   ask the reverse question, in the context that you've just been

   24   talking about.    Are you aware of incidents where law

   25   enforcement officers, as you've previously described, fired




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    1   more than 15 rounds?     Did those involve multiple assailants, is

    2   that usually the case when law enforcement officer is firing

    3   more than 15 rounds?

    4   A.   Not necessarily.    There are any number of things that could

    5   make a law enforcement officer or, for that matter, the private

    6   citizen have to go to a high round count.

    7              Let's say the opponent is firing at you from a

    8   vehicle.   A solidly built automobile is pretty solid cover.

    9   Most pistol bullets are going to have difficulty getting

   10   through a car door, particularly on an angle.       Heavy window

   11   safety glass has the same effect.      So it's going to take a lot

   12   of shots to chew into that car, make the killer inside stop

   13   shooting from there.     He's not in a tank, it's only an

   14   automobile, but we don't have bazookas or antitank rockets

   15   either, so it kind of balances with small arms.

   16              We see today probably more criminals wearing soft body

   17   armor during their crimes than during the time of John

   18   Dillinger in the 1930s.     It's very standard among the cocaine

   19   cowboys.    You saw it here in Colorado at the Aurora theater

   20   with Holmes.    The actual videotape exists from 1997 of the

   21   North Hollywood bank robbery at the Bank of America.        The

   22   suspects, Phillips and Matasareanu -- M-A-T-T-S-E-A-R-A-N-U, I

   23   think -- had got old military surplus flak vests.       They had

   24   disassembled them prior to their robberies with tape strips and

   25   wrapped the bullet-resistant Kevlar around each other's upper




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    1   arms, forearms,    leaving the joints uncovered so they could flex

    2   their limbs, thighs and calves, and heavy armor around the

    3   torsos.   They put on these big coveralls.

    4             And if you look at the action news cam footage of the

    5   44 minutes of that shooting, they look like the Michelin tire

    6   men.

    7             Police, once again, were limited to medium-caliber

    8   pistols, 9 millimeter and .38 and shotguns with buckshot.        You

    9   can see these guys jerking and flinching as the bullets hit

   10   them, but they have absolutely no effect.       They are using

   11   totally illegal machine guns, for which they have a four-figure

   12   round count of ammunition with them.      They lay 13 good people,

   13   cops and civilians, down on the street before the SWAT team

   14   gets there and it's over.     I do not recall what the round count

   15   was, but the round count was huge.

   16             The running opponents or running and shooting, it's a

   17   more difficult marksmanship problem.      It will take more shots

   18   to hit them.     The guy who knows how to take cover, that is

   19   going to take more shots to keep him there or maybe shoot

   20   through the cover.

   21             Multiple opponents.    We look at the typical hit ratio

   22   on the street.     New York City Police tends to run in the mid

   23   30th percentile.     That is about 34, 35 percent of the shots

   24   they fire in actual combat will hit the suspect.       Let's, for

   25   the sake of argument, assume the private citizen has the same




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    1   hit potential, hits with the same ratio.       We have three home

    2   invaders kick down the door.     You're going to need three shots

    3   apiece to get one bullet into each of them.       And you ask

    4   yourself, how many rounds do I have?      How many rounds will it

    5   take to stop them?

    6             We have cases, one out of Cook County, Illinois.       A

    7   heroin addict doing a liquor store robbery.       Took 33 rounds, 33

    8   hits from 9 millimeter pistols.      Stayed on his feet until

    9   finally one or two shotgun blasts put him down.       We have case

   10   after case where these guys just turn into bullet sponges.

   11             The medical examiners tell us that since they are

   12   going through the same fight-or-flight response as the

   13   defenders, the -- the adrenaline release will leave no artifact

   14   in the body.    There is no postmortem artifact to test for

   15   adrenaline like you can test for cocaine or heroin.        If there

   16   was, we could never tell how much that particular person was

   17   affected by that particular internally generated substance.

   18             Then you start looking at the drug use.      If your

   19   assailant is on cocaine -- let's say, crack cocaine, which is

   20   an intensified form of flake cocaine        one of the ways cocaine

   21   gives its rush is adrenaline release in the body.       So he is,

   22   essentially, that much more supercharged, that much stronger,

   23   that much more capable of absorbing pain and trauma before you

   24   put him down.

   25             So when you read about these situations where many,




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    1   many shots were fired at the criminal before the criminal goes

    2   down, you have to remember, that's not necessarily spray and

    3   pray.     It may well be any number of any combination of

    4   circumstances that kept him up and running.        Real life is not

    5   like TV, where one shot is fired, and the bad guy goes flying

    6   through a plate glass window like he's scooped up by an

    7   invisible giant.

    8   Q.     Which he may have been on TV.

    9               You've talked about a number of events where multiple

   10   rounds were fired.     I'd like you to focus just for a minute on

   11   events of which you are aware in which multiple rounds, more

   12   than 15 rounds, were necessary for a civilian defensive gun

   13   use.     And I'd like you to tell us whether or not you are aware

   14   of any such incidents.

   15   A.     The largest one I'm aware of was a man I became friends

   16   with, Harry Beckwith, in Micanopy, Florida, M-I-C-A-N-O-P-Y.

   17               Harry ran a gun shop in Alachua County.     There had

   18   been robberies,    so he had a lot of security in place, and he

   19   lived next door to the gun shop.       One night the alarm     he

   20   hears a crash, and, of course, the alarms are going off.        And

   21   he looks out, and multiple carloads of perpetrators have driven

   22   through the door and window to run in and scoop all the guns

   23   and stuff.

   24               Harry is not about to put up with that, and he figures

   25   he will interject, yell at them,       "stop or I'll shoot,"




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    1   something like that.     Harry has on a pistol.     He is a licensed

    2   machine gun dealer, and he grabs a fully automatic M16 and a

    3   fully automatic 9 millimeter submachine gun.        He also after the

    4   stop sees a gun in their hand coming up toward him, and he

    5   starts shooting.    By the time that was over, Harry had fired

    6   more than 100 rounds.     One of the perpetrators was killed, one

    7   or more wounded, all of them captured and convicted, and he was

    8   cleared by the grand jury.

    9             Others I'm aware of, there was a string of I think

   10   five gunfights involving a man named Lance Thomas.        He owned a

   11   watch shop and Rolex repair center in Los Angeles.        After the

   12   first gunfight, he started staging multiple handguns.        He had a

   13   very small workplace, not a heck of a lot bigger than this

   14   witness stand, and he had barred doors.      And he would buzz in

   15   people after he looked through the window and was comfortable

   16   with their look.    And a few of them got through anyway.      He had

   17   a pistol staged probably every 3 or 4 feet behind the counter.

   18    It was safe in there because it was a secured workplace, and

   19   there was no chance of little kids getting at them or anything.

   20             In the course of five gunfights,      at least one of his

   21   went beyond 16.    It was either 17 or 19 shots before the last

   22   of the multiple perpetrators was either down or had fled.

   23             There was another where I debriefed the survivors.

   24   Two brothers owned a jewelry store.      They called it the Beverly

   25   Hills Jewelry Store, but it was located in Richmond, Virginia.




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    1   They had done something very similar.      They had bought a large

    2   number of five-shot .38 revolvers and staged them behind the

    3   counter, so if there was a robbery at any point, the person

    4   behind the counter would be within a few steps of a gun to

    5   fight back with.

    6             Their shootout was with two old gangster type guys,

    7   both members of the Dixie Mafia.      They walked in, one with a

    8   sawed-off shotgun, one with a .45.      And in the course of the

    9   firefight,   I actually lost count of how many guns one brother

   10   emptied, pinning one of them down.      The other brother shot and

   11   killed the perpetrator with the .45, then went to the shotgun.

   12   And between the two, they were able to finally put both of them

   13   down .

   14   Q.   So these multiple staged firearms seem to be a fairly

   15   even low-capacity firearms,     seem to be a fairly effective

   16   method of home defense, then, would it not?

   17   A.   No, not at all.     What you had, particularly in the Lance

   18   Thomas case, and to a significant degree in the Beverly Hills

   19   Jewelers case, is these were in secured areas.       Lance Thomas

   20   worked alone.    He did not have employees, to my knowledge.        The

   21    jewelry store, only trusted employees were allowed behind

   22   there.

   23             In the home,    I think it would be madness staging a

   24   loaded gun in instant reach every few feet.       Because what are

   25   you going to do when the neighbors or the relatives come by




                                                                  APP. 832
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    1   unexpectedly with their little kids?       What are you going to do

    2   when -- you know, when the burglar walks into the house while

    3   you're gone and finds,      there is ten guns laying around waiting

    4   for, you know, quick draw?       I would consider it not only

    5   totally impractical, but a little bit reckless to have that

    6   many loaded guns staged in plain sight and easy reach in

    7   anyone's home.

    8   Q.   Does the law enforcement exemption in 18-12-302 provide law

    9   enforcement officers with an advantage over armed criminals?

   10   A.   Only if the armed criminals obey that law.

   11   Q.   What about civilians, meaning, do --

   12   A.   I'm not sure I understand --

   13   Q.   Do criminals have an advantage over civilians with regard

   14   to the capacity limitations of the magazine?

   15              MS. MORRILL:     Objection, Your Honor.   Foundation.

   16              THE COURT:     Sustained.

   17   BY MR. COLIN:

   18   Q.   Have you reviewed report of a Dr. Jeffrey Zax?

   19   A.   I have.

   20   Q.   And in his report, Dr. Zax opines,     "The use" -- and I'm

   21   quoting,   "The use of firearms for purposes of assault seems to

   22   far exceed the use for the purposes of self-defense."

   23              Do you agree with that proposition?

   24   A.   I do not.

   25   Q.   Why not?




                                                                  APP. 833
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    1   A.   As I read Dr. Zax's report, he is comparing all criminal

    2   assaults with firearms to only justifiable homicides committed

    3   by private citizens.      What is called in the trade DGUs,

    4   defensive gun usages, by private citizens are very much like

    5   the police.    Overwhelmingly, the great majority of the time,

    6   when the gun comes out, the fight is over.        The criminals

    7   submit to the officer, may even submit to a homeowner,

    8   citizen's arrest, or runs away.

    9             There are a number of cases where the victim shoots

   10   the attacker, the attacker does not die, he either runs away

   11   and is arrested later or collapses at the scene.         Of course,

   12   when he stops attacking, the citizen stops shooting.         And none

   13   of those figure into the report that I read by Dr. Zax.

   14   Q.   Dr. Zax also opines that "mass shootings are more

   15   lethal" -- more lethal -- "Mass shootings are more lethal when

   16   executed using large-capacity magazines.         If these magazines

   17   become less widely available, there is some chance that mass

   18   shootings will become somewhat less horrific."

   19             Do you agree with that proposition?

   20             MS. MORRILL:     Objection, Your Honor.    Foundation.

   21             THE COURT:     Response.

   22             MR. COLIN:     Your Honor, the foundation for his

   23   response to Dr. Zax's opinions has been, we believe, adequately

   24   established throughout his testimony here.        He is an expert

   25   in -- well,   let me withdraw that.    Let me build a foundation.




                                                                   APP. 834
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    1                THE COURT:   Thank you.

    2   BY MR.   COLIN:

    3   Q.   Do you know the basis upon which Dr. Zax rendered that

    4   opinion?

    5   A.   I would have to go back and review his report.        I do not

    6   recall as I sit here.

    7   Q.   Then let me move on to a different topic area.        Defendant

    8   suggested that the delay associated with a suspect's need to

    9   reload gives potential victims an opportunity to intervene.

   10                My understanding is that you actually instruct

   11   individuals on disarming suspects; is that right?

   12   A.   I do.

   13   Q.   Do you believe that intervention is an appropriate method

   14   by virtue of which to deal with an armed suspect who has a

   15   lower magazine capacity firearm.

   16   A.   Well, first,    let's clarify for the record, attempting to

   17   disarm is something we would only recommend if the -- if it's

   18   obvious the guy is going to kill somebody.         He's just said, I'm

   19   going to kill this person, I'm going to do a countdown, or the

   20   killing has already begun.       At that point, the -- any officer,

   21   any armed citizen with a gun, their best recourse would be to

   22   go to their own gun.

   23                For the many who do not,    it would be at that point

   24   that it would make sense to attempt to intervene.         But to wait

   25   until he has expended -- okay.         Let's say he's only got a




                                                                   APP. 835
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    1   15-shot magazine         heck, let's say he's only got a ten-shot

    2   magazine.       I'm standing behind him, I've heard a shot, I turn

    3   around, here is this guy behind me shooting into the crowd.            Am

    4    I supposed to wait and let him shoot nine more,       let him shoot

    5   fourteen more?       If you're going to disarm him, disarm him now.

    6                 The whole concept of disarming with a firearm, why

    7   it's actually easier than with a knife, is the firearm only

    8   directs its force in one very specific direction.         If you can

    9   get in behind the muzzle of the gun and you know how to apply

   10   leverage, you have a very good fighting chance of disarming him

   11   now.     The recoiling slide of the pistol as he pulls the trigger

   12   might give you minor cuts on your hands.         You could fix that

   13   with a bandaid.       The very hot barrel of, let's say, a machine

   14   gun, there is going to be a burn on your hand that is going to

   15   heal.

   16                 The rationale of waiting until he runs dry allows him

   17   to kill numerous victims.       And what's to say during that

   18   period, he won't kill you.       If you're close enough to grab him

   19   and disarm him, you're close enough to be one of the primary

   20   targets.

   21   Q.     Are you aware of circumstances where that's occurred?

   22   A.     Yes.

   23   Q.     Can you describe that, please.

   24   A.     Let's look at one of the most recent.      Sparks, Nevada,

   25   last year.      A 12-year-old kid brings a gun to school, starts




                                                                   APP. 836
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    1   shooting.     The math teacher attempts to get the gun away from

    2   him.    He didn't -- my reading of it is, he didn't jump him.          He

    3   was approaching him and trying to talk to him down.        He never

    4   got there.     The kid shot him in the chest and killed him, then

    5   committed suicide.

    6               Your classic sample, Sandy Hook.    You look at the

    7   first victim, Dawn Hochsprung.      She's about 5 feet 2 inches

    8   tall.   Lanza literally shoots his way through that front door.

    9   She charged him.     She charged him, clearly going for an attempt

   10   to disarm.     Going from the front on a guy who has got the gun

   11   up is hopeless.     She was the first to die, and the dominoes

   12   fall from there.

   13               Where you'll see the successful disarm will be the

   14   very physically strong person who is in a position.        The     I

   15   want to say it was the Barry Loukaitis mass shooting,

   16   L-O-U-K-A-T-I-S.     Loukaitis was a 14-year-old boy who went to

   17   school and opened fire.     A large male gym teacher jumps him,

   18   diverts the muzzle of the gun, and wrestles him down and gets

   19   the gun away.     If you can get onto the gun without being shot,

   20   you're a large male gym teacher against an average-sized kid,

   21   God bless that man for doing that.      But most people will not

   22   have that physical advantage.

   23               In New Hampshire, 1997, the Carl Drega murder spree.

   24   Drega had murdered two state troopers.      He had hunted down the

   25    local judge that he hated, Judge Vickie Bunnell, and shot her




                                                                  APP. 837
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    1   in the back.        A man named Dennis Joos, J-O-O-S, a physically

    2   small man, a newspaper publisher whose office was next door to

    3   Judge Bunnell's,       jumped him and tried to get the gun away from

    4   him.     Drega, who was 6-foot 3, 240 pounds, and rock solid,      just

    5   knocked him to the ground, said, Mind your own F-ing business,

    6   and shot him dead.

    7               What that tells us is, there are the occasional

    8   successful disarms.        If we tell the public, hey, we're going to

    9   try to give you a little opening here so it will be safe for

   10   you to jump the guy and get the gun away, that means nobody is

   11   going to try to disarm him until all of those rounds have been

   12   fired and X number of those victims have been claimed.          So in

   13   the end, I don't think there is going to be a whole lot of

   14   change in the victim count based on round count, particularly

   15   because the great majority of these things have involved guns

   16   that were not the so-called high-capacity magazines under

   17   discussion today.

   18   Q.     Thank you.

   19               I have no further questions of this witness.

   20               THE COURT:     I think this might be a good time to take

   21   our afternoon recess.        The court clock is showing about 2:40,

   22   and we'll reconvene at 2:55.        We'll stand in recess until then.

   23               (Recess at 2:39 p.m.)

   24               (In open court at 3:04 p.m.)

   25               THE COURT:    Are we ready for cross-examination?




                                                                   APP. 838
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    1             MS. MORRILL:     Thank you, Your Honor.      We have no

    2   cross-examination for this witness.

    3             THE COURT:     Thank you.

    4             Can this witness step down and be excused?

    5             MR. COLIN:     He may.     I would ask to withdraw Exhibits

    6   93 and 94, please.

    7             THE COURT:     Any objection?

    8             MS. MORRILL:     No objection.

    9             THE COURT:     All right.     Then, thank you very much,

   10   sir.   You may step down.     You are excused.

   11             And Exhibits 93 and 94 are withdrawn.          I think that

   12   means they go back into the briefcase.

   13             MR. COLIN:     I'm hoping.     The person who brought them

   14   is here to take them.

   15             THE COURT:     Would you call your next witness, please.

   16             MR. COLIN:     Sorry?

   17             THE COURT:     Next witness.

   18             MR. FABIAN:     Thank you, Your Honor.       Plaintiff would

   19   call Dave Gill.

   20             THE COURT:     Thank you.

   21                 (DAVE GILL, PLAINTIFFS' WITNESS, SWORN)

   22             COURTROOM DEPUTY:        Please be seated.

   23             Please state your name and spell your first and last

   24   name for the record.

   25             THE WITNESS:     Dave Gill, D-A-V-E, Gill, G-I-1-L.




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    1                THE COURT:      Ready to proceed?

    2                MR.   FABIAN:    Yes, Your Honor.   Thank you.

    3                THE COURT:      Please do so.

    4                                 DIRECT EXAMINATION

    5   BY MR.   FABIAN:

    6   Q.   Mr. Gill, are you a Colorado resident?

    7   A.   Yes, I am.

    8   Q.   How long have you been a Colorado resident?

    9   A.   Since 1983.

   10   Q.   Where do you live?

   11   A.   I live in unincorporated Douglas County.

   12   Q.   Are you a member of the Colorado State Shooting

   13   Association?

   14   A.   I am.

   15   Q.   For how long?

   16   A.   Been a member since 2000.

   17   Q.   What is the Colorado State Shooting Association, what does

   18   it do?

   19   A.   Well,    its primary function is to provide shooting

   20   opportunities to law-abiding Colorado citizens.

   21   Q.   And is that the stated mission or purpose of the

   22   association?

   23   A.   Yes, it is.       We also do bring people together to provide a

   24   uniform voice in governmental issues.

   25   Q.   As a member of CSSA -- do you mind if I refer to the




                                                                      APP. 840
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    1   shooting association as CSSA?

    2   A.   Please do.

    3   Q.   Is it safe to say you're a shooter and gun owner?

    4   A.   Yes, I am.

    5   Q.   Are you also a hunter?

    6   A.   I am.

    7   Q.   How long have you been shooting?

    8   A.   Since 1959.

    9   Q.   What types of shooting have you engaged in or currently

   10   engage in?

   11   A.   Trapshooting, sporting clay shooting, target shooting,

   12   variety, both with shotguns and rifles and handguns.

   13   Q.   And what type of hunting have you participated in?

   14   A.   In the past, I have participated in bow hunting, which I no

   15   longer do because of an injury.      But big game hunting for elk

   16   and deer.

   17   Q.   And does that big game hunting involve use of firearms?

   18   A.   Yes, it does.

   19   Q.   Is it fair to say you're well acquainted with firearms in

   20   general and a wide variety of firearms?

   21   A.   Yes, I have.

   22   Q.   Have you ever used firearms that accept detachable

   23   magazines with a capacity of more than 15 rounds?

   24   A.   I have.

   25   Q.   Have you ever owned any of these types of firearms?




                                                                  APP. 841
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    1   A.   I have, several.

    2   Q.   Without getting into every single type of firearm you own

    3   and how many, do you own an AR-15 style rifle?

    4   A.   Yes, I do.

    5   Q.   What type or make model is it?

    6   A.   Well, there are three.    One is made by Colt, another is a

    7   Bushmaster target rifle that I received through the Civilian

    8   Marksmanship Program, and the other is a tactical AR.

    9   Q.   But they're all built on the AR-15 style platform; is that

   10   correct?

   11   A.   Yes, they are.

   12   Q.   What type of magazines do you use in those rifles?

   13   A.   The standard-capacity magazines.

   14   Q.   Okay.   What is standard-capacity magazines?

   15   A.   Twenty and thirty rounds.

   16   Q.   And what do you use these rifles for?

   17   A.   Different things.    Mostly for either varmint control, home

   18   defense, and target shooting.

   19   Q.   Are -- you mentioned varmint control.      What specifically

   20   are you talking about?

   21   A.   Cutting down the population of prairie dogs.

   22   Q.   And have you seen other hunters or varmint controllers use

   23   AR style rifles?

   24   A.   They're very popular for that, yes.

   25   Q.   Have you ever used a handgun while hunting?




                                                                  APP. 842
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    1   A.   I've carried a handgun with me while hunting.

    2   Q.   So was -- were you carrying the handgun to hunt with or for

    3   another purpose?

    4   A.   For self-defense.

    5   Q.   Okay.     And defense against what?

    6   A.   Two-legged and four-legged critters.

    7   Q.   To be a little more specific for the record, are you

    8   talking about both animals and people?

    9   A.   Yes.    And when hunting in the East Coast, it is often

   10   considered necessary.

   11   Q.   So is there a time when you actually had to use or were

   12   glad that you had a handgun for self-defense while you were

   13   hunting?

   14   A.   Personally, no.     I've never needed it.

   15   Q.   Now, do you hold any leadership position in Colorado State

   16   Shooting Association?

   17   A.   I'm the vice president.

   18   Q.   How long have you been vice president?

   19   A.   Since 2001.

   20   Q.   And what do you do as vice president of the association?

   21   A.   Primary duties are to assist the president and to fill in

   22   for him when he is not present.

   23   Q.   So, essentially, you occupy the second highest position of

   24   the association?

   25   A.   Yes,    I do.




                                                                  APP. 843
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    1   Q.   And is it fair to say, then, you are familiar with CSSA and

    2   its operation, at least in a general way?

    3   A.   Yes, I am.

    4   Q.   Is CSSA associated in any way with the National Rifle

    5   Association of America?

    6   A.   Yes, we are the official state association for NRA.

    7   Q.   And is one of the functions that CSSA performs under the

    8   auspices of the NRA the sanctioning of firearm competitions?

    9   A.   Yes, it is.

   10   Q.   Do some of those shooting competitions involve the use

   11   firearms that use or accept magazines with the capacity of

   12   greater than 15 rounds?

   13   A.   Yes, they do.

   14   Q.   Do shooting competitions involving the use of firearms that

   15   use magazines of greater than 15 rounds have specific

   16   limitations on magazine capacities?

   17   A.   No, they don't.

   18   Q.   Do any of these competitions, though, require that shooters

   19   load more than 15 rounds at any single time?

   20   A.   No.

   21   Q.   That being -- that being established, do shooters in these

   22   competitions still use magazines that have capacities of

   23   greater than 15 rounds?

   24   A.   Yes, they do.     The normal capacity magazines are the ones

   25   that are commonly used.




                                                                  APP. 844
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    1    Q.   And why is that?

    2   A.    They're more reliable.

    3              MS. SCOVILLE:     Objection.    I don't think that this

    4   witness has established the personal knowledge on a non-hearsay

    5   basis for this information.

    6              THE COURT:     Your objection is to foundation?

    7              MS. SCOVILLE:     Yes.

    8              THE COURT:     Response.

    9              MR. FABIAN:     Your Honor,    I think he's already said

   10   he's familiar with CSSA sanctioning.          If the Court is not

   11   satisfied, I can lay further foundation.

   12              THE COURT:     I think the foundation is adequate.

   13   BY MR. FABIAN:

   14   Q.    You can answer the question, Mr. Gill.        Do I need to reask

   15   the question?

   16   A.    Would you please.

   17   Q.    You mentioned that shooters in competition still use

   18   magazines of a capacity of greater than 15 rounds.          Why is

   19   that ?

   20   A.    Because they're more reliable in their function .

   21   Q.    Now, are you familiar with Colorado Revised Statute

   22   18-12-301, et sequentes, commonly known as House Bill 1224?

   23   A.    Yes, I am.

   24   Q.    Even though the competitions you discussed don't require

   25   loading more than 15 rounds at any specific time, does the




                                                                    APP. 845
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    1   restriction of Colorado Revised Statute 18-12-301, 302, and 303

    2   have any adverse effect on shooters competing in those matches

    3   or competitions?

    4   A.    Yes, I think it will.

    5   Q.    What is that?

    6   A.    Well,   it will give older shooters, current shooters, a

    7   tactical and significant advantage over new shooters that are

    8   coming in to the sport because the new shooters won't be able

    9   to have the normal-capacity magazines that those of us who have

   10   been around a few years have in adequate supply.       If they --

   11    Q.   I'm sorry.

   12   A.    Go ahead.

   13   Q.    If I understand you correctly, you're saying, shooters who

   14   aren't in the sport now but who may enter the sport down the

   15   road are not going to have the opportunity to obtain and use

   16   the magazines that are the preferred type of magazine in the

   17   competition?

   18   A.    Yes, they'll be barred from ownership of them legally.

   19   Q.    Have you, yourself, ever used a magazine that was modified

   20   to accept fewer than its original full complement of rounds?

   21   A.    I have used a ten-round magazine that came with a Colt

   22   rifle, yes.

   23   Q.    How did you find its reliability compared to

   24   standard-capacity magazines ?

   25   A.    Substandard, and I discontinued using it rather quickly




                                                                  APP. 846
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    1   because of the lack of reliability.

    2   Q.   Specifically, when you say "lack of reliability," what was

    3   the specific problem that you encountered?

    4   A.   Frequent failure to feed and occasional severe jams.

    5   Q.   Is magazine reliability important to competitive shooters?

    6   A.   It's critical.

    7   Q.   Why?

    8   A.   Well, they're timed events.     So that if you are fighting

    9   with your rifle because it didn't feed properly or jammed,

   10   you're losing time.      The jams can be so severe that, basically,

   11   you're out of the competition if you don't have another rifle

   12   with you and the match will not allow you to substitute.

   13   Q.   Is CSSA affiliated in any way with the Civilian

   14   Marksmanship Program?

   15   A.   We're the official state organization in Colorado.

   16   Q.   What is the Civilian Marksmanship Program?

   17   A.   It's a program established by Congress to encourage safe

   18   and accurate use of firearms,     specifically, of military type

   19   firearms.

   20   Q.   And I'm going to refer to the Civilian Marksmanship Program

   21   as CMP.      Is that all right?

   22   A.   Please do.

   23   Q.   Okay.    Does CMP sell magazines -- I'm sorry, does CMP sell

   24   firearms that accept magazines with greater than 15-round

   25   capacity?




                                                                  APP. 847
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    1   A.   Yes, they do.

    2   Q.   What type of firearms would those be?

    3   A.   The ones that come to mind immediately are the Ml carbine

    4   and the AR.

    5   Q.   The AR-15 type model that you previously discussed that

    6   your -- the type of firearm that you own?

    7   A.   Yes.

    8   Q.   Has CSSA ever purchased any firearms from CMP?

    9   A.   Yes, we have.   We've purchased both the AR target rifles

   10   and Ml.

   11   Q.   For what purpose were those purchased?

   12   A.   To facilitate our lending of firearms to new shooters,

   13   people who are looking at the sport and trying to see if

   14   they're interested in pursuing it, if so, what type of target

   15   rifle they may be interested in purchasing.

   16   Q.   So does CSSA make both the Ml Garands and the AR-15 type

   17   rifles available for loan for individuals who wanted to use

   18   them in shooting competitions?

   19   A.   Yes, we have.

   20   Q.   And do these loans frequently exceed 72 hours in length?

   21   A.   Yes, they do.

   22   Q.   What might -- what might be the longest period of time they

   23   may be loaned for?

   24   A.   The longest I am aware of is two years.      Generally, it's

   25   one year; sometimes for a specific match.




                                                                  APP. 848
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    1    Q.   As we previously discussed, AR-15 type rifles accept

    2   magazines with capacity of, standard, 20 and 30 rounds,

    3   correct?

    4   A.    Yes, they do.

    5   Q.    Did CSSA provide these sized magazines with the AR-15

    6   rifles that they loaned?

    7   A.    We did.

    8   Q.    Now, are you familiar with the Colorado Revised Statute

    9   18-12-112, we've commonly referred to this in this lawsuit as

   10   House Bill 1229?

   11   A.    I am.

   12   Q.    And what effect did this law have on the CSSA rifle loaner

   13   program?

   14   A.    It forced us to suspend it.

   15   Q.    Why was the program suspended?

   16   A.    The amount of time and work required to try to understand

   17   and comply with the requirements of what I'm going to refer to

   18   as 1229, if I may, were excessive and exceed our ability.

   19   Q.    Okay.     Could you be a little more specific about -- with

   20   respect to 1229, let me just ask the question this way:        Did

   21   CSSA find it easy to conduct background checks every time these

   22   rifles were transferred for possession?

   23   A.    No, we did not.

   24   Q.    Also,   I think you've already testified that magazines of

   25   greater than 15 rounds -- greater than 15-round capacity were




                                                                  APP. 849
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    1   also usually provided with these rifles, correct?

    2   A.   Yes, they were.

    3   Q.   You previously testified that you were familiar with the

    4   Colorado statute pertaining to magazine limitations, 18-12-301,

    5   302, and 303, correct?

    6   A.   Yes.

    7   Q.   Does that have any effect on the CSSA loaner program?

    8   A.   It would have required that we either lend the rifles

    9   without a magazine, which wouldn't have been particularly

   10   useful for the individual borrowing it, or acquire magazines

   11   that were compliant with that.

   12   Q.   With respect to the concerns with respect to these laws

   13   affecting the CSSA loaner program, did you warrant this program

   14   when you testified last year in opposition to these laws?

   15   A.   Excuse me I missed part of your statement.

   16   Q.   Did you testify in opposition to either of these statutes

   17   that we've referred to in your testimony?

   18   A.   Yes,    I did.

   19   Q.   Okay.     And in the course of that testimony, did you in fact

   20   make it known to the legislators involved that these -- this

   21   legislation would adversely affect the CSSA loaner program?

   22   A.   I did.

   23                MS. SCOVILLE:    Objection, Your Honor.   The legislative

   24   history has been stipulated and admitted as an exhibit,        so this

   25   is cumulative testimony.




                                                                   APP. 850
      Case 1:22-cv-02256-RC Document 24-11 Filed 01/23/23 Page 86 of 99
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    1              THE COURT:    Response.

    2              MR. FABIAN:    I'm just asking Mr. Gill to verify that

    3   this information was made available to the legislature.

    4              THE COURT:    It's cumulative.

    5              MR. FABIAN:    I understand, Your Honor.

    6   BY MR. FABIAN:

    7   Q.   Mr. Gill, did CSSA ever provide background checks on

    8   individuals who checked out these loaner rifles?

    9   A.   No, they did not.

   10   Q.   If the 14 years you've been a member, 13 years as vice

   11   president, has there been any incident or episode involving the

   12   criminal use, possession of one of the CSSA loaner rifles?

   13   A.   No, there was not.

   14   Q.   Was the purpose of the loaner rifle program, as you

   15   previously explained, made clear to those who used the rifles?

   16   A.   Yes, it was.

   17   Q.   In other words, were the rifles offered for any other

   18   purpose, such as hunting?

   19   A.   No.

   20              MR. FABIAN:    If I may have a moment, Your Honor?

   21              THE COURT:    You may.

   22              MR. FABIAN:    I have no further questions at this time,

   23   Your Honor.

   24              THE COURT:    Thank you.

   25              Cross-examination.




                                                                  APP. 851
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    1                             CROSS-EXAMINATION

    2   BY MS. SCOVILLE:

    3   Q.   Good afternoon, Mr. Gill.

    4   A.   Good afternoon.

    5   Q.   You spoke this afternoon about the loans of CSSA rifles for

    6   competition, correct?

    7   A.   Correct.

    8   Q.   And you don't know exactly how many rifles CSSA has for

    9   loans, right?

   10   A.   Not specifically at this moment, no.

   11   Q.   CSSA lends Ml Garands, you mentioned?

   12   A.   Yes.

   13   Q.   And an Ml Garand has a capacity of eight rounds,      correct?

   14   A.   Correct.

   15   Q.   So those rifles are not affected by 18-12-302 or House Bill

   16   1224?

   17   A.   No, they have not been.

   18   Q.   The AR-15 style rifles that are available for loaning have

   19   a detachable box magazine, you testified, correct?

   20   A.   Yes, they do.

   21   Q.   And the AR style platform rifles were made with

   22   lower-capacity magazines during the federal assault weapons

   23   ban, correct?

   24   A.   Yes, they were.

   25   Q.   And lower-capacity magazines are available for those rifles




                                                                  APP. 852
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    1   at this time, right?

    2   A.   I assume they are.

    3   Q.   And it would be possible for CSSA to loan AR style rifles

    4   with smaller magazines, right?

    5               MR. FABIAN:     Objection, asked and answered on direct.

    6               THE COURT:    Overruled.

    7   BY MS. SCOVILLE:

    8   Q.   You can go ahead and answer.

    9   A.   I suspect it would be possible that we could do it, but it

   10   would put those people at a competitive disadvantage.

   11   Q.   It would also be possible to loan the AR style rifles

   12   without any box magazine attached and permit competitors to

   13   supply their own, correct?

   14   A.   As far as 1224 goes, yes.         As far as 1229, I don't believe

   15   that would be possible for us.

   16   Q.   Well, certainly would be possible if the competitor went

   17   through a background check, wouldn't it?

   18   A.   Yes.

   19               THE COURT:    Counsel, would you speak up a little bit,

   20   please.     It's hard to hear you.

   21               MS. SCOVILLE:     Certainly.    I think with these high

   22   heels on,    I'm taller than the microphone today.

   23               THE COURT:    Well, feel free to take them off if you'd

   24   like .

   25   BY MS. SCOVILLE:




                                                                    APP. 853
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    1   Q.   You mentioned that CSSA has made loans of the rifles for up

    2   to a period of two years, correct?

    3   A.   Correct.

    4   Q.   I believe you just testified that CSSA has not done

    5   background checks on any of the competitors who borrowed the

    6   rifles?

    7   A.   Correct.

    8   Q.   So CSSA was not aware of whether any of these people had

    9   outstanding warrants, right?

   10   A.   I suppose anything is possible, but we've never had a

   11   problem.

   12   Q.   It's not something you would know because you never did a

   13   background check, right?

   14              MR. COLIN:   Objection, argumentative.

   15              THE COURT:   Overruled.

   16   BY MS. SCOVILLE:

   17   Q.   You can go ahead and answer.

   18   A.   It's our experience that the people who are involved in the

   19   shooting sports do not have these problems.       We've never had a

   20   problem with it.

   21   Q.   My question was,   I believe, you are not aware of whether

   22   any of these people who borrowed the guns for competition had

   23   outstanding warrants, right?

   24   A.   No, we're not aware of that.

   25   Q.   And you're not aware of whether any of the people who




                                                                  APP. 854
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    1   borrowed the firearm for competition had outstanding domestic

    2   violence restraining orders?

    3   A.   I suppose inasmuch as anything could be possible,       I suppose

    4   that could occur.        But, once again, there was never a problem

    5   in all the years.

    6   Q.   My question was, you are not aware of any instances of

    7   people having domestic violence retraining orders, because you

    8   didn't check, correct?

    9   A.   No, we did not.

   10   Q.   And you didn't check to see whether any of the people to

   11   whom you had loaned guns for competition were felons?

   12   A.   Excuse me.       I couldn't hear you.

   13   Q.   Were felons?

   14   A.   Well, once again, anything being possible,       I suppose, yes,

   15   it could be.      But we're not aware --

   16   Q.   But you did not know?

   17   A.   No.

   18   Q.   You have read Section 18-12-122, or House Bill 1229,

   19   haven't you?

   20   A.   Yes,   I have.

   21   Q.   All right.       And you are aware that there is an e x ception to

   22   the background check requirement in that bill for competition

   23   that takes place at a shooting range, correct?

   24   A.   Yes, if that shooting range is being operated by an

   25   incorporated entity.




                                                                    APP. 855
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    1   Q.   And CSSA-sanctioned events do take place at incorporated

    2   rifle clubs, right?

    3   A.   I believe they're all incorporated.        I've never checked.

    4   Q.   And the legislation also includes an exception from the

    5   background check requirement for competition -- for shooting

    6   competitions, right?

    7   A.   Under certain circumstances.     But to qualify for that, we

    8   would have to deliver the firearms to the range at the

    9   competition and then return with them.         Part of our program has

   10   been that the people have to learn also not only to handle and

   11   fire the firearm safely, but also to maintain and care for it.

   12   And that would not be possible if we had to do all of the

   13   cleaning, maintenance, and care of the rifles.

   14   Q.   The Section 18-12-112 also includes an exception for

   15   temporary transfers of up to 72 hours, correct?

   16   A.   Yes.

   17   Q.   And CSSA competitions are all under 72 hours, right?

   18   A.   Frequently, the guns are not returned within 72 hours

   19   because of the need to take them home, clean them, lubricate

   20   them, et cetera.

   21   Q.   Yes, but that wasn't my question.     My question was, you are

   22   not aware of any CSSA-sanctioned shooting competitions that

   23   last longer than 72 hours, correct?

   24   A.   No, that's correct.

   25   Q.   Now, there are no CSSA-sanctioned events that require a




                                                                   APP. 856
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    1   competitor to use a magazine or a firearm that has a capacity

    2   of greater than 15 rounds, right?

    3   A.   True.

    4   Q.   In any of the CSSA sanctioned pistol events, the maximum

    5   number of rounds that could be fired at any time -- strike

    6   that.   Any of the CSSA sanctioned pistol events, the maximum

    7   number of rounds that would be permitted to be loaded at any

    8   time is ten, right?

    9   A.   Yes.

   10   Q.   And in any of the CSSA sanctioned rifle events, the maximum

   11   number of rounds that would be permitted to be loaded at any

   12   time is eight, correct?

   13   A.   Yes.

   14   Q.   You mentioned that competitors prefer large-capacity

   15   magazines.     And when I use the term "large-capacity magazines,"

   16    I mean those that are of 16 rounds or greater.      You have

   17   testified that competitors prefer large-capacity magazines

   18   because they're more dependable, right?

   19   A.   I've testified that normal-capacity magazines are

   20   preferred.

   21   Q.   All right.    And "normal" in your definition is, for an AR

   22   style rifle,    20 or 30 rounds, right?

   23   A.   Yes, it is.

   24   Q.   Okay.   And you have experienced problems with the Colt

   25   ten-round magazine that you used on a Colt AR style rifle,




                                                                  APP. 857
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                                     Dave Gill - Cross

    1   correct?

    2   A.   Yes.

    3   Q.   And you had problems with one magazine, right?

    4   A.   Yes.

    5   Q.   And that happened in the late 1990s, correct?

    6   A.   Correct.

    7   Q.   You are not aware of any data or studies showing that

    8   lower-capacity magazines for AR style rifles are less reliable?

    9               MR. FABIAN:     Objection, beyond the scope.

   10               THE COURT:     Overrule.

   11               THE WITNESS:     I'm not aware of any studies, but it is

   12   generally believed and accepted by shooters who are

   13   knowledgeable that they are less reliable.

   14   BY MS. SCOVILLE:

   15   Q.   And you know that only from your discussions with various

   16   competitors, correct?

   17   A.   Yes.

   18               MS. SCOVILLE:     And, Your Honor, I would move to strike

   19   his response as based on hearsay.

   20               THE COURT:     Overruled.

   21   BY MS. SCOVILLE:

   22   Q.   And CSSA has not collected any data from its members about

   23   the decreased reliability of lower-capacity magazines, correct?

   24   A.   Correct.

   25   Q.   CSSA is not aware of any competitive shooters who have yet




                                                                   APP. 858
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                                   Dave Gill - Cross

    1   been impacted by House Bill 1224, Section 18-12-302, right?

    2   A.   Correct.

    3   Q.   That's because current competitors with high-powered rifles

    4   already own high-capacity magazines, right?

    5   A.   Yes, they do.

    6   Q.   Now, you testified that you owned several high-capacity

    7   magazines, didn't you?

    8   A.   I have quite a few.

    9   Q.   I think you've told me in the past that you've been blessed

   10   with a very large supply, right?

   11   A.   Yes.   I have a lifetime supply.

   12   Q.   You mentioned earlier that CSSA has suspended its loan

   13   program as a result of the legislation that was passed, right?

   14   A.   Yes, we have.

   15   Q.   That's something that has happened since your deposition

   16   was taken on November 1, 2013?

   17   A.   I'm not sure of the exact date of when we suspended.

   18   Q.   And part of the reason for that suspension, as I understand

   19   your testimony, is that it is too difficult to conduct the

   20   background checks that would be required to loan these firearms

   21   to competitors?

   22   A.   It would be difficult or impossible.

   23   Q.   All right.   CSSA is not aware of any members who have had

   24   difficulty finding a federally licensed firearms dealer to

   25   perform a background check for private transfers since July 1,




                                                                  APP. 859
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                                     Dave Gill - Cross

    1   2013, right?

    2   A.   We're aware of many dealers who are refusing to do it.

    3   Q.   That wasn't my question.

    4   A.   I've not had a member specifically tell me they have been

    5   unable.

    6   Q.   You mentioned the firearms that you own and the way that

    7   you use them.      You also carry firearms for self-defense,

    8   correct?

    9   A.   I do.

   10   Q.   And you've had, in fact,      several experiences in which you

   11   have at least displayed a weapon in self-defense, correct?

   12   A.   There have been a couple, yes.

   13   Q.   And in the two situations of which I'm a -- let me back up.

   14   First of all, how many situations have you had where you had to

   15   display a weapon?

   16   A.   Two.

   17   Q.   All right.     In each of those two situations, you had

   18   weapons with you that had a capacity of 15 or less, correct ?

   19   A.   That is correct.

   20   Q.   And in neither instance were you required to discharge your

   21   firearm, right?

   22   A.   That is true.

   23   Q.   And you have never had to fire a weapon in self-defense?

   24   A.   Correct.

   25                MS. SCOVILLE:    If you would permit just a moment, Your




                                                                  APP. 860
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    1   Honor.

    2                I have no further questions, thank you.

    3                THE COURT:      Redirect?

    4                MR.   FABIAN:    Briefly, Your Honor.

    5                                REDIRECT EXAMINATION

    6   BY MR.    FABIAN:

    7   Q.   Mr. Gill, counsel just asked you regarding incidents in

    8   which you had to use your firearm in self-defense, I'd like to

    9   turn your attention to one of those incidents.          I believe it

   10   was the in cident where you and your wife were both involved.

   11   Do you recall that?

   12   A.   Yes,    I do.

   13   Q.   Okay.     Would you briefly describe for the Court what that

   14   incident involved.

   15   A.   We were leaving our home, going for a hike in the national

   16   forest.      We were both carrying.      Ann had her firearm concealed

   17   in a fanny pack; mine was on my belt and was visible.            We saw

   18   eight young men who were on a neighbor's property and drinking.

   19   And we tend to look after each other's property.          We live on

   20   acreage in rural Douglas County.          And we stopped and just

   21   politely asked that they please move on, they don't have

   22   permission to be there,         they were on private property.    If they

   23   were to go up the road a few miles, they'd be in the national

   24   forest and cou ld do whatever they chose there without a

   25   problem.      Their response was to refuse to reply to us and come




                                                                     APP. 861
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    1   out at us and attempt to encircle us.

    2   Q.    And in addition to the multiple threats that you perceived,

    3   was there anything that concerned you about the adequacy of the

    4   firearm that you and your wife carry?

    5   A.    Yes.    I had fifteen plus one rounds, and there were eight

    6   of them.      This was obviously a high-stress situation.     One of

    7   the unfortunate things that I've experienced was an accident

    8   that left me 27 percent partially permanently disabled.            I

    9   can't run.      So I was one of the people that Mr. Ayoob was

   10   describing who does not have the alternative of running or

   11   hiding effectively.         I'm going to stay pretty close to where I

   12   am.

   13                And I was not at all certain that the 16 rounds that I

   14   had would have been adequate without reloading.         There were

   15   eight of them, and they were coming at us fairly quickly.

   16                MR. FABIAN:     I have nothing further, Your Honor.

   17                THE COURT:     Thank you.

   18                I have some questions for this witness.

   19                Sir, if I understood your testimony correctly, you

   20   defined reliability as being, essentially, no misfires and no

   21   feeding jams, right?

   22                THE WITNESS:     Correct.

   23                THE COURT:     Why is it in your view that a

   24   high-capacity magazine would have fewer misfires or feeding

   25    jams than a lower-capacity magazine?




                                                                    APP. 862
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    1             THE WITNESS:     Those were the magazines that the

    2   firearm was originally designed for.       They're mil spec,

    3   military specification, magazines.        And they seem to work

    4   better with the rifle.      They were designed to function with

    5   each other.    The reduced-capacity magazines tend to have

    6   different length springs, and I suspect it's the spring that is

    7   the primary cause of the problem.

    8             THE COURT:     Now, the ten-round magazine for the Colt

    9   that you had was manufactured by Colt to fit that particular

   10   firearm, wasn't it?

   11             THE WITNESS:     Yes, it was.

   12             THE COURT:     But that was the one you had the problem

   13   with, right?

   14             THE WITNESS:     Yes, it was.

   15             THE COURT:     So how is it that you conclude that is a

   16   function of whether the magazines were manufactured for the

   17   particular firearm or not?

   18             THE WITNESS:     Well, when the firearm was designed, it

   19   was designed to function with the 20- or 30-round magazine.

   20   And I suspect maybe our manufacturers don't put the same care

   21   in the manufacture of those that are designed to meet a law

   22   governing the civilians.

   23             THE COURT:     Or perhaps manufacturing standards have

   24   declined over time and, therefore, this might be a problem with

   25   future magazines?




                                                                  APP. 863
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    1               THE WITNESS:     Well, possibly.     But the current 20- or

    2   30-round magazines being produced, for instance by Magpul, are

    3   fine quality and fine performing magazines.           People are not

    4   encountering the problem with them that we did with the

    5   diminished-capacity magazines in past years.

    6               THE COURT:     This problem that you've encountered with

    7   diminished-capacity magazines, you've encountered with all

    8   diminished-capacity magazines?

    9               THE WITNESS:     I only had the one.

   10               THE COURT:     Okay.     Thank you very much.

   11               Does that prompt any more questions?

   12               MR. FABIAN:     Yes, Your Honor.

   13               THE COURT:     Okay.

   14                                      EXAMINATION

   15   BY MR. FABIAN:

   16   Q.   Mr. Gill, do you recall the 1994 federal legislation that

   17   placed the limitation on magazine capacity?

   18   A.   Yes.

   19   Q.   Prior to 1994, were -- are you familiar with Colt AR-15

   20   style rifles that were offered for sale?

   21   A.   Yes, I was.

   22   Q.   And what size -- were those rifles normally offered for

   23   sale with any magazine size other than 20 rounds?

   24   A.   No.

   25   Q.   And when did the ten-round magazines become available for




                                                                     APP. 864
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The Volokh Consniracx
Mostly law professors l Sometimes contrarian I Often libertarian I Always independent

                                                                    About The Volokh Conspiracy D



SECOND AMENDMENT
Bowie knife statutes 1837-1899
Bowies were regulated like other knives; knives were sometimes regulated like handguns
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This post describes and analyzes nineteenth centuIY state statutes on Bowie knives. It is a companion to my post I!J&.kgal...illllillJI.J)(bans on �
and Bowie knives bet.ore 1900, which described case law.

As detailed in that article, the term " Bowie knife" because popular for knife marketing in America and Great Britain after Jim Bowie used a
traditional knife at a famous ·sandbar fight" on the lower Mississippi River in 1 827. Statutes specifically regulating the "Bowie knife" began with
Mississippi in 1837, and continued for the rest of the century.

Among the 220 state or terriwrial statutes with the words " Bowie knife ' or " Bowie knives " only 5 were j ust about Bowie knives (along with their
close relative, the Arkansas toothpick) . Almost always, Bowie knives were regulated the same as other well-known k11.ives that were well-suited for
fighting agalnst humans and animals-namely " dirks" or "daggers. " That same regulatory category frequently also included · sword-canes. " About
98% of statures on "Bowie knives" treated t.hem the same as other blade arms. Bowie knives did nm set any precedent for a uniquely high l evel of
control. They were regulated the same as a butcher's knife.

Bowie knives and many others were often regulated like handguns. Both types of arms are concealable, effective for defense, and easy to misuse for
offense.

For Bowie knives, handguns, and other arms, a few states prohibited sales. The very large majority, however, respected the right to keep and bear
arms, including Bowie knives. These states allowed open carry while some o[ them forbade concealed carry. ln the 1 9 th century, legislatures tended to
prefer 1.hat people carry openly; I.Oday, legislatures rend LO favor concealed carry. Based on history and precedent, legislatures may regulare the mode
of carry, as the the U.S. Supreme Court affim1ed in New Yark State R((le and Pistol Association:v Bruen, 1 42 s. Ct . 2l l l (2022) .

Besides regulating the mode of carry, many states restricted sales to minors. They also enacted special laws against misuse of arms.

Of the 220 state or territorial statutes cited in tbfa post, 114 come Crom j ust 5 states: Mississippi, Alabama, Georgia, Virginia, and North Caroli11a. Th.is
is partly because these were the only states whose personal property tax statutes specifically included " Bowie knife" in their lists of taxable arms,
along with other knives, such as " dirks."

Glossary

Bowie knife. This was marketing and newspaper term for old or new knives suitable for fighting, hunting , and utility. There was no common feature
that distinguished a " Bowie knife" from older knives. For example, a " Bowie knife" could have a blade sharpened on only one edge, or on two edges.
It could be straight or curved. It might or might not have a handguard. There was no particular length. TlJ&.../J!gC!.Llillro....l)!..Q{. bam on _fireanns and
  i;




Arkansas toothpick. A loose term for some Bowie knives popular in Arkansas. The legal history of bans on firearms and Bowie knives before 1 900.

Dagger. A straight knife with two cutting edges and a handguard.

Dirk. Originally, a Scottish fighting knife with one cutting edge. Harold L. Peterson, Daggers & Fighting Knives of the Western World 60 (1968) .
According to a Nov. 19, 2022, email to me from Mark Zalesky, publisher of Knife Magazine, " Dirks in America were small stabbing weapons, usually

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      USCA
Slungshot.      Caseis #23-7061
           A slungshot                    Document
                       a rope looped on both ends, with a #2029097
                                                          lead weight or other small,Filed:   11/29/2023
                                                                                      dense item at one end. It helpsPage     306 of 507
                                                                                                                      sailors accurately cast
mooring lines and other ropes. A slungshot rope that is shortened to forearm length and spun rapidly is an effective blunt force weapon.

Colt. Similar to a slungshot. 1 Shorter Oxford English Dictionary 444 ( "4. A short piece of weighted rope used as a weapon") .

Knucks, knuckles. Linked rings or a bar, often made of metal, with finger holes. They make the fist a more potent weapon.

Revolver. A handgun in which the ammunition is held in a rotating cylinder.

Pistol. Often a generic term for handguns. Sometimes used to indicate non-revolvers, as in a law covering "pistols or revolvers. "

Methodology

I started with the Appendix to Clayton E. Cramer, Concealed Weapon Laws ofF.a.rly Republic: Dueling, Southern Violence. and Moral Reform (1999) ,
plus the Appendix to Maryland Attorney General Brian Frosh's Fourth Circuit supplemental brief in Bianchi v. Frosh. The brief argues that 19th
century laws about Bowie knives provide a historical analogy to justify the Maryland legislature's ban on many common modem rifles.

Then I searched the HeinOnline Sessions Law Library for occurrences of "bowie" within 5 words of "knife. " After that, the same search, but with
"knives." In some state databases, I searched for "bowie. " Finally, I read the Declaration of Robert Spitzer. which is Exhibit E of the California
Attorney General's Supplemental Brief in Response to the Court's Order of September. 26. 2022, Duncan v. Banta, No. l 7-cv- 101 7-BEN-JLB (S.D. Cal.
Nov. 10, 2022) . The case involves a challenge to a California statute to confiscate magazines over 10 rounds.

Reviewing the Spitzter Declaration led to finding three laws I had missed: an 1871 D.C. ordinance, an 1893 Rhode Island statute, and another
enactment of a Montana anti-dueling statute. Spitzer also lists 16 municipal ordinances about Bowie knives in the 19th century, which are
summarized below, after the state-by-state presentation.

Citations: Some session laws cites below exceed the information required by the Blue Book. I follow the convention of calling each separate
enactment in annual session laws a " chapter. " That is, "chap. 68 " was the 68th law enacted by the state legislature that year. The official state session
laws sometimes use other words, such as "Act 68 " or " No. 68. " Not all session laws provide a number for the bills enacted in a given session.

This post is part of a law review article I am writing, so it has not been cite-checked by journal editors; citations might have typos or similar errors.
Nemo sine vitiis est (no one is without faults) .

Mississippi (1837) .

The first " Bowie knife" law was enacted by Mississippi on May 13, 1837. The statute punished three types of misuse of certain arms: "any rifle, shot
gun, sword cane, pistol, dirk, dirk knife, bowie knife, or any other deadly weapon. "

It was forbidden to use such arms in a fight in a city, town, or other public place. It became illegal to "exhibit the same in a rude, angry, and
threatening manner, not in necessary self defence. " Finally, if one of the arms were used in a duel and caused a death, the duelist would liable for the
debts owed by the deceased. 1837 Miss. L. pp. 291-92 . All these provisions were enacted by some other states.

Another Bowie knife law was also signed on May 13 by Governor Charles Lynch. The state legislature's incorporation of the town of Sharon
empowered the local government to pass laws "whereby . . . the retailing and vending of ardent spirits, gambling, and every species of vice and
immorality may be suppressed, together with the total inhibition of the odious and savage practice of wearing dirks, bowie knives, or pistols. " 1837
Miss. L. p. 294. Similar language appeared in the incorporation of towns in 1839 and 1840. 1839 Miss. L. chap. 168, p. 385 (Emery) ; 1840 Miss. L.
chap. lll, p. 181 (Hernando) .

Starting in 1841, the state annual property tax included "one dollar on each and every Bowie Knife. " 1841 Miss. Chap. 1 , p. 52; 1844 Miss. chapter 1 ,
p . 58. The tax was cut to fifty cents in 1850. 1850 Miss. chap. 1 , p . 43 . But then raised back to a dollar, and extended to each "Arkansas tooth-pick,
sword cane, duelling or pocket pistol. " 1854 Miss. Chap. 1 , p. 50. In the next legislature, pocket pistols were removed from the tax. 1856-57 Miss. L.
chap. 1 , p. 36 ( "each bowie knife, dirk knife, or sword cane " ) .

When the Civil War came, the legislature prohibited "any Sheriff o r Tax-Collector to collect from any tax payer the tax heretofore o r hereafter assessed
upon any bowie-knife, sword cane, or dirk-knife, and that hereafter the owner of any howie-knife, sword-cane or dirk-knife shall not be required to
give in to the tax assessor either of the aforesaid articles as taxable property. " 1861 -62 Miss. L. chap. 125, p. 134 (Dec. 19, 1861 ) . That was a change
for before, when tax collectors were allowed to confiscate arms from people who could not pay the property tax.

After the Confederacy surrendered, the legislature was still controlled by Confederates, and an arms licensing law for the former slaves was enacted.




                                                                                                                                APP. 866
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      USCA     Case      #23-7061
   [N]o freeman, free negro or mulatto, not inDocument        #2029097
                                               the military service                      Filed: 11/29/2023
                                                                    of the United States Government, and not licensed soPage
                                                                                                                         to do by307   of 507
                                                                                                                                  the board of police
   of his or her county, shall keep or carry fire-arms of any kind, or any ammunition, dirk or bowie knife, and on conviction thereof, in the county
   court, shall be punished by fine, not exceeding ten dollars, and pay the costs of such proceedings, and all such arms or ammunition shall be
   forfeited to the informer, and it shall be the duty of every civil and military officer to arrest any freedman, free negro or mulatto found with any
   such arms or ammunition, and cause him or her to be committed for trial in default of bail.

1 865 Miss. L. chap. 23, pp. 1 65-66. As detailed in Justice Alito's opinion and Justice Thomas's concurrence McDonald v. Chicago, laws such as these
prompted Congress to pass the Second Freedmen's Bureau Bill, the Civil Rights Act, and the Fourteenth Amendment, all with the express intent of
protecting the Second Amendment rights of the freedmen. 561 U.S. 742 (2010) .

After the war, handguns and knives were again subject t o the state property tax. The Auditor o f Public Accounts had to " furnish each clerk o f the
board of supervisors " with a list of taxable property owned by each person. This included " pistols, dirks, bowie-knives, sword-canes, watches,
jewelry, and gold and silver plate. " 1 871 Miss. L. chap. 33; 1871 Miss. L. pp. 819-20; 1 876 Miss. L. chap. 104, pp. 131, 134; 1 878 Miss. L. chap. 3, pp.
27, 29; 1 880 Miss. L. chap. 6, p. 21; 1892 Miss. L. chap. 74, pp. 1 94, 198; 1 894 Miss. L. chap. 32, p. 27; 1 897 Miss. L. ch. 10, p. 10.

Concealed carry was outlawed for " any bowie knife, pistol, brass knuckles, slung shot or other deadly weapon of like kind or description. " There was
an exception for persons "threatened with, or having good and sufficient reason to apprehend an attack." Also excepted were travelers, but not " a
tramp. " Sales t o minors o r t o intoxicated persons were outlawed. A father who permitted a son under 16 t o carry concealed was criminally liable.
Students at " any university, college, or school" could not carry concealed. 1878 Miss. L. chap. 46, p. 1 75-76.

The forbidden items for concealed carry were expanded in 1896: " any bowie knife, dirk knife, butcher knife, pistol, brass or metalic knuckles, sling
shot, sword or other deadly weapon of like kind or description." 1 896 Miss. L. chap. 104, pp. 10 9-10. Two years later, the legislature corrected the
spelling of "metallic, " and provided that the jury " may return a verdict that there shall be no imprisonment, " in which case the judge would impose a
fine. 1 898 Miss. L. chap. 68, p. 86.

Alabama (1 837) .

The legislature imposed a $100 per knife tax on the sale, or transfer, or import of any "Bowie-Knives or Arkansaw Tooth-picks," or "any knife or
weapon that shall in form, shape or size, resemble" them. The $100 tax was equivalent to about $2,600 dollars today. (Fed. Reserve Bank of
Minneapolis, Consumer Price Index 1800-: 2022 = 884.6. 1837 = 34.)

Additionally, if any person carrying one "shall cut or stab another with such knife, by reason of which he dies, it shall be adjudged murder, and the
offender shall suffer the same as if the killing had been by malice aforethought." Acts Passed at the Called Session of the General Assembly of the State
of Alabama, chap. 11, p. 7 (Tuscaloosa: Ferguson & Eaton, 1837) (June 30, 1 837) .

Then in 1839 Alabama outlawed concealed carry of " any species of fire arms, or any bowie knife, Arkansaw tooth-pick, or any other knife of the like
kind, dirk, or any other deadly weapon. " Acts Passed at the Annlllll Session of the General Assembly of the State of Alabama, chap. 77, pp. 67-68
(Tuscaloosa: Hale & Eaton, 1838 (1839]) (Feb. 1, 1839).

According to the U.S. Supreme Court's analysis of the historical record, concealed carry bans are constitutionally unproblematic, as long as open carry
is allowed. Or vice versa. The American legal tradition of the right to arms allows the legislature to regulate the mode of carry. New York State Rifle
and Pistol Association v. Bruen. 142 S. Ct. 2lll (2022) .

The exorbitant $100 transfer tax was replaced with something less abnormal. The annual state taxes on personal property included $2 on "every
bowie knife or revolving pistol. " 1 851 -52 Ala. chap. 1 , p. 3 . Even that amount was hefty for a poor person. As the defense counsel in a 1859 Texas
case had pointed out, a person who could not afford a firearm could buy a common butcher knife (which fell within the expansive definition of
" Bowie knife") for 50 cents. Cockrum v. State. 24 Tex. 394 (1859) . As described next, the cost of manufacturing a high quality Bowie knife was a little
less than $3, which approximately implies a retail price around $6. Whether a knife cost 50 cents or 6 dollars, an annual $2 tax likely had an effect in
discouraging ownership, as the tax was so high in relation to the knife's value. In just a few years, the cumulative annual taxes on the knife would
far exceed the knife's cost.

The legislature having aggressively taxed Bowie knives, there were not enough of them in Alabama when the Civil War began in 1861 . The legislature
belatedly recognized that the militia was underarmed. In military crisis, the legislature appropriated funds for the state armory at Mobile to
manufacture Bowie knives:

   Whereas there is a threatened invasion of our State by those endeavoring to subjugate us; and whereas there is a great scarcity of arms, and the
   public safety requires weapons to be placed in the hands of our military, therefore




                                                                                                                                   APP. 867
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The Governor was authorized to draw furtherDocument
                                           on the treasury,#2029097
                                                            as he saw appropriate, "toFiled:  11/29/2023
                                                                                       cause arms                    Page
                                                                                                  of a similar, with such    308 of 507
                                                                                                                          improvements as he may
direct, to be manufactured for any other regiment or battalion of militia, or other troops. " 1 861 Ala. L. chap. 22, pp. 214-15 (Nov. 27, 1 861 ) .

I f the legislatures starting in 1 837 had not suppressed the people's acquisition o f militia-type knives, then the 1861 wartime legislature might not have
been forced to divert scarce funds to manufacture Bowie knives for the militia. The men and youth of Alabama militia could have just armed
themselves in the ordinary course of affairs, buying large knives for themselves for all legitimate uses.

The legislature had appropriated $6,000 to buy 2,000 Bowie knives. This works out to $3 manufacturing cost per knife, not counting the cost of the
wooden shaft for the pikes, which was perhaps more expensive than the handle of a knife.

A little later, a wartime tax of 5 % on net profits was imposed on many businesses, including "establishments for manufacturing or repairing shoes,
harness, hats, carrigos [horse-drawn carriages] , wagons, guns, pistols, pikes, bowie knives." 1 862 Ala. chap. 1, p. 8.

An 1 881 concealed carry ban applied to "a bowie knife, or any other knife, or instrument of like kind or description, or a pistol, or fire arms of any
other kind or description, or any air gun. " " [E] vidence, that the defendant has good reason to apprehend an attack may be admitted in the mitigation
of the punishment, or in justification of the offense."

Throughout the 19th century, and all over the United States, grand and petit juries often refused to enforce concealed carry laws against defendants
who had been acting peaceably. The statute attempted to address the problem: "grand juries . . . shall have no discretion as to finding indictments for
a violation of this, act . . . if the evidence justifies it, it shall be their duty to find and present the indictment. " To make the law extra-tough, "the fines
under this act shall be collected in money only" (rather than allowing payment by surrender of produce, livestock, personal chattels, etc.) . 1 880-81
Ala. L. chap. 44, pp. 38-39.

The state property tax continued, with variations on the tax amount and what arms were subject to taxation. Shortly after the end of the Civil War,
the unreconstructed white supremacist legislature enacted a harsh tax, designed to disarm poor people of any color. It was $2 on "all pistols or
revolvers" possessed by "private persons not regular dealers holding them for sale. " For "all bowie-knives, or knives of the like description, " the tax
was $3. If the tax were not paid, the county assessor could seize the arms. To recover the arms, the owner had to pay the tax plus a 50 % penalty.
After 10 days, the assessor could sell the arms at auction. 1 865-66 Ala. chap. 1, p. 7 (Feb. 22, 1 866) ; 1 866-67 Ala. L. chap. 260, p. 263.

Later, the arms seizure provisions were removed, and the tax reduced to levels for other common household goods. "All dirks and bowie knives,
sword canes, pistols, on their value, three-fourths of one percent; and fowling pieces and guns, on their value, at the rate of seventy-five cents on the
one hundred dollars." 1 874-75 Ala. chap. 1 , p. 6.

State law provided that county assessors could require a person to disclose under oath the taxable property he owned, by answering questions such
as "What is the value of your household and kitchen furniture, taxable library, jewelry, silverware, plate, pianos and other musical instruments,
paintings, clocks, watches, gold chains, pistols, guns, dirks and bowie-knives . . . " The tax rate was 3/4 of 1 % of the value. 1 875-76 Ala. chap. 2, p.
46; 1 876-77 Ala. L. chap. 2, p. 4.

The tax was cut in 1 882 to 55 cents on the dollar for "silverware, ornaments and articles of taste, pianos and other musical instruments, paintings,
clocks, gold Furniture, and silver watches, and gold safety chains; all wagons or other vehicles; all mechanical tools and farming implements; all
dirks and bowie knives, swords, canes, pistols and guns; all cattle, horses, mules, studs, jacks and-jennets, and race horses; all hogs, sheep and
goats. " Ala. chap. 61 , p. 71 . Then it was raised to 60 cents on each 100 dollars of value, for inter alia, " all dirks and bowie knives, swords, canes,
pistols and guns; all cattle, horses, mules, studs, jacks and jennets and race horses; all hogs, sheep and goats." 1 884 Ala. L. chap. 1, p. 6.

Separately, the legislature imposed occupational taxes. At the time, state sales taxes were rare, and the occupational tax levels sometimes
approximated the amount that a vendor might have collected in sales taxes. "For dealers in pistols, bowie knives and dirk knives, whether the
principal stock in trade or not, twenty-five dollars. " 1 874 Ala. L. ch. 1 , p. 4 1. See also 1 875-76 Ala. chap. 1, p. 82 ($50); 1 886 Ala. L. chap. 4, p. 36
(adding "pistol cartridges "); 1 892 Ala. L. chap. 95, p. 1 83 ($300, "provided that any cartridges whether called rifle or pistol cartridges or by any other
name that can be used in a pistol shall be deemed pistol cartridges within the meaning of this section" ) . Finally, in 1 898, the license for pistol, bowie,
and dirk sellers become $100. Separately, there was a $5 tax for wholesale dealers in pistol and rifle cartridges, raised to $10 for dealers in towns of
20,000 or more. The wholesale license also authorized retail sales. 1 898 Ala. chap. 9036, p. 190.

State legislative revisions to municipal charters gave a municipality the power "to license dealers in pistols, bowie-knives and dirk-knives. " 1 878 Ala.
L. chap. 314, p. 437 (Uniontown) ; 1 884 Ala. L. chap. 314, p. 552 (Uniontown) (adding dealer in "brass knuckles" ; "the sums charged for such
licenses " may "not exceed the sums established by the revenue laws of the State . . . "); 1 884-85 Ala. chap. 197, p. 323 (Tuscaloosa) ("to license and
regulate pistols or Shooting galleries, the game of quoits, and all kind and description of games of chance played in a public place; . . . and dealers in
pistols, bowie-knives and shotguns or fire arms, and knives of like kind or description") (unusually broad, not repeated for other charters) ; 1 888 Ala.




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("to license . . . dealers in#23-7061
        USCA       Case                         Document
                              pistols, bowie knives,             #2029097
                                                     dirk knives or                            Filed:
                                                                    brass knuckles " ) ; 1 898-99       11/29/2023
                                                                                                  Ala. chap.                   Page
                                                                                                             549, p. 1046 (Fayette)    309 of
                                                                                                                                    (maximum    507
                                                                                                                                             dealer license
fee shall not exceed "Pistols, pistol cartridges, bowie knives, dirk knives, whether principal stock in trade or not, $50.00 "); 1 898 Ala chap. 566, p.
1102 (Uniontown) (same as previous Uniontown charter) ; 1 898 Ala. 704, p. 1457 (Uniontown) (same) .

Georgia (1837) .

As described in the companion post, The legal history of bans on firearms and Bowie knives before 1 900. the legislature in 1837 declared:

   that it shall not be lawful for any merchant or vender of wares or merchandize in this State, or any other person or persons whatever, to sell, or to
   offer to sell, or to keep or to have about their persons, or elsewhere any . . . Bowie or any other kinds of knives, manufactured and sold for the
   purpose of wearing or carrying the same as arms of offence or defence; pistols, dirks, sword-canes, spears, &c., shall also be contemplated in this
   act, save such pistols as are known and used as horseman's pistols.

Acts of the General Assembly of the State of Georgia Passed in Milledgeville at an Annual Session in November and December, 1 83 7, pp. 90-91
(Milledgeville: P. L. Robinson, 1 838) (Dec. 25, 1 837) .

The Georgia Supreme Court held all of the law to violate the Second Amendment, except a section outlawing concealed carry. Nunn v. State. 1 Ga.
243 (1 846) .

After the November 1860 election of Abraham Lincoln, with a secession crisis in progress, the Georgia legislature forbade "any person other than the
owner" to give " any slave or free person of color, any gun, pistol, bowie knife, slung shot, sword cane, or other weapon used for purpose of offence
or defence. " The act was not be construed to prevent "owners or overseers from furnishing a slave with a gun for the purpose of killing birds, &c.,
about the plantation of such owner or overseer. " 1 860 Ga. L. chap. 64, pp. 56-57.

An 1870 statute forbade open or concealed carry of " any dirk, bowie-knife, pistol or revolver, or any kind of deadly weapon" at " any court of justice,
or any general election ground or precinct, or any other public gathering, " except for militia musters. 1 870 Ga. L. chap. 285, p. 421 ; 1879 Ga. L. chap.
266, p. 64 (creating law enforcement officer exception) .

The old 1837 statute against concealed carry was updated in 1 882 to eliminate the exception for "horsemen's pistol. " Thus, concealed carry remained
illegal with "any pistol, dirk, sword in a cane, spear, Bowie-knife, or any other kind of knives manufactured and sold for the purpose of offense and
defense. " 1882-83 Ga. L. chap. 94, pp. 48-49. Any " kind of metal knucks" was added in 1 898. 1898 Ga. L. chap. 103, p. 60.

Furnishing "any minor" with "any pistol, dirk, bowie knife or sword cane" was outlawed in 1876. 1876 Ga. L. chap. 12 8 (0. no. 63) , p. 112.

A $25 occupational tax was enacted in 1882 for "all dealers in pistols, revolvers, dirk or Bowie knives. " 1882-833 Ga. L. chap. 18, p. 37. The tax was
later raised to $100, adding dealers of "pistol or revolver cartridges. " 1 884-85 Ga. L. chap. 52, p. 23; 1886 Ga. L. chap. 54, p. 1 7. Then the tax was
reduced to $25. 1888 Ga. L. chap. 123, p. 22. But raised back to $100 in 1 890. 1 890 Ga. L. chap. 131, p. 38. In 1892, "metal knucks" were added, and
the ammunition expanded to "shooting cartridges. " 1 892 Ga. L. chap. 133. p. 25. The tax was cut to $25 in 1894. 1 894 Ga. L. chap. 151, p. 21; 1 896
Ga. L. chap. 132, p. 25; 1898 Ga. L. p. 25 (changing ammunition to "shooting cartridges, pistol or rifle cartridges ") .

The state property tax statute required taxpayers to disclose all sorts of personal and business property, including by answering, "What is the value of
your guns, pistols, bowie knives and such articles. " 1 884 Ga. L. chap. 457, p. 30; 1 886 Ga. L. chap. 101, pp. 26, 28; 1 888 Ga. L. chap. 103, p. 261 ; 1889
Ga. L. chap. 640, p. 993. The same question was included in the municipal charter for the town of Jessup. 1 888 Ga. L. chap. 103, p. 261. And in the
new charter for Cedartown. 1 889 Ga. L. chap. 640, p. 993.

South Carolina (1838) .

The legislature received a " petition of sundry citizens of York, praying the passage of a law to prevent the wearing of Bowie Knives, and to exempt
managers of elections from militia duty. " A member "presented the presentment of the Grand Jury of Union District, in relation to carrying Bowie
knives, and retailing spirituous liquors. " The knife and liquor issues were referred to the Judiciary Committee. 1838 S.C. L. (Journal to the
Proceedings) , pp. 29, 31.

The legislature did not act any law with the words "bowie knife" in 1 838, or in the 19th century.

Tennessee (1 838) .

Like Georgia, Tennessee enacted Bowie knife legislation just a few weeks after a nationally infamous crime. In December, two members of the
Arkansas House of Representatives had fought with Bowie knives on the floor of House, and one had killed the other. See Illf..legal.lJ.illiml___Qf..J:mru Ql1
firearms and Bowie knives before 1200.



                                                                                                                                  APP. 869
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Further, if a person " shall#23-7061
      USCA        Case      maliciously draw orDocument       #2029097
                                                attempt to draw" such a concealed knife Filed:    11/29/2023
                                                                                        " for the purpose                Page
                                                                                                          of sticking, cutting,   310orof
                                                                                                                                awing,    507
                                                                                                                                       intimidating
any other person, " the person would be guilty of a felony. Whether the carrying was open or concealed, if a person in "sudden rencounter, shall cut
or stab another person with such knife or weapon, whether death ensues or not, such person so stabbing or cutting shall be guilty of a felony. " Civil
officers who arrested and prosecuted a defendant under the act would receive a $50 per case bonus; the Attorney General would receive $20 for the
same, to be paid by the defendant. Acts Passed at the First Session of the Ilventy-Second General Assembly of the State of Tennessee: 183 7-8, chap. 13 7,
pp. 200-201 (Nashville: S. Nye & Co., 1 838) (Jan. 21 , 1 838) .

The concealed carry ban was upheld against a state constitution challenge. Aymette v. State. 21 Tenn. (2 Hum.) 154 (1840) . The court said that the
right to arms was an individual right to keep militia-type arms, and a Bowie knife would be of no use to a militia. Thf.kg<Jl.JJisQ..ry_Qf-bans on
firearms and Bowie knives before 1900.

The 1 838 law against drawing a Bowie knife applied even against crime victims who had drawn in self-defense, such as when Richard Day drew a
knife against a violent home invader. The state supreme court noted that laws against selling and carrying Bowie knives were " generally disregarded
in our cities and towns. " Day v. State. 37 Tenn. ( 5 Sneed.) 496 (1857) . Likewise, a post-Reconstruction statute, described in The legal history of bans
Ql1 firearms and Bowie knives before 1 900, allowed carrying only of Army or Navy type pistols. When a person's "life had been threatened within the
previous hour by a dangerous and violent man, who was in the wrong, " the victim carried a concealed pistol that was not an Army or Navy type.
The conviction was upheld, citing Day v. State. Coffee v. State, 72 Tenn. ( 4 Lea.) 245 (1 880)

The legislature in 1 856 forbade selling, loaning, or giving any minor "a pistol, bowie-knife, dirk, or Arkansas tooth-pick, or hunter's knife. " The act
"shall not be construed so as to prevent the sale, loan, or gift to any minor of a gun for hunting. " 1 855-56 Tenn. L. chap. 81 , p. 92.

In October 1 861 , after Tennessee had seceded from the Union, all the laws against importing, selling, or carrying " pistols, Bowie knives, or other
weapons" were suspended for the duration of the war. 1 861 Tenn. L. chap. 23, pp. 1 6-1 7.

In 1 869, the legislature forbade carrying any " pistol, dirk, bowie-knife, Arkansas tooth-pick, " any weapon resembling a bowie knife or Arkansas
toothpick, "or other deadly or dangerous weapon" while "attending any election" or at "any fair, race course, or public assembly of the people. "
1 869-70 Tenn. L. chap. 22, pp. 23-24.

Virginia (1838) .

A few weeks after the Arkansas legislative crime, Virginia made it illegal to " habitually or generally" carry concealed "any pistol, dirk, bowie knife, or
any other weapon of the like kind. " If a habitual concealed carrier were prosecuted for murder or felony, and the weapon had been removed from
concealment within a half hour of the infliction of the wound, the court had to formally note the fact Even if the defendant were acquitted or
discharged, he could be prosecuted within a year for the unlawful carry. Or alternatively, in the original prosecution, a jury that acquitted for the
alleged violent felony still had to consider whether the defendant was a habitual carrier, drew within the half-hour period, and if so, convict the
defendant of the concealed carry misdemeanor. Acts of the General Assembly of Virginia, Passed at the Session of 1838, chap. 101, pp. 76-77
(Richmond: Thomas Ritchie, 1838) (Feb. 3, 1 838) .

The law was simplified in 1 847 to simply provide a fine for habitual concealed carry by " [a]ny free person, " with "one moiety of the recovery to the
person who shall voluntarily cause a prosecution for the same. " 1 847 Va. L. p. 110; 1 870 Va. L. chap. 349, p. 510.

An 1 881 statute forbade concealed carry, even if not habitual, of "any pistol, dirk, bowie-knife, razor, slung-shot, or any weapon of the like
kind. "1 881 Va. L. chap. 219, p. 233; 1 883-84 Va. L. chap. 144, p. 1 80 (1884) ; 1 896 Va. L. chap. 745, p. 826 (allowing "the hustings judge of any
husting court" to issue one-year concealed carry permits) .

Whether or not concealed, carrying "any gun pistol, bowie-knife, dagger, or other dangerous weapon to a place of public worship " during a religious
meeting was forbidden in 1 869. So was carrying "any weapon on Sunday, at any place other than his own premises, except for good and sufficient
cause. " 1 875 Va. L. chap. 124, p. 102; 1 877 Va. L. chap. 7, p. 305.

After the Civil War, the state property tax law included in the list of taxable items of personal property: " The aggregate value of all rifles, muskets,
and other fire-arms, bowie-knives, dirks, and all weapons of a similar kind. " There was an exception for arms issued by the state " to members of
volunteer companies. " 1 874 Va. L. chap. 239, pp. 282-83; 1 875 Va. L. chap. 162, p. 164; 1881 Va. L. chap. 119, p. 499; 1 883 Va. L. chap. 450, p. 563;
1 889 Va. L. chap. 19, p. 19; 1 889 Va. L. chap. 244, p. 200; 1 893 Va. L. chap. 797, p. 931 .

The legislature in 1 890 forbade selling " to minors under sixteen years of age" any "cigarettes or tobacco in any form, or pistols, dirks, or bowie
knives. " 1889-90 Va. L. chap. 152, p. 118; 1 893-94 Va. L. chap. 366, pp. 425-26.

Florida (1838) .




                                                                                                                                  APP. 870
                   Case 1:22-cv-02256-RC Document 24-12 Fi led 01/23/23 Page 7 of 14
1838 Fla Laws ch. 24, p. #23-7061
      USCA     Case      36 (Feb. 10, 1838). Document #2029097 Filed: 11/29/2023 Page 311 of 507

After the Civil War, a new Black Code forbade "any negro, mulatto, or other person of color, to own, use or keep in his possession or under his
control. any Bowie-knife, dirk, sword, fire-arms or ammunition of any kind, unless he first obtain a license to do so from the Judge of Probate of the
county. • The applicant needed " the recommendation of two respectable citizens of the county, certifying to the peaceful and orderly character of the
applicant • A person who informed about a violation could keep the arms. Violators of the statute "shall be sentenced to stand in the pillory for one
hour, or be whipped, not exceeding thirty-nine stripes, or both, at the discretion of the jury. · 1865 Fla L. chap 1466, p. 25.

There were no published Florida statutory compilations from 1 840 until 1881. By then, the 1838 tax law ($200 annually for vendors; $ IQ for open
carry) , had been replaced with a $50 occupational license tax for vendors. 1 Digest of the Laws of the State of Florida, from the Year One Tlwusand
Eight Hundred and 1lventy-7lvo, to the Eleven.th Day of March, One Tfwusand Eight Hundred and Eighly-One Inclusive 873 (James F. McClellan,
comp.) (1881 ) (Fla. chap. 174, § 24, item 14) . The merchant license tax was raised to $ 100 in 1889 for vendors of "pistols, bowie knives, or dirk
knives. " Additionally, The ·merchant, store-keeper, or dealer" could not sell the items ·to minors. "1889 Fla. chap. 3847, p. 6 (2d reg. sess.); 1891 Fla
L. chap. 4010, p. 9 (3d regular sess.) . The tax was cut to $10 in 1 893, but extended to cover sellers of "pistols, Springfield rifles [the standard U.S.
Army rifle], repeating rifles, bowie knives or dirk knives. · 1 893 Fla. L. chap. 41 15, p. 18 (4th regular sess.) • 1895 Fla. L. chap 4322, p. 1 3 (5th regular
sess.) .

North Carolina ( 1 846).

An 1 846 statute forbade ·any slave· to receive "any sword, dirk, bowie-knife, gun, musket. or fire-arms of any description whatsoever, or any other
deadly weapons of offence, or any lead, leaden baJJs, shot, powder, gun cotton, gun flints, gun caps, or other material used for shooting. • There were
exceptions if "a slave• with "written permission • from a "manager• were picking up items for the manager, or if the items were "to be carried in the
presence of such manager. " 1846 .C. L. chap. 42.

The state property tax laws covered Bowie knives and other arms. The arms were tax-exempt if the owner did not use or carry them:

   on aU pistols (except such as shaU be used exclusive.l y for mustering, and also those kept in shops and stores for sale) one doUar each; on all
   bowie knives, one dollar each; and dirks and sword canes, fifty cents each; (except such as shall be kept in shops and stores for Sale) Provided,
   however, that only such pistols, bowie knives, dirks, and sword canes, as are used, worn or carried about the person of the owner . .

1850 N.C. L. chap. 121, p. 243. See also 1856-57 N.C. L. chap. 34, p. 34 (raising the tax on dirks and sword canes to 65 cents) ; 1866 .C. L. chap. 21 ,
§ 11, pp. 33-34 (one dollar on • every dirk bowie-knife, pistol, sword-cane, dirk-cane and rifle cane (except for arms used for mustering and police
duty) used or worn about the person of any one during the year" ; tax did not • apply to arms used or worn previous to the ratification of this act ") .

The Black Code continued 10 treat Bowie knives like firearms, in the arms licensing law for free people of color. " If any free negro shall wear o r carry
about his person, or keep in his house, any shot-gun, musket, rifle, pistol, sword, dagger, or bowie-knife,• he shall be guilty of a misdemeanor, unless
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near, the legislature repealed the licensing law, and forbade • any free negro" to "wear or carry about his person or keep in his house any shot gun,
musket, rifle, pistol, sword, sword cane, dagger, bowie knife, powder or shot.• 1860·61 N.C. L. chap. 34. p. 68 (Feb. 23, 1861 ) .

An 1877 private act banned concealed carry i n Alleghany County, under terms similar t o what would be enacted statewide in 1 879. 1 877 N.C. L. ch.
54, pp. 1 62-63. The statewide statute outlawed concealed carry of 'any pistol, bowie knife, dirk, dagger, slungshot, loaded cane, brass, iron or
metallic knuckles or other deadly weapon of like like kind, " "except when upon his own premises. " 1 879 N . C. L. chap. 12 7, p. 231.

An 1 893 statute made it illegal to "in any way dispose of to a minor any pistol or pistol cartridge, brass knucks, bowie-knife, dirk, loaded cane, or
sling-shot · 1893 N.C. L. chap. 514, pp. 468-69. A loaded cane had a hollowed section filled with lead. It was a powerful impact weapon.

As the legislature revised municipal charters, it specified what sorts of arms-related taxes the municipality could impose. There was much variation,
and sometimes the legislature set maximums. In chronological order: Wilmington: to tax "every pistol gallery . . . on all pistols, dirks, bowie-knives
or sword-canes, if worn about the person at any time during the year. " 1860 N.C. L. chap. l lll, pp. 219-2.0. Charlotte: $50 on "every pistol, bowie­
knife, dirk, sword-cane, or other deadly weapons worn upon the person, except a pocket knife, without special permission of the board of aldermen. ·
1 866 N.C. L. chap. 7 , § 1 9, p. 63. Salisbury: " on au pistols, except when part o f stock i n trade, a tax not exceeding one dollar; on all dirks, bowie­
knjves and sword canes, if worn about the person at any time during the year, a tax not exceeding ten dollars. " 1868 N.C. L. chap. 123, p. 202.
Lincolnton: $5 for worn weapons. 1870 .C. L. chap. 32, p. 73. Lumberton: Can tax " pistols, dirks, bowie knives or sword canes" as seen fit. 1 873
   .C. L. chap. 7, p. 279; 1 883 chap. 89, p. 791 (Lumberton recharter) ; AsheviIJe: anyone "selling pistols, bowie knives, dirks, slung shot, brass
knuckles or other like deadly weapons, in addition to all other taxes, a license tax not exceeding fifty dollars. " 1 883 N.C. L. chap. 111 , p. 872.
Waynesville: like Ashville, but $40. 1885 N.C. L. chap. 127, p. 1097. Reidsville: $25 " On every pistol, bowie-knife, dirk, sword-cane, or other deadly
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                      Case 1:22-cv-02256-RC Document 24-12 Filed 01/23/23 Page 8 of 14
      USCA        Case     #23-7061
guns, and rifles for shooting                Document
                              game. " Wadesborough:          #2029097
                                                    "on all pistols, dirks, bowie-knives,Filed:  11/29/2023
                                                                                         or sword-canes.                Page
                                                                                                         " 1891 N.C. L. chap. 26,312
                                                                                                                                  p. 705.ofColumbus:
                                                                                                                                            507
same. 1891 N.C. L. chap. 101, p. 902. Buncombe: same. 1891 N.C. L. 32 7, p. 1423. Asheville: $500 on vendors selling "pistols, bowie-knives, dirks,
slung-shots, brass or metallic knuckles, or other deadly weapons of like character. " 1895 N.C. L. chap. 352, p. 611 . Morven: "on all pistols, dirks,
bowie knives, or sword canes. " 1897 N.C. L. chap. 71, pp. 11 5-16. Lilesville: same. 1897 N.C. L. chap. 130, p. 237. Mount Airy: $75 on "every vendor
or dealer in pistols and other deadly weapons." 1897 N.C. L. ch. 90, p. 154. Salisbury: same $500 as Asheville. 1899 N.C. L. chap. 186, p. 503.
Monroe: Same, but $100. 1899 N.C. L. chap. 352, p. 968. Manly: tax "on all pistols, dirks, bowie knives or sword canes. " 1899 N.C. L. chap. 260, p.
766.

Washington territory (1854) .

Similar to 183 7 Mississippi, the Washington Territory provided a criminal penalty for, " Every person who shall, in a rude, angry, or threatening
manner, in a crowd of two or more persons, exhibit any pistol, bowie knife, or other dangerous weapon . . . " 1854 Wash. L. chap. 2, p. 80; 1859
Wash. L. chap. 2, p. 109; 1862 Wash. L. chap. 2, p. 2 84; 1869 Wash. L. chap. 2, pp. 203-04; 1873 Wash. L. chap. 2, p. 168.

California (185 5) .

California adopted a more elaborate version of the 1837 Mississippi law that if a person killed another in a duel with "a rifle, shot-gun, pistol, bowie­
knife, dirk, small-sword, back-sword or other dangerous weapon, " the duelist would have to pay the decedent's debts. The duelist would also be
liable to the decedent's family for liquidated damages. 1855 Cal. L. chap. 12 7, pp. 152-53.

Louisiana (1855) .

The legislature banned concealed carry of "pistols, bowie knife, dirk, or any other dangerous weapon. " 1855 La. L . chap. 120, p . 148; 1898 La. L . ch.
112, p. 159 (same) .

During Reconstruction, when election violence was a major problem, the legislature forbade carry of "any gun, pistol, bowie knife or other dangerous
 weapon, concealed or unconcealed weapon" within a half-mile of a polling place when the polls were open, or within a half-mile of a voter
registration site on registration days. 1870 La. L. chap. 100, p. 159; 1873 La. L. chap. 98, p. 2 7.

Giving a person "under age of twenty-one years " any " any pistol, dirk, bowie-knife or any other dangerous weapon, which may be carried concealed
to any person" was forbidden. 1890 La. L. chap. 46, p. 39.

New Hampshire (1856) .

Like all of the Northeast, New Hampshire in mid-century had no interest in Bowie knife laws. But Bowie knives did appear in a legislative resolution
that considered Bowie knives and revolvers to be effective for legitimate defense.

On May 19, 1856, U.S. Sen. Charles Sumner (R-Mass.) delivered one of the most famous speeches in the history of the Senate, "The Crime Against
Kansas. " Among the crimes he described, pro-slavery settlers in the Kansas Territory were trying to make Kansas a slave territory, by attacking and
disarming anti-slavery settlers, in violation of the Second Amendment. Sumner turned his fire on South Carolina Democrat Andrew Butler:

   Next comes the Remedy of Folly . . . from the senator from South Carolina, who . . . thus far stands alone in its support. . . . This proposition,
   nakedly expressed, is that the people of Kansas should be deprived of their arms.



   Really, sir, has it come to this ? The rifle has ever been the companion of the pioneer, and, under God, his tutelary protector against the red man
   and the beast of the forest. Never was this efficient weapon more needed in just self-defence than now in Kansas, and at least one article in our
   National Constitution must be blotted out, before the complete right to it can in any way be impeached. And yet, such is the madness of the hour,
   that, in defiance of the solemn guaranty, embodied in the Amendments of the Constitution, that " the right of the people to keep and bear arms
   shall not be infringed, " the people of Kansas have been arraigned for keeping and bearing them, and the senator from South Carolina has had the
   face to say openly, on this floor, that they should be disarmed - of course, that the fanatics of Slavery, his allies and constituents, may meet no
   impediment. Sir, the senator is venerable . . . but neither his years, nor his position, past or present, can give respectability to the demand he has
   made, or save him from indignant condemnation, when, to compass the wretched purposes of a wretched cause, he thus proposes to trample on
   one of the plainest provisions of constitutional liberty.

That wasn't even close to the worst that Sumner said about Brooks in "The Crime Against Kansas. " Most notably, he compared Butler to Don
Quixote:




                                                                                                                               APP. 872
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Three days later, Butler's #23-7061
      USCA       Case                         Document
                           nephew, U.S. Rep. Preston         #2029097
                                                     Brooks (D-S.C.)                  Filed:while
                                                                     snuck up behind Sumner  11/29/2023             Page
                                                                                                  he working at his desk     313
                                                                                                                         on the    of 507
                                                                                                                                Senate floor and
assaulted him with a cane. He nearly killed Sumner, who never fully recovered. The assault was widely applauded in the South. The attack
symbolized a broader problem: In the slave states, the law and the mobs suppressed any criticism of slavery, lest it inspire slave revolt. Even in free
states, even in free-thinking Boston, abolitionist speakers were attacked by mobs.

In response, the New Hampshire legislature on July 12 passed a resolution " in relation to the late acts of violence and bloodshed by the Slave Power
in the Territory of Kansas, and at the National Capital. " As one section of the resolution observed, it was becoming difficult for people to speak out
against slavery unless they were armed for self-defense.

   Resolved, That the recent unmanly and murderous assaults which have disgraced the national capital, are but the single outbursts of that fierce
   spirit of determined domination which has revealed itself so fully on a larger field, and which manifests itself at every point of contact between
   freedom and slavery, and which, if it shall not be promptly met and subdued, will render any free expression of opinion, any independence of
   personal action by prominent men of the free States in relation to the great national issue now pending, imprudent and perilous, unless it shall be
   understood that it is to be backed up by the bowie-knife and the revolver.

1 856 N.H. chap. 1 870, pp. 1781-82.

Despised as Bowie knives and revolvers were by some slave state legislatures, New Hampshire recognized that the First Amendment is backed up by
the Second Amendment, as a last resort.

Texas (1856) .

If a person used a "bowie knife" or "dagger" in manslaughter, the offense "shall nevertheless be deemed murder, and punished accordingly. " A
"bowie knife" or "dagger" were defined as "any knife intended to be worn upon the person, which is capable of inflicting death, and not commonly
known as a pocket knife. " Tex. Penal Code arts. 611-12 (enacted Aug. 28, 1856) in 1 A Digest of the General Statute Laws of the State of Texas: to
Which Are Subjoined the Repealed Laws of the Republic and State of Texas (Williamson S. Oldham & George W. White, comp.) 458 (1 859) . See also
art. 493 (doubling penalty for assault with intent to murder, if perpetrated with " a bowie knife, or dagger"); 1 871 Tex. L. chap. 26, p. 20 (adding
doubling if perpetrator "in disguise" ) .

The Texas Supreme Court upheld the law in Cockrum v. State, 2 4 Tex. 394 (1859). Under the Second Amendment and the Texas Constitution right to
arms and the Second Amendment. "The right to carry a bowie-knife for lawful defense is secured, and must be admitted. " Id. at 402. However, extra
punishment for a crime with a Bowie knife did not violate the right to arms. Discussed further in �gal history..Qf-bans on firearms and Bowie
knives before 1900.

In the chaotic years after the Civil War, the legislature prohibited carrying "any gun, pistol, bowie-knife or other dangerous weapon, concealed or
unconcealed," within a half mile of a polling place while the polls are open. 1870 Tex. L. chap. 73, p. 139; 1 873 Tex. L. chap. 19, pp. 29-30; 1 876 Tex.
L. chap. 166, p. 311.

Then came the most repressive anti-carry law enacted by an American state until then. It did not apply to long guns. It did apply to "any pistol, dirk,
dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other kind of knife manufactured or sold for the purposes of offense or
defense. " Both open and concealed carry were forbidden. The exceptions were "immediate and pressing" self-defense, or in a person's home or
business, or travelers with arms in their baggage. Another section of the bill banned all firearms, plus the arms previously listed, from many places,
including churches, all public assemblies, and even "a ball room, social party, or social gathering. " The Act did not apply in any county proclaimed
by the Governor " as a frontier county, and liable to incursions of hostile Indians. " 1 871 Tex. L. chap. 34, pp. 25-26; 1 887 Tex. L chap. 9, p. 7
(amending) ; 1 889 Tex. L. chap. 37, p. 33; 1 897 Tex. L. chap. 25, p. 24.

In 1889, written consent of a parent, guardian, "or someone standing in lieu thereof" was required to give or sell to a minor a pistol, "bowie knife or
any other knife manufactured or sold for the purpose of offense of defense, " and various other weapons. The statute did not apply to long guns. 1 887
Tex. L. chap. 155, pp. 221-22.

New Mexico (1 858) .

The territory's first Bowie knife law outlawed giving " to any slave any sword, dirk, bowie-knife, gun, pistol or other fire arms, or any other kind of
deadly weapon of offence, or any ammunition of any kind suitable for fire arms. " 1856 N.M. L. chap. 26, p. 68. Slavery in New Mexico was usually in
the form of peonage. The Comanche and Ute Indians, among others, brought captives from other tribes to the territory and sold them to buyers of all
races. See Andres Resendez, The Other Slavery: The Uncovered Story of Indian Enslavement in America (2016).

Concealed and open carry were prohibited in 1 859. The scope was expansive:




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1 859 N.M. L. pp.Case
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                          864-65 N.M. L. chap. 61 , pp. 407-08 #2029097                  Filed: 11/29/2023
                                                               (miscited in the Spitzer declaration                          Pagewere
                                                                                                    as 1 853) . Territorial statues 314  of 507
                                                                                                                                      published
bilingually. The arms list in Spanish: "ninguna pistola de cualesquiera clase que sea, ni bowie knife (cachillo de cinto) Arkansas toothpick, daga
espafiola, huracana, 6 cualesquiera otra arma mortifera de cualesquiera clase 6 descripcion. "

New Mexico was part of a pattern: legislative enthusiasm for Bowie knife laws was greatest in slave states. After slavery was abolished by the 13th
Amendment in December 1 865, the most oppressive Bowie knife controls and gun controls were enacted in areas where slavery had been abolished
by federal action, rather than by choice of the legislature before the Civil War.

An 1 887 statute forbade almost all carry of Bowie knives and other arms. It applied to defined " deadly weapons" :

   all kinds and classes o f pistols, whether the same be a revolver, repeater, derringer, or any kind o r class of pistol or gun; any and all kinds of
   daggers, bowie knives, poniards [small, thin daggers] , butcher knives, dirk knives, and all such weapons with which dangerous cuts can be given,
   or with which dangerous thrusts can be inflicted, including sword canes, and any kind of sharp pointed canes: as also slung shots, bludgeons or
   any other deadly weapons with which dangerous wounds can be inflicted . . .

A person carrying a deadly weapon was not allowed to "insult or assault another. " Nor to unlawfully " draw, flourish, or discharge" a firearm, "except
in the lawful defense of himself, his family or his property. "

The law forbade carrying " either concealed or otherwise, on or about the settlements of this territory. " The statute defined a " settlement" as anyplace
within 300 yards of any inhabited house. The exceptions to the the carry ban were:

   except it be in his or her residence, or on his or her landed estate, and in the lawful defense of his or her person, family, or property, the same
   being then and there threatened with danger

Travelers could ride armed through a settlement. If they stopped, they had to disarm within 15 minutes, and not resume until eve of departure.
Hotels, boarding houses, saloons, and similar establishments had to post bilingual copies of the Act.

Law enforcement officers " may carry weapons . . . when the same may be necessary, but it shall be for the court or the jury to decide whether such
carrying of weapons was necessary or not, and for an improper carrying or using deadly weapons by an officer, he shall be punished as other persons
are punished. . . " 1 886-87 N.M. L. chap. 30, pp. 55-58.

Ohio (1 859) .

Without limiting open carry, the legislature prohibited concealed carry of "a pistol, bowie knife, dirk, or any other dangerous weapon. " The jury must
acquit if it is proven that the defendant was "engaged in pursuit of any lawful business, calling, or employment, and the circumstances in which he
was placed at the time aforesaid were such as to justify a prudent man in carrying the weapon or weapons aforesaid for the defense of his person,
property, or family. . . " 1 859 Ohio L. pp. 56-57.

Kentucky (1 859) .

" If any person, other than the parent or guardian, shall sell, give, or loan, any pistol, dirk, bowie-knife, brass-knucks, slung-shot, colt [similar to a
slungshot] , cane-gun, or other deadly weapon which is carried concealed, to any minor, or slave, or free negro, he shall be fined fifty dollars. " 1859
Ky. L. chap. 33, p. 245.

In 1891, an occupational license tax was enacted: "To sell pistols," $25. "To sell bowie-knives, dirks, brass-knucks or slung-shots, " $50. 1 885 Ky. L.
chap. 1233, p. 154; 1891 Ky. L. chap. 103, p. 346 (Nov. 1 1 , 1892); 1 891-92 Ky. L. chap. 217, p. 1001 (June 9, 1 893).

Indiana (1859) .

Except for travelers, no concealed carry of "any dirk, pistol, bowie-knife, dagger, sword in cane, or any other dangerous or deadly weapon. " Open
carry of such weapons was unlawful, if "with the intent or avowed purpose of injuring his fellow man. " 1 859 Ind. L. chap. 78, p. 129; 1881 Ind. L.
chap. 37, p. 191.

It was forbidden in 1875 to give any person " under the age of twenty-one years, any pistol, dirk, or bowie-knife, slung-shot, knucks, or other deadly
weapon that can be worn, or carried, concealed upon or about the person. " Or to give such person pistol ammunition. 1 875 Ind. L. chap. 40, p. 59.

Nevada (1861 ) .

If a person fought a duel with "a rifle, shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous weapon, " and killed his
opponent or anyone else, the killing was murder in the first degree. 1861 Nev. L. p. 61.




                                                                                                                                APP. 874
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No concealed cany "within any city, town, or village" of "any pistol, bowie-knife, dagger, or other deadly weapon. " 1864-65 Mont. L. p. 335. Duelists
who kill using "a rifle, shot-gun, pistol, bowie-knife, dirk, small sword, back-sword, or other dangerous weapon" are guilty of murder. 1879 Mont.
Laws p. 359; 1887 Mont. L. p. 505.

Colorado territory (1867) .

No concealed cany "within any city, town or village" of "any pistol, bowie-knife, dagger or other deadly weapon. " 1867 Colo. L. chap. 22, p. 229;
1 876 Colo. L. chap. 24, p. 304; 1881 Colo. L. p. 74 (post-statehood) ; 1885 Colo. L. p. 170; 1891 Colo. L. p. 129 ( "any pistol, revolver, derringer, bowie­
knife, razor, dagger, sling-shot or other deadly weapon" ) .

Arizona territory (1867)
                    • .
Split from the New Mexico Territory in 1863, the new Arizona Territory did not copy New Mexico's 1859 comprehensive cany ban. Instead, the laws
targeted misuse. Anyone "who shall in the presence of two or more persons, draw or exhibit" any "dirk, dirk knife, bowie knife, pistol, gun, or other
deadly weapon, " " in a rude, angry or threatening manner, not in necessary self defence" was guilty of a crime. So was anyone "who shall in any
manner unlawfully use the same in any fight or quarrel. " 1867 Ariz. L. p. 21; 1875 Ariz L. p. 101.

Carrying " maliciously or with design therewith, to intimidate or injure his fellow-man," was specifically forbidden for everyone " in the Counties of
Apache and Graham, over the age of ten years. " The arms were "any dirk, dirk-knife, bowie-knife, pistol, rifle, shot-gun, or fire-arms of any kind. "
1 883 Ariz. L. chap. 19, pp. 21-22.

                                                                                 ..
Reenacting the statute against drawing a gun in a threatening manner, the 1883 legislature added a proviso against persons "over the age of ten and
under the age of seventeen years " carrying concealed or unconcealed "any dirk, dirk-knife, bowie-knife, slung-shot, brass-knuckles, or pistol" in any
city, village, or town. 1883 Ariz. L. chap. 36, pp. 65-66. Concealed carry of those same arms in a city, village, or town was forbidden for everyone in
1887. 1 887 Ariz. L. chap. 11, p. 726. And then everywhere in 1893, for "any pistol or other firearm, dirk, dagger,
                                                                                                                ♦     slung-shot, sword cane, spear, brass
knuckles, or other knuckles of metal, bowie knife or any kind of knife or weapon except a pocket-knife not manufactured and used for the purpose of
offense and defense. " 1893 Ariz. chap. 2, p. 3 .

In 1889 Arizona enacted an open cany ban in " any settlement town village or city, " for any "firearm, dirk, dagger, slung shot, sword-cane, spear,
brass knuckles, bowie knife, or any other kind of a knife manufactured and sold for the purposes of offense or defense. " Arriving travelers could carry
for the first half hour, or on the way out of town. Hotels had to post notices about the no cany rule. Carry was also forbidden at public events, and
even at some private social gatherings. 1889 Ariz. chap. 13, pp. 30-31.

Illinois (1867) .

The legislature's revision of the municipal charter of Bloomington allowed the town " To regulate or prohibit" concealed cany of " any pistol, or colt,
or slung-shot, or cross knuckles, or knuckles of brass, lead or other metal, or bowie-knife, dirk-knife, dirk or dagger or any other dangerous or deadly
weapon. " 1867 Ill. L. p. 650.

Only a " father, guardian or employer" or their agent could give a minor " any pistol, revolver, derringer, bowie knife, dirk or other deadly weapon of
like character. " 1 881 Ill. L. p. 73.

Kansas (1868) .

No carrying of "a pistol, bowie-knife, dirk or other deadly weapon" by any "person who is not engaged in any legitimate business, any person under
the influence of intoxicating drink, and any person who has ever borne arms against the government of the United States. " 1868 Kan. L. p. 378.

No furnishing of "any pistol, revolver or toy pistol, by which cartridges or caps may be exploded, or any dirk, bowie-knife, brass knuckles, slung
shot, or other dangerous weapons to any minor, or to any person of notoriously unsound mind" "Any minor who shall have in his possession any
pistol, revolver or toy pistol, by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles, slung shot or other dangerous weapon,
shall be deemed guilty of a misdemeanor. " 1883 Kan. L. chap. 55, p. 159.

West Virginia (1868) .

An 1 868 statute copied Virginia's law against " habitually" carrying a concealed "pistol, dirk, bowie knife, or weapon of the like kind. " Code of West
Virginia Comprising Legislation to the Year 1 8 70, chap. 148, p. 692. Justices of the Peace had a duty to enforce the statute W.V. Acts of 1 872-73, chap.
226, p. 709, in Constitution and Schedule Adopted in Convention at Charleston, April 9th, 18 72 (Charleston, W.V. : John W. Gentry, 1874) .




                                                                                                                                  APP. 875
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     USCA      Case
Maryland (1870) .    #23-7061     Document #2029097     Filed: 11/29/2023  Page 316 of 507

Any person who was arrested in Baltimore, brought to the station house, and found to be carrying "any pistol, dirk, bowie knife, " various other
weapons, "or any other deadly weapon whatsoever" would be fined 3 to IO dollars. 1 870 Md. L. chap. 473, p. 892. Reenactments, changes in the fine
amount: 1 874 Md. L. chap. 1 78; 1 884 Md. L. chap. 1 87; 1 890 Md. L. chap. 534; 1 898 Md. L. p. 533.

It became illegal in 1 872 in Annapolis to carry concealed "any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor, brass, iron, or other metal
knuckles, or any other deadly weapon. " 1 872 Md. L. chap. 42, pp. 56-57.

A ban on carrying "with the intent of injuring any person, " was enacted in 1 886 for " any pistol, dirk-knife, bowie-knife, slung-shot, billy, sand-club,
metal knuckles, razor or any other dangerous of deadly weapon of any kind whatsoever, (penknives excepted) . " 1 886 Md. L. chap. 375, p. 602.

District of Columbia (1871) .

The Legislative Assembly o f the District o f Columbia prohibited concealed carry o f "any deadly o r dangerous weapons, such as daggers, air-guns,
pistols, bowie-knives, dirk-knives, or dirks, razors, razor-blades, sword-canes, slung-shots, or brass or other metal knuckles. " 1 The Compiled Statutes
in Force in the District of Columbia, including the Acts of the Second Session of the Fiftieth Congress, 1 887-89 (William Stone Albert & Benjamin G.
Lovejoy, comps.) 1 78, § 119 (1894) (citing Leg. Assem., July 20, 1 871). Hat tip to Prof. Spitzer for this.

In 1 892, Congress enacted a similar statute for D.C., with additional provisions. It prohibited concealed carry of the same weapons as 1 871 , plus
"blackjacks. " A concealed carry permit valid up to one month could be issued by any Judge of Police Court, with "proof of the necessity, " and a
bond.

Open carry was lawful, except "with intent to unlawfully use. " The statute was not to be construed to prevent anyone "from keeping or carrying
about his place of business, dwelling house, or premises" the listed arms, or from taking them to and from a repair place.

Giving a deadly weapon to a minor was forbidden. Vendors had to be licensed by Commissioners of the District of Columbia. The license itself was
"without fee, " but the licensee could be required to post a bond. Sellers had to keep a written list of purchasers, which was subject to police
inspection. Weekly sales reports to the police were required. 27 Stat. chap. 159, pp. 1 16-1 7 (July 1 3, 1 892) .

Nebraska (1873) .

No concealed carry of weapons "such as a pistol, bowie-knife, dirk, or any other dangerous weapon. " As in Ohio, there was a " prudent man"
defense. 1 873 Neb. L. p. 724; 1 875 Neb. L. p. 3; 1 899 Neb. L. chap. 94, p. 349.

A revised municipal charter for Lincoln made it unlawful in the city to carry "any concealed pistol, revolver, dirk, bowie knife, billy, sling-shot, metal
knuckles, or other dangerous or deadly weapons of any kind." The city's police were authorized to arrest without a warrant a person found "in the
act of carrying" concealed "and detain him." 1 895 Neb. L. pp. 209-10.

Missouri (1 874).

Concealed carry was forbidden in many locations:

   [A]ny church or place where people have assembled for religious worship, or into any school-room, or into any place where people may be
   assembled for educational, literary or social purposes, or to any election precinct on any election day, or into any court-room during the sitting of
   court, or into any other public assemblage of persons met for other than militia drill or meetings, called under the militia law of this state, having
   concealed about his person any kind of fire-arms, bowie-knife, dirk, dagger, slung-shot, or other deadly weapon . . .

1 874 Mo. L . p . 43; 1 875 Mo. L . pp. 50-51 . This was similar t o the 1 873 Texas statute, but unlike Texas, i t applied only t o concealed carry.

Like states from 1 837 Mississippi onward, Missouri forbade the exhibit of "any kind of firearms, bowie knife, dirk, dagger, slung shot or other deadly
weapon, in a rude, angry or threatening manner, not in the necessary defence of his person, family or property. " 1 877 Mo. L. p. 240.

The exhibiting statute and the concealed carry statute were combined in 1 885. The new law also forbade carrying the listed weapons when
intoxicated or under the influence. Providing one of the arms to a minor "without the consent of the parent or guardian" was outlawed. 1 885 Mo. L.
p. 140.

Arkansas (1 874) .

Antebellum Arkansas had legislation against concealed carry, but not specifically about Bowie knives.




                                                                                                                                       APP. 876
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      USCA
The next year, theCase     #23-7061
                   state supreme court heard Document
                                             a case of a man #2029097                Filed:
                                                             who had been convicted of carrying11/29/2023           Page
                                                                                                a concealed pocket pistol.    317v. State,
                                                                                                                           In Fife  of 507 the
Arkansas court quoted with approval a recent Tennessee case stating that the state constitution right to arms covered

   Such, then, as are found to make up the usual arms of the citizen of the country, and the use of which will properly train and render him efficient
   in defense of his own liberties, as well as of the State. Under this head, with a knowledge of the habits of our people, and of the arms in the use of
   which a soldier should be trained, we hold that the rifle, of all descriptions, the shot gun, the musket and repeater, are such arms, and that, under
   the Constitution, the right to keep such arms cannot be infringed or forbidden by the Legislature.

The Arkansas court continued: "The learned judge might well have added to his list of war arms, the sword, though not such as are concealed in a
cane. " The pocket pistol not being a war arm, the defendant's conviction was upheld. Fife v. State, 31 Ark. 455 (1 876) . Needless to say, Fife's
protection of "the rifle of all descriptions" makes Fife and the 1 875 statute poor precedents for today's efforts to outlaw common rifles.

1\vo years later, a conviction for concealed carry of "a large army size pistol" was reversed. " [T]o prohibit the citizen from wearing or carrying a war
arm . . . [was] an unwarranted restriction upon [the defendant's] constitutional right to keep and bear arms. . . . If cowardly and dishonorable men
sometimes shoot unarmed men with army pistols or guns, the evil must be prevented by the penitentiary and gallows, and not by a general
deprivation of a constitutional privilege. " Wilson v. State, 33 Ark. 557 (1878) .

The legislature responded in 1 881 with a new statute against the sale or carry of "any dirk or bowie knife, or a sword, or a spear in a cane, brass or
metal knucks, razor, or any pistol of any kind whatever, except such pistols as are used in the army or navy. " 1 881 Ark. Acts chap. 96, pp. 191-92.

As discussed in my companion post, 'I!Jgjfgal historyQf bans on firearms and Bowie knives before 1900. the 1 881 Arkansas statute might arguably
have been consistent with the state constitution, but it is contrary to modem Second Amendment doctrine.

Wisconsin (1 874) .

Some municipal charters enacted or amended by the Wisconsin legislature included provisions authorizing localities to regulate or prohibit concealed
carry " of any pistol or colt, or slung shot, or cross knuckles, or knuckles of lead, brass or other metal, or bowie knife, dirk knife, or dirk or dagger, or
any other dangerous or deadly weapon. " 1 874 Wisc. L. chap. 4, p. 1 84 (Milwaukee) ; 1 875 Wisc. L. chap. 262, p. 471 (Green Bay) ; 1 876 Wisc. L. chap.
4, p. 21 8 (Platteville) ; 1 876 Wisc. L. Chap. 31 3, p. 73 7 (Racine) ; 1 877 Wisc. L. chap. 5, p. 367 (New London) ; 1 878 Wisc. L. chap. 112, pp. 119-20
(Beaver Dam) ; 1 882 Wisc. L. chap. 92, p. 309 (Lancaster) ; 1 882 Wisc. L. chap. 1 69, p. 524 (Green Bay) ; 1 883 Wisc. L. chap. 1 83 , p. 71 3 (Oshkosh) ;
1 883 Wisc. L. chap. 341 , p. 990 (La Crosse) ; 1 883 Wisc. L. chap. 351 , p. 1034 (Nicolet) ; 1 885 Wisc. L. chap. 37, p. 26 (Kaukana) ; 1 885 Wisc. L. chap.
159, p. 753 (Shawano) ; 1 885 Wisc. L. chap. 227, p. 1109 (Whitewater) ; 1 887 Wisc. L. chap. 1 24, p. 336 (Sheboygan); 1 887 Wisc. L. chap. 161 , p. 684
(Clintonville) ; 1 887 Wisc. L. chap. 162, p. 754 (La Crosse); 1 887 Wisc. L. chap. 409, p. 1 308 (Berlin) ; 1 891 Wisc. L. chap. 123, p. 699 (Menasha) ; 1 891
Wisc. L. chap. 23, p. 61 (Sparta) ; 1 891 Wisc. L. chap. 40, p. 1 86 (Racine) .

Wyoming (1882) .

As in other states, it was unlawful to "exhibit any kind of fire arms, bowie knife, dirk, dagger, slung shot or other deadly weapon in a rude, angry or
threatening manner not necessary to the defense of his person, family or property. " 1 882 Wyo. chap. 81 , p. 1 74; 1 884 Wyo. chap. 67, p. 114.

Oklahoma territory (1890) .

Oklahoma had a confusing statute, although what matters for present purposes is that the law applied to "any pistol, revolver, bowie knife, dirk,
dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of knife or instrument manufactured or sold for the purpose of defense. "
Section 1 forbade anyone to "carry concealed on or about his person, or saddle bags " the aforesaid arms, which do not include long guns. Section 2
made it illegal "to carry upon or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy, metal knuckles, or any other
offensive or defensive weapon. " Unlike section 1 , section 2 applied to carry in general, not just concealed carry. Whereas the residual term of section
1 was anything "manufactured or sold for the purpose of defense," the section 2 residual was "any other offensive or defensive weapon. " What the
difference was is unclear. Section 3 banned sales of the aforesaid items to minors. The statute affirmed the legality of carrying long guns for certain
purposes, such as hunting or repair. 1 890 Okla. L. chap. 25, p. 495; 1 893 Okla. L. chap. 25, p. 503.

Iowa (188 7) .

There was no state legislation on Bowie knives in the 19th century, notwithstanding the California Attorney General's claim in a brief that "Iowa
banned their possession, along with the possession of other 'dangerous or deadly weapon[s],' in 1 887. See id., Ex. E at 24. " Defendant's
Supplemental Brief in Response to the Court's Order of September. 26. 2022, Duncan v. Bonta, at 41-42, Case No. l 7-cv-101 7-BEN-JLB (S.D. Cal. Nov.
10, 2022 ). The brief's cite is Declaration of Robert Spitzer, p. 24, electronic page no. 163 of 230, reproducing without comment an 1 887 Council Bluffs
municipal ordinance making it illegal to "carry under his clothes or concealed about his person, or found in his possession, any pistol or firearms "




                                                                                                                                   APP. 877
                    Case 1 : 2 2-cv-02256-RC                 Document 24-12               Filed 01/23/23 Page 14 of 14
home. USCA
      In context,Case   #23-7061
                  the more                  Document
                           appropriate reading would be for #2029097
                                                            concealed canying that didFiled:  11/29/2023
                                                                                       not involve                 Page
                                                                                                   wearing the weapon,      318 ofcarrying
                                                                                                                       for example, 507 in a
bag. If the Council Bluffs government really meant something as monumental as outlawing all firearms in the home, the ordinance would be a very
oblique way of saying so.

Michigan (1891) .

A charter revision allowed the town of Saginaw to make and enforce laws against concealed carry of "any pistol, revolver, bowie knife, dirk, slung
shot, billie, sand bag [a small bag with a handle; used as an impact weapon] , false knuckles [same as metal knuckles, but could be made of
something else] , or other dangerous weapon. " 1 891 Mich. L. chap. 257, p. 409; 1 897 Mich. L. chap. 465, p. 1030.

Vermont (1891 ) .

No possession "while a member o f and i n attendance upon any school, " of "any firearms, dirk knife, bowie knife, dagger or other dangerous or
deadly weapon. " 1 891 Vt. L. chap. 85, p. 95.

Rhode Island (1893) .

No concealed cany of "any dirk, bowie knife, butcher knife, dagger, razor, sword in cane, air gun, billy [club], brass or metal knuckles, slung shot,
pistol or fire arm of any description, or other weapon of like kind of description. " 1 893 R.I. L. chap. 1180, p. 231. Hat tip to Prof. Spitzer's Declaration
for this; Hein Online has the session law book, but it returns a null search result for "bowie. "

Local ordinances on Bowie knives

As described above, state legislative enactments of municipal charters sometimes authorized a municipality to regulate Bowie knives, usually by
taxation of dealers or owners, or by prohibition of concealed carry. Additionally, there were Bowie knife laws that were simply enacted by
municipalities, without any need for state action. Here is a list of such laws, taken from the Declaration of Robert Spitzer, above. The cities are in
alphabetical order by state. The year is often the year of publication of municipal code, and not necessarily the date of enactment. All the ordinances
covered Bowie knives and various other weapons.

Against concealed cany: Fresno, California (1896); Georgetown, Colorado (1877); Boise City, Idaho (1894); Danville, Illinois (1883); Sioux City, Iowa
(1882); Leavenworth, Kansas (1863); Saint Paul, Minnesota (1871); Fairfield, Nebraska (1899) ; Jersey City, New Jersey (1871) (and no carrying of
" any sword in a cane, or air- g un"); Memphis, Tennessee (1863);

No carrying: Nashville, Tennessee (1881); Provo City, Utah territory (1877)

Against hostile display: Independence, Kansas (1887) .

Against carry with intent to do bodily harm: Syracuse, New York ( 1 885) .

Extra punishment if carried by someone who breached the peace or attempted to do so: Little Rock, Arkansas (1871) ; Denver, Colorado (1886).

No sales or loans to minors by a "junk-shop keeper or pawnbroker . . . without the written consent of the parent or guardian of such minor. " Fresno,
California (1896) .

Conclusion

As of 1 899, there were 46 States in the Union; of these, 32 had at some point enacted a statute containing the words "bowie knife" or variant. (This
figure includes enactments by territories that had achieved statehood by 1 899.) At the end of the 19th century, no state prohibited possession of
Bowie knives. 1\vo states, Tennessee and Arkansas, prohibited sales. The most extreme tax statutes, such as Alabama's $100 transfer tax from 1 837,
had been repealed.

Only a very few statutes had ever attempted to regulate the peaceable possession or carrying of Bowie knives more stringently than handguns or
other fighting knives, such as dirks and daggers. Of those, only the 1 838 Tennessee sales ban was still on the books by the end of the century. The
overwhelming majority of state statutes that addressed Bowie knives treated them exactly the same as comparable knives; many treated such knives
like handguns. As with handguns, the states were nearly unanimous in rejecting bans on adult possession or acquisition of Bowie knives. Likewise,
only a few jurisdictions forbade the open carry of Bowie knives, and in those that did, open cany of handguns was also outlawed.The much more
common approach was to legislate against concealed cany, criminal misuse, or sales to minors. In a few states, taxes on knives and handguns were
sometimes different.
In the Supreme Court's Heller and Bruen decisions, the few laws that banned acquisition or open carry of handguns laws of the 19th century were
 treated as eccentricities that did not establish a national tradition. The history of Bowie knife laws is no stronger in terms of creating historical
 precedents for bans on owning, acquiring, or carrying common knives. It would be implausible to claim that the 19th century laws on Bowie knives
 or handguns can be stretched by analogy to justify 21st century bans on common firearms or magazines.


                                                                                                                                  APP. 878
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       1934)                           ACTS OF ASSEMBLY                                      1 37
       CllAP, 95.-A n ACT to empower the councils of cities nncl towns to release the
           lialiility and liens for interest, J>enallics at1d nccrnc<l costs, or nny pnrt thereof,
           on unpaid taxes due such cities nm\ towns for nny year or years to and ln�
           eluding 1933, provided such taxes arc paid witl1in 011c huntlrcd nnd twenty
           <lays after this net is in force.         •                                 lH B 48]
                                      Approved l\farch 7, 1934

           1 . Be it enacted by the General Assembly o f Virginia, That the
       councils o f cities amt towns arc hereby empowered to release nil persons,
       firms, associations nncl corporations from nil Iinbility, for interest,
       penalties and accrued costs on- any taxes due such respective cities nncl
       towns for any yc:u· or yearn prior to and includ ing the year nineteen
       hundred and thirty� thrce, that arc tmpaicl at the · timc the ordinance re­
       lieving same goes into cITcct, provided such unpnid taxes nre paid such
       citie.ri or towns within one hundred nnd twenty cla y s after the date this
       act shall be in force,
           2. That 11othiug- in this act contni11cd shall empower nny such coun­
       cil to release nny liability fo.r interest, pcnn ltics and nccrtted costs, or
       any part thereo f, on s uch unpaid tnxcs ns nrc not paid withi11 the one
       hundred and twenty clays ri f orcsaid.
            3. By reason o f the necessity o f immcclintely granting sai�l cou ncils
       power to grnnt taxpayers the_ above relic f, an emergency is dccla1·ccl to
       exist, nnd this net shal l he in force from its passage.



       CnA1•, 96.-An ACT to define the term "mnchinc gun" ; to dcclnre the use aml
          possession or n machine gun, for certain purposes, n. crime and to prescribe
          the punishment therefor : to require 111nn11fucturcrs, dealers ancl ot}ll!r pl!rsons,
            with certain c!XCtn()t ions, in possc.� §ion thereof, to 1•cgistcr nil machine guns
            with the Secretary o( the Commonwcnllh ; to lcccp records or and report
            tr.tnsfcrs and sales to the said Secretary : to allow inspcdion of records and
            of machine guns by pence orriceri; : to provide for seizures and search war­
            rants ; to prci;cribc rules of eviclcncc nncl presumptions ; lo provide _penalties,
            ,111<1 to repeal all inconsistent acts,                                [S B 110]
                                       Approved Mnrch 7, 1934
             1 . Be it enacted hy the General As!lemhly o f Virginia, as follows :
            Section 1 . ,vhcre used in this net :
             (n) "Mnch inc gun" applies to and includes a weapon o f nny descrip­
        tion by whntcvcr name known, loa<lecl or unloaded, from which more
        than seven shots or hulfots may be rapidly, or nutomatknlly, or semi­
        autonmtlcnlly discharged from n magazine, by a single function of the
        firing device, and also applies to :md inclndcs weapons, loaded or un­
        loaded, from wh ich more than sixteen shots 01· bullets may be rapidly,
        automaticnlly, semi-automatically or othcrwfae discharged without rc-
        loadin (r,              •
              (b J "Crime o f viol�ncc" applies to and includes any of the follo)v­
         ing crupes or an attempt to commit nny of the same, nnmcly, murder,
        manslaughter, kldnappin_g, rape, mayhem, assault with intent to maim,


                                                                                  Exhibit B
                                                                                 Page 0008 APP. 879
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                                           .ACTS OF ASSEMBLY                               [VA,

             disnhlc ; disfigure or kill, robbery, lrn rglnry, housebreaking, hrcnldng nnd
             entering, an<l larceny.
                   ( c ) "Pcrso11 1 1 applies to nncl incluclcH fir m, pnrtncn;hip, n:rnocintion
             or corporntion.
                  Section 2. Possession or use of n machine gun in the pcrpctrntinn
             or attempted perpetration of a crime of vio1c-ncc is hcrchy <lcclarccl to
             he a crime punishable hy deat h or by i mprisonment in the State peni-
             tentiary for n term of not less than twenty years.
                  Section 3. Unlaw ful possession or use of a machine gun for o ffen­
              sive or aggressive pttt·posc· ii; hereby declared to be n crime ptm islrnblc
             hy i mpri!mnment in the Stntc penitentiary for a term o f not less than
             ten vca1·s.
                  Section 4. Possession or use of n mnchi11c gun shall be prei;umcd to
             be for offensive m· ·ng,;rcsslvc ptlrposc :
                  (a) \\/hen the machine gun is on premises not owned nr rented,
             for bona fide permnncnt residence or hush1e=ss occupancy, hy the per­
             son in whose pC1sscssion the nmchinc gun mny he founcl ; or
                  (b) When in the possession of. or usecl by , .nn unnatu ral iiccl -fot·c.i gn­
            born person , nr a person who hn� hcr.n convicted of n crime of violence
            in any court of record, stntc or feckrnl , of the Un ited States of America,
             its territories or insulnr possessions ; or
                  (c ) \.:Vhen the mach ine gun is of the kind described in section eight
            and lms net hccn registered as in snirl section rcqnirccl ; or
                  (cl ) W hen cn,pty or londc(l pistol shells o f thirty ( thirty onc-lmn­
            clrcdths inch or seven and si xty-three one-hundredths millimeter) 0 1·
            larger calihcr which Imvc been or arc susceptible of use in the machine
           ·gun nrc found in the immediate vicinity thereo f .
                  Section 5. The presence of n machine', gun in any room, boat, or
            v�hicle slrnll be f11'i111a facic cviclcnce of the pos�ession or irne of the
            machine gun by each person occupying the rnom, hont, or vehicle where
            the weapon is f ouncl,
                  Section 6, Nothiiig contained i n this act shnll proh ibit or intcrf erc
            wjth
                • Fi rst. The mn1�u £actmc [or1 nnd sale o f . machine r{tltlS to the mili­
            tary forces or the peace of-ficcrs of the United States or of any political
            subdivision thereo f, or the transportation rcqni rccl for thnt purpose.
            This net shal l not apply to ma·c hine gtms and m,tfmmtic arms issued
            to the National Guard of Virginia by the United Stntcs or such arms
            used hy the United Stntes Army or nvy or in the hands of trnops of
            the National Guards o f oth er States or Territoi-ics of the United States
            passing throttgh Virginia t or such arm s as may he provided for the
            officerf; o f the State Pol ice or officers o f penal institutions,
                  Second. lhc possession of a machine gun for scientific purposes, or
           the possession of a machine gun not usable as il weapon nncl possessed
            ns a curiosity, ornament, or kccpsnkc :
                  Thi rd . 1 he possession o f a machine gun oth er thnn• one adapted to
            ,me pistol cartridges o f thi rty (thifty one-hundredths inch 01· �even and
            sixty-three one-hund redths millimete�) or larger caliber,• for n purpose
           manifestly not aggressive or offensive.



                                                                         Exhibit B
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        19341                       ACTS OF ASSEMDLY                              139
             Section 7. Every mnnufnctu rcr or denier shal l keep :l tcgister o f nil
        machine guns manu factured or hnncl lcd by him. This register sha11
        show the model and serial number, dntc of mnnufnctur�, snle, lonn ,
        gi ft, del ivery or receipt, o f every machine gun, the name, nddrcss, nnd
        occupntion o.f the person to whom -the machine gun wns sold, lonned,
        given or delivered , or from whom Jt wns 1·cccivccl ; and the pmposc for
        which it wns acquired by the person to whom the machine gun. wns sold,
        loaned, given or clel ivcrcd, or from whom received. Upon clcmnnd
        every 1111111 u foctnrcr or deale!' shall permit n ny mnrshnl, sheri ff or
        poli ce officer to in spect Ms entire stock o f machine guns, parts, nncl
        suppl les therefor, and slmll produce tl�c register, bcl'cin req uired, for
        inspection. A v iolation o f nny provision of this section shnll he pun ish.
        able by a line of not less than one hundred dollars nor more than one
        thousand <lol lnrs.
             Section 8. Every machine gun now in this Stnte nclnpted to use
        pistol cartridges of thirty ( thirty one-hundredths inch or seven· and
        sixty-three onc�hunclrc<lths millimeter ) or lnrgcr caliber shall be regis­
        tered in the office of the Sccrctnry o f the Commonwealth on the effective
        date of this net, nnd annually thcrcn ftc1·. I f acqui red hcrca f tcr it shall
        be registered within twenty-four homs a fter its ncquisition ; Blanks
        for registration shnll be prepared by the Secretary o f the Commpn­
        wealth, and furn ished upon npplicntion. To comply with this section the
        application as filed must show tbc model and serial ntunbcr o f the gun,
        the ·n ame, address and occupation o E the person in possession 1 and from
        whom an d the purpose for which, the gun was acqulrcc.l. The Secretary
        of the Commonwenlth shall immediately upon registration required in
        this section furnish the registrant with n certificate of registrntion,
        which shnll be kept by the registrant ancl produced by him upon demand ·
        by .J.llY peace officer. Failure to keep or produce such certificate for
         inspection shall be n misdemeanor and punishable by a fine of not less
        than five nor more than one thousand dollars, and any pence officer
        may, without warrant, sei ze the mach ine gun nnd apply for its con­
         fiscation as provided in section nine of this act. The registration data
         shall �10t be subject to inspection by the public. Any person foil ing to
        reg ister nny gun as rcriuircd by this section, shall he presumed to possess
        the same for o ffensive or aggressive purpose.
              Section 9. \i\'arrant to scal'ch nny house or place nnd sei ze any
         mach ine gun adapted to use pistol cartridges of thirty ( thi rty one-hun­
         dredths in ch or seven and sixty-three one-hundredths millimeter ) or
         larger caliber possessed in violat ion of this act may Issue in the same
         mnnner and under the tmmc restrictions as provided by Jaw for stolen
         property, nnd nny court of record, upon nppl lcation of the Common­
         wea l th 's attomey, a po1 icc officer or conservator of the peace, shall have
         juris4iction and power to order any mach ine gun, thus or otherwise
         legally seized, to he con fiscated and either destroyed or delivered to a
         pence officer of the State or a political subdivision thereof.
              Section 1 0. If any provision o f this net or the application thereo f to
         any person or circumstances is held i nvalid, such invnliclity shall not
         affect other provisions or a pplications of the act which can be given


                                                                       Exhibit B
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            140                             A CTS OF ASSEMBLY

            effec� ;vithout t �1c invali d provision or npplicution, nnd to this end the
            prov1s1ons of this act are dcclnrccl to be severable,
             • Section I 1 . This act shn1J be so interpreted ancl .constrned as to
                        ,
            effectuate its gc11 crnl purpose to make uni form the law of those stntcs
            which enact it,
                Scct! on 12, This net may be cited as the Uni form Machine Gun Act.
                Section 1 3. All acts o r parts o f acts which arc inconsisten t with the
            pro visions of this act arc hereby repealed,



            CHAI', 97.-An ACT lo make c!Tcctivc the. Co11stit11tional provision to the cfTect
               that the General Assembly s!inll cstrol>lish unc\ maintain an cmcicnt system or
               1>11blic free schools throl1ghout the ::itatc, and to repent ni l acts anc) parts of
               acts inconsistent with this act.                                         [S B 153}

                                          Approved l.'fnrch 7, 1934

                Whereas, section _ on e lmml rcd aml twenty-nine o f the Constitution
            of Virginia provides that "The General Assembly shall establish a11d
            maintain • nn .e fficient syi,tcm o f public free school s throughout the
            State,'' now, therefore ,
                1 . Be it enacted by the Gcnernl Assembly o f Virgin ia, as follows :
                Section 1 . The school bou rcl of each and every school division in
            the Stnte is hereby empowered and required to maintain the public free
            schools· of such division for a period of at least eight months or one
            hundred nncl sixty t eaching days in each school year, In order that
            each school division may hnvc the funds ncccssnry to enable the school
            board to maintain th e elementary nncl h igh schools thereof for such
            minimum terms, it is hereby provided that when any county. city or
           town has legn1Iy complied with the exi sting l aws w ith re ference to local
           school l evies, such school rl: vision or d ivisi ons shall he allotted out of
           the public school funds h eld 'in the treasury o f the State for cnch group
           o f twenty-five to forty pupils in average <laity attendance, a sum equal
           to the amount to be clcl'ivcd by dividing said public school fond l>y the
           number of groups of twenty�fivc to forty pupils in average dully attend­
           ance in the State, dc11encling ttpon the density o f population, to he ap­
           portioned by the State Bonrd of E<lucntion; as provlclcd in sect.ion one
           hundred nn<l thi rty-live o f the Conf'>t itntion nn<l in con formity with the
           provisions of the Code ancl of the /\ct1-1 o f the Assembly n11 dcl' such
           rules and 1•cgulntions ns may he set up hy snid Stntc Ilonrd of Education.
               Section 2. That in addition the counties and cities shall )rovidc,
           from local school taxes, ns provided in section one hundred nn J thirty­
           six o f the Constitution of Vi rginia, for the supplementing of their in"
          structiono.1 progr.ams such amounts ns will insmc the services of proper­
          ly prepared an<l efTcctivc tcachhig personnel , oncl to the dcgt'cc that
          financial ability nnd community interest in education will permit ; pro­
          vided further, that the counties and cities shall provide, in keeping with
          the l aws already existing, such funds as may be necessary for debt sc,·­
          vice, capital outlay 1 transportation, general operation and maintenance.


                                                                            Exhibit B
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 8
 9                   IN THE UNITED STATES DISTRICT COURT
10                  FOR THE SOUTHERN D ISTRICT OF CALIFORNIA
11   VIRGINIA DUNCAN, et al.                     Case No: 17-cv- 1017-BEN-JLB
12
                               Plaintiffs,       DECLARATION OF CLAYTON
13                                               CRAMER IN S UPPORT OF
                        V.                       PLAINTIFFS' S UPPLEMENTAL
14                                               BRIEF; EXH IBIT 42
     XAVIER BECERRA, in his official
15   capacity as Attorney General of the State
16   of California,

17                             Defendant.
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                         DECLARATION OF CLAYTON CRAMER                 APP.
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 1   Triple Murder, Suicide Apparent, [Parsons, Kansas] Parsons Sun, Apr. 04 ,
        1953, 7 . ......... . ....... .................. ..... . . . .. ........ .. ........... . .......... . ............... .... .....................32
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 3   Tulsa Race Riots, https://www.history.com/topics/roaring-twenties/tu1sa-race-
        rnassacre, ............ . . . . . . .. .... ............. . . . ...... ............... . . . . . .. .. ............... . . . . . .. . . .. ............. . ... . . 2 1
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     U.S. Secret Service, Mass Attack':J in Public Spaces - 201 9, 6 (August, 2020) ........ . . . .. . 1
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     Washington Standard [Olympia, Wash. ], Mar. 1, 1901, 3 ......................... . ................. . ... 8
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 9 Whole Family Murdered, [St. Genevieve, Mo.] Fair Play, Oct. 20. 1900, 1 . ........... . . . . . 13
10 Woman Indicted in Chicago Blaze, New York Times, Feb. 4, 1 976. ........... ................ .23
11   Woman Shot. Tots Choked, Brownsville Herald, May 20, 1931, 1 .... . .. ........ ...... ... ...... 1 1
12
     Woman to Face Murder Charge, Waxahachie [Tex.] Daily Light, Feb. 8, 1909, 1 ....... .3
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 1             I, Clayton Cramer, declare as follows:
 2   I.        Purpose
 3             1.    This Expert Declaration and Report identifies one gross error of fact in
 4 DEFENDANT' S SUPPLEMENTAL BRIEF IN RESPONSE TO THE COURT ' S
 5   ORDER OF SEPTEMBER 26 2022. The claim: "From the colonial period into the
 6   early 20th century, mass murder occuned in the United States, but typically as a group
 7 activity, because technological limitations impaired the ability of a single person to
 8   cormnit mass murder."
 9             2.    Even without Large Capacity Magazines (LCMs ), mass murder was
10 common and often individual in nature.
11   II.       My Current Research Project
12             A. Defining Mass Murder
13             3.    Since 2019, I have been researching the history of mass murder in the
14   Unjted States. The definition of mass murder does not have a universal definition.
15   The FBI's definition of mass murder is four or more dead (including the killer) in one
16 event, in one location. 1 Other agencies, such as the U.S. Secret Service use the term
17   "mass attacks" in which "three or 1nore people are harmed."2
18             4.    For purposes of my research, I have adapted the Secret Service and FBI
19   definitions to include at least two murder victims committed in multiple locations
20 within 24 hours and the Secret Service's "three or more harmed." The suicide or
21   lawful killing of the mass murderer or murderers is not included in the total dead.
22             5.    I have excluded multiday mass murders committed in riots, such as the
23   New York City Draft Riots of 1863, and many of the race riots of the 20th century
24   because they were not in one location. Dete1mining when these murders took place
25
26
         FBI, Serial Murder: Multidisciplinary Perspectives for Jnve.s·figators 8 (2008),
           1
27 distinguishing mass murder from serial murderers. "Generally, mass murder was
   described as a number of murders ( four or more) occurring during the same incident,
28 with2 no distinctive t ime period between the murders."
         U.S. Secret Service, Mass Attacks in Public Spaces - 201 9, 6 (August, 2020).
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 1   precludes easy classification. I also have excluded crimes such as the Colorado
 2   cannibalism murders in 1874, because it is unclear over what period the victims were
 3   murdered.
 4         6.     There are deaths that might qualify as mass murder, but which have
 5 circumstances that might also qualify as lawful self-defense and are thus not included. 3
 6   There are mass murders which appear to be gang-related; I have excluded many of
 7   those because detennining if they were defensive in natw·e or not requires confidence
 8   in the integrity of the participants, who often have reason to lie.
 9         7.     Obviously, mass murder does not include acts of war. Mass murders
10 committed by gove1nments as official policy are outside the legal definition of murder.
11   Other horrifying mass killings outside our definition include those performed by non-
12   state actors with the acquiescence, assistance, or encouragement of local, regional, or
13   national governments. Example: the Armenian genocide in Turkey during and
14   immediately following World War I. Also excluded are governmentally supported acts
15 of mass murder committed outside the rules of land warfare. The bombing of the Soo
16   Locks on the Great Lakes shortly after U. S. entry into World War I, which would
17   otherwise meet the c1iteria of mass murder, smells suspiciously like German sabotage
18   and I therefore excluded it.4 This also excludes one of the earliest American mass
19   murders: ten murdered by Lenape fudians at a school in 1 764 Greencastle,
20   Pennsylvania, 5 as well as the many thousands (at least) killed in various Indian wars
21   (such as the hundreds killed during the Dakota War of 1862).
22         8.     I have excluded most mass murders of Indians by Indians because most
23   were outside the civil society of America, and the records of such crimes are thus
24
25
26    3 Renewal ofMob Attacks Resulting in 3 Deaths and 13 Irg,ured on Second Day o[
   Lawlessness Causes Governor to Act, GREAT FALLS [MONT. J DAILY TRIBUNE, Aug. 7,
27 1920, at 1.
      4 Attempt Made To Wreck Soo Locks, EAST OREGONIAN, May 16, 1917, 1.
      5 Robert J. Ursano, Carol S. Fullerton
28                                             Lars Weisaeth, Beverley Raphael, ed.,
   TEXTBOOK OF DISASTER PSYCHIATRY 204 (2 nd ed. 201 7).
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 1   necessarily incomplete. The Criminal Justice Research Center's data on Colonial and
 2   Revolutionary New England murders contains examples that meet this definition. 6 I
 3   have included incidents where a mass murder (by white or Indian and regardless of the
 4 victim's race) was clearly not a part of warfare, such as those motivated by robbery or
 5 kidnapping with the goal of ransom.
 6          9.    There are mass murders where the victim count includes people killed
 7 because a felony was taking place. Because of the felony-murder rule, I have included
 8 people killed lawfully in the course of a felony as mass 1nurder victiins, such as
 9 happened in the Johnson County War. 7 I have excluded incidents in which all the
10   dead were felons. 8
11          10.   There are incidents which might be best categorized as mutual combat,
12   where armed groups attacked each other with great loss of life but determining who
13   were the victiins and who were the murderers is not easy from surviving news
14 coverage, such as the struggle between Democratic and Republican campaign workers
15 in Clayhole Voting Precinct in 1922. The ensuing gunfight killed at least five people
16 and wounded ten to thirteen others. 9
17          11.   I have excluded a small number of cases where tiial found the killer not
18   guilty of what were clearly mass murders. Example: Miss Verna Ware opened fire in
19 the Gatesville courthouse in 1 909, killing the man she accused of seducing her, two
20 others not involved in the case and wounding a fourth. 1 0
21
22
23
24      6
           Criminal Justice Research Center, Homicide Among Adults in Colonial and
     Revolutionary New England, 1 630- 1 797,
25   https://cjrc.osu.edu/research/interdisciplinary/hvd/united-states/colonial-revolutionary-
     new-england.
         7 A War in Wyoming, [Maysville, Ky_.J EVENING BULLETIN, Apr. 13, 1892 I .
26       8
           Nevada MininJ? Boss Besie_Ked in Hts Office, KALISPELL BEE� Jan. 09, 1 903A I
27      9
           Some  Facts Af5out Clayhole, [Lancaster Ky.] CENTRAL RECORD, Jul. 20, 1Y22 I .
         10
            Woman to Face Murder Charge, WAXAHACHIE [Tex.l DAILY LIGHT, Feb. 8
28   1909, 1 ; Four People Wounded, PALESTINE [Tex.] DAILY HERALD, Feb. 4, 1 909, 2;
     Jury Verdict Not Uuilty, LIBERTY [TEX.] VINDICATOR, Feb. 1 1 , 19 1 0, 1 .
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 1          B. Finding Mass Murders
 2          12.    How do you find historical mass murders? The phrase "mass murder" is
 3   quite rare in histmical documents. Using the ngram tool in books.google.com for
 4   books published 1 600-2000 shows essentially zero matches until 1952, 1 1 and many of
 5 the rare pre-1952 matches are actually abbreviations of Massachusetts such as "Mass.
 6   Murder" or "Mass., murder." 1 2 The abbreviation "Mass." causes similar problems
 7 when searching the Library of Congress' collection of 1789-1963 newspapers for the
 8   words "mass" and "murder" within five words of each other. 1 3 An additional problem
 9 is the use of the phrase to describe governmentally sanctioned and indeed government-
!0   operated warfare. 1 4
11          13.    Searching the Libraiy of Congress' Chronicling America collection of
12   newspapers for the words "murders", "murdered", "killed", "slain", "dead" in
13   association with numbers found a sea of matches, most of which needed to be read
14   before discarding. In many cases, similar or identical news stories appeared in
15   multiple newspapers. If the same facts appeared repeatedly, and there were hundreds
16   of references to an event, I did not read every newspaper account of that event.
17          14.    There are several frustrating limitations of the Chronicling America
18   collection:
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 1             i.   Copyright restrictions make post-1922 newspaper collections
                    incomplete.
 2
 3             u.   Many of these mass murders, in addition to appeaiing in many
                    different newspapers, sometimes appear in only one or two
 4
                    newspapers, far removed from the crime, both geographically
 5                  and temporally. One example is a mass murder of three in
                    Tamworth, .H. in 1 857 which appeared only in an 1 858
 6
                    smnrnary of the previous year's events, which was publish d in
 7                  Pennsylvania. 1 5 This made it difficult to gather additional data
                    on the crime.
 8
 9            m.    Nineteenth century accounts often used the word "murders"
                    rather far afield from its legal meaning, or in reference to general
10
                    social problems such as alcohol. This produced so many
11                  thousands of matches that I have often settled for detailed
                    examination of the first 100 front page news stories. Newspapers
12
                    in the nineteenth century also published many foreign news
13                  accounts and fiction. Limiting searches to the front pages thus
                    reduced false positives which would have to be laboriously
14
                    examined for location and fiction status. (If it didn't make the
15                  front page, it seems unlikely it could be either a specific crime,
                    or something as shocking as a mass murder.)
16
I7           15.    Defining a mass murder by the number of dead can understate mass
18   murders, if either police or civilian intervention interrupts the murderer. (There are
19 some examples in my list of mass murders cut short, although not soon enough, by
20 such actions.) In addition, some of the events gathered here list crimes in which the
21   immediate coverage includes persons wounded so seriously that the coverage describes
22 them as "probably fatally." 1 6 When considering the nature of medical and surgical
23 care available until my lifetime, it seems a good guess that those described as
24 "probably fatally" wounded can be properly included among the dead.
25
26
27      15
             Principal Events of General and Local Interest During the Year 1 85 7, LEWISTO
     [PENN.l GAZETTE, Jan. 2 1 , 1858, 1.
        1 6 Maniacal Unknown in Attempt to Exterminate Wh.ole Family, BISBEE [ARiz.]
28
     DAILY REVIEW, Apr. 6, 1922, l .

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 1           16.    Along with Chronicling A merica, I have made extensive use of the
 2   commercial site Newspapers. com and a few secondary sources.
 3           1 7.   Another valuable source was the list of "Homicide among Adults in
 4 Colonial and Revolutionary New England, 1 630- 1 797," compiled by Randolph Roth
 5   and Cornelia Hughes Dayton. 1 7 While this is a list of all murders, not just mass
 6   murders, it provided an additional source of incidents.
 7           C. Group Activity
 8           18.    The State's claim is that earlier mass 1nurders were "typically. . . a group
 9   activity, because technological limitations impaired. the ability of a single person to
10 commit mass murder." The supposed distinction between modern individual mass
11   murder and group mass murder of earlier centuries does not stand careful examination.
12   Mass murder is still sometimes a group activity. Such happened at Littleton, Colo. on
13   Apr. 20, 1999 1 8 and the terrorist attacks of September 1 1 2001. Other recent group
14   mass murders include one on Oct. 3 1, 2019, in Otinda, Cal. A conflict between gangs
15 led to a shooting in which the murderers shot to death five people and "several others
16   were injured.." 1 9 On Dec. 31, 1 986, in San Juan, P.R. three Teamsters attempted to
17   negotiate a better labor contract with their employer by setting a fire that murdered 97
18   people. 20
19           19.    As this declaration later shows, individual mass murder is neither
20 particularly modem not dependent on technological advances.
21
22
23
        17  �andolph Roth <'.l1ld Cornelia Hughes Dayton, comp., Homicide among A dults in
24   Colontal and Revolutwnary New Eng[and, 1 630- 1 797, Oct. 2009,
     https://cjrc.osu.edu/research/interdisci linary/hvd/united-states/colonial-revolutionary-
25   new-england,    last accessed June 1�, 2B18.
         18
            R. Ba!Tl Flowers and H. Lorame Flowers, MURDERS [N THE U ITED STATES:
26   CRIMES,   KILLERS AND VICTIMS OF THE TwENTIETH CE TlJRY 59 (2001).
         19
            Annie Sciacca, "It was a bloodbath ": Orinda Halloween shooting investigation
27   reveals  gang connections, SA JOSE MERCURY-NEWS Nov. 17 2019.
         20
            3 Teamsters Charged in San Juan Hotel Fire, CHICAGO TRIBUNE, Feb. 4, 1988,
28   https://www.chicagotii6une.com/news/ct-xpm- l 988-02-04-880327061 7-story.html,
     last accessed November 24, 2018.
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 1           D. Data Limitations
 2           20.    It would be very useful to be able to extract data identifying which were
 3   group mass murders and which were individual. When I started this project, this
 4   seemed an unnecessary detail and so I did not gather it. While I cannot provide that
 5   level of detail on group vs. individual mass murders, I can say with confidence that the
 6 mass murders in my collection are primarily individual, although there are a number
                                                                              l
 7 that are group. How can I be so sure? Family mass 1nurders are very colTinon   both
 8 historically and in the present. They are usually by either the father or mother. I
 9   cannot immediately recall an intra-family mass murder carried out by more than one
10 person.
11           21 .   Before 1 960, these intra-famjly mass murders are 741 of 1 796 incidents;
12 2,784 out of 12,730 dead. (To avoid giving fame to the infamous, which produces
13   Herostratic mass murders, 2 1 my synopses consistently exclude the murderer's name.)
14           22.    When gathering this data, I only recorded if a particular weapon was used
15 rather than counting deaths by weapon. In older news accounts, there is no breakdown
16   of deaths by weapon. In many cases, the state of forensic medicine would make it
1 7 impossible to determine if the ax to the head or the subsequent knife to the throat was
18   the fata1 injury. It would make little difference which cause a victim's death: the
19 murderer' s punishment would be the same.
20           23.    A few examples of individual mass murders:
21                  Clarksburg, Va. : Nov. 10, 1 805: Man murdered bis wife and eight
22           children. While found guilty, there was substantial evidence of mental illness.
23           Weapon: ax. 22
24
25
26
27      21
            Clayton E. Cramer, Ethical Problems ofMass Murder Coverage in the Mass
     Media 9: 1 JOURNAL OF MASS MEDIA ETHICS 26-42 (Winter, 1993-921-).
         22 Trial ofA bel Clements, [Edinburgh, Scotland] CALEDONIAN MERCURY, Aug. 25,
28
     1 806, 4.
                                                  7
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 1                  Hallowell, Me. : Jul. 9, 1 806, James Purrington (or Purrinton), murdered
 2           his wife and seven of his eight children with an axe or knife before killing
 3           himself with a knife. The cause was unclear, but the mw·derer mentioned
 4           pove1ty in a suicide note. Weapon: ax. 23
 5                  Uniontown, Wash. Feb. 25, 1901: A woman threw her six chlldren down a
 6           30 foot deep well, "then jumped into the well, and, the belief is, held their heads
 7           under water until all were drowned."24 "She is violently insane. The woman's
 8           husband died a year ago, and she has been supported by the county and charity
 9           of neighbors."25 Reporter interview supports evidence of insani ty: "[S ]he gave
10           him incoherent reasons for slaying her little ones . . . . [s ]he had read of the
11           Chinese war and the terrible atrocities committed in the Orient, and had warning
12           that the Chinese were coming today to bum her house and slay her children . ..
13           Mr. Rustemeyer . . . was well acquainted with the family. . . He said . . . Mrs.
14           Wurzer was never considered just right in her mfo< L and trunks she should have
15           been restrained of her liberty long ago." Weapon: drowning. 26
16           24.    Through 1 960, there were 797 non-firearm mass murders: 3,78 1 dead: an
17 average of 4.74 dead per incident; 840 exclusively firearms mass murders, 3,653 dead:
18 an average of 4.35 dead per incident. N onetheless, fireanns mass murders were not
19 rare, even with "primitive" technology:
20
21
22
23
24
25      23
          Laurel Thatcher Ulrich, A MIDWIFE'S TALE : THE LIFE OF MARTHA BALLARD,
     BASED 0N HER DlARY, 1785-1 812 291-307 (1990),; HORRID MURDER! Ar AN EARLY
26   H0UR ON WEDNESDAY MORNING LAST, THE ! NHABITANTS OF TH1S TOWN WERE
     ALARMED  WITH THE DREADFUL lNFORMATION . . . l (1806}.
27     24
          Drowned Her Six Children, ADAMS COUNTY NEWS [Ritzville, Wash.] Feb. 27,
     1902 1 , 4.
28        ) WASHINGT0N STANDARD [Olympia, Wash.l, Mar. 1 1 901, 3 .
        26
             Ki lled Her Chi ldren, COTTONWOOD [Ida.] REPORT, Mar. 1, 1901, 1.
                                                8
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 1          Swan River, Minn. Terr. (1 860)
 2                 Early 1 860 or late 1859: A very complex incident. One Chippewa warrior
 3           ("A") murdered another Chippewa ("B"). A few days later, B's squaw ("C")
 4          saw A, and shot him. A's brother ("D") shot C. C's brother ("E") shot D.
 5          Catego1y: public
 6           Suicide: no
 7          Cause: revenge
 8          Weapon: firearm2 7
 9
10          Coldwater, Mich . ( 1865)
11                 Jan. 30, 1 865: Young man becom.es engaged to a woman in Lorain Co.,
12          Ohio. This is a problem, because his wife in Coldwater, Mich., is about to give
13          birth, so he returns home, where his wife lives with the young 1nan's parents. In
14          the midst of giving b11th, the young man murdered his wife. When the young
15          man's father and mother showed up, he shot them to death. (Other accounts
16          identify the town as Woodstock, and that the murder of his wife and unborn
17          child followed the murder of his parents.) His behavior after arrest. as
18          newspaper coverage described, "suggests the chaiitable conjecture that the m.an
19           is insane." He confessed the crime and signed autographs for the crowd around
20          the jail that described himself as "murderer of his wife, father and mother. " He
21          invited his friends in Lorain County to visit him in jail "where they would find
22          him 'playing checkers with his nose, on the jail windows. "'
23          Categ01y: family
24          Suicide: no
25          Cause: mental illness
26
27
28     27
            Indian revenge, MUSCATINE [Iowa] WEEKLY JOURNAL, Jan. 27, 1860, 1 .
                                              9
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 1           Weapon: firearm28
 2
 3           Sleepy Hollow, N.Y. ( 1 870)
 4                 Jan . 1, 1 870: Fanner murdered his wife, and two of his neighbors, father

 5           and son, who appear to have visited the murderer's wife in his absence. The
 6           murderer had a reputation for being too fond of rum.
 7           Category: public
 8           Suicide: no
 9           Cause: jealousy?
10           Weapon: firearm29
11
12           Glenville, Minn. (1 889)
13                 Feb. 15, 1889: Murderer, relative of the victims, shot to death "Mary
14           Chemeieck, aged six, and her sister Rose, aged eleven . .. " Apparently, his njece,
15           Rose, had spumed his advances. He then murdered their mother with a shotgun
16           and committed suicide.
17           Suicide: yes
18           Cause: unknown
19           Weapon: pistol, shotgun30
20
21           25.   A mass mm·der that is not part of the database shows how "primitive"
22 firearms technology is not a barrier to school mass murder. A former teacher showed
23   up at a Bremen, Germany, Catholic school "armed with six loaded revolvers." He
24 killed one teacher, two children, "three children were gravely injured and three other
25
26      28
           A Triple Murder, [Plymouth Ind.] MARSHALL COUNTY REPUBLICAN, Feb. 16,
27   1865,  1.
        29
           A Triple Murder at Sleepy Hollow, WILMINGTON [N.C.] JOURNAL, Jan. 14, 1870,
28   1. 30
           He was a Rejected
                      '      Lover, ST. PAUL GLOBE, Feb. l 7, 1 889, 1 .
                                               0
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 1   children were slightly wounded." The article described him as "demented."3 1
 2   Depending on whether they were they were 5-shot, 6-shot, or 9-shot revolvers (all still
 3   common today) be could have fired 30, 36, or 54 shots without reloading. Of course,
 4 reloading a revolver with speedloaders can be done by a skilled shooter in a second or
 5 two at most.
 6           26.    Firearms become more common weapons by the 1 920s. Axes and
 7   hatchets declined as wood stoves became less common. While I have not categorized
 8 the poison mass murders as precisely as I might do if I were staiiing from scratch,
 9   "illuminating gas" and "Rough on Rats" (both commonly used to wipe out your spouse
10   and children) declined as automobile exhaust poisoning rose.
11           27.    This should be no surp1ise; mass murderers use what is available. This
12   May 20, 1931 , Mattoon, Ill. incident catches this improvisational nature well. A
13   former employee of her late husband atte1npted to burn to death the woman and her
14 two daughters with whom he had recently moved to Illinois. They escaped the burning
15 house. He then shot to death the mother, attempted to strangle the daughters then shot
16   them and beat them to death with an automobile starter crank. Weapons: firearm,
17   strangle, blunt. 32 Even today 's gun mass murders are not as narrowly focused as the
18   popuJ ar imagination sees them.
19           28.    May 24, 201 4, Isla Vista, Cal.: College student, upset about his sex life (or
20 rather its absence) stabbed to death his three roommates, shot three women at a sor01ity
21   (two of whom died), shot another student, inj ured two bicyclists by ramming them with
22   his car, and shot and wounded four pedestiians
23           Category: public
24            Suicide: yes
25            Cause: mental illness
26
27
        31
             Maniac Shot Many People, BARRE [Vt.] DAILY T�s Jun. 20, 1 9 1 3, 1 .
28      32                                                  ; 20, 1 931, 1 .
             Woman Shot. Tots Choked, BROWNSVILLE HERALD, iviay
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 1           Weapon: knife, pistol, automobile3 3
 2           29.   For the following table, some of these weapon types require explanation.
 3                 UNKNOWN means the weapon type was not identified in the article.
 4                 AI RCRAFT is for murders committed with an airplane (not all of which
 5           took place on Sep. 11, 2001). (Bombing of planes is in the EXPLOSIVE
 6           weapon type.)
 7                 TRAIN involves intentional derailment of trains to cause loss of life. The
 8           motivation for 1nost of these crimes in uncertain. One was insurance fraud;
 9           authorities alleged "that the men entered into the plot to get rid of their wives
10           and at the same time to collect damages from the railroad company." One of the
11           murderers collected $500 from the railroad for injuries to his wife. 34 Another,
12           on Dec. 27, 1934 : Police charged three men with the intentional derailment of a
13           train, in the hopes that one of the train crew would lose his job, so that one of the
14           three would get that job. The crash killed three employees and injured 1 6
15           passengers. 35
16                  Incident count by weapon type for mass murders before 1960 where only
17           one weapon type was used:
18           UNKNOWN                                862
             AX                                     646
19
             HATCHET                                135
20           KNIFE                                  588
             OTH ERSHARP                             215
21
             BLUNT                                  868
22           EXPLOSIVE                              299
             POI SON                                286
23
             STRANGLE                               109
24
25      33
              Shelby Lin Erdman and Greg Botelho, Timeline: A killer's rampage through a
26   California college town CNN, May 27 2014,
     httos://www.cnn.com/2014/05/24/us/califomia-rampage-timeline/, l ast accessed
27   November      27 2018.
           � Plot to Kill Their Wives, [Maysville, Ky .l EVE G BULLETIN, Mar. 26, 1896, 1.
         3
           :, Trio Held In Wreck A ccused DJ Murder, TWashington, D.C.] EVE
        3
28                                                                              G STAR,
     Mar. 1 0, 1935, 1 .
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 1         DROWN                                 1 39
 2
           ARSON                                 708
           HANG                                  284
 3         OTHER                                 1 57
           P RSONAL                                21
 4
           FIREARM UNKNOWN                      2571
 5         SHOTGUN                               504
           RIFLE                                 5 70
 6
           PISTOL                                933
 7         MACHINE GUN                             61
           AIRCRAFT
 8
           TRAIN                                  76
 9
10         30.    When grouped by incidents where only non-fireaims were used, 3,809
11   died. For firearms only 1nass murders, 2,068 died.
12         3 1.   Many mass munlers involve multiple weapons. RoberL Ml:Conaughy,
13   May 30, 1840, murdered his mother-in-law and her five children. Cause: robbery.
14 Weapon: strangulation; stone; axe, rifle· knife. He confessed after the first hanging
15 failed.
           36


16 ill.    Killing People Without Modern Firearms Technology
17         32.    How do you kill lots of people without modem firearms technology?
18         A. Explosives
19         33.    One popular method was explosives.
20
21         Sells, Ark. ( 1 900)
22                Oct. 15, 1900: "(F]ather mother, and four young children blown to
23         atoms" by dynamite explosion. "lt is believed that a dispute over a homestead
24         claim prompted the outrage."
25         Categmy: family non-resident
26
27
        36 Trial, Coniession.
                           and Execution of Robert M 'Conaghy for the Murder of Mrs.
28                       1
     Brown and her Five Cnildren 6-7, 9- 10 ( 1 841 ).
                                                 3
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 1         Suicide: no
 2         Cause: greed
 3         Weapon: explosives37
 4
 5         Cripple Creek, Colo. ( 1 904)
 6                  Jun. 5, 1904: Someone set off a bomb under a trajn station platform where
 7         non-union men were waiting for a train during a stiike. Twelve died "and a
 8         score or more injured... " Subsequently, "Forty shots were fired in a crowd in the
 9         street. Two men were killed and at least six persons wounded." One of the dead
10         "by blow from revolver." Then the ational Guard troops showed up and
11         attempted to restore order.
12         Category: public
13         Suicide: no
14         Cause: Jabor
15         Weapon: explosives firearm, blunt 38
16
17         Mullins, W.Va. (1909)
18                  5/16/1909: The Black Hand used dynamite to blow up an Italian boarding
19         house. One of the victims broke faith with the Black Hand. The explosion
20         killed four and injured three.
21         Category: residential
22         Suicide: no
23         Cause: gang
24         Weapon: explosives39
25
26
27     37
          Whole Family Murdered, [St. Genevieve, Mo.] FAIR PLAY Oct. 20. 1900, 1.
       38
          Terrorism and Death Dominate Colorado, SAlNT PAUL G LOBE, Jun. 7, 1904, 1.
       39 Black Hand K;/ls Four By DJ nam;te, B LUEFIELD [W.Va.] EVENING LEADER, May
28
     17, 1909, 1.
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 1        Mud.low, W.Va. (19 1 2)
 2               7/26/1 9 1 2: Striking miners dynamited a machine gun operated by agents
 3        of the Baldwjn detective agency, killing three miners and seven detectives.
 4        Categ01y: public
 5        Suicide: no
 6        Cause: labor
 7        Weapon: explosives40
 8
 9        Superior, Penn. ( 1 9 1 4)
10               11/15/1914: Someone blew up the Kanaza general store, which was also
11        the Kanaza residence, with two separate dynamite bombs, kjlJing Kanaza's three
12        children and two other men. Five others suffered injuries. Mr. Kanaza believed
13        the motive was revenge for a lawsuit.
14        Category: fa1nily
15        Suicide: no
16        Cause: revenge
17        Weapon: explosives4 1
18
19        San Francisco, Cal. ( 1 9 16)
20               Feb. 1 91 6: Someone set off a dynamite bomb, kjlling ten, during the
21        "Preparedness Day Parade," in preparation for World War I. While the identity
22        of the murderers is uncertain (California Governor Culbert Olson many years
23        later pardoned those originally convicted as evidence of perjury at the t:Iial
24        accumulated), circumstances suggests that it was the work of anarchists, hostile
25        to U.S. involvement in the war.
26
27
28                                                            f., Jul. 26, 1 91 2, 1 .
       4 0 Seven Detectives and Three Miners Dead, SEATTLE STA
       41
         Dynamite Kills Five [n Spite Act,    EW-YORK TRIBUNE, 1�ov. 16, 191 4, 1 .
                          DECLARATION OF CLAYTON CRAMER                      APP. g �tv 1 0 1 1
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 1          Category: public
 2          Suicide: no
 3          Cause: terrorism
 4          Weapon: dynamite42
 5
 6          New York, N.Y. ( 1 920)
 7                09/16/1920: Anarchists set off a bomb in Wall Street, killing 31 and
 8          injuring 125 others.
 9          Category: public
10          Suicide: No
11          Cause: tenorism
12          Weapon: TNT43
13
14          Germantown, Md. (1 920)
15                11/18/1920: Two neighbors had a longstanding feud. On Election Day
16          one shot the other in the neck. The farmer shot in the neck took revenge with 50
17          pounds of dynamite, killing his neighbor, the housekeeper and her two children.
18          Category: family non-resident
19          Suicide: no
20          Cause: revenge
21          Weapon: explosives44
22
23
24
25     42
              namite Trial Opens Today in 'Frisco; 1 0 Were Killed by Bomb, BEMIDJI
26 fMinn.  !DAILY PIONEER, Jan. 3, 1917, l ; Pr(H)aredness Day Bombing,
   littP,s:/ en. wikipedia.org/wiki/Preparedness Da_y_Bombing#Later investigations.
27      43
           Bomb Batters Wa71 Street,· 31 Slain, I25 Hiirt, THE S'UN AND-THE NEW YORK
   HERALD, Sep. 17 1 920, 1 .
28      44
           Bomb WrecKs ,,
                          Farmers Home Killing Three, [Salem, Ore.] CAPITAL JOURNAL,
   Nov. 19, 1 920, 1.
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 1          Pittsburgh, Penn. (1 925)
 2                05/Jun. 1925: Two bombs destroyed three buildings, killing eight people
 3          immediate1y, and fatally injuring two others. One of the buildings housed a
 4          grocer who had been the victim of extortion threats by a Black Hand society.
 5          Catego1y: residential
 6          Suicide: no
 7          Cause: exto1tion
 8          Weapon: explosive45
 9
10          Bath, Michigan ( 1927)
11                May 1 8, 1927: Treasurer of the local school board was angered by his
12          property tax increase to pay for a new school building that he had opposed. He
13          placed a dynamite bomb in the basement of the school, by which method he
14          murdered 37 children and six adults as wel] as seriously injuring 44 others.
15          Only a wiring mistake prevented other charges from taking down the rest of the
16          building which would endangered 150 more students. The murderer had already
17          beaten his wife to death at their home before blowi ng up their house. He b lew
18          himself up in his car in front of the school 30 minutes after the school explosion.
19          Catego1y: public
20          Suicide: yes
21          Cause: revenge
22          Weapon: explosive, blunt object46
23
24
25
26
27     45
           Eight Are Killed In Blasted Homes, [Washington, D.C.] EVENING STAR, May 06,
     192 �� 1.                 .                . ,        .              .
28          Fate Saves Scores zn Bias t When Manwc s Plot Kz/7s· 43, [Washmgton, D.C.]
     EVENING STAR, May 19, 1 927, 1 .

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                                                                                            1011
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 1          New York, N.Y. (1927)
 2                Oct. 8, 1927: Someone set off a dynamite bomb de1nolishing a four-story
 3          apartment building, killing five and injuring eleven. Why did police assume a
 4          dynamite bomb? "Finding of 20-Pound Unexploded Bomb Leads Police to
 5          Suspect Infemal Machine."
 6          Categmy: public
 7          Suicide: no
 8          Cause: unknown
 9          Weapon: explosive47
10
11           ewton, Mass. ( 1 928)
12                01/3 1 /1 928: Someone used dynamite to destroy a building containing
13          "extensive liquor making apparatus in the basement." Six people died.
14          Category: private
15          Suicide: no
16          Cause: gang?
17          Weapon: explosive48
18
19          Seat Pleasant, Md. ( 1 930)
20                01/0 1 / 1 930: A belated and misdehvered Christmas gift was dynamite and
21          exploded as the family unwrapped it. The explosion killed an expectant mother
22          and two siblings, her mother, and injured two other siblings. The family was
23          new to the community with no known enemies.
24          Category: family non-resident
25
26     47
         Four Killed In Bomb Explosion In Tenement District OfNew York, [Douglas,
27 Ariz.] DOUOLAS DAILY DISPATCH Oct. 09, 1927 l ; Five Kilfed, 1 1 Hurt As Explosion
   Razes  35th St. Tenement, NEW YORK TIMES, Oct. 9 1927, 1.
      48 Mystery F;plo ion Is Fatal To Six -Bodies Taken From Debris Of Two-Story,
28
   BROWNSVILLE HERALD, Jan. 31, 1 928, l .

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 1          Suicide: no
 2          Cause: unknown
 3          Weapon: explosives49
 4
 5          Chesterton, Ind. ( 1 933)
 6                1 0/10/1933: A bomb explosion in the cargo compartment aboard a United
 7          Airlines flight ripped the plane apart, killing seven people. Motive remained
 8          unce1tain.
 9          Category: public
10          Suicide: no
11          Cause: unknown
12          Weapon: explosive50
13
14          Denver, Colo. ( 1 955)
15                11/1/1955: The 23-year-old son of passenger Daisie E. King eventually
16          confessed that he placed a 25-stick dynamite bomb in her luggage, blowing up
17          her airliner, killing 44 people. The murderer had taken out life insurance
18          policies on his mother and was expecting to receive a "substantial inheritance"
19          upon her death.
20          Category: public
21          Suicide: no
22          Cause: greed
23
24
25
26     49
           Gift Package Bomb Ki lls Woman; 5f Hurt, [Washington, D.C. bEVENING STAR,
27 Jan. 0 l 1930, I ; Bomb Survi vors Tell O Exploszon, [Washington, .C.] EVENING
   STAR     jan. 12, 1930, 1.
       5 0 Ill-Fated Plane Wrecked BJ Bomb US Prober Says, INDIANAPOLIS TIMES, Oct.
28
   1 4, 1 933, 1.
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 1           Weapon : explosives5 1
 2           Since 1 960, this technology, despite attempts to regulates explosives, remain a
 3   big dead per incident killer. Using feitilizer, a murderer on Apr. 20, 1995, set off a
 4 truck bomb in front of the Oklahoma City Federal Building killing 1 68 people and
 5 injuring hundreds more.
 6 Category: public
 7   Suicide: no
 8   Cause: terrorism
 9 Weapon: explosives52
10
11           B. Arson
12           33.   Arson is also a common and very low technology method to cause lots of
13   suffering.
14
15           New York, N.Y. ( 1 903)
16                 11/1/1903: Police and coroner believed that a tenement building fire that
17           killed 26 people was °'of incendiary origin."
18           Category: residential
19           Suicide: no
20           Cause: unknown
21           Weapon: arson5 3
22
23
24
25
26      51
          Flowers And Flowers, MURDERS IN THE UNTTED STATES, 30-1 • FBI, Jack Gilbert
27   Graham, h�s://www.fbi.gov/history/famous-cases/jack-gilbert-graham, last accessed
     October 5, 22.
       52 Flowers and Flowers, MURDERS IN THE UNITED STATES, 56-7.
          Tenement House Fire, [Maysvil le, Ky.] EVE G BULLET , Nov. 2, 1 903, 4.
28     53


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                                                                                      9�1cv i o l ?
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 1           Boston, Mass. (1913)
 2                  Feb. 3/191 3: A lodging house refused a man a romn "for want of 1 5
 3           cents." He lit the stiucture on fire, killing 27 lodgers in a dangerously renovated
 4           structure.
 5           Catego1y: residential
 6           Suicide: no
 7           Cause: revenge
 8           Weapon: arson54
 9
10           San Francisco, Cal. ( 1 944)
11                 03/27/1944: Over a period of four hours, five San Francisco skid row
12           hotels "burst into flames" following a previous weekend of 1 1 fires in Oakland
13           hotels. The New Amsterdam Hotel fire killed 22 and inj ured 27. "Authorities
14           noted an odor of kerosene or gasoline." One tenant, 3 3, showed injuries from
15           the fire and was held in the "hospital psychopathic ward."
16           Categ01y: public
17           Suicide: no
18           Cause: mental il lness
19           Weapon: arson55
20
21           Tulsa, Okla. (192 1 )
22                 05/01/1921: The police arrested a young black man for what later appears
23           to have been an accidental touching of a white female elevator operator.
24           Rumors spread that police charged him with sexual assault. A lynch mob
25
26
27      54
            Burns Lodgi11,g House When Refused Room; 27 Homeless Men Died, [New York,
     N.){) ] EVE�G WORLD, pee. 3, 1911 1.
28          22 Kzlled In Hotel F1re In San .l' ranczsco, [Santa Cruz, Cal.] SANTA CRUZ
     SE TINEL, Mar. 29, 1944, 1.
       N

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 1           arrived at the county jail. The sheriff and deputies prevented seizure of the
 2           young man. A group of armed black men offered to help the sheriff defend the
 3           jail. This display of arms by black 1nen inflamed white public sentiment leading
 4           to the destruction of Greenwood, the black section of Tulsa. More than one
 5           thousand homes were burned and at least 36 dead. Newspapers and public
 6           officials removed news accounts and official records about the riot from files.
 7           The Tulsa Race Riot Commission in 2001 "concluded that between 100 and 300
 8           people were killed and more than 8,000 people made homeless over those 18
 9           hours in 1921," with many bodies buried in unmarked mass graves.
10           Category: public
11           Suicide: no
12           Cause: racism
13           Weapon: firearms, arson, unknown? 56
14
15           Chicago, Ill. (1 958)
16                 Dec. 1 , 1 958: Our Lady of the Angels school burned, killing 95. 57 Several
17           years later, a 13-year-old confessed while on a lie detector that he had started the
18           fire: "because he hated school, rebelled at the authority of teachers, liked to hear
19           the sound of fire sirens and to watch fire engines race along the street. " 58
20
21           34.   After 1960, of couJse, there have been several arson mass murders with
22 equal or larger death counts, and this remains a common method of mass murder in
23   other nations. In Australia, an arsonist burned the Childers, Queensland' s Palace
24
25
26      56
            Tulsa Race Riots!i httRs://www.history.com/topics/roaring-twenties/tulsa-race-
27   massacre,   last accessen Ju Y. 5, 2021.
         37
            Our Lady of the Angels School fire,
28   httg5f //en.wikipedi�.org!wikijOur Lady_of the_Angels_School fire
            Boy Admzts Fzre fatal To 9), MIAMI NEWS, January 1 6, 1 %2, 1 .
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                                                                                              1lv l 0 1 7
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 1   Backpackers Hostel in 2000, killing 1 5. 59 The 20 1 1 Quakers Hill Nursing Home fire
 2   killed eleven, set by a nurse after police questioned him about drug abuse. 60 Japan had
 3   several arson mass murders in late 202 1 , killing 24, 1 7, and 33 in separate incidents. 6 1
 4   These required no advanced fireanns technology or even fireanns. The previously
 5 mentioned San Juan P.R. arson 1nass murder killed 97. 62 The March 25, 1 990,
 6 Happyland Social Club fire killed 87 people, leaving three survivors. Angry at his
 7   girlfriend, the murderer used $ 1 of gasoline and a match to set fire to her place of
 8 employment. 63
 9

10             ew Orleans, La. ( 1973)
11                  Jun. 24/ 1 973: The murderer took revenge for being expe1led from the
12           UpStairs Lounge, a gay bar. He walked down the street and bought a bottle of
13           cigarette lighter fluid, killing 33 people. 64
14
15
16
17
18
19
20
21      59
           A Decade On, Childers Remembers Hostel Fire Tragedy, BRISBANE [Australia]
     TIME  � Jun. 23, 20 1 0.
22      60
           Landace Sutton Man Who Murdered 1 1 People in Nursing Home Fire 'Frothed
     At The Mnuth ' Frnm hn_}.gs A nd 'Put Nails ln Tyre.v And Pnured Paint ' Over Rnss '.r;;
23   Ca1;n .(ngU(!St Hears, ru.K. l DA�Y MAIL, _Sep. 8 1 20 14 .
            Mak1ko Inoue; Motoko Rich and Htkan H1da,i 24 Dead in Suspected Arson at
24   0 zce Building in Japan, N.Y. TIMES Dec. 1 6, 20..d ,
   h s://www.n times.com/202 1/ 12/ 16/world/asia/"apan-fire-osaka.html last accessed
25 J ovem   ber 21 ,Xzo22 .
       62
          3 Teamsters CharRed in San Juan Hotel Fire, CHICAGO TRIBUNE, Feb. 4, 1988,
26 https://www.chicagotri6une.com/news/ct-xpm- 1 988-02-04-880327061 7-st01y.html,
   last63accessed November 24, 2018.
27        Ralph Blumenthal fire in the Bronx; 87 Die in Blaze at Illegal Club,· Police
   Arrest E1ected Patron,· h worst New York Fire Since 1 9 1 1 , NEW YORK TIMES, Mar. 26,
28 1 990.
       64
          Elisabeth Dias with Jim Down, The Horror Upstairs, TIME, Jul. 1, 20 1 3.
                                               3
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 1
 2           Chicago, Ill. ( 1 976)
 3                 01 /30/1976: An employee ofWincrest Nursing Home with a mental
 4           illness problem (pyromania) started a fire in a clothing wardrobe, which killed
 5           22 residents. The employee was charged with arson. 65
 6
 7           E. Brutal Misuse of Tools
 8           35.    Villisca, Ia. ( 1 9 1 2)
 9                  Sep. 9, 1912: It appears that a business competitor and member of the
10           Iowa State Senate murdered Joseph Moore, his wife Sarah, their four children
11           and two visiting children "with an ax." An "itinerant minister" was charged.
12           The Iowa Attorney-General "sought to commit" the minister "to an insane
13           asylwn, a step that would bar the prosecution of any other person suspected of
14           the crime." Relatives of the victims claimed that the Attorney-General blamed
15           the wrong person· in response, the Iowa legislature passed a law prohibiting
16           public discussion of the crime. This led to an 'injunction against J.N.
17           Wilkerson, a detective, whose four years' investigation of the murders cast
18           suspicion on a prominent state senator." The public meeting by Vdlisca
19           residents took place in Omaha, Neb., instead.
20           Category: greed
21           Suicide: no.
22           Cause: greed
23           Weapon: ax66
24
25
         ational Fire Protection Association, Preli mi nary Report NFPA Fire A nalysi s
        65
26 Department Wincrest
                .       .
                        Nursi ng Home I 4,               .                 .    .
                                                                                               08
27                                                                                             EW
      ORK IMES,       eb. 4,        .
        66 Villisca Ax Murders to Be Discus.s·ed in Mass Meeting, OMAHA DAILY BEE, Jul. 6,
28
     1917, l .
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 1           F. Panic
 2           36.     Calumet, Mich. (1913)
 3                   Dec. 24, 1 91 3 : A man shouted, "Fire! Fire! Everybody rush!" in the
 4           Italian Hall where striking miners and their families were meeting for a
 5           Christmas party. (There was no fire. ) As the crowd attempted to exit the hall
 6           through an inadequate exit, seventy-four people (mostly children) were trampled
 7           to death. 67 One account ascribed the false claim to "a d1unken" man, 68 but
 8           considering the murder of strikebreakers in Calumet a few weeks before in the
 9           middle of a fierce labor dispute, 69 this seems unlikely as the cause.
10           Category: public
11           Suicide: no
12           Cause: Jabor
13           Weapon: mouth 70
14
15           Causes
16           37.     The focus of the State on the method of mass murder might be better spent
17 on solving the problem by solving underlying causes.
18           38.     The following table shows the proximate cause of al1 mass murders in my
19   database before 1960. (After 1960, the data is not yet complete.) A breakdown of
20 these abbreviations:
21                 • Rob is a mass murder performed as part of a robbery or to
22                   eliminate witnesses to the robbe1y.

23
24
25      67
           Ore Miner Charged Eight-Seven Cents for Month 's Labor, OMAHA DAILY BEE,
   Feb.68 1 2, 1914, 1.
26         Day ofJoy i s One of sarrow, [Valley City, N.D.] WEEKLY TIMES-RECORD,
   JanM�      1 1 914, 6.
27      9
           Stri ke Breakers Taken to Mi nes at Point ofPistols, OMAHA DAILY BEE Jan. 11,
   1914,    1 (based on U.S. Dept. of Labor report).
28    70 Ore Miner Charged Eight-Seven Cents for Month 's Labor, OMAHA DAILY BEE,
   Feb. 1 2, 1914, 1.
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 1           • M I (Severe mental illness, primarily psychoses and other
 2             illnesses that cut off the sufferer from reality) includes all crimes
               where either contemporary accounts describe the murderer as
 3             insane, or where the nature of the crime makes other explanations
 4             implausible (this is necessarily a judgment call, on which my
               experience with mentally ill relatives and friends informs my
 5             opinion). The legal definition of mental illness is much narrower
 6             than the medical definition. Through most of U.S. history, the
               McNaughton Rule (sometimes spelled M'Naughten) defined
 7             legal insanity as: "at the time of c01nmitting the act, the accused
 8             was laboring under such a defect of reason, from disease of the
               mind, as not to know the nature and quality of the act he was
 9             doing or, if he did know it, that he did not know what he was
10             doing was wrong." 7 1 A person who did not know he was doing
               wrong, was msane.
11             Persons who are medically mentally ill sometimes know that
12             they are doing wrong and try to escape arrest and conviction
               (perhaps because the "aliens," or the CIA or KGB "agents" that
13             they have just murdered are still after them). Such persons are
14             legaliy sane, while in any conventional sense, they are as "mad
               as hatters."
15
             • MI? are persons whose sanity seems questionable but for which
16
               contemporary accounts are less than persuasive.
17
18           • PPD (Postpartum Depression): Tragically, many of these
               mentally ill or possibly mentally ill incidents are mass murders
19             by mothers with recently born babies. In cases wh re the
20             murders are by recent mothers and where news accounts provide
               no other explanation, I have categorized these as postpartu m
21             depression. Some news accounts identified the mother as
22             'temporarily insane" with no previous history of mental illness.
               In a few cases the news accounts report on previous mental
23             illness hospitalizations associated with previous bilihs.
24
             • Many cases I have listed as "PPD?" because this is a plausible
25             explanation when no other seems more likely.
26
27
28     7 1 The insanity defense and Dim;n;shed Capacity,
     https://www.law.co1nell.edu/background/insane/insanity.html
                                              6
                         DECLARATION OF CLAYTON CRAMER                       APP. 9
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 1              • Resist is a criminal resisting an·est.
 2
                • U nknown describes a very large number of crimes where either
 3                the motivation is unclear or the newspaper coverage is silent this
 4                also includes some mass murders where the inability to identify
                  the murderer makes cause impossible to determine.
 5
 6              • Religion is mass murders committed as part of religious
                  persecution. (And yes, in America! )
 7
 8              • Racism i s its frequent cousin. In some cases, these include
                  revenge or ret1ibution against Indians for crimes not, or at least
 9                not clearly committed by the victims.
10
                • Politics are murders committed to advance a political cause.
11
12              • Terror are mass murders committed to cause mass fear for
                  purposes of political change outside elections. Example: 9/ 1 1 .
13
14              • Revenge are mass murders committed to take revenge for real or
                  perceived injuries by the murderer, his family, or acquaintances.
15
16              • I nd are crimes between Indians and settlers that are not official
                  acts of war, but that might have been seen that way by the
17
                  murderers. I have classified all attacks against peaceful travelers,
18                settlers, and Indians in this cause. (In some cases, the killers
                  openly admitted that the victims were "peaceful," but were
19
                  supplying guns to less friendly tribes.) 72
20
                • Financial is a strange subclass of family murders committed,
21
                  usually by a parent concerned their family is about to become
22                impoverished, who then "protect" them from that suffering by
23                mass mmder. In some cases, this seems Lo be a form of 1nental
                  illness: at least one example involved a mass murderer who was
24                in no danger of impoverishment.
25
26
27
          72 From Cal[fornia and Oregon, [Washington, D.C.] EVE ING STAR, Mar. 21, 1860,
28
     2.
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 1           • Labor are crimes committed during labor disputes, sometimes
 2             against strikebreakers, sometimes against labor unionists.

 3           • Quarrel are incidents that start out as some relatively minor
 4             dispute before escalating into disproportionate response.

 5           • Cult refers to mass murders committed by oddball religious
 6             cults; I was surprised how widespread these were in the early 20 th
               century (the Church of the Sacrifice slaughtered entire families,
 7             often with the family's own ax).
 8
             • Rape are 1nass murders committed to eliminate witnesses to a
 9             rape.
10
             • Greed are mass murders carried out to obtain wealth other than
11             by robbery, often by inheritance from the deceased.
12
             • Divorce is an alternative form of Revenge; divorce has been or
13             is in the process and someone is seeking retribut ion. This
14             includes separated spouses attempting reconciliation.
15           • Adultery: a variant of Revenge.
16
             • Jealousy: should be obvious.
17
18           • I ntoxication are ctimes attributed to alcohol or drug-induced
19             stupidity. The strong overlap between mental illness and
               substance abuse (one often causing the other) makes some of
20             these hard to distinguish, especial ly 1 50 years after the crime.
21
             • Bullying is a recent catego1y, and one that I suspect reflects some
22             deeper mental illness· I was bullied as a child, had access to low­
23             grade explosives (nerds have peculiar hobbies), and never even
               thought of mass 1nurder (or even low-intensity revenge).
24
25           • Stalker: someone did not get their attentions rewarded as they
               saw fit.
26
27           • Witnesses: Eliminating witnesses to some crime other than rape
               or robbery.
28

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 1            • Lynch: extralegal murders (and a surprising number had
 2               multiple victims). These are always group mass murders.

 3
                                  -
      i ncidents by cause before 1 960
4    I       Cause         i ncidents
     !ADULTERY                       3
 5
      BULLYING                       2
 6    CULT                          10
 7    CULT?                          3
 8    DIVORCE                       73
      DRUG                           3
 9
      EXTORTION                      6
lO    FINANCIAL                     51
11    GANG                          33
12    GREED                         43
      IND                           24
13
      INTOX                         53
14    JEALOUSY                      37
15    LABOR                         46
16    LYNCH                         93
      MI                          21 1
17
      MI?
     ..-----------�                 97
18    OTHER                         25
19     POLITICS                     21

20
     PP
     __D_____             I
                         -+-__       I
                                   l_,
                                     7
     PPD?                         58
21   P RJSON BREAK                17
22   QUAR                        176
23   RACISM                       20
     RAPE                         18
24
     RELIGION                      3
25   RESIST                       37
26   REVENGE                     109
27   REVENGE?                      1
     ROB                         153
28
                                        29
                          DECLARATION OF CLAYTON CRAMER
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 1   �cidents by cause before 1 960

                                                                                    '
                                                                                        ~
 2        Cause          incidents
     SLAVERY                      1




                                                                              ··-

                                                                                                               I
 3
     STALKER                      2
 4   TERROR                      19
 5   UNKNOWN                   447
 6   WITNESSES                    4

 7
                     39.                        Plotting the cause without UNKNOWN shows the high frequency causes:
 8




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                                                                                                                                                                                                                                                  '
 9
                                                                                                       incidents by cause before 1960
10
11
12
      150




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13
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14       0        -                                                                                                                                                                                     I                                                                                                                I



                                                                                                                                                                                                                                         RAPE •
                                                                                                                                                                                                                              RACISM •




                                                                                                                                                                                                                                                               RESIST -




                                                                                                                                                                                                                                                                                                                                  WITNESSES I
                                                                                                                                                                                                                                                  RELIGION t




                                                                                                                                                                                                                                                                                    REVENGE?
                                        CULT




                                                                                    FINANCIAL




                                                                                                                                                                 M17
                                                                                                                     INTOX
                                                                                                               IND


                                                                                                                             JEALOUSY




                                                                                                                                                        Ml
                                                       DIVORCE




                                                                                                       GREED




                                                                                                                                                                                                        PRISON BREAK




                                                                                                                                                                                                                                                                                                     SLAVERY
                                                                                                                                                                       OTHER
                                               CULT?




                                                                                                                                        LABOR




                                                                                                                                                                                          PPD
                                                                                                                                                                                                PPD?


                                                                                                                                                                                                                       QUAR
                                                                                                                                                                               POLITICS




                                                                                                                                                                                                                                                                                                                         TERROR
                  ADULTERY




                                                                                                GANG
                             BULLYING




                                                                                                                                                                                                                                                                                                               STALKER
                                                                 DRUG
                                                                        EXTORTION




                                                                                                                                                                                                                                                                          REVENGE


                                                                                                                                                                                                                                                                                               ROB
                                                                                                                                                LYNCH




15
16
     '




17
                                                                                                                                                        I




                                                                                                                                                                                                                                                                                                                                                    I
18                    40.                       It should surprise no one that mental illness and likely mental illness are a
                                                                                                                                                                                                            .




19   high frequency category. While most mentally ill people are primarily a hazard to
20 themselves, severely mental ly ill people are overrepresented in murder and other
                                        .

                                                                                            '




21   violent crimes.7 3 Deinstitutionalization of the mentally ill starting with New York in
22   1964 and California in 1969 played significant roles in increased homelessness and
                                                                                                                                                                                                                                                                                                        •
                                                                    '




23   violent crime rates.74
24
25
         See Cla_yton E. Cramer, Mental Illness and the Second A mendment. 46
         73
                                                                                                                                                                                                                                                         ..




26 Connecticut  Law Review 1301-6 (May 2014):(collecting studies).
                                                                                                                                                                       .
                                                                                                                                            ..




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      74 See Clayton E. Crruner, MY BROTHER Ro : A PERSONAL AND SOCIAL HISTORY OF
                                                                                                                                                                                                            '




27 THE DEINSTITUTIONALIZATION OF THE MENTALLY ILL (2012) and Jean Isaac Rael and
                                                                                                                                                                                 z




   Virginia C. Armat MADNESS I THE STREETS: How PSYCHIATRY AND THE LAW
28 ABANDONED THE MENTALLY ILL (1 990) for how beautiful abstract theories and
                                                                                                                              z




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   fanaticism created the tragic urban 1andsca of modem America.
                                                                                                                                                                                                                                                                                                                          ,




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 1           4 1.   Professor Bernard E. Harcourt points out that the rise in murder rates in
 2   the 1960s, and their decline in the 1990s correlated with the change in the percentage
 3   of the population that was institutionalized: those who were confined to either a mental
 4   hospital or prison. Accorcting to Harcourt, sociologists examining the expansion of
 5   imprisonment in the 1990s, the so-called "incarceration revolution," missed the even
 6 more important component of institutionalization: mental hospitals. When adding
 7   mental hospital inmates to prisoners, Harcomt found an astonishingly strong negative
 8   correlation between the institutionalization rate, and the murder rate: -0.78. Harcourt
 9   found that even when adjusting for changes in unemployment and the changing
10   fraction of the population that was at their peak violent crime ages, the negative
11   correlation remained strong, and did a better job of predicting both the 1960s 1ise and
12   the 1 990s decline in murder rates than other models. 75
13           42.    Steven P. Segal of the University of Califo1nia, Berkeley studied state-to-
14 state variations in murder rates and mental health care, controlling for socioeconomic.,
1 5 demographic, and geographic data. He concluded that "[l]ess access to psychiatric
16   inpatient-beds and more poorly rated mental health systems were associated with
17 increases in the homicide rates of 1 .08 and 0.26 per 100,000, respectively." (Since the
18   national average homicide rate was 7.4 per 1 00,000 people for 2020, 76 more access to
19 beds is clearly quite important in reducing homicide rates; "poorly rated mental health
20 systems" matter, but not as dramatically. )
21           43.    Segal observed an even greater difference from the variation in
22 involuntary civil commitment (ICC) laws. "Broader ICC-criteria were associated with
23
24
25       Be1nard E. H arcourt, From the Asylum to the Prison: Rethinking the
        75
   incarceration Revolution, 84 Texas Law Review 1766-75 (2006).
      76 Centers for Disease Control and Prevention N ational Center for Health Statistics.
26
   National Vital Statistics System, Mortality 19�9-2020
                                                   ,,_
                                                              on CDC WONDER Online
27 Database released in 2021. Data are from the M ultiple Cause of Death Files, 1999-2020
   as compiled from data provided by the 57 vital statistics jurisctictions through the Vital
28 Statistics Cooperative Program. Accessed at http://wonder.cdc.gov/ucd-icd1 0.html on
   Nov 3, 2022 1 2:5 1:23 PM
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 1   1.4 2 less homicides per 100,000" or bit more than one-fourth of the national homicide
 2 rate. In short, states where involuntary commitment of the mentally ill was relatively
 3   easy had significantly fewer murders than states where it was ve1y hard. 77
 4         44.    A 2000 New York Time examination of mass murderers concluded:
 5         The Times' study found that many of the rampage killers . . . suffered
 6         from severe psychosis, were known by people in their circles as being
           noticeably ill and needing help, and received insufficient or inconsistent
 7         treatment fro1n a mental health system that seemed incapable of helping
 8         these especially intractable patients.
 9         Only a small percentage of mentally ill people are violent, and many
10         advocates b1istle at any link between mental illness and violence out of
           concern that it wil l further stigmatize an already mistreated population.
11         However, the Times investigation of thjs particular sty le of violence -­
12         public rampage killings -- turned up an extremely high association
           between violence and mental illness. Forty-seven of the killers had a
13         history of mental health problems before they killed; 20 had been
14         hospitalized for psychiattic problems; 42 had been seen by mental
           health professionals. 78
15
16         45.    A few representative cases from the period before 1 960:
17
18         New Haven, Conn. (1 930)
19                Jun. 21, 1930: The father had been involuntarily committed to a mental
20         hospital. He escaped, threw his four children and wife from a 400-foot cliff,
21         then jumped.
22         Category: family
23         Suicide: yes
24
25
26      77 Steven P. Segal, Civi! C'ommitment Law, Mental Health Services, and US Homicide
   Rates, SOCIAL PSYCHIATRY AND PSYCHIATRIC EPIDEMIOLOGY, November I O, 2011,
27 https://web.archive.org/web/20170323153646/http://kendras-law.org/national­
   studies/cornmitmenthomiciderates.pdf last accessed August 19, 2022 .
      78 Laurie Goodstein and William Giaberson, The Well-Marked Roads to Homicidal
28
   Rage, NEW YORK TrMES, Apr. 10, 2000.
                          DECLARATION OF CLAYTON CRAMER                       APP. 9 �cv l 0 1 7
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 1           Cause: mental illness
 2           Weapon: other79
 3
 4           New York, N.Y. ( 1 953)
 5                 Apr. 01, 1953 : A college professor, 52, under psychiatric care, strangled
 6           his wife and their two children, then stabbed himself to death.
 7           Category: family
 8           Suicide: yes
 9           Cause: mental illness
10           Weapon: strangled80
11
12           Eleva, Wisc. ( 1 909)
13                 Feb. 2. 1909: The father stabbed to death his four children, then "stabbed
14           himself and then jumped from the barn loft with a rope around his neck. At the
15           same time he hurled a fire brand into the stable, firing the barn."
16           Categ01y: fa1nily
17           Suicide: Yes.
18           Cause: "[Father] was recently released from an insane asylum."
19           Weapon: knife8 1
20
21           Summary
22           46.   Mass murder is not particularly new, nor is historical mass murder a
23   peculiarly group activity. Almost everything can be, and has been, used to commit
24 mass murder in Ametica. The mass murder at Cleveland School in 1989 that started
25
26      79
                   Veteran Kills His Family NEW BRITAIN HERALD, Jun. 23, 1930, 9.
27      so Maniac
           Triple Murder Suicide Apparent, [Parsons, Kansas] PARSONs SUN, Apr. 04
     1953, 7.
28      81
           Murders Whole Family and Then Kills Self, [Pendleton, Ore.] EAST OREGONIAN,
     Feb. 22, 1909, 8.
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 1   California's legislative focus on LCMs involved a mentally ill drifter with a history of
 2   involuntary commitment and a spotty record of outpatient treatn1ent. As the California
 3   Dept. of Justice's official report observed:
 4         In an ideal world, ample resources would have been available to detect
           his problems, identify them as potentially dangerous and likely to result
 5
           in his life being uselessly wasted, and to provide for a type of
 6         intervention with a reasonable prospect of making a difference.
           However, in a world in which government spending has to recognize
 7
           realistic limits set by the public, such resources will never be plentifully
 8         available. 82
 9         47.    This is an especially painful paragraph for me. My smarter, older
10 brother's spiral down into schizophrenia resulted in b1ushes with the law but never
11   with such a horrible ending. It was still a life wasted by California's confused and
12   irrational mental health policy. Has more than 20 years of LCM laws, defenses of
13   those laws, prison sentences for offenders, and dealing with other mass murders (not
14   all with guns) really been cheaper than providing mental heal. th care?
15         48.    The focus of the State on the method of mass murder might be better spent
16   on solving the underlying causes. This abstract closes with a chilling sentence:
17         A case of an attempted mass shooting at a large psychiatiic hospital in
18         the United States by a 30-year-old male with severe mental illness,
           somatic delusions, and exceptional access to healthcare professionals is
19         reported. Six persons were shot, one died at the scene and the shooter
20         was then killed by the police. Data were gathered from court documents
           and media accounts. An analysis of the shooter's psychiatiic history, his
21         interactions with healthcare professionals, and communications prior to
22         the shooting suggest a rare form of mass murder, a random attack by a
           documented psychotic and delusional individual suffering with somatic
23         delusions. Despite his being psychotic, the killer planned the attack and
24         made a direct threat 1 month prior to the shootings. This case
           highlights p roblems with the healthcare system, indicating that it
25
26
27    _ 82 Nelson Kem_Rscy, A ReRort to Attornex-General John K. Van de Kamp on Patrick
   Edward Purdy ana the Cleveland School Kzllings, October 1989, 1 9,
28 https://schoolshooters. info/sites/default/files/Pm·dy%20-%20official%20report.pdf, last
   accessed November 26, 2022.
                           DECLARATION OF CLAYTON CRAMER                        APP.
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 1              might be ill equipped to appropriately deal with severe mental
                illness. 83 [emp hasis added]
 2
 3              49.    Confronting the extent which a shortage of mental health services and the
 4   difficult nature of involuntary mental health C01TI1nitment in n1uch of America would
 5 be a more effective strategy. A severely mentally ill person without an LCM could
 6 follow in the footsteps of previous generations and use less regulated weapons: ax,
 7   hatchet, knife, poison, trail derailment.
 8
 9              Background and Qualifications
10              50.    A copy of my curriculum vitae is attached to this Declaration as Exhibit
11   42.
12              51 .   I allended Sonmna Stale Univt:rsi ly when� I rel:eived a Bachelor of Arts
13   and Masters Degree in History. My Master's Thesis was "Concealed Weapon Laws of
14 the Early Republic".
15       52. I was awarded First Place by the Association for Education in Journalism
16 and Mass Communication Ethics Prize for my article "Ethical Problems of Mass
17 Murder Coverage in the Mass Media," Journal of Mass Media Ethics 9: 1 [Winter,
18 1993-94] 26-42.
19      53. I am cunently employed as an Adjunct Professor College of Western
20 Idaho, Nampa, teaching Western Civilization I and U.S. History I.
21       54. My publication "Why Footnotes Matter: Checking Arming America's
22   Claims," Plagiary 1(11 ) : 1-31 (2006) revealed the falsehoods presented in Michael A.
23   Bellesiles 's book ''Anning America: The Origins of a N ational Gun Culture" (New
24   York: Alfred A. Knopf, Inc., 2000), including significant discrepancies in American
25 histo1y and citations and quotes that did not match the historical record. Bellesiles'
26
27
         Christine Saiteschi. (2015). Severe Mental Illness, Somatic Delusions, and
           83
28 A ttempted Mass Murder. JOURNAL OF FORENSIC SCIENCES. 6 1 . 10. l l l l /1 5 56-
   4029. 1 2876.
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 1   book contained quotations taken out of context, which completely reversed the
 2   author's original intent. Dates were altered and statutory text was changed to
 3   completely reverse the meaning of the law. The sheer volume of these errors, and their
 4 consistent direction, would seem to preclude honest error. Emory University conducted
 5 an investigation that strongly ciiticized Bellesiles' ethical standards · Bellesiles
 6 resigned from his tentITed position at Emory. Columbia University initially awarded
 7 Bellesiles the Bancroft prize for his book "Arming America", but revoked the award
 8   after my research proved that the book was fraudulent.
 9           55.   My publications include:
10        Lock, Stock, and Barrel: The Origins ofAmerica Gun Culture, Praeger Press,
11   2018;
12        Social Conservatism in An Age o Revolution: Legislating Christian Morality in
                                              f


13   Revolutionary A merica, CreateSpace, 2016;
14        Historical Evidence Concerning Climate Change: Archaeological and Historical
15 Evidence That Man Ji; Not the Cause, CreateSpace, 201 6·
16        My Brother Ron: A Personal and Social History o the Deinstitutionalization of
                                                              f


17   the Mentally Ill, CreateSpace, 201 2 ;
18        "What Did ' Bear Arms' Mean in the Second Amendment?" Georgetown Journal
19   of Law and Public Policy, 6: 2 [2008]. Co-authored with Joseph Edward Olson;
20        Armed America: The Remarkable Story of How and Why Guns Became as
21   A merican as Apple Pie Nelson Current, 2006·
22        Concealed Weapon Laws ofthe Early Republic: Dueling, Southern Violence, and
23   Moral Reform, Praeger Press, 1999;
24        Black Demographic Data, 1 790-1 860: A Sourcebook, Greenwood Press, 1997;
25        l• iring Back: Defending Your Right to Keep and Bear Arms, Krause Publishing,
26 1 995;
27        For The Defense of Themselves and the State: The Original Intent and Judicial
28 Interpretation of the Right to Keep and Bear Arms, Praeger Press, 1994;

                           DECLARATION OF CLAYTON CRAMER                     APP. g �v 1 0 1 1
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 1
                                                                    f
          By The Dim and Flaring Lamps: The Civil War Diary o Samuel Mcilvaine,
 2   Editor, Library Research Associates, 1nc., 1990
 3         56.   I was retained at a rate of $75/hour to prepare this declaration.
 4         57.   My compensation is not in any way dependent on the outcome of this or
 5   any related proceeding, or on the substance of my opinion.
 6
 7         I declare under penalty of pe1jury that the foregoing is true and correct. Executed
 8   within the United States on December 1, 2022.
 9
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                         EXHIBIT 42

                                                                   APP. 927
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                                    Horseshoe Bend, ID 83629
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                                   clayton@claytoncramer.com
                                  http://www.claytoncramer.com



    EDUCATION:
                            Sonoma State University, Rohnert Park, California
    June, 1 998             M.A. in History
                            Master 's Thesis: "Concealed Weapon Laws of the Early Republic"
    June, 1 994             B .A. in History
                            Honors: cum laude and With Distinction


    AWARDS:

    1 993                   Association for Education in Joumalism and Mass Communication
                            Ethics Prize
                            First Place, Undergraduate Division


    TEACHING EXPERIENCE :

      Fall, 20 1 7 -   Adjunct Faculty: College of Western Idaho, Nampa, teaching
      present          Western Civilization I, U.S. History I.

      Fall, 2014 -     Recovering from stroke
      Spring,
      20 1 7
      Spring,          Adjunct Faculty: College of Western Idaho, Nampa, teaching
      20 1 0 -         Western Civilization I, U.S. History I.
      Spring,
      2014

      Fall, 2009 -     Adjunct Faculty: ITT Technical Institute, Boise, teaching State and
      Summer           Local Government and Introduction to Computers.
      20 1 0

      Fall, 2003       Adjunct Faculty: Boise State University, teaching U.S. Constitutional
                       History and at George Fox University (Boise Center), teaching
                       America and the World.




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      1 996       Teaching Assistant: Assisted Professor Peter Mellini in his course
                  "Twentieth Century World." I graded quizzes, exams, and answered
                  weekly written questions from students. I also prepared and lectured
                  about the rise of totalitarianism in the period between the world wars.



    BOOKS:
                       Lock, Stock, and Barrel: The Origins ofAmerica Gun Culture
                       Praeger Press, 20 1 8

                       Social Conservatism in A n Age ofRevolution: Legislating Christian
                       Morality in Revolutionary America
                       Create Space, 20 1 6

                       Historical Evidence
                                       ,..  Concerning Climate Change: Archaeological
                       and Historical Evidence That Man Is Not the Cause
                       Create Space, 20 1 6
                          ..
                       My Brother Ron: A Personal and Social History of the
                       Deinstitutionalization of the Mentally Ill
                       CreateSpace, 2012

                       Armed America: The Remarkable Story of How and Why Guns
                       Became as American as Apple Pie
                       Nelson Current, 2006

                       Concealed Weapon Laws of the Early Republic: Dueling, Southern
                       Violence, and Moral Reform
                       Praeger Press, 1 999

                       Black Demographic Data, 1 790-1 860: A Sourcebook
                       Greenwood Press, 1 997

                       Firing Back: Defending Your Right to Keep and Bear Arms
                       Krause Publishing, 1 995

                       For The Defense of Themselves and the State: The Original Intent
                       and Judicial Interpretation of the Right to Keep and Bear Arms
                       Praeger Press, 1 994

                       By The Dim and Flaring Lamps: The Civil War Diary of Samuel
                       Mcllvaine, editor
                       Library Research Associates, Inc., 1 990




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    SELECTED PUBLICATIONS:

                      "Bellesiles' Arming America Redux: Does the Gunning of
                      America Rewrite American History to Suit Modem Sensibilities?"
                      Southern Illinois University Law Journal Spring 20 1 7 Forthcoming
                      "
                      "Assault Weapon Bans: Can They Survive Rational Basis
                      Scrutiny?" University ofAkron ConLawNow 8 : 1 , article 1 .

                      Co-authored with David B . Kopel and Joseph Olson, "Knives and
                      the Second Amendment," University ofMichigan Journal ofLegal
                      Reform, 47: 1 1 67-2 1 5 (20 1 3).

                      "Mental Illness and the Second Amendment," 46 Conn. Law
                      Review 4: 1 30 1 (20 1 4).

                      Co-authored with David B. Kopel, "State Court Standards of
                      Review for the Right to Keep and Bear Arms," 50 Santa Clara
                      Law Review 1 0 1 -208 (20 1 0).

                      Co-authored with David B. Kopel, "The Keystone of the Second
                      Amendment: Quakers, the Pennsylvania Constitution, and the
                      Questionable Scholarship of Nathan Kozuskanich," 1 9 Widener
                      Law Journal 277-320 (20 1 0).

                     Co-authored with Nicholas J. Johnson and George A. Mocsary,
                     "'This Right is Not Allowed by Governments that are Afraid of the
                     People': The Public Meaning of the Second Amendment When the
                     Fourteenth Amendment was Ratified," 1 7 George Mason Law
                     Review 3 : 823-862 (20 1 0).

                      Co-authored with Don B. Kates, "Second Amendment Limitations
                      and Criminological Considerations," 6 1 Hastings Law Journal
                      1 339- 1 370 (2009).

                      Co-authored with Joseph Edward Olson, "Gun Control: Political
                      Fears Trump Crime Control," Maine Law Review, 6 1 : 1 [2009] 57-
                      81

                      Co-authored with Joseph Edward Olson, "What Did "Bear Arms"
                      Mean in the Second Amendment?" Georgetown Journal of Law &
                      Public Policy, 6:2 [2008]

                      Co-authored with Joseph Edward Olson, "Pistols, Crime, and Public
                      Safety in Early America." Willamette Law Review,
                                                                   • 44, [2008]




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                      "Why Footnotes Matter: Checking Arming America's Claims."
                      Plagiary 2006 1 (1 1): 1 -3 1 [29 September 2006]

                     "Michael Bellesiles and Guns in the Early Republic." Ideas on
                     Liberty 52:9 [September, 2002] 1 7-22.

                      "The Peaceable Kingdom?" Books & Culture: A Christian Review,
                      July/August 2002, 29.

                      "Confiscating Guns From America's Past." Ideas on Liberty 5 1 : 1
                      [January, 200 1 ] 23-27.

                      "Disarming Errors." National Review, October 9, 2000, 54-55 .

                      "An American Coup d'Etat?" History Today [November, 1 995].

                      "A Tale of Three Cities: The Right to Bear Arms in State Supreme
                      Courts." Temple Law Review 68:3 [Fall, 1 995] 1 1 78-124 1 . Co­
                      authored with David Kopel and Scott Hattrup.

                      " ' Shall Issue ' : The New Wave of Concealed Handgun Permit
                      Laws." Tennessee Law Review 62:3 [Spring, 1 995] 679-757.

                      "The Racist Roots of Gun Control." Kansas Journal of Law &
                      Public Policy 4:2 [Winter, 1 995] 1 7-25 .

                      "Ethical Problems o f Mass Murder Coverage in the Mass Media."
                      Journal ofMass Media Ethics 9: 1 [Winter, 1 993-94] 26-42.

                      A comprehensive list of popular magazine articles would run to
                      many      pages;      for     a      complete      list     see
                      http://www.claytoncramer.com/popular/popularmagazines.htm .

    CONFERENCES & EXPERT TESTIMONY:

                      Ohio State Senate Judiciary Committee, March 22, 1 995.

                      Michigan House      of Representatives Judiciary      Committee,
                      December 5, 1 995

                      American Society of Criminology, San Diego, Cal., November,
                      1 997. "Fear And Loathing In Whitehall: Bolshevism And The
                      Firearms Act Of 1 920."

                      American Society of Criminology, Chicago, Ill., November, 2002.
                      "The Duty to be Armed in Colonial America."




                                                                                APP. 93 1
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                      Assisted in research and wntmg of Respondent's Brief and
                      Academics for the Second Amendment and Claremont Institute
                      amicus briefs for D. C. v. Heller (2008).

                      Panelist on "Up in Arms: The Second Amendment in the Modem
                      Republic" University of Connecticut School of Law, November 1 5 ,
                      20 1 3 .

    WORKS CITED IN COURT DECISIONS:

                      " ' Shall Issue ' : The New Wave of Concealed Handgun Permit
                      Laws," cited in Pagel v. Franscell, 57 P.3d 1226, 1234 (Wyo.
                      2002); Moody v. ARC of Howard County, Inc., Civil No. JKB-09-
                      3228 (D.Md. 20 1 1).

                      "'This Right is Not Allowed by Governments that are Afraid of the
                      People':" cited in McDonald v. Chicago (20 1 0); Ezell v. City of
                      Chicago (7th Cir. 201 1).

                      "Second      Amendment      Limitations      and    Criminological
                      Considerations" cited in US. v. Yancey, 09- 1 138 (7th Cir. 20 1 0);
                      U S. v. Chester, 628 F.3d 673 (4th Cir. 20 1 0); US. v. Skoien, 587
                      F.3d 803 (7th Cir. 2009).

                      "What Did 'Bear Arms' Mean in the Second Amendment?", cited
                      in D. C. v. Heller (2008). In addition, significant parts of Justice
                      Scalia' s opinion are derived from amicus briefs that I helped to
                      research and write.

                      For the Defense of Themselves and the State, cited in Mosby v.
                      Devine, 85 1 A.2d 1 03 1 , 1 052 (RI 2004) (Flanders, J., dissenting);
                      U S. v. Emerson, 46 F.Supp.2d 598 (N.D.Texas 1 999); State v.
                      Sieyes 225 P. 3d 995 (Wash. 20 1 0).

                      "A Tale of Three Cities," cited in State v. Mendoza, 920 P.2d 357,
                      360 n. 4 (Hawaii 1 996).

                      Concealed Weapon Laws of the Early Republic, cited in Senna v.
                      Florimont, 95 8 A.2d 427, 433 (N.J. 2008).

                      "Mental Illness and the Second Amendment," cited in In Rec EC
                      (NJ.App. 20 1 5).

                      A comprehensive and up to date list can be found at
                      http://claytoncramer.com/scholarly/joumals.htm#citations.




                                                                                  APP. 932
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    LANGUAGES:

                      Very basic reading competence in German.


    OTHER SKILLS:

                      I have 35 years of experience as a computer software
                                                                         ...      engineer,
                      including embedded telecommunications equipment development,
                      web page creation and maintenance. I also have an unusually
                      detailed knowledge of the physical sciences (for an historian), a
                      deep interest in the history of science and technology, and how both
                      influence society.




                                                                                 APP. 933
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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DI STRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: l 7-cv- 1 0 1 7-BEN-JLB
 5
     IT IS HEREBY CERTIFIED HAT:
 6
 7          I, the undersigned, declare under penalty of perjwy that I am a citizen of the
     United States over 1 8 years of age. My business address is 1 80 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, described as:
10
11    DECLARATION OF CLAYTON CRAMER IN SUPPORT OF PLAINTIFFS'
                  SUPPLEMENTAL BRI EF; EXHIBIT 42
12
13 on the following parties by electronically filing the foregoing on December 1, 2022,
   with the Clerk of the District Comt using its ECF System, which electronically
14
   notifies them.
15
    Rob Bonta
16
    Attorney General of California
17 Mark R. Beckington
    Supervising Deputy Attorney General
18
    Kevin J. Kelly
19 Deputy Attorney General
    300 South Spring Street, Suite 1 702
20
    Los Angeles, CA 900 1 3
21  kevin.kelly@doj.ca.gov
22
23        I declare under penalty of perjury that the foregoing is true and correct.
     Executed on December 1 , 2022, at Long Beach CA.
24
25
26
27
28


                                                                             AP P. 934
                                                                                       1 7cv 1 0 1 7
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 1 C.D. Michel- SBN 144258
   Sean A. Brady - SBN 262007
 2 Anna M. Barvir - SBN 268728
   Matthew D. Cubeiro - SBN 291519
 3 MICHEL & ASSOCIATES, P.C.
 4 180 E. Ocean Boulevard, Suite 200
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 5 Telephone:  (562) 216-4444
   Facsimile: (562) 216-4445
 6 Email: abarvir@michellawyers.com
 7 Attorneys for Plaintiffs
 8
 9                   lN THE UNITED STAT S DISTRICT COURT
10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11   VIRGINIA DUNCAN, et al.                  Case No: 17-cv-1017-BEN-JLB
12
                                Plaintiffs,   DECLARATION OF GARY KLECK
13                                            IN SUPPORT OF PLAINTIFFS'
                        V.                    SUPPLEM E T AL BRI EF;
14                                            EXHIBIT 43
     XAVIER BECERRA, in his official
15   capacity as Attorney General of the
16   State of California,

17                              Defendant.
18
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26
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28

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 1   I, Gary Kleck, declare as follows:
 2   Introduction
 3         1.     I am Dr. Gary Kleck, Emeritus Professor of Criminology & Criminal
 4 Justice at Florida State University. Counsel for plaintiffs have asked me to offer a
 5   rebuttal opinion regarding the supplemental reports filed by Lucy Allen and Louis
 6 Klarevas. This rep01t sets forth my qualifications, opinions, and scholarly foundation
 7   for those opinions.
 8   Background & Qualifications
 9         2.     I am an emeritus Professor of Criminology and Criminal Justice at
10   Florida State University. I received my doctorate in Sociology from the University
11   of Illinois in 1 979, where I received the University of Illinois Foundation Fellowship
12   in Sociology. I was, at the time of my retirement in May 201 6, the David J. Bordua
13   Professor of Criminology at Florida State University, where I served on the faculty
14   from 1 978 to 201 6. My research has focused on the impact of firearms and gun
15 control on violence, and I have been called "the dominant social scientist in the field
16   of guns and crime." (William J. Vizzard, Shots in the Dark: The Policy, Politics, and
1 7 Symbolism of Gun Control , 2003, p. 183).
18         3.     I have published the most comprehensive reviews of evidence
19 concerning guns and violence in the scholarly literature, which informs and serves as
20 part of the basis of my opinions. I am the author of Point Blank: Guns and
                                                                            .. Violence
21   in America, which won the I 993 Michael J. Hindelang Award of the American
22   Society of Criminology, awarded to the book of the previous several years which
23   'made the most outstanding contribution to c1iminology." I also authored Targeting
24   Guns (1997) and, with Don B. Kates, Jr., The Great American Gun Debate ( 1 997)
25   and Armed (200 1 ) - books that l ikewise addressed the topic of guns and violence.
26         4.     I have also published scholarly research aiticles in virtually all the
27 leading professional journals in my field. Specifically, my articles have been
28   published in the American Sociological Review, A merican Journal of Sociology,

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 1   Social Forces, Social Problems, Criminology, Journal of Criminal Law and
 2   Criminology, Law & Society Review, Journal of Research in Crime and
 3   Delinquency, Journal of Quantitative Criminology, Law & Contemporary
                                                             ,,,          Problems,
 4   Law and Human Behavior, Law & Policy Quarterly, Violence and Victims, Journal
 5   of the American Medical A ssociation, and other scholarly journals.
 6         5.     I have testified before Congress and state legislatures on gun control
 7   issues, and worked as a consultant to the National Research Council, National
 8   Academy of Sciences Panel on the Understanding and Prevention of Violence, as a
 9 member of the U.S. Sentencing Commission's Drugs-Violence Task Force, and as
10 a member of the Institute of Medicine and National Research Council Committee on
11   Priorities for a Public Health Research Agenda to Reduce the Threat of Fireann-
12   Related Violence. I am a referee for over a dozen professional journals, and serve as
13   a grants consultant to the National Science Foundation.
14         6.     Finally, I have taught doctoral students how to do research and evaluate
15 the quality of research evidence, and have taught graduate courses on research
16 design and causal inference, statistical techniques, and survey research methodology.
17         7.     My current curriculum vitae, which includes a full list of 1ny
18   qualifications and publications, is attached hereto as Exhibit 43.
19   Legal Cases in Which I Have Served as an Expert Witness
20         8.     In the past ten years, I have been deposed and/or testified at trial in the
21   following matters:
22         Heller v. District o_fColumbia, D.D .C. (deposed July 2, 201 3).
23         Cook et al. v. Hickenlooper, D. Colo. (deposed and testified Mar. or
24           April 2013).
25         Wilson v. Cook County (deposed Sept. 1 6, 2013).
26         Kolbe v. O 'Malley, D. Md. (deposed Jan. 2, 2014).
27
           Barbra Schlifer Commemorative Clinic v. HMQ Canada ("Cross­
28            examined" [Canadian term for deposed] Feb. 24, 20 1 4).

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 1         Friedman v.   tty ofHighland Park (deposed May or June 2014 ).
 2         Tracy Rifle and Pistol v. Harris, E.D. Cal. (deposed ov. 2, 201 6).
 3
           Flanagan v. Becerra, U.S. District Court, Central District of
 4            California. Deposed July 25, 2017.
 5         Worman v. Baker, U.S. District Court for the District of
 6           Massachusetts. Deposed October 25, 2017.
 7         Duncan v. Becerra, U.S. District Court, Southern District of
             California. Deposed January 3, 2018.
 8
 9         MS/ v. Hogan, U.S. District Court, District of Maryland. Deposed
             May 18, 201 8.
10
           Association Of New Jersey Rifle & Pistol Clubs, Inc. , et al. v. Grewel
11
              et al., United States District Court District Of New Jersey.
12            Deposed 8-2-18. Trial testimony 8-17-1 8.
13         Rupp v. Becerra. U. S. District Court, Central District of California.
14           Deposed 12-12-18.
15         NRA v. Swearingen United States District Court for the Northern
             District of Florida, Deposed via Zoom 8-13-20.
16
17         Maryland Shall Issue v. Anne Arundel County. United States District
             Court for Maryland. Deposed via Zoom on 9-29-22.
18
19   Compensation
20         9.    I am being compensated for my time in this case at an hourly rate of
21    400 per hour. My compensation is not contingent on the results of my analysis or
22 the substance of 1ny testimony.
23   I.    Response to Supplemental Report of Lucy Allen
24         A.    Allen 's Claims About the Use of Large-capacity Magazines in Mass
25               Shootings

26         10.   Less than 2% of gun crimes known to the police involve offenders
27   firing over 10 rounds (Reedy and Koper 2xxx). Since ordinary crimes almost never
28   involve over 1 0 rounds fired, the rationale for banning large-capacity magazines

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 1   (LCMs) is focused almost entirely on mass shootings (commonly defined as
 2   incidents in which 4 or more victims are killed), since they do involve many rounds
 3   fired. Lucy Allen's defense of the LCM ban is consequently based on two claims
 4   about LCM use in n1ass shootings: (1 ) a large share of mass shootings involve use of
 5   LCMs, ( and the related proposition that mass shooters prefer LCMs over smaller
 6 magazines), and that (2) use of LCMs in mass shootings causes a higher casualty
 7 count.
 8          11.   What share of mass shootings (4+ dead) actually involve the use of
 9   large-capacity magazines (LCMs), defined herein as those with over I O-round
10 capacity? Allen uses a miscellaneous set of four largely overlapping sources of data
11   to defend her assertion that LCMs are frequently used in mass shootings, concluding
12   that 60% involve an LCM . Unfortunately, what all four of her datasets have in
13   common is that they all cover only a small minority of all mass shootings, and the
14   few incidents they do cover are clearly unrepresentative of the full set of mass
15 shootings.
16          12.   The most comprehensive compilation of mass shooting incidents is
17 contained in the Gun Violence Archive (GVA). publicly available at
18 https://www.gunviolencearchive.org/. Significantly, Allen ignored this widely used
19   data source - available since 20 13 - in favor of her four radically incomplete
20 compilations. The earliest GVA figures are for 2013, and the most recent complete
21   year covered is 2021.
22          13.   The most comprehensive source on mass shootings involving LCMs
23   can be found on the Violence Policy Center (VPC) website, available at
24   https://vpc.org/fact shtNPCshootinglist.pdf. VPC advocates bans on LCM, and its
25 staff searches hundreds of news sources for stories reporting LCM use in mass
26   shootings. If even a single news story reports use of a magazine holding over 10
27   rounds, it is included in the VPC database. Any given individual news source might
28   omit mention of LCM use from their account of a mass shooting that involved one,

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 1   but in order for an LCM-involved mass shooting to be missed in the VPC search,
 2   mention of LCM involvement would have to be omitted from every single news
 3   source searched - even those with editorial policies favoring bans on LCMs. Such
 4   an occurrence is highly unlikely, so it is correspondingly w11ikely that the VPC
 5   database excludes any significant nwnber of LCM-involved mass shootings.
 6          1 4.   I compiled counts from these two comprehensive sources to create the
 7   following table. It shows how often LCMs are involved in all 1nass shootings ( 4+
 8   dead in a single incident), as distinct from Allen's tiny, arbitrruily selected subset of
 9   mass shootings.
10
11   Table I - Prevalence of LCM Use in A11 Mass Shootings, 20 1 3-202 1
12   Year Mass Shootings LCM-involved Mass Shootings
     20 1 3    25              2
13
     20 1 4    20              0
14   20 1 5    26              4
     20 1 6    25              4
15
     20 1 7    24              4
16   20 1 8    22              3
     20 1 9    31              4
17
     2020      21              0
18   202 1     28              5
19
     20 1 3-202 1 222                  26
20
21          1 5.   Thus, when one examines the full set of all mass shootings instead of
                                                              ..
22 the tiny, ru·bitrarily selected subset examined by Allen, one finds that only 1 1 .7% of
23 a11 mass shootings (4+ dead) in the U.S. involve LCMs - a far cry from A11en's
24 claimed 60% (Allen, p. 1 9). It would be more accurate to say that mass shooters
25 rarely use LCMs.
26          1 6.   Further, in terms of absolute frequency it would also be fair to say that
27 mass shootings in which an LCM was known to have been used are freakishly rare,
28 occurring an average of j ust 2.9 times per year in the entire · u nited States in 20 1 3-

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 1   202 1 (26/9 years=2.9). Specifically regarding California, while it is a big state, it
 2   still claims only about 12% of the U.S. population, so one could expect 0.35_LCM-
 3   involved mass shootings in a typical year in California (1 2% of 2.9=0.35), or about 1
 4 every 3 years. Thus, the benefit of even a California LCM ban that somehow
 5   managed to completely eliminate LCM-involved mass shootings would be close to
 6   nonexistent.
 7         B.       Does Mass Shooter Use of L CMs Cause a Higher asualty Count?
 8         17.      Allen correctly notes that mass shooters who used LCMs inflicted more
 9   casualties than those who did not, but leaves the impression that LCM use must have
10 somehow caused the higher casualty count. She does not mention the obvious
11   alternative explanation for this statistical association- that shooters more intent on
12   hurting 1nany people would prepare to do so by acquiring LCMs and bringing them
13   to the scene of their crime. That is, lethality of intent determines both the choice of
14 weapomy and ammunition and the outcome of the c1ime. If this completely accounts
15   for the association, it means that the association is spurious, i.e. non-causal. That is
16 it means the LCM use has no effect of its own on the number of casualties inflicted.
17         18.      This alternative explanation entails two component assertions:
18         (1 )     Greater lethality of offender intent causes shooters to fire more rounds
19                  and inflict more casualties.
20         (2)      Greater lethality of intent makes it more likely that mass shooters will
21                  use weaponry they believe is suited to their deadly intentions.
22 Regarding assertion ( l ), it is scarcely credible that the outcomes of mass shootings
23   are not even slightly affected by what the shooters intended. While the
24   correspondence between intent and outcome is not perfect, it surely is strong. To my
25 knowledge, no proponent of LCM bans or scholarly student of LCM effects,
26   including Allen, has ever denied this asse1tion. Thus, assertion ( ) ) is widely
27   accepted.
28

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 1         19.    Likewise, to my knowledge, no proponent of LCM bans or scholarly
 2   student of LCM effects has ever denied that many mass shooters commonly plan
 3   their attacks well in advance, and that this planning includes obtaining firearms and
 4   ammunition. News accounts of mass shootings routinely describe the perpetrators of
 5 mass shootings planning their attacks weeks or months in advance, acquiring guns
 6 and magazines that they later use to kill and injure. Assertion (2) is completely
 7   consistent with all evidence about mass shootings known to me or included in
 8 Allen's repmt.
 9         20.    Therefore the association between (a) LCM use and (b) the nwnbers of
10 rounds fired and victims hurt in mass shootings, is at least partly (and possibly
11   entirely) spurious (not causal), and is instead attributable to the common effects of
12   (c) shooter lethality of intent on both (a) and (b). If propositions (1 ) and (2) are
13 correct, the only way to support the claim that the association between (a) and (b) is
14   not entirely spurious (and thus is at least partly causal in nature) is to measure and
15 control for (c). All en has not done this, nor has anyone else, to my knowledge. Thus
16 Allen has made no affinnative case for the claim that the association between (a) and
17   (b) is even partially causal, or the position that LCM use has any causal effect on the
18 number of casualties in mass shootings.
19         C.     Allen does not Provide Any Reason Why L CM Use Would Affect the
20                Number Killed or Wounded in a Mass Shooting

21         21 .   Allen fails to provide even a speculative explanation of why use of
22 LCMs would increase the number of people killed or wounded in mass shootings -
23   even though such an hypothesized effect is the main rationale for banning LCMs.
24   Allen's implied position that LCM use actually affects the number of casualties
25 might have been strengthened if she had cited details of actual 1nass shootings that
26   indicate that LCMs were necessary for firing many rounds and inflicting many
27   casualties, or that fewer rounds would have been fired and fewer casualties inflicted,
28   had the shooter lacked LCMs. For example, she might have tried to cite substantial

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 1   numbers of shootings in which the offender used an LCM, but had only one gun and
 2   one magazine, since, in such a situation, bystanders would have a better chance of
 3   tackling the shooter while he was reloading, and potential victims would have
 4   additional time to escape while the shooter was reloading. Allen did not do this. To
 5 my knowledge, she could not do this because there are no such known cases.
 6         22.    All mass shooters use mu]tip]e guns or multiple magazines and
 7 therefore could, even if they did not have LCMs, fire 1nany rounds without
 8 significant interruption, by either firing additional guns once the first one was
 9   emptied or by quickly changing magazines, something that takes only about 3-4
10 seconds (Kleck 2016). Allen neither acknowledges nor denies this, and
11   consequently fails to provide any explanation as to why LCM use would cause a
12   mass shooter to kill or wound more people. She appears to believe that merely
13   citing the crude statistical association between LCM use and casualty county is
14   sufficient to establish a case for cause-and- effect. However, as even beginning
15 statistics students know, correlation is not causation. This is especially true in this
16 case because close examination of how mass shootings occur does not reveals any
17   causal mechanism by which LCM use by U. S. mass shooters could increase the
18   number of people they killed or wounded.
19         23.    Advocates of LCM bans have hypothesized two possible mechanisms
20 by which preventing LCM use by a mass shooter mjght decrease the casualty count,
21   both based on the fact that shooters confined to smaller capacity magazines would
22   have to reload more often. First, more pauses to reload implies that bystanders
23   would have 1nore opportunities to tackle the shooter and stop him before he hurt
24   more victims. Second, the time the shooter devoted to reloading would give
25 prospective victims additional time to escape or hide.
26         24.    Regarding the first possibility, there have been no mass shootings in the
27   U.S. in the past 30 years in which the shooter was tackled while he was reloading.
28   All cases purported to involve such a scenario turn out to be incidents in which the

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 1   shooter was tackled while struggling with a jam or a defective magazine (Kleck
 2   2016). Since a ban on larger capacity magazines would not increase the frequency
 3   of gun jamrning or use of defective magazines in mass shootings, this Jcind of
 4 opportunity for bystander intervention would not be increased by an LCM ban. For
 5 exan1ple, the incident most frequently cited by LCM ban advocates to suppo11 the
 6   claim of bystander intervention while the shooter was reloading is the Arizona
 7 shooting involving an attack on Representative Gabriel Giffords in 2011. Some
 8   bystanders claimed that the shooter was reloading when he was tackled, but
 9   subsequent police investigation found that one of the magazines was defective
10 because its spring was broken. As far as can be determined from eye witness
11   testimony, the shooter was st1uggling with this defective magazine when he was
12   tackled, rather than reloading.
13         25.    The second mechanism by which additional reloading 1night reduce the
14   casualty count is that it purportedly provides additional time for victims to escape or
15   hide. To be sure, all mass shootings involve pauses between shots, whether because
16 the shooter was choosing his next victim, was reloading, or for other reasons. The
17 key issue is whether the additional reloads add to these pauses to an extent that
18 results in the shooter attacking fewer victims. The plausibility of the speculation
19   that reloads provide additi onal opportunity for victim evasion is dependent on just
20   how much time it takes to reload a semiautomatic fireann, and how this compares
21   with the length of the other pauses in shooting that occur when the offender is not
22   reloading.
23         26.    Analysis of mass shootings in which it was possible to determine the
24 offender's rate of fire reveals that mass shooters using semiautomatic guns fire at
25 relativel y slow rates, invariably less rapid than the rate of which the weapons are
26 capable (3 or more rounds per second) (Kleck 201 6) . Reloading a detachable
27   magazine takes ordinary shooters only about 3-4 seconds, and mass shooters who
28 rehearse their crimes by practicing rapid reloads could probably do still better. The
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 1   average interval between shots in mass shootings, however, is well over 3-4 seconds
 2   (see Table 3 in Kleck 2016). This means that pauses in shooting due to reloading
 3   are actually shorter in duration than the pauses between shots that mass shooters
 4   routinely take whether or not they are reloading. Thus, it is implausible that
 5 inducing mass shooters to reload more often provides any additional time sufficient
 6   for more vjctims to escape or hide.
 7          27.   In smn, there is no known mechanism by which bans on LCMs could
 8   reduce the casualty count in mass shootings, and thus no empirical support for the
 9 benefits that Allen claims would accrue from such a ban.
10          D.    A llen 's Claims A bout the Number of Rounds Fired in Defensive Gun
11                Uses
12          28.   Allen asserts that very few defensive gun uses (DGUs) involve over 10
13   rounds being fired, implying that LCMs are unneeded for defensive purposes. As a
14 prelimina1y logical note, it is impmtant to point out that the data used by Allen could
15 not tell her anythlng about incidents in which victilns needed an LCM to carry out
16   effective self-defense, but did not have one. Thus, as far as Allen knows, there
17   could have been thousands of crime incidents in which crime victims needed to fire
18 more than 10 rounds and would have benefited from use of an LCM but not possess
19   one.
20          29.   In any case Allen's claims about DGUs have no reliable foundation in
21   evidence. She cites data fr01n the "Arme d Citizen" column of the National Rifle
22 Association's (NRA) magazine, American Rifleman, and concludes that "it is rare
23   for a person, when using a firearm in self-defense, to fire more than ten rounds." She
24 does not confine this conclusion to persons whose defensive gun use (DGU) was
25   reported in the American Rifleman, but clearly intends it to apply to Americans in
26 general. The NRA's database of "armed citizen" stories is not a representative
27   sample of DGUs, nor does the NRA even claim it to be so. Indeed, Allen herself
28   does not claim that the NRA sample is representative. She acknowledges the
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 1   possibility of bias in selecting cases "in favor of stories that put use of guns in self-
 2   defense in the best possible light." Therefore, there is no formal basis for
 3   generalizing the results of any analysis of this sample to any l arger population of
 4   DGUs.
 5         30.    The utility of the NRA sample is however, even worse than merely
 6 being unrepresentative of DGUs in a general way. More specifically, there is strong
 7 reason to believe that the sample will largely exclude DGU incidents in which the
 8 defender fired more than 1 0 rounds. NRA staff nonrandomly select these incidents
 9   from news media-reported cases of DGU, most of them submitted by readers of the
10 "Armed Citizen" feature of A merican Rifleman. Based on the content of these
11   stories published in the magazine, it is clear that they are selected to convey the
12 impression that DGU is an extremely legibmate and effective activity, engaged in by
13   responsible law-abiding persons, for clearly legally justifiable purposes, carried out
14 in clearly lawful ways. The reality of the full array of DGUs is considerably more
15 diverse, but the NRA has a political agenda to portray DGU in as positive a light as
16 possible.
17         31.    Thus, Allen is quite right to note that the selection practices of NRA
18   staff are likely to favor inclusion of DGU stories that put DGU "in the best possible
19 light." She does not, however, appear to understand how this bias would work
20 regarding stories in which defenders fired large numbers of rounds. It could not
21   serve the NRA' s purposes to disseminate accounts of DGUs in which the defenders
22   appeared to use excessive force, indiscriminately firing arguably excessive numbers
23   of rounds at their adversaries. The more seemingly excessive the defender's use of
24   force appears to be, the less likely it is that his actions would appear to a reader to be
25 justifiable. Likewise, the RA is unlikely to want to disseminate stories in which
26 effective self-defense was difficult and dangerous, requiring the firing of large
27   numbers of rounds to protect the defender. Instead, NRA staff would better serve
28 their political ends by selecting stories of DGUs in which the defenders used the
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 1   minimum amount of force needed to defend themselves, firing the fewest rounds
 2   needed to serve that purpose. This would bias the sample of selected DGUs in the
 3   direction of excluding cases in which many rounds were fired.
 4         32.    Even though the NRA sample is not representative of DGUs in general,
 5 Allen's analysis of the NRA sample does nevertheless establish one thing: DGUs in
 6 which more than 10 rounds are fired do occur. Her analysis of the NRA sample
 7 identified two incidents in which over 10 rounds were fired, a frequency that Allen
 8   characterizes as "rare." This is indeed rare in absolute terms, but then so are mass
 9 shootings in which LCMs are used, typically occurring less than three times a year
10 in the entire U. S. (see Table 1 herein). Indeed, detailed examination of the way
11   mass shootings actually occw· indicates that the number of incidents in which use of
12   LCMs increased the number of victims killed or injured in a typical year may well
13   be zero (Kleck 2016).
14         33.    It is therefore worth considering the implications if 0.3% of all DGUs
15 involved over 10 rounds being fired, as Allen's results indicate. The numerous
16 national surveys that have specifically asked about DGUs have consistently
17 indicated 0.5-3.5 million DGUs per year, averaging about 2.2 million DGUs a year
18   (Kleck 202 1 ). (Gun control advocates have speculated that these surveys
19 overestimate the frequency of DGUs, but nearly all known sources of error in
20 surveys tend to contribute to underestimation - Kleck 2018).
21         34.    If 0.3% of DGUs involved over 10 rounds fired, this would imply there
22 are about 6,600 such DGUs per year (0.003x2,200,000=6 600). Thus, the percentage
23   of DGUs in which over 10 rounds were fired does not have to be very large in order
24   for it to imply a number of DGU incidents many times the number of mass shootings
25   with LCM use, or crimes in which LCM use increased the harm inflicted on victims.
26   In short, Allen's own results from her "Armed Citizen" analysis, taken at face value,
27   imply that there are far more DGUs each year in which the defenderfires over 1 0
28   rounds than there are mass shootings involving L 'M use.
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 1         E.
                                      f
                  A llen 's A nalysis o DGUs Reported in the News
 2         35.    DGUs repmied in news outlets are no more likely to be representative
 3   of all DGUs than the "Arm.ed Citizen" sample. News outlets rarely find out about
 4   crimes on their own-they find out about crimes from the police. DGUs that victims
 5   are willing to repo1i to the police, like the NRA-selected DGUs, are likely to be
 6 especially legitimate and justified. Conversely, defenders are less likely to report
 7 their DGUs to the police if their actions are likely to appear to the police as
 8   involving excessive force or indiscriminate firing of a gun. This means that incidents
 9 in which defenders fired over 10 rounds are likely to be rare among DGUs reported
10 to the police and consequently covered by news outlets, even if they were common
11   among all DGUs.
12         36.    Allen uncovered 4,800 news stories of DGUs over a span of six years,
13 but needlessly sampled just 200 of the stories for analysis. Her sample was selected
14   randomly and may well be approximately representative of the full set of DGU news
15   stories, but since the set of DGUs reported in the news is itself likely to be an
16   unrepresentative sample of all DGUs, Allen's sampling procedures cannot produce a
17 representative sample of DGUs. She therefore has no basis for generalizing the
18 results of this analysis to the entire population of DGUs.
19         37.    To summarize, Lucy Allen's own results indicate the Americans use
20 guns for defense and fire over l 0 rounds thousands of times a year. Further, the best
21   available evidence indicates that, contraiy to Allen's claims, (1) mass shootings
22 rai·ely involve LCMs, and (2) LCM use does not cause a larger number of victims to
23   be killed or wounded.
24
25   II.   Response to Supplemental Report of Louis Klarevas
26         A.     Klarevas ' Claims About the Magnitude of the Threat of Mass Shootings
27         38.    As he did in his first expert report (Klarevas 2017), Klarevas makes the
28   extraordinary claim that "gun massacres presently pose the deadliest threat to the
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 1   safety and security of American society, and the problem is growing," adding that "I
 2   continue to stand by the opinions and conclusions expressed in my 2018 Report"
 3   (Klarevas 2022, p. 3), The claim is as absurd now as it was then.
 4         39.    Klarevas documented 1 1 3 "gun massacres" (which he defines as
 5 incidents involving 6 or more dead), in which 1,009 people were killed, over the
 6   period from 1968 through September 20 I 7 . This is a period of 49 and ¾ years, so his
 7   own figures imply that an average of 20.3 Americans have been killed in "gun
 8   massacres" per year (1009/49.75=20.28). To put this number in perspective, 17,250
 9   Americans were killed in criminal homicides of all types in 201 6 (FBI 2017). Thus,
10   only 1/ l O lh of 1 % of all murder victims are killed in "gun massacres."
11         40.    Alternatively, we can state the se1iousness of the threat to the safety of
12   Americans by computing the fraction who will be killed in a "gun massacre" in a
13   given year. Since there were about 323,127,513 A1nericans in 2016, the annual
14   average of20.3 deaths implies that the probabiJity of an American dying in a "gun
15 massacre" is about 0.000000063, or 0.0063 per 100,000 population-about 1 in 15.9
16   million. As a point of comparison, defense expert Lucy Allen has calculated that the
17   rate of Americans dying because they were struck by lightning is 0.09 per 100,000
18   popuJation (Allen 2017, p. 16). Thus, the risk of an American being killed in a "gun
19 massacre" is less than 111 4 th of the risk ofbeing killed by a bolt of lightning-itself a
20   freakishly rare event. However horrific individual mass shootings may be, it is
21   absurd to describe their threat to the safety of Americans as "the greatest threat . . . to
22   the . . . safety of American society in the present era." This sort of overheated
23 rhetoric is appropriate to propagandists, not to serious scholars.
24         B.     Klarevas Claims About the Frequency ofLCM U.. e in Mass Shootings
25         41.    Like Lucy Allen, Louis Klarevas attempts to make the case that a large
26   share of mass shootings involve LCM use. His principle tactic to advance this claim
27   is to restrict his analyses to only the rarest kinds of mass shootings, those with a
28   huge number ( 1 0 or 1nore ) of fatalities (Klarevas 2022). This represents his most
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 1   significant change from his initial expert report (Klarevas 201 7) He has changed the
 2   cut-off of the minimum number of number of deaths for a mass shooting to be
 3   included in his analysis from 6 to 10, making his conclusions even more trivial than
 4   before because they pertain only to an even more freakishly rare subset ("double-
 s   digit fatality" incidents) of a subset of violent c1imes that was already freakishly rare
 6   to begin with. He shows that 23 of 30 of these extreme cases involved LCMs (his
 7   Table 1), or 77% - an even higher share than the 48% share (53 of 1 1 1) he obtained
 8   when he used a fatalities cut-off of six or more. Of course, Klarevas could have
 9 gone even further and analyzed only cases with over 50 deaths, since he then would
10 have been able to report that 1 00% of this set involved LCM use. There was just
11   one such incident and it did indeed involve LCM use (the Las Vegas shootings
12   included in his Table 1 ). Such an "analysis" of a single cased would be perceived by
13   most scholars as pointless, but it is only marginally more pointless than analyzing
14   the most extreme 30 cases.
15         42.    Over the entire history of the United States Klarevas was able to
16   identify just 30 mass shootings with 10 or more deaths - well under one per year
17   over that entire history. Even over the most recent 10 years, when such incidents
18   became relatively more common, the average was just 1.6 per year. In light of how
19   extremely rare these incidents are, the share of them that involved LCM use is trivial
20 and inelevant to policy-making.
21         43.    This shift in the cut-off number of deaths Klarevas uses to define the set
22   of shootings to analyze also has another subtle effect. It allows him to make a claim
23   that there is an upward trend in mass shootings that could not be sustained if he used
24   the cut-off of four deaths commonly used by other scholars. If one uses the
25   conventional definition of four+ fatalities, there has been no trend in recent years.
26   Table 1 included in this report provides counts of such shootings for 2013-202 1 (all
27   of the years for which complete data are available), based on the most
28   comprehensive source available, and it shows there have been only slight
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 1   fluctuations in the past decade around an average of 25 incidents per year. Indeed, if
 2   one were selective enough to focus only on the trends from 2015 to 2018, or from
 3   2020 to 202 1 , one could even make it seem like there has been a downward trend in
 4 mass shootings. Taking the data as a whole, however, there has been no upward
 5 trend in mass shootings.
 6         44.    It was only when Klarevas limited his focus to "double-digit fatality
 7   incidents" that the data would fit his claim of an increasing frequency of mass
 8 shootings (Klarevas 2022, pp. 7-8). Unfortunately, the more Klarevas' claims are
 9 confined to increasingly tiny subsets of shooting incidents, the less relevant they
10 become to the likely benefits of a ban on LCMs. As previously noted, in a typical
11   year Califo1nia experiences zero "double-digit fatality incidents," with or without
12   LCMs used, and thus there are zero such shootings that could be prevented by an
13   LCM ban.
14         C.     Klarevas ' Claims About Long-Oterm Hislorical Trends in Mass
15                Shootings

16         45.    Not satisfied with addressing recent trends in mass shootings Klarevas
17 claims to have established trends going back to 1776, using the Newspaper Archive
18   (Klarevas 2022, pp. 3-6). He desc1ibes this as a source that contains articles from
19   "local and major metropol itan newspapers dating back to 1 607" (p. 4, fn. 6). This is
20   a misleadingly incomplete description. This archive includes a few local newspapers
21   going back that far. Prior to the 20th century most of the nation was not covered by
22 these few local newspapers, so correspondingly few mass murders would be covered
23   by these sources.
24         46.    This not only results in a gross undercount of mass shootings, but it also
25   gives a misleading impression of trends over time. Since the share of the population
26   covered by newspapers included in this archive increased over time, the share of
27   mass shootings covered in archive newspaper stories would also increase, even if
28   there was no actual increase in the national number of mass shootings. Thus, the
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 1   appearance of increasing mass shooting prevalence in Klarevas' Table 1 is at least
 2 partly just a reflection of historical increases in the share of the nation's events that
 3   were covered by newspapers. Consequently, Klarevas had no reliable information
 4   on trends in mass shootings for any part of the nation's history up until this increase
 5 in newspaper coverage levelled off sometime in the late 20th centmy. His data can
 6 tell us nothing about trends in mass shooting frequency for earlier periods ..
 7         47.    The scope ofKlarevas' claims about histo1ical trends is also extremely
 8   constricted by the arbitraiy limits he placed on what kinds of mass shootings he was
 9   willing to count. Those familiar with the history of firearm massacres of native
10 Americans in the l 8 u1 and 19u1 centuries might wonder why they do not show up in
11   KJarevas' s data. His footnote 6 explains why: "Incidents of large-scale, inter-group
12   violence such as mob violence, rioting, combat or battle skirmishes, and attacks
13   initiated by autho1ities acting in their official capacity were excluded." If these were
14   incidents in which large numbers of people were killed with fireanns, what is the
15 justification for not defining them as mass shootings? If nearly all the mass
16 shootin gs in these earlier periods fell into these excluded categories, Klarevas '
17 arbitrary definitional decisions had the effect of magically making it seem that mass
18   shootings are exclusively a product of very recent times - the impression clearly left
19 by his Table 1 and Figure 1. The nation's extensive earlier history of mass shootings
20 simply vanishes. This definitional maneuver, however, was necessary if Klarevas
21   was to create the impression that mass shootings became frequent only when LCM-
22 equipped firearms became common. Earlier mass shootings may have differed from
23   our contemporai·y stereotypes of what a mass shooting is, but the relevant historical
24 reality is that Americans were able to carry out hundreds of mass shootings before
25 the late 20th century without benefi t of LCM use (for example, see Brown 1970 for
26 examples of massacres of native Americans), just as is true today (see my Table 1 ).
27         48.    An even fundamental problem with KJarevas' analysis lies in the
28   narrow focus on mass murders committed with .firearms. Virtually all of the mass
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 1   murders with very high fatality counts in the U.S. have been committed by means
 2   other than shooting (Duwe 2007). Most prominently, the 9-11 mass murders of
 3   nearly 3,000 Americans were committed by crashing airliners. More commonly,
 4   virtuaJly all mass murders with very high fatality counts have been conunitted using
 5   arson, or occasionally with explosives (Duwe 2007). Only two mass murders with
 6   over 32 dead in the 20th century were committed with firearms (Klarevas 2022,
 7   Table 1), while all others were committed with non-firearms methods, most
 8 cormnonly arson (Duwe 2007). The obvious point is that it is not even necessary to
 9   use firearms to murder large numbers of people, never mind firearms equipped with
10 LCMs.
11         D.     Klarevas ' Hinted Claim that LCM Use Causes Higher Fatality Counts
12         49.    Klarevas does not explicitly state that LCM use by mass shooters
13   causes higher numbers of fatalities or woundings; rather he just leads readers up that
14   conclusion by presenting crude bivariate correlations between LCM use and casualty
15 counts (e.g. his p. 7 statement that "100 percent of mass shootings resulting in more
16 than 14 deaths involved LCMs holding more than 10 bullets"), without stating any
17 disclaimers that the correlations may be entirely spurious, i.e. not causal in nature.
18   His problem is the same one that afflicted Lucy Allen - he did nothing to rule out
19 the possibility that both the higher casualty counts and the shooter's choice to use
20 LCMs could be due to the common effect of offender lethality. That is, aggressors
21   determined to kill larger numbers of victims are more likely to actually do so
22 (lethality of intent affects fatality counts), and are also more likely to acquire and use
23   LCMs in their crime (lethality of intent affects weapon choice). Klarevas did not
24   control for any potentially confounding variables, including offender lethality, so he
25 had no legitimate foundation for concluding - or hinting to readers - that LCM use
26 caused higher casualty counts. And if there is no causal effect of LCM use on
27   casualty counts, there is no logical basis for believing that reducing LCM
28   availability and use will cause a reduction in mass shooting casualties.
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 1         50 .   Further, like Lucy Allen, Klarevas can offer no coherent explanation of
 2   why LCM use would increase casualty counts. Three 10-round magazines of the sort
 3   left legally available after LCMs are banned contain exactly as many rounds as a 30-
 4   round magazine of the type prohibited by LCM bans. Therefore, LCM use does not
 5   affect how many rounds a mass shooter can acquire or fire in an attack. Reloading
 6   creates a pause in firing that bystanders theoretically might use to tackle the shooter
 7 and stop the killing, but there are no known cases of this actually happening in the
 8   U.S. in the past 30 years. Likewise, reloading does not slow the shooters rate of fire,
 9   which might have allowed more prospective victims to escape or hide (Kleck 2016).
10   So how does use of an LCM by a mass shooter increase how many people he hurts?
11   Conversely, how would preventing LCM use through a law banning LCMs decrease
12   the number hurt? Klarevas does not say.
13         E.     Klarevas ' Claims About Trends in LCM Availability
14         51 .   Another new element in Klarevas' Supplemental Declaration is his
15 attempt to document trends in "the availability of LCMs in the U.S. civilian firearm
16 marketplace" (Klarevas 2022, pp.7-9). He uses data from Gun Digest, an annual
17 catalog of firearms that were available for sale new (i.e. , not used) at the time of
18 publication. His discussion of this analysis is misleading because of his slippe1y use
19   of the phrase "nmnber of firearms." From context, it can be determined that
20 Klarevas' numbers do not in fact pertain to numbers of fireanns, but rather to
21   numbers of firearms models. This distinction is critical because Gun Digest does not
22 report any figures on numbers of firearms equipped with LCMs - it merely lists
23   models of guns (e.g., the "Accu-tek Model HC-380SS Auto Pistol") and notes the
24   size of magazine with which they come equipped. In short, Klarevas did not
25   actually have any data on how many firearms came factory equipped with LCMs.
26   For all he could tell from the Gun Digest catalog, there may have been very few of
27   the models that were equipped with LCMs manufactured and sold in a given year
28   (regardless of how many models of that type there were), and huge numbers of guns
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 1   manufactured and sold that were not so equipped. In sum, Klarevas did not have
 2   any data that actually measure the availability of LCMs or trends in that availability.
 3
 4         I declare under penalty of perjury that the foregoing is true and c01Tect.
 5 Executed within the United States on December 1, 2022.
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                         EXHIBIT 43

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                              CURRICULUM VITAE

                                 GARY KLECK

                             (Updated May 27, 202 1)

 PERSONAL

 Place of Birth:              Lombard, Illinois

 Date of Birth:               March 2, 1 95 1

 Address:                     College of Criminology and Criminal Justice
                              The Florida State University
                              1 1 2 S . Copeland Street
                              Tallahassee, FL 32306-1 273

                              Tallahassee, Florida 32306- 1 1 27

 Telephone Number:           Home: (850) 559-0922

 e-mail Address:              gkleck@fsu.edu

 website:                    http://criminology.fsu.edu/faculty-and-staff/college-faculty/gary­
                             kleck/

 CURRENT POSITION

        David J. Bordua Emeritus Professor of Criminology, Florida State University

 COURTESY APPOINTMENT

        Courtesy Professor, College of Law, Florida State University

 PROFESSIONAL MEMBERSHIPS

        American Society of Criminology

        Academy of Criminal Justice Sciences

 EDUCATION

        A.B.          1 973 - University of Illinois, with High Honors and with Distinction in
                              Sociology

        A.M.          1 975 - University of Illinois at Urbana, in Sociology




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       Ph.D.             1 979 - University of Illinois at Urbana, in Sociology


 ACADEMIC HONORS

       National Merit Scholar, 1 969

       Freshman James Scholar, University of Illinois, 1 969

       Graduated from University of Illinois with High Honors and with Distinction in
             Sociology, 1 973

       University of Illinois Foundation Fellowship in Sociology, 1 975-76

       1 993 Winner of the Michael J. Hindelang Award of the American Society of
              Criminology, for the book that made "the most outstanding contribution to
              criminology" (for Point Blank: Guns and Violence in America).

       Awarded Named Professorship, Florida State University, 20 12.

       Nominated for University Teaching Award, Florida State University, 2014.

       Paper of the Year awarded by Criminal Justice Review for "Does Gun Control Reduce
              Crime?," Volume 4, pp. 488-5 1 3 (20 1 6).

 TEACHING POSITIONS

       Fall, 1 99 1 to          Professor, College of Criminology and Criminal Justice,
       May 20 1 6                              Florida State University

       Fall, 1 984 to           Associate Professor, School of Criminology,
       Spring, 1 99 1                  Florida State University.

       Fall, 1 979              Assistant Professor, School of Criminology,
       to Spring, 1 984                Florida State University.

       Fall, 1 978 to           Instructor, School of Criminology,
       Spring, 1 979                    Florida State University.

 COURSES TAUGHT

       Criminology, Applied Statistics, Regression, Introduction to Research Methods, Law
       Enforcement, Research Methods in Criminology, Guns and Violence, Violence Theory
       Seminar, Crime Control, Assessing Evidence, Survey Research, Research Design and
       Causal Inference.




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 DISSERTATION

       Homicide, Capital Punishment, and Gun Ownership: An Aggregate Analysis of U. S .
       Homicide Trends from 1 947 to 1 976. Department of Sociology, University of
       Illinois, Urbana. 1 979.

 PUBLICATIONS (sole author unless otherwise noted)

   BOOKS

       1 99 1 , Point Blank: Guns and Violence in America. Hawthorne, N.Y.: Aldine de
       2005 Gruyter. Winner of the 1 993 Michael J. Hindelang award of the American
                Society of Criminology. Republished in 2005 in paperback by Transaction
                Publishers.

                        Reviewed in Contemporary Sociology, American Journal of Sociology,
                        Social Forces, Journal of Criminal Law and Criminology, The
                        Criminologist, The Public Interest, Criminal Law Forum, Social
                        Science Review, Criminal Justice Abstracts, Crime, Criminal Justice and
                        Law Enforcement, Newsletter of Public Policy Currents, Commonweal,
                        Choice, and others.

       1 997 Targeting Guns: Firearms and their Control. Hawthorne, N.Y.: Aldine de Gruyter.

       1 997 The Great American Gun Debate: Essays on Firearms and Violence (with Don B .
             Kates, Jr.). San Francisco: Pacific Research Institute for Public Policy.

       200 1 (with Don B. Kates) Armed: New Perspectives on Gun Control. N.Y.:
              Prometheus Books.

                Selected to Choice: Current Reviews for Academic Libraries ' 39th annual
                "Outstanding Academic Title List," awarded for "excellence in scholarship and
                presentation, the significance of their contribution to their field, and their value as
                an important treatment of their topic." Awarded to less than one percent of
                books.

       20 1 7   (with Brion Sever) Punishment and Crime: The Limits o f Punitive Crime Control.
                NY: Routledge.

  RESEARCH MONOGRAPH

       1 979    Bordua, David J., Alan J. Lizotte, and Gary Kleck. Patterns of Firearms
                Ownership, Use and Regulation in Illinois. A Report to the Illinois Law Enforce­
                ment Commission, Springfield, Illinois.




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 ARTICLES IN PEER-REVIEWED JOURNALS

       1 979    "Capital punishment, gun ownership, and homicide." American Journal of
                Sociology 84(4): 882-9 1 0.

       1981     "Racial discrimination in criminal sentencing: A critical evaluation o f the
                evidence with additional evidence on the death penalty." American Sociological
                Review 46(6):783-804.

       1 982    "On the use of self-report data to determine the class distribution of criminal
                behavior." American Sociological Review 47(3):427-33 .

       1 983    (with David Bordua) "The factual foundation for certain key assumptions of gun
                control." Law and Policy Quarterly 5(3):27 1 -298.

       1 985     "Life support for ailing hypotheses: modes of summarizing the evidence on
                racial discrimination in criminal sentencing." Law and Human Behavior
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       1 986    "Evidence that 'Saturday Night Specials' not very important for crime."
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       1 987     "American's foreign wars and the legitimation of domestic violence."
                Sociological Inquiry 57(3) :237-250.

       1 988    "Crime control through the private use of armed force." Social Problems 3 5( 1): 1 -
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       1 988    "Miscounting suicides." Suicide and Life-Threatening Behavior 1 8(3):2 1 9-236.

       1 990    (with Susan Sayles) "Rape and resistance." Social Problems 37(2): 149- 1 62.

       1 99 1   (with Karen McElrath) "The effects o f weaponry on human violence." Social
                Forces 69(3):669-92.

       1 993    (with Miriam DeLone) "Victim resistance and offender weapon effects in
                robbery." Journal of Quantitative Criminology 9(1):55-82.

       1 993    (with E. Britt Patterson) "The impact of gun control and gun ownership levels on
                 violence rates." Journal of Quantitative Criminology 9(3):249-287.

       1 993    "Bad data and the 'Evil Empire': interpreting poll data on gun control." Violence
                 and Victims 8(4):367-376.

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       1 995   "Using speculation to meet evidence." Journal of Quantitative Criminology
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               defense with a gun." Journal of Criminal Law & Criminology 86(1): 1 50- 1 87.

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               application of the General Social Surveys." American Behavioral Scientist
               39(4):3 87-404.

       1 996   (with Chester Britt III and David J. Bordua) "A reassessment of the D.C. gun law:
               some cautionary notes on the use of interrupted time series designs for policy
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       1 996   (with Chester Britt III and David J. Bordua) "Avoidance and misunderstanding. "
               Law & Society Review 30(2):393-397.

       1 997   (with Marc Gertz) "The illegitimacy of one-sided speculation: getting the
               defensive gun use estimate down." Journal of Criminal Law and Criminology
               87(4): 1 446-1 46 1 .

       1 997   (with Tomislav Kovandzic and Marc Gertz) "Defensive gun use: vengeful
               vigilante imagery vs. reality: results from the National Self-Defense Survey."
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                Journal of Criminal Justice 37(5):496-504.

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                and criminal justice doctoral programs, 2005-2009." Journal of Criminal Justice
                Education 22( 1 ):43-66.

       20 1 1   (with Tomislav Kovandzic, Mark Saber, and Will Hauser). "The effect of
                perceived risk and victimization on plans to purchase a gun for self-protection."
                Journal of Criminal Justice 39(4):3 12-3 19 .




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                be done." Fordham Urban Law Journal 39(5): 1 383-1420.

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                risks: is there a "collective wisdom?" Crime and Delinquency 59(7): 1 006- 1 03 5 .

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               gun prevalence on homicide rates: A local average treatment effect
               approach." Journal of Quantitative Criminology 28(4):477-54 1 .

       20 1 4   (with Jongyeon Tark) "Resisting rape: the effects o f victim self-protection on
                rape completion and injury." Violence Against Women 23(3): 270-292.

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                Crime and Delinquency 60(5):7 1 6-73 8.

       20 1 5   "The impact of gun ownership rates on crime rates: a methodological review
                of the evidence." Journal of Criminal Justice 43(1):40-48.

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                crime?" Criminal Justice Review 4 1 :488-5 1 3 .

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                Public Policy 1 5 :767-775 .

       20 1 6   (with Dylan Jackson) "What kind o fjoblessness affects crime? A national
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                plausibility of linkages." Justice Research and Policy 1 7:28-47.

       20 1 7   (with Will Hauser) "The impact o f police strength and arrest productivity on fear
                of crime and subjective assessments of the police." American Journal of Criminal
                Justice 42:86-1 1 1 .

       20 1 7   (with Dylan Jackson) "Does crime cause punitiveness?" Crime & Delinquency.
                63(1 2): 1 572- 1 5 99.

       20 1 7   (with Bethany Mims) "Article productivity among the faculty o f criminology and
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       20 1 8   (with Moonki Hong) "The short-term deterrent effect of executions: an analysis
                of daily homicide counts." Crime & Delinquency 64(7):939-970.

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       20 1 9   "Macro-level research on the effect o f firearms prevalence on suicide rates: a
                systematic review and new evidence." Social Science Quarterly 1 00(3):936-950.

       20 1 9   "Regulating guns among young adults." American Journal o f Criminal Justice
                44:689-704.

       202 1    "What do CDC ' s surveys say about the prevalence of defensive gun use?"
                American Journal of Criminal Justice 46:40 1 -42 1 .

       202 1    "The continuing vitality of bad research on guns and violence: a comment on
                Fridel." Justice Quarterly 38(5):9 1 6-924.

       202 1     "Compliance with universal background check gun laws." Journal of Crime and
                Justice (published online 9-2-20).

       202 1    Tomislav Kovandzic and Kleck. "The impact of firearm levels on homicide rates:
                the effects of controlling for cultural differences in cross-national research."
                American Journal of Criminal Justice (published online 1 -4-2 1).

       202 1    "The cross-national association of gun ownership rates and suicide rates: an
                analysis of 1 92 nations." Archives of Suicide Research (published online
                5-12-2 1).

 OTHER PUBLISHED ARTICLES

       1 985    "Policy lessons from recent gun control research." Law and Contemporary
                Problems 49(1):3 5-62.

       1 992    "Assault weapons aren't the problem." New York Times September 1 , 1 992, p.
                A 1 5 . Invited Op-Ed page article.

       1 993    "The incidence of violence among young people." The Public Perspective 4:3-6.
                 Invited article.

       1 994    "Guns and self-protection." Journal of the Medical Association of Georgia 83 :42.
                Invited editorial.

       1 998    "Using speculation to meet evidence: reply to Alba and Messner." Journal on
                Firearms and Public Policy 9: 13-49.




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       1 998   "Has the gun deterrence hypothesis been discredited?" Journal on Firearms and
               Public Policy 1 0:65-75 .

       1 999   "There are no lessons to be learned from Littleton." Criminal Justice Ethics
               1 8(1 ):2, 6 1 -63 . Invited commentary.

       1 999   "Risks and benefits of gun ownership - reply." Journal of the American Medical
               Association 282(2): 1 36- 1 36.

       1 999   "The misfire that wounded Colt's." New York Times October 23, 1 999. Invited
               Op-Ed page article.

       1 999   "Degrading scientific standards to get the defensive gun use estimate down."
               Journal on Firearms and Public Policy 1 1 :77- 1 37.

       2000    "Guns aren't ready to be smart. " New York Times March 1 1 , 2000. Invited Op­
               Ed page article.

       2000 (with Chester Britt III and David J. Bordua) "The emperor has no clothes: using
             interrupted time series designs to evaluate social policy impact." Journal on
             Firearms and Public Policy 12: 1 97-247.

       200 1   "School lesson: armed self-defense works." Wall Street Journal March 27, 200 1 .
               Invited opinion article.

       200 1   "Impossible policy evaluations and impossible conclusions: a comment on Koper
               and Roth." Journal of Quantitative Criminology 17 :75-80.

       200 1   "Absolutist politics in a moderate package: prohibitionist intentions of the gun
               control movement." Journal on Firearms and Public Policy 1 3 : 1 -43 .

       2002    "Research agenda on guns, violence, and gun control." Journal on Firearms and
               Public Policy 1 4: 5 1 -72.

       2006    "Off target." New York Sun January 5, 2006. Invited opinion article.

       2009    "How not to study the effect of gun levels on violence rates." Journal on Firearms
               and Public Policy 2 1 :65-93 .

       20 1 1 "Mass killings aren't the real gun problem --- how to tailor gun-control
              measures to common crimes, not aberrant catastrophes." Wall Street Journal
               January 1 5 , 201 1 . Invited opinion article.

       20 1 1 "The myth of big-time gun trafficking." Wall Street Journal May 2 1 , 20 1 1 .
               Invited opinion article.




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       20 1 5   "Defensive gun ownership is not a myth: why my critics still have it wrong."
                Politico Magazine, February 1 7, 20 1 5 . Online at Politico.Com.

       202 1    "The futility of non-response responses: a reply to Fridel." Justice Quarterly (in
                press).

  BOOK CHAPTERS

       1 984    (with David Bordua) "The assumptions of gun control." Pp. 23-48 in
                Don B. Kates, Jr. (ed.) Firearms and Violence: Issues of Regulation. Cambridge,
                Mass. : Ballinger.

                (Also appeared in Federal Regulation of Firearms, report prepared by the
                Congressional Research Service, Library of Congress, for the Committee on
                the Judiciary, United States Senate, 1 982).

       1 984    "The relationship between gun ownership levels and rates of violence in the U.S . "
                Pp. 99- 1 3 5 in Kates, above.

       1 984    "Handgun-only gun control: a policy disaster in the making." Pp. 1 67-1 99 in
                Kates, above.

       1 996    "Racial discrimination in criminal sentencing." Pp. 339-344 in Crime and
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       1 996    "Gun buy-back programs: nothing succeeds like failure." Pp. 29-53 in
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                & Francis, Inc.

       200 1    (with Leroy Gould and Marc Gertz) "Crime as social interaction." Pp. 1 0 1 - 1 1 4 in
                What is Crime?: Controversy over the Nature of Crime and What to Do About It,
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                Littlefield.

       2003     "Constricted rationality and the limits of general deterrence." Chapter 13 in
                Punishment and Social Control: Enlarged Second Edition, edited by Thomas G.
                Blomberg. New York: Aldine de Gruyter.

       2004     "The great American gun debate: what research has to say." Pp. 470-487 in The
                Criminal Justice System: Politics and Policies, 9th edition, edited by George F.
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                Vincent N. Parrillo. Thousand Oaks, CA: Sage.

       2009     "Guns and crime." Invited chapter. Pp. 85-92 in 2 1 st Century Criminology: A
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       20 1 2   Kovandzic, Tomislav, Mark E. Schaffer, and Gary Kleck. "Gun prevalence,
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                by David Gadd, Susanne Karstedt, and Steven F. Messner. Thousand Oaks, CA:
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                Survey Methodology for the Social Sciences, edited by Lior Gideon. NY:
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       20 1 9   "The effect o f firearms on suicide." Pp. 309-329 in Gun Studies: Interdisciplinary
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                Goss, and Harel Shapira. NY: Routledge.

       20 1 9   "Gun control." Pp. 1 53 - 1 66 in The Handbook o f Social Control, edited by
                Mattieu Deflem. Hoboken, NJ: Wiley-Blackwell.

       202 1    "Research on guns and crime." Chapter in The Encyclopedia of Research
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  BOOK REVIEWS

       1 978    Review of Murder in Space City: A Cultural Analysis of Houston Homicide
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                1 3 :294-296.

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                Social Forces 66: 1 1 39- 1 140.

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                Hawkins, Contemporary Sociology 17 :363-364.

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       1 99 1   Review o f Equal Justice and the Death Penalty, by David C. Baldus, George G.
                Woodworth, and Charles A. Pulaski, Jr. Contemporary Sociology 20:598-9.

       1 999    Review of Crime is Not the Problem, by Franklin E. Zimring and Gordon
                Hawkins. American Journal of Sociology 1 04(5): 1 543-1 544.

       200 1    Review of Gun Violence: the Real Costs, by Philip J. Cook and Jens Ludwig.
                Criminal Law Bulletin 37(5):544-547.

       20 1 0   Review o f Homicide and Gun Control: The Brady Handgun Violence Prevention
                Act and Homicide Rates, by J. D. Momoe. Criminal Justice Review 35(1): 1 1 8-
                1 20.


 LETTERS PUBLISHED IN SCHOLARLY JOURNALS

       1 987    "Accidental firearm fatalities." American Journal of Public Health 77: 5 1 3 .

       1 992    "Suicide in the home in relation to gun ownership." The New England Journal of
                Medicine 327: 1 878.

       1 993    "Gun ownership and crime." Canadian Medical Association Journal 149: 1 773-
                1 774.

       1 999    "Risks and benefits of gun ownership." Journal of the American Medical
                Association 282: 1 36.

       2000     (with Thomas Marvell) "Impact of the Brady Act on homicide and suicide rates."
                Journal of the American Medical Association 284:27 1 8-27 19 .

       200 1    "Violence, drugs, guns (and Switzerland)." Scientific American 284(2): 12.

       2002     "Doubts about undercounts of gun accident deaths." Injury Prevention Online
                (September 1 9, 2002). Published online at http://ip.bmjjournals.com/cgi/eletters
                /8/3/252.

       2005     "Firearms, violence, and self-protection." Science 309: 1 674. September 9, 2005 .




                                                                                        APP. 969
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 UNPUBLISHED REPORT

          1 987 Violence, Fear, and Guns at Florida State University: A Report to the President's
                Committee on Student Safety and Welfare. Reports results of campus crime
                victimization survey and review of campus police statistics on gun violence (32
                pages).

 RESEARCH FUNDING

          1 994   "The Impact of Drug Enforcement on Urban Drug Use Levels and Crime Rates. "
                  $9,500 awarded by the U.S. Sentencing Commission.

          1 997   "Testing a Fundamental Assumption of Deterrence-Based Crime Control Policy."
                  $80,590 awarded by the Charles E. Culpeper Foundation to study the link
                  between actual and perceived punishment levels.

 PRESENTED PAPERS

  1 976   "Firearms, homicide, and the death penalty: a simultaneous equations analysis."
                 Presented at the annual meetings o f the Illinois Sociological Association,
                 Chicago.

          1 979   "The assumptions of gun control. " Presented at the annual meetings of the
                  American Sociological Association, New York City.

          1981    "Lethality comparisons between handguns and weapons which might be
                  substituted in assault if handguns were prohibited. " Presented at the
                  annual meetings of the American Society of Criminology, Washington, D.C.

          1 982   "Life support for ailing hypotheses: Modes of summarizing the evidence on
                  racial discrimination. " Presented at the annual meetings of the American Society
                  of Criminology, Toronto.

          1 984   "Policy lessons from recent gun control research." Presented at the Duke
                  University Law School Conference on Gun Control.

          1 985   "Policy lessons from recent gun control research." Presented at the annual
                  meetings of the American Society of Criminology, San Diego.

          1 986   "Miscounting suicides." Presented at the annual meetings of the American
                  Sociological Association, Chicago.

          1 987   (with Theodore G. Chiricos, Michael Hays, and Laura Myers) "Unemployment
                  and crime: a comparison of motivation and opportunity effects." Presented at the
                  annual meetings of the American Society of Criminology, Montreal.




                                                                                        APP. 970
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       1 988    "Suicide, guns and gun control. " Presented at the annual meetings of the Popular
                Culture Association, New Orleans.

       1 988    (with Susan Sayles) "Rape and resistance." Presented at the annual meetings of
                the American Society of Criminology, Chicago.

       1 989    (with Karen McElrath) "The impact of weaponry on human violence."
                Presented at the annual meetings of the American Sociological Association, San
                Francisco.

       1 989    (with Britt Patterson) "The impact of gun control and gun ownership levels on
                city violence rates." Presented at the annual meetings of the American Society
                of Criminology, Reno.

       1 990    "Guns and violence: a summary of the field." Presented at the annual meetings
                of the American Political Science Association, Washington, D.C.

       1 99 1   "Victim resistance and weapons effects in robbery." Presented at the annual
                meetings of the American Society of Criminology, San Francisco.

       1 99 1   "News media bias in covering gun control issues." Presented at
                the annual meetings of the American Society of Criminology, San Francisco.

       1 992 "Interrupted time series designs: time for a re-evaluation." Presented at the
               annual meetings of the American Society of Criminology, New Orleans.

       1 993    (with Chester Britt III and David J. Bordua) " The emperor has no clothes: Using
                interrupted time series designs to evaluate social policy impact." Presented at the
                annual meetings of the American Society of Criminology, Phoenix.

       1 993 "Crime, culture conflict and support for gun laws: a multi-level application of the
                 ..
              General Social Surveys." Presented at the annual meetings of the
             American Society of Criminology, Phoenix.

       1 994    (with Marc Gertz) "Armed resistance to crime: the prevalence and nature of self­
                defense with a gun." Presented at the annual meetings of the American Society
                of Criminology, Miami.

       1 995    (with Tom Jordan) "The impact of drug enforcement and penalty levels on urban
                drug use levels and crime rates." Presented at the annual meetings of
                the American Society of Criminology, Boston.

       1 996    (with Michael Hogan) "A national case-control study of homicide offending and
                gun ownership." Presented at the annual meetings of the American Society of
                Criminology, Chicago.




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       1 997   "Evaluating the Brady Act and increasing the utility of BATF tracing data."
               Presented at the annual meetings o f the Homicide Research Working Group,
               Shepherdstown, West Virginia.

       1 997   "Crime, collective security, and gun ownership: a multi-level application of the
               General Social Surveys." Presented at the annual meetings of the American
               Society of Criminology, San Diego.

       1 998   (with Brion
                      l    Sever and Marc Gertz) "Testing a fundamental assumption of
               deterrence-based crime control policy." Presented at the annual meetings of the
               American Society of Criminology, Washington, D.C.

       1 998   "Measuring macro-level gun ownership levels." Presented at the annual meetings
               of the American Society of Criminology, Washington, D.C.

       1 999   "Can owning a gun really triple the owner's chances of being murdered?"
               Presented at the annual meetings of the American Society of Criminology,
               Toronto.

       2000    "Absolutist politics in a moderate package: prohibitionist intentions of the gun
               control movement." Presented at the annual meetings of the American Society of
               Criminology, San Francisco.

       200 1   (with Tomislav V. Kovandzic) "The impact, of gun laws and gun levels on crime
               rates." Presented at the annual meetings of the American Society of Criminology,
               Atlanta.

       200 1   "Measures of gun ownership levels for macro-level violence research." Presented
               at the annual meetings of the American Society of Criminology, Atlanta.

       2002 "The effects of gun ownership levels and gun control laws on urban crime rates."
             Presented at the annual meetings of the American Society of Criminology,
             Chicago.

       2003    (with Tomislav V. Kovandzic) "The effect of gun levels on violence rates depends
               on who has them." Presented at the annual meetings of the American Society of
               Criminology, Denver.

       2003    (with KyuBeom Choi) "Filling in the gap in the causal link of deterrence."
               Presented at the annual meetings of the American Society of
               Criminology, Denver.

       2004    (with Tomislav Kovandzic) "Do violent crime rates and police strength levels in
               the community
                     .
                     ,        influence whether individuals own guns?" Presented at the annual
               meetings of the American Society of Criminology, Nashville.




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       2004   (with Jongyeon Tark) "Resisting crime: the effects of victim action on the
              outcomes of crime." Presented at the annual meetings of the American
              Society of Criminology, Nashville.

       2004   (with Jongyeon Tark) "The impact of self-protection on rape completion and
              injury." Presented at the annual meetings of the American Society of
              Criminology, Nashville.

       2004   (with Kyubeom Choi) "The perceptual gap phenomenon and deterrence as
              psychological coercion." Presented at the annual meetings of the American
              Society of Criminology, Nashville.

       2005   (with Jongyeon Tark) "Who resists crime?" Presented at the annual meetings of
              the American Society of Criminology, Toronto.

       2005   (with Jongyeon Tark and Laura Bedard) "Crime and marriage." Presented at the
              annual meetings of the American Society of Criminology, Toronto.

       2006   (with Shun-Yang Kevin Wang) "Organized gun trafficking, 'crime guns,' and
              crime rates." Presented at the annual meetings of the American Society of
              Criminology, Los Angeles.

       2006   "Are police officers more likely to kill black suspects?" Presented at the annual
              meetings of the American Society of Criminology, Los Angeles.

       2007   (with Shun-Yang Kevin Wang) "The myth of big-time gun trafficking. "Presented
              at the annual meetings of the American Society of Criminology, Atlanta.

       2007   (with Marc Gertz and Jason Bratton) "Why do people support gun control?"
              Presented at the annual meetings of the American Society of Criminology,
              Atlanta.

       2008   (with J. C. Barnes) "Deterrence and macro-level perceptions of punishment
              risks: Is there a "collective wisdom?" Presented at the annual meetings of the
              American Society of Criminology, St. Louis.

       2008   "The myth of big-time gun trafficking." Presented at UCLA Law Review
              Symposium, "The Second Amendment and the Right to Bear Arms After DC v.
              Heller." January 23, 2009, Los Angeles.

       2009   (with Shun-Yung Wang) "Employment and crime and delinquency of working
              youth: A longitudinal study of youth employment." Presented at the annual
              meetings of the American Society of Criminology, November 6, 2009,
              Philadelphia, PA.




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       2009     (with J. C. Barnes) "Do more police generate more deterrence?" Presented at the
                annual meetings of the American Society of Criminology, November 4, 2009,
                Philadelphia, PA.

       20 1 0   (with J. C. Barnes) "Article productivity among the faculty o f criminology and
                criminal justice doctoral programs, 2005-2009." Presented at the annual
                meetings of the American Society of Criminology, November 1 8, 20 1 0, San
                Francisco, CA.

       20 1 0   (with Will Hauser) "Fear o f crime and gun ownership." Presented at the annual
                meetings of the American Society of Criminology, November 1 8, 20 1 0, San
                Francisco, CA.

       20 1 0 "Errors in survey estimates o f defensive gun use frequency: results from national
              Internet survey experiments." Presented at the annual meetings
               of the American Society of Criminology, November 1 9, 20 1 0, San Francisco, CA.

       20 1 0   (with Mark Faber and Tomislav Kovandzic) "Perceived risk, criminal
                victimization, and prospective gun ownership." Presented at the annual meetings
                of the American Society of Criminology, November 1 9, 20 1 0, San Francisco, CA.

       20 1 1   (with Shun-young Wang) "The impact ofjob quality and career commitment on
                delinquency: conditional or universal?" Presented at the annual meetings
                of the American Society of Criminology, November 1 7, 20 1 1 , Washington, D.C.

       20 1 1   (with Moonki Hong) "The short-term deterrent effect of executions on homicides
                in the United States, 1 984- 1 998." Presented at the annual meetings
                    ..
                of the American Society of Criminology, November 1 6, 201 1 , Washington, D.C.

       20 1 1   (with
                  • Kelly Roberts) "Which survey modes are most effective in getting people
                to admit illegal behaviors?" Presented at the annual meetings of the American
                Society of Criminology, November 1 7, 20 1 1 , Washington, D.C.

       20 1 1   (with Will Hauser) "Pick on someone your own size: do health, fitness, and size
                influence victim selection?" Presented at the annual meetings
                of the American Society of Criminology, November 1 8, 20 1 1 , Washington, D.C.

       20 1 1   (with Tomislav Kovandzic) "Is the macro-level crime/punishment association
                                                                                  •
                spurious?" Presented at the annual meetings of the American Society of
                Criminology, November 1 8, 201 1 , Washington, D.C.

       20 1 2    (with Dylan Jackson) "Adult unemployment and serious property crime: a
                national case-control study." Presented at the annual meetings of the American
                Society of Criminology, November 1 5 , 2012, Chicago, IL.

       20 1 3   (with Will Hauser) "Confidence in the police and fear o f crime: D o police force




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                size and productivity matter?" Presented at the annual meetings of the American
                Society of Criminology, November 22, 20 1 3 , Atlanta, GA.

       20 1 3 . (with Dylan Jackson) "Adult unemployment and serious property crime: a
                national case-control study." Presented at the annual meetings of the American
                Society of Criminology, November 22, 20 1 3 , Atlanta, GA.

       20 1 4   (with Dylan Jackson) "Does Crime Cause Punitiveness?" Presented at the annual
                meetings of the American Society of Criminology, November 20, 20 14, San
                Francisco, CA.

       20 1 5   "The effect of large capacity magazines on the casualty counts in mass
                shootings." Presented at the annual meetings of the American Society of
                Criminology, November 1 8, 20 1 5 , Washington, D.C.

       20 1 5   (with Bethany Mims) "Article productivity among the faculty of criminology and
                criminal justice doctoral programs, 20 1 0-20 14." Presented at the annual
                meetings of the American Society of Criminology, November 20, 20 1 5,
                Washington, D.C.

       20 1 6   "Firearms and the lethality o f suicide methods." Presented at the annual
                meetings of the American Society of Criminology, November 1 6, 20 1 6, New
                Orleans, L.A.

       20 1 7   "Macro-level research on the effect o f firearms prevalence on suicide rates: a
                systematic review and new evidence." Presented at the annual meetings of the
                American Society of Criminology, November 1 5 , 20 1 7, Philadelphia, PA.

       20 1 8   "Interstate gun movement is almost entirely due to migration, not gun
                trafficking." Presented at the annual meetings of the American Society of
                Criminology, November 1 6, 20 1 8, Atlanta, GA.

       20 1 9   "What do CDC ' s surveys
                                      t, say about the prevalence o f defensive gun use?"
                Presented at the annual meetings of the American Society of
                Criminology, November 1 3 , 20 1 9, San Francisco, CA.

       2020 "Compliance with universal background check requirements." Accepted to be
             presented at the annual meetings of the American Society of Criminology which
             were to be held in Washington, D.C., November 1 8-2 1 , 2020 but were cancelled
             due to Covid-1 9 issues.

       202 1 "Do mass shooters favor using large-capacity magazines?" Presented in
             poster form at the Annual Meeting of the American Society of Criminology in
              Chicago, Illinois, November of 202 1 .




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   CHAIR

       1 983    Chair, session on Race and Crime. annual meetings of the American Society of
                Criminology, Denver.

       1 989    Co-chair (with Merry Morash), roundtable session on problems in analyzing the
                National Crime Surveys. annual meetings of the American Society of
                Criminology, Reno.

       1 994    Chair, session on Interrupted Time Series Designs. annual meetings of the
                American
                   ,   .   Society of Criminology, New Orleans.

       1 993    Chair, session on Guns, Gun Control, and Violence. annual meetings of the
                American Society of Criminology, Phoenix.

       1 995    Chair, session on International Drug Enforcement. annual meetings of the
                American Society of Criminology, Boston.

       1 999    Chair,
                  ..•.
                       Author-Meets-Critics session, More Guns, Less Crime. annual meetings of
                the American Society of Criminology, Toronto.

       2000     Chair, session on Defensive Weapon and Gun Use. annual meetings of the
                American Society of Criminology, San Francisco.

       2002     Chair, session on the Causes of Gun Crime. annual meetings of the American
                Society of Criminology, Chicago.

       2004     Chair, session on Protecting the Victim. annual meetings of the American Society
                of Criminology, Nashville.

  DISCUSSANT

       1981     Session on Gun Control Legislation, annual meetings o f the American Society of
                Criminology, Washington, D.C.

       1 984    Session on Criminal Sentencing, annual meetings of the American Society of
                Criminology, Cincinnati.

       1 986    Session on Sentencing, annual meetings of the American Society of Criminology,
                Atlanta.

       1 988    Session on Gun Ownership and Self-protection, annual meetings of the Popular
                Culture Association, Montreal.

       1 99 1   Session on Gun Control, annual meetings o f the American Statistical
                Association, Atlanta, Ga.




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       1 995   Session on International Drug Enforcement, annual meetings of the American
               Society of Criminology, Boston.

       2000    Session on Defensive Weapon and Gun Use, annual meetings of the American
               Society of Criminology, San Francisco.

       2004    Author-Meets-Critic session on Guns, Violence, and Identity Among African­
               American and Latino Youth, by Deanna Wilkinson. annual meetings of the
               American Society of Criminology, Nashville.

       2007    Session on Deterrence and Perceptions, University of Maryland 2007 Crime &
               Population Dynamics Summer Workshop, Aspen Wye River Center, Queenstown
               MD, June 4, 2007.

       2009    Session on Guns and Crime, at the DeVoe Moore Center Symposium On
               The Economics of Crime, March 26-28, 2009 .

       201 0Panel discussion of news media coverage of high profile crimes
              Held at the Florida Supreme Court On September 24-25, 2012, sponsored by the
              Florida Bar Association as part of their 20 12 Reporters' Workshop.

 PROFESSIONAL SERVICE

       Editorial consultant -
              American Sociological Review
              American Journal of Sociology
               Social Forces
               Social Problems
              Law and Society Review
              Journal of Research in Crime and Delinquency
               Social Science Research
               Criminology
              Joumal of Quantitative Criminology
              Justice Quarterly
               Journal of Criminal Justice
              Violence and Victims
              Violence Against Women
              Joumal of the American Medical Association
              New England Journal of Medicine
              American Journal of Public Health
              Journal of Homicide.
                                ..  Studies

       Grants consultant, National Science Foundation, Sociology Program.

       Member, Gene Carte Student Paper Committee, American Society of Criminology, 1 990.




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       Area Chair, Methods Area, American Society of Criminology, annual meetings in Miami,
       November, 1 994.

       Division Chair, Guns Division, American Society of Criminology, annual meetings in
       Washington, D.C., November, 1 998.

       Dissertation evaluator, University of Capetown, Union of South Africa, 1 998.

       Division Chair, Guns Division, American Society of Criminology, annual meetings in
       Washington, D.C., November, 1 999.

       Member of Academy of Criminal Justice Sciences selection committee for Editor of
       Justice Quarterly. 2007.

       Outside reviewer of Dr. J. Pete Blair for promotion to Full Professor in the School of
       Criminal Justice at Texas State University, San Marcos, 20 14.

 UNIVERSITY SERVICE

       Member, Master's Comprehensive Examination Committee, School of Criminology,
       1 979- 1 982.

       Faculty Advisor, Lambda Alpha Epsilon (FSU chapter of American Criminal Justice
       Association), 1 980- 1 988.

       Faculty Senate Member, 1 984-1 992.

       Carried out campus crime survey for President's Committee on Student Safety and
       Welfare, 1 986.

       Member, Strategic Planning and Budgeting Review Committee for Institute for Science
       and Public Affairs, and Departments of Physics and Economics, 1 986.

       Chair, Committee on Ph.D. Comprehensive Examination in Research Methods, School of
       Criminology, Summer, 1 986.

       Member, Committee on Ph.D. Comprehensive Examination in Research Methods, School
       of Criminology, Summer, 1 986 to 20 16 .

       Chair, Committee on Graduate Assistantships, School o f Criminology, Spring, 1 987.

       Chair, Ad Hoc Committee on Computers, School of Criminology, Fall, 1 987.

       Member, Recruitment Committee, School of Criminology, Spring, 1 988; Spring, 1 989;
       and 1 989-90 academic year.




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       Member, Faculty Senate Committee on Computer-Related Curriculum, Spring, 1 988 to
       Fall, 1 989.

       Chair, Ad Hoc Committee on Merit Salary Distribution, School of Criminology, Spring,
       1 988.

       Chair, Ad Hoc Committee
                          ., on Enrollment Strains, Spring, 1 989.

       Member, Graduate Handbook Committee, School of Criminology, Spring, 1 990.

       Member,
           •. Internal Advisement Committee, School of Criminology Spring, 1990.


       University Commencement Marshall, 1 990 to 1 993.

       Member, School of Criminology and Criminal Justice Teaching Incentive Program award
       committee.

       Chair, Faculty Recruitment Committee, School of Criminology and Criminal Justice,
       1 994- 1 995.

       Chair, Committee on Ph.D. Comprehensive Examination in Research Methods, School of
       Criminology and Criminal Justice, 1 994- 1 995.

       Member, University Computer and Information Resources Committee, 1 995-1 998.

       Member, University Fellowship Committee, 1 995 to 2000.

       Member, University Library Committee, 1 996 to 1 999.

       Chair, Electronic Access Subcommittee, University Library Committee, 1 998 to 1 999.

       Member, Ad Hoc Committee on Merit Salary Increase Allocation, School of
       Criminology and Criminal Justice, 1 998- 1 999.

       Member, Academic Committee, School of Criminology and Criminal Justice, 2000-
       20081.

       Member, Recruiting Committee, School of Criminology and Criminal Justice, 2000-
       200 1 .

       Member, Promotion and Tenure Committee, School of Criminology and Criminal
       Justice, 2000-2008.

       Chair, Committee on Ph.D. Comprehensive Examination in Research Methods, School of
       Criminology and Criminal Justice, 2000-2002.




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       Chair, Promotion and Tenure Committee, School of Criminology and Criminal Justice,
       200 1 -2002 .

       Faculty Adviser, School of Criminology and Criminal Justice Graduate Student
       Association, 200 1 -20 1 0.

       Member, ad hoc committee on survey research, School o f Criminology and Criminal
       Justice, 2002.

       Coordinator of Parts 2 and 4 of the School of Criminology and Criminal Justice Unit
       Review, 2002.

       Chair, Academic Committee, School of Criminology and Criminal Justice, 2002-2003 .

       Director, Honors Programs, School of Criminology and Criminal Justice, 2002-?.

       Member, University Promotion and Tenure Committee, Fall, 2003 to ?.

       Member of University Graduate Policy Committee, Fall 2003 to 201 1 .

       Director of Graduate Studies, School (later College)
                                                        r   of Criminology and Criminal
       Justice, April 2004 to May 20 1 5 .

       Chair, Promotion and Tenure Committee, College of Criminology and Criminal Justice,
       2005-2006

       Served as major professor
                        ,. t I   on Area Paper by Christopher Rosbough, completed in 20 12.

       Served as member of dissertation committee of Kristen Lavin, dissertation completed in
       20 12.

       Served as member of dissertation committee of Elizabeth Stupi, dissertation completed in
       20 1 3 .

       Served as outside member on two dissertation committees in 20 14-20 1 5 : Brian Meehan
       in the Department of Economics and Adam Weinstein in the English Department. Both
       dissertations were completed.

       Served as major professor on Area Paper on legalization of marijuana for Pedro Juan
       Matos Silva, Spring 20 1 5 . Paper completed.

                           ..
       Served as major professor for doctoral students, Moonki Hong who defended his
       dissertation on April 1 4, 20 1 6.




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 PUBLIC SERVICE

       Television, radio, newspaper, magazine, and Internet interviews concerning gun control,
        racial bias in sentencing, crime statistics, and the death penalty. Interviews and other
        kinds of news media contacts include Newsweek, Time, U. S. News and World Report,
       New York Times, Washington Post, Chicago Tribune, Los Angeles Times, USA Today,
       Boston Globe, Wall Street Journal, Kansas City Star, Philadelphia Inquirer,
       Philadelphia News, Atlanta Constitution, Atlanta Journal, Arizona Republican, San
       Antonio Express-News, Dallas Morning News, Miami Herald, Tampa Tribune,
       Jacksonville Times-Union, Womens' Day, Harper's Bazaar, Playboy, CBS-TV (60
       Minutes; Street Stories) ABC-TV (World News Tonight; Nightline), NBC-TV (Nightly
       News), Cable News Network, Canadian Broadcasting Company, National Public Radio,
        Buffington Post, PolitiFact.com, and many others.

       Resource person, Subcommittee on Crime and Justice, (Florida House) Speaker's
       Advisory Committee on the Future, February 6-7, 1 986, Florida State Capitol.

       Testimony before the U. S . Congress, House Select Committee on Children, Youth and
       Families, June 1 5 , 1 989.

       Discussant, National Research Council/National Academy of Sciences Symposium on the
       Understanding and Control of Violent Behavior, April 1 -4, 1 990, Destin, Florida.

       Colloquium on manipulation of statistics relevant to public policy, Statistics Department,
       Florida State University, October, 1 992.

       Speech to faculty, students, and alumni at Silver Anniversary of Northeastern University
       College of Criminal Justice, May 1 5 , 1 993 .

       Speech to faculty and students at Department of Sociology, University of New Mexico,
       October, 1 993 .

       Speech on the impact of gun control laws, annual meetings of the Justice Research and
       Statistics Association, October, 1 993, Albuquerque, New Mexico.

       Testimony before the Hawaii House Judiciary Committee, Honolulu, Hawaii, March 12,
       1 994.

       Briefing of the National Executive Institute, FBI Academy, Quantico, Virginia, March
       1 8, 1 994.

       Delivered the annual Nettler Lecture at the University of Alberta, Edmonton, Canada,
       March 2 1 , 1 994.

       Member, Drugs-Violence Task Force, U.S. Sentencing Commission, 1 994- 1 996.




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       Testimony before the Pennsylvania Senate Select Committee to Investigate the Use of
       Automatic and Semiautomatic Firearms, Pittsburgh, Pennsylvania, August 1 6, 1 994.

       Delivered lectures in the annual Provost's Lecture Series, Bloomsburg University,
       Bloomsburg, Pa., September 1 9, 1 994.

       Briefing of the National Executive Institute, FBI Academy, Quantico, Virginia, June 29,
       1 995.

       Speech to personnel in research branches of crime-related State of Florida agencies,
       Research and Statistics Conference, sponsored by the Office of the State Courts
       Administrator, October 1 9, 1 995.

       Speech to the Third Annual Legislative Workshop, sponsored by the James Madison
       Institute and the Foundation for Florida's Future, February 5, 1 998.

       Speech at the Florida Department of Law Enforcement on the state's criminal justice
       research
           ,    agenda, December, 1 998.

       Briefing on news media coverage of guns and violence issues, to the Criminal Justice
       Journalists organization, at the American Society of Criminology annual meetings in
       Washington, D.C., November 12, 1 998.

       Briefing on gun control strategies
                               ..         to the Rand Corporation conference on "Effective
       Strategies for Reducing Gun Violence," Santa Monica, Calif , January 2 1 , 2000.

       Speech on deterrence to the faculty of the Florida State University School of Law,
       February 1 0, 2000.

       Invited address on links between guns and violence to the National Research Council
       Committee on Improving Research Information and Data on Firearms, November 1 5- 1 6,
       200 1 , Irvine, California.

       Invited address on research on guns and self-defense to the National Research Council
       Committee on Improving Research Information and Data on Firearms, January 1 6- 1 7,
       2002, Washington, D.C.

       Invited address on gun control, Northern Illinois University, April 1 9, 2002 .

       Invited address to the faculty of the School of Public Health, University of Alabama,
       Birmingham, 2004.

       Invited address to the faculty of the School of Public Health, University of Pennsylvania,
       March 5 , 2004.

       Member of Justice Quarterly Editor Selection Committee, Academy of Criminal Justice




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       Sciences, Spring 2007

       Testified before the Gubernatorial Task Force for University Campus Safety, Tallahassee,
       Florida, May 3, 2007.

       Gave public address, "Guns & Violence: Good Guys vs. Bad Guys," Western Carolina
       University, Cullowhee, North Carolina, March 5, 20 12.

       Invited panelist, Fordham Law School Symposium, "Gun Control and the Second
       Amendment," New York City, March 9, 20 12.

       Invited panelist, community forum on "Students, Safety & the Second Amendment,"
       sponsored by the Tallahassee Democrat.

       Invited address at University of West Florida, Department of Justice Studies, titled
       "Guns, Self-Defense, and the Public Interest," April 12, 20 1 3 .

       Member, National Research Council Committee on Priorities for a Public Health
       Research Agenda to Reduce the Threat of Firearm-related Violence, May 20 1 3 .

       Invited address at Davidson College, Davidson, NC, April 1 8, 20 14. Invited by the
       Department of Philosophy.

       Public lecture, "Do Guns Cause Homicide?," Center for the Study of Liberal Democracy,
       University of Wisconsin-Madison, December 5, 20 1 8 .

 OTHER ITEMS
     Listed in:
             Marquis Who's Who
             Marquis Who ' s Who in the South and Southwest
             Who ' s Who of Emerging Leaders in America
             Contemporary Authors
             Directory of American Scholars
             Writer' s Directory

       Participant in First National Workshop on the National Crime Survey, College Park,
       Maryland, July, 1 987, co-sponsored by the Bureau of Justice Statistics and the American
       Statistical Association.

       Participant in Second National Workshop on the National Crime Survey, Washington,
       D.C., July, 1 988.

       Participant, Seton Hall Law School Conference on Gun Control, March 3, 1 989.

       Debater in Intelligence Squared program, on the proposition "Guns Reduce
       Crime." Rockefeller University, New York City, October 28, 2008. Podcast distributed




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       through National Public Radio. Further details are available at
        http ://www.intelligencesguaredus.org/Event. aspx ?Event=3 6 .

       Subject of cover story, "America Armed," in Florida State University Research in
       Review, Winter/Spring 2009.

       Grants reviewer, Social Sciences and Humanities Research Council of Canada, 20 1 0.

       Named one of "25 Top Criminal Justice Professors" in the U. S. by Forensics Colleges
       website (http://www.forensicscolleges.com/), 20 14.




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 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: l 7-cv- 1 0 1 7-BEN-JLB
 5
     IT IS HEREBY CERTIFIED HAT:
 6
 7          I, the undersigned, declare under penalty of perjwy that I am a citizen of the
     United States over 1 8 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, desc1ibed as:
10
11        DECLARATION OF GARY KLECK IN S UP PORT OF PLAINTIFFS'
                    SUPPLEMENTAL BRI EF; EXHIBIT 43
12
13 on the following parties by electronically filing the foregoing on December 1, 2022,
   with the Clerk of the District Court using its ECF System, which electronfoally
14
   notifies them.
15
    Rob Bonta
16
    Attorney General of California
17 Mark R. Beckington
    Supervising Deputy Attorney General
18
    Kevin J. Kelly
19 Deputy Attorney General
    300 South Spring Street, Suite 1 702
20
    Los Angeles, CA 90013
21  kevin.kelly@doj.ca.gov
22
          I declare under penalty of pe1jU1y that the foregoing is true and conect.
23   Executed on December 1 , 2022, at Long Beach, CA.



                                                        �,�
24
25
                                                      Claura Palmrin
26
27
28


                                                                             AP P. 985
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    1                        UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
    2
           Andrew Hanson, et al.,                 Civil Action
    3                                             No. 1:22-cv-02256-RC
                                 Plaintiffs,
    4                                             Motion Hearing
           vs.
    5
           District of Columbia, et al.,          Washington, D.C.
    6                                             April 13, 2023
                                 Defendants.      Time:  10:00 a.m.
    7

    8                       Transcript of Motion Hearing
                                    Held Before
    9                      The Honorable Rudolph Contreras
                            United States District Judge
   10

   11
                                 A P P E A R A N C E S
   12
           For the Plaintiffs:        George L. Lyon, Jr.
   13                                 BERGSTROM ATTORNEYS
                                      1929 Biltmore Street, Northw est
   14                                 Washington, D.C. 20009

   15      For the Defendants:        Richard P. Sobiecki
                                      Mateya B. Kelley
   16                                 Helen M. Rave
                                      Andrew J. Saindon
   17                                 OFFICE OF THE ATTORNEY GENERAL
                                      FOR THE DISTRICT OF COLUMBIA
   18                                 Civil Li tigation Division
                                      400 Sixth Street, Northwest
   19                                 Washington, D.C. 20001

   20
           Stenographic Official Court Reporter:
   21                              Nancy J. Meyer
                                   Registered Diplomate Reporter
   22                              Certified Realtime Reporter
                                   333 Constitution Avenue, Northwest
   23                              Washington, D.C. 20001
                                   202-354-3118
   24
           Proceedings recorded by mechanical stenography.         Transcript
   25      produced by computer-a i ded transcription.




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    1                              P R O C E E D I N G S

    2                 THE COURTROOM DEPUTY:     This is Civil Action 22-2256,

    3      Andrew Hanson, et al. v. the District of Columbia, et al.

    4              Counsel, please approach the podium and state your

    5      appearances for the record.

    6                 MR. LYON:     George Lyon for the plaintiffs,

    7      Your Honor.

    8                 THE COURT:     Good morning.

    9                 MR. SOBIECKI:     Good morning, Your Honor.

   10              Rich Sobiecki for the defendants; along with me, Andrew

   11      Saindon, Helen Rave, and Mateya Kelley.

   12                 THE COURT:     Good morning.

   13              All right.     It's the plaintiffs' motion, so the

   14      plaintiffs can start.      You know, I've read all the pleadings.

   15      I think they're straightforward.      And I've read the opinions

   16      that have been issued on the topic as well.        So I think I have

   17      my arms around the issues.      So don't feel like you have to

   18      repeat everything in your brief, but, you know, to the extent

   19      you want to highlight certain things.       And then we can talk

   20      about where we go from here, if anywhere.        I know the

   21      plaintiffs and the defendants have different views about that.

   22              But go ahead.     You can start.

   23                 MR. LYON:     Your Honor, I hope you find this case and

   24      the legal analysis required as fascinating as I do, and I must

   25      admit that i t was, at times, confusing to me as to the




                                                                   APP. 987
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    1      appropriate analysis.     But in the last few days, as I have

    2      prepared for the argument, it's crystallized.        And if I can

    3      the real issue is what is the test to decide this case --

    4      okay?     as in almost all cases.

    5              And we have the test -- we have a test in Heller.          We

    6      have a test in Bruen.     And trying to reconcile those,     I found

    7      to be challenging.     But I think that I've done so with the help

    8      of a statement from the former solicitor general, Mr. Clement,

    9      where he says the irreducible minimum of the Second Amendment

   10      is that the government may not ban arms that millions of

   11      Americans possess for lawful purposes.

   12              If we go back to Heller, Heller said that presumptively

   13      the Second Amendment protects all bearable arms.         What arms

   14      that are not protected are the ones that are not in common use,

   15      the ones that Heller stated are rare or unusual in society at

   16      large, and that test resolves this case.

   17              As I read through the opinion of the court in Delaware,

   18      the judge got many things right, but the one area that he got

   19      wrong was he employed the common use test as the presumptive;

   20      that is, that arms in common use are presumptively protected.

   21      But that's not what Heller says.      That's not what Bruen says.

   22      That's not what Caetano says.      What those cases all say is that

   23      arms in common use are protected.       The ones that are not

   24      protected are the ones that are unusual in society at large

   25      okay? -- machine guns, short-barreled shotguns, things like




                                                                   APP. 988
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    1      that.

    2                   THE COURT:    What do you make of Heller's reference to

    3      weapons most suitable for military use?

    4                   MR. LYON:    Referring to -- referring, for example, to

    5      machine guns?

    6                   THE COURT:    Uh-huh.

    7                   MR. LYON:    Well, if you look at machine guns and

    8      short-barreled shotguns -- we'll take machine guns.          Machine

    9      guns are not in common use, generally, for lawful purposes.

   10      Yes, there are 175,000 ci v ilian-owned machine guns on the NFA

   11      registry.     And they're not banned, by the way.       They're not

   12      banned in 37 states.      But they are highly -- they are highly

   13      regulated.

   14              But they are not the type of weapon that is generally

   15      used or even suitable for personal defense.          Okay?   Full auto

   16      fire is not something that I think anyone would recommend for

   17      personal -- for personal defense.         Okay?   Controlling --

   18      controlling a machine gun is e x ceedingly difficult.         I know

   19      this.   I've shot many of them in training, and there are

   20      particular ways to hold -- to hold and handle that gun that are

   21      difficult to muster [sic].       The average citizen would not --

   22      would not do well with them.         And the average citizen doesn't

   23      possess machine guns.      They are possessed as rarities, as

   24      collector's items, and so forth.         They're v ery e xpensive.

   25      Okay?   But even a weapon such as a machine gun is not generally




                                                                    APP. 989
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    1      banned in this country.

    2              As the Kopel article that I provided the Court this

    3      weekend indicates, there is not a historic tradition of banning

    4      arms in this country.     Arms that are -- tend to be associated

    5      with criminal use are regulated -- okay? -- but not banned.

    6      Not -- they can be prohibited from concealed carry.         We saw in

    7      the 19th century that handguns, Bowie knives, other

    8      bludgeon-type weapons, there were prohibitions on concealed

    9      carry, but there were, generally, not prohibitions in carrying

   10      in general, and there were not prohibitions on possession in

   11      the home.

   12               In terms of these magazines, D.C. goes far beyond that

   13      to prohibit possession in the home, possession of -- of arms

   14      that are in common use.     In fact,   the latest estimates in the

   15      English survey that -- that is cited at -- I think it's

   16      Footnote 952 of the Kopel article, indicates that there are

   17      540 million plus-ten magazines in circulation; about evenly

   18      divided between pistol magazines and -- and rifle magazines.            I

   19      would contrast that with the 175,000 machine guns.         And, by the

   20      way,   in terms of machine guns, the overwhelming number of

   21      machine guns in this country are possessed by law enforcement;

   22      700,000 on the NFA registry.

   23               So there is a massive difference between something like

   24      a machine gun, a military weapon, and weapons in common use for

   25      se l f -- for self-defense, such as firearms equipped with




                                                                   APP. 990
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    1      plus-ten magazines.

    2               Now, the question is        and D.C. has raised it -- well,

    3      these magazines are not arms.       Well, Heller says that --

    4                   THE COURT:    Don't spend a lot of time on that

    5      argument.

    6                   MR. LYON:    Okay.   Then I won't.

    7               Then the question -- then the question becomes are they

    8      in common use for self-defense.       And D.C. -- D.C. says, well,

    9      no, because no one ever fires more than ten shots in -- in

   10      self-defense.     Well, we've shown in our papers that that's

   11      wrong.   But beyond that, it's irrelevant because the question

   12      is not are they -- how many shots are fired.        It is are they

   13      possessed by the American public for self-defense.         And the

   14      answer is overwhelmingly yes.

   15               Again, if I go back to the English study cited by Kopel,

   16      more than -- approximately half of firearm owners possess these

   17      magazines.     And of those firearm owners, 48 percent use

   18      stated that they used these magazines for home defense,

   19      62 percent said that they used them for defense outside the

   20      home, and about 50 percent stated they used them for hunting or

   21      for recreational shooting.

   22               Now, again, D.C. would have you limit the protection

   23      of these magazines to only self-defense use, and I don't

   24      think that's a legitimate point under Heller, because Heller

   25      talks about use of these magazines for lawful purposes; and




                                                                   APP. 991
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    1      that would be self-defense, hunting, target shooting,

    2      competition.

    3                   THE COURT:     Are there any cases that focus on those

    4      other uses other than self-defense?

    5                   MR. LYON:     The Delaware case that they cited

    6      rejected that -- that same argument.        Okay?     Generally, these

    7      cases all cite self-defense because, after all, self-defense is

    8      the -- the -- one of the primary purposes of             of the

    9      Second Amendment.        There are other purposes, of course; having

   10      an armed citizen available to defend the             defend the

   11      homeland, defend themselves in the event of a tyrannical

   12      government, and so forth.       But Heller focused on self-defense

   13      and all the other cases as well.

   14              But even if you were to accept that self-defense is the

   15      only basis for protecting these magazines, the evidence is

   16      substantial that these magazines are used for self-defense.              We

   17      presented the affidavits -- or the declarations of five -- five

   18      nationally recognized firearm instructors that say that,

   19      overwhelmingly, in their classes their students use plus-ten

   20      magazines.

   21              In fact, Claude Werner, in his declaration -- Mr. Werner

   22      ran the elite Rogers Shooting School in Georgia for many years.

   23      In their introductory courses, they provided the firearms and

   24      magazines for their students, and the magazines that they

   25      provided were the plus-ten magazines.        Okay?




                                                                    APP. 992
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    1              There are many reasons why plus-ten magazines are useful

    2      for self-defense.     First of all, 50 percent of criminal violent

    3      attacks involve multiple adversaries.        If we go to three or

    4      more, then it becomes 20 percent.       Okay?     Having more than a

    5      few rounds in your firearm is vitally important in being able

    6      to handle that situation.

    7              We know that pistol rounds only drill holes.          Okay?

    8      I've given you e x amples in the       in the papers of violent

    9      attacks where it was necessary for law enforcement or civilians

   10      to fire multiple rounds, many in e x cess of ten in order to

   11      in order to stop a violent attack.        Okay?   Criminals, just like

   12      police, just like civilians, can also wear body armor.           Okay?

   13      Under those circumstances, multiple rounds are going to be

   14      necessary to stop -- to stop the assailant.

   15              Pistol shots do not immediately incapacitate an

   16      assailant.    It can require multiple rounds.        I n the Jared

   17      Reston example that we gave you, Reston fired, I believe it

   18      was, 14 rounds out of his service pistol.         Reston himself took

   19      seven hits from the -- from the assailant, was able to keep

   20      fighting, and stopped -- stopped the attack.         The assailant

   21      took,   I believe it was, seven or eight rounds as well.

   22              So it's not like -- it's not like the movies or TV where

   23      someone takes a single shot, they immediately stop.           Very

   24      often, yeah, that's       that happens.     The majority of

   25      i nstances, however, it's not even necessary to fire a single




                                                                    APP. 993
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    1      shot.   So if you take D.C. 's argument at face value, magazines

    2      don't need to have any r ounds in them because the overwhelming

    3      number of defensive gun uses involve merely showing the gun,

    4      saying that you have a gun, and not firing a single shot.          But

    5      that's an absurd -- t ha t 's an absurd interpretation.

    6              So these magazines are used for self-defense, and under

    7      Heller, under Caetano, under Bruen, they're in common use.

    8              I would point out Justice Kavanaugh's dissent in the

    9      second Heller case, essentially, is a precursor to the Bruen

   10      decision.    Justice Kavanaugh came to the conclusion that common

   11      use equals protection.     Justice Thomas, Justice -- and Justice

   12      Scalia in their dissent to the denial of cert in the Friedman

   13      case out of Illinois stated the same thing.        Weapons that are

   14      in common use are protected.      The ones that are not are the

   15      ones that are highly unusual in society.

   16                  THE COURT:    Let me ask you, since you bring up

   17      Justice Kavanaugh now.      In Heller,   Justice Scalia kind of set

   18      down some markers as to things he thought were presumptively

   19      constitutional; and Justice Kavanaugh, in his concurrence,

   20      seems to have done the same.      It's not clear to me that if you

   21      faithfully apply Justice Thomas's standard that all of those

   22      things that they set forth as presumably constitutional would

   23      necessarily pass muster.     What do you think about that?

   24                  MR. LYON:    That's a very good point, Your Honor.

   25      And -- and I agree with you, actually.




                                                                   APP. 994
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    1              In Bruen, Justice Thomas did not go as broad as Heller

    2      in terms of -- of government buildings and schools being

    3      presumptively protected.        Justice Thomas said the ones that we

    4      can identify from history are courts, legislative assemblies,

    5      and polling places.

    6              Now, personally, with respect to schools, I think that

    7      we can say that traditionally students -- and we're talking

    8      about colleges now.        Students have been banned from possessing

    9      firearms in -- at college campuses.          Now, there's some that do

   10      and some that don't right now.          But, historically, if you look

   11      at it, the major colleges all ban them.          Now, that was not

   12      government       generally not government because many of them

   13      were private.     But there is a tradition, at least in that view.

   14      But faculty and administrators were not.          Obviously, this is

   15      not the issue that's present in this case.

   16                   THE COURT:     Sure; no.    I know it's not, but it -- you

   17      know, you advocate for a very straightforward interpretation of

   18      Justice Thomas's opinion, which, obviously, is one most helpful

   19      to your case.     But I'm not sure that either Justice Scalia --

   20      and we can't know what he thought at this point.           But Justice

   21      Kavanaugh,    if you take his e x amples, I'm not sure that they

   22      coincide with a very straightforward analysis under Justice

   23      Thomas's standard.        So perhaps other justices don't think it's

   24      quite as straightforward as you advocate.

   25                   MR. LYON:     The sens i t i ve places question is   is




                                                                     APP. 995
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    1      is much more complex than this situation where we have a

    2      bright -- a bright-line test in Heller that's repeated in

    3      Caetano and repeated in Bruen.      So it's not like -- there is

    4      there is nothing -- and -- and I admit that I confused the

    5      issue in my preliminary injunction motion.        But there is

    6      nothing in the Supreme Court's Second Amendment cases that

    7      indicates that the relative -- for example, relative

    8      dangerousness of an arm is a relevant consideration.

    9              All -- all weapons are dangerous.       The question is are

   10      they unusual?    Are they not -- are -- are they rare -- rare in

   11      society, such as machine guns and short-barreled shotguns.

   12              I do want to make one -- I do want to make one other

   13      point with -- with respect to Bruen, because this           this was

   14      something that -- that the light shined -- shined in my head;

   15      that Heller sets forth the test for whether an arm is

   16      protected.   And that's, again, echoed in Caetano.        It's echoed

   17      in Bruen.    Bruen sets -- Bruen's historic analysis -- which had

   18      already been done in Heller.      Bruen's historic analysis is with

   19      respect to what people do with weapons.       Okay?

   20              If the behavior, what people want to do with the weapon,

   21      comes within the Second Amendment, then it is presumptively

   22      protected.   And then the obligation is on the government to

   23      show historically that it was not -- that it is not protected.

   24      That is a distinctively different test from He ller 's test of

   25      what arms are protected.     Because under Heller, again, it's




                                                                  APP. 996
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    1      common use.

    2              Now,   I think Heller came to that conclusion after

    3      reviewing the historical record.      And, again, if you review the

    4      Kopel article, which I spent a lot of time going through that

    5      160-some page article, it shows very clearly that there's not a

    6      tradition in this country of banning completely both carry and

    7      possession of bearable arms, even when we get to the 20th

    8      century with the machine gun limitations.        It's not a complete

    9      ban.   Highly regulated.    Taxed and so forth.

   10                 THE COURT:    Given the holiday -- and I've had a very

   11      busy week -- I haven't gone through that whole article.            So if

   12      there's something in particular you want to direct me to, I

   13      would appreciate that.

   14                 MR. LYON:    I think the most important thing in

   15      answering the District's claim is the article's exhausting

   16      review of Bowie knife regulations.       The District implies that

   17      Bowie knives were generally prohibited during the -- during the

   18      19th century, and that is just completely not true.         Concealed

   19      carry restrictions, exactly.      They were, essentially, treated

   20      like pistols.

   21              In fact,   in the -- in the Nunn case cited in Heller,

   22      Nunn v. Georgia,   that was a complete prohibition on carriage of

   23      pistols and Bowie knives and some other weapons.         And the

   24      Georgia court, in what Justice Scalia said perfectly captures

   25      the meaning of the Second Amendment, said that as to open carry




                                                                  APP. 997
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    1      of these weapons, you can't prohibit it, but you can prohibit

    2      concealed carry.

    3                And that is, generally, what was done throughout the

    4      19th century.     There are only a couple of states that purported

    5      to completely ban the carriage of these weapons.         One of them,

    6      Tennessee, taxed them very highly.       Okay?   But I think only

    7      Te xas and Arkansas had a complete prohibition on carry.           I

    8      don't believe they had a prohibition on possession.

    9                Here we're dealing with a complete ban on possession of

   10      arms that number in excess of 500 million and that are

   11      overwhelmingly chosen by citizens for their personal

   12      protection.     Bruen says you don't give -- you don't give

   13      deference to the government's choice in that regard.         You

   14      give -- you give deference to the choice of the American

   15      people.

   16                   THE COURT:    All right.   Let's talk a little bit

   17      about -- I know you want me to fold in the merits into my

   18      decision on the PI.       Is that position regardless of what side I

   19      come out on?

   20                   MR. LYON:    Well, I don't think I -- I don't think

   21      that you can come down against me on the merits without giving

   22      me -- without giving me discovery.

   23                   THE COURT:    Okay.

   24                   MR. LYON:    But I think the question of -- the

   25      question of common use has been thoroughly vetted in -- in this




                                                                  APP. 998
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    1      case.     And the purported analogies of the District are not

    2      going to get any -- are not going to get any -- any better.

    3                   THE COURT:    Sure.   But I -- you know, some of these

    4      law review articles or pending law review articles come across

    5      as expert reports, and they're not subject to any sort of

    6      cross-examination or deposition, as you would have with a

    7      traditional case with an e xpert.

    8                So I'm just curious how -- I saw that in the Delaware

    9      case, my friend Judge Andrews scheduled a trial date in the

   10      fall.     I'm just curious how you see the case playing out from

   11      here on out.

   12                   MR. LYON:    Well, as -- as Judge Moss mentioned in

   13      another case that we're litigating, his decision and your

   14      decision here is not going to be the last word.

   15                   THE COURT:    Of course.   Of course not.    And, frankly,

   16      Bruen had virtually no district court record because everyone

   17      was applying a different standard.        And rather than say you got

   18      the wrong standard, take another shot, which is more common,

   19      the issue was decided on what is, you know, essentially, a

   20      record developed by amicus and the like at the Supreme Court.

   21                   MR. LYON:    I -- I     I would contrast this case with

   22      the Delaware case where the judge admittedly said that he's

   23      really only heard from the defendants in terms of the factual

   24      record.     I think we -- we presented a robust factual record to

   25      refute the -- the allegations of the -- of the District's




                                                                    APP. 999
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    1      exhibits.

    2                   THE COURT:     But you have indicated that to the extent

    3      that I'm inclined to rule against you, that you do wish to have

    4      discovery?

    5                   MR. LYON:     Th at is true.

    6                   THE COURT:     Okay.   That's helpful.

    7                All right.     Any other points you want to make?

    8                   MR. LYON:     I think I -- I think I've covered

    9      everything, Your Honor.

   10                   THE COURT:     Okay.   All right.     Thank you.

   11                   MR. LYON:     Thank you.

   12                   MR. SOBIECKI:     Good morning, Your Honor.

   13                   THE COURT:     Good morning.

   14                   MR. SOBIECKI:     Nineteen, Your Honor.      A little over a

   15      year ago today, 19 large-capacity magazines were taken up to an

   16      apartment in Van Ness and an individual rained gunfire, more

   17      than 230 shots, on parents and children as they were leaving

   18      school.

   19                The District and 14 other states simply have common

   20      sense reasonable restrictions on the amount of ammunition that

   21      an individual could possess before reloading in an attempt to

   22      prevent more horrific tragedies just like that.            This case is

   23      not about an individual's right to defend themselves inside or

   24      outside the home with a firearm.            This is about whether

   25      individuals have a right to enhance their firepower far beyond




                                                                     APP. 1000
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    1      what is necessary for self-defense.

    2               And that is one of the keys issues here on this

    3      preliminary motion; is there evidence in the record connecting

    4      possession of large-capacity magazines with their use.            Now,

    5      plaintiffs would say, Your Honor, it's simply just a counting

    6      exercise.    Just count it up.       There's 500 million.    That ends

    7      the story.

    8               But if that was the case, how did they reconcile that

    9      with Heller II, which remains binding precedent on this Court.

   10      The record in Hel l er II said the same.        The D.C. Circuit said

   11      we see tha t there's millions and millions of these

   12      large-capacity magazines.         But that did not end the inquiry.

   13               They then proceed to say is there a ne xus.        Has

   14      plaintiff shown there's a connection between the common

   15      possession of these large-capacity magazines and their use for

   16      self-defense?     And what is the record in this case on that

   17      point?    I t's none x istent.    Not to go too procedural, Your

   18      Honor, but Local Rule 65.1 says your declarations have to come

   19      with your motion.      You can't hold them for your reply and then

   20      ha v e the Court rely on them.       Your Honor made that point in

   21      J ohn Doe v. CPFB [sic].         I have the cite, 235 F. Supp. 3d 194.

   22               So that -- on the common use, Your Honor,       first I would

   23      say that not enough record- -- and the test does require a

   24      connection between common possession and common use.

   25      Plaintiffs, even if you look at their reply declarations, they




                                                                   APP. 1001
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    1      have a number of firearms' instructors who are just asserting

    2      ipso facto,    I've taught firearms,    I can assure you that, you

    3      know, more than ten rounds would be useful.         Well,   is it just

    4      peace of mind?     Why?    Why are more than ten rounds necessary?

    5      There's no evidence in the record.

    6              Mr. Hanish has a survey.       He says look at this 2021

    7      survey; that shows that LCMs are useful for self-defense.            And

    8      if you go, there's a question that says, "Why do you

    9      respondents think more than ten is necessary?"         And it's

   10      all peace of mind, e x cept for one individual, Your Honor.

   11      One individual does say I have had occasion to use an LCM.            And

   12      it was a farmer who was defending his livestock from

   13      20 coyotes.

   14              And if we look at Wrenn, Wrenn says no -- inconsistent

   15      with Heller I       it's not any firearm for any purpose.         It is a

   16      common need held by the ordinary citizen.         Plaintiffs have

   17      focused all of their anecdotes in their motion are about police

   18      officers.     Police officers are not the common individual with a

   19      common need.     And so that is what we should be focused on.         Why

   20      does the ordinary citizen need magazines with more than ten

   21      rounds in them?

   22                  THE COURT:     Let me ask you this question, kind of

   23      flipping your e x ample.     So if you come across -- if you're in

   24      the apartment ne x t to the guy with the 17 magazines, do you

   25      have to wait until the po li ce can come with magazines that are




                                                                  APP. 1002
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    1      greater than ten?

    2                   MR. SOBIECKI:     You need to --

    3                   THE COURT:   To defend yourself and stop them.

    4                   MR. SOBIECKI:     Well, again, is       is that an ordinary

    5      need?     But why -- is ten or fewer?     Can you       can you defend

    6      yourself in that case?        Yes.   I think, certainly, again, in

    7      this record there's no indication          studies show that it's

    8      usually two to three shots are fired in self-defense purposes.

    9                Now, before we get there, I hear Your Honor on the arms

   10      argument, but I just want to make clear, our argument is not

   11      that one could ban all magazines consistent with the

   12      Second Amendment.     Okay?     That's not -- there's a corollary

   13      right.     You have a right to a firearm.        You have a right to use

   14      it.     But that should not go -- silencers are not an arm.        I

   15      don't think that's a controversial point.

   16                And so here we're, specifically, talking about

   17      large-capacity magazines.        Do they fall within the definition

   18      of arms?     And two district courts -- Ocean State Tactical and

   19      Oregon Firearms Federation -- based their holding on that;

   20      large-capacity magazines are not arms.

   21                So I do want to preserve and

   22                   THE COURT:   Of course.

   23                   MR. SOBIECKI:     -- Your Honor on that.

   24                   THE COURT:   Of course.

   25                   MR. SOBIECKI:     But if we get in common use for




                                                                   APP.1003
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    1      self-defense purposes, the machine gun -- again, what --

    2      what -- counsel tried to avoid it.       There's hundreds of

    3      thousands of machine guns.      Why does that not end the inquiry?

    4      If more firepower is always more better in self-defense

    5      situations and these are in common use, do machine guns receive

    6      protection under the Second Amendment?       Everyone seems to say,

    7      well, of course not.      But then LCMs also developed for military

    8      use.   So why       why not machine guns if -- if -- everything

    9      fits with -- under arms, why not machine guns but why

   10      large-capacity magazines?

   11              So on the common use, that is -- that is our main point,

   12      Your Honor.      You do need a nexus between large-capacity

   13      magazines and self-defense.      On this record, nonexistent.       The

   14      evidence does show that it's usually two to three shots in

   15      defensive use.     And, certainly, even if Your Honor was leaning

   16      that way, discovery is important.

   17              As you noted, there's a lot of anecdotes from Mr. Ayoob

   18      that plaintiffs cite.      We looked into those.    Some of those

   19      don't seem to be as clear as he would have.        There is an

   20      article they cite, Lead and Diamonds.       There's a shootout in

   21      Richmond.     But if you go and read that article, it was a

   22      collection of smaller        of smaller-capacity guns.

   23              We would want the opportunity to test that; opportunity

   24      to develop a record on what is in common use for large-capacity

   25      magazines.      Again, 15 states have restrictions, covering more




                                                                 APP. 1004
        Case 1:22-cv-02256-RC Document 32 Filed 07/23/23 Page 20 of 33
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    1      than a third of the population.       So to say that there's all

    2      these large-capacity magazines out there, I don't think,

    3      completes the story.     I think we need to know more about why

    4      they are out there.

    5              But even assuming Your Honor says, okay, I'm skeptical

    6      about arms, common use, under Bruen that doesn't end the

    7      inquiry.   We still have to look at:      Are there historical

    8      analogs?   And I think much of what plaintiffs here are doing is

    9      exactly what the Supreme Court said you should not do.          They're

   10      looking for historical twins, not relevantly similar analogs

   11      and -- because in Bruen, the issue was public carry outside the

   12      home.

   13              Well, at the founding, Your Honor, we had firearms, and

   14      we had outside the home, and so it was reasonable for the court

   15      to say, well, if they        the founders were concerned about

   16      this, we would e xpect to see regulations on this,        kind of,

   17      throughout that whole period.

   18              That's not the case here.      And if -- a closer look at

   19      the evidence, high-capacity magazines really, until the turn of

   20      the century -- 20th century, Justice Kavanaugh in his Heller II

   21      dissent notes that it was not until 1903 that the first

   22      semiautomatic rifle became commercially available.

   23              And just to kind of briefly review, we have muskets in

   24      the late 1700s, Your Honor.      30 seconds a shot.

   25              Now we're talking about 30 shots in seconds.




                                                                  APP. 1005
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    1                Colt invents the revolver in 1836.     That's our first

    2      six-shot.     You have to load each chamber individually.        Colt

    3      cannot give them away.      He went to the government repeatedly

    4      saying, hey, I've got this great new revolver.         He went

    5      bankrupt.

    6                We come to the Civil War.    Again, in the Civil War, we

    7      now have some introduction of repeating rifles with fixed

    8      magazines that you're having to load individually.          But the

    9      rate of fire still is small compared to what we're talking

   10      about today.

   11                I t's really until you get to the Tommy gun in the 1920s

   12      where the level of firepower that is at issue started to

   13      emerge.

   14                So to say, well, there's no regulations in the 1800s

   15      concerning high-capacity firearms really doesn't tell us much.

   16      So Bruen says what are our historical analogs.         And as we laid

   17      out -- and I know plaintiffs don't find them similar enough.

   18      I'll try to clear that up.

   19                But we have gunpowder storage rules.      Yes, it's true

   20      these were meant to present -- prevent fires, but the

   21      similarities are that gunpowder was necessary for ammunition by

   22      imposing regulations limiting individual's access to gunpowder.

   23      I t was a limitation on their ability how many times they could

   24      fire.     In a sense, a limitation on their enhancement.

   25                So too here we have -- we're not saying you can't have a




                                                                  APP. 1006
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    1      magazine for your gun.     We're not saying you can't have several

    2      magazines for your gun.      All we're saying is that firing it one

    3      time, you get ten shots, and then have you to reload, which,

    4      again, relevantly similar to the gunpowder.

    5              We have trap guns.     Again, a gun, perfectly legal in

    6      in     just used in common.     But if you enhance it, if you

    7      enable it to fire without being present, that posed a greater

    8      threat to innocent bystanders and so it was regulated.

    9              Just like here, we're not saying you can't have a

   10      magazine in your gun.     We're saying that there's a greater risk

   11      to innocent bystanders if you can load your gun with a magazine

   12      that contains more than ten bullets.

   13              Bowie knives.    Again, I acknowledge that there was not a

   14      complete ban on Bowie knives, but that misses the point.             The

   15      point is we have a perfectly legal weapon, a knife, that was

   16      enhanced through its design to inflict greater harm.            It

   17      presented a greater risk to the public.        So there were

   18      restrictions placed on one's Second Amendment right to carry

   19      around a Bowie knife.

   20              So too here.    You can have your gun with its magazine.

   21      You can take it around.      You just can't have one with more than

   22      ten.

   23              Pocket pistols, same is true there.        A firearm,

   24      perfectly legal, but because of the way it had been enhanced

   25      it's shrun k in size -- it posed a greater threat to the public.




                                                                  APP. 1007
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    1      No, you can't carry those around.        If you want to carry a

    2      larger pistol, an Army, Navy pistol around, you can do that.

    3                And then that brings us into the 20th century and Tommy

    4      guns.     Now,   I recognize Bruen says tread carefully on looking

    5      at 20th century regulations, unless they're consistent with

    6      historical tradition.        And I think what we've laid out for

    7      Your Honor is a consistent tradition from the founding through

    8      the 20th century because -- let's be clear.         The magazines

    9      we're talking about, the '50s, the '60s, Your Honor, in terms

   10      of handguns, that's when we're getting our first, and we can

   11      say, kind of, widespread penetration into the commercial

   12      market.

   13                And, again, we think, certainly, no likelihood of

   14      success on this.      But these -- these are difficult issues, as

   15      our expert, Dr. Rivas, noted.        She needs more time to conduct

   16      research into the Tennessee and Arkansas laws concerning the

   17      regulation of these -- the pocket pistols, Bowie knives.

   18                   THE COURT:    Let me ask you this question about the

   19      e xperts because, clearly, the experts are never going to come

   20      to agreement.       So everyone seems to be in agreement, to a

   21      certain e x tent,    on the need to discovery if they lose.     But

   22      what happens after that?        Am I going to be able to decide those

   23      disputes amongst the e xperts on summary judgment, or will a

   24      trial be necessary?

   25                   MR. SOBIECKI:     I think that will depend on -- kind of




                                                                  APP. 1008
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    1      l ike the normal civil case, Your Honor.       I t will be like the

    2      interpretation of a statute.      You'll have -- you'll make

    3      credibility determinations as to whose opinions provide

    4      should be given greater weight.       I would, respectfully, submit

    5      that our -- the heft of our e xperts -- certainly, these are

    6      academics who have performed a lot of research.         They're not

    7      interested parties who are active in the industry -- should be

    8      given more weight.

    9              We should have the opportunity, as Your Honor noted, to

   10      depose these individuals, to test their opinions.          They've got

   11      several individuals that just say, well, of course, LCMs are

   12      more useful in self-defense, but they never go and add why.             I

   13      think that's entirely fair for us to ask that question.

   14              And then, you know, because we are all in this emergency

   15      posture, the preliminary injunction stage, the balance of

   16      equities, public interest, heavily in favor of the District.

   17      The District has had this ban going back, some limitations,

   18      since the 1930s.     This particular one has been in place since

   19      2019.   Again, we're not talking about anyone's ability to

   20      defend themselves outside the home with a firearm.          That will

   21      stay.   The status quo will remain.      But we take it away, then

   22      we do have a risk of LCMs flooding into the District.

   23              Lieutenant Amodeo submitted his declaration.         If

   24      Your Honor flips to the end, the pictures of the large-capacity

   25      magazines we're talking about, huge drums, and the po l ice are




                                                                  APP. 1009
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    1      fi nding these everywhere.

    2                So if we put th i s aside, there's a serious risk that

    3      we're going to have j ust a ton of these coming in, huge risk to

    4      innocent bystanders.

    5                So we certainly think Your Honor should deny the

    6      preliminary injunction.

    7                   THE COURT:    So let me ask you -- you know, let's say

    8      we get past discovery; we get past summary judgment.          Is this a

    9      j ury trial?

   10                   MR. SOBIECKI:    That's an interesting question; one

   11      I've pondered.       It does seem to be more of a legal question,

   12      Your Honor.     So     now, there are factual elements to it.

   13      Frankly,    I think we'd probably like the opportunity to do a

   14      little more research on this.       You know, Bruen doesn't really

   15      provide us a path forward.       So that is, kind of, my initial

   16      reaction, Your Honor.

   17                I t's a legal question, in some sense, you know, what

   18      what does the Second Amendment cover.        However, there are

   19      certainly -- I don't think a mixed question of fact and law.

   20      But factual issues concerning, you know, how many LCMs.           But,

   21      generally,     I would go with more a legal question at this

   22      moment.     But I would want the opportunity to consult with the

   23      team.

   24                   THE COURT:    Of course.

   25                I haven't looked at the complaint i n a long t i me.     It's




                                                                  APP. 1010
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    1      at least partially brought under 1983?

    2                    MR. SOBIECKI:     Yes, Your Honor.   I'll admit I have

    3      not looked at the complaint recently, but I would certainly

    4      presume so.

    5                     THE COURT:    So, then, assuming there are fact

    6      questions, it would be a jury trial?

    7                    MR. SOBIECKI:     Yes, Your Honor.   Again,   I would

    8      reser v e

    9                     THE COURT:    Of course.

   10                    MR. SOBIECKI:     -- opining on that at this moment.

   11                     THE COURT:    Of course.   Any other issues you want to

   12      highlight?

   13                    MR. SOBIECKI:     No, Your Honor.    If no other

   14      questions,      I thank you for your time.

   15                     THE COURT:    All right.   Thank you.

   16                  Go ahead, Mr. Lyon.

   17                  So, Mr. Lyon, on -- you know I've read the Oregon case

   18      and the Rhode Island case and the Delaware case.            Are there any

   19      cases on a PI footing that come out in your favor?

   20                    MR. LYON:     Well, there are -- prior to Bruen, there

   21      is the Duncan v. Banta case with Judge Benitez in California,

   22      and the three-judge panel ruling sustaining the preliminary

   23      injunction there.         That was vacated by the Ninth Circuit

   24      en bane, which was, in turn, v acated by the Supreme Court

   25      following Bruen.




                                                                   APP. 1011
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    1              We have -- there was -- there are a number of cases

    2      pending.   I believe there is a New Jersey case that is -- that

    3      is u nder briefing.      There is an Illinois case, the oral

    4      argument of which was held yesterday.        I tried to monitor it

    5      but I couldn't get through on the -- on the l ink.         And

    6                 THE COURT :     That's a magazine case as well?

    7                 MR. LYON:      That's a magazine and an assau l t weapons

    8      case and - - and some other issues.       I think there were four

    9      four cases that were consolidated before Judge McGlynn, I

   10      think, is -- is the case.

   11              And there is a Fourth Circuit case that is ripe for

   12      decision; and the argument there is available on the Fourth

   13      Circuit's website, and I think you would find that

   14      illuminating.

   15              So at this point, no.      I would -- I would suggest that

   16      the Oregon case and the Rhode Island case are simply wrong

   17      on -- on every point, inconsistent with the common use finding

   18      by the judge in - - in Delaware.      And all of those cases were

   19      decided on different records.       And, of course, the Delaware

   20      case, the judge candidly admitted that he basically only heard

   21      factual -- he only got factual argument -- or factual showings

   22      from the defendant there.

   23              Counsel made a -- a point that the D.C. Circuit had

   24      raised in -- in the He ll er II case, and -- which I think there

   25      may be some merit to.       He points to big drum magazines and




                                                                  APP.1012
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    1      hundred-round magazines and so forth.        And I will candidly

    2      admit that if D.C. had written their law to limit handgun

    3      magazines to 20 rounds and rifle magazines to 30 rounds, I

    4      wouldn't be here because those are pretty much the limits of

    5      the standard capacity magazines that come with these guns.

    6              I probably couldn't make a factual showing that

    7      hundred-round big drum magazines are commonly possessed for --

    8      for lawful purposes.     But that's not the law that they wrote,

    9      and they're stuck with ten.      And the record is overwhelming

   10      that ten-round magazines are common -- plus-ten magazines are

   11      commonly possessed by American citizens for law enforcement

   12      purposes.

   13              I have to strongly dissent to the District's so-called

   14      analogs.    There is nothing remotely similar to a gunpowder

   15      storage law -- for example, that required storage on the third

   16      floor of a building -- equal to a ban on a total class of arms.

   17      And Bruen makes it very clear that the -- and Heller that the

   18      fact that there were concealed carry restrictions doesn't

   19      equate to a ban on carry and doesn't equate to a ban on

   20      possession.

   21              So the District has simply not shown -- assuming we get

   22      there -- and I suggest we don't.       But assuming we do get there,

   23      they have not shown relevantly similar or substantially similar

   24      restrictions in the historical record.

   25              And what they have shown is that, yes, we can ban




                                                                  APP.1013
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    1      concealed carry of weapons that we consider particularly

    2      susceptible to criminal use.         We can -- we can limit the

    3      distribution of weapons to minors.          We can regulate the misuse

    4      of weapons.    Okay?     For e xample, the -- the spring gun laws,

    5      they didn't ban the guns.          They banned a particular use of

    6      those guns that is so dangerous that it had to be stopped.             And

    7      it's in persons just opening a door by mistake gets shot

    8      without -- without any -- without any indication of -- of

    9      criminal intent, without meeting any of the elements of -- that

   10      are required for -- for self-defense.

   11              Those are reasonable and, I would suggest, ought to be

   12      mandatory restrictions, but they are not a ban on carry, not a

   13      ban on possession.       The District has not been able to point to

   14      any ban on possession of a commonly used arm, and that dooms

   15      them, Your Honor.

   16                  THE COURT:     All right.     Thank you.   Why don't you

   17      answer, if you can, my question about whether we end up in a

   18      jury trial in this case or not.

   19                  MR. LYON:     I'm sorry.     Could you repeat that.

   20                  THE COURT:     Sure.     Whether we end up in a jury trial

   21      in this case or not.

   22                  MR. LYON:     I can't -- I can't see that this is a case

   23      that requires a -- that requires a jury.          I think that -- I'm

   24      not aware of any Second Amendment case that's ever gone to a

   25      jury, and      and -- and jury selection would be quite




                                                                   APP. 1014
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    1      entertaining.

    2                   THE COURT:    Okay.

    3                   MR. LYON:    I -- I -- I think that like Wrenn, like

    4      Heller, like Bruen, these cases are -- these cases turn on

    5      legal analysis.     They don't -- I don't think the District

    6      really disputes that there are hundreds of millions of plus-ten

    7      magazines out there.       If they do, I'd like -- I'd -- I'd like

    8      to see it.

    9                   THE COURT:    Sure.    On the issue of discovery, I

   10      assume -- I'm assuming whatever side loses is going to take it

   11      up.   Do -- at that point do we start discovery?         Do we wait

   12      until we get instruction from the Court of Appeals on my legal

   13      reasoning?     What are your thoughts on that?

   14                   MR. LYON:    Well, I      I will appeal if the

   15      preliminary injunction is -- is denied.         I don't see that I

   16      have any recourse but to do that.

   17                   THE COURT:    And I suspect that they have even

   18      stronger reason to appeal if they lose.         So I think there's a

   19      fair chance we're going to end up in the Court of Appeals,

   20      which doesn't always move briskly.         So what happens next?

   21                   MR. LYON:    Well, in terms of the discovery that I

   22      anticipate, it's probably going to be predominantly admissions.

   23      I'm not sure that I even need to depose their so-called experts

   24      because of the flaws in the submissions that they make.            I

   25      mean, they make a lot of genera li ties.       But when you actually




                                                                  APP. 1015
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    1      look at the laws that they cite, they don't really say what

    2      they say.

    3                   THE COURT:    You thought that the term high-capacity

    4      magazine were pejorative.        So-called experts, I think, are well

    5      beyond that.     But go ahead.

    6                   MR. LYON:    I'm guilty, Your Honor.    I'm sorry.

    7                   THE COURT:   All right.

    8                   MR. LYON:    So I definitely would -- would go for

    9      admissions.     I'd have to evaluate whether it's -- it's

   10      justified to -- and what I get out of going for depositions,

   11      I am just       just not sure at this point.      I'd have to think

   12      and -- and probably consult with -- with my brethren on the

   13      other side as to whether we would want to go to the -- the time

   14      and expense of -- of conducting discovery until the Court of

   15      Appeals makes its decision.

   16                There's going to be -- there's going to be several other

   17      Court of Appeals' decisions.        Certainly primed up for the

   18      Fourth Circuit, and I e xpect that there'll be the -- that the

   19      Third, Seventh, and Ninth, where there are cases pending --

   20      will be       will be percolating.     And, ultimately, the folks

   21      over on       I think it's Second Street, if I've got the address

   22      right -- may come to bear on this before we even can get to

   23      discovery.

   24                   THE COURT:   All right.    Thank you.

   25                   MR. SOBIECKI:    Just procedural point, Your Honor.




                                                                  APP. 1016
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    1                 THE COURT:    Sure.

    2                 MR. SOBIECKI:     I don't like entertaining the idea

    3      that we might lose, but if we did, we would preview that we

    4      would ask Your Honor to stay your ruling until we do get

    5      guidance on -- the Court of Appeals on this issue, given the

    6      consequences.

    7              Thank you.

    8                 THE COURT:    All right.    Thank you.    You're excused.

    9              I'll take it under advisement.       I plan to rule

   10      relatively quickly.

   11                  (Proceedings were concluded at 10:54 a.m.)

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                                                                  APP. 1017
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    1           CERTIFICATE OF STENOGRAPHIC OFFICIAL COURT REPORTER

    2

    3                I, Nancy J. Meyer, Registered Diplomate Reporter,

    4      Certified Realtime Reporter, do hereby certify that the above

    5      and foregoing constitutes a true and accurate transcript of my

    6      stenograph notes and is a full,      true, and complete transcript

    7      of the proceedings to the best of my ability.

    8

    9                            Dated this 18th day of April, 2023.

   10

   11                            /s/ Nancy J. Meyer
                                 Nancy J. Meyer
   12                            Offic i al Court Reporter
                                 Registered Diplomate Reporter
   13                            Certified Realtime Reporter
                                 333 Constitution Avenue Northwest
   14                            Washington, D.C. 20001

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                                                                  APP.1018
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ANDREW HANSON, et al. ,

        Plaintiffs,                                     Civil Action No.:     22-2256 (RC)

        V.                                              Re Document No.:      8

 DISTRICT OF COLUMBIA, et al. ,


        Defendants.

                                            ORDER

                DENYING PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION

        For the reasons stated in the Court's Memorandum Opinion separately and

 contemporaneously issued, Plaintiff s Motion for a Preliminary Injunction (ECF No. 8) is

 DENIED.

        SO ORDERED.


 Dated: April 20, 2023                                           RUDOLPH CONTRERAS
                                                                 United States District Judge




                                                                                  APP. 1 0 1 9
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 ANDREW HANSON, et al. ,

        Plaintiffs,                                         Civil Action No.:       22-2256 (RC)

        V.                                                  Re Document No.:        8

 DISTRICT OF COLUMBIA, et al. ,


        Defendants.

                                    MEMORANDUM OPINION

                DENYING PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION


                                        I. INTRODUCTION

        Plaintiffs, four American citizens who reside in or spend time in the District of Columbia,

 challenge the constitutionality of D. C. law that bans possession of large-capacity magazines

 ("LCMs"). Plaintiffs own pistols and wish to equip them with LCMs for self-defense. They

 claim this conduct is protected by the Second Amendment under the test set forth in the Supreme

 Court's recent decision, New York State Rifle & Pistol Ass 'n, Inc. v. Bruen, 1 42 S. Ct. 2 1 1 1

 (2022). They now move for a preliminary (and permanent) injunction that enjoins Defendants,

 the District of Columbia and the Chief of the Metropolitan Police Department Robert J. Contee

 III (together, "the District"), from enforcing this law. The Court held oral argument on the

 motion. The matter is fully briefed and ripe for decision. For the reasons described below, the

 Court concludes that the District's LCM ban is constitutional, and therefore Plaintiffs have not

 shown likelihood of success on the merits. The Court will thus deny Plaintiffs ' motion for a

 preliminary injunction.




                                                                                         APP. 1 020
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                                          II. BACKGROUND

                                          A. Case Background

            The sole object of Plaintiffs ' constitutional challenge is D.C. 's LCM ban, which provides

 in full:

            No person in the District shall possess, sell, or transfer any large capacity
            ammunition feeding device regardless of whether the device is attached to a
            firearm. For the purposes of this subsection, the term "large capacity ammunition
            feeding device" means a magazine, belt, drum, feed strip, or similar device that
            has a capacity of, or that can be readily restored or converted to accept, more than
            1 0 rounds of ammunition. The term "large capacity ammunition feeding device"
            shall not include an attached tubular device designed to accept, and capable of
            operating only with, .22 caliber rimfire ammunition.

 D.C. Code § 7-2506.0 l (b ). Violation of this provision carries a penalty of up to three years in

 prison and a fine ofup to $ 1 2,500. D.C. Code § § 7-2507.06(a)(4); 22-3 57 1 .0 l (b)(6).

            Some context is in order to understand the gun law at issue. An ammunition feeding

 device, more commonly known as a magazine, "is a vehicle for carrying ammunition. It can be

 either integral to the gun or detachable." Ocean State Tactical, LLC v. Rhode Island, No. 22-cv-

 246, 2022 WL 1 772 1 1 75, at *4 (D.R.I. Dec. 14, 2022). "Most modem semi-automatic firearms,

 whether handguns or semi-automatic rifles like AR- 1 5s, use detachable box magazines." Id.

 The magazine is simply "inserted into and removed from the frame of the firearm, much as an

 extra battery-pack gets swapped in and out of a battery-operated tool, like a leaf blower, for

 example." Id. Magazines come in different sizes and have different capacities. Under D.C. law,

 a large-capacity magazine, or LCM, is simply a magazine that can hold more than ten bullets.

 "When a multiple-round device like an LCM is attached, a handgun becomes a 'semiautomatic'




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                                                                                         APP. 1 02 1
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 weapon, meaning that it is capable of rapidly firing several bullets, one right after another.

 However, the gun still requires a trigger-pull for each round fired." Jd. 1

         Plaintiffs each hold a license to carry a concealed pistol issued by the D.C. Metropolitan

 Police Department and they regularly carry firearms in D.C. See Hanson Deel. ,r 2, ECF No. 8-2 ;

 Yzaguirre Deel. ,r 2, ECF No. 8-3 ; Chaney Deel. ,r 2, ECF No. 8-4; Klun Deel. ,r 2, ECF No. 8-5 .

 Each Plaintiff possesses LCMs outside D.C., and each Plaintiff claims that, but for D.C. law

 banning LCM possession in D.C., he would use LCMs for self-defense in D.C. Hanson Deel. ,r,r

 3-4; Yzaguirre Deel. ,r,r 3-4; Chaney Deel. ,r,r 3-4; Klun Deel. ,r,r 3-4. In October 2022,

 Plaintiff Yzaguirre attempted to register a firearm with the Metropolitan Police Department but

 was denied because his firearm came with a 1 2-round LCM, in violation ofD.C. law. Yzaguirre

 2d Deel. ,r,r 2-7, ECF No. 1 6- 1 .

         Plaintiffs brought suit on August 1 , 2022, seeking: a declaratory judgment that D.C. ' s

 LCM ban violates the Second and Fifth Amendments; a preliminary and permanent injunction

 preventing the District from enforcing this ban; damages; and other costs. See Compl. at 22-24,

 ECF No. 1 . Plaintiffs then moved for a preliminary injunction on August 1 9, 2022. Pls.' Appl.

 for Prelim. Inj . ("Pls. ' Mot."), ECF No. 8. A few days later, the District moved for an extension

 of time to respond and also to conduct limited discovery as to the facts underlying Plaintiffs '

 motion for a preliminary injunction. ECF Nos. 9 , 1 0 . The Court granted both motions on


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           Both automatic and semi-automatic guns reload automatically; when fired, the force of
 a shot ejects the spent bullet casing while simultaneously pulling a fresh bullet from the
 magazine into the gun's chamber. See Tom Givens, Concealed Carry Class 1 1 3 (20 1 9), Ex. C to
 Defs. ' Opp 'n, ECF No. 1 7-5 . But whereas automatic guns fire continuously from a single pull of
 the trigger, semi-automatic guns fire only one bullet per pull of the trigger. Id. ; see, e.g. , 1 933
 Ohio Laws 1 89, 1 89 ("Automatically . . . means that class of firearms which, while the trigger on
 the firearm is held back continues to fire successive shots. Semi-automatically means that class
 of firearm which discharges one shot only each time the trigger is pulled, no manual reloading
 operation being necessary between shots.").


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                                                                                        APP. 1 022
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 September 7, 2022. Min. Order (Sept. 7, 2022). On October 3 1 , 2022, Plaintiffs supplemented

 their motion for a preliminary injunction with leave of Court. Min. Order (Oct. 3 1 , 2022). On

 December 1 , 2022, the Court permitted three nonprofit organizations, Brady, Gifford Law Center

 to Prevent Gun Violence, and March for our Lives to jointly submit an amicus brief in support of

 the District. Min. Order (Dec. 1 , 2022); see Amicus Brief, ECF No. 1 8- 1 . Plaintiffs ' motion for

 a preliminary injunction was fully briefed as of January 23, 2022 . The Court heard oral

 argument on the motion on April 1 3 , 2023 . The motion is now ripe for decision.

                                         B. Legal Background

         The Second Amendment to the United States Constitution provides: "A well regulated

 Militia, being necessary to the security of a free State, the right of the people to keep and bear

 Arms shall not be infringed." U.S. Const. amend. II. Although short, this text is anything but

 simple. To understand and interpret this constitutional text, the Court looks to caselaw that is

 relevant to the specific question at hand. As it turns out, Plaintiffs are not the first to raise a

 Second Amendment challenge to the District's LCM ban: a group of plaintiffs challenged the

 same law over a decade ago in Heller v. District of Columbia ("Heller II''), 670 F.3d 1244 (D.C.

 Cir. 201 1), which ultimately upheld the ban. Heller II was decided in the wake of the Supreme

 Court's seminal Second Amendment case, District of Columbia v. Heller ("Heller ''), 554 U.S.

 570 (2008). The Supreme Court's decision in Bruen last year, however, soundly rejected how

 the Courts of Appeals interpreted and applied Heller, and so calls into question the outcome of

 Heller II. Thus, although Plaintiffs ' challenge to D.C . ' s LCM ban is not entirely new, it

 demands renewed analysis under the framework Bruen provides.

         Understanding Bruen requires taking a few steps back, to Heller. In Heller, the Supreme

 Court held that the District' s ban on handgun possession in the home violated the Second




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                                                                                          APP. 1 023
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 Amendment. 554 U.S. at 572. At the time, the District prohibited handgun registration, made it

 a crime to carry an umegistered firearm, and required residents to keep any lawfully owned

 firearms unloaded and dissembled. Id. at 574. In ruling for the plaintiffs and striking down D.C.

 law, Heller established that the Second Amendment confers "the individual right to possess and

 carry weapons in case of confrontation." Id. at 592. The Supreme Court explained in this

 landmark decision that "the inherent right of self-defense has been central to the Second

 Amendment right." Id. at 628 .

        Heller also cautioned that "[l]ike most rights, the right secured by the Second

 Amendment is not unlimited." Id. at 626. Quoting Blackstone and other sources, the Supreme

 Court stated that "the right was not a right to keep and carry any weapon whatsoever in any

 manner whatsoever and for whatever purpose." Id. Thus, the Second Amendment "does not

 protect those weapons not typically possessed by law-abiding citizens for lawful purposes." Id.

 at 625 . And the Court did not "cast doubt on longstanding prohibitions on the possession of

 firearms by felons and the mentally ill, or laws forbidding the carrying of firearms in sensitive

 places such as schools and government buildings, or laws imposing conditions and qualifications

 on the commercial sale of arms." Id. at 626-27.

         In the wake of Heller, the District passed the Firearms Registration Amendment Act of

 2008 ("FRA"), which updated D.C. 's gun laws. Of relevance here, the FRA added a new

 provision that bans LCM possession-      the same provision at issue in this case. See D.C. Law 1 7-

 372 § 3(n), Firearms Control Amendment Act of 2008,

 https ://code.dccouncil.gov/us/de/council/laws/docs/ 1 7-372.pdf (adding "new subsection (b)" to

 D.C. Code § 7-2506.01 ). A group of plaintiffs once again sued the District, this time challenging

 the constitutionality of, inter alia, the District' s ban on assault weapons (in particular, semi-




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                                                                                         APP. 1 024
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 automatic rifles) and its ban on LCM possession. Heller II, 670 F.3d at 1249. In assessing the

 plaintiffs ' challenges to these laws, the D.C. Circuit followed the same framework that its sister

 Courts of Appeals employed in Second Amendment challenges post-Heller. Under this "two­

 step approach," a court must "ask first whether a particular provision impinges upon a right

 protected by the Second Amendment; if it does, then . . . go on to determine whether the

 provision passes muster under the appropriate level of constitutional scrutiny." Id. at 1252.

         As relevant here, Heller II applied this two-step approach to the plaintiffs ' challenge to

 D.C. 's LCM ban. At the first step, the Circuit examined "whether the prohibited weapons are

  'typically possessed by law-abiding citizens for lawful purposes."' Id. at 1260 ( quoting Heller,

 554 U.S. at 625). The Circuit found it was "clear enough in the record" that LCMs are in

 common use and recognized that "fully 1 8 percent of all firearms owned by civilians in 1 994

 were equipped with magazines holding more than ten rounds, and approximately 4.7 million

 more such magazines were imported into the United States between 1 995 and 2000." Id. at

  1 26 1 . Still, the Circuit was not "certain" "based upon the record as it st[ood]" whether LCMs

 were in common use for lawful purposes- that is, "whether these weapons are commonly used

 or are useful specifically for self-defense or hunting" and thus "whether the

 prohibitions . . . meaningfully affect the right to keep and bear arms." Id. Ultimately, the Circuit

 expressly declined to resolve the first step on the merits, instead assuming without deciding that

 the first step was satisfied. Id.

         At the second step of the analysis, Heller II applied intermediate scrutiny. It stated that

 this was the proper standard because given that "the plaintiffs present hardly any evidence that

 semi-automatic rifles and magazines holding more than ten rounds are well-suited to or preferred

 for the purpose of self-defense or sport," it was "reasonably certain the prohibitions do not




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                                                                                        APP. 1 025
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 impose a substantial burden upon t[he] right" to keep and bear arms under the Second

 Amendment. Id. at 1262. Under the intermediate scrutiny standard, the Circuit found that the

 LCM ban was "substantially related" to the District's "important interests in protecting police

 officers and controlling crime." Id. The Circuit credited testimony that "high-capacity

 magazines are dangerous in self-defense situations because 'the tendency is for defenders to keep

 firing until all bullets have been expended, which poses grave risks to others in the household,

 passersby, and bystanders"' and studies showing that attacks with LCMs "result in more shots

 fired, persons wounded, and wounds per victim than do other gun attacks." Id. at 1263-64.

 Thus, the Circuit held that D.C. 's LCM ban "do[es] not violate the plaintiffs' constitutional right

 to keep and bear arms." Id. at 1 264.

         Then came Bruen. In Bruen,
                                .. the Supreme Court reaffirmed Heller and held that the
 Second Amendment "protect[s] an individual's right to carry a handgun for self-defense outside

 the home." 1 42 S . Ct. at 2 1 22. Bruen, however, rejected the Courts of Appeals' two-step

 framework for assessing Second Amendment
                                      ',  challenges and announced that this framework was

 inconsistent with Heller. "Heller's methodology centered on constitutional text and history" and

 "did not invoke any means-end test." Id. at 2 1 28-29. Thus, although "step one of the [Courts of

 Appeals' ] predominant framework [wa]s broadly consistent with Heller," step two "[wa]s one

 step too many." Id. at 2 1 26-27. Bruen declared that the proper analytical framework for

 assessing Second Amendment challenges is as follows: "[ 1 ] When the Second Amendment' s

 plain text covers an individual's conduct, the Constitution presumptively protects that conduct.

  [2] The government must then justify its regulation by demonstrating that it is consistent with the

 Nation' s historical tradition of firearm regulation." Id. at 2 1 29-30 (brackets added).




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                                                                                        APP. 1 026
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        With respect to the second part of Bruen 's test, the Supreme Court acknowledged that in

 some cases the "historical inquiry" will not be "straightforward." Id. at 2 1 3 1 . For "cases

 implicating unprecedented societal concerns or dramatic technological changes," courts should

 take "a more nuanced approach." Id. at 2 1 32. In those situations, courts must conduct a

 "historical inquiry that . . . will often involve reasoning by analogy." Id. "Like all analogical

 reasoning, determining whether a historical regulation is a proper analogue for a distinctly

 modern firearm regulation requires a determination of whether the two regulations are

 'relevantly similar. "' Id. Bruen provided two "metrics" for conducting this analysis: "how and

 why the regulations burden a law-abiding citizen' s right to armed self-defense." Id. at 2 1 32-3 3 .

 "Therefore, whether modern and historical regulations impose a comparable burden on the right

 of armed self-defense and whether that burden is comparably justified are 'central'

 considerations when engaging in an analogical inquiry." Id. at 2 1 33 (emphasis in original)

 (citation omitted). Analogical reasoning "is neither a regulatory straightjacket nor a regulatory

 blank check." Id. "[A]nalogical reasoning requires only that the government identify a well­

 established and representative historical analogue, not a historical twin. So even if a modern-day

 regulation is not a dead ringer for historical precursors, it still may be analogous enough to pass

 constitutional muster." Id. (emphases in original).

        Bruen then applied this standard to the facts of the case, which involved a challenge to

 New York State ' s public-carry licensing regime that required an applicant to show "proper

 cause" for self-defense. At the first step, the Supreme Court had "little difficulty" in concluding

 that the plaintiffs ' desire to "carry[] handguns publicly for self-defense" was covered by the text

 of the Second Amendment. Id. at 2 1 34. Thus, the Second Amendment "presumptively

 guarantee[d]" the plaintiffs the right to do so. Id. at 2 1 3 5 . Bruen then turned to the next step of




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                                                                                          APP. 1 027
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 the inquiry, where New York State had the "burden" to "show that [its] proper-cause

 requirement is consistent with this Nation's historical tradition of firearm regulation." Id. This

 New York could not do. After surveying history from the 12th through the 1 9th century, with

 particular emphasis on Founding-era regulations, Bruen concluded that "[a]part from a few late-

  1 9th-century outlier jurisdictions, American governments simply have not broadly prohibited the

 public carry of commonly used firearms for personal defense." Id. at 2 1 56. Thus, Bruen

 concluded that New York's "proper cause" licensing regime was unconstitutional. Id.

                                       III. LEGAL STANDARD

          "A preliminary injunction is ' an extraordinary remedy that may only be awarded upon a

 clear showing that the [movant] is entitled to such relief "' John Doe Co. v. CFPB, 849 F.3d

  1 1 29, 1 1 3 1 (D.C. Cir. 20 1 7) (alteration in original) (quoting Winter v. Natural Res. Def Council,

 Inc. , 555 U.S. 7, 22 (2008)). "A plaintiff seeking a preliminary injunction must establish [(1)]

 that he is likely to succeed on the merits, [(2)] that he is likely to suffer irreparable harm in the

 absence of preliminary relief, [(3)] that the balance of equities tips in his favor, and [(4)] that an

 injunction is in the public interest." Winter, 555 U.S. at 20. "Of course, the movant carries the

 burden of persua[ding]" the Court that these factors merit preliminary relief, Fla. EB5 Invs.,

 LLC v. Wolf, 443 F. Supp. 3d 7, 1 1 (D.D.C. 2020) (citing Cobell v. Norton, 39 1 F.3d 25 1 , 258

 (D.C. Cir. 2004)), and must do so by making a "clear showing," Cobell, 39 1 F.3d at 258. "A

 preliminary injunction may be granted based on less formal procedures and on less extensive

 evidence than in a trial on the merits." Cobell, 39 1 F.3d at 26 1 (D.C. Cir. 2004). 2


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           At this stage, the Court will consider all of the many exhibits and sources upon which
 the parties rely. In addition to providing declarations from their own experts, Plaintiffs provided
 five expert declarations filed in Duncan v. Banta, No. 1 7-cv- 1 0 1 7 (S.D. Cal.), an ongoing case
 involving a Second Amendment challenge to a California law that, like the D.C. law at issue
 here, bans LCM possession. See Pls . ' Reply at 2 n. 1 , ECF No. 24.


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                                                                                           APP. 1 028
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                                           IV. ANALYSIS

         The Court begins with standing. "[T]he D.C. Circuit has declared in unequivocal terms

 that [a] party seeking a preliminary injunction must show a substantial likelihood of standing. "

 Angelo v. District of Columbia, No. 22-cv- 1 878, 2022 WL 1 7974434, at *3 (D.D.C. Dec. 28,

 2022) (cleaned up) (quoting Green v. US. Dep 't ofJust. , 54 F.4th 738, 744 (D.C. Cir. 2022)).

 Plaintiffs breezed through the issue of standing in their briefing, and the District did not even

 bother to address standing at all. Nonetheless, the Court finds that at least one Plaintiff, Tyler

 Yzaguirre, has demonstrated a substantial likelihood of standing because he was denied

 registration for a firearm on the ground that its magazine had a 12-round capacity in violation of

 D.C. 's LCM ban. See generally 2d Yzaguirre Deel. That is a concrete injury, traceable to the

 allegedly unconstitutional law, which a court-issued injunction could redress. See Lujan v. Defs.

 of Wildlife, 504 U.S. 555, 560-6 1 (1 992); cf Heller II, 670 F.3d at 1249 (in recounting the

 plaintiffs ' injuries, finding that "Plaintiff Heller was also denied registration of a pistol because

 the magazine had a capacity of 1 5 rounds"). And "because at least one Plaintiff has standing, the

 Court need not analyze whether other plaintiffs have standing." Williams v. Walsh, No. 2 1 -cv-

  1 1 50, 2022 WL 1 7904227, at * 1 1 n.7 (D.D.C. Dec. 23, 2022).

         On the merits, Bruen governs. Under Bruen, the Court must first determine whether "the

 Second Amendment's plain text covers an individual' s conduct." 142 S. Ct. at 2 1 26. If so, "the

 Constitution presumptively protects that conduct," and "the government must demonstrate that

 the regulation is consistent with the Nation's historical tradition of firearm regulation." Id.

 Thus, the first question in this case is whether the Second Amendment covers LCM possession.

 If yes, the second question is whether the District' s LCM ban is relevantly similar to a historical

 analogue. The Court holds that the answer to the first question is no. Although that alone




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 resolves the case for the District, the Court will nonetheless proceed to analyze the second

 question and hold that in the alternative, the District's LCM ban is also consistent with this

 country's historical tradition of firearm regulation. 3

                  A. Whether LCMs Are Covered by the Second Amendment

        Under Bruen 's first step, the Court must determine whether the scope of the Second

 Amendment covers LCM possession. Notably, this first step is consistent with the first step of

 Courts of Appeals' decisions pre-Bruen. In other words, Bruen did not disturb the analysis

 Courts of Appeals conducted under the first step of their framework. See 1 42 S. Ct. at 2 1 27

 ("Step one of the [Courts of Appeals' ] predominant framework is broadly consistent

 with Heller[.]"). The Court will therefore still discuss these now-abrogated cases in this section

 and accord their step- I analysis persuasive weight to the extent they are instructive. At the first

 step in this case, the parties raise two primary disputes. First, they disagree whether LCMs are

 "arms" within the meaning of the Second Amendment. Second, they disagree whether LCMs are

 typically possessed by law-abiding citizens for lawful purposes. The Court will examine each in

 tum.

                   1 . Whether LCMs Are "Arms" Under the Second Amendment

         The parties dispute whether LCMs are "arms" under the Second Amendment. Recall that

 the Second Amendment protects an individual right to "keep and bear Arms" for self-defense.

 U.S. Const. amend. II (emphasis added). Heller interpreted this term as follows:

         The 1 773 edition of Samuel Johnson's dictionary defined "arms" as "[ w]eapons
         of offence, or armour of defence." 1 Dictionary of the English Language 1 06 (4th
         ed.) (reprinted 1 978) (hereinafter Johnson). Timothy Cunningham's important

         3
           Because the Court concludes that the District's LCM ban is constitutional and that
 Plaintiffs have "little likelihood of succeeding on the merits," the Court "[h ]as no need to address
 the other preliminary injunction factors." Apotex, Inc. v. Food & Drug Admin. , 449 F.3d 1249,
 1253 (D.C. Cir. 2006) (citations omitted).


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         1 77 1 legal dictionary defined "arms" as "any thing that a man wears for his
         defence, or takes into his hands, or useth in wrath to cast at or strike another." 1
         A New and Complete Law Dictionary; see also N. Webster, American Dictionary
         of the English Language (1 828) (reprinted 1 989) (hereinafter Webster) (similar).

 Heller, 554 U.S. at 5 8 1 .

         At least three Courts of Appeals have concluded that LCMs are "arms" within the

 meaning of the Second Amendment. See Ass 'n ofNew Jersey Rifle & Pistol Clubs, Inc. v. Att '.Y

  Gen. New Jersey ("ANJRPC''), 9 1 0 F.3d 1 06, 1 1 6 (3d Cir. 20 1 8); Kolbe v. Hogan, 8 1 3 F.3d

  1 60, 1 75 (4th Cir. 20 1 6); Duncan v. Becerra, 970 F.3d 1 1 33, 1 146 (9th Cir. 2020). 4 In

 ANJRPC, the plaintiffs challenged the constitutionality of a New Jersey law that, as with the

 D.C. law in this case, made it illegal to possess a magazine capable of holding more than ten

 rounds of ammunition. 9 1 0 F.3d at 1 1 0. The Third Circuit specifically addressed "the question

  [of] whether a magazine is an arm under the Second Amendment" and concluded "[t]he answer

 is yes." Id. at 1 1 6. It reasoned that "[b]ecause magazines feed ammunition into certain guns,

 and ammunition is necessary for such a gun to function as intended, magazines are 'arms ' within

 the meaning of the Second Amendment." Id.

         Likewise, a panel of the Fourth Circuit in Kolbe reasoned that because the Second

 Amendment plainly covers firearms, "there must also be an ancillary right to possess the

 magazines necessary to render those firearms operable." 8 1 3 F.3d at 175. At issue in that case

 was a Maryland law that banned assault weapons like the AR- 1 5 as well as detachable LCMs.

 Id. at 1 69-70. The panel in Kolbe found "strong historical support" for the notion that

 magazines constitute "arms" because "magazines and the rounds they contain are used to strike




        At least two Courts of Appeals have noted this question but declined to address it. See
         4

 Worman v. Healey, 922 F.3d 26, 33 n.3 ( 1 st Cir. 20 19); New York State Rifle & Pistol Ass 'n, Inc.
 v. Cuomo, 804 F.3d 242, 264 n. 127 (2d Cir. 201 5).


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 at another and inflict damages" and early American provisions protecting gun rights "suggest[]

  ' arms' should be read to protect all those items necessary to use the weapons effectively." Id. at

  1 75 (citation omitted).

         Finally, in Duncan, a panel of the Ninth Circuit considered the constitutionality of

 California's ban on LCM possession and concluded at the outset that "[f]irearm magazines are

  ' arms' under the Second Amendment." 970 F.3d at 1 146. The Ninth Circuit reasoned that

  "[ w]ithout a magazine, many weapons would be useless" and therefore "there must be some

 corollary . . . right to possess the magazines necessary to render those firearms operable." Id.

 (citation omitted).

         ANJRPC, Kolbe, and Duncan all recognized that the Second Amendment covers not just

 possession of a firearm, but the sorts of things that make a firearm operable. See Bruen, 142 S .

 Ct. at 2 1 32 ("[E]ven though the Second Amendment' s definition o f 'arms' is fixed according to

 its historical understanding, that general definition covers modern instruments thatfacilitate

 armed self-defense." (emphasis added)). The same logic prevails in other Second Amendment

 contexts as well. See, e.g. , Ezell v. City of Chicago, 65 1 F.3d 684, 704 (7th Cir. 20 1 1) (finding

 that city's ban on firing ranges implicated the Second Amendment because "[t]he right to possess

 firearms for protection implies a corresponding right to acquire and maintain proficiency in their

 use; the core right wouldn't mean much without the training and practice that make it

 effective"). 5




         5
          Although Kolbe and Duncan were both subsequently vacated by en bane decisions in
 those circuits, the respective en bane decisions did not cast doubt on the panels' analysis of this
 specific question. See Kolbe v. Hogan, 849 F.3d 1 14, 137 n. 12 (4th Cir. 20 1 7) (en bane)
 (explaining that because it found LCMs "most useful in military service" and "not
 constitutionally protected," it would not reach the question whether LCMs were "arms" under
 the Second Amendment); Duncan v. Banta, 1 9 F.4th 1 087, 1 1 03 (9th Cir. 202 1) (en bane)


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         The District, however, argues that LCMs are not "arms" but rather "accoutrements" (i. e. ,

 accessories). Defs. ' Opp 'n to Pls. ' Appl. for Prelim. Inj . ("Defs . ' Opp 'n") at 9-1 1 , ECF No. 17 .

 According to the District, the term "arms" at the Founding did not encompass accoutrements

 such as ammunition or cartridges that stored such ammunition. Id. at 10 . And the District argues

 that even if the Second Amendment covers accessories which are integral to the operation of a

 firearm, LCMs are not one of them because Plaintiffs could still use their existing firearms with

 magazines that carry ten bullets or less, and in fact, currently carry these smaller magazines on

 their firearms. Id. at 1 1-12; see also Ocean State Tactical, 2022 WL 1 772 1 1 75, at * 1 1 (finding

 similar arguments persuasive in holding that LCMs are not "arms" under the Second

 Amendment).

         The Court is unpersuaded by the District's exacting standard. Its position contradicts the

 conclusions that ANJRPC, Kolbe, and Duncan reached on this question. In ANJRPC, for

 example, the Third Circuit found that LCMs are "arms" under the Second Amendment because

 "magazines feed ammunition into certain guns, and ammunition is necessary for such a gun to

 function as intended." 9 1 0 F.3d at 1 1 6 (emphasis added). The District' s logic, by contrast,

 would allow it to ban all magazines (not just LC Ms)-a result even the District does not endorse

 here- because a firearm technically does not require any magazine to operate; one could simply

 fire the single bullet in the firearm's chamber. See Ocean State Tactical, 2022 WL 1 772 1 1 7 5 , at

  * 12 (noting that "a firearm can fire bullets without a detachable magazine"). The Court will

 therefore follow the persuasive reasoning of ANJRPC, Kolbe, and Duncan in concluding that

 LCMs are "arms" within the meaning of the Second Amendment.




 ("assuming, without deciding, that California's law implicates the Second Amendment" and not
 discussing the question of whether LCMs are "arms" under the Second Amendment).

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     2. Whether LCMs Are Typically Possessed by Law-Abiding Citizens for Lawful Purposes

         Even though LCMs are "arms" within the meaning of the Second Amendment, they must

 still satisfy another inquiry to fall within the amendment' s scope. The next question under step

 one of Bruen is whether LCMs are "typically possessed by law-abiding citizens for lawful

 purposes." Heller 11, 670 F.3d at 1 260 (quoting Heller, 554 U.S. at 625). In Heller 11, the D.C.

 Circuit noted in passing that the record in that case showed that "magazines holding more than

 ten rounds are indeed in ' common use. "' Id. at 126 1 . As evidence, it observed
                                                                               I   that "fully 1 8

 percent o f all firearms owned by civilians in 1 994 were equipped with magazines holding more

 than ten rounds, and approximately 4. 7 million more such magazines were
                                                                     .. imported into the
 United States between 1 995 and 2000." Id. ; see also New York State Rifle & Pistol Ass 'n, Inc. v.

 Cuomo ("NYSRPA ''), 804 F.3d 242, 255 (2d Cir. 20 1 5) ("Even accepting the most conservative

 estimates cited by the parties and by amici, the . . . large-capacity magazines at issue are 'in

 common use' as that term was used in Heller.").

         Plaintiffs seize on this observation as if it alone decides the question of whether LCMs

 are covered by the Second Amendment. It does not. Heller !I's comment was dicta because the

 Circuit ultimately assumed, without deciding, that LCMs were covered by the Second

 Amendment. 670 F .3d at 1 26 1 . More importantly, Heller II recognized that whether LCMs are

 "in common use" is merely the beginning of the analysis. The full inquiry is "whether the

 prohibited weapons are 'typically possessed . . .for lawful purposes. "' Heller 11, 670 F.3d at

  1 260 (emphasis added) (quoting Heller, 554 U.S. at 625). On that critical question, Heller II

 expressed uncertainty: "based upon the record as it stands, we cannot be certain whether these

 weapons are commonly used or are useful specifically for
                                                       .• self-defense[.]" Id. at 1261 (emphasis



 added). That is the question this Court must now resolve.




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         The parties unsurprisingly stake divergent positions. Plaintiffs maintain that LCMs "are

 overwhelmingly used for lawful purposes" such as self-defense. Pls. ' Mem. of P. & A. in Reply

 to Opp 'n to Appl. for Prelim. Inj . ("Pls. ' Reply") at 12, ECF No. 24. 6 The District disagrees; it

 argues that LCMs are not in common use for self-defense for two reasons. First, it claims that

 LCMs ' military characteristics make them a poor fit for self-defense and take them outside the

 scope of the Second Amendment. Second, the District claims that law-abiding individuals do not

 use LCMs for self-defense because incidents where a civilian actually expends more than ten

 bullets in self-defense are "vanishingly rare." Defs . ' Opp'n at 1 8 . The Court agrees with the

 District on both arguments.

                       a. Whether LCMs are Most Useful in Military Service

        Heller specifically contemplated that "weapons that are most useful in military service"

 fall outside of Second Amendment protection. 554 U.S. at 627; see NYSRPA, 804 F.3d at 256

 ("Heller expressly highlighted 'weapons that are most useful in military service, ' such as the

 fully automatic M -1 6 rifle, as weapons that could be banned without implicating the Second

 Amendment."); Duncan, 1 9 F.4th at 1 1 02 (en bane) (noting in dicta "significant merit" to the

 plaintiffs' argument that because "large-capacity magazines have limited lawful, civilian

 benefits, whereas they provide significant benefits in a military setting," they are not covered by

 Second Amendment). Plaintiffs counter that "the Supreme Court's precedents do not withhold


         6
            Plaintiffs also argue that LCMs are commonly used for lawful purposes such as training
 and competition. Pls. ' Reply at 1 1-12. But given that "individual self-defense is 'the central
 component' of the Second Amendment right," it is unclear whether a weapon that is not typically
 possessed for self-defense may nonetheless be covered by the Second Amendment on the ground
 that it is typically possessed for sporting. Bruen, 142 S. Ct. at 2 1 1 8 (emphasis in original)
 (citation omitted). The Court has no occasion to address that novel question here, because the
 Complaint and the motion for a preliminary injunction focus on Plaintiffs ' right of self-defense.
 See Compl. ,r,r 27-36; Pls. ' Mot. at 7-14. Indeed, Plaintiffs' counsel agreed at oral argument that
 Heller and its progeny focus on self-defense.


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 protection from arms merely because they are useful in militia service." Pls . ' Reply at 1 5 . That

 may be true, but it is beside
                             • the point. Heller established that weapons that are "most useful in

 military service" are excluded from Second Amendment protection. 554 U.S. at 627 (emphasis

 added). "Most" is a superlative. A weapon may have some useful purposes in both civilian and

 military contexts, but if it is most useful in military service, it is not protected by the Second

 Amendment.

         Here, in passing the LCM ban, D.C. lawmakers took the position that LCMs were not

 suitable for civilian self-defense. The D.C. Council's Committee on Public Safety and the

 Judiciary, which referred this legislation for approval, favorably referenced D.C. Chief of

 Police' s observation
             t         that "magazines holding[] over 1 0 rounds are more about firepower than

 self-defense."
           r Council of the District of Columbia Committee on Public Safety and the

 Judiciary, Committee Report at 9, https://perma.cc/YN6H-2U9M. That view is shared by

 judges, too . The Fourth Circuit' s en bane decision in Kolbe v. Hogan, 849 F.3d 1 1 4, 1 3 1 (4th

 Cir. 20 1 7), held that LCMs are unprotected by the Second Amendment because they are most

 useful in military service. In Kolbe, the plaintiffs challenged the constitutionality of a Maryland

 law that banned assault weapons like the AR- 1 5 as well as detachable LCMs. Id. at 120. After

 describing the many "difficult questions" that Heller raised concerning what the Second

 Amendment protects, the court remarked that Heller offers "a dispositive and relatively easy

 inquiry : Are the banned assault weapons and large-capacity magazines 'like ' 'M- 1 6 rifles, ' i.e.,

  'weapons that are most useful in military service,' and thus outside the ambit of the Second

 Amendment?" Id. at 1 3 6. The "line that Heller drew," the court stated, was "between weapons

 that are most useful in military service and those that are not." Id. at 1 37. The court then found

 that "[t]he answer to that dispositive and relatively easy inquiry is plainly in the affirmative." Id.




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 at 1 36. It held that "[w]hatever their other potential uses-including self-defense-    the AR- 1 5 ,

 other assault weapons, and large-capacity magazines prohibited . . . are unquestionably most

 useful in military service." Id. at 1 3 7. Turning to LCMs in particular, the court found that they

 "are particularly designed and most suitable for military and law enforcement applications"

 because of their "ability to reload rapidly," "hit multiple human targets very rapidly," and

 "deliver extraordinary firepower." Id. (citations omitted). Kolbe did not limit its analysis of

 LCMs as they are used in assault weapons-      to the contrary, it found that the "uniquely military

 feature[]" of LCMs ' rapid-fire capacity also applied to "other firearms to which they may be

 attached"-for example, the handguns that Plaintiffs in this case carry. Id. ; cf Friedman v. City

 ofHighland Park, Illinois, 784 F.3d 406, 409 (7th Cir. 20 1 5) ("We know . . . that semi-automatic

 guns with large-capacity magazines enable shooters to fire bullets faster than handguns equipped

 with smaller magazines.").

        Kolbe is no outlier. The en bane Ninth Circuit cited Kolbe approvingly for the

 proposition that "[large-capacity] magazines likely are 'most useful in military service, ' at least

 in an ordinary understanding of that phrase." Duncan, 1 9 F.4th at 1 1 02. The Ninth Circuit

 found that "[ e ]vidence supports the common-sense conclusion that the benefits of a large­

 capacity magazine are most helpful to a soldier: 'the use of large-capacity magazines results in

 more gunshots fired, results in more gunshot wounds per victim, and increases the lethality of

 gunshot injuries. "' Id. at 1 1 05. Duncan also cited two reports by the Bureau of Alcohol,

 Tobacco, Firearms and Explosives (a federal agency) which concluded that "large capacity

 magazines are indicative of military firearms," in part because they "provide[ ] the soldier with a

 fairly large ammunition supply" and that "detachable large capacity magazine[ s] [were]

 originally designed and produced for . . . military assault rifles." Id. at 1 1 05-06. See also Or.




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 Firearms Fed 'n, Inc. v. Brown, No. 22-cv-0 1 8 1 5 , 2022 WL 1 7454829, at * 1 0-1 1 (D. Or. Dec. 6,

 2022) (favorably citing Kolbe and Duncan en bane decisions and finding that evidentiary record

 showed that LCMs "are often used in law enforcement and military situations").

         If Kolbe and other courts are correct that LCMs are most useful in military service, one

 would expect to find support for this in history. Exactly so. The District's historical evidence in

 this case shows that LCMs' lethality was popular in military settings, and indeed many of them

 were designed specifically for military (and law enforcement) use. The District' s expert, Brian

 DeLay, who has a Ph.D. in history and has extensively studied the history of firearms and arms

 trades, found that in the United States, "high-capacity firearms went almost exclusively to

 military buyers through the early 1 870s and . . . very few were in the hands of private persons."

 Delay Deel. ,r 23, ECF No. 1 7-9. Mr. DeLay further concluded that "in the 1 860s and

  1 870s . . . [ d]etachable magazines were still decades away from practical success, and would be

 produced for militaries long before they made their way into civilian markets in meaningful

 quantities." Id. ,r 25 . This trend continued into the 20th century. See, e.g. , Pauly Deel. ,r 77,

 ECF No. 1 7-8 (expert with a Ph.D. in history explaining that the first Lugers, which were

 semiautomatic pistols with a pistol-grip magazine, "w[ere] adopted by the German army in

  1 908"); Paul M. Barrett, Glock: The Rise ofAmerica 's Gun 6-1 1 (20 1 2) (explaining that in

  1 980, Glock, the founder of the popular pistol many Americans own, designed a pistol for the

 Austrian military that could hold more than eight rounds); Jeff Kinard, Pistols: An Illustrated

 History of Their Impact 270-75 (2003) (explaining that Switzerland firm SIG developed the
             ,.

 SIG-Sauer P226 in 1 983 which could accept a 1 5-round magazine, and was used by the U.S.

 Navy SEALs as well as police and military organizations in Europe, and that the 1 989 SIG-Sauer

 P228 and P229, which contain 1 3 and 1 2 round-magazines, "earned universal reputations as




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 highly reliable and accurate weapons for military and police use"); Roth Deel. ,r 48, ECF No. 1 7-

  1 1 (observing that semi-automatic weapons with LCMs such as the M-1 6 rile "were designed for

 offensive military applications rather than individual self-defense" and "emerged from

 technologies developed for military use during the Cold War").

         Even Plaintiffs' experts seem to believe that LCMs are best suited for military and law

 enforcement use. See, e.g. , Murphy Deel. ,r 9, ECF No. 24-6 (acknowledgingf that "magazines
                                                                               '      :.I



 holding more than 1 0 rounds are most useful in the military or in a law enforcement context");

 Hamish Deel. ,r 7, ECF No. 24-7 ("The Beretta M9 [which has a 1 5-round magazine] was

 adopted by the United States Armed Forces as the official service pistol in 1 985 ."); id. ,r 9

 ("Pistols with the capacity to hold ten rounds, or more than ten rounds . . . [are] selected by law

 enforcement and military agencies in the United States for the practicality and performance they

 provide to the organization, but more importantly the capability they provide to the end user.").

 Thus, the Court concludes that LCMs are not covered by the Second Amendment because they

 are most useful in military service.

                        b. Whether LCMs Are in Fact Usedfor Self-Defense

         The District also argues that LCMs are not covered by the Second Amendment because

 they are not "in fact used for th[e] purpose" of self-defense. Defs . ' Opp 'n at 1 8 . As support, it

 relies on a study of the National Rifle Association' s (''NRA") "Armed Citizen Stories" website

 which concluded that law-abiding citizens on average fire only two bullets in self-defense

 situations and virtually never more than ten. Id. This study, which assessed data from the years

  1 997 - 200 1 , was actually conducted by one of Plaintiffs ' experts, Claude Werner. Mr. Wemer

 is a retired U.S. Army officer who has experience in competitive shooting, self-defense, and

 firearms instruction. Werner Deel. ,r,r 2-5 , 7, ECF No. 24-8. In his study, titled "Analysis
                                                                                          •.   of




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 Five Years of Armed Encounters (With Data Tables)," Mr. Werner explained that he reviewed a

 total of 482 reports in that time period from the NRA's database. See https://perma.cc/QTL 7-

 U8EM. Upon collecting and organizing the data from these reports, Mr. Werner concluded that

 the average number of shots a civilian fired in a self-defense incident in this time period was 2.2.

 Id.

         Courts and scholars alike have relied on the findings of this study, specifically the 2.2

 bullets per incident figure. See, e.g. , Robert J. Spitzer, Gun Accessories and the Second

 Amendment, 83 J. L. & Contemp. Probs. 33 1 , 244-45 (2020); Kolbe, 849 F.3d at 127 (en bane)

 ("[T]he State' s evidence substantiates 'that it is rare for a person, when using a firearm in self­

 defense, to fire more than ten rounds. ' Studies of 'armed citizen' stories collected by the

 National Rifle Association, covering 1 997-200 1 and 20 1 1 -20 1 3 , found that the average number

 of shots fired in self-defense was 2.2 and 2 . 1 , respectively." (citations omitted)); Duncan, 1 9

 F.4th at 1 1 05 (en bane) ("[T]he record here, as in other cases, does not disclose whether the

 added benefit of a large-capacity magazine-being able to fire more than ten bullets in rapid

 succession- has ever been realized in self-defense in the home." (emphasis in original)); cf

 Heller 11, 670 F.3d at 1 262 ("[T]he plaintiffs present hardly any evidence that . . . magazines

 holding more than ten rounds are well-suited to or preferred for the purpose of self-defense or

 sport.").

         Plaintiffs raise primarily two arguments in response. First, they try to back away from

 the findings of the 1 997 - 200 1 study that their own expert conducted. Mr. Werner claims that

 his 1 997 - 200 1 timeframe is "dated." Werner Deel. ,i 7, ECF No. 24-8. To the contrary, the 2.2

 figure has remained exceptionally stable over time. NERA Economic Consulting ("NERA"), a

 reputable economic consulting firm, reviewed 736 reports from the same NRA Armed Citizen




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 database in the 2011 - 201 7 period and concluded that the average number of shots a civilian

 fired in a self-defense incident in this time period was 2. 1 . See Amicus Brief at 1 9 & n. 70; Deel.

 of Lucy P. Allen ("Allen Deel.") ,r 8, Ass 'n ofNew Jersey Rifle & Pistol Clubs, Inc. v. Grewal,

 No. 3 : 1 8-cv- 1 0507, 20 1 8 WL 4688345 (D.N.J. Sept. 28, 201 8), ECF No. 3 1 -2. The NERA

 study tracked essentially the same metrics from the NRA Armed Citizen database over a more

 recent time period and arrived at a virtually identical data point. 7 Tellingly, one of Plaintiffs '

 other experts concedes that "the average amount o f rounds fired in self-defense i s usually less

 than 1 0, generally only two or three." Murphy Deel. ,r 8. 8

         Mr. Werner next argues that his study is flawed because it is heavily skewed toward

 "positive outcomes"- that is, successful self-defense incidents that are reported. Werner Deel.

 ,r 8; Ellifritz Deel. ,r,r 1 4-16, ECF No. 24-7 (same). Selection bias is no doubt a legitimate

  concern in any statistical inquiry . The problem for Plaintiffs is that Mr. Werner does not provide

 any studies, arguments, or even logic that remotely suggests that were the study able to properly

 capture negative outcomes, the average number of bullets fired in self-defense would somehow

 skyrocket to 1 1 or more bullets. The best Mr. Werner can say is that "[w]e don't know how may

  [bullets] have been fired in non-positive outcomes." Werner Deel. ,r 8. But if no one knows,

 how does this support the idea that LCMs are commonly used for self-defense?



         7
            In addition to studying the NRA Armed Citizen database from 20 1 1 - 201 7, NERA
 performed another study of self-defense (in the home only) in the 20 1 1 - 20 1 7 timeframe based
 on "comprehensive search of published news stories" online and concluded that the average
 number of shots fired per incident was 2.34-again, a substantially similar figure. See Allen
 Deel. ,r,r 12-17 (explaining methodology and findings).
         8
          The Complaint attempts to describe six self-defense incidents in the country that
 involved firing more than ten rounds. But amicus correctly points out that.five out of these
 incidents were "officer involved" shootings, Compl. ,r,r 28-33, and the sole example of civilian
 self-defense involved a "[f]amed Los Angeles watch shop owner," Compl. ,r 30- hardly
 representative of ordinary civilian self-defense incidents.


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         Finally, Mr. Werner points out that his study had "very little data as to the ammunition

 capacity of the citizen employed firearm." Id. ,r 9. He reasons
                                                           r     that although "a substantial

 number of citizen defenders would have used plus 1 0 magazines" in these incidents, "i[ f] we

 were doing the study today using current data, the percentage of citizens using plus 1 0 magazines

 would be even higher." Id. This argument actually undermines Plaintiffs' position. If civilians

 only fired a few bullets on average despite using an LCM-equipped firearm, it was not for a lack

 of ammunition. The data shows that they simply did not need the extra ammunition in the LCM

 for self-defense.

         Perhaps realizing that their own expert's study has backfired, Plaintiffs try a different

 tack: they claim that a law-abiding citizen nonetheless "uses" a LCM for self-defense even when

 he does not necessarily expend double-digit bullets in a self-defense incident. See Pls . ' Reply at

  1 3 ("If a citizen fires two rounds out of a 1 5 round magazine to save his life, he nevertheless uses

 the 1 5 round magazine for self-defense."). That is a creative argument, but the Court is

 unconvinced. The dictionary defines "use" as "[t]he application or employment of something;

 esp., a long-continued possession and employment of a thing/or the purpose for which it is

 adapted, as distinguished from a possession and employment that is merely temporary or

 occasional." Use, Black's Law Dictionary (1 1th ed. 20 1 9) (emphasis added); cf Voisine v.

  United States, 579 U.S. 686, 692 (20 1 6) ("Dictionaries consistently define the noun 'use' to

 mean the ' act of employing' something."). Here, LCMs are best suited for a military "purpose"

 and are poorly "adapted" for self-defense. As the Ninth Circuit en bane put it, civilians do not

 "use" LCMs for self-defense, because "the added benefit of a large-capacity magazine- being

 able to fire more than ten bullets in rapid succession- has [virtually n]ever been realized in self­

 defense." Duncan, 1 9 F.4th at 1 1 05 (en bane); see Allen Deel. ,r 1 0 ("Out of 736 incidents [in




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                                                                                         APP. 1 042
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 the Armed Citizen database between 20 1 1 - 20 1 7], there were two incidents (0.3% of all

 incidents), in which the defender was reported to have fired more than 1 0 bullets."); Or.

 Firearms Fed 'n, 2022 WL 1 7454829, at * 1 1 (finding record showed that "large-capacity

 magazines are rarely used by civilians for self-defense").

         Plaintiffs protest that the District's reasoning would allow it to 'justify a ban on all

 firearms able to fire more than two or three shots" because "on average, only 2.2 shots are fired

 by defenders." Pls. ' Reply at 1 3 . But no such ban exists anywhere in the country, and the Court

 doubts that the District will see this as an invitation to go down Plaintiffs' slippery slope. Recall

 that the studies show that two bullets is merely the average amount of bullets fired in self­

 defense situations; thus, a law that restricts magazine capacity to say, five or six bullets, might

 meaningfully hinder the common and lawful usage of magazines for self-defense. In any event,

 this is not a case that requires the Court to delineate the constitutional limits of a hyp othetical

 restriction. It suffices to say that the District's LCM ban, which limits magazine capacity to ten

 bullets, enables law-abiding people in D.C. to possess magazines with ample ammunition to

 defend themselves. 9

         In conclusion, the Court finds that the Second Amendment does not cover LCMs because

 they are not typically possessed for self-defense. LCMs fall outside of the Second Amendment's

 scope because they are most useful in military service and because they are not in fact commonly

 used for self-defense. Given that the District prevails at step one of Bruen ' s framework, the




         9
             The District's magazine capacity limit ( 10) also prevents civilians from maintaining
 greater firepower than law enforcement. Law enforcement in the District routinely carry 1 5- and
 1 7-round magazines. Parsons Deel. ,i,i 14- 1 6, ECF No. 1 7-7. The District's LCM ban keeps the
 advantage police have over armed civilians who may be suspects or engaged in criminal activity.
 Id. ,i,i 1 7-1 8 .


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 Court finds that D.C. ' s LCM ban is constitutional. Nonetheless, to round out the analysis, the

 Court will consider Bruen ' s second step in the alternative.




                              •
     B. Whether the Ban Is Consistent with this Nation's Tradition of Firearm Regulation




                                                             V
         Even were LCMs covered by the scope of the Second Amendment, the Court finds that

 D.C. 's ban is constitutional for the independent reason that the District has shown that it is

 consistent with this country' s historical tradition of firearm regulation. "Like all analogical

 reasoning, determining whether a historical regulation is a proper analogue for a distinctly

 modem firearm regulation requires a determination of whether the two regulations are

  'relevantly similar. "' Bruen, 1 42 S . Ct. at 2 1 32. Bruen provides two "metrics" for conducting

 this analysis: "how and why the regulations burden a law-abiding citizen' s right to armed self­
                                    -




 defense." Id. at 2 1 32-3 3 . "Therefore, whether modem and historical regulations impose a

 comparable burden on the right of armed self-defense and whether that burden is comparably

 justified are ' central' considerations when engaging in an analogical inquiry ." Id. at 2 1 33

 (emphasis in original).

         Although the burden is on the government to identify a historical analogue, Bruen
                                        l




 stressed that this is not an impossible standard. See Bruen, 142 S. Ct. at 2 1 62 (Kavanaugh, J.,

 concurring) ("Properly interpreted, the Second Amendment allows a 'variety' of gun

 regulations."). Bruen acknowledged that in today's world, centuries after the ratification of the
                                                                       .




 Second Amendment, it is not unusual to see "modem regulations that were unimaginable at the

 founding." Id. at 2 1 32. Thus, "cases implicating unprecedented societal concerns or dramatic

 technological changes" require "nuanced" consideration. Id. at 2 1 3 1-32. For that reason,

 analogical reasoning is not "a regulatory straightjacket": it "requires only that the government

 identify a well-established and representative historical analogue, not a historical twin." Id. at
                                      .




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 2 1 33 (emphases in original). "So even if a modern-day regulation is not a dead ringer for

 historical precursors, it still may be analogous enough to pass constitutional muster." Id. After

 all, "the Constitution, can, and must, apply to circumstances beyond those the Founders

 specifically anticipated." Id. at 2 1 32; see id. (quoting McCulloch v. Maryland, 4 Wheat. 3 1 6,

 4 1 5 (1 8 1 9), for the principle that the Second Amendment
                                                      ..      was "intended . . . to be adapted to the

 various crises of human affairs").

                      1 . Whether a Nuanced Approach to History Applies Here

        Although D.C . ' s LCM ban has yet to be tested under step two of Bruen ' s framework, the

 Court is not the first in the country to apply Bruen to this kind of regulation. In Oregon

 Firearms Federation,
             ,.       a federal district court employed Bruen 's test to a substantially similar

 challenge to Oregon' s LCM ban. 2022 WL 1 7454829 (D. Or. Dec. 6, 2022). That case analyzed

 the constitutionality of Measure 1 1 4, a ballot initiative passed by Oregon voters in November

 2022 which outlawed the use and sales of LCMs. Id. at *2. The ballot measure provided limited

 exceptions, such as allowing existing owners of LCMs to continue to use them on their property

 or for recreation, and giving firearms manufacturers a 1 80-day grace period to fulfill existing

 contracts to out-of-state buyers. Id. at *4. The plaintiffs, gun owners and users of LCMs,
        -·
 brought suit and sought a temporary restraining order "aimed primarily" at the LCM ban. Id. at

 *5 . The court first held that under Bruen, LCMs are not covered by the Second Amendment. Id.

 at * 8-1 1 . Then, "[ a]ssuming for the sake of argument that the Second Amendment' s plain text

 covers large-capacity magazines," the court "next consider[ed] whether Measure 1 14 is

 consistent with the Nation' s historical tradition of firearm regulation." Id. at * 12.

         Oregon Firearms Federation answered this second question in the affirmative. The court

 observed that LCMs are "a dramatic change in firearms technology" because although some




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 multi-shot firearms existed before the Founding era, they were "experimental, designed for

 military use, rare, defective, or some combination of these features," and the evidence showed

 that "semi-automatic weapons did not become 'feasible and available' until the beginning of the

 twentieth century." Id. at * 12 & n. 1 7. The court also found that "large-capacity magazines

 implicate unprecedented societal concerns" because of their frequent use in recent mass

 shootings. Id. at * 1 3 . Turning to historical analogues, Oregon Firearms Federation observed

 that "in the 1 800s, states often regulated certain types of weapon, such as Bowie knives, blunt

 weapons, slungshots, and trap guns because they were dangerous weapons commonly used for

 criminal behavior and not for self-defense." Id. The court also found a historical tradition of

 banning private military organizations as evidence that "demonstrates the government's concern

 with the danger associated with assembling the amount of firepower capable of threatening

 public safety- which, given firearm technology in the 1 800s, could only arise collectively." Id.

 at * 1 4. The court found that Oregon's LCM ban was "comparably
                                                          ,      justified" with these historical

 regulations because just as the historical regulations were rooted in public safety concerns, the

 LCM ban "consider[ ed] the public safety concerns of today" in "the rise in mass shooting

 incidents and the connection between mass shooting incidents and large-capacity magazines."

 Id. And Oregon's ban placed
                        ,    a "comparable burden" as the historical regulations on the right to
                             .
 self-defense: the burden was "minimal," the court explained, because "in over seven hundred

 self-defense incidents, less than one half of a percent involved more than ten shots." Id.

        In this case, the District's evidence also shows that LCMs are the object of "dramatic

 technological changes" and implicate "unprecedented societal concerns," and thus its ban

 requires "nuanced" consideration. Bruen, 142 S. Ct. at 2 1 32. First, with respect to the

 technological pedigree of LCMs, Mr. DeLay explained that while "firearms with ammunition




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                                                                                      APP. 1 046
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 capacity in excess of 1 0 rounds date back to the 1 5 00s," "such weapons amounted to little more

 than experimental curiosities" and that "[ mJost never advanced beyond proof of concept."

 DeLay Deel. ,i 7. The airgun, "the only high-capacity weapons from the [founding] period that

 enjoyed even experimental military use" was "so rare that owners could charge people to see

 them." Id. ,i,i 1 4-16; see "To the Curious," The Weekly Museum (New York, NY), Feb. 1 1 , 1 792

 (Ex. B to DeLay Deel.). Based on his twelve years of studying the arms trade in the Founding

 era, Mr. DeLay found zero "evidence in primary sources that large-capacity firearms were

 anything other than exotic curios in this era." Id. ,i 19 ; cf Sweeney Deel. ,i,i 1 5 , 3 1 , ECF No. 1 7-

  1 5 (expert with Ph.D. in history observing that review of 1 , 1 70 newspaper ads and reports in the

  1 8th century shows that "repeating firearms in eighteenth-century America" "were

 extraordinarily rare"); Friedman, 784 F.3d at 4 1 0 (observing that assault weapons and LCMs,

 which city ordinance banned, "were not common in 1 79 1 " and that "[ s ]emi-automatic guns and

 large-capacity
          ,     magazines are more recent developments"). Against this backdrop, statements

 such as "magazines of more than ten rounds are older than the United States" are misleading and

 grossly exaggerate the state of affairs at the Founding. See David Kopel, The History ofFirearm

 Magazines and Magazine Prohibitions, 78 Alb. L. Rev. 849, 85 1 (20 15) (hereinafter "Kopel");

 Pls. ' Mot. at 1 4- 1 5 (relying on Mr. Kopel' s "heavy lifting" research). Even some of Plaintiffs'

 experts concede this point. See, e.g. , Helsley Deel. ,i 8, ECF No. 24-2 (acknowledging that

 multi-shot weapons like the Giradoni air rifle were "complex, likely unreliable, and fragile" and

 only "a window into the future"); Hlebinsky Deel. ,i 23, ECF No. 24-3 (acknowledging it is

 "typical" to find "one-off examples" of multi-shot weapons at the Founding era).

         High-capacity firearms became more common in military settings in the second half of

 the 1 9th century, but they were still rare. DeLay Deel. ,i 22. The "Henry" rifle in 1 860 could




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 fire sixteen rounds without reloading, and the "Winchester Model 1 866" also became an iconic

 high-capacity rifle. Id. But these "high-capacity firearms went almost exclusively to military

 buyers through the early 1 870s," and "constituted less than 0.2% of all firearms in the United

  States in the late 1 860s and early 1 870s." Id. ,i,i 23-24 (describing production numbers); see

 also Pauly Deel. ,i 62 ("Henry rifles were developed by the start of the American Civil War but

 were quite expensive-exorbitantly priced for regular rank-and-file troops-and did not see

 much combat. By the end of the hostilities, the War Department had only officially bought

  1 ,73 1 of the guns."). Moreover, these rifles did not resemble the semiautomatic weapons of

 today: they had fixed magazines, and "[u]sers of these 'lever-action' weapons were still required

 to pull a lever between shots, slowing the firing rate to about one shot every three seconds."

 Defs. ' Opp 'n at 23 (citing Pauly Deel. ,i 61); see Rivas Dec. ,i,i 29-30, ECF No. 1 7-12 (same,

 from expert with Ph.D. in history). Only near the "turn of the [20th] century" were "[t]he

 semiautomatic firearm and its detachable box magazine . . . invented." Kopel at 857; see Rivas

 Deel. ,i 29 ("The semi-automatic weapons with which twenty-first century Americans associate

 large capacity magazines were either not in existence or not manufactured in large numbers until

 the twentieth century."). 10 It would take yet even more time for these inventions to "improve[]

 and become more affordable." Pls. ' Reply at 1 1 (citing Kopel at 857-64, which describes

 firearms in the 20th century). "[T]he first handheld firearm that both (a) had a detachable



         10
              Mr. Kopel nevertheless claims that weapons such as the multi-shot flintlock rifle,
 "Pepperbox" pistols, Colt multi-shot revolver, and 1 873 Winchester rifle were common in the
 1 800s. Kopel at 853-57. In view of the record, the Court joins Oregon Firearms Federation in
 concluding that "those firearms were experimental, designed for military use, rare, defective, or
 some combination of these features." 2022 WL 1 7454829 at 12 & n. 17 ; see also Amicus Brief
 at 1 2- 1 5 (analyzing firearms Plaintiffs identified in this era and concluding that "no firearm
 capable of firing more than ten rounds without reloading achieved widespread commercial
 success prior to ratification of the Fourteenth Amendment" (emphasis omitted)).


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 magazine holding more than ten rounds and (b) was commercially available to civilians in the

 United States was the Thompson submachine gun, introduced to the market in the 1 920s."

 DeLay Deel. ,i 25; see also Kopel at 85 1 ("Handgun magazines of more than ten rounds would

 become popular in the 1 930s."). As this history shows, LCMs reflect "dramatic technological

 changes" in comparison to the weapons of the Founding era. Bruen, 142 S. Ct. at 2 1 32.

        Second, the record also shows that LCMs implicate "unprecedented societal concerns."

 Id. The District claims that "[t]he proliferation of modern semiautomatic arms, coupled with the

 availability of LCMs, directly correlates with the contemporary problem of mass shootings in

 America today." Defs . ' Opp'n at 26. The District' s expert, Randolph Roth, has a Ph.D. in

 history and has spent decades studying homicide and mass violence data. Roth Deel. ,i,i 9-10 .

 H e found that "the development of semiautomatic rifles and handguns dramatically increased the

 number killed and wounded in mass shootings from 1 966 to the present." Id. ,i 53. 1 1 Mr. Roth

 claims that "with extended magazines, semiautomatic rifles [in this period] cause an average of

 299 percent more deaths and injuries than regular firearms, and semiautomatic handguns 1 84

 percent more than regular firearms." Id. ,i 55. He concluded that "[i]n combination,

 semiautomatic firearms and extended magazines are extraordinarily lethal." Id. ; see also Amicus

 Brief at 1 7 ("[A]s of July 2020, LCMs were used in the ten deadliest mass shootings of the prior

 decade, and mass shootings from 1 990 to 20 1 7 involving LCMs resulted in a 62 percent higher



        11
            Mr. Roth defined "mass shooting" as "a multiple homicide incident in which four or
 more victims are murdered with firearms not including the offender(s) within one event, and at
 least some of the murders occurred in a public location or locations in close geographical
 proximity (e.g., a workplace, school, restaurant, or other public settings), and the murders are not
 attributable to any other underlying criminal activity or commonplace circumstance (armed
 robbery, criminal competition, insurance fraud, argument, or romantic triangle)." Id. ,i 53 n. 1 03 .
 This i s similar, although not identical, to the FBI' s definition o f "mass murder." Cramer Deel. ,i
 3 n. 1 , ECF No. 24- 14.


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                                                                                       APP. 1 049
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 death toll compared to those that did not involve an LCM."); Or. Firearms Fed 'n, 2022 WL

  1 7454829, at * 1 3 ("Every mass shooting since 2004 resulting in fourteen or more deaths

 involved large-capacity magazines with ten or more bullets."); Worman, 922 F.3d at 39

 (observing that semiautomatic rifles "equipped with LCMs have been the weapons of choice in

 many of the deadliest mass shootings in recent history"); Duncan, 1 9 F.4th at 1 096 (en bane)

 ("About three-quarters of mass shooters possess their weapons and large-capacity magazines

 lawfully. In the past half-century, large-capacity magazines have been used in about three­

 quarters of gun massacres with 1 0 or more deaths and in 1 00 percent of gun massacres with 20 or

 more deaths, and more than twice as many people have been killed or injured in mass shootings

 that involved a large-capacity magazine as compared with mass shootings that involved a

 smaller-capacity magazine."); NYSRPA, 804 F.3d at 263-64 ("Large-capacity magazines are

 disproportionately used in mass shootings, like the one in Newtown, in which the shooter used

 multiple large-capacity magazines to fire 1 54 rounds in less than five minutes. Like assault

 weapons, large-capacity magazines result in 'more shots fired, persons wounded, and wounds

 per victim than do other gun attacks ' "). 12

         Small wonder that in recent years, numerous state legislatures-at least nine so far-    have

 banned LCMs. See ANJRPC, 9 1 0 F.3d at 1 1 0 & n. 1 (citing regulations and observing that they

 responded to the fact that "[a]ctive shooting and mass shooting incidents have dramatically


         12
           Plaintiffs' expert, Clayton Cramer, claims that "individual mass murder" is not
 "particularly modern" and gives examples of mass murders committed by axes or by drowning in
 prior centuries. Cramer Deel. ,r,r 1 9, 23 . But this is consistent with the District' s claim that
 individual mass shootings and the lethality associated with LCMs are a uniquely contemporary
 problem. Furthermore, Plaintiffs' expert Gary Kleck concedes that "mass shooters who used
 LCMs inflicted more casualties than those who did not." Kleck Deel. ,r 17 , ECF No. 24- 1 5 .
 Although Mr. Kleck challenges any inference of causality, the Court need not resolve that debate
 here. That this is a hotly contested issue only reinforces the fact that LCMs are the subject of
 unprecedented societal concerns today.


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 increased during recent years," and that "[i]n addition to becoming more frequent, these

 shootings have also become more lethal"); see also, e.g. , Kolbe, 849 F.3d at 120 (en bane) ("In

 response to Newtown and other mass shootings, the duly elected members of the General

 Assembly of Maryland saw fit to enact the State' s Firearm Safety Act of 20 1 3 (the "FSA"),

 which bans the AR- 1 5 and other military-style rifles and shotguns (referred to as "assault

 weapons") and detachable large-capacity magazines."); Duncan, 1 9 F.4th at 1 095 (en bane) ("In

 response to mass shootings throughout the nation and in California, the California legislature

 enacted Senate Bill 1 446, and California voters adopted Proposition 63 .").

        Because LCMs implicate "unprecedented societal concerns" and are the obj ect of

 "dramatic technological changes," the Court's analysis of historical analogues to modern LCM

 bans requires "nuanced" consideration. Bruen, 142 S. Ct. at 2 1 32. In what follows, the Court

 examines one such historical analogue that the District has proffered: numerous states' high­

 capacity weapon bans during the Prohibition Era.

                   2. Whether Prohibition-Era Bans Are Historically Analogous

         "Regulations concerning removable magazines and magazine capacity were in fact

 common as early as the 1 920s . . . these regulations were adopted by nearly half of all states,

 representing approximately 58% of the American population at that time." Spitzer Deel. ,r 22,

 ECF No. 1 7- 1 0 (expert with Ph.D. in government); Tbl. 1 to Spitzer Deel. (listing states). These

 regulations largely banned the mere possession of a gun that was capable of holding a certain

 number of rounds without reloading. Plaintiffs attempt to dismiss these regulations as

 "restrictions on machine guns," and claim that what makes a machine gun worthy of regulation is

 "its ability to fire automatically, not [its ability to] accept detachable magazines of more than 1 0

 rounds." Pls . ' Reply at 2 5 & n. 1 7. But it is wrong to characterize these laws as only regulating




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 automatic weapons and their magazine capacity. At least five states in this era, plus the District

 of Columbia, defined "machine gun" in their statutes to include semi-automatic weapons capable

 of shooting a certain number of bullets without reloading. See Act of July 8, 1 932, ch. 465, § § 1 ,

 8 , 47 Stat. 650, 650, 652 (District of Columbia); 1 927 Mass. Acts 4 1 3 , 4 1 3- 1 4 (Massachusetts);

 Act of Apr. 1 0, 1 933, ch. 1 90, 1 933 Minn. Laws 23 1 , 232 (Minnesota); Act of Apr. 8, 1 933, no.

 64, 1 933 Ohio Laws 1 89, 1 89 (Ohio); 1 927 R.I. Pub. Laws 256, 256 (Rhode Island); Act of Mar.

 7, 1 934, ch. 96, 1 934 Va. Acts 1 37, 1 37 (Virginia). 13 Indeed, D.C . ' s ban- which Congress

 passed- was modeled heavily after the Uniform Act, "a model law" that the National Rifle

 Association endorsed. Spitzer Deel. ,r,r 12-1 3 ; compare Act of July 8, 1 932, ch. 465 , § § 1 , 8, 47

 Stat. 650, 650, 652, with Report of Firearms Committee, Handbook of the National Conference

 on Uniform State Laws and Proceedings of the Thirty-Eighth Annual Meeting ( 1 928) (attached

 as Ex. P to Defs . ' Opp'n). The D.C. statute defined "machine gun" as "any firearm which shoots

 automatically or semiautomatically more than twelve shots without reloading," and it prohibited

 the possession of any machine gun within D.C. See Act of July 8, 1 932, ch. 465 , § § 1 , 8, 47 Stat.

 650, 650, 654 (emphasis added). As these regulations demonstrate, "[r]estrictions on fully

 automatic and semi-automatic firearms were closely tied to restrictions on ammunition

 magazines or their equivalent." Spitzer Deel. ,r 1 9. Like fully automatic weapons, semi­

 automatic weapons "utilize the same fundamental firearms technology: an action that




         13
            These statutes are reproduced in Appendix 3 to the Spitzer Deel. In addition to these
 six jurisdictions, Michigan banned the possession of "any firearm which can be fired more than
 sixteen times without reloading" without specifying whether such a firearm was considered a
 machine gun. Act of June 2, 1 927, no. 372, 1 927 Mich. Pub. Acts 887, 888; Mich. Pub. Acts
 1 929, Act No. 206, Sec. 3 , Comp. Laws 1 929.
         These seven jurisdictions capped capacity as follows: D.C. ( 12); Massachusetts (any);
 Michigan ( 1 6); Minnesota (12); Ohio ( 1 8); Rhode Island ( 12); Virginia ( 1 6). See App'x 3 to
 Spitzer Deel.

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 automatically loads a new round into the chamber after each shot is fired . . . and is capable of

 firing numerous rounds without reloading." Id. ,r 17 . By defining "machine gun" broadly, these

 regulations revealed a widespread tradition dating back to the 1 920s and 1 930s of regulating

 high-capacity weapons that could fire rapidly without reloading.

        These Prohibition-era bans closely resemble D.C. ' s ban today. It is therefore no surprise

 that the "how" and "why" of D.C.'s LCM ban is analogous to that of the Prohibition-era

 regulations. Consider the "how," or the "comparable burden," first. Bruen, 1 42 S. Ct. at 2 1 3 3 .

 The District' s LCM ban i s similar to the Prohibition-era regulations in that the burden it places

 on an individual' s right of self-defense is relatively light. Recall that studies show that an

 individual expends on average two bullets in a self-defense incident where she fires
                                                                                    , her weapon.

 See supra at subsection IV.A.2.b. Similar to the regulations from a century ago, the District' s

 ban does not prohibit individuals from obtaining magazines with capacities o f ten or less rounds.

 Magazines with capacities of ten or less are plentiful. Cf Fyock v. City of Sunnyvale, 25 F.

 Supp. 3d 1 267, 1 275 (N.D. Cal. 2014) (citing evidence that LCMs make up minority of all

 magazines owned). And it appears that these smaller-capacity magazines can readily replace an

 LCM in a firearm: every Plaintiff in this case admits that the firearms he currently carries­

 "even those for which the standard magazine is an LCM"- "are all equipped with magazines

 that are not LCMs." Defs. ' Opp 'n at 12 (citing Plaintiffs' declarations and Ex. A, Pls. ' Answers

 to Interrogs. at 7-1 0). Furthermore, like the regulations from a century ago, D.C. law does not

 prohibit an individual from possessing multiple guns, or multiple magazines. Thus, the burden

 that the District' s ban imposes on ordinary individuals is commensurate to that of the

 Prohibition-era regulations, and not at all onerous.




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        Similarly, with respect to the "why," D.C . ' s LCM ban is "comparably justified" with the

 Prohibition-era regulations. The Prohibition era witnessed the growth of gangster and criminal

 organizations who availed themselves of the enhanced firing capacity of these new technologies.

 Spitzer Deel. ,i,i 12- 1 8 . In response, numerous states enacted sweeping bans on high-capacity

 semi-automatic and automatic weapons during this era that applied to all individuals, not just a

 certain subset of the population such as gangsters or criminals. Id. This shows that the states

 confronted the public safety issues of their time with vigor; indeed, these regulations were at the

 time "obviously uncontroversial" from a constitutional perspective. Robert J. Spitzer, Gun Law

 History in the United States and Second Amendment Rights, 80 L. & Contemp. Probs. 55, 69

 (20 1 7) (hereinafter "Spitzer, Gun Law History"). Likewise, the District's ban seeks to promote

 public safety by limiting the number of rounds in one magazine that an individual may lawfully

 carry for self-defense in an attempt to mitigate the carnage of mass shootings in this country. 14

 Just as states and the District enacted sweeping laws restricting possession of high-capacity

 weapons in an attempt to reduce violence during the Prohibition era, so can the District now. See

 supra subsection IV.B . 1 (describing mass shootings with LCMs as an "unprecedented societal

 concern").

        Plaintiffs raise three main counterarguments to this analysis, but none is persuasive.

 First, Plaintiffs argue that under Bruen, "20th century laws do not establish a historical

 tradition." Pls. ' Reply at 26. But Bruen said no such thing. Bruen merely stated that "when it

 comes to interpreting the Constitution, not all history is created equal." 1 42 S. Ct. at 2 1 36.

 Because "[ c]onstitutional rights are enshrined with the scope they were understood to have when



         14
           Whether LCM bans empirically increase public safety is again not an issue for the
 Court to resolve. These policy decisions are appropriate for the legislature to consider.


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 the people adopted them," the years leading up to 1 79 1 (the adoption of the Second Amendment)

 and 1 868 (the adoption of the Fourteenth Amendment) are particularly important touchstones of

 constitutional meaning. Id. at 2 1 36 (emphasis omitted; citation omitted). Outside these

 windows, "post-ratification adoption or acceptance of laws" are insignificant to the extent that

 they are "inconsistent with the original meaning of the constitutional text." Id. at 2 1 37

 (emphasis added) (cleaned up). Thus, in Bruen, the Supreme Court paid little heed to 1 9th and

 20th-century evidence because "it contradict[ ed] earlier evidence" in that case. Id. at 2 1 54 &

 n.28. That result, however, is not a directive to discard 20th century history in every case. Bruen

 left open the possibility that in an appropriate case, 20th century history that is not contradicted

 by earlier evidence can illuminate a modem-day regulation's constitutional vitality. Cf Bruen,

  1 42 S. Ct. at 2 1 36 (citing James Madison for the interpretive principle that "'a regular course of

 practice' can ' liquidate & settle the meaning of disputed or indeterminate 'terms & phrases ' in

 the Constitution" (citation omitted)). The 20th century, after all, began over a hundred years

 ago, and that is no inconsequential length of time. Cf Heller II, 670 F.3d at 1253 ("Heller tells

 us ' longstanding' regulations are 'presumptively lawful. "' (citation omitted)).

         In this case, it is appropriate to apply 20th century history to the regulation at issue. The

 historical tradition of high-capacity regulations in the 1 920s and 1 930s-   over a hundred years

 ago-does not contradict any earlier evidence, and it supports the constitutionality of the

 District' s LCM ban. To reiterate, Bruen had no occasion to consider 20th century history

 because while "handguns . . . had gained a fairly secure footing in English culture" leading up to

 the Founding era, there was no evidence that public carry was limited "only to those who

 demonstrate some special need for self-protection" like New York's proper cause regime. 142 S .

 Ct. at 2 1 42. Bruen then ventured into the 1 8th century, where it found that "the history reveals a




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 consensus that States could not ban public carry altogether." Id. at 2 1 46 (emphasis in original).

 By contrast, in this case, the 1 920s and 1 930s
                                              .. regulations do not contradict any earlier evidence.

 That is so because semiautomatic and high-capacity weapons were not technologically feasible

 and commercially available in meaningful quantities until the early 1 900s. See supra subsection

 IV.B . 1 ; Amicus Brief at 1 6 ("[C]rucially, when multi-shot firearms did begin to gain widespread

 civilian use, states across the country passed laws limiting access to these weapons." (emphasis

 omitted)). Unlike the handguns at issue in Bruen, the weapons here did not gain a "secure

 footing" in American society prior to the 1 900s. 142 S. Ct. at 2 1 42. Accordingly, they did not

 pose "a general societal problem that has persisted since the 1 8th century," and it would make no

 sense to divine constitutional significance from non-existent legislation concerning non-existent

 problems. Id. at 2 1 3 1 . States do not "regulate for problems that do not exist"; instead, they

 "adopt laws to address the problems that confront them." McCullen v. Coakley, 573 U.S. 464,

 48 1 (20 1 4); see also McGrain v. Daugherty, 273 U. S. 1 3 5 , 1 75 ( 1 927) ("A legislative body

 cannot legislate wisely or effectively in the absence of information respecting the conditions

 which the legislation is intended to affect or change[.]").

         To flesh this principle out a little more, consider personal jetpacks, an "expensive and

 experimental curiosity" that are umegulated today despite the obvious safety issues and dangers

 they pose. DeLay Deel. ,i 2 1 . "A future historian (or jurist) discovering evidence that a patent

 was taken out on a jetpack design as early as 1 9 1 9 (it was); that militaries remained intrigued by

 the technology throughout the century (indeed, they still are); and that the jetpack commanded

 enduring popular interest, could conclude that the absence of public regulation reflected an

   .
 ideological
   ,         disposition against regulating jetpacks. But the simpler and more accurate

 explanation would be that jetpacks remained too rare to attract regulatory attention in 2022." Id.




                                                   37
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        Second, Plaintiffs attempt to dismiss the Prohibition-era regulations as "irrelevant

 outliers." Pls . ' Reply at 25. But unlike "only three restrictions on public carry" that the

 government could produce in Bruen, which the Supreme Court "doubt[ ed] . . . could suffice to

 show a tradition of public-carry regulation," 142 S. Ct. at 2 1 42, the District here has pointed to

 no less than six states plus D. C. that regulated semi-automatic and automatic weapons based on

 their high firing capacity. See supra subsection IV.B .2. 1 5 Of particular significance, the D.C.

 law that the Court has discussed above was passed by Congress (a nationwide body) and drew

 heavily from the Uniform Act (a model law). Like D.C., Massachusetts, Michigan, Minnesota,

 and Rhode Island all banned mere possession. See Act of July 8, 1 932, ch. 465, § § 1 , 8, 47 Stat.

 650, 650, 652; 1 927 Mass. Acts 4 1 3 , 4 1 3-14; Act of June 2, 1 927, no. 372, 1 927 Mich. Pub. Acts

 887, 888; Mich. Pub. Acts 1 929, Act No. 206, Sec. 3, Comp. Laws 1 929; Act of Apr. 1 0, 1 933,

 ch. 1 90, 1 933 Minn. Laws 23 1 , 232; 1 927 R.I. Pub. Laws 256, 256. Plaintiffs try to distinguish

 the Ohio and Virginia laws as outliers because the former permitted licensed carry and the latter

 permitted defensive uses of these weapons. Pls. ' Reply at 26. But Ohio 's licensing law in 1 933

 required one to post $5 ,000 bond- today's equivalent of over $ 1 1 5,000-effectively

 "prevent[ing] law-abiding citizens with ordinary self-defense needs from carrying" these

 weapons. Bruen, 1 42 S. Ct. at 2 1 50. 16 As for Virginia, although it prohibited possession of a

 machine gun only "for offensive and aggressive purpose," it ''presumed'' this purpose whenever

 the weapon was possessed outside the home. Act of Mar. 7, 1 934, ch. 96, 1 934 Va. Acts 1 37,



         15
           Actually, that number could be potentially as high as ten jurisdictions, if one reads
 three ambiguous state statutes in favor of the District. See Spitzer, Gun Law History at 69
 (describing statutory ambiguity in machine gun bans from Illinois, Louisiana, and South
 Carolina).
         16
           See U.S. Bureau of Labor Statistics, CPI Inflation Calculator, at
 https://www.bls.gov/data/inflation_calculator.htrn (last visited April 20, 2023).


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  1 3 7 (emphasis added). In short, Plaintiffs cannot avoid the conclusion that there is a historical

 tradition of severe restrictions, if not outright bans, on these high-capacity weapons.
                                                                                  ,.

 Accordingly, the District's law is at the very least "analogous enough to pass constitutional

 muster." Bruen, 1 42 S . Ct. at 2 1 3 3 .

         Third, Plaintiffs argue that the subsequent repeal o f some o f these state regulations

 undercuts the District's reliance on this history. Pls . ' Reply at 26. But Plaintiffs do not explain

 why the decision of some states to "devise solutions to social problems that suit local needs and

 values" is anything more than permissible "experimentation with reasonable firearms

 regulations . . . under the Second Amendment." McDonald v. City of Chicago, 5 6 1 U.S. 742,

 785 (20 1 0). Take Rhode Island, for example. Although it eventually repealed its 1 927 statute

 banning possession of machine guns (defined, by the way, to include "any weapon which shoots

 more than twelve shots semiautomatically without reloading"), Rhode Island changed course in

 2022 "[i]n the wake of recent mass shootings" and amended its law to "specifically ban LCMs,"

 Ocean State Tactical, 2022 WL 1 772 1 1 75 , at *4. And other jurisdictions, like D.C., made

 modifications to its law without ever repealing it. See Kopel at 874 ("The District of Columbia

 ban, with modifications, is still in effect."). The Second Amendment gives states space to
                              ..
 experiment, and that is what Rhode Island and D.C. have done. Bruen did contemplate that state

 regulations that were "rejected on constitutional grounds" can
                                                             , "provide some probative evidence

 of [a similar modem regulation's] unconstitutionality." 1 42 S. Ct. at 2 1 3 1 . But Plaintiffs have

 not suggested that any repeal was related to constitutional infirmity. The Court has conducted

 independent research on this question and did not find anything suggesting this was the reason,




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                                                                                         APP. 1 058
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 either. Thus, the Court is satisfied that the District has met its burden to produce a historical

 analogue justifying its LCM ban. 1 7

                                         V. CONCLUSION

        For the foregoing reasons, Plaintiffs' Motion for a Preliminary Injunction (ECF No. 8) is

 denied. An order consistent with this Memorandum Opinion is separately and

 contemporaneously issued.


 Dated: April 20, 2023                                               RUDOLPH CONTRERAS
                                                                     United States District Judge




        17
           The parties also dispute whether other potential historical analogues that the District
 introduced are relevantly similar to the ban at issue here. These include regulations on
 gunpowder, trap guns, and dangerous weapons such as Bowie knives. Defs. ' Opp'n at 28-32,
 35-39. Because the Court holds that the District has adequately identified a historical analogue
 in the Prohibition-era regulations, it has no occasion to consider additional examples.


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                            UNITED ST ATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  ANDREW HANSON, et al. ,

         Plaintiffs,
                                                  Civil Action No. 1 :22-cv-2256-RC
         v.

  DISTRICT OF COLUMBIA, et al.,

         Defendants.


              JOINT MOTION TO STAY PROCEEDINGS PENDING APPEAL

        The Parties jointly move to stay proceedings pending Plaintiffs ' appeal of the Court's

 denial of Plaintiffs' motion for a preliminary injunction. As discussed in the accompanying

 memorandum of points and authorities, a stay is warranted because it will preserve the Parties'

 resources, promote judicial efficiency, and no party will be prejudiced. A proposed order is

 attached.


 Dated: May 3, 2023 .                                 Respectfully Submitted,

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                                                                                     APP. 1 060
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                               UNITED ST ATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  ANDREW HANSON, et al. ,

            Plaintiffs,
                                                     Civil Action No. 1 :22-cv-2256-RC
            v.

  DISTRICT OF COLUMBIA, et al.,

            Defendants.


              JOINT MEMORANDUM OF POINTS AND AUTHORITIES
        IN SUPPORT OF MOTION TO STAY PROCEEDINGS PENDING APPEAL

           The Parties seek to stay proceedings while Plaintiffs appeal this Court's denial of

 Plaintiffs' motion for a preliminary injunction. Granting a stay will preserve the status quo while

 the D.C. Circuit decides legal issues that may alter the course of this litigation. Balancing the

 interests here demonstrates that a stay of proceedings would preserve the Parties ' resources and

 promote judicial economy. Accordingly, the Court should grant a stay of proceedings pending

 appeal.

                                           BACKGROUND

           On August 3 , 2022, Plaintiffs filed the Complaint, alleging that D.C. Code § 7-

 2506.01 (b) violates the Second and Fifth Amendments of the Constitution. See Complaint at 22.

 On August 1 9, 2022, Plaintiffs filed an application for a preliminary injunction. Application for

 Preliminary Injunction [8] . After that application was fully briefed, the Court held oral argument

 on April 1 3 , 2023 . On April 20, 2023, the Court issued a memorandum opinion and order

 denying Plaintiffs' application for a preliminary injunction. Order Denying Plaintiffs' Motion




                                                                                        APP. 1 062
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 for a Preliminary Injunction [27] ; Memorandum Opinion Denying Plaintiff s Motion for a

 Preliminary Injunction [28]. Plaintiffs intend to appeal this Court's decision.

                                       LEGAL STANDARD

        A court has inherent, discretionary power to stay a case to control its own docket. Landis

 v. North American Co. , 299 U.S. 248, 254 (1 936). "In 'the exercise of its judgment,' the Court

 must 'weigh competing interests and maintain an even balance' between the court's interests in

 judicial economy and any possible hardship to the parties." Ctr. v. Biological Diversity v. Ross,

 4 1 9 F. Supp. 3d 1 6, 20 (D.D.C. 20 1 9) (quoting Belize Soc. Dev. Ltd. v. Gov 't ofBelize, 668 F.3d

 724, 732-33 (D.C. Cir. 20 12) (alterations omitted)). Courts may also consider the public interest

 in considering whether to grant a stay. See Feld Entm 't, Inc. v. ASPCA, 523 F. Supp. 2d 1 , 5

 (D.D.C. 2007). Courts identifying and weighing competing interests must "make such

 determinations in the light of the particular circumstances of the case." Hulley Enters. v. Russian

 Fed 'n, Case No. 14-1 996, 2020 U.S. Dist. LEXIS 2 1 9208, * 1 4 (D.D.C. Nov. 20, 2020) (quoting

 SEC v. Dresser Indus., Inc. , 628 F.2d 1 368, 1 375 (D.C. Cir. 1 980)). Ultimately a district court's

 authority to stay proceedings to control its own docket is "broad" and subject to review only as

 an abuse of discretion. See Clinton v. Jones, 520 U.S. 68 1 , 706-07 (1 997).

                                            ARGUMENT

         The balance of interests, judicial economy, and the public interest each favor a stay

 pending appeal in this case. All Parties request that litigation in this case be stayed pending

 appeal, and no Party will be harmed by a stay. Instead, a stay will preserve the Parties ' resources

 and maintain the status quo while Plaintiffs ' appeal of the denial of their application for

 preliminary injunction is ongoing.

        The resolution of Plaintiffs ' requested preliminary injunction, and this case, largely turns




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 on the interpretation and application of New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S .

 Ct. 2 1 1 1 (2022). Bruen is a recent and significant Second Amendment decision that the Circuit

 has not yet applied or interpreted. Any decision on appeal is very likely to provide guidance on

 the core legal issues of this case, thereby significantly impacting the course of the litigation and

 discovery. As courts have repeatedly recognized, a stay pending appeal is particularly warranted

 where the legal issue presented is novel or significant. See Ctr. for Int 'l Evntl. Law v. Office of

 the United States Trade Representative, 240 F. Supp. 2d 2 1 , 22 (D.D.C. 2003) (granting stay

 pending appeal party because the case presented an "issue of first impression" and the first to

 involve application of a recent Supreme Court decision); see also Al Maqaleh v. Gates, 620 F.

 Supp. 2d 5 1 , 56 (D.D.C. 2009) (discussing that the "novel and weighty" issues presented favored

 granting a stay pending appeal); Philipp v. Fed. Rep. of Germany, 436 F. Supp. 3d 6 1 , 66

 (D.D.C. 2020) ("so long as the other factors strongly favor a stay, [a stay of proceedings] is

 appropriate if [a] 'serious legal question is presented"') (quoting Loving v. IRS, 920 F. Supp. 2d

  1 08, 1 1 0 (D.D.C. 20 1 3)). That is the case here.

          The Parties do not seek to stay an order of this Court from going into effect, but instead

 "seek a decision to stay discovery [and further litigation], . . . pending a D.C. Circuit

 determination that almost certainly will affect discovery [and future litigation]." Loumiet v.

  United States, 3 1 5 F. Supp. 3d 349, 353 (D.D.C. 201 8). Thus, a stay here "would avoid

 potentially 'fractured and disorderly' and unnecessary litigation and best preserve judicial and

 parties' resources . . . . "' Hulley, 2020 U.S. Dist. LEXIS 2 1 9208, at * 1 9 (quoting Seneca Nation

 ofIndians v. U S. Dep 't ofHealth & Hum. Servs. , 144 F. Supp. 3d 1 1 5, 1 1 9 (D.D.C. 20 1 5)). As

 courts have recognized, "subjecting a party to duplicative and wasteful litigation exercises is a

 significant harm." In re Rail Freight Fuel Surcharge Antitrust Litigation, 286 F.R.D. 88, 93




                                                         3
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 (D.D.C. 2012). Further, it is not in the public interest for the Parties or the Court to spend

 resources on unnecessary or duplicative litigation. Because any Circuit opinion on appeal is very

 likely to impact the course of this litigation, it would preserve judicial and party resources and

 promote the public interest to stay the litigation until the appeal is resolved.

                                           CONCLUSION

         For the foregoing reasons, the Court should grant the Parties ' Joint Motion to Stay

 Proceedings Pending Appeal.


 Dated: May 3 , 2023 .                                  Respectfully Submitted,

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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

 ANDREW HANSON                     )
                                   )
 TYLER YZAGUIRRE                   )
                                   )
 NATHAN CHANEY                     )
                                   )
 ERIC KLUN                         )
                                   )
             Appellants,           )
                                   )
             V.                    )   CivilAction No. 22-cv-2256 RC
                                   )
 DISTRICT OF COLUBIA               )
                                   )
 ROBERT J . CONTEE, III,           )
                                   )
             Appellees.            )

                              NOTICE OF APPEAL

                             ...
       Plaintiffs Hanson, Yzaguirre, Chaney and Klun appeal to the United States

 Court ofAppeals for the District of Columbia Circuit from the District Court Order

 (ECF 27) andMemorandum Opinion (ECF 28) denying a preliminary injunction in

 this proceeding, entered onApril 20, 2023 .




                                                                       APP. 1 066
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                                    Respectfully submitted,

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 May 1 6, 2023

                              CERTIFICA TE OF SERVICE

         I, George L. Lyon, Jr., a member of the bar of this court, certify that I served the
 foregoing document on all counsel of record in this proceeding via the Court' s electronic
 filing system, this 1 6th day of May, 2023.

 /s/ George L. Lyon, Jr., DC Bar 3 88678




                                                                               APP. 1 067
